              Case 25-10099-BLS   Doc 2   Filed 01/18/25   Page 1 of 202




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                            Chapter 7

Canoo Inc.,                                       Case No. 25-10094 (BLS)

              Debtor.

Tax I.D. No. No. XX-XXXXXXX


In re:                                            Chapter 7

EV Global Holdco LLC,                             Case No. 25-10095 (BLS)

              Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                            Chapter 7

EV US Holdco Inc.,                                Case No. 25-10096 (BLS)

              Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                            Chapter 7

Canoo Technologies Inc.,                          Case No. 25-10099 (BLS)

              Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                            Chapter 7

Canoo Manufacturing, LLC,                         Case No. 25-10097 (BLS)

              Debtor.

Tax I.D. No. No. XX-XXXXXXX
                       Case 25-10099-BLS   Doc 2    Filed 01/18/25   Page 2 of 202




In re:                                                      Chapter 7

Canoo Sales, LLC,                                           Case No. 25-10098 (BLS)

                       Debtor.

Tax I.D. No. No. XX-XXXXXXX


         GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
            AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                            Introduction

       The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the
“Schedules and Statements”) filed by Canoo Technologies Inc. (“Canoo Tech”), Canoo
Manufacturing LLC (“Canoo Manufacturing”), Canoo Sales LLC (“Canoo Sales”), Canoo Inc.
(“Canoo”), EV Global Holdco LLC (“EV Global”), and EV US Holdco LLC (“EV US”) and
together with Canoo Tech, Canoo Manufacturing, Canoo Sales, Canoo and EV Global,
the “Company”) as debtors in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), were prepared in accordance with section 521 of title 7 of the United
States Code (the “Bankruptcy Code”), and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”) by management of the Debtors, with the assistance of the
Debtors’ professional advisors, and are unaudited.

        The information provided herein, except as otherwise noted, is as of January 17, 2025 (the
“Petition Date”). While management of the Company has made every reasonable effort to ensure
that the Bankruptcy Schedules are accurate and complete, based upon information that was
available to them at the time of preparation, the subsequent receipt of information may result in
material changes to financial data and other information contained in the Bankruptcy Schedules
and inadvertent errors or omissions may exist.

         The Schedules and Statements were prepared from a combination of the Company’s
unaudited quarterly information for the nine months ended September 30, 2024 combined with the
Company’s internal management reporting from October 1, 2024 until November 30, 2024 and
the estimations thereafter until January 17, 2025 (the “Internal Analysis”). The Internal Analysis
concluded, inter alia, that the books and records of the Company commencing December 1, 2024
have not gone through the Company’s regular book close process and therefore, significant
irregularities may exist, and while the Company has attempted to estimate the size of the
irregularities, the lack of organized and well-kept books and records for this period, as well as
obstacles resulting from an inability to access and verify certain financial information such as
payables and accrued liabilities due to lack of company personnel, has hindered the Company’s
ability to make such an estimation. Accordingly, although prepared to the best of the Company’s
ability, there can be no assurance that these Bankruptcy Schedules are complete or accurate.


                                                   -2-
4911-4127-3873, v. 4
                       Case 25-10099-BLS       Doc 2     Filed 01/18/25     Page 3 of 202




        The Schedules and Statements have been signed by Ramesh Murthy, Chief Administrative
and Chief Accounting Officer of the Company. In reviewing and signing the Schedules and
Statements, Mr. Murthy relied upon various personnel of the Debtors and the Debtors’ professional
advisors and their efforts, statements, and representations in connection therewith. Although
management has made reasonable efforts to ensure that the Schedules and Statements are accurate
and complete based upon information that was available to them at the time of preparation,
subsequent information or discovery thereof may result in material changes to the Schedules and
Statements, and inadvertent errors or omissions may exist. Mr. Murthy has not (nor could have)
personally verified the accuracy of each statement and representation, including, for example,
statements and representations concerning amounts owed to creditors, classification of such
amounts, and their addresses. In addition, Mr. Murthy has not (nor could have) personally verified
the completeness of the Schedules and Statements, nor the accuracy of any information contained
therein.

       These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and Statements.
The Global Notes should be referred to and reviewed in connection with any review of the
Schedules and Statements. The Global Notes are in addition to any specific notes contained in any
Debtor’s Schedules or Statements. Disclosure of information in one Schedule, Statement, exhibit
or continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit or continuation sheet.

        The Schedules, Statements and Global Notes should not be relied upon by any persons
for information relating to current or future financial conditions, events or performance of
the Debtors.

                                 Global Notes and Overview of Methodology

1.             General Reservation of Rights. Although the Debtors’ management has made every
               reasonable effort to ensure that the Schedules and Statements are as accurate and complete
               as possible under the circumstances based on information that was available to them at the
               time of preparation, subsequent information or discovery may result in material changes to
               the Schedules and Statements, and inadvertent errors or omissions may have occurred,
               some of which may be material. Because the Schedules and Statements contain unaudited
               information, which remains subject to further review, verification, and potential
               adjustment, there can be no assurance that the Schedules and Statements are complete. The
               Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
               and all respects, as may be necessary or appropriate, including the right to dispute or
               otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
               as to amount, liability, or classification, or to otherwise subsequently designate any claim
               (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
               in the Schedules and Statements shall constitute an admission of any claims or a waiver of
               any of the Debtors’ rights with respect to these chapter 7 cases, including issues involving
               substantive consolidation, recharacterization, equitable subordination, and/or causes of
               action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant
               non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights

                                                       -3-
4911-4127-3873, v. 4
                       Case 25-10099-BLS         Doc 2     Filed 01/18/25      Page 4 of 202




               contained elsewhere in the Global Notes does not limit in any respect the general
               reservation of rights contained in this paragraph.

               2.      The Debtors and their past or present officers, employees, attorneys, professionals
               and agents do not guarantee or warrant the accuracy, completeness, or currentness of the
               data that is provided herein and shall not be liable for any loss or injury arising out of or
               caused in whole or in part by the acts, errors or omissions, whether negligent or otherwise,
               in procuring, compiling, collecting, interpreting, reporting, communicating or delivering
               the information contained herein. The Debtors and their past or present officers, employees,
               attorneys, professionals and agents expressly do not undertake any obligation to update,
               modify, revise or re-categorize the information provided herein or to notify any third party
               should the information be updated, modified, revised or re-categorized. In no event shall
               the Debtors or their past or present officers, employees, attorneys, professionals and/or
               agents be liable to any third party for any direct, indirect, incidental, consequential or
               special damages (including, but not limited to, damages arising from the disallowance of
               any potential claim against the Debtors or damages to business reputation, lost business or
               lost profits), whether foreseeable or not and however caused arising from or related to any
               information provided herein or omitted herein.

3.             Basis of Presentation. The Schedules and Statements purport to reflect the assets and
               liabilities of the Debtors. The Debtors reserve all rights relating to the legal ownership of
               assets and liabilities and nothing in the Schedules or Statements shall constitute a waiver
               or relinquishment of such rights. Information contained in the Schedules and Statements
               has been derived from the Debtors’ books and records. The Schedules and Statements do
               not purport to represent financial statements prepared in accordance with Generally
               Accepted Accounting Principles nor are they intended to be fully reconcilable to audited
               financial statements.

4.             Totals. All totals that are included in the Schedules and Statements represent totals of all
               known amounts included in the Debtors’ books and records. To the extent there are
               unknown or undetermined amounts, the actual totals may be different than the listed total,
               and the difference may be material. In addition, the amounts shown for total liabilities
               exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
               “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in
               the Schedules and Statements.

5.             Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets
               and liabilities from the Schedules and Statements, including but not limited to certain
               operating lease right-to-use assets and liabilities, deferred warrant assets, warrant liabilities
               and any other liabilities accounted and disclosed within the Company’s unaudited public
               financial statements. The Debtors have also excluded potential claims arising on account
               of the potential rejection of executory contracts and unexpired leases, to the extent such
               claims exist. Certain immaterial assets and liabilities that are not reported or tracked
               centrally may have been excluded.



                                                         -4-
4911-4127-3873, v. 4
                       Case 25-10099-BLS        Doc 2     Filed 01/18/25      Page 5 of 202




6.             Amendments and Supplements; All Rights Reserved. Reasonable efforts have been
               made to prepare and file complete and accurate Schedules and Statements; inadvertent
               errors or omissions, however, may exist. The Debtors reserve all rights, but are not
               required, to amend and/or supplement the Schedules and Statements from time to time as
               is necessary and appropriate.

7.             References. References to applicable revolving credit facility agreements and related
               documents are necessary for a complete description of the collateral and the nature, extent,
               and priority of liens and/or claims. Nothing in the Global Notes or the Schedules and
               Statements shall be deemed a modification or interpretation of the terms of such
               agreements.

8.             Book Value. Unless otherwise indicated, the Debtors’ assets and liabilities are shown on the
               basis of its net book values as of November 30, 2024 and adjusted for manual estimations
               thereafter until the date of filing. Thus, unless otherwise noted, the Schedules and
               Statements reflect the carrying value of the assets and liabilities as recorded on the Debtors’
               books. Net book values may vary, sometimes materially, from market values. The Debtors
               do not intend to amend these Schedules and Statements to reflect market values.

9.             Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
               correctly characterize, classify, categorize, or designate certain Claims, assets, executory
               contracts, unexpired leases, and other items reported in the Schedules and Statements, the
               Debtors nonetheless may have improperly characterized, classified, categorized, or
               designated certain items.

10.            Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
               classify properly each Claim listed in the Schedules as being either disputed or undisputed,
               liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
               able to fully reconcile all payments made to certain third-party entities on account of the
               Debtors’ obligations to both such entity and its affiliates. Therefore, to the extent that the
               Debtors have classified its estimate of Claims of a creditor as disputed, for example, all
               Claims of such creditor’s affiliates listed in the Schedules and Statements shall similarly be
               considered disputed, whether or not they are individually designated as such.

11.            Liabilities. The liabilities listed on the Schedules and Statements do not reflect any
               analysis of claims under section 503(b)(9) of the Bankruptcy Code. Accordingly, the
               Debtors reserve all rights to dispute or challenge the validity of any asserted claims under
               section 503(b)(9) of the Bankruptcy Code or the characterization of the structure of any
               such transaction or any document or instrument related to any creditor’s Claim.

12.            Guarantees and Other Secondary Liability Claims. Where guarantees have been
               identified, they have been included in the relevant liability Schedule for the Debtors
               affected by such guarantee. The Debtors have also listed such guarantees on the applicable
               Schedule H. It is possible that certain guarantees embedded in the Debtors’ revolving credit
               facility, executory contracts, unexpired leases, debt instruments and other such agreements
               may have been inadvertently omitted.

                                                        -5-
4911-4127-3873, v. 4
                       Case 25-10099-BLS         Doc 2    Filed 01/18/25      Page 6 of 202




13.            Intellectual Property Rights. Exclusion of certain intellectual property shall not be
               construed to be an admission that such intellectual property rights have been abandoned,
               have been terminated or otherwise expired by their terms, or have been assigned or
               otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
               inclusion of certain intellectual property shall not be construed to be an admission that such
               intellectual property rights have not been abandoned, have not been terminated or otherwise
               expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
               acquisition, or other transaction. The Debtors have made significant efforts to attribute
               intellectual property to the rightful Debtor owner. Accordingly, the Debtors reserve all
               rights with respect to the legal status of any and all such intellectual property rights.

14.            Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
               contracts or unexpired leases as assets in the Schedules and Statements. Instead, the
               Debtors’ executory contracts and unexpired leases have been set forth in Schedule G. In
               addition, while the Debtors have made diligent attempts to properly identify all executory
               contracts and unexpired leases, inadvertent errors, omissions, or over-inclusion may have
               occurred.

15.            Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
               “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
               given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
               does not constitute an admission by the Debtors that such amount is not “disputed,”
               “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
               reserve all rights to dispute any Claim reflected on their respective Schedules and
               Statements on any grounds, including, without limitation, liability or classification, or to
               otherwise subsequently designate such Claims as “disputed,” “contingent,” or
               “unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
               the grounds that, among other things, the Claim has already been satisfied.

16.            Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all
               causes of action or potential causes of action against third parties as assets in the Schedules
               and Statements, including, without limitation, avoidance actions arising under chapter 5 of
               the Bankruptcy Code and actions under other relevant non-bankruptcy laws to recover
               assets. The Debtors reserve all of their rights for any claims, causes of action, or avoidance
               actions they may have, and neither these Global Notes nor the Schedules and Statements
               shall be deemed a waiver of any such claims, causes of actions, or avoidance actions or in
               any way prejudice or impair the assertion of such claims.

17.            Undetermined Amounts. Claim amounts that could not readily be quantified by the
               Debtors are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an
               amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
               materiality of such amount.

18.            Liens. Property and equipment listed in the Schedules and Statements are presented without
               consideration of any liens that may attach (or have attached) to such property or equipment.


                                                         -6-
4911-4127-3873, v. 4
                       Case 25-10099-BLS        Doc 2     Filed 01/18/25     Page 7 of 202




19.            Addresses. Any individual, including current employee, former employee, and officer &
               directors’ addresses have been redacted from entries listed throughout the Schedules and
               Statements, where applicable.

20.            Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
               management was required to make certain estimates and assumptions that affected the
               reported amounts of these assets and liabilities.

21.            Credits and Adjustments. The claims of individual creditors for, among other things,
               goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
               and records and may not reflect credits, allowances, or other adjustments due from such
               creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
               allowances, and other adjustments, including the right to assert claims objections and/or
               setoffs with respect to the same.

22.            Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
               course of business. Offsets in the ordinary course can result from various items,
               including, without limitation, negotiations and/or disputes between the Debtors and their
               vendors and customers. These offsets and other similar rights are consistent with the
               ordinary course of business in the Debtors’ industry and are not tracked separately.
               Therefore, although such offsets and other similar rights may have been accounted for
               when certain amounts were included in the Schedules, offsets are not independently
               accounted for, and as such, are excluded from the Schedules.

23.            Global Notes Control. In the event that the Schedules and Statements differ from these
               Global Notes, the Global Notes shall control.

24.            Confidentiality: There may be instances in the Schedules and Statements where the
               Debtors have deemed it necessary and appropriate to redact from the public record
               information such as names, addresses, or amounts. Typically, the Debtors have used this
               approach because of an agreement between the Debtors and a third party, concerns of
               confidentiality, or concerns for the privacy of, or otherwise preserving the confidentiality
               of, personally identifiable information.

                                 General Disclosures Applicable to Schedules

25.            Estimated assets: The estimated assets included within the statistical and administrative
               information within Form 201 represents the estimated amounts that the Debtors expect will
               be realized from the liquidation of the Debtors’ total property. The foregoing estimates
               exclude assets that have been collateralized and assume no liquidation value for tooling
               assets held at creditor facilities, which may or may not be complete.

26.            Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
               “priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
               “executory” or “unexpired,” does not in each case constitute an admission by the Debtors


                                                        -7-
4911-4127-3873, v. 4
                       Case 25-10099-BLS       Doc 2     Filed 01/18/25     Page 8 of 202




               of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
               reclassify such Claim or contract.

27.            Schedule A/B - Real and Personal Property.

               a)      Schedule A/B. All values set forth in Schedule A/B reflect the book value of the
                       Debtors’ assets as of the Petition Date unless otherwise noted below or in the
                       Schedules and Statements.

               b)      Schedule A/B.3. Bank account balances are as of January 17, 2025. None of the
                       bank accounts were closed as of the date of the petition.

               c)      Schedule A/B 8. Prepayments include amounts that are considered as prepaid in the
                       general ledger based on our best estimates as of January 17, 2025. In addition, the
                       Debtor may have claims against its creditors arising from prepayments on
                       completing its Tooling.

               d)      Schedule A/B 18. Inventory includes raw materials held at creditors’ locations and
                       not in the possession of Canoo at the time of the petition.

               e)      Schedule A/B. Parts 7 and 8. Dollar amounts are presented net of accumulated
                       depreciation and other adjustments. Cost and accumulated depreciation is as of
                       November 30, 2024 and manually adjusted until the date of the petition. The
                       Company’s records did not include any fixed asset additions or any immaterial
                       disposals after November 30, 2024.

               f)      Schedule A/B 50. Other machinery & equipment has been reconciled to the
                       accounting books and records as follows:

                            Description                 Cost           Net Book Value          Comments
                                                        ($)                  ($)
                        Machinery       &              $51,728,672          $51,728,672
                        Equipment (CIP)
                        Machinery       &              $54,441,065          $18,354,169
                        Equipment (CAP)
                              Total                  $106,169,737           $70,082,841

                        Amounts Excluded from above

                        Tooling (CIP)                $209,513,199          $209,513,199 Tooling assets
                                                                                        include paid and
                        Tooling (CAP)                  $17,395,531          $12,897,527 unpaid amounts
                                                                                        to creditors and
                                Total                $226,908,730          $222,410,726 none of the
                                                                                        Tooling resides
                                                                                        within the

                                                       -8-
4911-4127-3873, v. 4
                       Case 25-10099-BLS        Doc 2     Filed 01/18/25     Page 9 of 202




                                                                                            Company’s
                                                                                            facilities.


                       For the purposes of Schedule A/B 50., all Tooling amounts noted above have been
                       excluded as the estimated realizable value of such Tooling assets is unknown at the
                       time of filing this petition.

                       Schedule A/B.54. The Debtors do not own any real property.

               g)      Schedule A/B.15. Equity interests in subsidiaries and affiliates arise from common
                       stock ownership. For purposes of these Schedules, the value of the Debtors’
                       interests is undetermined. The book values of certain assets may materially differ
                       from their fair market values and/or the liquidation of the assets prepared in
                       connection with the Disclosure Statement.

               h)      Schedule A/B 60-61. Intellectual property is listed in Schedule A/B 60-61 as an
                       undetermined amount because the fair market value of such property is dependent
                       on numerous variables and factors. The Debtors do not have a net book value for
                       these assets as of the petition date. Nothing herein or in the Schedules and
                       Statements shall be construed as an admission or acknowledgment by the Debtors
                       that any particular intellectual property is not transferable either pursuant to its
                       terms or pursuant to provisions of the Bankruptcy Code or has no market value, and
                       the Debtors reserve all rights with respect to any such issues.

               i)      Schedule A/B 72. Interests in Net Operating Losses (“NOLs”). NOLs have not been
                       assessed at the time of filing of this petition.

               j)      Schedule A/B 74/75. The Debtors’ failure to list any contingent and/or unliquidated
                       claim held by the Debtors in response to this question shall not constitute a waiver,
                       release, relinquishment, or forfeiture of such claim. In the ordinary course of its
                       business, the Debtors may have accrued, or may subsequently accrue, certain rights
                       to counter-Claims, setoffs, refunds or potential warranty Claims against its
                       suppliers. Additionally, the Debtors may be a party to pending litigation in which
                       the Debtors have asserted, or may assert, Claims as a plaintiff or counter-Claims as
                       a defendant. Because such Claims are unknown to the Debtors and not quantifiable
                       as of the Petition Date, they are not listed on Schedule A/B 74/75.

               k)      Schedule A/B73. Interests in Insurance Policies or Annuities. All known current
                       insurance policies are listed in response to Schedule A/B 73.

28.            Schedule D - Creditors Holding Secured Claims. The Claims listed on Schedule D arose
               or were incurred on various dates.

               The descriptions provided in Schedule D are intended only to be a summary. Reference to
               the applicable loan documents is necessary for a complete description of the collateral and

                                                        -9-
4911-4127-3873, v. 4
                       Case 25-10099-BLS         Doc 2     Filed 01/18/25      Page 10 of 202




               the nature, extent and priority of any liens. Nothing in these Notes or the Schedules and
               Statements shall be deemed a modification or interpretation of the terms of such
               agreements.

               Further, while the Debtors have included the results of Uniform Commercial Code searches,
               the listing of such results is not, nor shall it be deemed, an admission as to the validity of any
               such lien. The descriptions provided in Schedule D are solely intended to be a summary and
               not an admission of liability. The Debtors have made reasonable, good faith efforts to include
               all known liens on Schedule D but may have inadvertently omitted to include an existing lien
               because of, among other things, the possibility that a lien may have been imposed after the
               Uniform Commercial Code searches were performed or a vendor may not have filed the
               requisite perfection documentation.

               In addition to those stated on Schedule D, real property lessors, utility companies, and other
               parties that may hold security deposits which not been listed on Schedule D.

               Moreover, the Debtors have not included on Schedule D parties that may believe their
               Claims are secured through setoff rights or inchoate statutory lien rights.

               Schedule D excludes the impact of any amounts owed to Integrated Micro-Electronics Inc.
               (“IMI”), a Philippines corporation, from the security agreement entered into between
               Canoo Technologies Inc. and IMI on November 10, 2023, wherein, certain assets were
               pledged as collateral only upon the occurrence of an event of default, which includes an
               event of bankruptcy or insolvency.

29.            Schedule E/F— Creditors Holding Unsecured Claims. The Debtors have used
               reasonable efforts to report all general unsecured Claims against the Debtors on Schedule
               E/F based upon the Debtors’ existing books and records as of the Petition Date; however,
               inadvertent errors or omissions may have occurred. The Claims listed on Schedule E/F
               arose or were incurred on various dates. In certain instances, the date on which a Claim
               arose is an open issue of fact. In addition, the Claims of individual creditors for, among
               other things, goods or services are listed as either the lower of the amounts invoiced by
               such creditor or the amounts entered on the Debtors’ books and records and may not reflect
               credits, rebates, or allowances due from such creditors to the Debtors. The Claims and
               amounts listed in respect of certain trade payables reflect amounts owed as of November
               30, 2024 and thereafter adjusted to arrive at estimates as of the Petition Date. Certain
               Claims listed on Schedule E/F may be entitled to priority under section 503(b)(9) of the
               Bankruptcy Code.

               Included within creditors with priority unsecured claims are two severance payables due
               to former executives of the company.

               Schedule E/F also includes reservation deposits that were submitted electronically. The
               Debtors do not generally maintain physical mailing addresses for depositors.

               Schedule E/F also contains information regarding pending litigation involving the Debtors.
               The dollar amount of potential Claims associated with any such pending litigation is listed


                                                         - 10 -
4911-4127-3873, v. 4
                       Case 25-10099-BLS       Doc 2     Filed 01/18/25    Page 11 of 202




               as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
               and Statements.

30.            Schedule G — Executory Contracts and Unexpired Leases. While reasonable efforts
               have been made to ensure the accuracy of Schedule G, the Debtors’ business is complex,
               and inadvertent errors, omissions, or overinclusion may have occurred. Each lease and
               contract listed in Schedule G may include one or more ancillary documents, including any
               underlying assignment and assumption agreements, amendments, supplements, full and
               partial assignments, renewals and partial releases, which may not be listed on Schedule G.
               Certain of the leases and contracts listed on Schedule G may contain certain renewal
               options, guarantees of payment, options to purchase, rights of first refusal, and other
               miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on
               Schedule G. In addition, the Debtors may have entered into various other types of
               agreements in the ordinary course of business, such as financing agreements, indemnity
               agreements, subordination, non-disturbance agreements, supplemental agreements,
               amendments/letter agreements, title agreements, and confidentiality agreements. Such
               documents may not be set forth on Schedule G. Certain of the executory contracts may not
               have been memorialized in writing and could be subject to dispute.

               Omission of a contract or agreement from Schedule G does not constitute an admission
               that such omitted contract or agreement is not an executory contract or unexpired lease.
               Likewise, inclusion of any agreement on Schedule G does not constitute an admission that
               such agreement is an executory contract or unexpired lease, or that such agreement was in
               effect on the Petition Date or is valid and enforceable.

31.            Schedule H — Co-debtors. Although the Debtors have made every effort to ensure the
               accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred.

               The listing of a contract, guarantee, or other obligation on Schedule H shall not be deemed
               an admission that such obligation is binding, valid, or enforceable.

               In the ordinary course of its business, the Debtors are involved in pending or threatened
               litigation and claims arising out of the conduct of its business. These matters may involve
               multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
               counterclaims against other parties. Because such claims are listed elsewhere in the
               Statements and Schedules, they may not have been set forth individually on Schedule H.

               Schedule H also reflects guarantees by the Debtors. The Debtors may not have identified
               certain guarantees that are embedded in the Debtors’ executory contracts, unexpired leases,
               debt instruments, and other such agreements.

                                General Disclosures Applicable to Statements

32.            Questions 1 and 2. The gross revenue and non-business revenue reported from January
               2023 to the date of petition filing.

33.            Question 3 and 4. For certain creditors receiving payment, the Debtors maintain multiple
               addresses for such vendor. Efforts have been made to attribute the correct address, however,
                                                       - 11 -
4911-4127-3873, v. 4
                       Case 25-10099-BLS       Doc 2     Filed 01/18/25      Page 12 of 202




               in certain instances, alternate addresses may be applicable for a party listed in response to
               Question 3.

               Question 3. Question 3 includes any cash disbursement or other cash transfers made by
               the Debtors except for those made to employees. Non-cash transfers, such as issuances
               of restricted stock units, vesting of restricted stock units and other similar transactions,
               are not listed.

34.            Question 4. The Debtors have listed cash payments to or for the benefit of insiders. Non-
               cash transfers, such as issuances of restricted stock units, vesting of restricted stock units
               and other similar transactions, are not listed.

               For purposes of the Schedules and Statements, the Debtors have included as insiders
               individuals who, based upon the totality of circumstances, may have a controlling interest
               in, or exercise sufficient control over, the Debtors so as to dictate corporate policy and the
               disposition of assets. The Debtors do not take any position with respect to (a) such person’s
               influence over the control of the Debtors; (b) the management responsibilities or functions
               of such individual; (c) the decision-making or corporate authority of such individual; or (d)
               whether such individual could successfully argue that he or she is not an “insider” under
               applicable law, including the federal securities law, or with respect to any theories of
               liability or any other purpose.

35.            Question 7. The Debtors reserve all rights and defenses with respect to any and all listed
               lawsuits and administrative proceedings. The listing of any such suits and proceedings
               shall not constitute an admission by the Debtors of any liabilities or that the actions or
               proceedings were correctly filed against the Debtors. The Debtors also reserve their rights
               to assert that a Debtor is not an appropriate party to such actions or proceedings.

36.            Question 10. The Debtors have made best efforts to collect applicable and responsive
               information however, certain de minimis losses, which are not tracked separately, may have
               been omitted.

37.            Question 13. The Debtors have liquidated certain assets in the process of consolidating its
               operations. The Debtors have made reasonable efforts to respond comprehensively to
               Question 13, including by listing all individual asset transfers, but certain de minimis asset
               sales may be inadvertently omitted.

38.            Question 26d. The Debtors have supplied financial statements and reports in the ordinary
               course of business to certain third parties under confidentiality agreements. Such third
               parties include service providers assisting in or providing inputs to the Debtors accounting
               records, and certain other creditors and their advisors.

39.            Question 30. For this question, please reference Statement of Financial Affairs, Question
               4.



                                                       - 12 -
4911-4127-3873, v. 4
                                       Case 25-10099-BLS                                    Doc 2               Filed 01/18/25                        Page 13 of 202

Fill in this information to identify the case:

Debtor name           Canoo Technologies Inc

United States Bankruptcy Court for the:                      DISTRICT OF DELAWARE

Case number (if known)              25-10099
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $     126,374,410.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $     126,374,410.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       14,110,244.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     150,021,070.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $        164,131,314.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                              Case 25-10099-BLS                 Doc 2        Filed 01/18/25           Page 14 of 202

Fill in this information to identify the case:

Debtor name         Canoo Technologies Inc

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)       25-10099
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                         $1,227,249.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     See Attached Exhibit A                                                                                                                   $0.00



4.        Other cash equivalents (Identify all)


          4.1.     See Attached Exhibit A                                                                                                    $10,818,864.00




5.        Total of Part 1.                                                                                                               $12,046,113.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     See Attached Exhibit B                                                                                                    $33,185,970.00


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                               Case 25-10099-BLS                  Doc 2      Filed 01/18/25           Page 15 of 202

Debtor           Canoo Technologies Inc                                                   Case number (If known) 25-10099
                 Name




8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     See Attached Exhibit C                                                                                          $8,764,188.00




9.        Total of Part 2.                                                                                                    $41,950,158.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     82,097.00      -                                 0.00 = ....                  $82,097.00
                                       face amount                          doubtful or uncollectible accounts



          11a. 90 days old or less:                             0.00   -                                 0.00 = ....                   Unknown
                                       face amount                          doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                        $82,097.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                   Valuation method used    Current value of
                                                                                                   for current value        debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership


          15.1.     Canoo Manufacturing, LLC                                   100         %                                           Unknown




          15.2.     Canoo Sales, LLC                                           100         %                                           Unknown



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                               $0.00
          Add lines 14 through 16. Copy the total to line 83.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 2
                             Case 25-10099-BLS                  Doc 2       Filed 01/18/25       Page 16 of 202

Debtor       Canoo Technologies Inc                                                  Case number (If known) 25-10099
             Name



Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials
          See Attached Exhibit D            None                            $1,812,090.00      Actual Cost                    $1,812,090.00



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                $1,812,090.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture
          See Attached Exhibit E                                              $194,004.00      Net Book Value                   $194,004.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          See Attached Exhibit F                                              $193,531.00      Net Book Value                   $193,531.00
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 3
                             Case 25-10099-BLS                   Doc 2        Filed 01/18/25          Page 17 of 202

Debtor       Canoo Technologies Inc                                                         Case number (If known) 25-10099
             Name




42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                            $387,535.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    See Attached Exhibit G                                          $13,575.00       Net Book Value                      $13,575.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          See Attached Exhibit G                                              $70,082,842.00        Net Book Value                 $70,082,842.00



51.       Total of Part 8.                                                                                                      $70,096,417.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 4
                              Case 25-10099-BLS                 Doc 2        Filed 01/18/25             Page 18 of 202

Debtor        Canoo Technologies Inc                                                      Case number (If known) 25-10099
              Name



55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                    25790 ST Route 287
                    Marysville, OH 43040         Lease                             Unknown                                                Unknown


           55.2.    19951 Mariner
                    Avenue
                    Torrance, CA 90503           Lease                             Unknown                                                Unknown


           55.3.
                    15520 Highway 114
                    Justin, TX 76226             Lease                             Unknown                                                Unknown


           55.4.    4901 SW Regional
                    Airport Boulevard
                    Bentonville, AR
                    72712                        Lease                             Unknown                                                Unknown


           55.5.    2000 Taylor Road
                    Auburn Hills, MI
                    48326                        Lease                             Unknown                                                Unknown




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Patents: See Attached Exhibit H
           Trademarks: See Attached Exhibit I                                      Unknown                                                Unknown

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 5
                               Case 25-10099-BLS                 Doc 2       Filed 01/18/25            Page 19 of 202

Debtor        Canoo Technologies Inc                                                       Case number (If known) 25-10099
              Name




61.        Internet domain names and websites
           Internet Domain Names: See Attached Exhibit
           J
           Trademarks: See Attached Exhibit K                                      Unknown                                              Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           In January 2024, Company filed with IRS an Employee
           Retention Credit Tax Refund for $11M. This was
           subsequently financed, for which there exists a UCC
           lien and a Wells Fargo DACA account. Entity refinanced
           is OABL XXIII LLC (UCC Lien No. 2024 3270400                                      Tax year 2021                                   $0.00



73.        Interests in insurance policies or annuities

           See Attached Exhibit L                                                                                                       Unknown



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 6
                             Case 25-10099-BLS                 Doc 2   Filed 01/18/25          Page 20 of 202

Debtor      Canoo Technologies Inc                                                  Case number (If known) 25-10099
            Name

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                            $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                    page 7
                                    Case 25-10099-BLS                             Doc 2             Filed 01/18/25                  Page 21 of 202

Debtor          Canoo Technologies Inc                                                                              Case number (If known) 25-10099
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                      $12,046,113.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                           $41,950,158.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $82,097.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $1,812,090.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $387,535.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $70,096,417.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                     $126,374,410.00              + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $126,374,410.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 8
                                     Case 25-10099-BLS                    Doc 2         Filed 01/18/25            Page 22 of 202

Fill in this information to identify the case:

Debtor name          Canoo Technologies Inc

United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

Case number (if known)              25-10099
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
2.1    See Attached Exhibit M                       Describe debtor's property that is subject to a lien              $14,110,244.00            $84,974,896.00
       Creditor's Name                              All Manufacturing Assets Located within
                                                    Canoo's Oklahoma City and Pryor Locations

       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                        No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       Over Period of Time in 2024                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Integrated Micro-Electronics, North
       Science Avenue Laguna
       Technopark, Special Export
       Processing Zone Binan, Laguna
       Philippines 4024


3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         $14,110,244.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
                                  Case 25-10099-BLS                     Doc 2           Filed 01/18/25                      Page 23 of 202

Fill in this information to identify the case:

Debtor name        Canoo Technologies Inc

United States Bankruptcy Court for the:         DISTRICT OF DELAWARE

Case number (if known)           25-10099
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                          $0.00      Unknown
          See Attached Exhibit M.1                             Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               2024 Severances
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $150,148,352.00
          See Attached Exhibit N.1 and N.2                                       Contingent
                                                                                 Unliquidated
          Date(s) debt was incurred Since 2021                                   Disputed
          Last 4 digits of account number                                    Basis for the claim: Trade Creditors, Payables, and Accrued Liabilities

                                                                             Is the claim subject to offset?           No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                     On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                       related creditor (if any) listed?                  account number, if
                                                                                                                                                          any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 2
                                                                                                               46305
                               Case 25-10099-BLS                   Doc 2    Filed 01/18/25              Page 24 of 202

Debtor      Canoo Technologies Inc                                                      Case number (if known)       25-10099
            Name

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                         0.00
5b. Total claims from Part 2                                                              5b.   +   $               150,148,352.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                 150,148,352.00




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 2 of 2
                             Case 25-10099-BLS                   Doc 2        Filed 01/18/25             Page 25 of 202

Fill in this information to identify the case:

Debtor name       Canoo Technologies Inc

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)     25-10099
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Unexpired Leases
           lease is for and the nature of
           the debtor's interest

               State the term remaining

           List the contract number of any                                          See Attached Exhibit O
                 government contract


2.2.       State what the contract or            Executory Contracts
           lease is for and the nature of
           the debtor's interest

               State the term remaining

           List the contract number of any                                          See Attached Exhibit P
                 government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                            Case 25-10099-BLS                 Doc 2        Filed 01/18/25            Page 26 of 202

Fill in this information to identify the case:

Debtor name      Canoo Technologies Inc

United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

Case number (if known)   25-10099
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Canoo Inc.                  19951 Mariner Avenue                                      See Attached Exhibit               D   2.1
                                      Torrance, CA 90503                                        M                                  E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
                            Case 25-10099-BLS                  Doc 2         Filed 01/18/25             Page 27 of 202




Fill in this information to identify the case:

Debtor name         Canoo Technologies Inc

United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

Case number (if known)    25-10099
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                     Gross revenue
      which may be a calendar year                                                   Check all that apply                   (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:                              Operating a business                                     $0.00
      From 1/01/2025 to Filing Date
                                                                                         Other


      For prior year:                                                                    Operating a business                        $1,497,222.00
      From 1/01/2024 to 12/31/2024
                                                                                         Other


      For year before that:                                                              Operating a business                          $371,329.00
      From 1/01/2023 to 12/31/2023
                                                                                         Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                     Description of sources of revenue      Gross revenue from
                                                                                                                            each source
                                                                                                                            (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:                          OK Incentives; Interest
      From 1/01/2025 to Filing Date                                                  Income; Foreign Exchange
                                                                                     Gain                                                         $0.00


      For prior year:                                                                Interest Income;
      From 1/01/2024 to 12/31/2024                                                   Miscellaneous Income                            $1,661,254.00


      For year before that:                                                          Interest Income;
      From 1/01/2023 to 12/31/2023                                                   Miscellaneous Income                            $2,127,553.00



Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
                              Case 25-10099-BLS                   Doc 2        Filed 01/18/25             Page 28 of 202
Debtor       Canoo Technologies Inc                                                             Case number (if known) 25-10099



Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             See Attached Exhibit Q                                10.17.2024 to                 $6,905,730.00                Secured debt
             (All Payments Excluding Payroll of                    01.17.2025                                                 Unsecured loan repayments
             $8,457,575.00)
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other Expense
                                                                                                                         Reimbursements, etc.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   See Attached Exhibit R                                01.01.2024 to                 $6,003,495.00           Rent; Board Fees; Expense
                                                                   01.17.2025                                            Reimbursements


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
                               Case 25-10099-BLS                 Doc 2         Filed 01/18/25                Page 29 of 202
Debtor        Canoo Technologies Inc                                                             Case number (if known) 25-10099



              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    See Attached Exhibit S                                                                                             Pending
                                                                                                                                 On appeal
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Chipman Brown Cicero &
               Cole, LLP                                                                                              12.17.2024
               Hercules Plaza                                                                                         ($100,000.0
               1313 North Market Street                                                                               0)
               Suite 5400                                                                                             01.17.2025
               Wilmington, DE 19801                                                                                   ($25,000.00)               $125,000.00

               Email or website address
               www.chipmanbrown.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
                                Case 25-10099-BLS                 Doc 2         Filed 01/18/25             Page 30 of 202
Debtor        Canoo Technologies Inc                                                             Case number (if known) 25-10099



    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     19951 Mariner Avenue                                                                                2017 to November 2024
                Torrance, CA 90503

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                  See Attached Exhibit X
                  Does the debtor have a privacy policy about that information?
                    No
                     Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
                                Case 25-10099-BLS                  Doc 2        Filed 01/18/25             Page 31 of 202
Debtor      Canoo Technologies Inc                                                               Case number (if known) 25-10099



                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Plan                                                                                EIN:

                    Has the plan been terminated?
                      No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      See Attached Exhibit T                                 See Attached Exhibit T                                                               No
                                                                                                                                                  Yes



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
                             Case 25-10099-BLS                  Doc 2         Filed 01/18/25             Page 32 of 202
Debtor      Canoo Technologies Inc                                                             Case number (if known) 25-10099



     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed
   25.1.    Canoo Manufacturing, LLC                Owns 100%                                         EIN:         XX-XXXXXXX
            19951 Mariner Avenue
            Torrance, CA 90503                                                                        From-To


   25.2.    Canoo Sales, LLC                        Owns 100%                                         EIN:         XX-XXXXXXX
            19951 Mariner Avenue
            Torrance, CA 90503                                                                        From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        See Attached Exhibit U



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
                              Case 25-10099-BLS                   Doc 2        Filed 01/18/25             Page 33 of 202
Debtor      Canoo Technologies Inc                                                              Case number (if known) 25-10099



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        See Attached Exhibit U



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Financials are Included in SEC Filings



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 See Attached Exhibit V
      .

               Name and address of the person who has possession of
               inventory records
               See Attached Exhibit V



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Sean Yan                                15520 Highway 114                                   Sole Director                             None
                                              Justin, TX 76247



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                    Address                                             Position and nature of any           Period during which
                                                                                                  interest                             position or interest
                                                                                                                                       was held
      Hector Ruiz                             [ADDRESS ON FILE]                                   Sole Director                        02.08.2022 to
                                                                                                                                       10.31.2024


30. Payments, distributions, or withdrawals credited or given to insiders

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
                             Case 25-10099-BLS                   Doc 2            Filed 01/18/25          Page 34 of 202
Debtor      Canoo Technologies Inc                                                              Case number (if known) 25-10099



    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value
      30.1 See Attached Exhibit W
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation
   Canoo Inc.                                                                                          EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         January 18, 2025

                                                                Ramesh Murthy
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Chief Admin Officer, SVP Finance, Chief
                                      Accounting Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
                                              Case 25-10099-BLS               Doc 2       Filed 01/18/25      Page 35 of 202


CANOO TECHNOLOGIES, INC.
Official Form 206A/B
     Schedule A/B                                                                                                      Per Exhibit         Per Form      Difference
          Total Part 1 Cash and cash equivalents                                      Exhibit A                    $    12,046,113     $    12,046,113 $            (0)

        Total Part 2    Deposits and Prepayments                                                                   $      41,950,157   $   41,950,158 $                (1)
                                                                                      Exhibit B   $   33,185,970                       $   33,185,970 $                (0)
                                                                                      Exhibit C   $    8,764,188                       $    8,764,188 $                (0)

        Total Part 3    Accounts receivable                                                       Completed in the Form
                                                                                                                    $            -     $           -    $          -

        Total Part 4    Investments                                                   N/A                          $             -     $           -    $          -

        Total Part 5    Inventory, excluding agriculture assets                       Exhibit D                    $       1,812,090   $     1,812,090 $               (0)

        Total Part 6    Farming and fishing-related assets (other than titled motor   N/A                          $             -     $           -    $          -
                        vehicles and land)

        Total Part 7    Office furniture, fixtures, and equipment; and collectibles                                $        387,534    $      387,535 $                (1)
                                                                                      Exhibit E   $      194,004                       $      194,004 $                (0)
                                                                                      Exhibit F   $      193,531                       $      193,531 $                (0)

        Total Part 8    Machinery, equipment, and vehicles                                                         $      70,096,417   $   70,096,417 $                (0)
                                                                                      Exhibit G   $       13,575                       $       13,575 $                 0
                                                                                      Exhibit G   $   70,082,842                       $   70,082,842 $                (0)

        Total Part 9    Real property                                                 N/A                          $             -     $           -    $          -

        Total Part 10   Intangibles and intellectual property                                                      $             -     $           -    $          -
                                                                                      Exhibit H   $           -                        $           -    $          -
                                                                                      Exhibit I   $           -                        $           -    $          -
                                                                                      Exhibit J   $           -                        $           -    $          -
                                                                                      Exhibit K   $           -                        $           -    $          -

        Total Part 11   All other assets                                              Exhibit L                    $             -     $           -    $          -

        Total Schedule A/B                                                                                         $ 126,292,311       $ 126,292,313 $                 (3)
                                            Case 25-10099-BLS          Doc 2        Filed 01/18/25     Page 36 of 202


Canoo Technologies Inc.                                                                                                     Schedule A/B - Exhibit A
Share folder reference:   1.10.4
Form Reference:           Form 206A/B
                          Schedule A/B Part 1
                          Cash & Cash Equivalents

                                                                                                                                       Balance as of
       Bank Name                  Bank Account              Bank Description                           Bank Address
                                                                                                                                        1/17/2025
Silicon Valley Bank                     0399        Canoo Tech- Operating Account      3003 Tasman Drive, Santa Clara, CA 95054      $           6,374
Silicon Valley Bank                     6090        Restricted- Equity                 3003 Tasman Drive, Santa Clara, CA 95054      $               0
Origin Bank                          9198           Canoo Tech- Operating Account      3838 Oak Lawn Dallas TX 75219                 $             746
Wells Fargo                             9484        Canoo Tech- Operating Account      420 Montgomery St. San Francisco Ca 94104     $          19,486
Wells Fargo                             1428        Equity                             420 Montgomery St. San Francisco Ca 94104     $          57,248
Wells Fargo                             1410        FSA                                420 Montgomery St. San Francisco CA 94104     $          39,478
Wells Fargo                             1436        Reservations                       420 Montgomery St. San Francisco CA 94104     $      1,094,592
Wells Fargo                             1444        ESPP                               420 Montgomery St. San Francisco CA 94104     $           9,324
                                                                                                     Total Cash and cash equivalents $      1,227,248

                                                                                                                                         Balance as of
       Bank Name                  Bank Account              Bank Description                           Bank Address
                                                                                                                                          1/17/2025
Silicon Valley Bank                      1728       Collateral MMA                     3003 Tasman Drive, Santa Clara, CA 95054        $        500,000
Silicon Valley Bank                      5347       Collateral MMA                     3003 Tasman Drive, Santa Clara, CA 95054        $        818,864
Silicon Valley Bank                      9786       Collateral MMA                     3003 Tasman Drive, Santa Clara, CA 95054        $      9,500,000
                                                                                                        Total Restricted Cash, current $     10,818,864

                                                                                                                         Grand Total $      12,046,113




Exhibit A - Cash and cash equiv                                                                                                                           2 of 168
                                          Case 25-10099-BLS            Doc 2      Filed 01/18/25       Page 37 of 202


Canoo Technologies Inc.                                                                                           Schedule A/B - Exhibit B
Share folder reference:                  1.10.5
Form Reference:                          Form 206A/B
                                         Schedule A/B Part 2
                                         Deposits

                   Supplier                                                   Address                                        Amount
Panasonic Corporation of North America   Mail Code 5144, PO BOX 660367 Dallas, TX United States 75266                    $   30,000,000.00
I-40 OKC Partners LLC                    9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   $    2,700,000.00
Old Republic Title Company of Oklahoma   4040 N Tulsa, Oklahoma City, OK United States 73112                             $      300,000.00
Grand River Dam Authority                Grand River Dam Authority, PO Box 669 Chouteau, OK United States 74337          $       80,000.00
15520 HWY 114 LLC                        2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    $       73,179.52
Southern California Edison               PO BOX 300, Rosemead, CA United States 91772                                    $       24,790.00
15306 HWY 114 LLC                        2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        $        8,000.00



                                                                                                                        $    33,185,969.52




                                                                                                                                             3 of 168
                                                        Case 25-10099-BLS                    Doc 2         Filed 01/18/25              Page 38 of 202


Canoo Technologies Inc.                                                                                                                                                          Schedule A/B - Exhibit C
Share folder reference:                          1.10.5
Form Reference:                                  Form 206A/B
                                                 Schedule A/B Part 2
                                                 Prepayments

Supplier                                         Address                                                                                                Invoice Number                    Amount
Ace Energy Technology Co Ltd                     RM 3 UNIT P, 1/F KAISER ESTATE, PHASE 3 NOS. 9-11 HOK YUEN STREET HUNGHOM, KOWLOON, Hong Kong          PREPAYMENT-ES2405002              $          558
Adobe Inc                                        29322 Network Place, Chicago, IL United States 60673                                                                                     $       18,137
Aon Risk Insurance Services West Inc             707 Wilshire Blvd, Suite 2600 Los Angeles, CA United States 90017                                                                        $      114,562
Applus IDIADA KARCO Engineering LLC              9270 Holly Rd, Adelanto, CA United States 92301                                                        PO-14016-05/12/23                 $      342,219
Applus IDIADA KARCO Engineering LLC              9270 Holly Rd, Adelanto, CA United States 92301                                                        PREPAYMENT-PO00014016             $       58,030
Applus IDIADA KARCO Engineering LLC              9270 Holly Rd, Adelanto, CA United States 92301                                                        IST23000001-01/23/23              $        8,536
BatterySpaceCom                                  825 S 19th Street, Richmond, CA United States 94804                                                    PREPAYMENT-488009                 $       10,180
Cargo Link Express                               25329 Budde Rd, Building 8 Ste 802 The Woodlands, TX United States 77380                               PREPAYMENT-CLE1003                $       30,000
Confluent Inc                                    899 West Evelyn Ave., Mountain View, CA United States 94041                                                                              $        6,817
Dasung CoLtd                                     NamdongSeoro 370, Namdong-gu, Korea, Republic of 21629                                                 PREPAYMENT-PO00016538             $       10,093
Dasung CoLtd                                     NamdongSeoro 370, Namdong-gu, Korea, Republic of 21629                                                 PREPAYMENT-DS-ADV-240703001       $        1,453
Design and Software International Inc            526 Nilles Rd, Fairfield, OH United States 45014                                                                                         $       14,635
Engineered Fastener Company LLC                  29356 Network Pl, Chicago, IL United States 60673                                                      PREPAYMENT-PO00012994             $          423
Envoy Inc                                        410 Townsend St. Suite 410, San Francisco, CA United States 94107                                                                        $       11,167
Fanuc America Corporation                        Department 77-7986, Chicago, IL United States 60678                                                    7142918                           $      100,000
Fiberdyne Research Pty Ltd                       14 Carmel Ave, Ferntree Gully, Vic Australia 3156                                                      FDR-INV-1174                      $      222,665
Fiberdyne Systems Pty Ltd                        14 Carmel Ave, Ferntree Gully, Vic Australia 3156                                                      FDR-INV-1175                      $       22,500
Gauntlett & Associates                           5 Pelican Vista Dr, Newport Coast, CA United States 92657                                              11/22/23A                         $       25,000
Gauntlett & Associates                           5 Pelican Vista Dr, Newport Coast, CA United States 92657                                              11/22/23                          $       10,000
General Datatech LP                              999 Metromedia Place, Dallas, TX United States 75247                                                                                     $      296,482
Hexagon Manufacturing Intelligence Inc           PO Box 749424, Atlanta, GA United States 30374                                                                                           $       10,145
HL Mando America Corporation                     955 Meriwether Park Dr, Hogansville, GA United States 30230                                            PREPAYMENT-PO00010752             $        1,133
HL Mando Corporation                             32, Hamanho-gil, Poseung-eup, Pyeongtaek-si, Korea, Republic of 17962                                  PREPAYMENT-PO00010685             $       21,505
HSL srl                                          70, Via Di Vittorio Giuseppe - 38015 Lavis (TN) Trento, Lavis, Trentino Italy 38015                    100041/1-08/08/23                 $      200,000
HSL srl                                          70, Via Di Vittorio Giuseppe - 38015 Lavis (TN) Trento, Lavis, Trentino Italy 38015                    PREPAYMENT-169/1                  $       55,910
Humanetics Digital North America Inc             598 Airport Blvd, Suite 600, Morrisville, NC United States 27560                                                                         $       10,901
Idneo Technologies S.A.U.                        Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   90000040-07/28/23                 $       85,138
Idneo Technologies S.A.U.                        Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-07/28/23               $      216,907
Idneo Technologies S.A.U.                        Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-PO00010174             $      131,556
Idneo Technologies S.A.U.                        Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   90000041-08/28/23                 $      219,490
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-07/21/23               $      435,455
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-05/17/23               $      420,607
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-PO00009537             $      371,128
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-08/28/23               $      325,275
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-03/16/23               $      202,411
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-06/26/23               $      170,613
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   DN20230510_01-05/12/23            $      109,079
Idneo Technologies SAU                           Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                   PREPAYMENT-06/23/23               $      106,850
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     MIS302928-09/01/23                $       21,008
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     MIS302928                         $      254,441
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     PREPAYMENT-PO00010133             $      500,000
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     PREPAYMENT-PO00010133A            $      244,616
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     PREPAYMENT-PO00010133B            $      175,000
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     PREPAYMENT-PO00010133C            $      250,000
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     PREPAYMENT-INV171483              $      107,966
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     PREPAYMENT-PO00016187             $       21,149
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV   Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                     PREPAYMENT-PO00016009             $       12,508
Interplex Suzhou Precision Engineering LTD       36 Xingming Street Css Industrial Park, Suzhou, China 215021                                           PREPAYMENT-PO00016728             $       35,187
IPG Automotive USA Inc                           1350 Highland Dr., Suite F Ann Arbor, MI United States 48108                                                                             $      123,951

Exhibit C - Prepayments                                                                                                                                                                             4 of 168
                                                      Case 25-10099-BLS                        Doc 2          Filed 01/18/25                 Page 39 of 202


Supplier                                        Address                                                                                                             Invoice Number                  Amount
JVIS USA LLC                                    PO Box 530, Mount Clemens, MI United States 48046                                                                   68004-05/17/23                  $        7,196
Keysight Technologies Inc                       900 S Taft Ave, Loveland, CO United States 80537                                                                    PREPAYMENT-WO-00837531M         $       14,421
Legend Fleet Solutions                          56957 Hwy 3, Tillsonburg, Canada N4G4G8                                                                             PREPAYMENT-SI70296              $        1,449
Legend Fleet Solutions                          56957 Hwy 3, Tillsonburg, Canada N4G4G8                                                                             PREPAYMENT-00017089             $          168
Lockton Companies                               Lockton-Dunning Series of Lockton Companies, LLC, Dept 3042 PO Box 123042 Dallas, TX United States 75312                                            $      171,234
LS Cable & System (Wuxi) Co Ltd                 No.9 Lexing Road, Wuxi, China 214028                                                                                PREPAYMENT-PO00016212           $          431
LS EV KOREA Ltd                                 27. Gongdan-ro 140 beon-gil, Gunpo-si, Korea, Republic of 15845                                                     PREPAYMENT-PO00016075           $        4,182
Marathon Labels Inc                             3820 Merchant Rd., Fort Wayne, IN United States 46818                                                                                               $          726
Marquardt Switches Inc                          PO BOX 10713, Albany, NY United States 12201                                                                        60033023-08/15/23               $       36,107
Matrix Material Handling Inc                    PO Box 20870, Oklahoma City, OK United States 73156                                                                 13227                           $       20,428
Mergon Corporation                              5350 Old Pearman Dairy Rd, Anderson, SC United States 29625                                                         PREPAYMENT-PO00011156           $       33,464
Modine Manufacturing Company                    2009 Remke Ave, Lawrenceburg, TN 38464, Lawrenceburg, TN United States 38464                                        PREPAYMENT-PO00016213           $        7,711
Ningbo Xusheng Group Co LTD                     68 Yanshanhe South Road, Ningbo, China 315806                                                                       PO00015224-PREPAYMENT           $       42,144
Ningbo Xusheng Group Co LTD                     68 Yanshanhe South Road, Ningbo, China 315806                                                                       PREPAYMENT-PO00016162           $        8,400
Oakley Industries Inc                           35224 Autonation Dr, Clinton Township, MI United States 48035                                                       0000919-11/18/22A               $        2,548
Oasys Ltd                                       8 Fitzroy Street, London, London United Kingdom W1T 4BJ                                                                                             $       11,697
Okta Inc                                        PO BOX 743620, Los Angeles, CA United States 90074                                                                                                  $       75,076
Onix Networking Corp                            PO Box 74184, Cleveland, OH United States 44194                                                                                                     $       25,639
OpenSynergy Inc                                 765 East 340 South, Suite 106 American Fork, UT United States 84003                                                                                 $        5,553
OPTIMAS OE SOLUTIONS LP                         2651 Compass Road, Glenview, IL United States 60026                                                                                                 $        4,200
Osirius Group LLC                               725 South Adams Rd., Suite 205 Birmingham, MI United States 48009                                                   PREPAYMENT-PO00016121B          $       64,800
PagerDuty Inc                                   600 Townsend Street, Suite 125, San Francisco, CA United States 94103                                                                               $        2,453
Panasonic Corporation of North America          Mail Code 5144, PO BOX 660367 Dallas, TX United States 75266                                                        PREPAYMENT-40006556-1           $       59,703
Panasonic Corporation of North America          Mail Code 5144, PO BOX 660367 Dallas, TX United States 75266                                                        PREPAYMENT-40006556             $        6,500
Paul Hastings LLP                               515 S Flower St Ste 2500, Baldwin Hills, CA United States 90071                                                     701946                          $      100,000
Paul Hastings LLP                               515 S Flower St Ste 2500, Baldwin Hills, CA United States 90071                                                     701921                          $       75,000
POSCO INTERNATIONAL AMERICA CORP                664 Nongong-ro, Nongong-eup, Dalseong-gun Daegu, Korea, 42981, Nongong-eup, Dalseong-gun Korea, Republic of 42981   CANOO_QQH_KH230927-1-09/27/23   $        3,200
PRETTL LIGHTING & INTERIOR DE MEXICO SA DE CV   CARRETERA LIBRE A CELAYA KM 8.6, Zona Industrial Balvanera Corregidora, Queretaro Mexico 76908                      PREPAYMENT-PO00016216           $       68,920
Rapid Global Business Solutions Inc             1200 Stephenson Hwy, Troy, MI United States 48083                                                                                                   $       35,697
Rescale Inc                                     33 New Montgomery St, Suite 950 San Francisco, CA United States 94105                                                                               $       28,750
River Point Technology LLC                      1700 Ashwood Drive, Suite 1704 Canonsburg, PA United States 15317                                                                                   $       22,188
Sales Force com Inc                             PO BOX 203141, Dallas, TX United States 75320                                                                                                       $        9,839
Sanmina Corporation                             PO BOX 842162, Dallas, TX United States 75284                                                                       2004812484                      $      125,000
Schwab Industries Inc                           50850 Rizzo Dr, Shelby Township, MI United States 48315                                                             51068-11/17/22                  $       32,232
Schwab Industries Inc                           50850 Rizzo Dr, Shelby Township, MI United States 48315                                                             51066-11/17/22                  $        7,584
Schwab Industries Inc                           50850 Rizzo Dr, Shelby Township, MI United States 48315                                                             PREPAYMENT-PO00016270           $        1,320
Seica Inc                                       110 Avco Road, Haverhill, MA United States 1835                                                                     PREPAYMENT-2024/342             $        2,900
SHW Automotive Pumps (Kunshan) Co Ltd           No.369, Yuyang Road, Suzhou, China 215300                                                                           PREPAYMENT-05/04/23             $      130,589
SHW Automotive Pumps (Kunshan) Co Ltd           No.369, Yuyang Road, Suzhou, China 215300                                                                           PREPAYMENT-PO00010169           $       80,245
SHW Automotive Pumps (Kunshan) Co Ltd           No.369, Yuyang Road, Suzhou, China 215300                                                                           PREPAYMENT-PO00010169A          $       80,011
SHW Automotive Pumps (Kunshan) Co Ltd           No.369, Yuyang Road, Suzhou, China 215300                                                                           PREPAYMENT-PO00010169B          $       14,978
Siemens Industry Software Inc                   PO BOX 2168, Carol Stream, IL United States 60132                                                                                                   $       26,800
Sika Corporation                                23868 Network Place, Chicago, IL United States 60673                                                                PREPAYMENT-7001293316           $        1,181
Stratus-X LLC                                   9800 Mount Pyramid Court, Ste 400 Englewood, CO United States 80112                                                                                 $      243,544
Tachi-S Engineering USA Inc                     23227 Commerce Dr, Farmington Hills, MI United States 48335                                                         0019977-IN-03/23/23             $      435,132
Telos Global LLC                                1880 Hwy 116, Caryville, TN United States 37714                                                                     264-03/29/23                    $       81,036
The MathWorks Inc                               3 Apple Hill Drive, Natick, MA United States 1760                                                                                                   $          427
TPK Auto Tech Co Limited                        Units 610-611, 6/F Tower 2, Lippo CTR 89 Queensway, Admiralty , Hong Kong                                           2023042001-04/24/23             $      393,000
Voxx Electronics Corp                           P O Box 205423, Dallas, TX United States 75320                                                                      PREPAYMENT-12362116             $       15,000

                                                                                                                                                                                                    $    8,764,188




Exhibit C - Prepayments                                                                                                                                                                                       5 of 168
                                             Case 25-10099-BLS      Doc 2      Filed 01/18/25      Page 40 of 202


Canoo Technologies Inc.                                                                                                   Schedule A/B - Exhibit D
Share folder reference:          1.10.7
Form Reference:                  Form 206A/B
                                  Schedule A/B Part 5
                                 Inventory

INVENTORY LOCATION - Raw Materials

      Company/Supplier Name                     Address         City             State          Country        Zip Code              Amount
Idneo Technologies S.A.U.        Carrer Rec de Dalt, 3     Mollet del Vallès   Barcelona         SPAIN          08100          $          818,413
Toledo Tool & Die Co Inc         105 W. Alexis Rd.             Toledo             OH              USA           43612          $          773,948
HSL s.r.l.                       Via dei Masadori 46        Trento - Loc.        Spini           ITALY          38100          $          219,729
                                                                                                                               $        1,812,090
                                                               Case 25-10099-BLS                        Doc 2     Filed 01/18/25                  Page 41 of 202


Canoo Technologies Inc.                                                                                                                                                                                            Schedule A/B - Exhibit E
Share folder reference: 1.10.3
Form Reference:         Form 206A/B
                        Schedule A/B Part 7
                        Furniture & Fixtures
                                                                                                             949,254                 194,004
Asset number           Asset Description                                                             Cost              NBV at Period End       Asset Category           Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                103920 Build Stations: Additional 12th Module [103920]                                        54,085                  20,733   FURNITURE AND FIXTURES          60               901.42          10,817.04           33,352.43
                103919 Build Stations: Distribution Plates [103919]                                           19,789                   7,586   FURNITURE AND FIXTURES          60               329.82           3,957.84           12,203.25
                107807 Installation of 624’ of 8’ tall (9 gauge) galvanized chain linkfence [107807]          21,840                  16,380   FURNITURE AND FIXTURES          60               364.00           5,278.00            5,460.00
                107849 Warehouse Inventory Racks [107849]                                                     79,769                  59,826   FURNITURE AND FIXTURES          60             1,329.48          18,696.91           19,942.19
                108007 Cages around Electrical Equipment [108007]                                             33,332                  27,221   FURNITURE AND FIXTURES          60               555.53           6,110.83            6,110.83
                100924 610009246-00001373-Zarges Inc.-Aluminum Divider Set – Removable [100924]                1,342                     -     FURNITURE AND FIXTURES          60                                   201.26           1,341.62
                100926 610009247-00001373-Zarges Inc.-Zarges K470 Aluminum CaseVersion [100926]                8,942                     -     FURNITURE AND FIXTURES          60                                1,341.26            8,941.70
                100925 610009271-00001373-Zarges Inc.-Intumescent Glass Lining Pads [100925]                   1,740                     -     FURNITURE AND FIXTURES          60                                   261.01           1,739.65
                101014 DVB 1020-04 Oct P-Card-Workbenches for the EE Lab [101014]                              5,929                     988   FURNITURE AND FIXTURES          60                 98.82          1,185.84            4,941.12
                100869 LAS0819-01-HOUZZ INC. SHOP [100869]                                                     3,400                     -     FURNITURE AND FIXTURES          60                                   510.06           3,400.35
                102822 15520 HWY 114 LLC-Furniture and Fixtures-Inv:5023 PO:5837 [102822]                     95,539                  23,885   FURNITURE AND FIXTURES          60             1,592.32          19,107.84           71,654.23
                100555 AMZN MKTP-Chairs [100555]                                                               3,131                     -     FURNITURE AND FIXTURES          60                                   156.56           3,131.10
                100741 Amazon-SVB-PETER_5730-011-Ame-Office Chairs [100741]                                   21,579                     -     FURNITURE AND FIXTURES          60                                                   21,579.48
                100873 CORT FURNITURE RENTALLS-0319-04-Purchased with Credit Card [100873]                     5,817                     -     FURNITURE AND FIXTURES          60                                   193.91           5,817.30
                100872 IKEA-LS-0319-04-Purchased with Credit Card [100872]                                     1,501                     -     FURNITURE AND FIXTURES          60                                    50.06           1,500.83
                100274 Kullaberg Stools [100274]                                                                 542                     -     FURNITURE AND FIXTURES          60                                                      542.40
                100868 LAS0819-01-IKEA.COM [100868]                                                            7,336                     -     FURNITURE AND FIXTURES          60                                1,100.38            7,335.68
                100267 Mobylanga Table [100267]                                                                3,566                     -     FURNITURE AND FIXTURES          60                                                    3,566.15
                100270 Mobylanga Table [100270]                                                                1,326                     -     FURNITURE AND FIXTURES          60                                                    1,326.11
                100271 Mobylanga Table [100271]                                                                3,533                     -     FURNITURE AND FIXTURES          60                                                    3,533.33
                100272 ORF Jall Seat [100272]                                                                    443                     -     FURNITURE AND FIXTURES          60                                                      442.55
                100254 Office Furniture Temp Office El Segundo [100254]                                        8,034                     -     FURNITURE AND FIXTURES          60                                                    8,033.56
                100251 Office Sakkai-Brackets 50% [100251]                                                     9,697                     -     FURNITURE AND FIXTURES          60                                                    9,697.32
                100241 Office Sakkai-Executive Workstation (11 Seats) [100241]                                16,539                     -     FURNITURE AND FIXTURES          60                                                   16,539.35
                100249 Office Sakkai-File Cabinet w/ Cushion Top [100249]                                      9,554                     -     FURNITURE AND FIXTURES          60                                                    9,554.11
                100250 Office Sakkai-File Cabinet w/ Cushion Top [100250]                                      1,075                     -     FURNITURE AND FIXTURES          60                                                    1,074.84
                100242 Office Sakkai-Large Conference Table (for 20ppl @ ROOM 202) [100242]                   12,367                     -     FURNITURE AND FIXTURES          60                                                   12,366.60
                100240 Office Sakkai-Private Workstation (2 Seats) [100240]                                    1,268                     -     FURNITURE AND FIXTURES          60                                                    1,268.31
                100237 Office Sakkai-Say Chairs-Suspension Mid‑Back, Assembled inv:27042-10657-1D [100237]   110,696                     -     FURNITURE AND FIXTURES          60                                                 110,695.86
                100238 Office Sakkai-Sayl® Chairs-Suspension Mid‑Back, Assembled [100238]                     18,733                     -     FURNITURE AND FIXTURES          60                                                   18,733.14
                100239 Office Sakkai-Standard Height Workstation (300 Seats) [100239]                        218,502                     -     FURNITURE AND FIXTURES          60                                                 218,502.42
                100252 Office Sakkai-Standard Height Workstation, 48 Seatings [100252]                        15,269                     -     FURNITURE AND FIXTURES          60                                                   15,268.68
                100248 Office Sakkai-Standing HT File Cabinets (F) [100248]                                    1,354                     -     FURNITURE AND FIXTURES          60                                                    1,354.29
                100243 Office Sakkai-Standing HT File Cabinets w/ Top & Legs (A) [100243]                      1,887                     -     FURNITURE AND FIXTURES          60                                                    1,886.94
                100247 Office Sakkai-Standing HT File Cabinets w/ Top & Legs (E) [100247]                      3,307                     -     FURNITURE AND FIXTURES          60                                                    3,306.92
                100244 Office Sakkai-Standing HT File Cabinets w/ Top (B) [100244]                             5,678                     -     FURNITURE AND FIXTURES          60                                                    5,677.53
                100245 Office Sakkai-Standing HT File Cabinets w/ Top (C) [100245]                             2,795                     -     FURNITURE AND FIXTURES          60                                                    2,794.58
                100246 Office Sakkai-Standing HT File Cabinets w/ Top (D) [100246]                             2,331                     -     FURNITURE AND FIXTURES          60                                                    2,331.20
                100268 Orfjall Seats [100268]                                                                    223                     -     FURNITURE AND FIXTURES          60                                                      223.33
                100253 Sears-Other Office Furniture [100253]                                                   6,339                     -     FURNITURE AND FIXTURES          60                                                    6,338.53
                100275 Soderhamn [100275]                                                                        330                     -     FURNITURE AND FIXTURES          60                                                      329.87
                100276 Soderhamn [100276]                                                                        775                     -     FURNITURE AND FIXTURES          60                                                      774.85
                100269 Sporren Chairs [100269]                                                                   279                     -     FURNITURE AND FIXTURES          60                                                      279.30
                100273 Sporren Chairs [100273]                                                                   553                     -     FURNITURE AND FIXTURES          60                                                      553.47
                100717 The Sheridian Group-Inv-207396-Labor Wk. Chr.Asmbled.Sayl.Suspicon Mid-Bck [100717]     1,711                     -     FURNITURE AND FIXTURES          36                                                    1,710.94
                103665 Desks for new space buildout ste 2D [103665]                                            4,142                   1,381   FURNITURE AND FIXTURES          60                 69.03             828.36           2,761.29
                103474 GL Seaman Desk For Justin Office [103474]                                              44,767                  14,922   FURNITURE AND FIXTURES          60               746.12           8,953.44           29,844.84
                102948 Work stations and seating for new office space in Justin, TX [102948]                  56,663                  15,110   FURNITURE AND FIXTURES          60               944.38          11,332.56           41,552.83
                103256 Work stations and seating for new office space in Justin, TX [103256]                  19,905                   5,972   FURNITURE AND FIXTURES          60               331.75           3,981.00           13,933.57

                                                                                                                                                                                                                                       7 of 168
                                                               Case 25-10099-BLS                        Doc 2         Filed 01/18/25                  Page 42 of 202


Canoo Technologies Inc.                                                                                                                                                                                             Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                  9,157,485               193,531
Asset number            Asset Description                                                                    Cost             NBV at Period End      Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 106971 AIR-ANT2566P4W-RS= [106971]                                                                  12,884                  1,074   COMPUTER HARDWARE          36               357.88           4,294.56           11,810.13
                 104016 Apple MacBook Pro 16.2 " M1 Max 32GB RAM [104016]                                             3,386                    188   COMPUTER HARDWARE          36                 94.05          1,128.60            3,197.72
                 105827 CDW - iPad inventory for the company. Includes screen protectors and cases. [105827]         33,147                  3,683   COMPUTER HARDWARE          36               920.76          11,049.12           29,464.25
                 100508 Custom ThinkStation P920 Workstation [100508]                                                 5,543                    -     COMPUTER HARDWARE          36                                                    5,542.89
                 104017 Dell Latitude 5420 Laptop [104017]                                                          113,637                  6,313   COMPUTER HARDWARE          36             3,156.57          37,878.84         107,323.37
                 104013 Helpdesk Inventory - Apple MacBook Pro 13" [104013]                                          70,836                  1,968   COMPUTER HARDWARE          36             1,967.66          23,611.92           68,868.10
                 104015 IPad inventory for IT [104015]                                                               14,039                    -     COMPUTER HARDWARE          36               390.02           4,289.82           14,039.34
                 104014 Samsung 860 EVO M2 Hard Drives [104014]                                                       4,254                    118   COMPUTER HARDWARE          36               118.15           1,417.80            4,135.31
                 100806 Invoice-002629-001-Saratech JP-3D HR PA 12 [100806]                                           7,829                    -     COMPUTER HARDWARE          36                                                    7,829.25
                 100773 Saratech-Invoice:0022510-001-HP-Jet Fusion 3D Build Unit-00002156 [100773]                   23,224                    -     COMPUTER HARDWARE          36                                                   23,223.75
                 100524 11460 SoftPanel Kit w/Software & Key [100524]                                                   800                    -     COMPUTER HARDWARE          36                                                      800.00
                 100525 11565 19" Rack Mounting Kit for model 4kW,5kW & 6kW [100525]                                     65                    -     COMPUTER HARDWARE          36                                                        65.00
                 100481 61AFGAR1US; Lenovo ThinkVision P27h - LED monitor - 27" [100481]                              1,417                    -     COMPUTER HARDWARE          36                                                    1,416.84
                 103654 760903: Current Senser ElementEach: $4,000.00Qty: 4 [103654]                                 16,155                    -     COMPUTER HARDWARE          36                                3,590.10           16,155.38
                 103656 761954: Cable for Current Sensor Element (3 m)4 weeks AROEach: 290Qty: 4 [103656]             1,171                    -     COMPUTER HARDWARE          36                                   260.29           1,171.27
                 100523 A636010 Ethernet Interface [63200A/63000] [100523]                                              345                    -     COMPUTER HARDWARE          36                                                      345.00
                 100573 ADAMANTTECH-LAS0519-01 P-CARD-Silicon Valley Bank-MAY P-CARD TRANSACTIONS [100573]            5,345                    -     COMPUTER HARDWARE          36                                                    5,344.86
                 100428 ASUS VN279Q - LED monitor - Full HD (1080p) - 27" [100428]                                    3,145                    -     COMPUTER HARDWARE          36                                                    3,145.05
                 103667 Add on for EOL tester with Loccioni for inverter [103667]                                    23,716                    -     COMPUTER HARDWARE          36                                3,293.87           23,716.00
                 100517 CDW - Lenovo ThinkStation P720 - tower - Xeon Silver 4114 2.2 GHz - 16 GB - 512 [100517]      3,362                    -     COMPUTER HARDWARE          36                                                    3,361.65
                 101940 CDW Direct LLC-Inv:5384995-PO:4813-Precision 3930 [101940]                                    7,171                    -     COMPUTER HARDWARE          36                                                    7,170.86
                 100345 CDW Direct LLC-ThinkStation P720 desktop custom PC per quote KKFH939 [100345]                 3,174                    -     COMPUTER HARDWARE          36                                                    3,174.36
                 100346 CDW Direct LLC-ThinkStation P720 desktop custom PC per quote KKFH939 [100346]                 3,174                    -     COMPUTER HARDWARE          36                                                    3,174.36
                 103648 CSB Testboard 30-07002 Revision: 2.0 PCBA [103648]                                              982                    -     COMPUTER HARDWARE          36                                   245.45             981.78
                 103649 CSB Testboard 30-07002 Revision: 2.0 PCBA [103649]                                            7,871                    -     COMPUTER HARDWARE          36                                1,967.66            7,870.64
                 103650 CSB Testboard 30-07002 Revision: 2.0 PCBA [103650]                                              982                    -     COMPUTER HARDWARE          36                                   245.45             981.78
                 103466 Csm TC Daq 16 Channel PO 6869 [103466]                                                        6,970                    -     COMPUTER HARDWARE          36                                1,548.84            6,969.78
                 103366 Dell Latitude 3420 - christian [103366]                                                      22,373                    -     COMPUTER HARDWARE          36                                3,728.93           22,373.45
                 103647 HVDC bidirectional power supply - OBC EoL Tester - ITech 18kWRexGear item# IT60 [103647]     11,500                    -     COMPUTER HARDWARE          36                                2,875.01           11,500.00
                 100654 Invoice Number-INV-US26702-PN: N4032 Description 24x 10GBASE [100654]                         3,176                    -     COMPUTER HARDWARE          36                                                    3,176.19
                 100720 Invoice-US28110-Jenkins build server for GHS [100720]                                         4,329                    -     COMPUTER HARDWARE          36                                                    4,328.91
                 100886 Invoice:18167632 FINAL-PO:00000869-Vector North America Inc.-55300 CANape [100886]           27,300                    -     COMPUTER HARDWARE          36                                                   27,300.00
                 100865 LAS0819-01-DRI*NVIDIA STORE [100865]                                                          4,378                    -     COMPUTER HARDWARE          36                                                    4,378.25
                 100515 Lenovo ThinkStation P720 - tower - Xeon Silver 4114 2.2 GHz - 16 GB - 512 G [100515]          3,070                    -     COMPUTER HARDWARE          36                                                    3,070.00
                 103655 M1223UC‑A‑112: WT5000 One‑time NIST calibration 1‑4 Elementsadd 2 week [103655]                 808                    -     COMPUTER HARDWARE          36                                   179.52             807.77
                 100967 MX Electronics-30-04002 Revision: 1.0 VICM TEST-Z32622-PO:00003752 [100967]                   4,107                    -     COMPUTER HARDWARE          36                                                    4,106.72
                 103314 NI CAN Transceiver for NHR stations+ NI-9860 Qty:4+ TRC-8542 Qty: 8 [103314]                  7,236                    -     COMPUTER HARDWARE          36                                1,004.97            7,235.76
                 103260 R8 and R12 logging PC [103260]                                                                4,380                    -     COMPUTER HARDWARE          36                                   486.67           4,379.90
                 103262 R8 and R12 logging PC [103262]                                                                3,682                    -     COMPUTER HARDWARE          36                                   511.37           3,681.74
                 101649 Vector North America Inc.-90875465-PO:00004348 [101649]                                      12,975                    -     COMPUTER HARDWARE          36                                                   12,975.00
                 101647 Vector North America Inc.-90875467-PO:00004348-VT6051A [101647]                               3,703                    -     COMPUTER HARDWARE          36                                                    3,703.00
                 101648 Vector North America Inc.-90875467-PO:00004348-VT6204 [101648]                                3,140                    -     COMPUTER HARDWARE          36                                                    3,140.00
                 103653 WT5000‑HE‑D/MTR1: Precision Power Analyzer, 7‑Slot Chassis, English Menu [103653]            10,602                    -     COMPUTER HARDWARE          36                                2,356.00           10,601.97
                 103668 Yokogawa power analyzer for inverter EOL tester [103668]                                     41,987                    -     COMPUTER HARDWARE          36                                5,831.49           41,987.00
                 103580 recycling fee [103580]                                                                          115                    -     COMPUTER HARDWARE          36                                    15.98             115.00
                 100320 COMPUTERS [100320]                                                                            6,385                    -     COMPUTER HARDWARE          36                                                    6,385.10
                 103675 "This macbook pro is at the request of Marco Elkenkamp [103675]                               6,026                    -     COMPUTER HARDWARE          36                                1,506.61            6,026.41
                 103663 AC recharge system Used for recover recycle and recharging vehicle AC systems [103663]        8,524                    -     COMPUTER HARDWARE          36                                1,894.20            8,523.85

                                                                                                                                                                                                                                        8 of 168
                                                               Case 25-10099-BLS                        Doc 2          Filed 01/18/25                 Page 43 of 202


Canoo Technologies Inc.                                                                                                                                                                                              Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                  9,157,485              193,531
Asset number            Asset Description                                                                    Cost            NBV at Period End       Asset Category      Life        Depreciation Amount YTD Depreciation    Depreciation Reserve
                 103769 BOP101021: 90.N6.69.000.0 ‑ IN‑2000 Current Transducer 2000Arms(3000Apk) [103769]             5,207                   -      COMPUTER HARDWARE          36                                 1,446.47            5,207.26
                 103465 CSM Quote 2221042702A PO 6637 [103465]                                                        7,639                   -      COMPUTER HARDWARE          36                                 1,697.48            7,638.56
                 100529 Dell 720XD Server with specs attached in quote # QUO-US39843 [100529]                         5,488                   -      COMPUTER HARDWARE          36                                                     5,488.06
                 100994 Dell Marketing LP-10418749056-Workstation Tower [100994]                                     10,589                   -      COMPUTER HARDWARE          36                                                    10,589.14
                 100829 Invoice-INV-US25815-OSI Global IT-PO-00000741-Dell 720xd Server [100829]                      5,488                   -      COMPUTER HARDWARE          36                                                     5,488.06
                 100719 Invoice-INV-US27742-Dell 720xd Server with specs attached in quote [100719]                   5,561                   -      COMPUTER HARDWARE          36                                                     5,560.80
                 103368 LVO P620 3975WX W10P MC98327111 [103368]                                                     16,163                   -      COMPUTER HARDWARE          36                                 2,244.82           16,162.63
                 103369 LVO P620 3975WX W10P MC98327111 [103369]                                                      7,502                   -      COMPUTER HARDWARE          36                                 1,250.41            7,502.43
                 103371 LVO P620 3975WX W10P MC98327111 [103371]                                                      7,502                   -      COMPUTER HARDWARE          36                                 1,250.41            7,502.43
                 100427 Lenovo ThinkStation P720 - tower - Xeon Silver 4114 2.2 GHz - 16 GB - 512 G30BA [100427]      3,362                   -      COMPUTER HARDWARE          36                                                     3,361.65
                 100528 OSI Order - Dell 720xd Server with specs attached in quote [100528]                           5,488                   -      COMPUTER HARDWARE          36                                                     5,488.06
                 103323 RAMSIS Digital Human Modeling Software [103323]                                              87,640                   -      COMPUTER HARDWARE          36                                12,172.23           87,640.00
                 100968 Siemens-SCM-V24-II Simcenter SCADAS 24 ch V/ICP Input Module-8043696-PO:00003753 [100968]36,470                       -      COMPUTER HARDWARE          36                                                    36,470.20
                 100356 Custom Lenovo P52 [100356]                                                                    7,771                   -      COMPUTER HARDWARE          36                                                     7,770.60
                 102946 LVO P620 3975WX W10P MC98327111 [102946]                                                     11,515                   -      COMPUTER HARDWARE          36                                   959.57           11,514.76
                 103629 1 CONTROLDESK [103629]                                                                        5,931                   -      COMPUTER HARDWARE          36                                   823.76            5,931.01
                 103631 12 DS2680 [103631]                                                                           29,219                   -      COMPUTER HARDWARE          36                                 4,058.18           29,218.76
                 103632 13 DS2671 [103632]                                                                            7,748                   -      COMPUTER HARDWARE          36                                 1,076.15            7,748.20
                 103633 14 SCLX_PU_HCP_3U_RACK [103633]                                                              10,735                   -      COMPUTER HARDWARE          36                                 1,491.03           10,735.28
                 103634 15 SCLX_SLOT_UNIT [103634]                                                                    4,747                   -      COMPUTER HARDWARE          36                                   659.28            4,746.73
                 103635 21 SCLX_RACK [103635]                                                                        16,222                   -      COMPUTER HARDWARE          36                                 2,253.01           16,221.59
                 103630 7 SCLX_FS_200 [103630]                                                                        5,778                   -      COMPUTER HARDWARE          36                                   802.45            5,777.58
                 103622 Build server for ADAS software [103622]                                                      12,652                   -      COMPUTER HARDWARE          36                                 2,108.59           12,651.54
                 103628 Precision 3930 Rack [103628]                                                                 22,967                   -      COMPUTER HARDWARE          36                                 5,103.78           22,967.01
                 103491 RexGear 500V/120A/18kW Bidirectional power Supply PO 8123 [103491]                           35,858                   -      COMPUTER HARDWARE          36                                 7,968.54           35,858.44
                 103651 ART0200814 incl. Shipping and Tax [103651]                                                    3,597                   -      COMPUTER HARDWARE          36                                   899.36            3,597.35
                 104082 LoTecha Hardware (NJ) Homeplug GP Protocol & PilotShark PO 11253 [104082]                    29,523                 2,460    COMPUTER HARDWARE          36               820.07            9,840.84           27,062.34
                 100516 CDW Attn: Wilson Reimer - Apple MacBook Pro with Touch Bar - 15.4" - Core i7 - 1 [100516]     5,813                   -      COMPUTER HARDWARE          36                                                     5,813.31
                 100867 LAS0819-01-ADAMANTTECH [100867]                                                               9,300                   -      COMPUTER HARDWARE          36                                                     9,300.00
                 107642 1-MX471C-R 4-channel CAN FD module of the SomatXR family [107642]                            10,575                 3,525    COMPUTER HARDWARE          36               293.76            3,525.12            7,050.24
                 103471 EVGateway DC Fast Charger PO 7164 [103471]                                                   22,737                   -      COMPUTER HARDWARE          36                                 5,052.72           22,737.00
                 103759 EV Charging Station Energy & Activity monitoring - ACD Level 2 [103759]                       3,184                   -      COMPUTER HARDWARE          36                                   884.46            3,184.00
                 103760 EV Charging Station Energy & Activity monitoring - DC Fast chargers [103760]                  3,186                   -      COMPUTER HARDWARE          36                                   885.00            3,186.00
                 103772 IT equipment for newhires [103772]                                                            6,646                   -      COMPUTER HARDWARE          36                                 1,661.55            6,646.15
                 103773 Mac computers for Torrance employees [103773]                                                 5,266                   -      COMPUTER HARDWARE          36                                 1,316.51            5,265.98
                 103771 computer equipment [103771]                                                                   7,770                   -      COMPUTER HARDWARE          36                                 1,942.56            7,770.19
                 103676 tv equipment for new buildout [103676]                                                        3,153                   -      COMPUTER HARDWARE          36                                   788.21            3,152.80
                 105804 1-KAB430-0.3 Adapter for IEPE/voltage (ODU 14p to BNC). [105804]                             10,014                 1,113    COMPUTER HARDWARE          36               278.16            3,337.92            8,901.10
                 106928 10G/1G Dual Rate SFP+ Transceiver, pack [106928]                                              6,900                   383    COMPUTER HARDWARE          36               191.67            2,300.04            6,516.70
                 106931 10G/1G Dual Rate SFP+ Transceiver, pack [106931]                                                864                     72   COMPUTER HARDWARE          36                 23.99             287.88              791.63
                 106934 10G/1G Dual Rate SFP+ Transceiver, pack [106934]                                                873                     73   COMPUTER HARDWARE          36                 24.26             291.12              800.61
                 106960 10PK AP-MNT-MP10-C AP MOUNT BRACKET C [106960]                                                  127                     11   COMPUTER HARDWARE          36                  3.53              42.36              116.49
                 106908 1100W AC 80+ platinum Config 1 Secondary [106908]                                            31,056                   863    COMPUTER HARDWARE          36               862.67           10,352.04           30,193.37
                 100350 128GB of RAM [100350]                                                                         5,729                   -      COMPUTER HARDWARE          36                                                     5,729.04
                 103814 19" Rack Mounting Kit 4U for model 4kW,5kW & 6kW11565 [103814]                                1,829                   -      COMPUTER HARDWARE          36                 50.79             558.99            1,829.43
                 103800 20S0005PUS Lenovo ThinkPad T14 Gen 1 - 14" - Core i710610U - vPro - 16 GB RAM - [103800]    (39,560)                  -      COMPUTER HARDWARE          36                               (10,988.89)         (39,560.00)
                 103801 20S0005PUS Lenovo ThinkPad T14 Gen 1 - 14" - Core i710610U - vPro - 16 GB RAM - [103801]     49,450                   -      COMPUTER HARDWARE          36                                13,736.12           49,450.00
                 103922 20VX002KUS Lenovo ThinkPad P14s Gen 2 - 14" - Core i7 1165G7 PO9237 [103922]                 30,255                      0   COMPUTER HARDWARE          36               840.41           10,084.92           30,254.82

                                                                                                                                                                                                                                        9 of 168
                                                               Case 25-10099-BLS                        Doc 2            Filed 01/18/25                Page 44 of 202


Canoo Technologies Inc.                                                                                                                                                                                               Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                    9,157,485             193,531
Asset number            Asset Description                                                                   Cost              NBV at Period End       Asset Category      Life        Depreciation Amount YTD Depreciation    Depreciation Reserve
                 103806 20VX002KUSLenovo ThinkPad P14s Gen 2 - 14" - Core i71165G7 - 16 GB RAM - 512 G [103806]       10,085                   -      COMPUTER HARDWARE          36                                 2,521.24           10,084.95
                 100834 4846398 Dell Primary Battery-notebook battery-Li-Ion-51 Wh [100834]                              103                   -      COMPUTER HARDWARE          36                                                        102.97
                 103677 5 Mac books pro for stock, used for new hires. [103677]                                       13,252                   -      COMPUTER HARDWARE          36                                 3,312.90           13,251.60
                 103679 5 Mac books pro for stock, used for new hires. [103679]                                       26,503                   -      COMPUTER HARDWARE          36                                 6,625.80           26,503.20
                 103927 5 Mac books pro for stock, used for new hires. PO8050 [103927]                                13,252                   -      COMPUTER HARDWARE          36               368.10            4,417.20           13,251.60
                 105806 50 kW Slim L3S-50480-02-003 DCFC [105806]                                                     97,520                 8,127    COMPUTER HARDWARE          36             2,708.89          32,506.68            89,393.35
                 106910 50CM Type 1 Stacking Cable [106910]                                                           26,635                   740    COMPUTER HARDWARE          36               739.86            8,878.32           25,895.05
                 106945 50W AC POWER ADAPTER FOR PA-440, PA-450 [106945]                                                 713                     59   COMPUTER HARDWARE          36                 19.79             237.48               653.10
                 103802 5PS0N73216 Lenovo Onsite + Accidental Damage Protection+ Keep Your Drive + Seale [103802]     (4,040)                  -      COMPUTER HARDWARE          36                                (1,122.26)           (4,040.00)
                 103909 60 A Arbin [103909]                                                                            6,884                   -      COMPUTER HARDWARE          36                                 4,398.25             6,884.14
                 106906 650W AC Config 4 Power Supply front to b [106906]                                              1,716                     48   COMPUTER HARDWARE          36                 47.67             572.04             1,668.53
                 106958 7220 CONTROLLER PL=VL [106958]                                                                34,266                 2,856    COMPUTER HARDWARE          36               951.82          11,421.84            31,410.10
                 106953 8325-48Y8C FB 6 F 2 PS PERP BDL PL-NV [106953]                                                24,000                 3,333    COMPUTER HARDWARE          36               666.67            8,000.04           20,666.70
                 104031 AC Gas Sensor [104031]                                                                        14,294                   397    COMPUTER HARDWARE          36               397.06            4,764.72           13,897.06
                 106975 AC PWR CORD NORTH AMERICA [106975]                                                                13                      0   COMPUTER HARDWARE          36                  0.36               4.32                12.49
                 106936 AFF A250 HA SYSTEM [106936]                                                                    3,241                     90   COMPUTER HARDWARE          36                 90.03           1,080.36             3,150.97
                 106935 AFF A250,24X7.6TB,NVME,SED,-C [106935]                                                        42,283                 1,175    COMPUTER HARDWARE          36             1,174.53          14,094.36            41,108.49
                 106973 AIR-ANT2566P4W-RS= [106973]                                                                   51,535                 4,295    COMPUTER HARDWARE          36             1,431.54          17,178.48            47,240.77
                 106972 AIR-CAB002-D8-R= [106972]                                                                     13,889                 1,157    COMPUTER HARDWARE          36               385.81            4,629.72           12,731.73
                 106974 AIR-CAB002-D8-R= [106974]                                                                     55,557                 4,630    COMPUTER HARDWARE          36             1,543.24          18,518.88            50,926.92
                 103365 AMD Ryzen ThreadRipper 3960X / 3.8 GHz processorMfg.Part: 100-100000010WOF | C [103365]        1,532                   -      COMPUTER HARDWARE          36                                   212.82             1,532.20
                 106977 AP-MNT-C AP MOUNT BRACKET MNT INDIVIDUAL [106977]                                                 48                      1   COMPUTER HARDWARE          36                  1.33              15.96                46.62
                 100328 APC Symmetra PX 40KVA - UPS (Uninterrupted Power Supply) Unit Including Install [100328]      43,124                   -      COMPUTER HARDWARE          36                                                    43,124.00
                 106956 ARUBA 100G QSFP28 MPO SR4 MMF PERP XCVR [106956]                                               6,704                   559    COMPUTER HARDWARE          36               186.22            2,234.64             6,145.30
                 106962 ARUBA 100G QSFP28 MPO SR4 MMF PERP XCVR [106962]                                               2,682                   223    COMPUTER HARDWARE          36                 74.49             893.88             2,458.14
                 106979 ARUBA 100G QSFP28 TO QSFP28 1M CABL DAC [106979]                                                 150                      4   COMPUTER HARDWARE          36                  4.18              50.16               146.24
                 106980 ARUBA 10G SFP+ LC SR 300M MMF XCVR [106980]                                                    1,331                     37   COMPUTER HARDWARE          36                 36.98             443.76             1,294.24
                 106978 ARUBA 25G SFP28 LC SR 100M MMF XCVR [106978]                                                  12,912                   359    COMPUTER HARDWARE          36               358.67            4,304.04           12,553.37
                 106981 ARUBA 25G SFP28 LC SR 100M MMF XCVR [106981]                                                  10,317                 2,006    COMPUTER HARDWARE          36               286.58            3,438.96             8,310.77
                 106982 ARUBA 25G SFP28 LC SR 100M MMF XCVR [106982]                                                   2,579                   502    COMPUTER HARDWARE          36                 71.64             859.68             2,077.63
                 106951 ARUBA 40G QSFP+ LC BIDI 150M PERP MMF XC [106951]                                              7,360                 1,022    COMPUTER HARDWARE          36               204.44            2,453.28             6,337.72
                 106950 ARUBA 50G SFP56 TO SFP56 0.65M CABL DAC [106950]                                               2,764                   154    COMPUTER HARDWARE          36                 76.78             921.36             2,610.52
                 106957 ARUBA 50G SFP56 TO SFP56 0.65M CABL DAC [106957]                                                 112                      9   COMPUTER HARDWARE          36                  3.10              37.20               102.34
                 106963 ARUBA 6300M 48G 4SFP56 SWCH PERP PL-35 [106963]                                                6,515                   543    COMPUTER HARDWARE          36               180.96            2,171.52             5,971.68
                 106947 ARUBA 6300M 48G CL4 POE 4SFP56 PERP SWCH [106947]                                            101,257                 5,625    COMPUTER HARDWARE          36             2,812.71          33,752.52            95,632.06
                 106946 ARUBA 6300M FAN TRAY PERP PL-35 [106946]                                                       1,079                     60   COMPUTER HARDWARE          36                 29.98             359.76             1,019.24
                 106948 ARUBA 6300M FAN TRAY PERP PL-35 [106948]                                                       4,317                   240    COMPUTER HARDWARE          36               119.91            1,438.92             4,076.86
                 106949 ARUBA 6300M FAN TRAY PERP PL-35 [106949]                                                       4,317                   -      COMPUTER HARDWARE          36               119.91            1,438.88             4,316.64
                 106952 ARUBA AP-555 US UNIFIED AP WRLS PL-VL [106952]                                                16,973                 2,357    COMPUTER HARDWARE          36               471.46            5,657.52           14,615.22
                 106955 ARUBA BASE SERVICES FOR CX 10000 E-LTU ( [106955]                                             28,680                 1,593    COMPUTER HARDWARE          36               796.65            9,559.80           27,086.15
                 100378 ASUS VN279Q - LED monitor - Full HD (1080p) - 27" [100378]                                     3,094                   -      COMPUTER HARDWARE          36                                                      3,094.11
                 103981 Alum extrusion / Plexiglass enclosure per discussion [103981]                                  4,190                   116    COMPUTER HARDWARE          36               116.38            1,396.56             4,073.18
                 100074 Andrew Wolstan-Laptops-102 [100074]                                                            9,772                   -      COMPUTER HARDWARE          36                                                      9,771.85
                 103364 Apple MacBook Pro 16" Core i9 9th Gen 2.4GHz 64GB RAM 2TBSSD - Space Gray [103364]             4,902                   -      COMPUTER HARDWARE          36                                   680.79             4,901.67
                 100423 Apple MacBook Pro with Touch Bar - 15.4" - Core i7 - 16 GB RAM - 512 GB SSDMfg. [100423]       5,821                   -      COMPUTER HARDWARE          36                                                      5,820.96
                 103925 Apple MacBook Pro with Touch Bar - 16" - Core i7 - 16 GB RAM PO 8714 [103925]                 22,716                      0   COMPUTER HARDWARE          36               631.00            7,572.00           22,716.06
                 103859 Apple MacBook Pro with Touch Bar - 16" - Core i7 - 16 GB RAM- 512 GB SSD - [103859]           48,059                   -      COMPUTER HARDWARE          36                               13,349.83            48,059.37
                 103837 Apple magic keyboard [103837]                                                                  3,135                   -      COMPUTER HARDWARE          36                 87.03             957.83             3,134.70

                                                                                                                                                                                                                                        10 of 168
                                                              Case 25-10099-BLS                      Doc 2        Filed 01/18/25                  Page 45 of 202


Canoo Technologies Inc.                                                                                                                                                                                         Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                             9,157,485               193,531
Asset number            Asset Description                                                            Cost                NBV at Period End       Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 103836 Apple magic mouse [103836]                                                              2,508                     -      COMPUTER HARDWARE          36                 69.65             766.25           2,507.70
                 100076 Apple-Laptops [100076]                                                                  2,633                     -      COMPUTER HARDWARE          36                                                    2,632.91
                 100077 Apple-Other Computer Equipment-01/04/2018-A [100077]                                   16,736                     -      COMPUTER HARDWARE          36                                                   16,735.95
                 100078 Apple-Other Computer Equipment-03/24/2018-A [100078]                                    5,843                     -      COMPUTER HARDWARE          36                                                    5,842.73
                 100075 Apple-Other Computer Equipment-08/05/2018-A [100075]                                    5,480                     -      COMPUTER HARDWARE          36                                                    5,479.91
                 100079 Arbin Instruments-Personal Computers-INVAC004224 [100079]                              10,400                     -      COMPUTER HARDWARE          36                                                   10,400.00
                 100080 Arbin Instruments-Personal Computers-INVAC004224 [100080]                                 988                     -      COMPUTER HARDWARE          36                                                      988.00
                 100081 Arbin Instruments-Personal Computers-INVAC004226 [100081]                               5,694                     -      COMPUTER HARDWARE          36                                                    5,694.00
                 106976 Aruba 10G SFP+ to SFP+ 1m DAC Cable [106976]                                              269                        7   COMPUTER HARDWARE          36                  7.47              89.64             261.37
                 106961 Aruba 4-post Rack Kit [106961]                                                            255                       21   COMPUTER HARDWARE          36                  7.08              84.96             233.71
                 103917 CA-U4Switching Power Supply24V DC [103917]                                                290                     -      COMPUTER HARDWARE          36                  8.06              96.68             290.00
                 103461 CDW Apple MacBook Pro PO 7696 [103461]                                                 14,014                     -      COMPUTER HARDWARE          36                                3,114.16           14,013.72
                 101611 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101611]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101612 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101612]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101613 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101613]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101614 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101614]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101615 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101615]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101616 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101616]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101617 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101617]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101618 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101618]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 101619 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101619]           3,203                     -      COMPUTER HARDWARE          36                                                    3,202.98
                 101620 CDW Direct LLC-4825598-PO:00004531-LVO P15 I7-10875H W10P MC98327111 [101620]           3,203                     -      COMPUTER HARDWARE          36                                                    3,203.02
                 100283 CDW Direct LLC-Computer Equipment-Invoice QGR0910 [100283]                             16,613                     -      COMPUTER HARDWARE          36                                                   16,612.67
                 100264 CDW Direct LLC-Computer Hardware-QLX9678 [100264]                                       6,014                     -      COMPUTER HARDWARE          36                                                    6,013.50
                 100265 CDW Direct LLC-Computer Hardware-QMF2785 [100265]                                       4,522                     -      COMPUTER HARDWARE          36                                                    4,522.35
                 100266 CDW Direct LLC-Computer Hardware-QMR0211 [100266]                                       9,720                     -      COMPUTER HARDWARE          36                                                    9,719.79
                 102041 CDW Direct LLC-INV:6354710-PO:00005043 [102041]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.95           2,374.11
                 102042 CDW Direct LLC-INV:6354710-PO:00005043 [102042]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102043 CDW Direct LLC-INV:6354710-PO:00005043 [102043]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102044 CDW Direct LLC-INV:6354710-PO:00005043 [102044]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102045 CDW Direct LLC-INV:6354710-PO:00005043 [102045]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102046 CDW Direct LLC-INV:6354710-PO:00005043 [102046]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102047 CDW Direct LLC-INV:6354710-PO:00005043 [102047]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102048 CDW Direct LLC-INV:6354710-PO:00005043 [102048]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102049 CDW Direct LLC-INV:6354710-PO:00005043 [102049]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 102050 CDW Direct LLC-INV:6354710-PO:00005043 [102050]                                         2,374                     -      COMPUTER HARDWARE          36                                    65.97           2,374.10
                 101941 CDW Direct LLC-Inv:3398084-PO:4389-macbook pro [101941]                                 5,205                     -      COMPUTER HARDWARE          36                                                    5,205.41
                 102051 CDW Direct LLC-Inv:7921843-PO:00005360-Boxx Apexx 3 [102051]                            6,648                     -      COMPUTER HARDWARE          36                                   184.67           6,648.00
                 100902 CDW Direct LLC-InvoiceTWQ0348-PO00002049-Lenovo ThinkStation P720 - tower [100902]      6,165                     -      COMPUTER HARDWARE          36                                                    6,165.35
                 100099 CDW Direct LLC-Laptops-NWT3506 [100099]                                                 8,000                     -      COMPUTER HARDWARE          36                                                    8,000.00
                 100084 CDW Direct LLC-Laptops-PHP8972 [100084]                                                 4,000                     -      COMPUTER HARDWARE          36                                                    4,000.00
                 100085 CDW Direct LLC-Laptops-PHP8972 [100085]                                                   380                     -      COMPUTER HARDWARE          36                                                      380.00
                 100086 CDW Direct LLC-Laptops-PHP8972 [100086]                                                   166                     -      COMPUTER HARDWARE          36                                                      166.35
                 100088 CDW Direct LLC-Laptops-PHP8972 [100088]                                                   196                     -      COMPUTER HARDWARE          36                                                      195.88
                 100082 CDW Direct LLC-Laptops-PJD1083 [100082]                                                 8,840                     -      COMPUTER HARDWARE          36                                                    8,840.00
                 100083 CDW Direct LLC-Laptops-PJD1083 [100083]                                                   864                     -      COMPUTER HARDWARE          36                                                      863.80
                 100090 CDW Direct LLC-Laptops-PJN9107 [100090]                                                35,360                     -      COMPUTER HARDWARE          36                                                   35,360.00
                 100091 CDW Direct LLC-Laptops-PJN9107 [100091]                                                 3,359                     -      COMPUTER HARDWARE          36                                                    3,359.20

                                                                                                                                                                                                                                  11 of 168
                                                            Case 25-10099-BLS            Doc 2       Filed 01/18/25                Page 46 of 202


Canoo Technologies Inc.                                                                                                                                                                           Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                9,157,485               193,531
Asset number            Asset Description                                                Cost               NBV at Period End     Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 100092 CDW Direct LLC-Laptops-PJN9107 [100092]                                      105                     -    COMPUTER HARDWARE          36                                                      104.93
                 100118 CDW Direct LLC-Laptops-PKH7670 [100118]                                    4,000                     -    COMPUTER HARDWARE          36                                                    4,000.00
                 100122 CDW Direct LLC-Laptops-PRX1114 [100122]                                    5,848                     -    COMPUTER HARDWARE          36                                                    5,848.00
                 100123 CDW Direct LLC-Laptops-PRX1114 [100123]                                      568                     -    COMPUTER HARDWARE          36                                                      567.56
                 100124 CDW Direct LLC-Laptops-PTS1371 [100124]                                   27,040                     -    COMPUTER HARDWARE          36                                                   27,040.00
                 100125 CDW Direct LLC-Laptops-PTS1371 [100125]                                    2,569                     -    COMPUTER HARDWARE          36                                                    2,568.80
                 100126 CDW Direct LLC-Laptops-PTS1371 [100126]                                      179                     -    COMPUTER HARDWARE          36                                                      179.10
                 100127 CDW Direct LLC-Laptops-PZW3292 [100127]                                   20,000                     -    COMPUTER HARDWARE          36                                                   20,000.00
                 100128 CDW Direct LLC-Laptops-PZW3292 [100128]                                   33,150                     -    COMPUTER HARDWARE          36                                                   33,150.00
                 100129 CDW Direct LLC-Laptops-PZW3292 [100129]                                    5,049                     -    COMPUTER HARDWARE          36                                                    5,049.25
                 100130 CDW Direct LLC-Laptops-PZW3292 [100130]                                      721                     -    COMPUTER HARDWARE          36                                                      720.89
                 100131 CDW Direct LLC-Laptops-QCF7282 [100131]                                    3,140                     -    COMPUTER HARDWARE          36                                                    3,140.00
                 100132 CDW Direct LLC-Laptops-QCF7282 [100132]                                      298                     -    COMPUTER HARDWARE          36                                                      298.30
                 100133 CDW Direct LLC-Laptops-QCF7282 [100133]                                      157                     -    COMPUTER HARDWARE          36                                                      156.58
                 100135 CDW Direct LLC-Laptops-QDM0902 [100135]                                       60                     -    COMPUTER HARDWARE          36                                                        60.00
                 100136 CDW Direct LLC-Laptops-QDM0902 [100136]                                      410                     -    COMPUTER HARDWARE          36                                                      410.00
                 100137 CDW Direct LLC-Laptops-QDM0902 [100137]                                   13,520                     -    COMPUTER HARDWARE          36                                                   13,520.00
                 100138 CDW Direct LLC-Laptops-QDM0902 [100138]                                    1,421                     -    COMPUTER HARDWARE          36                                                    1,421.20
                 100139 CDW Direct LLC-Laptops-QDM0902 [100139]                                      171                     -    COMPUTER HARDWARE          36                                                      171.42
                 100101 CDW Direct LLC-Laptops-WT2208 [100101]                                     5,600                     -    COMPUTER HARDWARE          36                                                    5,600.00
                 100102 CDW Direct LLC-Laptops-WT2208 [100102]                                       532                     -    COMPUTER HARDWARE          36                                                      532.00
                 100103 CDW Direct LLC-Laptops-WT2208 [100103]                                        20                     -    COMPUTER HARDWARE          36                                                        19.99
                 100100 CDW Direct LLC-Monitors-NZK9642 [100100]                                   6,280                     -    COMPUTER HARDWARE          36                                                    6,280.00
                 100087 CDW Direct LLC-Monitors-PHP8972 [100087]                                     447                     -    COMPUTER HARDWARE          36                                                      447.45
                 100089 CDW Direct LLC-Monitors-PHP8972 [100089]                                   4,710                     -    COMPUTER HARDWARE          36                                                    4,710.00
                 100093 CDW Direct LLC-Monitors-PMV6649 [100093]                                   7,850                     -    COMPUTER HARDWARE          36                                                    7,850.00
                 100094 CDW Direct LLC-Monitors-PMV6649 [100094]                                     896                     -    COMPUTER HARDWARE          36                                                      895.75
                 100095 CDW Direct LLC-Monitors-PMV6649 [100095]                                     241                     -    COMPUTER HARDWARE          36                                                      241.44
                 100140 CDW Direct LLC-Monitors-PVB0519 [100140]                                   6,280                     -    COMPUTER HARDWARE          36                                                    6,280.00
                 100141 CDW Direct LLC-Monitors-PVB0519 [100141]                                     717                     -    COMPUTER HARDWARE          36                                                      716.60
                 100142 CDW Direct LLC-Monitors-PVB0519 [100142]                                     274                     -    COMPUTER HARDWARE          36                                                      273.60
                 100120 CDW Direct LLC-Monitors-Quote JVQH342 [100120]                            18,750                     -    COMPUTER HARDWARE          36                                                   18,750.00
                 100121 CDW Direct LLC-Monitors-Quote JVQH342 [100121]                             1,788                     -    COMPUTER HARDWARE          36                                                    1,788.25
                 100117 CDW Direct LLC-Other Computer Equipment-LJX2399 [100117]                   8,043                     -    COMPUTER HARDWARE          36                                                    8,042.51
                 100134 CDW Direct LLC-Other Computer Equipment-QDM0902 [100134]                   1,030                     -    COMPUTER HARDWARE          36                                                    1,030.00
                 100119 CDW Direct LLC-Other Computer Equipment-Quote JVQH342 [100119]            20,955                     -    COMPUTER HARDWARE          36                                                   20,954.51
                 100116 CDW Direct LLC-Peripherals-JXHJ333 [100116]                                5,838                     -    COMPUTER HARDWARE          36                                                    5,837.73
                 100096 CDW Direct LLC-Peripherals-PNP5102 [100096]                                3,650                     -    COMPUTER HARDWARE          36                                                    3,650.00
                 100097 CDW Direct LLC-Peripherals-PNP5102 [100097]                                  347                     -    COMPUTER HARDWARE          36                                                      346.75
                 100098 CDW Direct LLC-Peripherals-PNP5102 [100098]                                   10                     -    COMPUTER HARDWARE          36                                                         9.99
                 100104 CDW Direct LLC-Peripherals-PVQ0022 [100104]                               53,176                     -    COMPUTER HARDWARE          36                                                   53,176.00
                 100105 CDW Direct LLC-Peripherals-PVQ0022 [100105]                               12,240                     -    COMPUTER HARDWARE          36                                                   12,240.00
                 100107 CDW Direct LLC-Peripherals-PVQ0022 [100107]                                  204                     -    COMPUTER HARDWARE          36                                                      204.00
                 100108 CDW Direct LLC-Peripherals-PVQ0022 [100108]                                6,288                     -    COMPUTER HARDWARE          36                                                    6,288.24
                 100109 CDW Direct LLC-Peripherals-PVQ0022 [100109]                                  866                     -    COMPUTER HARDWARE          36                                                      866.45
                 100110 CDW Direct LLC-Peripherals-PVZ9881 [100110]                                4,788                     -    COMPUTER HARDWARE          36                                                    4,788.00
                 100111 CDW Direct LLC-Peripherals-PVZ9881 [100111]                                  455                     -    COMPUTER HARDWARE          36                                                      454.86
                 100112 CDW Direct LLC-Peripherals-PVZ9881 [100112]                                   29                     -    COMPUTER HARDWARE          36                                                        28.95

                                                                                                                                                                                                                   12 of 168
                                                               Case 25-10099-BLS                        Doc 2       Filed 01/18/25                 Page 47 of 202


Canoo Technologies Inc.                                                                                                                                                                                           Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                               9,157,485               193,531
Asset number            Asset Description                                                               Cost               NBV at Period End      Asset Category      Life        Depreciation Amount YTD Depreciation     Depreciation Reserve
                 100113 CDW Direct LLC-Peripherals-PWR8919 [100113]                                              11,700                     -     COMPUTER HARDWARE          36                                                     11,700.00
                 100114 CDW Direct LLC-Peripherals-PWR8919 [100114]                                               1,112                     -     COMPUTER HARDWARE          36                                                      1,111.50
                 100115 CDW Direct LLC-Peripherals-PWR8919 [100115]                                                  78                     -     COMPUTER HARDWARE          36                                                          77.78
                 100106 CDW Direct LLC-Power Supplies-PVQ0022 [100106]                                              572                     -     COMPUTER HARDWARE          36                                                        572.00
                 101000 CDW Direct LLC-ThinkStation P340 Tower x10-Inv:1777730-PO:00004085 [101000]              22,490                     -     COMPUTER HARDWARE          36                                                     22,490.00
                 101001 CDW Direct LLC-taxes and fees for Inv :1777730-Inv:1777730-PO:00004085 [101001]           2,137                     -     COMPUTER HARDWARE          36                                                      2,136.55
                 104117 CDW IT Servers in service PO 6956 [104117]                                                8,141                     678   COMPUTER HARDWARE          36               226.13           2,713.56              7,462.24
                 103869 CDW LLC,COMPUTER HARDWARE (Torrance)Dell Latitude 5420,PO9748 [103869]                   49,581                       0   COMPUTER HARDWARE          36             1,377.26          16,527.12             49,581.36
                 104111 CDW PC's PO 11246 [104111]                                                              152,223                  12,685   COMPUTER HARDWARE          36             4,228.42          50,741.04           139,537.90
                 102810 CDW-Apple Macbook Pro 16in-Inv:8335411 PO:5516 [102810]                                   2,503                     -     COMPUTER HARDWARE          36                                  139.06              2,502.77
                 102811 CDW-Apple Macbook Pro 16in-Inv:8335411 PO:5516 [102811]                                   2,503                     -     COMPUTER HARDWARE          36                                  139.06              2,502.77
                 102812 CDW-Apple Macbook Pro 16in-Inv:8335411 PO:5516 [102812]                                   2,503                     -     COMPUTER HARDWARE          36                                  139.06              2,502.77
                 102813 CDW-Apple Macbook Pro 16in-Inv:8335411 PO:5516 [102813]                                   2,503                     -     COMPUTER HARDWARE          36                                  139.06              2,502.77
                 101012 CDW-Inv:2602632B-PO:00004085-Thinkstation P53 Mobile Workstation x10 [101012]            33,819                     -     COMPUTER HARDWARE          36                                                     33,819.44
                 101958 CDW-Inv:3896545-PO:4596-Lenovo ThinkPad P15 Gen [101958]                                 67,289                     -     COMPUTER HARDWARE          36                                                     67,289.05
                 101959 CDW-Inv:6337400-PO:5116-Apple Macbook [101959]                                           10,011                     -     COMPUTER HARDWARE          36                                                     10,011.07
                 102052 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102052]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.77
                 102053 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102053]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102054 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102054]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102055 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102055]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102056 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102056]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102057 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102057]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102058 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102058]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102059 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102059]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102060 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102060]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102061 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102061]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102062 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102062]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102063 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102063]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102064 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102064]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102065 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102065]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102066 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102066]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102067 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102067]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102068 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102068]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102069 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102069]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102070 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102070]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102071 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102071]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102072 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102072]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102073 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102073]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102074 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102074]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102075 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102075]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102076 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102076]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102077 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102077]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102078 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102078]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102079 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102079]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102080 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102080]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102081 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102081]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102082 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102082]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94
                 102083 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102083]                                 1,147                     -     COMPUTER HARDWARE          36                                    31.87             1,146.94

                                                                                                                                                                                                                                     13 of 168
                                                               Case 25-10099-BLS                    Doc 2       Filed 01/18/25                  Page 48 of 202


Canoo Technologies Inc.                                                                                                                                                                                       Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                           9,157,485               193,531
Asset number            Asset Description                                                           Cost               NBV at Period End       Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 102084 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102084]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102085 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102085]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102086 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102086]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102087 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102087]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102088 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102088]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102089 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102089]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102090 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102090]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102091 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102091]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102092 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102092]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102093 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102093]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102094 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102094]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102095 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102095]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102096 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102096]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102097 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102097]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102098 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102098]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102099 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102099]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102100 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102100]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 102101 CDW-Inv:8037619-PO:00005410-Lenovo ThinkPad P14s [102101]                             1,147                     -      COMPUTER HARDWARE          36                                    31.87           1,146.94
                 100198 CDW-Other Computer Equipment-Inv:JMML736 [100198]                                    15,519                     -      COMPUTER HARDWARE          36                                                   15,519.43
                 106939 CLOUDGENIX ION-9000, BASE HARDWARE APPLI [106939]                                    14,000                     389    COMPUTER HARDWARE          36               388.89           4,666.68           13,611.11
                 106970 CLOUDGENIX ION-9000, BASE HARDWARE APPLI [106970]                                    56,000                   1,556    COMPUTER HARDWARE          36             1,555.56          18,666.72           54,444.49
                 100316 COMPUTERS [100316]                                                                   36,672                     -      COMPUTER HARDWARE          36                                                   36,672.14
                 106913 Catalyst 9300 2 x 40GE Network Module [106913]                                       41,680                   1,158    COMPUTER HARDWARE          36             1,157.79          13,893.48           40,522.61
                 106907 Catalyst 9300 48-port of 5Gbps Network A [106907]                                   219,340                   6,093    COMPUTER HARDWARE          36             6,092.77          73,113.24         213,246.87
                 106904 Catalyst 9500 32-port 40/100G only, Adva [106904]                                    25,172                     699    COMPUTER HARDWARE          36               699.22           8,390.64           24,472.62
                 106911 Catalyst Stack Power Cable 30 CM [106911]                                             1,553                       43   COMPUTER HARDWARE          36                 43.13             517.56           1,509.62
                 100143 Chroma Systems Solutions-Power Supplies-0046637-IN [100143]                          39,200                     -      COMPUTER HARDWARE          36                                                   39,200.00
                 106917 Cisco AP- SFP-10G-SR= [106917]                                                        3,373                     -      COMPUTER HARDWARE          36                 93.70          1,124.36            3,373.04
                 106918 Cisco AP- SFP-10G-SR= [106918]                                                        3,373                     -      COMPUTER HARDWARE          36                 93.70          1,124.36            3,373.04
                 106914 Cisco DNA Center Appliance (Gen 2) - 44 [106914]                                     37,362                   1,038    COMPUTER HARDWARE          36             1,037.84          12,454.08           36,324.38
                 106916 Cisco ISE Virtual Machine Common PID [106916]                                         2,696                       75   COMPUTER HARDWARE          36                 74.90             898.80           2,621.50
                 106905 Cisco pluggable SSD storage [106905]                                                  2,452                       68   COMPUTER HARDWARE          36                 68.11             817.32           2,383.74
                 106909 Cisco pluggable USB3.0 SSD storage [106909]                                          24,518                     681    COMPUTER HARDWARE          36               681.06           8,172.72           23,836.99
                 103305 Collaboration TVs for Justin Office buildout [103305]                                 2,906                     -      COMPUTER HARDWARE          36                                   403.60           2,905.86
                 103306 Collaboration TVs for Justin Office buildout [103306]                                 1,878                     -      COMPUTER HARDWARE          36                                   260.81           1,877.56
                 100325 Computers [100325]                                                                    8,011                     -      COMPUTER HARDWARE          36                                                    8,010.96
                 102115 DVB 0121-04 J-Lenovo Thinkpad T490S [102115]                                            766                     -      COMPUTER HARDWARE          36                                    21.31             766.49
                 102116 DVB 0121-04 J-Lenovo Thinkpad T490S [102116]                                            766                     -      COMPUTER HARDWARE          36                                    21.31             766.49
                 102117 DVB 0121-04 J-Lenovo Thinkpad T490S [102117]                                            766                     -      COMPUTER HARDWARE          36                                    21.31             766.49
                 102118 DVB 0121-04 J-Lenovo Thinkpad T490S [102118]                                            766                     -      COMPUTER HARDWARE          36                                    21.31             766.49
                 102119 DVB 0121-04 J-Lenovo Thinkpad X395 [102119]                                             770                     -      COMPUTER HARDWARE          36                                    21.41             770.49
                 102120 DVB 0121-04 J-Lenovo Thinkpad X395 [102120]                                             770                     -      COMPUTER HARDWARE          36                                    21.41             770.49
                 101017 DVB 1020-04 Oct P-Card-2019 Lenovo ThinkPad P53 workstation 15.6 [101017]             3,285                     -      COMPUTER HARDWARE          36                                                    3,284.99
                 101019 DVB 1020-04 Oct P-Card-IT Dept-Lenovo T490S Laptop [101019]                           4,400                     -      COMPUTER HARDWARE          36                                                    4,399.95
                 101021 DVB 1020-04 Oct P-Card-IT equipment-monitors [101021]                                 4,254                     -      COMPUTER HARDWARE          36                                                    4,254.08
                 101018 DVB 1020-04 Oct P-Card-T490S for newhires [101018]                                    4,400                     -      COMPUTER HARDWARE          36                                                    4,399.95
                 101020 DVB 1020-04 Oct P-Card-T490S for newhires [101020]                                    4,564                     -      COMPUTER HARDWARE          36                                                    4,564.20
                 101016 DVB 1020-04 Oct P-Card-laptops for newhires [101016]                                  3,706                     -      COMPUTER HARDWARE          36                                                    3,706.41

                                                                                                                                                                                                                                14 of 168
                                                                 Case 25-10099-BLS                         Doc 2       Filed 01/18/25                 Page 49 of 202


Canoo Technologies Inc.                                                                                                                                                                                              Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                  9,157,485               193,531
Asset number            Asset Description                                                                  Cost               NBV at Period End      Asset Category      Life        Depreciation Amount YTD Depreciation    Depreciation Reserve
                 101022 DVB 1020-04 Oct P-Card-laptops for newhires [101022]                                         7,341                     -     COMPUTER HARDWARE          36                                                     7,340.56
                 101674 DVB 1120-04-IT Equipment-LENOVO-PP Card Purchase [101674]                                    5,475                     -     COMPUTER HARDWARE          36                                                     5,474.95
                 101675 DVB 1120-04-IT Equipment-LENOVO-PP Card Purchase [101675]                                    4,380                     -     COMPUTER HARDWARE          36                                                     4,379.96
                 101676 DVB 1120-04-IT Equipment-LENOVO-PP Card Purchase [101676]                                    4,838                     -     COMPUTER HARDWARE          36                                                     4,837.95
                 101673 DVB 1120-04-MacBook Pro-APPLE-PP Card Purchase [101673]                                      4,493                     -     COMPUTER HARDWARE          36                                                     4,493.41
                 101677 DVB 1120-04-MacBook Pro-APPLE-PP Card Purchase [101677]                                      6,026                     -     COMPUTER HARDWARE          36                                                     6,026.41
                 103362 Dell 27 4K USB-C Monitor - P2721Q, 68.6cm (27")Estimated delivery if purchased [103362]      2,738                     -     COMPUTER HARDWARE          36                                  456.32             2,737.82
                 102187 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102187]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102188 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102188]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102189 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102189]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102190 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102190]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102191 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102191]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102192 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102192]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102193 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102193]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102194 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102194]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102195 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102195]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102196 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102196]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102197 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102197]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102198 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102198]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102199 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102199]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102200 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102200]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102201 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102201]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102202 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102202]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102203 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102203]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102204 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102204]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102205 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102205]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102206 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102206]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102207 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102207]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102208 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102208]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102209 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102209]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102210 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102210]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102211 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102211]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102212 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102212]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102213 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102213]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102214 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102214]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102215 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102215]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102216 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102216]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102217 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102217]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102218 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102218]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102219 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102219]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102220 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102220]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 102221 Dell 27 4K USB-C Monitor-P2721Q, 68.6cm-Inv:10464005913-PO:5287 [102221]                       297                     -     COMPUTER HARDWARE          36                                    8.27               297.19
                 105352 Dell 7920 CTO High Performance Desktop CFD Machine [105352]                                 26,626                   2,219   COMPUTER HARDWARE          36              739.60            8,875.20            24,406.85
                 103959 Dell Latitude 5420 Cor i7 16GB RAM [103959]                                                  8,283                     -     COMPUTER HARDWARE          36              230.08            2,760.91             8,282.80
                 103367 Dell Precision 5420 [103367]                                                                51,392                     -     COMPUTER HARDWARE          36                                8,565.37            51,392.09
                 103921 Dell Precision 7560 Workstation Laptops PO 9188 [103921]                                   249,377                     -     COMPUTER HARDWARE          36             6,927.15          83,125.80          249,377.40
                 101621 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101621]                                       957                     -     COMPUTER HARDWARE          36                                                       957.39
                 101622 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101622]                                       957                     -     COMPUTER HARDWARE          36                                                       957.39

                                                                                                                                                                                                                                       15 of 168
                                                             Case 25-10099-BLS                 Doc 2       Filed 01/18/25                Page 50 of 202


Canoo Technologies Inc.                                                                                                                                                                                 Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                      9,157,485               193,531
Asset number            Asset Description                                                      Cost               NBV at Period End     Asset Category      Life        Depreciation Amount YTD Depreciation    Depreciation Reserve
                 101623 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101623]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101624 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101624]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101625 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101625]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101626 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101626]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101627 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101627]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101628 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101628]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101629 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101629]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101630 Dell-10436156507-PO:00004455-Dell Latitude 3410 [101630]                           957                     -    COMPUTER HARDWARE          36                                                       957.39
                 101637 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101637]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101638 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101638]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101639 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101639]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101640 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101640]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101641 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101641]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101642 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101642]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101643 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101643]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101644 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101644]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101645 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101645]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.97
                 101646 Dell-10437175812-PO:00004483-Mobile Precision 7550 CTO BASE [101646]             3,498                     -    COMPUTER HARDWARE          36                                                     3,497.95
                 102814 Dell-Dell Precision 3640-Inv:10467073763 PO:5485 [102814]                        3,440                     -    COMPUTER HARDWARE          36                                  191.12             3,440.16
                 102815 Dell-Dell Precision 3640-Inv:10467073763 PO:5485 [102815]                        3,440                     -    COMPUTER HARDWARE          36                                  191.12             3,440.16
                 102816 Dell-Dell Precision 3640-Inv:10467073763 PO:5485 [102816]                        3,440                     -    COMPUTER HARDWARE          36                                  191.12             3,440.16
                 102817 Dell-Dell Precision 3640-Inv:10467073763 PO:5485 [102817]                        3,440                     -    COMPUTER HARDWARE          36                                  191.12             3,440.16
                 102780 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102780]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102781 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102781]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102782 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102782]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102783 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102783]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102784 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102784]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102785 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102785]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102786 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102786]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102787 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102787]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102788 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102788]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102789 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102789]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102790 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102790]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102791 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102791]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102792 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102792]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102793 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102793]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102794 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102794]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102795 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102795]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102796 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102796]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102797 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102797]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102798 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102798]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102799 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102799]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102800 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102800]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102801 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102801]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102802 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102802]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102803 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102803]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102804 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102804]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08
                 102805 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102805]               2,214                     -    COMPUTER HARDWARE          36                                  123.02             2,214.08

                                                                                                                                                                                                                          16 of 168
                                                                Case 25-10099-BLS            Doc 2       Filed 01/18/25                Page 51 of 202


Canoo Technologies Inc.                                                                                                                                                                              Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                    9,157,485               193,531
Asset number            Asset Description                                                    Cost               NBV at Period End     Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 102806 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102806]             2,214                     -    COMPUTER HARDWARE          36                                   123.02           2,214.08
                 102807 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102807]             2,214                     -    COMPUTER HARDWARE          36                                   123.02           2,214.08
                 102808 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102808]             2,214                     -    COMPUTER HARDWARE          36                                   123.02           2,214.08
                 102809 Dell-Dell Precision 7550 Instocks-Inv:10466664085 PO:5508 [102809]             2,214                     -    COMPUTER HARDWARE          36                                   123.02           2,214.08
                 101939 Dell-Inv:10454539919-PO:5065-Hardware [101939]                                46,856                     -    COMPUTER HARDWARE          36                                                   46,855.87
                 102138 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102138]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102140 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102140]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102141 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102141]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102142 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102142]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102143 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102143]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102144 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102144]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102145 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102145]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102146 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102146]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102147 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102147]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102148 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102148]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102149 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102149]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102150 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102150]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102151 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102151]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102152 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102152]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102153 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102153]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102154 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102154]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102155 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102155]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102156 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102156]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102157 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102157]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102158 Dell-Inv:10467027979-PO:00004997-Dell Latitude 5410 [102158]                   1,170                     -    COMPUTER HARDWARE          36                                    64.99           1,169.68
                 102139 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102139]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102159 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102159]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102160 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102160]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102161 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102161]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102162 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102162]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102163 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102163]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102164 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102164]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102165 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102165]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102166 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102166]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102167 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102167]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102168 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102168]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102169 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102169]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102170 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102170]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102171 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102171]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102172 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102172]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102173 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102173]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102174 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102174]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102175 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102175]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102176 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102176]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102177 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102177]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102178 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102178]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102179 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102179]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102180 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102180]                  3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33

                                                                                                                                                                                                                       17 of 168
                                                              Case 25-10099-BLS         Doc 2       Filed 01/18/25                Page 52 of 202


Canoo Technologies Inc.                                                                                                                                                                         Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                               9,157,485               193,531
Asset number            Asset Description                                               Cost               NBV at Period End     Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 102181 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102181]             3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 102182 Dell-Inv:10467027979-PO:00004997-Dell Precision 7550 [102182]             3,403                     -    COMPUTER HARDWARE          36                                   189.09           3,403.33
                 100148 Dell-Laptops-10241052307 [100148]                                           160                     -    COMPUTER HARDWARE          36                                                      160.01
                 100149 Dell-Laptops-10241052307 [100149]                                         2,054                     -    COMPUTER HARDWARE          36                                                    2,054.09
                 100150 Dell-Laptops-10244507863 [100150]                                         9,666                     -    COMPUTER HARDWARE          36                                                    9,666.40
                 100151 Dell-Laptops-10244507863 [100151]                                           745                     -    COMPUTER HARDWARE          36                                                      744.70
                 100152 Dell-Laptops-10244507863 [100152]                                        20,541                     -    COMPUTER HARDWARE          36                                                   20,540.90
                 100153 Dell-Laptops-10244507863 [100153]                                         1,582                     -    COMPUTER HARDWARE          36                                                    1,582.47
                 100160 Dell-Laptops-10249095836 [100160]                                         1,540                     -    COMPUTER HARDWARE          36                                                    1,540.14
                 100161 Dell-Laptops-10249095836 [100161]                                        20,541                     -    COMPUTER HARDWARE          36                                                   20,540.90
                 100167 Dell-Laptops-10254013906 [100167]                                        25,429                     -    COMPUTER HARDWARE          36                                                   25,429.01
                 100170 Dell-Laptops-10256898435 [100170]                                        30,051                     -    COMPUTER HARDWARE          36                                                   30,050.70
                 100174 Dell-Laptops-10256898435 [100174]                                         2,503                     -    COMPUTER HARDWARE          36                                                    2,503.42
                 100210 Dell-Laptops-10268792541 [100210]                                         3,376                     -    COMPUTER HARDWARE          36                                                    3,376.06
                 100212 Dell-Laptops-10268792541 [100212]                                           280                     -    COMPUTER HARDWARE          36                                                      280.46
                 100154 Dell-Monitors-10245527217 [100154]                                        5,190                     -    COMPUTER HARDWARE          36                                                    5,189.85
                 100155 Dell-Monitors-10245527217 [100155]                                          486                     -    COMPUTER HARDWARE          36                                                      485.64
                 100215 Dell-Monitors-10255541683 [100215]                                        3,844                     -    COMPUTER HARDWARE          36                                                    3,843.66
                 100179 Dell-Monitors-10256408461 [100179]                                        9,480                     -    COMPUTER HARDWARE          36                                                    9,480.00
                 100180 Dell-Monitors-10256408461 [100180]                                        2,236                     -    COMPUTER HARDWARE          36                                                    2,235.57
                 100172 Dell-Monitors-10256898435 [100172]                                        4,000                     -    COMPUTER HARDWARE          36                                                    3,999.90
                 100190 Dell-Monitors-3000020554749.1 [100190]                                    7,980                     -    COMPUTER HARDWARE          36                                                    7,980.00
                 100195 Dell-Other Computer Equipment-01/04/2018-B [100195]                      23,407                     -    COMPUTER HARDWARE          36                                                   23,407.36
                 100196 Dell-Other Computer Equipment-01/05/2018-A [100196]                      37,887                     -    COMPUTER HARDWARE          36                                                   37,887.18
                 100197 Dell-Other Computer Equipment-01/10/2018-B [100197]                      28,657                     -    COMPUTER HARDWARE          36                                                   28,657.42
                 100200 Dell-Other Computer Equipment-01/17/2018-A [100200]                       3,124                     -    COMPUTER HARDWARE          36                                                    3,124.17
                 100201 Dell-Other Computer Equipment-01/25/2018-A [100201]                      10,784                     -    COMPUTER HARDWARE          36                                                   10,784.02
                 100202 Dell-Other Computer Equipment-02/01/2018-A [100202]                      21,230                     -    COMPUTER HARDWARE          36                                                   21,230.15
                 100203 Dell-Other Computer Equipment-02/05/2018-A [100203]                      35,985                     -    COMPUTER HARDWARE          36                                                   35,985.38
                 100204 Dell-Other Computer Equipment-02/06/2018-A [100204]                      18,785                     -    COMPUTER HARDWARE          36                                                   18,785.32
                 100205 Dell-Other Computer Equipment-02/07/2018-A [100205]                      97,314                     -    COMPUTER HARDWARE          36                                                   97,313.86
                 100206 Dell-Other Computer Equipment-02/12/2018-A [100206]                      18,371                     -    COMPUTER HARDWARE          36                                                   18,370.83
                 100207 Dell-Other Computer Equipment-02/12/2018-B [100207]                       4,249                     -    COMPUTER HARDWARE          36                                                    4,249.01
                 100208 Dell-Other Computer Equipment-02/13/2018-A [100208]                      14,928                     -    COMPUTER HARDWARE          36                                                   14,928.30
                 100209 Dell-Other Computer Equipment-02/23/2018-A [100209]                      20,075                     -    COMPUTER HARDWARE          36                                                   20,075.05
                 100144 Dell-Other Computer Equipment-04/05/2018-A [100144]                      17,480                     -    COMPUTER HARDWARE          36                                                   17,480.18
                 100145 Dell-Other Computer Equipment-04/06/2018-A [100145]                      19,423                     -    COMPUTER HARDWARE          36                                                   19,423.39
                 100169 Dell-Other Computer Equipment-10/18/2018-A [100169]                      41,789                     -    COMPUTER HARDWARE          36                                                   41,788.84
                 100182 Dell-Other Computer Equipment-10/18/2018-B [100182]                      22,551                     -    COMPUTER HARDWARE          36                                                   22,550.51
                 100192 Dell-Other Computer Equipment-12/20/2017-A [100192]                       6,841                     -    COMPUTER HARDWARE          36                                                    6,841.32
                 100193 Dell-Other Computer Equipment-12/22/2017-A [100193]                      84,902                     -    COMPUTER HARDWARE          36                                                   84,901.57
                 100194 Dell-Other Computer Equipment-12/22/2017-B [100194]                      25,509                     -    COMPUTER HARDWARE          36                                                   25,508.53
                 100199 Dell-Personal Computers-10216987680 [100199]                              2,617                     -    COMPUTER HARDWARE          36                                                    2,617.25
                 100214 Dell-Personal Computers-10237822021 [100214]                             11,103                     -    COMPUTER HARDWARE          36                                                   11,103.30
                 100146 Dell-Personal Computers-10238099161 [100146]                             12,000                     -    COMPUTER HARDWARE          36                                                   12,000.00
                 100147 Dell-Personal Computers-10238099161 [100147]                              1,046                     -    COMPUTER HARDWARE          36                                                    1,045.65
                 100156 Dell-Personal Computers-10246391652 [100156]                             14,400                     -    COMPUTER HARDWARE          36                                                   14,400.00
                 100157 Dell-Personal Computers-10246391652 [100157]                              1,263                     -    COMPUTER HARDWARE          36                                                    1,262.76

                                                                                                                                                                                                                  18 of 168
                                                               Case 25-10099-BLS                        Doc 2          Filed 01/18/25                   Page 53 of 202


Canoo Technologies Inc.                                                                                                                                                                                                Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                   9,157,485               193,531
Asset number            Asset Description                                                                     Cost             NBV at Period End       Asset Category      Life        Depreciation Amount YTD Depreciation     Depreciation Reserve
                 100158 Dell-Personal Computers-10248208397 [100158]                                                   1,607                    -      COMPUTER HARDWARE          36                                                      1,606.90
                 100159 Dell-Personal Computers-10248208397 [100159]                                                  17,300                    -      COMPUTER HARDWARE          36                                                     17,299.53
                 100162 Dell-Personal Computers-10251527889 [100162]                                                  17,661                    -      COMPUTER HARDWARE          36                                                     17,660.74
                 100163 Dell-Personal Computers-10252833200 [100163]                                                  58,039                    -      COMPUTER HARDWARE          36                                                     58,039.24
                 100164 Dell-Personal Computers-10252833200 [100164]                                                  29,114                    -      COMPUTER HARDWARE          36                                                     29,114.49
                 100165 Dell-Personal Computers-10252833200 [100165]                                                   2,623                    -      COMPUTER HARDWARE          36                                                      2,623.49
                 100166 Dell-Personal Computers-10252833200 [100166]                                                   5,230                    -      COMPUTER HARDWARE          36                                                      5,229.89
                 100168 Dell-Personal Computers-10254013906 [100168]                                                  35,321                    -      COMPUTER HARDWARE          36                                                     35,321.48
                 100183 Dell-Personal Computers-10255868763 [100183]                                                  22,141                    -      COMPUTER HARDWARE          36                                                     22,141.04
                 100178 Dell-Personal Computers-10256408461 [100178]                                                  24,000                    -      COMPUTER HARDWARE          36                                                     24,000.00
                 100181 Dell-Personal Computers-10256408461 [100181]                                                     883                    -      COMPUTER HARDWARE          36                                                        883.05
                 100171 Dell-Personal Computers-10256898435 [100171]                                                  38,336                    -      COMPUTER HARDWARE          36                                                     38,335.65
                 100173 Dell-Personal Computers-10256898435 [100173]                                                     525                    -      COMPUTER HARDWARE          36                                                        525.12
                 100175 Dell-Personal Computers-10256898435 [100175]                                                   9,300                    -      COMPUTER HARDWARE          36                                                      9,299.75
                 100176 Dell-Personal Computers-10257667788 [100176]                                                  36,923                    -      COMPUTER HARDWARE          36                                                     36,923.19
                 100177 Dell-Personal Computers-10257667788 [100177]                                                   3,374                    -      COMPUTER HARDWARE          36                                                      3,374.36
                 100184 Dell-Personal Computers-10258378077 [100184]                                                   5,100                    -      COMPUTER HARDWARE          36                                                      5,099.99
                 100186 Dell-Personal Computers-10258378077 [100186]                                                      41                    -      COMPUTER HARDWARE          36                                                          40.85
                 100187 Dell-Personal Computers-10258378077 [100187]                                                   1,597                    -      COMPUTER HARDWARE          36                                                      1,597.05
                 100211 Dell-Personal Computers-10268792541 [100211]                                                   5,018                    -      COMPUTER HARDWARE          36                                                      5,017.90
                 100213 Dell-Personal Computers-10268792541 [100213]                                                     417                    -      COMPUTER HARDWARE          36                                                        416.85
                 100189 Dell-Personal Computers-3000020554749.1 [100189]                                              24,000                    -      COMPUTER HARDWARE          36                                                     24,000.00
                 100191 Dell-Personal Computers-3000020554749.1 [100191]                                               3,041                    -      COMPUTER HARDWARE          36                                                      3,041.41
                 102779 Dell-RTX A6000 Graphics Cards-Inv:10472334494 PO:5639 [102779]                                34,737                    -      COMPUTER HARDWARE          36                                 1,929.85            34,737.30
                 100185 Dell-UPS-10258378077 [100185]                                                                    467                    -      COMPUTER HARDWARE          36                                                        467.49
                 100188 Dell-UPS-10258378077 [100188]                                                                    585                    -      COMPUTER HARDWARE          36                                                        585.20
                 104118 Drops for ADAS and DVT [104118]                                                               21,622                  1,201    COMPUTER HARDWARE          36               600.60           7,207.20             20,420.35
                 106903 EKAHAU SIDEKICK HW REQUIRES LICS ESS TO [106903]                                               3,028                      84   COMPUTER HARDWARE          36                84.12           1,009.44              2,944.30
                 103929 Estimated Tax PO9188 [103929]                                                                 13,368                    -      COMPUTER HARDWARE          36               371.34           4,456.08             13,368.20
                 106930 FIBER OPTIC OM3 LC/LC CABLE, 3M, PACK OF [106930]                                                125                      10   COMPUTER HARDWARE          36                 3.47              41.64                114.55
                 106933 FIBER OPTIC OM3 LC/LC CABLE, 3M, PACK OF [106933]                                                127                      11   COMPUTER HARDWARE          36                 3.52              42.24                116.07
                 106927 Fiber Optic OM3 LC/LC Cable, 3M, pack of [106927]                                              1,000                      56   COMPUTER HARDWARE          36                27.78             333.36                944.46
                 106027 GNSS ground truth equipment/instrumentation for ADAS feature Validation [106027]             127,381                 17,692    COMPUTER HARDWARE          36             3,538.36          42,460.32           109,689.08
                 100216 GoEngineer-Laptops [100216]                                                                    2,920                    -      COMPUTER HARDWARE          36                                                      2,920.30
                 103815 High Power DC Electronic Load 150V/400A/4KW(4U) - USB Interface Standard63204A-1 [103815] 43,360                        -      COMPUTER HARDWARE          36             1,204.50          13,248.90             43,360.00
                 104107 Hottinger instruments to this unit and collect raw data to post process PO 11248 [104107]     13,767                  1,147    COMPUTER HARDWARE          36               382.40           4,588.80             12,619.23
                 106969 ION 3000 HARDWARE APPLIANCE [106969]                                                          12,600                    350    COMPUTER HARDWARE          36               350.00           4,200.00             12,250.00
                 103303 IT Hardware for new office buildout in Justin TX [103303]                                     29,233                    -      COMPUTER HARDWARE          36                                3,248.07             29,232.69
                 103576 IT Hardware for new office buildout in Justin TX [103576]                                      1,223                    -      COMPUTER HARDWARE          36                                  169.92              1,223.40
                 103304 IT Hardware for office buildout in Justin TX [103304]                                          8,512                    -      COMPUTER HARDWARE          36                                1,182.20              8,511.63
                 103876 ITSavvy, Computer Equipment, (Torrance), Lenovo ThinkPads, PO9653 [103876]                    25,454                       0   COMPUTER HARDWARE          36               707.04           8,484.48             25,453.48
                 103874 ITSavvy, Computer Equipment, (Torrance), MSI WE76 Laptops, PO9733 [103874]                    39,756                       0   COMPUTER HARDWARE          36             1,104.32          13,251.84             39,755.52
                 103877 ITSavvy, Computer Equipment, (Torrance), MSI WE76, PO9654 [103877]                            15,248                       0   COMPUTER HARDWARE          36               423.56           5,082.72             15,248.16
                 103873 ITSavvy, Computer Hardware (Torrance), Lenovo ThnkPad P14,PO10066 [103873]                    34,375                    -      COMPUTER HARDWARE          36               954.85          11,458.20             34,374.56
                 103875 ITsavvy,Computer Equipment, (Torrance), MSI Engineering Laptops,PO9652 [103875]               78,849                       0   COMPUTER HARDWARE          36             2,190.24          26,282.88             78,848.66
                 100641 Invoice Number-SVJ4896-5558255Toshiba N300 NAS - hard drive - 4 TB - SATA 6Gb/s [100641]       1,394                    -      COMPUTER HARDWARE          36                                                      1,393.83
                 100831 Invoice-INV-US29332-OSI Global IT-PO-00002235-N2048-Dell Networking [100831]                   4,384                    -      COMPUTER HARDWARE          36                                                      4,383.67
                 100659 Invoice-SWC3321-5179761-Apple MacBook Pro with Touch Bar - 15.4" [100659]                      5,862                    -      COMPUTER HARDWARE          36                                                      5,862.34

                                                                                                                                                                                                                                          19 of 168
                                                               Case 25-10099-BLS                        Doc 2         Filed 01/18/25                 Page 54 of 202


Canoo Technologies Inc.                                                                                                                                                                                             Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                  9,157,485              193,531
Asset number            Asset Description                                                                    Cost            NBV at Period End      Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 100677 Invoice-SXK6664-Logitech Triathlon M720 Mouse [100677]                                          499                   -     COMPUTER HARDWARE          36                                                       499.21
                 100670 Invoice-SXM0701-Lenovo - power adapter - 170 Watt [100670]                                      429                   -     COMPUTER HARDWARE          36                                                       429.24
                 100731 Invoice-TBC8103-Lenovo - power adapter - 170 Watt [100731]                                      376                   -     COMPUTER HARDWARE          36                                                       375.59
                 104087 Jing-Jin Hardware (China) Dummy Housing PO 11268 [104087]                                    17,340                 1,445   COMPUTER HARDWARE          36               481.67           5,780.04           15,895.04
                 104086 Jing-Jin Hardware (China) Rotor Locker PO 10682 [104086]                                      6,726                   561   COMPUTER HARDWARE          36               186.83           2,241.96             6,165.46
                 104019 K-T40B Torque Flange [104019]                                                                 8,844                   491   COMPUTER HARDWARE          36               245.68           2,948.16             8,353.01
                 104020 KEYWATT 50 Cube portable power supply [104020]                                               44,927                 2,496   COMPUTER HARDWARE          36             1,247.98          14,975.76           42,431.35
                 103363 Kingston 16GB DDR4-3200 CL16 288-Pin DIMM Memory Module KitMfg.Part: HX432C16P [103363] 1,138                         -     COMPUTER HARDWARE          36                                  158.03             1,137.78
                 100922 LAS1119-01 NOVEMBER P-CARD-Silicon Valley Bank [100922]                                       8,840                   -     COMPUTER HARDWARE          36                                                     8,840.24
                 103916 LK-G30011D Triangulation LaserController NPN Type [103916]                                    2,900                   -     COMPUTER HARDWARE          36               80.56              966.68             2,900.00
                 103913 LK-G4071D Triangulation Laser400 +/- 100 mm (wide spot/II) [103913]                           5,400                   -     COMPUTER HARDWARE          36              150.00            1,800.00             5,400.00
                 103914 LK-GC2Sensor Cable2 m (LKG) [103914]                                                            330                   -     COMPUTER HARDWARE          36                9.17              110.00               330.00
                 103915 LK-H1W1D Triangulation LaserLK Navigator Sofware [103915]                                       330                   -     COMPUTER HARDWARE          36                9.17              110.00               330.00
                 103817 LVO P340 I9-10900K W10P MC98327111 Mfg. Part#: 30DJS9P400-MC98327111 [103817]                23,277                   -     COMPUTER HARDWARE          36              646.60            7,112.40           23,276.90
                 102945 LVO P620 3975WX W10P MC98327111 [102945]                                                     11,515                   -     COMPUTER HARDWARE          36                                  959.57           11,514.76
                 100426 LVO P720 4114 W10P MC98327111 [100426]                                                        6,552                   -     COMPUTER HARDWARE          36                                                     6,552.48
                 100492 LVO P720 4114 W10P MC98327111Mfg. Part#: 30BBS40R00-MC98327111 [100492]                       6,548                   -     COMPUTER HARDWARE          36                                                     6,548.10
                 100217 Lambda Labs, Inc-Personal Computers-7D96DAA9F [100217]                                        8,966                   -     COMPUTER HARDWARE          36                                                     8,966.00
                 100218 Lambda Labs, Inc-Personal Computers-7D96DAA9F [100218]                                          150                   -     COMPUTER HARDWARE          36                                                       150.00
                 100219 Lambda Labs, Inc-Personal Computers-7D96DAA9F [100219]                                          899                   -     COMPUTER HARDWARE          36                                                       899.27
                 103272 Lenovo 3Y Lenovo Protect (Premier Support + Keep Your Drive + Accidental Da [103272]          8,747                   -     COMPUTER HARDWARE          36                                  485.95             8,746.76
                 100368 Lenovo E480 [100368]                                                                          4,580                   -     COMPUTER HARDWARE          36                                                     4,580.20
                 100370 Lenovo E480 [100370]                                                                         17,610                   -     COMPUTER HARDWARE          36                                                   17,609.83
                 100424 Lenovo E480Mfg. Part#: 20KN003XUS UNSPSC: 4321150 [100424]                                    3,657                   -     COMPUTER HARDWARE          36                                                     3,656.51
                 103741 Lenovo P14S Config is in the PPT (IL) [103741]                                               65,950                   -     COMPUTER HARDWARE          36                                9,159.67           65,949.50
                 102961 Lenovo P14s (Configs are with the quote) [102961]                                            18,824                   -     COMPUTER HARDWARE          36                                2,091.59           18,824.23
                 102962 Lenovo P14s (Configs are with the quote) [102962]                                            20,169                   -     COMPUTER HARDWARE          36                                2,240.98           20,168.82
                 102963 Lenovo P14s (Configs are with the quote) [102963]                                            14,790                   -     COMPUTER HARDWARE          36                                1,643.40           14,790.47
                 103582 Lenovo P14s (Configs are with the quote) [103582]                                            31,510                   -     COMPUTER HARDWARE          36                                4,376.40           31,510.06
                 103583 Lenovo P14s (Configs are with the quote) [103583]                                            13,129                   -     COMPUTER HARDWARE          36                                3,282.32           13,129.19
                 103799 Lenovo P14s laptop [103799]                                                                  26,434                   -     COMPUTER HARDWARE          36                                6,608.56           26,434.23
                 100371 Lenovo P52 [100371]                                                                          29,188                   -     COMPUTER HARDWARE          36                                                   29,188.29
                 100334 Lenovo P720 [100334]                                                                          9,971                   -     COMPUTER HARDWARE          36                                                     9,971.03
                 100381 Lenovo ThinkPad E480 - 14" - Core i5 8250U - 8 GB RAM - 256 GB SSD [100381]                   6,459                   -     COMPUTER HARDWARE          36                                                     6,458.81
                 100353 Lenovo ThinkPad E480 [100353]                                                                 4,557                   -     COMPUTER HARDWARE          36                                                     4,557.27
                 103809 Lenovo ThinkPad P15 Gen 1 - 15.6" - Core i9 10885H - vPro - 32 GB RAM - 1 T [103809]         10,392                   -     COMPUTER HARDWARE          36                                2,597.89           10,391.55
                 103810 Lenovo ThinkPad P15 Gen 2 - 15.6" - Core i7 11850H - vPro - 32 GB RAM - 1 T [103810]         19,763                   -     COMPUTER HARDWARE          36                                4,940.87           19,763.46
                 102939 Lenovo ThinkPad P17 Gen 1 - 17.3" - Xeon W-10855M - 32 GB RAM - 1 TB SSD [102939]           114,288                   -     COMPUTER HARDWARE          36                               12,698.71         114,288.23
                 100359 Lenovo ThinkPad P52 - 15.6" - Xeon E-2176M - 16 GB RAM - 512 GB SSDMfg. Part#: 2 [100359]    13,088                   -     COMPUTER HARDWARE          36                                                   13,087.88
                 100373 Lenovo ThinkPad USB 3.0 Ultra Docking Station [100373]                                          211                   -     COMPUTER HARDWARE          36                                                       211.32
                 104101 Lenovo ThinkPad X1 Nano Gen 1 20UN - Core i7 1160G7 / 2.1 GHz - Win 10 Pro 64- b [104101]    90,850                 7,571   COMPUTER HARDWARE          36             2,523.61          30,283.32           83,279.15
                 100358 Lenovo ThinkStation P720 - tower - Xeon Silver 4114 2.2 GHz- 16 GB - 512 G [100358]           6,552                   -     COMPUTER HARDWARE          36                                                     6,552.48
                 100372 Lenovo ThinkVision 27-in Monitor [100372]                                                     5,529                   -     COMPUTER HARDWARE          36                                                     5,529.49
                 103680 Lenovo ThinkVision S28u-10 - LED monitor - 4K - 28" [103680]                                  5,337                   -     COMPUTER HARDWARE          36                                1,334.21             5,336.80
                 103934 Lenovo ThinkVision S28u-10 - LED monitor - 4K PO 4518 [103934]                                5,337                     0   COMPUTER HARDWARE          36              148.24            1,778.88             5,336.74
                 103857 Lenovo X1 Carbons Insight Global [103857]                                                     8,079                   -     COMPUTER HARDWARE          36                                2,019.88             8,079.47
                 103858 Lenovo X1 Carbons [103858]                                                                   (8,079)                  -     COMPUTER HARDWARE          36                               (2,019.88)           (8,079.47)
                 103926 Lenovo X1 Laptops PO 8766 [103926]                                                           15,271                     0   COMPUTER HARDWARE          36              424.19            5,090.28           15,270.88

                                                                                                                                                                                                                                     20 of 168
                                                                 Case 25-10099-BLS                          Doc 2         Filed 01/18/25                  Page 55 of 202


Canoo Technologies Inc.                                                                                                                                                                                                 Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                     9,157,485               193,531
Asset number            Asset Description                                                                     Cost               NBV at Period End       Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 103924 Lenovo X1 Laptops PO8766 [103924]                                                              26,179                     -      COMPUTER HARDWARE          36               727.19           8,726.24           26,178.72
                 102953 Lenovo thinkpad P15 Gen1 Configs in the CDW quote [102953]                                     34,514                     -      COMPUTER HARDWARE          36                                   958.69          34,513.79
                 102954 Lenovo thinkpad P15 Gen1 Configs in the CDW quote [102954]                                      9,420                     -      COMPUTER HARDWARE          36                                   261.60           9,419.58
                 100380 Logitech M185 USB Wireless Mouse [100380]                                                         150                     -      COMPUTER HARDWARE          36                                                      149.72
                 100379 Logitech Wireless Combo MK270 - keyboard and mouse set - English [100379]                         200                     -      COMPUTER HARDWARE          36                                                      199.62
                 106937 MEZZANINE 4-PORT 25GBE,-C [106937]                                                              2,302                       64   COMPUTER HARDWARE          36                 63.95             767.40           2,238.33
                 103957 MSI WE76 11UK 460 - 17.3" - Core i9 i9-11980HK - 64 GBRAM - 1 TB SSD [103957]                  40,729                     -      COMPUTER HARDWARE          36                               10,182.27           40,729.00
                 103851 MSI WE76 11UK 460 Core i9 i9-11980HK / 3.3 GHz - Win 10 Pro - 64 GB RAM - 1 TB S [103851]      41,794                     -      COMPUTER HARDWARE          36                               10,448.49           41,794.07
                 103808 MSI WE76 11UM 459 - 17.3" - Core i9 i9-11980HK - 32 GB RAM - 1 TB SSD [103808]                 62,496                     -      COMPUTER HARDWARE          36                               13,888.02           62,495.80
                 103752 MSI WE76 11UM 459 - 17.3" - Core i9 i9-11980HK - 32 GBRAM - 1 TB SSD (IL) [103752]             39,869                     -      COMPUTER HARDWARE          36                                8,859.87           39,869.40
                 103751 MSI WF65 10TJ 443 -15.6" - Core i7 10750H - 16 GB RAM - 1 TB SSDMfg. Part#: WF6 [103751]       24,318                     -      COMPUTER HARDWARE          36                                6,079.39           24,317.58
                 103807 MSI WS66 11UMT 220 - 15.6" - Core i9 11900H - 64 GB RAM - 1 TB SSD [103807]                    83,050                     -      COMPUTER HARDWARE          36             2,306.96          25,376.26           83,049.53
                 103813 MSI WS66 11UMT 220 - 15.6" - Core i9 11900H - 64 GB RAM - 1 TB SSD [103813]                    43,053                     -      COMPUTER HARDWARE          36                               10,763.29           43,053.10
                 100220 Mac Hollywood-Laptops [100220]                                                                  8,509                     -      COMPUTER HARDWARE          36                                                    8,508.98
                 104589 MacBook Pro 13 Inch [104589]                                                                   51,928                   1,442    COMPUTER HARDWARE          36             1,442.44          17,309.28           50,485.40
                 100352 MacBook Pro 15-inch [100352]                                                                    2,865                     -      COMPUTER HARDWARE          36                                                    2,864.89
                 103864 MacBook Pro M1 Pro [103864]                                                                    49,781                     -      COMPUTER HARDWARE          36             1,382.84          15,210.84           49,780.92
                 102960 Macbook Pro 16" [102960]                                                                       13,252                     -      COMPUTER HARDWARE          36                                1,472.40           13,251.60
                 102964 Macbook Pro 16" [102964]                                                                       14,014                     -      COMPUTER HARDWARE          36                                1,557.08           14,013.72
                 103370 Macbook Pro 16" [103370]                                                                       13,252                     -      COMPUTER HARDWARE          36                                2,208.60           13,251.60
                 103495 Macbook and iPad for CEO [103495]                                                               3,545                     -      COMPUTER HARDWARE          36                                   689.35           3,545.17
                 103496 Macbooks for onboarding due to equipment shortage [103496]                                      4,979                     -      COMPUTER HARDWARE          36                                   968.25           4,979.48
                 103758 Mathworks Licenses [103758]                                                                    71,550                     -      COMPUTER HARDWARE          36                               17,887.50           71,550.00
                 106922 Meraki 1025WAC PSU [106922]                                                                    17,524                        0   COMPUTER HARDWARE          36               486.78           5,841.36           17,524.16
                 106967 Meraki 1025WAC PSU [106967]                                                                     8,762                        0   COMPUTER HARDWARE          36               243.39           2,920.68            8,762.08
                 106925 Meraki 10G Base SR Multi-Mode [106925]                                                         17,334                     -      COMPUTER HARDWARE          36               481.49           5,777.88           17,333.64
                 106923 Meraki 40GbE QSFP Cable, 0.5 Meter [106923]                                                     1,277                        0   COMPUTER HARDWARE          36                 35.47             425.64           1,277.00
                 106924 Meraki AC Power Cord for MX and MS (US P [106924]                                                 344                     -      COMPUTER HARDWARE          36                  9.57             114.80             344.40
                 106968 Meraki AC Power Cord for MX and MS (US P [106968]                                                 344                     -      COMPUTER HARDWARE          36                  9.57             114.80             344.40
                 106919 Meraki MR52 Cloud Managed AP [106919]                                                          13,540                     -      COMPUTER HARDWARE          36               376.10           4,513.20           13,539.60
                 106964 Meraki MR52 Cloud Managed AP [106964]                                                           6,770                     -      COMPUTER HARDWARE          36               188.05           2,256.60            6,769.80
                 106921 Meraki MS250-48FP L3 Stck Cld-Mngd 48x G [106921]                                             112,944                        0   COMPUTER HARDWARE          36             3,137.33          37,647.96         112,943.96
                 106966 Meraki MS250-48FP L3 Stck Cld-Mngd 48x G [106966]                                              22,589                     -      COMPUTER HARDWARE          36               627.47           7,529.60           22,588.80
                 106920 Meraki MS350-24X L3 Stck Cld-Mngd 24xGig [106920]                                               8,125                     -      COMPUTER HARDWARE          36               225.69           2,708.28            8,124.80
                 106965 Meraki MS350-24X L3 Stck Cld-Mngd 24xGig [106965]                                              16,250                     -      COMPUTER HARDWARE          36               451.38           5,416.54           16,249.60
                 103664 Monitors for 2D buildout [103664]                                                               7,545                     -      COMPUTER HARDWARE          36                                1,676.66            7,544.90
                 103956 OBC 4up - NI parts incl tax [103956]                                                           13,560                     -      COMPUTER HARDWARE          36               376.68           4,520.16           13,560.48
                 103979 OBCM EMC Load Bank [103979]                                                                     3,500                     -      COMPUTER HARDWARE          36                                   972.26           3,500.00
                 100348 OSI Global IT-Purchase of spare switches and a server for Video surveillance [100348]           9,916                     -      COMPUTER HARDWARE          36                                                    9,916.04
                 103372 P15 - preorder hold [103372]                                                                   16,822                     -      COMPUTER HARDWARE          36                                2,336.43           16,822.26
                 103577 P15 - preorder hold [103577]                                                                   57,284                     -      COMPUTER HARDWARE          36                                7,956.08           57,283.74
                 103578 P15 - preorder hold [103578]                                                                    3,182                     -      COMPUTER HARDWARE          36                                   442.01           3,182.43
                 103579 P15 - preorder hold [103579]                                                                   12,730                     -      COMPUTER HARDWARE          36                                1,768.02           12,729.72
                 103373 P15 CTO Build [103373]                                                                        169,057                     -      COMPUTER HARDWARE          36                               28,176.19         169,057.11
                 106941 PA3220 PA3250 PA3260 4 post rack mnt kit [106941]                                                 540                       45   COMPUTER HARDWARE          36                 15.00             180.00             495.00
                 106944 PALO ALTO NETWORKS : PALO ALTO NETWORKS [106944]                                               16,452                   1,371    COMPUTER HARDWARE          36               457.00           5,484.00           15,081.00
                 103581 PARTS [103581]                                                                                  4,072                     -      COMPUTER HARDWARE          36                                   565.50           4,071.52
                 106028 PR to pay the balance of dspace Invoice 25814 update.This was a finance mixup f [106028]       72,720                  20,604    COMPUTER HARDWARE          60             1,212.00          14,544.00           52,116.00

                                                                                                                                                                                                                                          21 of 168
                                                               Case 25-10099-BLS                        Doc 2         Filed 01/18/25                 Page 56 of 202


Canoo Technologies Inc.                                                                                                                                                                                            Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                  9,157,485             193,531
Asset number            Asset Description                                                                  Cost             NBV at Period End       Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 106959 PSU-350-AC 350W AC P/S [106959]                                                                 666                    55   COMPUTER HARDWARE          36                 18.49             221.88             610.14
                 106940 Palo Alto Networks PA-3260 w/redundant A [106940]                                           134,112               11,176    COMPUTER HARDWARE          36             3,725.33          44,703.96         122,935.96
                 103330 Projector for VIP presentations [103330]                                                      3,167                  -      COMPUTER HARDWARE          36                                   527.90           3,167.32
                 100221 Puget Systems-Personal Computers-Wire - 01-2018 [100221]                                      9,330                  -      COMPUTER HARDWARE          36                                                    9,330.11
                 103912 Quotation No. 2218735865439-01 Canoo ADAS HiL HardwarePXIe-1095 - PXIe-8881 - [103912]      137,031                  -      COMPUTER HARDWARE          36             3,806.51          41,870.71         137,031.25
                 106929 R6416 APPLIANCE, 4-NODE, 192TB RAW HDD, [106929]                                             32,727                2,727    COMPUTER HARDWARE          36               909.08          10,908.96           29,999.71
                 105350 RAD-Moon for BLT Ethernet automated testing [105350]                                          3,744                  312    COMPUTER HARDWARE          36               104.01           1,248.12            3,432.29
                 103811 RECYCLING FEE $45.00 [103811]                                                                    45                  -      COMPUTER HARDWARE          36                                    11.25               45.00
                 103978 RFQ (C20-00036) INVERTER ENDOF LINE EQUIPMENT WITH AUTOMATIC CONNECTIONS FOR HIG [103978]   473,128               13,143    COMPUTER HARDWARE          36            13,142.44         157,709.28         459,985.44
                 100222 Rescale, Inc.-04-419787043-004 [100222]                                                       4,911                  -      COMPUTER HARDWARE          36                                                    4,910.78
                 103852 SALES TAX $1,294.78 [103852]                                                                  1,295                  -      COMPUTER HARDWARE          36                 35.94             395.64           1,294.78
                 103812 SALES TAX $1,677.37 [103812]                                                                  1,677                  -      COMPUTER HARDWARE          36                                   419.35           1,677.37
                 106943 SFP+ 10Gb direct attach twin-ax passive [106943]                                                705                    59   COMPUTER HARDWARE          36                 19.58             234.96             646.21
                 106942 SFP+ SR 10GigE transceiver [106942]                                                           9,000                  750    COMPUTER HARDWARE          36               250.00           3,000.00            8,250.00
                 106938 SFP+Optical 10Gb Shortwave [Cat: A] [106938]                                                    858                    24   COMPUTER HARDWARE          36                 23.83             285.96             833.97
                 100572 SKD9687A-CDW Direct LLC- 3097636 PN: 3097636 - ASUS VN279Q - LED monitor [100572]               428                  -      COMPUTER HARDWARE          36                                                      428.29
                 100567 SKD9687A-CDW Direct LLC-PN: 20KN003XUS - Lenovo ThinkPad E480 - 14" [100567]                 13,851                  -      COMPUTER HARDWARE          36                                                   13,850.74
                 100571 SKD9687A-CDW Direct LLC-PN: 20M90010US - Lenovo ThinkPad P52 - 15.6" [100571]                13,424                  -      COMPUTER HARDWARE          36                                                   13,423.86
                 100569 SKL0376-CDW Direct LLC-3097636 PN: 3097636 - ASUS VN279Q - LED monitor [100569]               3,946                  -      COMPUTER HARDWARE          36                                                    3,946.33
                 100570 SMM1165-CDW Direct LLC-PN: 5164089 - Lenovo ThinkPad P52 - 15.6" - Xeon E-2176M [100570]      2,606                  -      COMPUTER HARDWARE          36                                                    2,605.53
                 100562 SMN9151-CDW Direct LLC-PN: 3974412 - Lenovo - power adapter - 230 Watt [100562]               1,558                  -      COMPUTER HARDWARE          36                                                    1,557.66
                 100560 SMN9151-CDW Direct LLC-PN: 5164089 - Lenovo ThinkPad P52 - 15.6" [100560]                     2,604                  -      COMPUTER HARDWARE          36                                                    2,604.15
                 100561 SMN9151-CDW Direct LLC-PN: 5164089 - Lenovo ThinkPad P52 - 15.6" [100561]                     2,604                  -      COMPUTER HARDWARE          36                                                    2,604.15
                 100732 STN7710A-CDW Direct LLC-Lenovo ThinkPad P52 - 15.6" [100732]                                  4,682                  -      COMPUTER HARDWARE          36                                                    4,681.61
                 102778 SVB-IT Hardware-Inv:DVB 0221-04 FEB P-CARD [102778]                                           2,913                  -      COMPUTER HARDWARE          36                                   161.83           2,912.69
                 102818 SVB-IT Hardware-Inv:DVB 0221-04 FEB P-CARD [102818]                                           2,773                  -      COMPUTER HARDWARE          36                                   154.04           2,772.69
                 102776 SVB-Laptops for Sohel and future VPs-Inv:DVB 0221-04 FEB P-CARD [102776]                      2,468                  -      COMPUTER HARDWARE          36                                   137.12           2,468.10
                 102777 SVB-Laptops for Sohel and future VPs-Inv:DVB 0221-04 FEB P-CARD [102777]                      3,504                  -      COMPUTER HARDWARE          36                                   194.68           3,503.98
                 103816 Sales Tax [103816]                                                                            2,754                  -      COMPUTER HARDWARE          36                 76.47             841.37           2,753.51
                 103575 Samsung 870 EVO MZ-77E2T0E - solid state drive - 2 TB - SATA 6Gb/sMfg.Part: MZ-7 [103575]       251                  -      COMPUTER HARDWARE          36                                    41.84             250.96
                 100351 Samsung CF390 [100351]                                                                        2,214                  -      COMPUTER HARDWARE          36                                                    2,214.48
                 103850 Samsung LED monitor - 27" - 3840 x 2160 4K @ 60 Hz [103850]                                  18,674                  -      COMPUTER HARDWARE          36                                4,668.41           18,673.60
                 104617 Samsung U28R550UQN - UR550 Series - LED monitor - 4K - 28" - HDR [104617]                    14,432                  401    COMPUTER HARDWARE          36               400.90           4,810.80           14,031.44
                 104621 Samsung U28R550UQN - UR550 Series - LED monitor - 4K - 28" - HDR [104621]                     6,498                  361    COMPUTER HARDWARE          36               180.50           2,166.00            6,137.07
                 104100 Schenck Hardware Vehicle Communication- Hardware PO 8005 [104100]                            11,240                  937    COMPUTER HARDWARE          36               312.22           3,746.64           10,303.30
                 106915 Small Secure Network Server for ISE Appl [106915]                                            13,743                  382    COMPUTER HARDWARE          36               381.74           4,580.88           13,360.90
                 104622 Stocking order for new PCs [104622]                                                          84,390                4,688    COMPUTER HARDWARE          36             2,344.15          28,129.80           79,701.17
                 100733 THS6836-CDW Direct LLC-5449109 - LVO E490 I5-8265U 256/8 W10P [100733]                        9,018                  -      COMPUTER HARDWARE          36                                                    9,018.05
                 100737 TKG8165-CDW Direct LLC-2124292 Logitech MK120 USB Wired Keyboard/Mouse Set [100737]             234                  -      COMPUTER HARDWARE          36                                                      234.24
                 100735 TKG8165-CDW Direct LLC-2715754 - Logitech K360 Wireless Keyboard [100735]                       250                  -      COMPUTER HARDWARE          36                                                      249.95
                 100734 TKG8165-CDW Direct LLC-4285132 - Logitech Triathlon M720 Mouse [100734]                         100                  -      COMPUTER HARDWARE          36                                                        99.99
                 100738 TKG8165-CDW Direct LLC-4512877-Lenovo USB-C 65W AC Adapter - power adapter [100738]             687                  -      COMPUTER HARDWARE          36                                                      687.49
                 100736 TKG8165-CDW Direct LLC-4984684 Logitech MK540 Advanced - keyboard and mouse set [100736]        625                  -      COMPUTER HARDWARE          36                                                      624.96
                 100739 TKG8165-CDW Direct LLC-5179761- Apple MacBook Pro with Touch Bar - 15.4 [100739]              6,076                  -      COMPUTER HARDWARE          36                                                    6,075.87
                 100321 Trish_3928-0219-Amazon Purchase Monitors [100321]                                            10,127                  -      COMPUTER HARDWARE          36                                                   10,127.05
                 100315 Two Apple Computers purchase at CDW [100315]                                                  5,450                  -      COMPUTER HARDWARE          36                                                    5,450.05
                 103331 Urgent Geforce RTX 3090 for Design [103331]                                                   8,364                  -      COMPUTER HARDWARE          36                                1,393.94            8,363.54
                 104103 Vector 55300 CANape [104103]                                                                 29,684                2,474    COMPUTER HARDWARE          36               824.56           9,894.72           27,210.38

                                                                                                                                                                                                                                     22 of 168
                                                               Case 25-10099-BLS                        Doc 2         Filed 01/18/25                 Page 57 of 202


Canoo Technologies Inc.                                                                                                                                                                                             Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                  9,157,485              193,531
Asset number            Asset Description                                                                   Cost             NBV at Period End      Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 100226 Verizon Wireless-Cellphones [100226]                                                          2,109                   -     COMPUTER HARDWARE          36                                                     2,108.86
                 100227 Verizon Wireless-Cellphones [100227]                                                          2,434                   -     COMPUTER HARDWARE          36                                                     2,433.62
                 100228 Verizon Wireless-Cellphones [100228]                                                          2,386                   -     COMPUTER HARDWARE          36                                                     2,385.85
                 100229 Verizon Wireless-Cellphones [100229]                                                          5,801                   -     COMPUTER HARDWARE          36                                                     5,801.10
                 100230 Verizon Wireless-Cellphones [100230]                                                          7,772                   -     COMPUTER HARDWARE          36                                                     7,772.10
                 100231 Verizon Wireless-Cellphones [100231]                                                          6,188                   -     COMPUTER HARDWARE          36                                                     6,187.84
                 100232 Verizon Wireless-Cellphones [100232]                                                          6,188                   -     COMPUTER HARDWARE          36                                                     6,187.84
                 100233 Verizon Wireless-Cellphones [100233]                                                          5,801                   -     COMPUTER HARDWARE          36                                                     5,801.10
                 100234 Verizon Wireless-Cellphones [100234]                                                          4,931                   -     COMPUTER HARDWARE          36                                                     4,930.73
                 104105 WBE Inductive Load Machine for Inverter Component PO 10594 [104105]                           3,826                   319   COMPUTER HARDWARE          36              106.27            1,275.24             3,506.95
                 103794 WT5000 Power Analyzer Rental extension until 12/1/21Monthly rental rate: $3,509 [103794]      7,019                   -     COMPUTER HARDWARE          36                                1,169.82             7,018.90
                 103795 WT5000 Power Analyzer Rental extension until 12/1/21Monthly rental rate: $3,509 [103795]      3,509                   -     COMPUTER HARDWARE          36                                  974.87             3,509.45
                 103796 WT5000 Power Analyzer Rental extension until 12/1/21Monthly rental rate: $3,509. [103796]     3,509                   -     COMPUTER HARDWARE          36                                  682.41             3,509.45
                 103797 WT5000 Power Analyzer Rental extension until 12/1/21Monthly rental rate: $3,509. [103797]     3,509                   -     COMPUTER HARDWARE          36                                  877.38             3,509.45
                 106954 X372 54VDC 1050W PS [106954]                                                                 31,719                 4,405   COMPUTER HARDWARE          36              881.09           10,573.08           27,313.76
                 103933 computer monitors for new buildout [103933]                                                   6,110                     0   COMPUTER HARDWARE          36              169.73            2,036.76             6,110.36
                 103803 environmental fee [103803]                                                                   (5,850)                  -     COMPUTER HARDWARE          36                               (1,625.00)           (5,850.00)
                 103248 https://www.dell.com/premier/US/en/RC1424120?ctx=rm%3d0%26id%3dpassive%26ru%3d%2 [103248]    11,697                   -     COMPUTER HARDWARE          36                                1,624.65           11,697.38
                 103251 laptops for VPs [103251]                                                                      7,665                   -     COMPUTER HARDWARE          36                                1,064.59             7,664.90
                 106932 r6404s Appliance, 4-node, 48TB raw HDD, [106932]                                             18,761                 1,563   COMPUTER HARDWARE          36              521.14            6,253.68           17,197.59
                 106926 r6412s Appliance, 4-node, 144TB raw HDD, [106926]                                            27,769                 1,543   COMPUTER HARDWARE          36              771.36            9,256.32           26,226.26
                 102764 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Amazon-Conference [102764]                    2,726                   -     COMPUTER HARDWARE          36                                  227.15             2,725.66
                 102751 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Amazon-Monitors [102751]                      2,143                   -     COMPUTER HARDWARE          36                                  178.61             2,143.26
                 102738 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Apple Pencil [102738]                     133                   -     COMPUTER HARDWARE          36                                   11.11               133.15
                 102739 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Apple Pencil [102739]                     133                   -     COMPUTER HARDWARE          36                                   11.11               133.15
                 102740 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Apple Pencil [102740]                     133                   -     COMPUTER HARDWARE          36                                   11.11               133.15
                 102741 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Apple Pencil [102741]                     133                   -     COMPUTER HARDWARE          36                                   11.11               133.15
                 102733 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Apple TV [102733]                         186                   -     COMPUTER HARDWARE          36                                   15.53               186.19
                 102734 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Apple TV [102734]                         186                   -     COMPUTER HARDWARE          36                                   15.53               186.19
                 102709 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-MBP 13.3 [102709]                       2,616                   -     COMPUTER HARDWARE          36                                  218.04             2,616.40
                 102710 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-MBP 13.3 [102710]                       2,616                   -     COMPUTER HARDWARE          36                                  218.04             2,616.40
                 102711 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-MBP 13.3 [102711]                       2,616                   -     COMPUTER HARDWARE          36                                  218.04             2,616.40
                 102712 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-MBP 13.3 [102712]                       2,616                   -     COMPUTER HARDWARE          36                                  218.04             2,616.40
                 102713 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-MBP 13.3 [102713]                       2,616                   -     COMPUTER HARDWARE          36                                  218.04             2,616.40
                 102714 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-MBP 13.3 [102714]                       2,616                   -     COMPUTER HARDWARE          36                                  218.04             2,616.40
                 102735 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Mac Mini SG [102735]                    1,509                   -     COMPUTER HARDWARE          36                                  125.76             1,509.01
                 102736 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Mac Mini SG [102736]                    1,509                   -     COMPUTER HARDWARE          36                                  125.76             1,509.01
                 102737 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Mac Mini SG [102737]                    1,509                   -     COMPUTER HARDWARE          36                                  125.76             1,509.01
                 102724 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102724]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102725 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102725]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102726 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102726]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102727 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102727]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102728 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102728]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102729 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102729]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102730 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102730]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102731 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102731]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102732 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Keyboard [102732]                    96                   -     COMPUTER HARDWARE          36                                    8.04                96.34
                 102715 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102715]                     77                   -     COMPUTER HARDWARE          36                                    6.41                76.86

                                                                                                                                                                                                                                     23 of 168
                                                               Case 25-10099-BLS                        Doc 2            Filed 01/18/25                Page 58 of 202


Canoo Technologies Inc.                                                                                                                                                                                              Schedule A/B - Exhibit F
Share folder reference:   1.10.3
Form Reference:           Form 206A/B
                          Schedule A/B Part 7
                          Office & IT Equipment
                                                                                                                    9,157,485               193,531
Asset number            Asset Description                                                                    Cost               NBV at Period End     Asset Category      Life        Depreciation Amount YTD Depreciation   Depreciation Reserve
                 102716 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102716]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102717 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102717]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102718 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102718]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102719 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102719]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102720 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102720]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102721 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102721]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102722 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102722]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102723 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-Magic Mouse 2 [102723]                      77                     -    COMPUTER HARDWARE          36                                     6.41               76.86
                 102752 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-iPad Air [102752]                          811                     -    COMPUTER HARDWARE          36                                    67.58             810.79
                 102753 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-iPad Air [102753]                          811                     -    COMPUTER HARDWARE          36                                    67.58             810.79
                 102754 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-iPad Air [102754]                          811                     -    COMPUTER HARDWARE          36                                    67.58             810.79
                 102755 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Apple-iPad Air [102755]                          811                     -    COMPUTER HARDWARE          36                                    67.58             810.79
                 102750 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Best Buy-85" TVs [102750]                      4,330                     -    COMPUTER HARDWARE          36                                   360.85           4,329.98
                 102748 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Persidio-HP Printer [102748]                     633                     -    COMPUTER HARDWARE          36                                    52.74             632.82
                 102749 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Persidio-Meetup Conf System [102749]           1,870                     -    COMPUTER HARDWARE          36                                   155.83           1,869.82
                 102745 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Persidio-Microsoft 50" Hub [102745]            9,395                     -    COMPUTER HARDWARE          36                                   782.97           9,395.39
                 102746 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Persidio-Microsoft 85" Hub [102746]           22,854                     -    COMPUTER HARDWARE          36                                1,904.48           22,853.59
                 102747 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Persidio-Microsoft 85" Hub [102747]           22,854                     -    COMPUTER HARDWARE          36                                1,904.48           22,853.59
                 102762 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Persidio-Microsoft [102762]                    1,505                     -    COMPUTER HARDWARE          36                                   125.44           1,505.22
                 102763 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Persidio-Mount [102763]                        1,154                     -    COMPUTER HARDWARE          36                                    96.21           1,154.30
                 102756 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc [102756]                     3,759                     -    COMPUTER HARDWARE          36                                   313.29           3,759.48
                 102757 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc [102757]                     8,296                     -    COMPUTER HARDWARE          36                                   691.34           8,296.05
                 102758 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc [102758]                    10,412                     -    COMPUTER HARDWARE          36                                   867.64          10,411.65
                 102759 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc [102759]                     2,467                     -    COMPUTER HARDWARE          36                                   205.61           2,467.32
                 102760 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc [102760]                    10,391                     -    COMPUTER HARDWARE          36                                   865.92          10,391.04
                 102761 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc [102761]                       593                     -    COMPUTER HARDWARE          36                                    49.41             592.92
                 102742 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc.-Alarm System [102742]       2,676                     -    COMPUTER HARDWARE          36                                   222.99           2,675.80
                 102743 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc.-Audio System [102743]      19,307                     -    COMPUTER HARDWARE          36                                1,608.91           19,306.83
                 102744 15520 HWY 114 LLC-IT Equipment-Inv:5023 PO:5837-Video General Inc.-Pre wire [102744]           5,844                     -    COMPUTER HARDWARE          36                                   486.98           5,843.60
                 100672 Invoice-INV-US26988-PN: 470-AAPW Dell stacking cable [100672]                                    214                     -    COMPUTER HARDWARE          36                                                      213.82
                 100671 Invoice-INV-US26988-PN: N2048P Dell Networking N2048P, L2, POE+, 48x 1GbE [100671]             8,423                     -    COMPUTER HARDWARE          36                                                    8,423.39
                 100550 LAS0419-17 P-CARD-MacBook Pro [100550]                                                         3,257                     -    COMPUTER HARDWARE          36                                                    3,257.06
                 100552 LAS0419-17 P-CARD-mr74 wireless access points [100552]                                         3,052                     -    COMPUTER HARDWARE          36                                                    3,051.50
                 100519 PN: 3342939 - Cisco Meraki Enterprise Cloud Controller - subscription license (3 [100519]      1,372                     -    COMPUTER HARDWARE          36                                                    1,371.85
                 100521 PN: 3589595 - Cisco Meraki Dual-Band Omni Antenna (4/7 dBi Gain) Set Antenna [100521]            809                     -    COMPUTER HARDWARE          36                                                      808.88
                 100520 PN: 4142364 - Cisco Meraki MR53 - wireless access point [100520]                               4,316                     -    COMPUTER HARDWARE          36                                                    4,316.24
                 100518 PN: 4531849 - Cisco Meraki MR74 Cloud Managed - wireless access point [100518]                 2,843                     -    COMPUTER HARDWARE          36                                                    2,843.28
                 103497 Computer monitors for rp3I space [103497]                                                     13,518                     -    COMPUTER HARDWARE          36                                2,628.58           13,518.34
                 103498 Computer monitors for rp3I space [103498]                                                      1,028                     -    COMPUTER HARDWARE          36                                   199.96           1,028.32
                 103329 Switches and WiFi for R3PI space [103329]                                                      4,008                     -    COMPUTER HARDWARE          36                                   667.96           4,007.76




                                                                                                                                                                                                                                       24 of 168
                                                                  Case 25-10099-BLS                          Doc 2         Filed 01/18/25              Page 59 of 202


Canoo Technologies Inc.                                                                                                                                                                                              Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                             Asset Description                                    Cost          NBV at Period End         Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 103458 Arrow Automation Glazing Cell 30% With Design Complete PO 6356 [103458]                         104,548              62,729 MACHINERY AND EQUIPMENT      60            1,742.46           20,909.52             41,819.04
                 103463 Burke ADAS Calibration Station PO 7006 [103463]                                                 470,920              26,162 MACHINERY AND EQUIPMENT      36           13,081.11          156,973.32            444,757.75
                 107643 Line Column and Cross Beam Fabrication [107643]                                                  14,870               9,913 MACHINERY AND EQUIPMENT      60              247.83            2,973.96              4,956.62
                 103639 Machine: $287,740.00Customer selected options: $90,170.00Estimated sales tax i [103639]             584                  -   MACHINERY AND EQUIPMENT     36                                   97.32                 583.87
                 104027 ECR: Added Radar Targets in ADAS Stat [104027]                                                    9,482               4,109 MACHINERY AND EQUIPMENT      60              158.03            1,896.36              5,373.05
                 106845 1-MX1601B-R Standard amplifier-voltage [106845]                                                  25,050               4,175 MACHINERY AND EQUIPMENT      36              695.84            8,350.08             20,875.12
                 106846 1-MX1615B-R Bridge amplifier [106846]                                                            12,370               2,062 MACHINERY AND EQUIPMENT      36              343.61            4,123.32             10,308.25
                 103961 14B7823169220001 [103961]                                                                         6,979                  -   MACHINERY AND EQUIPMENT     36              193.86            2,326.21              6,978.79
                 105362 200HP Ingersol Rand Compressors [105362]                                                        189,000              26,250 MACHINERY AND EQUIPMENT      36            5,250.00           63,000.00            162,750.00
                 103840 21331.1TEK MIXED DOMAIN OSCILLOSCOPEMFG Prod: TEK MDO3024 [103840]                               16,787                  -   MACHINERY AND EQUIPMENT     36              466.31            5,129.21             16,786.50
                 105354 29098 VT6306 [105354]                                                                             4,301                  478 MACHINERY AND EQUIPMENT     36              119.46            1,433.52              3,822.75
                 105353 29128 VT6060 [105353]                                                                             4,845                  538 MACHINERY AND EQUIPMENT     36              134.59            1,615.08              4,306.93
                 105363 300 Ton Chillers [105363]                                                                       157,500              21,875 MACHINERY AND EQUIPMENT      36            4,375.00           52,500.00            135,625.00
                 103918 500 SCFM Airflow Test Stand - 30% due on approval of engineering drawing [103918]                43,196              28,077 MACHINERY AND EQUIPMENT      60              719.94           11,878.97             15,118.70
                 105355 55000 CANoe PRO [105355]                                                                         13,364               1,114 MACHINERY AND EQUIPMENT      36              371.22            4,454.64             12,250.30
                 105356 55012 CANoe PRO Option .Ethernet [105356]                                                         6,638                  553 MACHINERY AND EQUIPMENT     36              184.39            2,212.68              6,084.84
                 103972 6127-EX021 Provide multiple sub assemblies and test coupons per "Gamma Fastener [103972]         56,569              42,427 MACHINERY AND EQUIPMENT      60              942.82           11,313.84             14,142.30
                 103971 6128-EX010 / Change to Continuous Mig welds [103971]                                             10,853               8,140 MACHINERY AND EQUIPMENT      60              180.88            2,170.56              2,713.20
                 103884 Action Equipment Solutions, (Georgetown, KY) M&E, AVO Glass Cell, PO7973 [103884]                48,391                    0 MACHINERY AND EQUIPMENT     36            1,344.19           16,130.28             48,390.92
                 103966 Added Content & Increased Tool Quantity [103966]                                              2,397,666             199,806 MACHINERY AND EQUIPMENT      36           66,601.82          799,221.84          2,197,860.08
                 104108 Air And Liquid Systems Gamma Water Booth PO 10569 [104108]                                       98,978               8,248 MACHINERY AND EQUIPMENT      36            2,749.39           32,992.68             90,729.84
                 104041 Air Leak Test Rig: ZELTWANGER ZEDeco leak test [104041]                                           7,988                  -   MACHINERY AND EQUIPMENT     36              221.89            2,662.66              7,988.00
                 106529 BIW Gamma Build & Equipment Installation - 10% SOP or 120 days from final buy-of [106529]     1,502,029           1,126,522 MACHINERY AND EQUIPMENT      60           25,033.82          300,405.84            375,507.30
                 106528 BIW Gamma Build & Equipment Installation - 15% Installation complete at Canoo [106528]        2,253,043           1,689,782 MACHINERY AND EQUIPMENT      60           37,550.72          450,608.64            563,260.80
                 106527 BIW Gamma Build & Equipment Installation - 25% Gamma build complete and Equipmen [106527]     3,136,743           2,352,557 MACHINERY AND EQUIPMENT      60           52,279.05          627,348.60            784,185.75
                 106530 BIW Gamma Build & Equipment Installation - 5% 6 months after SOP or 120 days fro [106530]       486,014             364,510 MACHINERY AND EQUIPMENT      60            8,100.23           97,202.76            121,503.45
                 103616 BIW Gamma Build & Equipment Installation [103616]                                             6,759,129           5,069,347 MACHINERY AND EQUIPMENT      60          112,652.15        1,351,825.80          1,689,782.25
                 106023 BYK-Mac i 23 mm (Color Spectrophotometer) [106023]                                               38,452              19,226 MACHINERY AND EQUIPMENT      60              640.87           19,226.13             19,226.13
                 100897 Bart Manufacturing-Inv:11803-Skateboard Rotisserie-PO:00001674 [100897]                          49,733                  -   MACHINERY AND EQUIPMENT     36                                                     49,733.33
                 100896 Bart Manufacturing-Inv:11893-Skateboard Rotisserie-PO:00001674 [100896]                          49,733                  -   MACHINERY AND EQUIPMENT     36                                                     49,733.33
                 105357 Battery Installation and Removal Cart [105357]                                                   17,500               1,944 MACHINERY AND EQUIPMENT      36              486.11            5,833.32             15,555.53
                 106899 Battery Pack Build Cart for GAMMA [106899]                                                      159,668              31,047 MACHINERY AND EQUIPMENT      36            4,435.22           53,222.64            128,621.40
                 105358 Battery Pallet [105358]                                                                          20,000               2,222 MACHINERY AND EQUIPMENT      36              555.56            6,666.72             17,777.82
                 104038 BendPak Vehicle Hoist [104038]                                                                   19,360               1,076 MACHINERY AND EQUIPMENT      36              537.78            6,453.36             18,284.46
                 104030 Bentonville Glazing Cells - Down Payment [104030]                                             1,442,499              40,069 MACHINERY AND EQUIPMENT      36           40,069.42        1,800,212.04          1,402,429.79
                 103608 Build Stations [103608]                                                                       1,627,281             732,276 MACHINERY AND EQUIPMENT      60           27,121.35          467,843.24            895,004.44
                 104039 CCS1 Chargeport EOL Equipment [104039]                                                           71,363                  -   MACHINERY AND EQUIPMENT     36            1,982.32           23,787.82             71,363.48
                 107605 CRTICIAL FOR NASA 2 Water buffalos [107605]                                                      29,000              22,717 MACHINERY AND EQUIPMENT      60              483.33            6,283.29              6,283.29
                 104035 Cabin Two Post Lift [104035]                                                                      7,206                  200 MACHINERY AND EQUIPMENT     36              200.17            2,402.04              7,005.93
                 101957 Cortek Test Solutions-Inv:2021-006-PO:5089-Cell Tester - 50% Deposit [101957]                     8,250                  -   MACHINERY AND EQUIPMENT     36                                                      8,250.00
                 102821 Cortek-Cell Tester-Inv:2021-055PO:00005089 [102821]                                               9,826                  -   MACHINERY AND EQUIPMENT     36                                 545.91               9,826.49
                 103302 Diversified Machine System. DMS U-Frame Overhead Gantry Machine PO 4602 [103302]                 78,498                  -   MACHINERY AND EQUIPMENT     36                              15,263.45              78,497.70
                 104084 Durr System (Bentonville) Leak Test Storage Table [104084]                                       13,169               1,097 MACHINERY AND EQUIPMENT      36              365.80           4,389.60              12,071.40
                 104085 Durr Systems (Benton) Additional Engineering Cost for Redesign of SKB PO 10741 [104085]          21,396               1,783 MACHINERY AND EQUIPMENT      36              594.33           7,131.96              19,612.93
                 104624 ECN 6125-EX003 to Skateboard line [104624]                                                      468,264             273,154 MACHINERY AND EQUIPMENT      60            7,804.40          93,652.80             195,110.00
                 104625 ECN 6126-EX002 to Skateboard line [104625]                                                      564,518             329,302 MACHINERY AND EQUIPMENT      60            9,408.63         112,903.56             235,215.75
                 104626 ECN 6126-EX003 to Skateboard line [104626]                                                      172,095                  -   MACHINERY AND EQUIPMENT     36                              23,902.05             172,095.00
                 105342 ECN 6126-EX003 to Skateboard line [105342]                                                      172,095             100,389 MACHINERY AND EQUIPMENT      60            2,868.25          34,419.00              71,706.25
                 104627 ECN 6126-EX004 to Skateboard line [104627]                                                    1,917,638             266,339 MACHINERY AND EQUIPMENT      36           53,267.72         639,212.64           1,651,299.33
                 104628 ECN 6126-EX006 to Skateboard line [104628]                                                      120,070              68,612 MACHINERY AND EQUIPMENT      84            1,429.40          17,152.80              51,458.45
                 104631 ECN 6127-EX004 to Skateboard line [104631]                                                      287,876             164,501 MACHINERY AND EQUIPMENT      84            3,427.10          41,125.20             123,375.50
                 104632 ECN 6127-EX005 to Skateboard line [104632]                                                        4,788               2,128 MACHINERY AND EQUIPMENT      36              133.00           1,596.00               2,660.00

                                                                                                                                                                                                                                          25 of 168
                                                                 Case 25-10099-BLS                          Doc 2          Filed 01/18/25               Page 60 of 202


Canoo Technologies Inc.                                                                                                                                                                                               Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                                Asset Description                                 Cost          NBV at Period End          Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                 104633 ECN 6127-EX006 to Skateboard line [104633]                                                      115,976              67,653 MACHINERY AND EQUIPMENT       60            1,932.93          23,195.16             48,323.25
                 103973 ECN 6127-X019 Skateboard Line 90% - Prior shipping [103973]                                     999,798                  -    MACHINERY AND EQUIPMENT     36           27,772.17         333,265.96            999,798.00
                 104634 ECN 6128-EX002 to Skateboard line [104634]                                                      502,568             293,165 MACHINERY AND EQUIPMENT       60            8,376.13         100,513.56            209,403.25
                 106500 ECN to SKB Line 6125-EX005 / MFGENG-1155 Bumper Beam Riv-Studs / Manually instal [106500]        30,786              23,090 MACHINERY AND EQUIPMENT       60              513.10            6,157.20             7,696.50
                 106502 ECN to SKB Line 6125-EX016 / VI-2887 _ Welds for Torque Box Inr and FR Lwr Cmbr [106502]         31,898              23,924 MACHINERY AND EQUIPMENT       60              531.63            6,379.56             7,974.45
                 106503 ECN to SKB Line 6125-EX017 / JIRA 2919 Update GMA welds for GUSSET, FR LWR CMBR, [106503]         5,696               4,272 MACHINERY AND EQUIPMENT       60               94.93            1,139.16             1,423.95
                 106504 ECN to SKB Line 6125-EX018 / JIRA VI-2979 added adhesive FRT FRM LWR /dditional [106504]          6,476               4,857 MACHINERY AND EQUIPMENT       60              107.93            1,295.16             1,618.95
                 103853 ESPEC 14cuft Thermal Chamber With Window [103853]                                                25,332                  -    MACHINERY AND EQUIPMENT     36              703.64            7,740.34            25,332.00
                 103985 Electrical Installation of Battery Tester [103985]                                               67,391                     0 MACHINERY AND EQUIPMENT     36            1,871.96          22,463.52             67,390.59
                 108016 Elliott Electric Supply Equipment - OKC [108016]                                                881,284             763,779 MACHINERY AND EQUIPMENT       60           14,688.06         117,504.48            117,504.48
                 106001 Elliott Electric Supply Equipment - Pryor [106001]                                            1,223,062             896,912 MACHINERY AND EQUIPMENT       60           20,384.37         326,149.91            326,149.91
                 105361 Engineering Services [105361]                                                                     6,300                  700 MACHINERY AND EQUIPMENT      36              175.00            2,100.00             5,600.00
                 104029 Exit Ramp for Rolls Test [104029]                                                                 3,203                    89 MACHINERY AND EQUIPMENT     36               88.97            1,067.64             3,113.99
                 102974 F6603N ADVANCE-110ROBOT 3-AXIS 600 X 600 X 150MM WITH TEACH PENDANT [102974]                     37,784                  -    MACHINERY AND EQUIPMENT     36                                4,198.19            37,783.53
                 103935 FANUC Arc Mate 120iD Robot with “A” Size R-30iB+ PO 4943 [103935]                             1,175,022                  -    MACHINERY AND EQUIPMENT     36           32,639.50         391,674.00          1,175,022.00
                 103264 FANUC Arc Mate 120iD Robot with “A” Size R-30iB+Plus Controller – Arc Weld [103264]             364,816                  -    MACHINERY AND EQUIPMENT     36                              40,535.10            364,816.00
                 103308 FANUC Arc Mate 120iD Robot with “A” Size R-30iB+Plus Controller – Arc Weld [103308]             192,890                  -    MACHINERY AND EQUIPMENT     36                              21,432.26            192,890.00
                 104034 FANUC M-900iB/700 with “B” Size R-30iB+Plus Controller and SpotTool+ Softwar [104034]             2,264                  -    MACHINERY AND EQUIPMENT     36               62.90              691.78             2,264.00
                 103265 FANUC R-2000iC 210F with “A” Size R-30iB+Plus Controller –Material Handlin [103265]             130,980                  -    MACHINERY AND EQUIPMENT     36                              14,553.34            130,980.00
                 103310 FANUC R-2000iC 210L with “A” Size R-30iB+Plus Controller – Carried Single [103310]               57,548                  -    MACHINERY AND EQUIPMENT     36                                6,394.26            57,548.00
                 100935 FSS CO-DVB 1219-04-12 x 24 Trinco Tumbler Blaster [100935]                                        5,447                  -    MACHINERY AND EQUIPMENT     36                                                     5,447.00
                 105360 Fabrication Services-Job material [105360]                                                        2,000                  222 MACHINERY AND EQUIPMENT      36               55.56              666.72             1,777.82
                 103904 Fanuc Aux Axis Package [103904]                                                                   6,822               4,093 MACHINERY AND EQUIPMENT       60              113.70            1,364.40             2,728.80
                 103903 Fanuc R- 210L [103903]                                                                           31,475              18,885 MACHINERY AND EQUIPMENT       60              524.58            6,294.96            12,589.92
                 103473 Fanuc R-2000iC with "A" Size R-30iB PO 4943 [103473]                                            273,527                  -    MACHINERY AND EQUIPMENT     36                               60,783.80           273,527.00
                 107780 Forklift Purchase for Marysville office in Ohio [107780]                                         10,700               7,490 MACHINERY AND EQUIPMENT       60              178.33            3,209.96             3,209.96
                 103825 GA Lineside Racking [103825]                                                                     88,519              33,932 MACHINERY AND EQUIPMENT       60            1,475.32           17,703.84            54,586.79
                 103621 GAMMA Battery Module - ICB/Hot Plate Tab Bending Fixture (OCP-1209) [103621]                      7,809                  -    MACHINERY AND EQUIPMENT     36                                1,084.60             7,809.06
                 102967 Glazing Cell - 30% With Purchase Order [102967]                                                 566,867                  -    MACHINERY AND EQUIPMENT     36                             (671,278.16)          566,867.20
                 105813 Glazing Cell - 5% 8 weeks after final buy-off [105813]                                           34,849                  -    MACHINERY AND EQUIPMENT     36                                2,904.11            34,849.20
                 104109 Hitech handheld measurement sensor PO 8225 [104109]                                              13,038               1,086 MACHINERY AND EQUIPMENT       36              362.17            4,346.04            11,951.54
                 103744 Hot Plate Seam/Spot Weld Development (Quote 03102021-L1) - 80004958 New Laser De [103744]        66,106                  -    MACHINERY AND EQUIPMENT     36                               16,526.47            66,105.80
                 103745 Hot Plate Seam/Spot Weld Development (Quote 03102021-L1) - 80004960 Remote Suppo [103745]         3,360                  -    MACHINERY AND EQUIPMENT     36                                  840.00             3,360.00
                 103746 Hot Plate Seam/Spot Weld Development (Quote 03102021-L1) -80004958 Troubleshooti [103746]         2,368                  -    MACHINERY AND EQUIPMENT     36                                  592.01             2,368.00
                 103982 Item #: Q41462.01.C49602-2 (Infra Package) [103982]                                               8,255                  229 MACHINERY AND EQUIPMENT      36              229.30            2,751.60             8,025.57
                 105364 JCB S4046E Electric Scissor Lift 110V [105364]                                                   17,955               2,494 MACHINERY AND EQUIPMENT       36              498.75            5,985.00            15,461.25
                 103834 Kistler optical laser height sensors [103834]                                                    24,646                  -    MACHINERY AND EQUIPMENT     36                                6,846.19            24,646.26
                 100762 Knight Global-Inv:230628,231140,232270,232270-DriveLoad Assist Equipment-PO:1377 [100762]       111,582                  -    MACHINERY AND EQUIPMENT     36                                                   111,582.00
                 103848 LMI Seal Gap Gages for gamma launch attribute assurance plan [103848]                            57,467                  -    MACHINERY AND EQUIPMENT     36            1,596.33           17,559.23            57,466.50
                 103849 LMI Seal Gap Gages for gamma launch attribute assurance plan [103849]                            57,467                  -    MACHINERY AND EQUIPMENT     36            1,596.33           17,559.23            57,466.50
                 104113 Lift Assist Installation [104113]                                                                13,590               1,133 MACHINERY AND EQUIPMENT       36              377.50            4,530.00            12,457.50
                 104112 Lift Assist Modifications [104112]                                                                2,505                     0 MACHINERY AND EQUIPMENT     36               69.58              834.96             2,504.96
                 104033 Light Guide System [104033]                                                                      60,119               1,670 MACHINERY AND EQUIPMENT       36            1,669.98           20,039.76            58,449.34
                 103766 Machine repair for rotor drop station (Split from line 1 for GL account update) [103766]         16,790                  -    MACHINERY AND EQUIPMENT     36                                4,663.83            16,789.77
                 103765 Machine repair for rotor drop station - additional issues need to be addressed. [103765]         14,244                  -    MACHINERY AND EQUIPMENT     36                                3,956.65            14,243.87
                 103685 Machined Parts for Gamma Battery Pack Build Carts [103685]                                        9,174                  -    MACHINERY AND EQUIPMENT     36                                2,293.49             9,173.90
                 101943 Manz-Inv:3811-PO:3807-80004958 "Quote 04242020-L5 (BT.RFQ.008-07) [101943]                       17,760                  -    MACHINERY AND EQUIPMENT     36                                                    17,760.00
                 101944 Manz-Inv:3811-PO:3807-80004960 "Quote 04242020-L5 (BT.RFQ.008-07) [101944]                        3,552                  -    MACHINERY AND EQUIPMENT     36                                                     3,552.00
                 101945 Manz-Inv:3811-PO:3807-80004960 "Quote 04242020-L5 (BT.RFQ.008-07) [101945]                        3,360                  -    MACHINERY AND EQUIPMENT     36                                                     3,360.00
                 101948 Manz-Inv:3812-PO:3807-80004958 "Quote 04242020-L1 (BT.RFQ.008-02) [101948]                        1,036                  -    MACHINERY AND EQUIPMENT     36                                                     1,036.00
                 101946 Manz-Inv:3812-PO:3807-80004958 Quote 04242020-L1 (BT.RFQ.008-02) [101946]                         5,920                  -    MACHINERY AND EQUIPMENT     36                                                     5,920.00
                 101947 Manz-Inv:3812-PO:3807-80004960 "Quote 04242020-L1 (BT.RFQ.008-02) [101947]                        2,800                  -    MACHINERY AND EQUIPMENT     36                                                     2,800.00

                                                                                                                                                                                                                                          26 of 168
                                                                 Case 25-10099-BLS                          Doc 2          Filed 01/18/25              Page 61 of 202


Canoo Technologies Inc.                                                                                                                                                                                               Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                             Asset Description                                    Cost          NBV at Period End         Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                 101949 Manz-Inv:3813-PO:3807-80004958 "Quote 04242020-L3 (BT.RFQ.008-04) [101949]                       12,136                  -   MACHINERY AND EQUIPMENT     36                                                    12,136.00
                 101951 Manz-Inv:3813-PO:3807-80004958 "Quote 04242020-L3 (BT.RFQ.008-04) [101951]                        1,184                  -   MACHINERY AND EQUIPMENT     36                                                     1,184.00
                 101950 Manz-Inv:3813-PO:3807-80004960 "Quote 04242020-L3 (BT.RFQ.008-04) [101950]                        2,368                  -   MACHINERY AND EQUIPMENT     36                                                     2,368.00
                 101952 Manz-Inv:3814-PO:3807-80004958 "Quote 06262020-L2 (BT.RFQ.008-05) [101952]                        8,880                  -   MACHINERY AND EQUIPMENT     36                                                     8,880.00
                 101955 Manz-Inv:3814-PO:3807-80004958 "Quote 06262020-L2 (BT.RFQ.008-05) [101955]                          888                  -   MACHINERY AND EQUIPMENT     36                                                        888.00
                 101956 Manz-Inv:3814-PO:3807-80004963 "Quote 06262020-L2 (BT.RFQ.008-05) [101956]                        9,750                  -   MACHINERY AND EQUIPMENT     36                                                     9,750.00
                 101953 Manz-Inv:3814-PO:3807-81564049 "Quote 06262020-L2 (BT.RFQ.008-05) [101953]                        1,941                  -   MACHINERY AND EQUIPMENT     36                                                     1,940.82
                 101954 Manz-Inv:3814-PO:3807-81564083 "Quote 06262020-L2 (BT.RFQ.008-05) [101954]                        1,941                  -   MACHINERY AND EQUIPMENT     36                                                     1,940.82
                 103835 Modification for Independent Finger Pressure Adjustment on Existing BLS (Quote 0 [103835]         5,600                  -   MACHINERY AND EQUIPMENT     36                                1,555.57             5,600.00
                 103844 Modification for Independent Finger Pressure Adjustment on Existing BLS (Quote 0 [103844]           875                  -   MACHINERY AND EQUIPMENT     36                                  243.07                875.00
                 103845 Modification for Independent Finger Pressure Adjustment on Existing BLS (Quote 0 [103845]         2,368                  -   MACHINERY AND EQUIPMENT     36                                  657.79             2,368.00
                 103847 Modification for Independent Finger Pressure Adjustment on Existing BLS (Quote 0 [103847]         3,190                  -   MACHINERY AND EQUIPMENT     36                                  886.12             3,190.00
                 104095 NRTC (Bentonville) HP Ingersol Ra/ Ton Chillers/ Electric Scissors PO 11185 [104095]            156,195              13,016 MACHINERY AND EQUIPMENT      36            4,338.75           52,065.00           143,178.75
                 104615 OBC 4up - Digikey - box componentshttps://www.digikey.com/short/wvfd8c07 [104615]                 3,708                  206 MACHINERY AND EQUIPMENT     36              102.99            1,235.88             3,501.71
                 103910 Oscilloscope and Accessories [103910]                                                            37,881                    0 MACHINERY AND EQUIPMENT     36            1,052.25           12,627.00            37,881.03
                 104651 Pack- 30% Upon Power On [104651]                                                                599,271             369,550 MACHINERY AND EQUIPMENT      60            9,987.85         (136,500.54)          229,720.44
                 104018 Quad Build Cart for GAMMA [104018]                                                              222,311               6,175 MACHINERY AND EQUIPMENT      36            6,175.32           74,103.84           216,136.12
                 106003 Racelogic 3i 100Hz GNSS Data Logger System [106003]                                              42,985              27,940 MACHINERY AND EQUIPMENT      60              716.42            8,597.04            15,044.82
                 105359 Removable pallet casters [105359]                                                                 2,500                  278 MACHINERY AND EQUIPMENT     36               69.44              833.28             2,222.16
                 103827 Renishaw Spindle Probe and Tool Setter [103827]                                                  17,206                  -   MACHINERY AND EQUIPMENT     36                                2,389.74            17,206.15
                 104099 Robert Bosch (MI) Spider ECU PO 6354 [104099]                                                     4,500                  375 MACHINERY AND EQUIPMENT     36              125.00            1,500.00             4,125.00
                 103660 Roll Brake Tester [103660]                                                                      519,117             224,951 MACHINERY AND EQUIPMENT      60            8,651.95          103,823.40           294,166.30
                 103828 Roller Conveyor for Racks [103828]                                                                2,982               1,143 MACHINERY AND EQUIPMENT      60               49.70              596.40             1,838.86
                 102825 Seica Inc.-Inv:725/2020-Pilot BT Next Series Flying Probe-PO:5058 [102825]                      343,078                  -   MACHINERY AND EQUIPMENT     36                                                   343,078.13
                 102950 Skateboard Dunk Test Fixture-45% Down Payment-Dynamic - Invoice 886 - PO: 6013 [102950]          86,418                  -   MACHINERY AND EQUIPMENT     36                               19,204.07            86,418.11
                 103259 Skateboard Leak Tester (GAMMA) - 30% Down payment [103259]                                       22,137                  -   MACHINERY AND EQUIPMENT     36                                2,459.63            22,137.00
                 103316 Skateboard Leak Tester (GAMMA) - 30% Down payment [103316]                                      199,238                  -   MACHINERY AND EQUIPMENT     36                               33,206.25           199,237.50
                 104614 Skateboard Master [104614]                                                                       29,500               2,458 MACHINERY AND EQUIPMENT      36              819.44            9,833.28            27,041.61
                 103983 Storage and Inventory Control Package - Material [103983]                                       192,792               5,355 MACHINERY AND EQUIPMENT      36            5,355.34           64,264.08           187,436.89
                 106029 TE-107 Thermal Chamber for cell testing [106029]                                                  9,852                  821 MACHINERY AND EQUIPMENT     36              273.67            3,284.04             9,031.19
                 106492 TE-107 Thermal Chamber for cell testing [106492]                                                 30,814              15,407 MACHINERY AND EQUIPMENT      60              513.56            6,162.72            15,406.81
                 103911 TEK Differential Probe [103911]                                                                  17,018                  -   MACHINERY AND EQUIPMENT     36              472.72            5,672.52            17,017.74
                 104032 TEK MIXED SIGNAL OSCILLOSCOPE [104032]                                                           25,372                  705 MACHINERY AND EQUIPMENT     36              704.78            8,457.36            24,667.21
                 103767 Tax [103767]                                                                                      2,349                  -   MACHINERY AND EQUIPMENT     36                                  652.48             2,348.87
                 106024 Telemetry (CBT-MINI) [106024]                                                                    26,520                  737 MACHINERY AND EQUIPMENT     36              736.67            8,840.04            25,783.37
                 104102 TestEquity TEK HV Differential Probe PO 10929 [104102]                                            4,814                  401 MACHINERY AND EQUIPMENT     36              133.71            1,604.52             4,412.48
                 103750 V14 9901 000F ARO Mobile Repair Station [103750]                                                 16,000                  -   MACHINERY AND EQUIPMENT     36                                4,000.01            16,000.00
                 103261 VR-5100 Wide Area 3D Measurement System - Measurement Head ($33,900) minus Disco [103261]        41,980                  -   MACHINERY AND EQUIPMENT     36                                3,498.31            41,979.63
                 103829 Vehicle Mover [103829]                                                                           21,305               7,812 MACHINERY AND EQUIPMENT      60              355.08            4,260.96            13,493.08
                 107236 Water Booth Structure [107236]                                                                    8,942               5,514 MACHINERY AND EQUIPMENT      60              149.03            1,788.36             3,427.69
                 105349 Wheel Force Transducer Hud Adapters [105349]                                                      6,132                  511 MACHINERY AND EQUIPMENT     36              170.33            2,043.96             5,620.96
                 104115 ZEDbase+ Leak Testing Device and ZEDcore - RD (0-6 bar) [104115]                                 15,508                  862 MACHINERY AND EQUIPMENT     36              430.78            5,169.36            14,646.46
                 104042 ZEDflex leak test cart [104042]                                                                  35,370                  983 MACHINERY AND EQUIPMENT     36              982.50           11,790.00            34,387.50
                 102979 50% deposit will be required at the time of invoicing [102979]                                   33,945                  -   MACHINERY AND EQUIPMENT     36                                3,771.67            33,945.00
                 101679 Baileigh Industrial Holdings, LLC-INV0145795-PO:00004630-Test Equipment [101679]                 14,399                  -   MACHINERY AND EQUIPMENT     36                                                    14,399.16
                 103468 Belovac Vacuum Former PO 6726 [103468]                                                           21,007                  -   MACHINERY AND EQUIPMENT     36                                4,668.23            21,006.83
                 103257 CNC - LANG Work Holding [103257]                                                                 93,695                  -   MACHINERY AND EQUIPMENT     36                               10,410.57            93,695.13
                 102966 ChipBLASTER Unit Installation [102966]                                                            2,000                  -   MACHINERY AND EQUIPMENT     36                                  222.24             2,000.00
                 103255 D30-35 ChipBLASTER [103255]                                                                       8,872                  -   MACHINERY AND EQUIPMENT     36                                  739.30             8,871.54
                 103470 DMG Mori CNC Lang PO 5696 [103470]                                                              480,301                  -   MACHINERY AND EQUIPMENT     36                               53,366.75           480,300.81
                 102767 DMG-Machine and Accessories -Inv:INV4180007108 PO:4560 [102767]                                 106,619                  -   MACHINERY AND EQUIPMENT     36                                                   106,618.65
                 102766 DMG-Machine and Accessories Total-Inv:INV4180007108-PO:4560 [102766]                            294,519                  -   MACHINERY AND EQUIPMENT     36                                                   294,518.85

                                                                                                                                                                                                                                         27 of 168
                                                                    Case 25-10099-BLS                              Doc 2     Filed 01/18/25              Page 62 of 202


Canoo Technologies Inc.                                                                                                                                                                                                Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                    70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                                13,575 VEHICLES

                                                                                                                      106,292,695          70,096,417
      Asset number                                               Asset Description                                    Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 102765 DMG-Machine and Accessories-Inv:INV4180007106 PO:4560 [102765]                                    117,174                  -  MACHINERY AND EQUIPMENT     36                                                    117,174.38
                 102768 DMG-Machine and Accessories-Inv:INV4180007118 PO:4560 [102768]                                     30,609                  -  MACHINERY AND EQUIPMENT     36                                                     30,609.43
                 102769 DMG-Machine and Accessories-Inv:INV4180007118 PO:4560 [102769]                                     27,447                  -  MACHINERY AND EQUIPMENT     36                                                     27,446.99
                 102770 DMG-Machine and Accessories-Inv:INV4180007118 PO:4560 [102770]                                     27,447                  -  MACHINERY AND EQUIPMENT     36                                                     27,446.99
                 102771 DMG-Machine and Accessories-Inv:INV4180007118 PO:4560 [102771]                                     82,341                  -  MACHINERY AND EQUIPMENT     36                                                     82,340.97
                 101015 DVB 1020-04 Oct P-Card-IHM equipmen-Burr King M20, 20' Disc Grinder           [101015]              9,227                  -  MACHINERY AND EQUIPMENT     36                                                      9,226.89
                 101023 DVB 1020-04 Oct P-Card-IHM equipmen-National 52 inch Hydraulic Shear [101023]                       9,169                  -  MACHINERY AND EQUIPMENT     36                                                      9,169.28
                 103312 DoAll Horizontal Band Saw - DS-600SA [103312]                                                      27,393                  -  MACHINERY AND EQUIPMENT     36                                3,804.60             27,393.06
                 102947 Dust Collector System for CNC and Wood Shop [102947]                                              220,300                  -  MACHINERY AND EQUIPMENT     36                               24,477.82            220,300.00
                 102972 Machine: $287,740.00Customer selected options: $90,170.00Estimated sales tax i [102972]           200,754                  -  MACHINERY AND EQUIPMENT     36                               22,305.96            200,753.50
                 103309 Machine: $287,740.00Customer selected options: $90,170.00Estimated sales tax i [103309]            78,498                  -  MACHINERY AND EQUIPMENT     36                               10,902.46             78,497.70
                 103637 Machine: $287,740.00Customer selected options: $90,170.00Estimated sales tax i [103637]               876                  -  MACHINERY AND EQUIPMENT     36                                  145.98                 875.80
                 103638 Machine: $287,740.00Customer selected options: $90,170.00Estimated sales tax i [103638]             1,460                  -  MACHINERY AND EQUIPMENT     36                                  243.30              1,459.67
                 101680 Sharp Industries, Inc.-Inv:I51769-PO:00004324-Vertical Milling Machine [101680]                    15,222                  -  MACHINERY AND EQUIPMENT     36                                                     15,221.57
                 102969 Sharp Lathe [102969]                                                                               36,290                  -  MACHINERY AND EQUIPMENT     36                                1,008.07             36,290.05
                 103328 Slip roll [103328]                                                                                  7,579                  -  MACHINERY AND EQUIPMENT     36                                1,263.18              7,579.00
                 103487 Ttarp Vertical band, 24" leaf table PO 5063 [103487]                                               27,072                  -  MACHINERY AND EQUIPMENT     36                                6,015.99             27,071.87
                 103681 Vertical Band Saw [103681]                                                                         30,423                  -  MACHINERY AND EQUIPMENT     36                                7,605.67             30,422.60
                 106822 Closure Installation Cell - Canoo to supply, debug if necessary for Gamma build [106822]          400,000             111,111 MACHINERY AND EQUIPMENT     36           11,111.11          133,333.32            288,888.86
                 106829 Emhart Cell Move (only) to UHI [106829]                                                           228,000              63,333 MACHINERY AND EQUIPMENT     36            6,333.33           75,999.96            164,666.58
                 106827 Full Line integration of all cells [106827]                                                       105,000              37,917 MACHINERY AND EQUIPMENT     36            2,916.67           35,000.04             67,083.37
                 106828 Laser Weld Cell Move (only) to UHI [106828]                                                       438,000             121,667 MACHINERY AND EQUIPMENT     36           12,166.67          146,000.04            316,333.41
                 106824 Line Assist Equipment(lifts) [106824]                                                              10,417               2,894 MACHINERY AND EQUIPMENT     36              289.36            3,472.32              7,523.36
                 107493 Endeffector for the battery modules [107493]                                                        7,255               5,864 MACHINERY AND EQUIPMENT   120                60.46              725.52              1,390.56
                 107466 Steel returnable rack for Cabins [107466]                                                         130,000              75,833 MACHINERY AND EQUIPMENT     60            2,166.67           26,000.04             54,166.74
                 108021 Dispenser Rebuild Kit [108021]                                                                     21,514              20,080 MACHINERY AND EQUIPMENT     60              358.57            1,434.28              1,434.28
                 107813 Stud Welder Via Auction [107813]                                                                    7,670               6,008 MACHINERY AND EQUIPMENT     60              127.83            1,661.79              1,661.79
                 107983 Bestpack Carton Sealing Tape System [107983]                                                        2,065               1,755 MACHINERY AND EQUIPMENT     60               34.42              309.78                 309.78
                 107978 Crown Forklift [107978]                                                                             5,310               4,514 MACHINERY AND EQUIPMENT     60               88.50              796.50                 796.50
                 107980 Crown Order Picker [107980]                                                                         1,180               1,003 MACHINERY AND EQUIPMENT     60               19.67              177.03                 177.03
                 107975 Custom shipping racks [107975]                                                                     65,000              54,167 MACHINERY AND EQUIPMENT     60            1,083.33           10,833.30             10,833.30
                 107784 Hydraulic Edge of Dock Leveler 84'' 30k [107784]                                                   32,987              29,139 MACHINERY AND EQUIPMENT     60              549.78            3,848.46              3,848.46
                 107981 Raymond Order Picker [107981]                                                                       4,130               3,511 MACHINERY AND EQUIPMENT     60               68.83              619.47                 619.47
                 107982 Selco Cardboard Baler [107982]                                                                      5,310               4,514 MACHINERY AND EQUIPMENT     60               88.50              796.50                 796.50
                 107979 Toyota Forklift [107979]                                                                            5,605               4,764 MACHINERY AND EQUIPMENT     60               93.42              840.78                 840.78
                 108183 Spot Weld Inspection Equipment [108183]                                                            60,495              56,462 MACHINERY AND EQUIPMENT     60            1,008.25            4,033.00              4,033.00
                 108018 2015 Toyota Forklift [108018]                                                                      21,795              19,252 MACHINERY AND EQUIPMENT     60              363.25            2,542.75              2,542.75
                 107996 Gardner Denver 100HP Fixed Speed Drive L75 [107996]                                                85,834              64,375 MACHINERY AND EQUIPMENT     60            1,430.56           21,458.40             21,458.40
                 107997 Gardner Denver 100HP Fixed Speed Drive L75 [107997]                                                85,834              64,375 MACHINERY AND EQUIPMENT     60            1,430.56           21,458.40             21,458.40
                 107998 Gardner Denver 100HP Fixed Speed Drive L75 [107998]                                                85,834              64,375 MACHINERY AND EQUIPMENT     60            1,430.56           21,458.40             21,458.40
                 107888 Gardner Denver 15 HP compressor [107888]                                                           17,156              14,582 MACHINERY AND EQUIPMENT     60              285.93            2,573.37              2,573.37
                 107999 Gardner Denver Non Cycling Refrig Air Dryer RGD1200A4FP [107999]                                   34,857              26,143 MACHINERY AND EQUIPMENT     60              580.95            8,714.26              8,714.26
                 108000 Gardner Denver Non Cycling Refrig Air Dryer RGD1200A4FP [108000]                                   34,857              26,143 MACHINERY AND EQUIPMENT     60              580.95            8,714.26              8,714.26
                 107991 Kaishan 300HP KSKRSP2-300 Air Compressor [107991]                                                 201,431             151,073 MACHINERY AND EQUIPMENT     60            3,357.19           50,357.84             50,357.84
                 107992 Kaishan 300HP KSKRSP2-300 Air Compressor [107992]                                                 201,431             151,073 MACHINERY AND EQUIPMENT     60            3,357.19           50,357.84             50,357.84
                 108001 Manchester 2000 Gallon Vertical Air Receiver 302449 [108001]                                       31,610              23,708 MACHINERY AND EQUIPMENT     60              526.84            7,902.59              7,902.59
                 107993 Mikropor MCY2350 Refrigerated Air Dryer [107993]                                                   29,950              22,463 MACHINERY AND EQUIPMENT     60              499.17            7,487.55              7,487.55
                 107994 Mikropor MCY2350 Refrigerated Air Dryer [107994]                                                   29,950              22,463 MACHINERY AND EQUIPMENT     60              499.17            7,487.55              7,487.55
                 107808 Power up and testing of the electrical switch gear [107808]                                        24,351              17,858 MACHINERY AND EQUIPMENT     60              405.85            6,493.61              6,493.61
                 107995 Vertical 5000 Gal Tank [107995]                                                                    47,175              35,381 MACHINERY AND EQUIPMENT     60              786.25           11,793.76             11,793.76
                 108153 Creaform C-Track Elite 3D Scanner with Control Unit [108153]                                      124,454             114,083 MACHINERY AND EQUIPMENT     60            2,074.24           10,371.20             10,371.20
                 108160 Dingli Scissor Lift [108160]                                                                       14,988              13,739 MACHINERY AND EQUIPMENT     60              249.80            1,249.00              1,249.00

                                                                                                                                                                                                                                           28 of 168
                                                                Case 25-10099-BLS                        Doc 2           Filed 01/18/25              Page 63 of 202


Canoo Technologies Inc.                                                                                                                                                                                           Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                            13,575 VEHICLES

                                                                                                                  106,292,695          70,096,417
      Asset number                                            Asset Description                                   Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 108143 Ez Metrology, Portable High Speed Camera Tracking System with Accessories [108143]             21,411              19,627 MACHINERY AND EQUIPMENT     60              356.86            1,784.30              1,784.30
                 108155 GE Mentor UT Ultrasound Flaw Detector [108155]                                                 18,467              16,928 MACHINERY AND EQUIPMENT     60              307.79            1,538.95              1,538.95
                 108159 GMG Platform Scissor Lift [108159]                                                             16,326              14,966 MACHINERY AND EQUIPMENT     60              272.10            1,360.50              1,360.50
                 108156 Karcher Driving Floor Cleaner [108156]                                                         21,679              19,873 MACHINERY AND EQUIPMENT     60              361.32            1,806.60              1,806.60
                 108154 Keyence VHX-7100 Digital Microscope with Monitor [108154]                                      81,631              74,829 MACHINERY AND EQUIPMENT     60            1,360.52            6,802.60              6,802.60
                 108144 Nikon MCAX35 Portable Area CMM with Articulated Arm [108144]                                   56,205              51,521 MACHINERY AND EQUIPMENT     60              936.75            4,683.75              4,683.75
                 108117 Steel Frame Lifting Gantry [108117]                                                             9,248               8,478 MACHINERY AND EQUIPMENT     60              154.14              770.70                 770.70
                 108002 Surveillance Equipment [108002]                                                                49,074              36,806 MACHINERY AND EQUIPMENT     60              817.90          12,268.50              12,268.50
                 108182 2017 Faro Vantage 3 Laser Tracker with Tool Box [108182]                                       50,640              46,420 MACHINERY AND EQUIPMENT     60              844.00            4,220.00              4,220.00
                 107758 Calipri C14 Automotive Equipment [107758]                                                      40,340              10,757 MACHINERY AND EQUIPMENT     60              672.33            8,067.96             29,582.58
                 107782 GA teardown relocation and reintegration (From Roush -Livonia to OKC) [107782]                628,885             419,257 MACHINERY AND EQUIPMENT     60           10,481.42         125,777.04             209,628.40
                 102965 20% net 30 [102965]                                                                            27,428                  -  MACHINERY AND EQUIPMENT     36                                3,047.57             27,428.00
                 103645 30993.1PPN 15KVA3 PHASE IN SIMFG Prod: PPN AFV-31015LEAD TIME: 12 TO 14 WEEKS AR [103645]      15,025                  -  MACHINERY AND EQUIPMENT     36                                3,338.96             15,025.29
                 102940 8 Channel TC DAQ [102940]                                                                       5,189                  -  MACHINERY AND EQUIPMENT     36                                  288.27              5,188.52
                 103646 AFV-006 ETHERNET OPTION MFG Prod: [103646]                                                        581                  -  MACHINERY AND EQUIPMENT     36                                  129.02                 580.59
                 102943 ATQ10D15-02KEX Axial Rotor DIN150, 2KN capacity, AC05 [102943]                                 40,589                  -  MACHINERY AND EQUIPMENT     36                                2,254.94             40,589.22
                 100894 AVL Test Systems-Inv:4981031798-Lynx battery testing system-PO00000680 [100894]               114,536                  -  MACHINERY AND EQUIPMENT     36                                                    114,535.85
                 100056 Altium Inc-Inv:AINC-0438817-SI-PO:1159 [100056]                                                54,690                  -  MACHINERY AND EQUIPMENT     36                                                     54,689.60
                 100341 Ametek Programmable Power-Inv:471706-EQUIPMENT - HIGH POWER DC-PO:2296 [100341]                10,950                  -  MACHINERY AND EQUIPMENT     36                                                     10,950.17
                 100816 Ansys, Inc-Inv:3377518-ANSYS SPEOS Enterprise for CATIA V5-PO-2284 [100816]                    69,657                  -  MACHINERY AND EQUIPMENT     36                                                     69,656.50
                 100333 Arbin Instruments-Inv:INVAC004471A-PO:1212 [100333]                                            10,186                  -  MACHINERY AND EQUIPMENT     36                                                     10,186.31
                 100335 Arbin Instruments-Inv:INVAC004484-PO:1214 [100335]                                             15,229                  -  MACHINERY AND EQUIPMENT     36                                                     15,229.40
                 100338 Arrow Electronics-Inv:1622234134-Battery Monitoring-PO:2214 [100338]                            7,438                  -  MACHINERY AND EQUIPMENT     36                                                      7,437.55
                 100705 Arrow Electronics-Inv:1622808847-STMicroelectronics VNQ7050AJTR-PO:1681 [100705]                3,281                  -  MACHINERY AND EQUIPMENT     36                                                      3,280.67
                 100892 AutonomouStuff-Inv:301760-NovAtel 1x PwrPak7D dual antenna enclosure-PO:2409 [100892]          17,223                  -  MACHINERY AND EQUIPMENT     36                                                     17,223.25
                 100344 AutonomouStuff-Inv:779332A-NERIAN CAMERA, SCENESCAN, INTEGRATION-PO:2149 [100344]               7,856                  -  MACHINERY AND EQUIPMENT     36                                                      7,855.53
                 100594 AutonomousStuff-Inv:778978A-7 Meter SRR2 cable to be used on a vehicle-PO:2149 [100594]            77                  -  MACHINERY AND EQUIPMENT     36                                                          76.93
                 100597 AutonomousStuff-Inv:778978A-8020 Bracket to be used with Ibeo Lidar-PO:2149 [100597]              713                  -  MACHINERY AND EQUIPMENT     36                                                         712.90
                 100592 AutonomousStuff-Inv:778978A-9 Meter ESR Cable to be used on a vehicle-PO:2149 [100592]            180                  -  MACHINERY AND EQUIPMENT     36                                                         179.51
                 100588 AutonomousStuff-Inv:778978A-Convenience Features-PO:2149 [100588]                               6,155                  -  MACHINERY AND EQUIPMENT     36                                                      6,154.55
                 100611 AutonomousStuff-Inv:778978A-Customized 80/20 rack-PO:2149 [100611]                                513                  -  MACHINERY AND EQUIPMENT     36                                                         512.88
                 100607 AutonomousStuff-Inv:778978A-Delphi ESR 2.5-PO:2149 [100607]                                     1,325                  -  MACHINERY AND EQUIPMENT     36                                                      1,325.26
                 100609 AutonomousStuff-Inv:778978A-Delphi SRR2 Electronically Scanning-PO:2149 [100609]               11,489                  -  MACHINERY AND EQUIPMENT     36                                                     11,488.50
                 100593 AutonomousStuff-Inv:778978A-ESR Mounting Bracket-PO:2149 [100593]                                 282                  -  MACHINERY AND EQUIPMENT     36                                                         282.08
                 100595 AutonomousStuff-Inv:778978A-ESR Mounting Bracket-PO:2149 [100595]                               1,128                  -  MACHINERY AND EQUIPMENT     36                                                      1,128.34
                 100590 AutonomousStuff-Inv:778978A-Installed front bumper rack-PO:2149 [100590]                        4,103                  -  MACHINERY AND EQUIPMENT     36                                                      4,103.04
                 100596 AutonomousStuff-Inv:778978A-Kvaser (00831-1) USBcan Light 4xHS-PO:2149 [100596]                   308                  -  MACHINERY AND EQUIPMENT     36                                                         307.73
                 100587 AutonomousStuff-Inv:778978A-Lexus RX450H ADAS Development Vehicle Kit-PO:2149 [100587]        102,576                  -  MACHINERY AND EQUIPMENT     36                                                    102,575.91
                 100603 AutonomousStuff-Inv:778978A-Mobileye (ICAN000001) Mobileye EyeCAN-PO:2149 [100603]              9,822                  -  MACHINERY AND EQUIPMENT     36                                                      9,821.64
                 100604 AutonomousStuff-Inv:778978A-Mobileye (ME5ABOX001) Me5 Enhancement Box-PO:2149 [100604]          5,642                  -  MACHINERY AND EQUIPMENT     36                                                      5,641.68
                 100602 AutonomousStuff-Inv:778978A-Mobileye 630 Camera Kit-PO:2149 [100602]                               67                  -  MACHINERY AND EQUIPMENT     36                                                          66.67
                 100601 AutonomousStuff-Inv:778978A-Mount to attached cameras to 80/20-PO:2149 [100601]                   256                  -  MACHINERY AND EQUIPMENT     36                                                         256.44
                 100598 AutonomousStuff-Inv:778978A-Neobotix (URF6) Ultrasonic Sensor Bosch Park-PO:2149 [100598]         385                  -  MACHINERY AND EQUIPMENT     36                                                         384.66
                 100599 AutonomousStuff-Inv:778978A-Neobotix 3D printed bracket-PO:2149 [100599]                        4,790                  -  MACHINERY AND EQUIPMENT     36                                                      4,790.30
                 100591 AutonomousStuff-Inv:778978A-Pre-Installed rear bumper rack-PO:2149 [100591]                     4,103                  -  MACHINERY AND EQUIPMENT     36                                                      4,103.04
                 100610 AutonomousStuff-Inv:778978A-SRR2 Bracket Adapter-PO:2149 [100610]                                 308                  -  MACHINERY AND EQUIPMENT     36                                                         307.73
                 100600 AutonomousStuff-Inv:778978A-Sekonix Camera 120 Development Kit-PO:2149 [100600]                   492                  -  MACHINERY AND EQUIPMENT     36                                                         492.36
                 100589 AutonomousStuff-Inv:778978A-Underbody conduit for Lexus-PO:2149 [100589]                        5,129                  -  MACHINERY AND EQUIPMENT     36                                                      5,128.80
                 100608 AutonomousStuff-Inv:778978A-Waterproof DC Synchronous-PO:2149 [100608]                             51                  -  MACHINERY AND EQUIPMENT     36                                                          51.29
                 103320 BETA-GAMMA NRE & MATERIALS [103320]                                                            15,635                  -  MACHINERY AND EQUIPMENT     36                                2,605.85             15,635.00
                 100796 Bart Manufacturing-Inv:11553-Battery Gripper-PO:1281 [100796]                                   7,990                  -  MACHINERY AND EQUIPMENT     36                                                      7,990.03
                 100912 Bart Manufacturing-Inv:11588-Satellite Carts-PO:00001395 [100912]                               4,725                  -  MACHINERY AND EQUIPMENT     36                                                      4,725.00

                                                                                                                                                                                                                                       29 of 168
                                                                  Case 25-10099-BLS                           Doc 2        Filed 01/18/25                 Page 64 of 202


Canoo Technologies Inc.                                                                                                                                                                                                Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                            Asset Description                                     Cost          NBV at Period End          Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 100860 Bart Manufacturing-Inv:11740-Adjustable Aluminum Gantry-PO:1281 [100860]                          5,099                  -    MACHINERY AND EQUIPMENT     36                                                      5,098.85
                 100862 Bart Manufacturing-Inv:11740-Battery Gripper-PO:1281 [100862]                                     3,785                  -    MACHINERY AND EQUIPMENT     36                                                      3,784.50
                 100861 Bart Manufacturing-Inv:11740-G-Force Lifting Device-PO:1281 [100861]                             15,280                  -    MACHINERY AND EQUIPMENT     36                                                     15,279.51
                 100910 Bart Manufacturing-Inv:11742-PACK ASSEMBLY FIXTURE/CART-PO00001395 [100910]                      72,226                  -    MACHINERY AND EQUIPMENT     36                                                     72,226.14
                 100911 Bart Manufacturing-Inv:11742-Satellite Carts-PO:00001395 [100911]                                29,343                  -    MACHINERY AND EQUIPMENT     36                                                     29,342.50
                 100903 Bart Manufacturing-Inv:11743-PACK ASSEMBLY FIXTURE/CART-PO:00001369 [100903]                     44,430                  -    MACHINERY AND EQUIPMENT     36                                                     44,429.81
                 103464 Broadband B-HPCT-150-480-2 PO 5951 [103464]                                                      78,819                  -    MACHINERY AND EQUIPMENT     36                               17,515.36             78,819.07
                 100955 CSM Products-Inv:2620052101A-CSM Products Lease-PO:3523 [100955]                                 27,124                  -    MACHINERY AND EQUIPMENT     36                                                     27,123.98
                 100652 Cascadia Motion-Inv:20532-400v/750A Inverter(PM250DX)-PO:1345 [100652]                           25,000                  -    MACHINERY AND EQUIPMENT     36                                                     25,000.00
                 100653 Cascadia Motion-Inv:20532-Connector kit (G1-0016-01)-PO:1345 [100653]                               780                  -    MACHINERY AND EQUIPMENT     36                                                         780.00
                 103263 Chiller for OBC EoL Tester [103263]                                                               4,328                  -    MACHINERY AND EQUIPMENT     36                                  601.09              4,327.80
                 103682 Chiller needed for Lab testing [103682]                                                           3,153                  -    MACHINERY AND EQUIPMENT     36                                  788.14              3,152.55
                 102970 Chroma 62180D-600 Bi-directional Power Supply [102970]                                           25,593                  -    MACHINERY AND EQUIPMENT     36                                2,843.71             25,593.25
                 103467 Chroma System Model A620046 Softpanel Kit PO 6186 [103467]                                        1,067                  -    MACHINERY AND EQUIPMENT     36                                  237.19              1,067.27
                 100057 Chroma Systems Solutions-INV:0046199-IN-Power Supplies-PO:1276 [100057]                          67,761                  -    MACHINERY AND EQUIPMENT     36                                                     67,760.57
                 100522 Chroma Systems Solutions-Inv:0050014-IN-63205A-150-500 High Power DC-PO:489 [100522]             11,175                  -    MACHINERY AND EQUIPMENT     36                                                     11,175.00
                 100774 Chroma Systems Solutions-Inv:0052030-IN-P/N: 62150H-600-480V DC Power-PO:1755 [100774]           12,113                  -    MACHINERY AND EQUIPMENT     36                                                     12,113.30
                 100775 Chroma Systems Solutions-Inv:0052030-IN-P/N: 63215A-PO:1755 [100775]                             38,161                  -    MACHINERY AND EQUIPMENT     36                                                     38,160.85
                 100899 Chroma Systems Solutions-Inv:0052818-IN-CSS-ATE-1095-PO:1176 [100899]                            34,905                  -    MACHINERY AND EQUIPMENT     36                                                     34,905.38
                 100995 Chroma Systems Solutions-Inv:0059292-IN-Power LoadEthernet Interface-PO:4091 [100995]            20,564                  -    MACHINERY AND EQUIPMENT     36                                                     20,563.52
                 100690 Cincinnati Sub-Zero Products-Inv:-602672-4" Circular feed through port-PO:386 [100690]              400                  -    MACHINERY AND EQUIPMENT     36                                                         399.68
                 100689 Cincinnati Sub-Zero Products-Inv:-602672-Test Chamber for cell testing-PO:386 [100689]            9,056                  -    MACHINERY AND EQUIPMENT     36                                                      9,055.65
                 100303 Cincinnati Sub-Zero-Inv:498430A-ZP-16-6-SCT-AC-Boost Cooling System-PO:1530 [100303]             42,769                  -    MACHINERY AND EQUIPMENT     36                                                     42,768.51
                 100688 Cincinnati Sub-Zero-Inv:602671- Circular feed through port-PO:386 [100688]                          400                  -    MACHINERY AND EQUIPMENT     36                                                         399.68
                 100687 Cincinnati Sub-Zero-Inv:602671-Test Chamber for cell testing-PO:386 [100687]                      9,056                  -    MACHINERY AND EQUIPMENT     36                                                      9,055.65
                 100793 Cortek Test-Inv:2019-153A Custom Test Fixture Assembly Cell Station-PO:00001187 [100793]         19,826                  -    MACHINERY AND EQUIPMENT     36                                                     19,826.30
                 100431 Craneveyor-Inv:418654-2-Line 1-Change Paint Color for CV-PO:374 [100431]                            410                  -    MACHINERY AND EQUIPMENT     36                                                         410.00
                 100432 Craneveyor-Inv:418654-2-Line 2-Change Paint Color for CV-PO:374 [100432]                            554                  -    MACHINERY AND EQUIPMENT     36                                                         554.00
                 100433 Craneveyor-Inv:418654-2-Line 3-Change Paint Color for CV-PO:374 [100433]                            554                  -    MACHINERY AND EQUIPMENT     36                                                         554.00
                 100337 Craneveyor-Inv:418655-2-Line 1 & 2-Permit Package for CV-PO:252 [100337]                          4,500                  -    MACHINERY AND EQUIPMENT     36                                                      4,500.00
                 100656 Craneveyor-Inv:418655-F-Line 1-Transstation single girder Self-suppo-PO:2126 [100656]             3,312                  -    MACHINERY AND EQUIPMENT     36                                                      3,312.10
                 100965 D&V Electronic-Inv:17854-MODULE,TMU-16,16CH,RJ45,RACK,19-PO:00003776 [100965]                     5,718                  -    MACHINERY AND EQUIPMENT     36                                                      5,718.00
                 100930 D&V Electronics Ltd-Inv:00017584M-Upgrade Current Transducers-PO:1942 [100930]                   32,920                  -    MACHINERY AND EQUIPMENT     36                                                     32,920.00
                 100021 D&V Electronics Ltd-Inv:16599-EPT-150 Powertrain Performance Tester-PO:1188 [100021]            281,730                  -    MACHINERY AND EQUIPMENT     36                                                    281,730.00
                 100058 D&V Electronics Ltd-Inv:16701-EPT-150 Powertrain Performance Tester-PO:1188 [100058]            281,730                  -    MACHINERY AND EQUIPMENT     36                                                    281,730.00
                 100292 D&V Electronics Ltd-Inv:17026A-Machinery & Equipment [100292]                                   281,730                  -    MACHINERY AND EQUIPMENT     36                                                    281,730.00
                 100898 D&V Electronics Ltd-Inv:17115M-EPT 150 Electric Powertrain Tester [100898]                       93,910                  -    MACHINERY AND EQUIPMENT     36                                                     93,910.00
                 100788 D&V Electronics Ltd-Inv:17419-Alpha Motor Test Tooling-PO:458 [100788]                           12,698                  -    MACHINERY AND EQUIPMENT     36                                                     12,698.00
                 100718 Delta Electronics-Inv:9110443619-25kW fast charger Delta EVDU25U4BUM-PO:1706 [100718]            25,154                  -    MACHINERY AND EQUIPMENT     36                                                     25,154.49
                 100574 Dimplex Thermal Solutions-Inv:0250881-Koolant Koolers Chiller-PO:51 [100574]                     68,715                  -    MACHINERY AND EQUIPMENT     36                                                     68,715.00
                 100645 Dimplex Thermal Solutions-Inv:0251242-Optional: 55 gallon drum-PO:51 [100645]                     4,979                  -    MACHINERY AND EQUIPMENT     36                                                      4,979.04
                 100349 DownStream Technologies-Inv:38430-CAM350-160; DFM Tool for PCBA Design-PO:483 [100349]            4,784                  -    MACHINERY AND EQUIPMENT     36                                                      4,783.50
                 101938 Dynapack-Inv:2831A-PO:3783-Dynapack series 5000-Test Equip [101938]                              92,684                  -    MACHINERY AND EQUIPMENT     36                                                     92,683.88
                 100579 Ergotronix-Inv:13739-EH403T Heavy Duty 3-Axis Motorized Work Positioner-PO:1120 [100579]         17,500                  -    MACHINERY AND EQUIPMENT     36                                                     17,500.00
                 100053 Famek-Inv:US18-163-Stringo 550 RO-PO:1411 [100053]                                               51,641                  -    MACHINERY AND EQUIPMENT     36                                                     51,640.52
                 100421 Fisher Scientific-Inv:SLS25412931-342000000029; External Flow Control Kit-PO:327 [100421]           829                  -    MACHINERY AND EQUIPMENT     36                                                         828.72
                 100420 Fisher Scientific-Inv:SLS25413595-422000000004; Nescom Software 4.0-PO:327 [100420]                 137                  -    MACHINERY AND EQUIPMENT     36                                                         137.10
                 100422 Fisher Scientific-Inv:SLS25416422-342000000029; External Flow Control Kit-PO:327 [100422]           829                  -    MACHINERY AND EQUIPMENT     36                                                         828.67
                 100544 Fisher Scientific-Inv:SLS25427742-1625D20023200000; 10kW@20C Air Chiller-PO:327 [100544]         37,982                  -    MACHINERY AND EQUIPMENT     36                                                     37,982.04
                 103753 Gamma Dynapack Inboard Stub Shafts (Rework) [103753]                                              5,978                  -    MACHINERY AND EQUIPMENT     36                                1,494.59              5,978.34
                 103743 Genesys 3U, 10kW Power Supply, 0-500VDC @ 0-20A, Input 180-253VAC, 3 Phase, RS4 [103743]          6,990                  -    MACHINERY AND EQUIPMENT     36                                1,747.50              6,990.00
                 100491 Global Test Supply-Inv:154630-Polyscience 1400W chiller-PO:373 [100491]                           3,836                  -    MACHINERY AND EQUIPMENT     36                                                      3,835.84

                                                                                                                                                                                                                                           30 of 168
                                                                  Case 25-10099-BLS                           Doc 2        Filed 01/18/25              Page 65 of 202


Canoo Technologies Inc.                                                                                                                                                                                              Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                  70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                              13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                           Asset Description                                      Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 100546 Graphtec America-Inv:NSINV00106557-B-569 Rechargeable battery for GL840-PO:789 [100546]             360                  -  MACHINERY AND EQUIPMENT     36                                                         360.00
                 100545 Graphtec America-Inv:NSINV00106557-GL840-WV 20-Channel Hand-held-PO:789 [100545]                  5,026                  -  MACHINERY AND EQUIPMENT     36                                                      5,026.00
                 100835 Green Hills Software-Inv:0000073414A-Green Hills-ProbePO:1929 [100835]                           11,970                  -  MACHINERY AND EQUIPMENT     36                                                     11,970.00
                 103640 HRR018-AN-10-U (Rated at 1.8 KW 115VAC) [103640]                                                  5,180                  -  MACHINERY AND EQUIPMENT     36                                  863.35              5,180.00
                 104081 Hesai (Pandar) & Extension Cable PO 6157 [104081]                                               182,764              15,230 MACHINERY AND EQUIPMENT     36            5,076.78           60,921.36            167,533.69
                 102971 High Power DC Electronic Load 150V/300A/3kW] [102971]                                            20,102                  -  MACHINERY AND EQUIPMENT     36                                2,233.61             20,102.43
                 103636 Hipot Tester (AC/DC/IR/4CH SCAN) [103636]                                                         4,199                  -  MACHINERY AND EQUIPMENT     36                                  699.91              4,199.33
                 100061 Hitex GmbH-HybridKIT Drive Sense Evaluation Kit for EV Main Inverters-PO:1076 [100061]           11,125                  -  MACHINERY AND EQUIPMENT     36                                                     11,124.79
                 100998 IoTecha Corp-Inv:1668-Saw and Polisher-PO:00004358 [100998]                                      13,217                  -  MACHINERY AND EQUIPMENT     36                                                     13,217.43
                 101009 IoTecha Corp-Inv:1671-PO:00004358-pilotshark sniffer homeplug protocol analyser [101009]         13,376                  -  MACHINERY AND EQUIPMENT     36                                                     13,375.78
                 100046 Julabo-Inv: IN341139-Recirculating Cooler with 5kW Heater-PO:1063 [100046]                       13,229                  -  MACHINERY AND EQUIPMENT     36                                                     13,228.96
                 100047 Julabo-Inv:IN341139A-Recirculating Cooler with 5kW Heater-PO:1063 [100047]                       10,077                  -  MACHINERY AND EQUIPMENT     36                                                     10,077.48
                 103641 KKA6P-04M (Stainless Coupler, Plug Side) [103641]                                                   123                  -  MACHINERY AND EQUIPMENT     36                                   20.58                 123.40
                 103642 KKA6S-04F (Stainless Coupler, Socket Side) [103642]                                                 232                  -  MACHINERY AND EQUIPMENT     36                                   38.63                 231.70
                 100294 Keysight Technologies-Inv:4470596-ADVANCED POWER SYSTEM-PO:2242 [100294]                          3,090                  -  MACHINERY AND EQUIPMENT     36                                                      3,090.09
                 100870 Keysight Technologies-Inv:4556102-RP7951A Regenerative Power System-PO:329 [100870]             167,935                  -  MACHINERY AND EQUIPMENT     36                                                    167,935.18
                 100864 LAS0819-01-DYTRAN INSTRUMENTS INC [100864]                                                        5,179                  -  MACHINERY AND EQUIPMENT     36                                                      5,179.31
                 100675 LS EV KOREA -Inv:07092019_1195-Beta Equipment Cost-PO:1195 [100675]                              23,105                  -  MACHINERY AND EQUIPMENT     36                                                     23,104.55
                 100673 LS EV KOREA-Inv:07092019_1269-KET RING TERMINAL USCAR-21-PO:1269 [100673]                         1,127                  -  MACHINERY AND EQUIPMENT     36                                                      1,127.39
                 100674 LS EV KOREA-Inv:07092019_1269-MOLEX TERMINAL USCAR-21-PO:1269 [100674]                            1,127                  -  MACHINERY AND EQUIPMENT     36                                                      1,127.39
                 100938 LS EV KOREA-Inv:3062621001-Beta Equipment Cost -PO:1195 [100938]                                 23,105                  -  MACHINERY AND EQUIPMENT     36                                                     23,104.55
                 100936 LS EV KOREA-Inv:3062621006-A3-KET RING TERMINAL USCAR-21-PO:1269 [100936]                         1,127                  -  MACHINERY AND EQUIPMENT     36                                                      1,127.39
                 100937 LS EV KOREA-Inv:3062621006-A3-MOLEX TERMINAL USCAR-21-PO:1269 [100937]                            1,127                  -  MACHINERY AND EQUIPMENT     36                                                      1,127.38
                 100761 Ludeca-Inv:138590-12-1053-EASY-LASER XT190 BTA-PO:1879 [100761]                                   3,674                  -  MACHINERY AND EQUIPMENT     36                                                      3,673.58
                 100939 MX Electronics-Inv:Z31033-30-06002 Revision 1.0 Test-PO:3016 [100939]                             3,170                  -  MACHINERY AND EQUIPMENT     36                                                      3,170.40
                 100940 MX Electronics-Inv:Z31033-Fabrication, Programming-PO:3016 [100940]                               1,300                  -  MACHINERY AND EQUIPMENT     36                                                      1,300.00
                 101980 MX Electronics-Inv:Z32835A-PO:00003938-Part Number: 30-08002 Revision: 1.0 [101980]               6,413                  -  MACHINERY AND EQUIPMENT     36                                                      6,413.30
                 100827 Magna-Power Electronics-Inv:9009519 FINAL-PO-00001049 [100827]                                    2,412                  -  MACHINERY AND EQUIPMENT     36                                                      2,412.10
                 100702 Mando Corporation-Inv:CKBD1905103-EDU CAN FD-PO:1700 [100702]                                     2,880                  -  MACHINERY AND EQUIPMENT     36                                                      2,880.00
                 100699 Mando Corporation-Inv:CKBD1905103-Modular IDB-PO:1700 [100699]                                   12,250                  -  MACHINERY AND EQUIPMENT     36                                                     12,250.00
                 100701 Mando Corporation-Inv:CKBD1905103-PTS-PO:1700 [100701]                                               45                  -  MACHINERY AND EQUIPMENT     36                                                          45.00
                 100700 Mando Corporation-Inv:CKBD1905103-TMC Ass'y-PO:1700 [100700]                                        980                  -  MACHINERY AND EQUIPMENT     36                                                         980.00
                 100703 Mando Corporation-Inv:CKBD1907118-EDU CAN FD-PO:1700 [100703]                                     1,440                  -  MACHINERY AND EQUIPMENT     36                                                      1,440.00
                 100331 Manz AG-Inv:90054431A-Basis Laser Tool-PO:1967 [100331]                                         185,406                  -  MACHINERY AND EQUIPMENT     36                                                    185,405.56
                 100891 Manz AG-Inv:90057240-Laser Equipment-PO-1798 [100891]                                           450,971                  -  MACHINERY AND EQUIPMENT     36                                                    450,971.33
                 101981 Michigan Scientific-Inv:14500-PO:3991-FO-LIN 4-Ch EM Hardened LIN Transceiver [101981]            5,400                  -  MACHINERY AND EQUIPMENT     36                                                      5,400.00
                 103318 Model – TF 5000S/N –1122465201190401 [103318]                                                     9,995                  -  MACHINERY AND EQUIPMENT     36                                  555.30              9,995.00
                 100298 NH Research-Inv:19-4425A-Assy 9300 W/15" TP DSPL [100298]                                       337,802                  -  MACHINERY AND EQUIPMENT     36                                                    337,801.60
                 100880 NTS Technical Systems-Inv:INV152405-Fixture Adaption-PO:1903 [100880]                             2,150                  -  MACHINERY AND EQUIPMENT     36                                                      2,150.00
                 100883 NTS Technical Systems-Inv:INV153388-Test Setup-PO:1903 [100883]                                   5,100                  -  MACHINERY AND EQUIPMENT     36                                                      5,100.00
                 100881 NTS Technical Systems-Inv:INV154703-Test Fixture-PO:1903 [100881]                                 2,750                  -  MACHINERY AND EQUIPMENT     36                                                      2,750.00
                 100882 NTS Technical Systems-Inv:INV154995-Inverter - Random Vibration-PO:1903 [100882]                 12,000                  -  MACHINERY AND EQUIPMENT     36                                                     12,000.00
                 100042 National Instruments-152-11122018210630-Amex purchase [100042]                                    6,205                  -  MACHINERY AND EQUIPMENT     36                                                      6,205.26
                 100397 National Instruments-Inv:3318202-185095-02; CABLE ASSY, Type SH100-PO:294 [100397]                  224                  -  MACHINERY AND EQUIPMENT     36                                                         224.00
                 100384 National Instruments-Inv:3318202-763000-01; Power Cord, AC, U.S., 120 VAC-PO:294 [100384]            10                  -  MACHINERY AND EQUIPMENT     36                                                          10.00
                 100402 National Instruments-Inv:3318202-763000-01; Power Cord, AC, U.S., 120-PO:294 [100402]                10                  -  MACHINERY AND EQUIPMENT     36                                                          10.00
                 100389 National Instruments-Inv:3318202-778964-01; NI PXI-6515 Industrial 32 DI-PO:294 [100389]            589                  -  MACHINERY AND EQUIPMENT     36                                                         589.00
                 100390 National Instruments-Inv:3318202-779538-01; PXI-8432/4, 2000V Isolated-PO:294 [100390]              863                  -  MACHINERY AND EQUIPMENT     36                                                         863.00
                 100391 National Instruments-Inv:3318202-781348-01; PXIe-4353 32-Ch Thermocouple-PO:294 [100391]          4,518                  -  MACHINERY AND EQUIPMENT     36                                                      4,518.00
                 100407 National Instruments-Inv:3318202-781348-01; PXIe-4353 32-PO:294 [100407]                          4,518                  -  MACHINERY AND EQUIPMENT     36                                                      4,518.00
                 100394 National Instruments-Inv:3318202-781349-01; NI TB-4353 Isothermal-PO:294 [100394]                   950                  -  MACHINERY AND EQUIPMENT     36                                                         950.00
                 100410 National Instruments-Inv:3318202-781349-01; NI TB-4353 Isothermal-PO:294 [100410]                   950                  -  MACHINERY AND EQUIPMENT     36                                                         950.00

                                                                                                                                                                                                                                         31 of 168
                                                                  Case 25-10099-BLS                         Doc 2          Filed 01/18/25                 Page 66 of 202


Canoo Technologies Inc.                                                                                                                                                                                                Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                          Asset Description                                       Cost          NBV at Period End          Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 100414 National Instruments-Inv:3318202-781740-01; NI 9913 DIN Rail Kit-PO:294 [100414]                     35                  -    MACHINERY AND EQUIPMENT     36                                                          35.00
                 100386 National Instruments-Inv:3318202-783513-05; NI PXIe-8880-PO:294 [100386]                          8,497                  -    MACHINERY AND EQUIPMENT     36                                                      8,497.00
                 100404 National Instruments-Inv:3318202-783513-05; NI PXIe-8880-PO:294 [100404]                          8,497                  -    MACHINERY AND EQUIPMENT     36                                                      8,497.00
                 100398 National Instruments-Inv:3318202-783699-02; Transceiver Cable, 18 in-PO:294 [100398]              2,466                  -    MACHINERY AND EQUIPMENT     36                                                      2,466.00
                 100412 National Instruments-Inv:3318202-783699-02; Transceiver Cable, 18 in-PO:294 [100412]              2,466                  -    MACHINERY AND EQUIPMENT     36                                                      2,466.00
                 100399 National Instruments-Inv:3318202-783702-02; TRC-8546, NI-XNET LIN-PO:294 [100399]                 2,466                  -    MACHINERY AND EQUIPMENT     36                                                      2,466.00
                 100413 National Instruments-Inv:3318202-783702-02; TRC-8546-PO:294 [100413]                              2,466                  -    MACHINERY AND EQUIPMENT     36                                                      2,466.00
                 100388 National Instruments-Inv:3318202-783813-01; 8 GB Upgrade/Replacement RAM-PO:294 [100388]          1,564                  -    MACHINERY AND EQUIPMENT     36                                                      1,564.00
                 100406 National Instruments-Inv:3318202-783813-01; 8 GB Upgrade/Replacement RAM-PO:294 [100406]          1,564                  -    MACHINERY AND EQUIPMENT     36                                                      1,564.00
                 100408 National Instruments-Inv:3318202-783866-01; NI PXIe-4303 +/-10V,32-Ch-PO:294 [100408]             3,921                  -    MACHINERY AND EQUIPMENT     36                                                      3,921.00
                 100392 National Instruments-Inv:3318202-783866-01; NI PXIe-Voltage Input Module-PO:294 [100392]          3,921                  -    MACHINERY AND EQUIPMENT     36                                                      3,921.00
                 100395 National Instruments-Inv:3318202-783869-01; TB-4302, Front mount terminal-PO:294 [100395]           350                  -    MACHINERY AND EQUIPMENT     36                                                         350.00
                 100411 National Instruments-Inv:3318202-783869-01; TB-4302, Front mount terminal-PO:294 [100411]           350                  -    MACHINERY AND EQUIPMENT     36                                                         350.00
                 100382 National Instruments-Inv:3318202-784058-01; PXIe-1084, 18-Slot 3U PXI-PO:294 [100382]             5,499                  -    MACHINERY AND EQUIPMENT     36                                                      5,499.00
                 100400 National Instruments-Inv:3318202-784058-01; PXIe-1084, 18-Slot 3U PXI-PO:294 [100400]             5,499                  -    MACHINERY AND EQUIPMENT     36                                                      5,499.00
                 100393 National Instruments-Inv:3318202-784122-01; PXIe-8510, 6-Port Hardware-PO:294 [100393]            3,948                  -    MACHINERY AND EQUIPMENT     36                                                      3,948.00
                 100409 National Instruments-Inv:3318202-784122-01; PXIe-8510, 6-Port-PO:294 [100409]                     3,948                  -    MACHINERY AND EQUIPMENT     36                                                      3,948.00
                 100396 National Instruments-Inv:3318202-785024-01; SCB-100A Noise Rejecting-PO:294 [100396]                349                  -    MACHINERY AND EQUIPMENT     36                                                         349.00
                 100383 National Instruments-Inv:3318202-786371-01; 18-Slot Chassis Front Rack-PO:294 [100383]              279                  -    MACHINERY AND EQUIPMENT     36                                                         279.00
                 100401 National Instruments-Inv:3318202-786371-01; 18-Slot Chassis Front Rack-PO:294 [100401]              279                  -    MACHINERY AND EQUIPMENT     36                                                         279.00
                 100385 National Instruments-Inv:3318202-786464-03; Windows 10 USB Recovery Media-PO:294 [100385]            52                  -    MACHINERY AND EQUIPMENT     36                                                          52.00
                 100403 National Instruments-Inv:3318202-786464-03; Windows 10 USB Recovery-PO:294 [100403]                  52                  -    MACHINERY AND EQUIPMENT     36                                                          52.00
                 100415 National Instruments-Inv:3318202-PO:294-Sales Tax for assets 100382 to 100414 [100415]            6,755                  -    MACHINERY AND EQUIPMENT     36                                                      6,754.50
                 100387 National Instruments-Inv:3318202-SRV-PX5900543; Standard Service Program-PO:294 [100387]          2,506                  -    MACHINERY AND EQUIPMENT     36                                                      2,506.16
                 100405 National Instruments-Inv:3318202-SRV-PX5900616; Standard Service Program-PO:294 [100405]          2,362                  -    MACHINERY AND EQUIPMENT     36                                                      2,362.08
                 100329 Neapco Components-Inv:NE479203-3048956-FR2700-FU3000 Assembly-PO:2246 [100329]                   16,664                  -    MACHINERY AND EQUIPMENT     36                                                     16,663.91
                 100635 Neapco Components-Inv:NEMA0002214-Prototype Tooling - Half Shaft-PO:631 [100635]                 22,500                  -    MACHINERY AND EQUIPMENT     36                                                     22,500.00
                 100915 Nexus Automation-Inv:10211R-Rotor Drop Station-PO:00001012 [100915]                             133,853                  -    MACHINERY AND EQUIPMENT     36                                                    133,853.25
                 100833 Nordson Corp-Inv:9161174300,9161184627,2980005298,2980005506-PO-1060 [100833]                    52,444                  -    MACHINERY AND EQUIPMENT     36                                                     52,444.29
                 100022 Omegasonics-Inv:50408-Ultrasonic Parts Washer-PO:1616 [100022]                                    5,062                  -    MACHINERY AND EQUIPMENT     36                                                      5,061.72
                 100743 Orange Coast Pneu.-Inv:178581-Desgign for asset 100744 Cell press guide-PO:1845 [100743]          1,643                  -    MACHINERY AND EQUIPMENT     36                                                      1,642.50
                 100744 Orange Coast Pneu.-Inv:178581-Machine Parts: CELL PRESS GUIDE-PO:1845 [100744]                    5,687                  -    MACHINERY AND EQUIPMENT     36                                                      5,687.43
                 100750 Orange Coast Pneu.-Inv:178583-Design-PO:1847 [100750]                                             1,643                  -    MACHINERY AND EQUIPMENT     36                                                      1,642.50
                 100751 Orange Coast Pneu.-Inv:178583-Machining-PO:1847 [100751]                                          2,826                  -    MACHINERY AND EQUIPMENT     36                                                      2,826.20
                 100752 Orange Coast Pneu.-Inv:178583-Pneumatic Components-PO:1847 [100752]                               1,133                  -    MACHINERY AND EQUIPMENT     36                                                      1,133.33
                 100753 Orange Coast Pneu.Inv:178583-labor and testing-PO:1847 [100753]                                   1,095                  -    MACHINERY AND EQUIPMENT     36                                                      1,095.00
                 100692 PCB Piezotronics-Inv:945060-070A100-PO:762 [100692]                                                 345                  -    MACHINERY AND EQUIPMENT     36                                                         345.00
                 100693 PCB Piezotronics-Inv:945060-508BR020BZ-PO:762 [100693]                                               48                  -    MACHINERY AND EQUIPMENT     36                                                          47.60
                 100695 PCB Piezotronics-Inv:945060-508BR030BZ-PO:762 [100695]                                              532                  -    MACHINERY AND EQUIPMENT     36                                                         531.52
                 100694 PCB Piezotronics-Inv:945060-686C01-PO:762 [100694]                                                4,494                  -    MACHINERY AND EQUIPMENT     36                                                      4,493.50
                 100691 PCB Piezotronics-Inv:945060-Y686C01-PO:762 [100691]                                                 344                  -    MACHINERY AND EQUIPMENT     36                                                         344.00
                 100819 PHYTOOLS-Inv:114881A-PCAN-USB Adapter-PO:00001106 [100819]                                        5,080                  -    MACHINERY AND EQUIPMENT     36                                                      5,080.00
                 100821 PHYTOOLS-Inv:114881A-PCAN-USB FD Adapter-PO:00001106 [100821]                                     1,944                  -    MACHINERY AND EQUIPMENT     36                                                      1,944.00
                 100820 PHYTOOLS-Inv:114881A-PLIN-USB LIN Adaptor-PO:00001106 [100820]                                    2,149                  -    MACHINERY AND EQUIPMENT     36                                                      2,149.00
                 102944 PN: 785185-01Temperature Input Modules (NI-9213) for cDAQ [102944]                                5,714                  -    MACHINERY AND EQUIPMENT     36                                  476.19              5,714.06
                 100029 Pi Innovo LLC-Inv:3001233-M560-000 M560 OpenECU development controller-PO:1044 [100029]          16,500                  -    MACHINERY AND EQUIPMENT     36                                                     16,500.00
                 100541 Pi Innovo-Inv:0003001521A-M560-000-LCP; M560 dev controller connector-PO:891 [100541]               341                  -    MACHINERY AND EQUIPMENT     36                                                         341.00
                 100537 Pi Innovo-Inv:0003001521A-M560-000; M560 dev controller-PO:891 [100537]                           5,775                  -    MACHINERY AND EQUIPMENT     36                                                      5,775.00
                 100538 Pi Innovo-Inv:0003001521A-M560-000; M560 dev controller-PO:891 [100538]                          11,550                  -    MACHINERY AND EQUIPMENT     36                                                     11,550.00
                 100539 Pi Innovo-Inv:0003001521A-PIG-M560-00A; M560 dev controller pigtail-PO:891 [100539]                 945                  -    MACHINERY AND EQUIPMENT     36                                                         945.00
                 100540 Pi Innovo-Inv:0003001521A-PIG-M560-00A; M560 dev controller pigtail-PO:891 [100540]               1,890                  -    MACHINERY AND EQUIPMENT     36                                                      1,890.00
                 100071 Pi Innovo-Inv:3001158 & 3001233-Hardware-PO:1044 [100071]                                        22,225                  -    MACHINERY AND EQUIPMENT     36                                                     22,225.00

                                                                                                                                                                                                                                           32 of 168
                                                                Case 25-10099-BLS                         Doc 2          Filed 01/18/25                 Page 67 of 202


Canoo Technologies Inc.                                                                                                                                                                                              Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                 70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                             13,575 VEHICLES

                                                                                                                  106,292,695          70,096,417
      Asset number                                               Asset Description                                Cost          NBV at Period End          Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 100999 Racelogic USA-Inv:2031695-VBOX with RTK and demo accessories-PO:00004296 [100999]              36,249                  -    MACHINERY AND EQUIPMENT     36                                                     36,248.81
                 103319 Recirculating chiller for Battery Lab to test modules [103319]                                 19,990                  -    MACHINERY AND EQUIPMENT     36                                2,776.38             19,990.00
                 101004 Reliant EMC LLC-Export License Fee-Inv:1636-PO:00003992 [101004]                                  205                  -    MACHINERY AND EQUIPMENT     36                                                         205.00
                 101002 Reliant EMC LLC-Pack Fee for assets 101003 & 101004:-Inv:1636-PO:00003992 [101002]                 69                  -    MACHINERY AND EQUIPMENT     36                                                          69.00
                 101003 Reliant EMC LLC-optoCAN-FD Optical link-Inv:1636-PO:00003992 [101003]                           7,662                  -    MACHINERY AND EQUIPMENT     36                                                      7,662.00
                 100612 Robert Bosch-Inv:7066931072-Lab Car Parts-FPG2 actuator-PO:793 [100612]                           915                  -    MACHINERY AND EQUIPMENT     36                                                         915.00
                 100826 Roboreps-Inv:11409 FINAL-Dispense Robot per quote 23897-PO-00001056 [100826]                   48,130                  -    MACHINERY AND EQUIPMENT     36                                                     48,129.50
                 100888 SVB-Grainger-Megger MIT515 Digital-LAS0919-0 [100888]                                           4,046                  -    MACHINERY AND EQUIPMENT     36                                                      4,046.03
                 100889 SVB-Grainger-RAD Ethernet converter-LAS0919-0 [100889]                                          6,338                  -    MACHINERY AND EQUIPMENT     36                                                      6,337.92
                 100890 SVB-Grainger-RAD Ethernet converter-LAS0919-0 [100890]                                          5,882                  -    MACHINERY AND EQUIPMENT     36                                                      5,881.57
                 100997 SVB-Inv:DVB 0920-04-Truck Box brake bending equipment & ESD generator [100997]                 25,915                  -    MACHINERY AND EQUIPMENT     36                                                     25,915.45
                 100785 SVB-Single Bank Toolbox-LAS0719-01 JULY P-CARD [100785]                                         4,598                  -    MACHINERY AND EQUIPMENT     36                                                      4,598.19
                 100784 SVB-advanced thermal imaging camera-LAS0719-01 JULY P-CARD [100784]                             5,999                  -    MACHINERY AND EQUIPMENT     36                                                      5,999.00
                 100786 SVB-test equipment for board bring up -LAS0719-01 JULY P-CARD [100786]                          3,009                  -    MACHINERY AND EQUIPMENT     36                                                      3,008.71
                 100069 Saratech-Inv:0021570-001-HP-3D High Reusability & Dealing agent-PO:1428 [100069]                9,131                  -    MACHINERY AND EQUIPMENT     36                                                      9,131.16
                 100039 Saratech-Inv:0021799-003-PRECISION POWER ANALYZER-V1R16A-PO:1620 [100039]                      15,095                  -    MACHINERY AND EQUIPMENT     36                                                     15,095.44
                 100043 Saratech-Inv:2127120312-003-Comp.Equip.-Printers & Others-PO:1376 [100043]                    333,192                  -    MACHINERY AND EQUIPMENT     36                                                    333,192.24
                 102819 Shenzhen-CLEAR HOUSING, ENDBELL, GAMMA_12042020-Inv:PI-LT210127-1-PO:4938 [102819]             17,135                  -    MACHINERY AND EQUIPMENT     36                                  475.97             17,134.92
                 100920 Sky Hook ATTCO-Inv:109459-Cable SkyHook Mobile Cart & Articu Arm & kit-PO:1943 [100920]         4,345                  -    MACHINERY AND EQUIPMENT     36                                                      4,345.00
                 102184 TDK-Inv:HDR 110750-PO:00004936-Part # GEN 600-8.5-LAN-3P208 OBC Tester [102184]                14,906                  -    MACHINERY AND EQUIPMENT     36                                  414.09             14,906.48
                 102186 TDK-Inv:HDR 110843-PO:00004936-Part # GEN 600-8.5-LAN-3P208 DCDC Tester [102186]               14,906                  -    MACHINERY AND EQUIPMENT     36                                  414.09             14,906.48
                 102183 TDK-Inv:HDR 111188-PO:00004936-Part # GEN 20-76-LAN DCDC Tester [102183]                       29,840                  -    MACHINERY AND EQUIPMENT     36                                  828.91             29,840.41
                 102185 TDK-Inv:HDR 111479-PO:00004936-Part # GEN 600-1.3-LAN-U BPCM Tester [102185]                    5,960                  -    MACHINERY AND EQUIPMENT     36                                  331.13              5,960.06
                 100931 TDK-Lambda Americas-HDR 101602-HV Supply 10kW/600V/17A, 3U-PO:2544 [100931]                    13,382                  -    MACHINERY AND EQUIPMENT     36                                                     13,382.00
                 102772 TDK-Part # GEN 20-38-LAN-UOBC-TDK-Lambda Power Supply-Inv:HDR 111625-PO:4936 [102772]           7,947                  -    MACHINERY AND EQUIPMENT     36                                  441.50              7,946.75
                 102773 TDK-Part # GEN 20-76-LAN DCDC-TDK-Lambda Power Supply-Inv:HDR 111882 PO:4936 [102773]           4,649                  -    MACHINERY AND EQUIPMENT     36                                  258.29              4,648.97
                 102774 TDK-Part # GEN 20-76-LAN DCDC:TDK-Lambda Power Supply-Inv:HDR 111857 PO:4936 [102774]           2,324                  -    MACHINERY AND EQUIPMENT     36                                  129.14              2,324.49
                 100698 TE Connectivity-Inv:3658644477-HC-STAK 25 PLUG PIGTAIL-3000MM LENGTH-PO:747 [100698]            5,128                  -    MACHINERY AND EQUIPMENT     36                                                      5,127.89
                 102938 TE-107 Thermal Chamber for cell testing [102938]                                                9,628                  -    MACHINERY AND EQUIPMENT     36                                  802.35              9,628.20
                 103321 TE-107 Thermal Chamber for cell testing [103321]                                                9,519                  -    MACHINERY AND EQUIPMENT     36                                1,586.45              9,518.57
                 103643 TEK Current probeTEK TCP0030A [103643]                                                          4,408                  -    MACHINERY AND EQUIPMENT     36                                  734.68              4,408.00
                 103644 TEK Mixed Domain OscilloscopeTEK MDO3034 [103644]                                              10,636                  -    MACHINERY AND EQUIPMENT     36                                1,772.61             10,635.63
                 102820 TestEquity-25866.90 TEK MIXED SIGNAL OSCILLOSCOPE BW-Inv:814558-00B PO:5451 [102820]           23,630                  -    MACHINERY AND EQUIPMENT     36                                1,312.80             23,630.00
                 100742 TestEquity-Inv-160566-00-TE THERMOELECTRIC CHAMBER-PO:1743 [100742]                             4,678                  -    MACHINERY AND EQUIPMENT     36                                                      4,678.00
                 100025 TestEquity-Inv: 802763-MSO54/5-BW-500 and MDO4034C/SA0-PO:1589 [100025]                        38,137                  -    MACHINERY AND EQUIPMENT     36                                                     38,137.47
                 100901 TestEquity-Inv:134536-00-PACK ASSEMBLY FIXTURE/CART-PO00001362 [100901]                         4,221                  -    MACHINERY AND EQUIPMENT     36                                                      4,221.45
                 100942 TestEquity-Inv:154091-01-( 27242.2-KTH DC POWER SUPPLY MFG)-PO:00001902 [100942]                1,530                  -    MACHINERY AND EQUIPMENT     36                                                      1,530.00
                 100824 TestEquity-Inv:154218-00-P/N: TCP0150 Tektronix-PO-00001754 [100824]                           39,459                  -    MACHINERY AND EQUIPMENT     36                                                     39,459.42
                 100823 TestEquity-Inv:154218-01-P/N: TCP0150 Tektronix-PO-00001754 [100823]                            4,888                  -    MACHINERY AND EQUIPMENT     36                                                      4,888.08
                 100917 TestEquity-Inv:154218-02-P/N: MSO56/5-BW-500-PO:00001754 [100917]                              20,696                  -    MACHINERY AND EQUIPMENT     36                                                     20,695.50
                 100900 TestEquity-Inv:195727-00-17285 TE THERMOELECTRIC CHAMBER-PO00002228 [100900]                    9,679                  -    MACHINERY AND EQUIPMENT     36                                                      9,678.90
                 100929 TestEquity-Inv:197967-00-TE HUMIDITY CHAMBER, 2X2 HP-PO:00002434 [100929]                      28,375                  -    MACHINERY AND EQUIPMENT     36                                                     28,375.00
                 100913 TestEquity-Inv:222475-00-Used TE-123H-TESTEQUITY HUMIDITY CHAMBER-PO00002434 [100913]          18,547                  -    MACHINERY AND EQUIPMENT     36                                                     18,547.00
                 100535 TestEquity-Inv:49711-00-20902.1 KEY DIGITAL MULTIMETER KEY 34450A-PO:759 [100535]               3,219                  -    MACHINERY AND EQUIPMENT     36                                                      3,218.81
                 100533 TestEquity-Inv:49711-00-22803.2 SORENSEN POWER SUPPLY SOR XPF60-10D-PO:759 [100533]             1,441                  -    MACHINERY AND EQUIPMENT     36                                                      1,441.13
                 100532 TestEquity-Inv:49711-00-24555.1 TEK MIXED DOMAIN OSCILLO-PO:759 [100532]                       33,996                  -    MACHINERY AND EQUIPMENT     36                                                     33,996.39
                 100527 TestEquity-Inv:49711-0116195.1 FLUKE DMMFLK FLUKE 115-PO:759 [100527]                             179                  -    MACHINERY AND EQUIPMENT     36                                                         179.44
                 100822 TestEquity-Inv:49711-02-SORENSEN POWER SUPPLY-PO-00000759 [100822]                              2,882                  -    MACHINERY AND EQUIPMENT     36                                                      2,882.25
                 100644 TestEquity-Inv:49711-03-22803.2 SORENSEN POWER SUPPLY SOR XPF60-10D-PO:759 [100644]             1,441                  -    MACHINERY AND EQUIPMENT     36                                                      1,441.13
                 100536 TestEquity-Inv:49711-16195.1 FLUKE DMM FLK FLUKE 115-PO:759 [100536]                            1,615                  -    MACHINERY AND EQUIPMENT     36                                                      1,615.01
                 100534 TestEquity-Inv:49711-16584.1 FLUKE LOGGING MULTIMETER FLK FLUKE 287-PO:759 [100534]             1,969                  -    MACHINERY AND EQUIPMENT     36                                                      1,969.33
                 100973 TestEquity-Inv:646271-00-SORENSEN POWER SUPPLY-PO:4030 [100973]                                 4,204                  -    MACHINERY AND EQUIPMENT     36                                                      4,203.84

                                                                                                                                                                                                                                         33 of 168
                                                                  Case 25-10099-BLS                          Doc 2         Filed 01/18/25                 Page 68 of 202


Canoo Technologies Inc.                                                                                                                                                                                                Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                           Asset Description                                      Cost          NBV at Period End          Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 100024 TestEquity-Inv:791959-Tektronix (Encore) MDO4104C-SA6-PO:1191 [100024]                           20,800                  -    MACHINERY AND EQUIPMENT     36                                                     20,799.53
                 100658 TestEquity-Inv:81567-00-MGP TSA1000-15/480 PROGRAMMABLE-PO:1102 [100658]                          9,295                  -    MACHINERY AND EQUIPMENT     36                                                      9,294.77
                 100026 TestEquity-Inv:816238-HAK-FM2023-05 MINI PARALLEL REMOVER-PO:1931 [100026]                        9,244                  -    MACHINERY AND EQUIPMENT     36                                                      9,244.20
                 100993 Texys America-Inv:INV20084191-WTS-Wireless Sensor-PO:3833 [100993]                               16,692                  -    MACHINERY AND EQUIPMENT     36                                                     16,692.00
                 100921 Texys Sensors-Inv:INV19063638 FINAL-Wireless Torque Sensor-PO:952 [100921]                        5,250                  -    MACHINERY AND EQUIPMENT     36                                                      5,250.00
                 100943 Texys Sensors-Inv:INV20023993A-Texense Torque sensorSupply voltage-PO:2976 [100943]               4,709                  -    MACHINERY AND EQUIPMENT     36                                                      4,709.05
                 100364 Thermal Product Solutions-Inv: 1176223-PO:22 Freight for assets 100360 to 100363 [100364]           451                  -    MACHINERY AND EQUIPMENT     36                                                         450.57
                 100363 Thermal Product Solutions-Inv:1176223-PO:22-Tax for assets 100360 to 100362 [100363]                943                  -    MACHINERY AND EQUIPMENT     36                                                         942.89
                 100361 Thermal Product Solutions-Inv:1176223-Stainless Steel Slotted Shelf-PO:22 [100361]                  203                  -    MACHINERY AND EQUIPMENT     36                                                         203.00
                 100362 Thermal Product Solutions-Inv:1176223-Timer w/ end of process alarm-PO:22 [100362]                  860                  -    MACHINERY AND EQUIPMENT     36                                                         860.00
                 100360 Thermal Product Solutions-Inv:1176223DC-296-F-PM 9.0 cu ft convection oven-PO:22 [100360]         8,862                  -    MACHINERY AND EQUIPMENT     36                                                      8,862.13
                 100647 Thermo Fisher Scientific LLC-Inv:SLS25420145-2.5kW cooling, 2.3kW heater-PO:441 [100647]         11,163                  -    MACHINERY AND EQUIPMENT     36                                                     11,163.31
                 100648 Thermo Fisher Scientific LLC-Inv:SLS25435524-5kW cooling 2.8kW heater-PO:441 [100648]            16,153                  -    MACHINERY AND EQUIPMENT     36                                                     16,153.00
                 100614 Thermo Fisher Scientific LLC-Inv:SLS25437903-5kW cooling, 2.8kW heater-PO:441 [100614]           16,153                  -    MACHINERY AND EQUIPMENT     36                                                     16,153.00
                 100876 Thermo Fisher Scientific LLC-Inv:SLS25480380-Chiller(10 kw)-PO:679 [100876]                      21,209                  -    MACHINERY AND EQUIPMENT     36                                                     21,208.50
                 101005 Typhoon HIL, Inc.-1.0 Hardware:602 + HW-Inv:416-PO:00004295 [101005]                             17,300                  -    MACHINERY AND EQUIPMENT     36                                                     17,300.00
                 101006 Typhoon HIL, Inc.-2.0 Licenses: Permanent HIL602+DL-Inv:416-PO:00004295 [101006]                 42,900                  -    MACHINERY AND EQUIPMENT     36                                                     42,900.00
                 100950 Typhoon HIL, Inc.-Inv:366-HW Typhoon HIL602+ Emulator-PO:3307 [100950]                           17,200                  -    MACHINERY AND EQUIPMENT     36                                                     17,200.00
                 102823 Vector -Inv:90921503-PO:5706-CANalyzer PRO [102823]                                               4,774                  -    MACHINERY AND EQUIPMENT     36                                  397.84              4,774.00
                 100340 Vector North America-Inv:00452756-Various electronic equipment-PO:1144 [100340]                  51,343                  -    MACHINERY AND EQUIPMENT     36                                                     51,343.00
                 100730 Vector North America-Inv:18170488F-22197 VX1372 HSSL cable 2.0m-PO:1078 [100730]                  6,422                  -    MACHINERY AND EQUIPMENT     36                                                      6,422.00
                 100728 Vector North America-Inv:18170488F-22217 VX1451 HSSL POD-PO:1078 [100728]                        12,675                  -    MACHINERY AND EQUIPMENT     36                                                     12,675.00
                 100729 Vector North America-Inv:18170488F-22365 VX1946 Flex-Adapter Nexus-PO:1078 [100729]               2,505                  -    MACHINERY AND EQUIPMENT     36                                                      2,505.00
                 102824 Vector-Inv:90921504-PO:5706-VN1610 CAN Network Interface [102824]                                   859                  -    MACHINERY AND EQUIPMENT     36                                   71.61                 859.29
                 100830 Vector-Invoice-90755348-PO-00001679-CANalyzer [100830]                                            4,635                  -    MACHINERY AND EQUIPMENT     36                                                      4,635.00
                 100840 Vector-Invoice:18131534-PO:1262-Part Number: 05075 CANcable 2Y [100840]                              72                  -    MACHINERY AND EQUIPMENT     36                                                          72.00
                 100841 Vector-Invoice:18131534-PO:1262-Part Number: 05075 CANcable 2Y [100841]                              72                  -    MACHINERY AND EQUIPMENT     36                                                          72.00
                 100846 Vector-Invoice:18131534-PO:1262-Part Number: 05075 CANcable 2Y [100846]                              36                  -    MACHINERY AND EQUIPMENT     36                                                          36.00
                 100847 Vector-Invoice:18131534-PO:1262-Part Number: 05075 CANcable 2Y [100847]                              36                  -    MACHINERY AND EQUIPMENT     36                                                          36.00
                 100852 Vector-Invoice:18131534-PO:1262-Part Number: 05075 CANcable 2Y [100852]                              54                  -    MACHINERY AND EQUIPMENT     36                                                          54.00
                 100853 Vector-Invoice:18131534-PO:1262-Part Number: 05075 CANcable 2Y [100853]                              54                  -    MACHINERY AND EQUIPMENT     36                                                          54.00
                 100842 Vector-Invoice:18131534-PO:1262-Part Number: 07104 VN1630 log [100842]                              873                  -    MACHINERY AND EQUIPMENT     36                                                         873.00
                 100843 Vector-Invoice:18131534-PO:1262-Part Number: 07104 VN1630 log [100843]                              873                  -    MACHINERY AND EQUIPMENT     36                                                         873.00
                 100838 Vector-Invoice:18131534-PO:1262-Part Number: 07150 VN1610 CAN Network Interface [100838]          1,606                  -    MACHINERY AND EQUIPMENT     36                                                      1,606.00
                 100839 Vector-Invoice:18131534-PO:1262-Part Number: 07150 VN1610 CAN Network Interface [100839]          1,606                  -    MACHINERY AND EQUIPMENT     36                                                      1,606.00
                 100854 Vector-Invoice:18131534-PO:1262-Part Number: 07155 VN1611 LIN [100854]                            1,283                  -    MACHINERY AND EQUIPMENT     36                                                      1,282.50
                 100855 Vector-Invoice:18131534-PO:1262-Part Number: 07155 VN1611 LIN [100855]                            1,283                  -    MACHINERY AND EQUIPMENT     36                                                      1,282.50
                 100844 Vector-Invoice:18131534-PO:1262-Part Number: 22070 CANpiggy 1057Gcap [100844]                       180                  -    MACHINERY AND EQUIPMENT     36                                                         180.00
                 100845 Vector-Invoice:18131534-PO:1262-Part Number: 22070 CANpiggy 1057Gcap [100845]                       180                  -    MACHINERY AND EQUIPMENT     36                                                         180.00
                 100850 Vector-Invoice:18131534-PO:1262-Part Number: 50144 CANalyzer FUN Option .LIN [100850]               804                  -    MACHINERY AND EQUIPMENT     36                                                         804.00
                 100851 Vector-Invoice:18131534-PO:1262-Part Number: 50144 CANalyzer FUN Option .LIN [100851]               804                  -    MACHINERY AND EQUIPMENT     36                                                         804.00
                 100945 Vector-Invoice:18166252C-PO:641-Quote 18166252A-TM-C ++-ENP-W 32 [100945]                        43,900                  -    MACHINERY AND EQUIPMENT     36                                                     43,900.00
                 100070 Vector-Invoice:90651782-Various hardware components-PO:1142 [100070]                              8,374                  -    MACHINERY AND EQUIPMENT     36                                                      8,373.50
                 100034 Vector-Invoice:90652585-Various hardware components-PO:1143 [100034]                             47,622                  -    MACHINERY AND EQUIPMENT     36                                                     47,622.00
                 100878 Vector-Invoice:90756154-ETHmodule BCM89811-PO:1335 [100878]                                       5,134                  -    MACHINERY AND EQUIPMENT     36                                                      5,134.00
                 100908 Vector-Invoice:90769906-PO:2393-vSignalizer [100908]                                             17,659                  -    MACHINERY AND EQUIPMENT     36                                                     17,659.00
                 100905 Vector-Invoice:90769907-PO:2393-VN5610A [100905]                                                 22,249                  -    MACHINERY AND EQUIPMENT     36                                                     22,249.00
                 100976 Vector-Invoice:90860550-1-VX1451 HSSL POD 7 PCS-PO:3883 [100976]                                  6,090                  -    MACHINERY AND EQUIPMENT     36                                                      6,090.00
                 100051 Vector-Quote:18126734-Various hardware components-PO:1143 [100051]                               47,622                  -    MACHINERY AND EQUIPMENT     36                                                     47,622.00
                 100906 Webasto-Inv:34003201-AV-900EX Power System-PO:325 [100906]                                      380,825                  -    MACHINERY AND EQUIPMENT     36                                                    380,825.00
                 100895 Weiss Technik-Inv:605305A-Model ZPHS-44-6-SCT/AC-PO:1953 [100895]                                54,914                  -    MACHINERY AND EQUIPMENT     36                                                     54,914.25
                 100038 Yokogawa-Inv:7005981756-PRECISION POWER ANALYZER-PO:1083 [100038]                                31,572                  -    MACHINERY AND EQUIPMENT     36                                                     31,571.75

                                                                                                                                                                                                                                           34 of 168
                                                                 Case 25-10099-BLS                         Doc 2           Filed 01/18/25              Page 69 of 202


Canoo Technologies Inc.                                                                                                                                                                                              Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                  70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                              13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                              Asset Description                                   Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 100513 ZELTWANGER-Inv:71950014-PN: 21KAKO08MPN Female 8x6 Quick Disconnect-PO:339 [100513]                 192                  -  MACHINERY AND EQUIPMENT     36                                                         192.00
                 100514 ZELTWANGER-Inv:71950014-PN: 21SFKO08MXN Male 8x6 Quick Disconnect-PO:339 [100514]                    63                  -  MACHINERY AND EQUIPMENT     36                                                          63.00
                 100512 ZELTWANGER-Inv:71950014-PN: DB-100042 Leak Calibrator Standard-PO:339 [100512]                    2,005                  -  MACHINERY AND EQUIPMENT     36                                                      2,005.00
                 100511 ZELTWANGER-Inv:71950014-PN: DB-300032 External Venting Valve, fast-PO:339 [100511]                  209                  -  MACHINERY AND EQUIPMENT     36                                                         209.00
                 100510 ZELTWANGER-Inv:71950014-PN: ZEDeco 0-6.0 bar, pressure decay test method-PO:339 [100510]          7,520                  -  MACHINERY AND EQUIPMENT     36                                                      7,520.00
                 100828 ZELTWANGER-Inv:71950025-DB-100042 Leak Calibrator-PO-00001178 [100828]                            2,469                  -  MACHINERY AND EQUIPMENT     36                                                      2,469.00
                 100759 Zarges-Inv:610008953A-K470 Aluminum Case Version part number 40580-PO:1373 [100759]               6,893                  -  MACHINERY AND EQUIPMENT     36                                                      6,892.60
                 100044 dSPACE-Inv:22778P-Electronic Equipment-PO:1502 [100044]                                          38,285                  -  MACHINERY AND EQUIPMENT     36                                                     38,285.05
                 100048 dSPACE-Inv:PR02996-Modules, Boards, Cables, Power Supplies-PO:1244 [100048]                      77,912                  -  MACHINERY AND EQUIPMENT     36                                                     77,912.25
                 100875 dSPACE-Inv:PR03580-CONTROLDESK_DIAG-PO:00000860 [100875]                                        172,275                  -  MACHINERY AND EQUIPMENT     36                                                    172,275.47
                 100767 dSPACE-Inv:PR03582-DS2655_EXT_IO-PO-00000946 [100767]                                             3,790                  -  MACHINERY AND EQUIPMENT     36                                                      3,790.00
                 100768 dSPACE-Inv:PR03582-DS2655_M1_EXT_IO-PO-00000946 [100768]                                          2,810                  -  MACHINERY AND EQUIPMENT     36                                                      2,810.00
                 100769 dSPACE-Inv:PR03582-DS2655_TR-PO-00000946 [100769]                                                   260                  -  MACHINERY AND EQUIPMENT     36                                                         260.00
                 100765 dSPACE-Inv:PR03582-SCLX_EXT_IO-PO-00000946 [100765]                                                 360                  -  MACHINERY AND EQUIPMENT     36                                                         360.00
                 100766 dSPACE-Inv:PR03582-SCLX_EXT_POWER_SUP-PO-00000946 [100766]                                          270                  -  MACHINERY AND EQUIPMENT     36                                                         270.00
                 100770 dSPACE-Inv:PR03582-XSG_SENT_PROC_SOL-PO-00000946 [100770]                                         1,530                  -  MACHINERY AND EQUIPMENT     36                                                      1,530.00
                 100771 dSPACE-Inv:PR03582-XSG_SENT_RTV_SOL-PO-00000946 [100771]                                          1,080                  -  MACHINERY AND EQUIPMENT     36                                                      1,080.00
                 100857 dSpace-Inv:PR03581-Hardware-PO:2131 [100857]                                                    175,290                  -  MACHINERY AND EQUIPMENT     36                                                    175,289.93
                 100067 nCore, Inc-Hardware-American Express Transaction [100067]                                         5,914                  -  MACHINERY AND EQUIPMENT     36                                                      5,913.96
                 100040 Capture 3D, Inc-INV:12048P-Photogrammetry Equipment-PO:1057 [100040]                             40,164                  -  MACHINERY AND EQUIPMENT     36                                                     40,163.89
                 100020 Capture 3D, Inc-Inv:12796-ATOS II-Triple Scan-12796-PO:1507 [100020]                             33,193                  -  MACHINERY AND EQUIPMENT     36                                                     33,193.34
                 100041 Capture 3D, Inc.-Inv:12162F-TRITOP DX Photogrammetry: Nikon D500 [100041]                       160,656                  -  MACHINERY AND EQUIPMENT     36                                                    160,655.56
                 100019 Capture 3D, Inc.-Inv:12735-Measuring Volume with calibration artifact-PO:1526 [100019]           10,556                  -  MACHINERY AND EQUIPMENT     36                                                     10,556.00
                 100808 Craneveyor-Inv:418655-TC1 Area, Base mounted 1/2 tone-PO:2112 [100808]                            3,512                  -  MACHINERY AND EQUIPMENT     36                                                      3,511.80
                 100453 Craneveyor-Inv:50836-2-Line1-ranstation Single Girder Self-Suppo-PO:2126 [100453]                12,125                  -  MACHINERY AND EQUIPMENT     36                                                     12,125.10
                 100817 Craneveyor-Inv:50837-2A-TRANSTATION SINGLE GIRDER-PO:2127 [100817]                               12,314                  -  MACHINERY AND EQUIPMENT     36                                                     12,314.10
                 100054 Din-Jam-Hardware-43136 [100054]                                                                  22,000                  -  MACHINERY AND EQUIPMENT     36                                                     22,000.00
                 100060 Elite Metal Tools-Hardware-PO:1174 [100060]                                                      11,115                  -  MACHINERY AND EQUIPMENT     36                                                     11,115.00
                 100027 FARO Technologies-Inv:1088953-14000-002 Edge 9 Ft (2.7m) 7 Axis-1088953-PO:1030 [100027]         33,591                  -  MACHINERY AND EQUIPMENT     36                                                     33,591.04
                 100062 Kolb Design-Hardware-Veem Payment on 09/10/18-PO:1466 [100062]                                    5,302                  -  MACHINERY AND EQUIPMENT     36                                                      5,302.11
                 100031 Matco Tools-Inv:22921097-Technician Tool Kit; Tool Box & Tools [100031]                           5,010                  -  MACHINERY AND EQUIPMENT     36                                                      5,010.09
                 100032 Matco Tools-Inv:22921098-SYSTEM 28 FIXTURE KIT 127 PIECE-22921098 [100032]                       17,360                  -  MACHINERY AND EQUIPMENT     36                                                     17,360.09
                 100066 Matco Tools-Invs:52089809, 52089993-PO:1181 [100066]                                             19,067                  -  MACHINERY AND EQUIPMENT     36                                                     19,067.03
                 100343 Norton Equip.-Inv:596492 & 0596492FINAL-SURFACE PLATE Quote 119756R4-PO:1805 [100343]           308,451                  -  MACHINERY AND EQUIPMENT     36                                                    308,450.55
                 100640 Pacific Lift & Equip-Inv:812936A-Installation for 100637,100638,100639-PO:459 [100640]            6,747                  -  MACHINERY AND EQUIPMENT     36                                                      6,747.14
                 100637 Pacific Lift & Equip-Inv:812936A-Model SPOA10-RA Rotary-PO:459 [100637]                           4,015                  -  MACHINERY AND EQUIPMENT     36                                                      4,015.27
                 100638 Pacific Lift & Equip-Inv:812936A-Model Seismic Base Plate-PO:459 [100638]                           626                  -  MACHINERY AND EQUIPMENT     36                                                         626.03
                 100639 Pacific Lift & Equip-Inv:812936A-Model WA674 Aligner-PO:459 [100639]                             94,173                  -  MACHINERY AND EQUIPMENT     36                                                     94,173.26
                 100764 Pacific Lift & Equip.-Inv:813056-Installation-PO:459 [100764]                                     9,176                  -  MACHINERY AND EQUIPMENT     36                                                      9,176.03
                 100377 Pacific Lift and Equip.-Inv:812838-Model SPOA10-RA Rotary two post-PO:459 [100377]               21,079                  -  MACHINERY AND EQUIPMENT     36                                                     21,078.59
                 107988 Space Saver Paint Booth [107988]                                                                145,672             118,156 MACHINERY AND EQUIPMENT   180               809.29           27,515.82             27,515.82
                 100365 Tokyo Boeki-Inv:18-TB-138-2-Layout Machine 2015F-Master-PO:1832 [100365]                         38,862                  -  MACHINERY AND EQUIPMENT     36                                                     38,862.46
                 100547 Tokyo Boeki-Inv:18-TB-138-3-Layout Machine and other equipment-PO:1832 [100547]                  90,679                  -  MACHINERY AND EQUIPMENT     36                                                     90,679.04
                 100336 WestAir Gases & Equip-Inv:10833394-MILLERMATIC 350P 200/230; MIL 907300-PO:197 [100336]           5,360                  -  MACHINERY AND EQUIPMENT     36                                                      5,360.03
                 100030 WestAir Gases & Equipment Inc-Inv:10743275-SIEGMUND WELDING TABLE-PO:1471 [100030]                9,452                  -  MACHINERY AND EQUIPMENT     36                                                      9,451.98
                 103317 2.5kW Thermofisher Chiller for Park Lock test fixture. Standard range (+5 to +40 [103317]         7,800                  -  MACHINERY AND EQUIPMENT     36                                  866.67              7,800.00
                 100023 BRL Test, Inc.-Inv:124113-B-WIT 100 Wideband Injection Transformer-PO:1467 [100023]               5,989                  -  MACHINERY AND EQUIPMENT     36                                                      5,989.00
                 100416 Bruel & Kjaer-Inv:3111748-ACCELEROMETER CALIBRATOR, SOUND CALIBRATOR-PO:2262 [100416]             4,914                  -  MACHINERY AND EQUIPMENT     36                                                      4,913.73
                 101678 CSM Products, Inc.-INV:2620110901-PO:4425-ART1011301 THMM 16 pro, SCL Type T [101678]            34,357                  -  MACHINERY AND EQUIPMENT     36                                                     34,356.65
                 100966 CSM Products-Inv:2620072001-CSM-ART0200966 THMM 16 T-Type-PO:00003694 [100966]                    3,351                  -  MACHINERY AND EQUIPMENT     36                                                      3,350.94
                 103697 DVB 0621-04 JUNE P-CARD [103697]                                                                  6,114                  -  MACHINERY AND EQUIPMENT     36                                1,528.43              6,113.63
                 100975 Delta 25KW Fast Charger-DVB 0820-04 August P-Card [100975]                                       13,957                  -  MACHINERY AND EQUIPMENT     36                                                     13,957.03

                                                                                                                                                                                                                                         35 of 168
                                                                  Case 25-10099-BLS                         Doc 2          Filed 01/18/25                 Page 70 of 202


Canoo Technologies Inc.                                                                                                                                                                                                Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                            Asset Description                                     Cost          NBV at Period End          Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                 100877 ESPEC North America-Inv:4119047-Temp Humidity Panelized Drive In Chamber-PO:2047 [100877]        62,806                  -    MACHINERY AND EQUIPMENT     36                                                    62,806.25
                 100663 ESPEC North America-Inv:4121710-EWPL2787-30NW walk-in test chamber-PO:1552 [100663]              97,043                  -    MACHINERY AND EQUIPMENT     36                                                    97,042.51
                 100708 ESPEC North America-Inv:4122088-EWPL2787-30NW walk-in test chamber-PO:1552 [100708]             161,738                  -    MACHINERY AND EQUIPMENT     36                                                   161,737.52
                 101670 FTI Flow Technology, Inc-INV:102121.1-1-PO:4431-MICROLINK SMART PICKOFF [101670]                 10,459                  -    MACHINERY AND EQUIPMENT     36                                                    10,459.43
                 100484 FTI Flow Technology-Inv:198489-Microlink Cable Assembly 19-100753-103-PO:130 [100484]               406                  -    MACHINERY AND EQUIPMENT     36                                                        405.61
                 100485 FTI Flow Technology-Inv:198489-Microlink Cable Assembly 19-100753-103-PO:130 [100485]               406                  -    MACHINERY AND EQUIPMENT     36                                                        405.61
                 100486 FTI Flow Technology-Inv:198489-Microlink Smart Pickoff ULN-C-1-M4-1-PO:130 [100486]               4,582                  -    MACHINERY AND EQUIPMENT     36                                                     4,581.87
                 100483 FTI Flow Technology-Inv:198489-TURBINE FLOWMETER FT-12HBXWBLEB-0-PO:130 [100483]                  2,066                  -    MACHINERY AND EQUIPMENT     36                                                     2,065.60
                 100482 FTI Flow Technology-Inv:198489-TURBINE FLOWMETER-PO:130 [100482]                                  2,066                  -    MACHINERY AND EQUIPMENT     36                                                     2,065.60
                 100487 FTI Flow Technology-Inv:198489-Tax for assets 100482 to 100486-PO:130 [100487]                      530                  -    MACHINERY AND EQUIPMENT     36                                                        529.83
                 100028 Forklift Nation-Toyota-Inv:2039175-7FGCU35BCS Serial # 71157-PO:1030 [100028]                    15,768                  -    MACHINERY AND EQUIPMENT     36                                                    15,768.00
                 100958 HBM, Inc-Inv: 411182033-KAB2107-2 Ethernet Cable-PO:3536 [100958]                                   116                  -    MACHINERY AND EQUIPMENT     36                                                        116.04
                 100035 HBM-Inv:411167809-Inc-1-EHLS-B-2 [100035]                                                         5,860                  -    MACHINERY AND EQUIPMENT     36                                                     5,860.12
                 100957 HBM-Inv:411182045-MX1615B-R 16-Channel Bridge Amplifier-PO:3536 [100957]                         10,801                  -    MACHINERY AND EQUIPMENT     36                                                    10,800.82
                 100036 HBM-Inv:495001291-Various Components-PO:1622 [100036]                                            37,513                  -    MACHINERY AND EQUIPMENT     36                                                    37,512.63
                 100037 HBM-Inv:495001293-Various Components-PO:1656 [100037]                                            21,277                  -    MACHINERY AND EQUIPMENT     36                                                    21,276.70
                 100556 HBM-Sensors [100556]                                                                              3,597                  -    MACHINERY AND EQUIPMENT     36                                                     3,596.77
                 100581 Hitech Sensor Developments-Inv:45980-Hi TEC Sensor Developmnet -Sensor-PO:275 [100581]           19,500                  -    MACHINERY AND EQUIPMENT     36                                                    19,500.00
                 100558 Honle UV America-Inv:18-1190B-EP-1- x Mit10 x Mitronic SFL 4000W-PO:2048 [100558]                93,718                  -    MACHINERY AND EQUIPMENT     36                                                    93,717.50
                 100297 Honle UV America-Inv:18-1190a-EP-10 x Mi10 v Mirtonic SFL 4000W-PO:2048 [100297]                 93,718                  -    MACHINERY AND EQUIPMENT     36                                                    93,717.50
                 100620 INational Instruments-Inv:3340427-779781-01 NI 9219 4 Ch-Ch Isolated-PO:1183 [100620]             1,325                  -    MACHINERY AND EQUIPMENT     36                                                     1,324.75
                 100914 IPETRONIK-Inv:42019000193-IPE-LOG2-PACK-RIPELOG2 basic package-PO:2692 [100914]                  42,000                  -    MACHINERY AND EQUIPMENT     36                                                    42,000.00
                 100866 LAS0819-01-TOOLPAN.COM [100866]                                                                   5,122                  -    MACHINERY AND EQUIPMENT     36                                                     5,121.53
                 100974 Level 3 Charger-DVB 0820-04 August P-Card [100974]                                               10,001                  -    MACHINERY AND EQUIPMENT     36                                                    10,000.89
                 100960 Michigan Scientific Corporation-Inv:51792-Round three axis load cell-PO:3585 [100960]            11,140                  -    MACHINERY AND EQUIPMENT     36                                                    11,140.00
                 100632 National Instruments-Inv:3340427-143557-0R5 USB to VGA Adapter-PO:1183 [100632]                      48                  -    MACHINERY AND EQUIPMENT     36                                                         47.90
                 100626 National Instruments-Inv:3340427-196720-01 NI 9972 Backshell for 6-pos-PO:1183 [100626]              38                  -    MACHINERY AND EQUIPMENT     36                                                         38.10
                 100633 National Instruments-Inv:3340427-3340427-143558-0R5 USB to DVI-PO:1183 [100633]                      48                  -    MACHINERY AND EQUIPMENT     36                                                         47.90
                 100619 National Instruments-Inv:3340427-779351-01 NI 9401 8-Channel, 100 ns-PO:1183 [100619]               352                  -    MACHINERY AND EQUIPMENT     36                                                        351.60
                 100634 National Instruments-Inv:3340427-779473-01 NI 9901 Desktop Mounting-PO:1183 [100634]                 63                  -    MACHINERY AND EQUIPMENT     36                                                         63.13
                 100618 National Instruments-Inv:3340427-779516-01 NI 9203 Screw Term-PO:1183 [100618]                      654                  -    MACHINERY AND EQUIPMENT     36                                                        654.21
                 100621 National Instruments-Inv:3340427-779787-01 NI 9403 with DSUB-PO:1183 [100621]                       482                  -    MACHINERY AND EQUIPMENT     36                                                        482.22
                 100625 National Instruments-Inv:3340427-781093-01 NI PS-15 Power Supply, 24 VDC-PO:1183 [100625]           270                  -    MACHINERY AND EQUIPMENT     36                                                        269.96
                 100627 National Instruments-Inv:3340427-781503-01 NI 9923 Front-mount terminal-PO:1183 [100627]            165                  -    MACHINERY AND EQUIPMENT     36                                                        165.46
                 100622 National Instruments-Inv:3340427-781510-01 NI-9214 C Series Input Module-PO:1183 [100622]         3,616                  -    MACHINERY AND EQUIPMENT     36                                                     3,616.11
                 100628 National Instruments-Inv:3340427-781922-01 NI 9924 Front-mount terminal-PO:1183 [100628]            125                  -    MACHINERY AND EQUIPMENT     36                                                        125.18
                 100629 National Instruments-Inv:3340427-782715-01 NI 9927, Strain Relief-PO:1183 [100629]                   37                  -    MACHINERY AND EQUIPMENT     36                                                         37.01
                 100630 National Instruments-Inv:3340427-783699-02 TRC-8542, NI-XNET CAN HS-PO:1183 [100630]                447                  -    MACHINERY AND EQUIPMENT     36                                                        447.39
                 100623 National Instruments-Inv:3340427-783703-01 NI-9860, 2-Port-PO:1183 [100623]                         657                  -    MACHINERY AND EQUIPMENT     36                                                        657.47
                 100616 National Instruments-Inv:3340427-785080-01 NI 9940 Backshell-PO:1183 [100616]                        41                  -    MACHINERY AND EQUIPMENT     36                                                         41.36
                 100624 National Instruments-Inv:3340427-785184-01 NI 9205 Spring Terminal-PO:1183 [100624]                 979                  -    MACHINERY AND EQUIPMENT     36                                                        978.59
                 100617 National Instruments-Inv:3340427-785619-01 cRIO-9048, 1.3 GHz Dual-Core-PO:1183 [100617]          6,987                  -    MACHINERY AND EQUIPMENT     36                                                     6,987.30
                 100631 National Instruments-Inv:3340427-Inv:3340427-783702-02 TRC-8546, -PO:1183 [100631]                  447                  -    MACHINERY AND EQUIPMENT     36                                                        447.39
                 100615 National Instruments-Inv:3340427-SRV-CR5965263 NI CRIO Configuration-PO:1183 [100615]             1,226                  -    MACHINERY AND EQUIPMENT     36                                                     1,225.78
                 100809 Neapco Components-Inv:NEMA0002155-Halfshaft PN 3048956-Bx-PO:2246 [100809]                       33,500                  -    MACHINERY AND EQUIPMENT     36                                                    33,500.00
                 100332 Neteera-Inv:01/000008-NES 1.5 SYSTEM, ENGINEERING SUPPORT, TRAVEL-PO:1532 [100332]               55,950                  -    MACHINERY AND EQUIPMENT     36                                                    55,950.00
                 100919 PMC Engineering-Inv:PF-1233 & PF-1238-Sun-hood external vehicle mounting-PO:1270 [100919]        11,220                  -    MACHINERY AND EQUIPMENT     36                                                    11,220.00
                 100941 Robert Bosch-Inv:7067178449-Robert Bosch, LLC-Spider box-PO:1528 [100941]                        10,000                  -    MACHINERY AND EQUIPMENT     36                                                    10,000.00
                 100954 Robert Bosch-Inv:7067214200-Spider box ECU-PO:1528 [100954]                                       1,500                  -    MACHINERY AND EQUIPMENT     36                                                     1,500.00
                 100887 Rock Tool & Machine-Inv:63360-System Build-PO:00000368 [100887]                                  35,900                  -    MACHINERY AND EQUIPMENT     36                                                    35,900.00
                 101942 SVB-Inv:DVB 1220-04 DEC P-CARD-Pressure transducers for aero testing. [101942]                   12,820                  -    MACHINERY AND EQUIPMENT     36                                                    12,820.11
                 100319 SVB-PETER_5730_0219-Lab Equipment for thermal benchmarking vehicle [100319]                       7,362                  -    MACHINERY AND EQUIPMENT     36                                                     7,361.91

                                                                                                                                                                                                                                          36 of 168
                                                                  Case 25-10099-BLS                          Doc 2         Filed 01/18/25               Page 71 of 202


Canoo Technologies Inc.                                                                                                                                                                                                Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                   70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                               13,575 VEHICLES

                                                                                                                    106,292,695          70,096,417
      Asset number                                               Asset Description                                  Cost          NBV at Period End          Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 101008 Saratech Inc.-V1Q64A HP- 3D700 Detailing Agent 5L-Inv:0029059-001-PO:00004454 [101008]           19,210                  -    MACHINERY AND EQUIPMENT     36                                                     19,209.93
                 103698 Sivax North America, Inc. PO 4824 [103698]                                                       10,000                  -    MACHINERY AND EQUIPMENT     36                                2,500.01             10,000.00
                 100747 Teledyne Lecroy-Inv:S01_10228119-"CAN and CAN FD Trigger and Decode-PO:1093 [100747]                431                  -    MACHINERY AND EQUIPMENT     36                                                         430.69
                 100746 Teledyne Lecroy-Inv:S01_10228119-"CAN and LIN Trigger and Decode Package-PO:1093 [100746]           431                  -    MACHINERY AND EQUIPMENT     36                                                         430.69
                 100749 Teledyne Lecroy-Inv:S01_10228119-1kV, 25 MHz High Voltage-PO:1093 [100749]                        1,335                  -    MACHINERY AND EQUIPMENT     36                                                      1,335.15
                 100748 Teledyne Lecroy-Inv:S01_10228119-Mixed Signal probe-PO:1093 [100748]                              1,142                  -    MACHINERY AND EQUIPMENT     36                                                      1,141.66
                 100745 Teledyne Lecroy-Inv:S01_10228119-WAVESURFER 3024Z-PO:1093 [100745]                                4,769                  -    MACHINERY AND EQUIPMENT     36                                                      4,768.52
                 100874 Tesla-PETER_5730_0219-Purchased with Credit Card [100874]                                         2,500                  -    MACHINERY AND EQUIPMENT     36                                                      2,500.00
                 100934 TestEquity-Inv:182900-00-MFG Prod: 1000013-PO:2231 [100934]                                       5,969                  -    MACHINERY AND EQUIPMENT     36                                                      5,968.94
                 103322 Wheel Force Transducers [103322]                                                                283,331                  -    MACHINERY AND EQUIPMENT     36                               39,351.61            283,331.26
                 101007 dSPACE, Inc.-Digital I/O Board96 channels-Inv:PR04123-PO:00004236 [101007]                        7,311                  -    MACHINERY AND EQUIPMENT     36                                                      7,311.25
                 103768 FRT Trolley Receiver - for Frontal crash validation - Will be assembled and sent [103768]        54,479                  -    MACHINERY AND EQUIPMENT     36                               12,106.45             54,479.07
                 100479 Mando Corporation-Inv:CKSD1901025-EQUIPMENT RWA-PO:1590 [100479]                                 45,000                  -    MACHINERY AND EQUIPMENT     36                                                     45,000.00
                 100480 Mando Corporation-Inv:CKSD1901093-EQUIPMENT SFA / EQUIPMENT RACKS-PO:1590 [100480]              100,000                  -    MACHINERY AND EQUIPMENT     36                                                    100,000.00
                 100033 McMasterCarr-Inv:63835990-Extra Heavy Duty Table Mobile [100033]                                  5,081                  -    MACHINERY AND EQUIPMENT     36                                                      5,081.34
                 104098 Redall (Yale MI) Equipment Supplier Robotic Laser Weld Cutting Cell PO 4285 [104098]            418,000              34,833 MACHINERY AND EQUIPMENT       36           11,611.11          139,333.32            383,166.64
                 103747 001 Heavy Duty T-Slotted Surface Plate120” x 60” x 12” with3”- A36 Ho [103747]                   33,033                  -    MACHINERY AND EQUIPMENT     36                                8,258.29             33,033.00
                 103748 002 Estimate Freight: Blissfield, MI to Torrance, CADedicated Truck [103748]                      6,500                  -    MACHINERY AND EQUIPMENT     36                                1,624.96              6,500.00
                 103749 003 Level, Anchor and Provide Flatness CertificationPrice Includes 2 Guys, Trav [103749]          9,500                  -    MACHINERY AND EQUIPMENT     36                                2,375.00              9,500.00
                 102975 1.0 Hardware:404 HWTyphoon HIL404 Emulator Hardware Unit [102975]                                 9,900                  -    MACHINERY AND EQUIPMENT     36                                  825.00              9,900.00
                 102978 4075 VX1161.32B HSSL [102978]                                                                    40,880                  -    MACHINERY AND EQUIPMENT     36                                4,542.24             40,880.00
                 102973 Part Number: 1 GH-GP4-PAR-NAM Description: Green Hills Probe V4 preconfigured fo [102973]        56,100                  -    MACHINERY AND EQUIPMENT     36                                7,791.67             56,100.00
                 103762 ZEDeco RD leak test device [103762]                                                               7,988                  -    MACHINERY AND EQUIPMENT     36                                2,218.91              7,988.00
                 107487 DVPR TESTING [107487]                                                                            16,050               9,363 MACHINERY AND EQUIPMENT       60              267.50            3,210.00              6,687.50
                 106815 ART0200814 ADMM 8 pro AutSCL, L0B 6p, L0B 5pn, CAN [106815]                                      24,225               4,037 MACHINERY AND EQUIPMENT       36              672.92            8,075.04             20,187.54
                 106820 ART0201050 K74TP, L0B 5p [106820]                                                                   418                    70 MACHINERY AND EQUIPMENT     36               11.61              139.32                 348.31
                 106816 ART0201133 K92-0015CC, L0B 5p, L0B 5p [106816]                                                    2,508                  418 MACHINERY AND EQUIPMENT      36               69.67              836.04              2,090.04
                 106818 ART0201202 K134-0200SC, L0B 6p, open [106818]                                                     1,748                  291 MACHINERY AND EQUIPMENT      36               48.56              582.72              1,456.71
                 106813 ART1011301THMM 16 pro AutSCL, Type T, L0B 5p, CAN [106813]                                       34,799               5,800 MACHINERY AND EQUIPMENT       36              966.63           11,599.56             28,998.81
                 106814 ART1011301THMM 16 pro AutSCL, Type T, L0B 5p, CAN [106814]                                       34,799               5,800 MACHINERY AND EQUIPMENT       36              966.63           11,599.56             28,998.81
                 106821 ART1030601 Protection CapPC, L1B (Code A) [106821]                                                1,102                  184 MACHINERY AND EQUIPMENT      36               30.61              367.32                 918.31
                 106819 ART1050102 K176-0250IC, L0B 5p, DS 9p / B, R [106819]                                               352                    59 MACHINERY AND EQUIPMENT     36                9.76              117.12                 292.86
                 106817 ART1060109 K134-0100SC, L0B 6p, open [106817]                                                     3,040                  507 MACHINERY AND EQUIPMENT      36               84.44            1,013.28              2,533.27
                 103480 Prime Wheel Wheels 19X8 C6121-0002 Die Cast Die [103480]                                         93,906                  -    MACHINERY AND EQUIPMENT     36                               20,868.03             93,906.25
                 107989 Sniffer Leak detector XL3000 flex [107989]                                                       32,598              27,165 MACHINERY AND EQUIPMENT       60              543.30            5,433.00              5,433.00
                 100807 Craneveyor-Inv:418654-TC1 Area, Base mounted 1/2 ton-PO:2112 [100807]                             2,978                  -    MACHINERY AND EQUIPMENT     36                                                      2,978.40
                 100804 Craneveyor-Inv:418656-Motor Assembly TranStation Single Girder-PO:2127 [100804]                   3,566                  -    MACHINERY AND EQUIPMENT     36                                                      3,565.80
                 101013 DVB 1020-04 Oct P-Card-Data loggers for Truck Mule and DV Show Car [101013]                       5,533                  -    MACHINERY AND EQUIPMENT     36                                                      5,533.00
                 100281 Kolb-Inv:AA30000019(2)- Equipment and Accessories for Clay Studio-PO:1466 [100281]              877,613                  -    MACHINERY AND EQUIPMENT     36                                                    877,613.18
                 100284 Kolb-Inv:AN3000000036-Equipment and Accessories for Clay Studio-PO:1466 [100284]                487,985                  -    MACHINERY AND EQUIPMENT     36                                                    487,984.50
                 100794 Kolb-Inv:AR30000066-Conceptline rail incl. accessories and equipment-PO:2379 [100794]           236,045                  -    MACHINERY AND EQUIPMENT     36                                                    236,045.03
                 100972 Kolb-Invoice: AR30000193-Safety system-PO:3920 [100972]                                          21,796                  -    MACHINERY AND EQUIPMENT     36                                                     21,795.97
                 100064 Magna Power Electronics-Hardware-American Express Purchase [100064]                               8,318                  -    MACHINERY AND EQUIPMENT     36                                                      8,318.32
                 100065 Magna Power Electronics-Hardware-American Express Purchase [100065]                               8,570                  -    MACHINERY AND EQUIPMENT     36                                                      8,570.35
                 103315 Maintenance, calibration, maintenance material and travel cost. [103315]                         27,546                  -    MACHINERY AND EQUIPMENT     36                                2,295.52             27,545.99
                 100016 Wildfactory-Inv:3609-Full Scale EPS Interior-Simplified CAD wooden Buck-PO:1022 [100016]         23,428                  -    MACHINERY AND EQUIPMENT     36                                                     23,427.72
                 100073 X-Rite, Inc-Inv:992400-Spectralight QC Light Booth-PO:1053 [100073]                               6,467                  -    MACHINERY AND EQUIPMENT     36                                                      6,466.50
                 100803 ZELTWANGER-Inv:71950025-bar,pressure decay test method, leak tester-PO:1178 [100803]              7,520                  -    MACHINERY AND EQUIPMENT     36                                                      7,520.00
                 107987 Vent Leak Test Tool [107987]                                                                      8,360               7,245 MACHINERY AND EQUIPMENT       60              139.33            1,114.64              1,114.64
                 104089 Fiber Laser FC 3kw PO 11610 [104089]                                                            184,799              25,667 MACHINERY AND EQUIPMENT       36            5,133.31           61,599.72            159,132.60
                 103757 130B40 - Low-profile, surface pressure microphones [103757]                                       5,859                  -    MACHINERY AND EQUIPMENT     36                                1,464.70              5,858.72
                 103886 CSM Products, M&E, (Auburn Hills, MI),stator temp validation instru., PO9643 [103886]            76,688                     0 MACHINERY AND EQUIPMENT     36            2,130.22           25,562.64             76,687.96

                                                                                                                                                                                                                                           37 of 168
                                                                Case 25-10099-BLS                        Doc 2           Filed 01/18/25              Page 72 of 202


Canoo Technologies Inc.                                                                                                                                                                                            Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                                 70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                             13,575 VEHICLES

                                                                                                                  106,292,695          70,096,417
      Asset number                                              Asset Description                                 Cost          NBV at Period End         Asset Category     Life Depreciation Amount   YTD Depreciation    Depreciation Reserve
                 103619 CWCI2TCM Temperature Slip Ring instrumentation assembly rent-to-own - 3rd month [103619]        5,819                  -   MACHINERY AND EQUIPMENT     36                                1,293.07              5,818.75
                 103620 CWCI2TCM Temperature Slip Ring instrumentation assembly rent-to-own - 4th motnh [103620]        5,819                  -   MACHINERY AND EQUIPMENT     36                                1,293.07              5,818.75
                 103742 Leak Tester for Air testing the skateboard frame after battery pack install [103742]           15,099                  -   MACHINERY AND EQUIPMENT     36                                3,774.71             15,099.00
                 104106 TMU-16 Temperature measuring module 16 channels: Module, TMU-16,16CH-K Type, RJ4 [104106]      23,180               1,932 MACHINERY AND EQUIPMENT      36              643.89            7,726.68             21,248.34
                 103756 Test 356A45 Triaxial ICP Accel 100 mV/g, 50 g [103756]                                          6,835                  -   MACHINERY AND EQUIPMENT     36                                1,329.07              6,835.17
                 103755 Test: 378B02 1/2" prepolarized free-field microphone, 50 mV/Pa [103755]                        10,451                  -   MACHINERY AND EQUIPMENT     36                                2,032.09             10,450.69
                 100290 25010.2 NON STOCK [100290]                                                                     12,382                  -   MACHINERY AND EQUIPMENT     36                                                     12,382.49
                 103976 3D printed LVD HVAC Ducts [103976]                                                              9,844                  -   MACHINERY AND EQUIPMENT     36              273.45            3,281.35              9,844.05
                 100289 99-X6-ZDS3PRC [100289]                                                                         27,506                  -   MACHINERY AND EQUIPMENT     36                                                     27,506.40
                 100059 Dynapack International-Inv:2621a-DAQ5 Dynapack series 5000-PO:1189 [100059]                    55,763                  -   MACHINERY AND EQUIPMENT     36                                                     55,763.44
                 100279 GoEngineer, Inc.-Creaform HandySCAN 700 upgrade-Computer Hardware-LP-1218-26 [100279]          61,345                  -   MACHINERY AND EQUIPMENT     36                                                     61,345.00
                 100050 GoEngineer, Inc.-HandySCAN 700 Handheld self-positioning laser scanner system. [100050]        19,578                  -   MACHINERY AND EQUIPMENT     36                                                     19,578.33
                 100049 GoEngineer, Inc.-HandySCAN 700 Handheld self-positioning laser scanner-Q181581-3 [100049]      24,402                  -   MACHINERY AND EQUIPMENT     36                                                     24,401.67
                 100280 GoEngineer- HandySCAN 700 -LP1218-26 [100280]                                                  62,621                  -   MACHINERY AND EQUIPMENT     36                                                     62,621.00
                 103977 LDV 3D Printed HVAC Ducts for Prefix and Thermal Buck [103977]                                 19,588                    0 MACHINERY AND EQUIPMENT     36              544.12            6,529.44             19,588.40
                 100277 Manz AG-Inv:90053890-Basis Laser Tool-PO:1967 [100277]                                        184,457                  -   MACHINERY AND EQUIPMENT     36                                                    184,457.46
                 100282 Rinehart-Inv:203418-Propulsion inverter & Connector kit-PO:2122 [100282]                        6,850                  -   MACHINERY AND EQUIPMENT     36                                                      6,850.00
                 100263 Selway Machine Tool-Inv:IN54297-Machinery & Equipment-PO:2209 [100263]                         14,568                  -   MACHINERY AND EQUIPMENT     36                                                     14,568.46
                 100261 Tenneco-Machinery & Equip-Inv:702518316-PO:1776 [100261]                                       40,250                  -   MACHINERY AND EQUIPMENT     36                                                     40,250.00
                 100262 TestEquity-Inv:2672-00-Machinery & Equipment [100262]                                           6,644                  -   MACHINERY AND EQUIPMENT     36                                                      6,643.91
                 100568 CDW Direct LLC-Inv:SMM1165-"Tripp Lite Display TV LCD Wall Monitor Mount-PO:1172 [100568]          80                  -   MACHINERY AND EQUIPMENT     36                                                         80.44
                 100650 CDW Direct LLC-Inv:SVK5378-Samsung QB98R LED DISPLA mfr# QB98R-PO:1096 [100650]                 8,509                  -   MACHINERY AND EQUIPMENT     36                                                      8,508.74
                 100255 ClipperCreek, Inc-Invoice:80411-HCS-50P NEMA 14-50EV-Charging Machine-PO:1097 [100255]          6,957                  -   MACHINERY AND EQUIPMENT     36                                                      6,956.57
                 100430 Craneveyor-Inv:50835-2-Line 1-TC1 Area, Base mounted 1/2 ton-PO:2112 [100430]                  10,301                  -   MACHINERY AND EQUIPMENT     36                                                     10,301.40
                 100015 Inland Empire-Inv:1824-Trailers-Enclosed Trailer-PO:1582 [100015]                               9,285                  -   MACHINERY AND EQUIPMENT     36                                                      9,285.40
                 100551 LAS0419-17 P-CARD-IT Equipment [100551]                                                        10,021                  -   MACHINERY AND EQUIPMENT     36                                                     10,021.48
                 100548 LAS0419-17 P-CARD-Lab equipment for testing the thermal vehicle [100548]                       18,541                  -   MACHINERY AND EQUIPMENT     36                                                     18,540.99
                 100549 LAS0419-17 P-CARD-Wire & Brake tuning Equipment [100549]                                        5,469                  -   MACHINERY AND EQUIPMENT     36                                                      5,469.00
                 100063 Laura Davidson Direct-Hardware-American Express purchase [100063]                               5,729                  -   MACHINERY AND EQUIPMENT     36                                                      5,728.50
                 100565 Norton Equip Corp-Inv:0596518-Level:Anchor;certify flattness-PO:00000878 [100565]              19,000                  -   MACHINERY AND EQUIPMENT     36                                                     19,000.00
                 100566 Norton Equip Corp-Inv:0596518-Rigging provided by Dunkel-PO:00000878 [100566]                   1,250                  -   MACHINERY AND EQUIPMENT     36                                                      1,250.00
                 100696 Norton Equipment Corp-Inv:0596509-Level; Anchor: Certify Flatness-PO:1805 [100696]             19,000                  -   MACHINERY AND EQUIPMENT     36                                                     19,000.00
                 100613 OSI Global IT-Inv:INV-US27051-IT-PN: N4032, 2x Power Supplies-PO:1244 [100613]                  6,353                  -   MACHINERY AND EQUIPMENT     36                                                      6,352.63
                 100068 Pro-Fac-Vestil Scissor lift-PO:1100 [100068]                                                    5,869                  -   MACHINERY AND EQUIPMENT     36                                                      5,869.24
                 100052 SIGNET SYSTEMS-Inv:SSN-Evelozcity-01-EV-50KW, CCS1 Connector only-PO:1106 [100052]             23,000                  -   MACHINERY AND EQUIPMENT     36                                                     23,000.00
                 100660 Unison Electric-Inv:10003144-Work completed to provide 600 amps of temp power [100660]         11,755                  -   MACHINERY AND EQUIPMENT     36                                                     11,755.00
                 100072 Webasto-Inv:08082018J-AV-900 EX Power System Package-PO:1314 [100072]                         191,624                  -   MACHINERY AND EQUIPMENT     36                                                    191,624.24
                 100909 Western Allied Corporation-Inv:1519040A01-TE-W100-TE WATE-PO00002768 [100909]                  75,078                  -   MACHINERY AND EQUIPMENT     36                                                     75,078.00
                 100916 Western Allied-Inv:1518058E01-Galv Sheetmetal-PO:2756 [100916]                                  5,020                  -   MACHINERY AND EQUIPMENT     36                                                      5,020.21
                 100017 Wisconsin Oven Distributors-Inv:7236-Memmert UF 1060-PO:1096 [100017]                          12,776                  -   MACHINERY AND EQUIPMENT     36                                                     12,775.50
                 100018 Wisconsin Oven Distributors-Inv:7236-Memmert UF 1060-PO:1096 [100018]                          18,100                  -   MACHINERY AND EQUIPMENT     36                                                     18,099.80
                 100530 CDW Direct LLC-Inv:SCF2753-LG 55LV35W-4C - 55" VIDEO WALL DISPLAY BUNDLE-PO:561 [100530]        9,478                  -   MACHINERY AND EQUIPMENT     36                                                      9,477.66
                 107977 1996 Mack Truck [107977]                                                                        5,605               4,204 VEHICLES                     36              155.69           1,401.21               1,401.21
                 108015 GM Chevy 2018 Box Truck [108015]                                                               12,495               9,371 VEHICLES                     36              347.08           3,123.72               3,123.72
                 103477 2021 Ford F350 XL 4x4 Crew Cab VIN 1FT8W3DT7MED82253 [103477]                                  96,463                  -   VEHICLES                    36                              21,436.15              96,462.64
                 100002 Trailer VIN 1Z9BU2422JB526247 [100002]                                                          8,395                  -   VEHICLES                    36                                                      8,395.08
                 102968 Skateboard Assembly Equipment - 100% of design buy-off                                      3,247,528           3,247,528 MACHINERY AND EQUIPMENT                                                                    -
                 103462 Valmet AutoMotive Pre Engineering Period 30% PO 6185                                          338,863             338,863 MACHINERY AND EQUIPMENT                                                                    -
                 103661 PRO T Premium 62/28/25 SN: 202407 & 202408                                                    423,140             423,140 MACHINERY AND EQUIPMENT                                                                    -
                 103670 FANUC R-2000iC 210L with “A” Size R-30iB+Plus Controller and SpotTool+ Softw                  117,947             117,947 MACHINERY AND EQUIPMENT                                                                    -
                 103671 FANUC Arc Mate 120iD/12LRobot with “A” Size R-30iB+Plus Controller – Arc W                    459,046             459,046 MACHINERY AND EQUIPMENT                                                                    -
                 103672 FANUC R-2000iC 210L with “A” Size R-30iB+Plus Controller and SpotTool+ Softw                   83,790              83,790 MACHINERY AND EQUIPMENT                                                                    -

                                                                                                                                                                                                                                        38 of 168
                                                                  Case 25-10099-BLS                        Doc 2     Filed 01/18/25              Page 73 of 202


Canoo Technologies Inc.                                                                                                                                                                                         Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                                             70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                                         13,575 VEHICLES

                                                                                                              106,292,695          70,096,417
      Asset number                                              Asset Description                             Cost          NBV at Period End         Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                 103673 FANUC R-2000iC 210F with “A” Size R-30iB+Plus Controller –Material Handlin                 50,280              50,280 MACHINERY AND EQUIPMENT                                                                   -
                 103905 Manz Production Line 30% Down Payment                                                     643,565             643,565 MACHINERY AND EQUIPMENT                                                                   -
                 103906 Manz Production Line                                                                    8,423,008           8,423,008 MACHINERY AND EQUIPMENT                                                                   -
                 103907 Manz Production Line for Battery Module 20% Design                                        648,996             648,996 MACHINERY AND EQUIPMENT                                                                   -
                 106496 6130-EX011 MFGENG 1096 (part in ECN 010)Impact of adding new part                          50,561              50,561 MACHINERY AND EQUIPMENT                                                                   -
                 106497 6130-EX012 MFGENG 1154 Change Windshield Panel Brackets                                    28,432              28,432 MACHINERY AND EQUIPMENT                                                                   -
                 107473 IP Lift Assist                                                                              5,871               5,871 MACHINERY AND EQUIPMENT                                                                   -
                 103392 Fanuc R-2000iC 210F with “A” Size R-30iB+Plus Controller 120id/12L PO4943                 651,300             651,300 MACHINERY AND EQUIPMENT                                                                   -
                 103902 Fanuc Arc Mate 120iD                                                                       44,786              44,786 MACHINERY AND EQUIPMENT                                                                   -
                 103949 DJ Product Cart Mover (MN) PO 9555                                                         10,526              10,526 MACHINERY AND EQUIPMENT                                                                   -
                 103968 ECN 6130-EX015 Change ARO weld guns from pneumatic to servo                               102,575             102,575 MACHINERY AND EQUIPMENT                                                                   -
                 103969 Cross Member Stand Alone Cells                                                            442,050             442,050 MACHINERY AND EQUIPMENT                                                                   -
                 103970 Canoo Skateboard, Baffle Apply to Mainline                                                231,895             231,895 MACHINERY AND EQUIPMENT                                                                   -
                 104021 Arrow (MI) Wheel Alignment Equipment PO 10822                                             601,303             601,303 MACHINERY AND EQUIPMENT                                                                   -
                 104037 50% - Vehicle EOL Electrical Test Equipment & Engineering                                  85,950              85,950 MACHINERY AND EQUIPMENT                                                                   -
                 104604 Glazing Cell #1 - Glass cell #1 (QUISS 2d VisionRT.t for existing system)                  28,750              28,750 MACHINERY AND EQUIPMENT                                                                   -
                 104605 Glazing Cell #2 - Glass cell #2 (Dispense equipment + QUISS 2d VisionRT.t for ne          132,750             132,750 MACHINERY AND EQUIPMENT                                                                   -
                 104606 Glazing Cell #3 - Skateboard lid (Dispense equipment + QUISS 2d VisionRT.t for n          132,750             132,750 MACHINERY AND EQUIPMENT                                                                   -
                 104607 Glazing Cell #4 - Skateboard belly pan (Dispense equipment + QUISS 2d VisionRT.t          132,750             132,750 MACHINERY AND EQUIPMENT                                                                   -
                 104608 Glazing Cell #5 - Skateboard to cabin marriage (Dispense equipment + QUISS 2d Vi          132,750             132,750 MACHINERY AND EQUIPMENT                                                                   -
                 104609 QUISS Vision Installation & Commissioning                                                  18,000              18,000 MACHINERY AND EQUIPMENT                                                                   -
                 104610 Standard Atlas Copco Pedestal (Cell #2, #3, & #4)                                          10,500              10,500 MACHINERY AND EQUIPMENT                                                                   -
                 104611 Standard Atlas Copco Robot Mounting (Cell #5)                                               2,130               2,130 MACHINERY AND EQUIPMENT                                                                   -
                 105805 Module Flasher - 50% Design Acceptance                                                    127,988             127,988 MACHINERY AND EQUIPMENT                                                                   -
                 106493 6130-EX003 MFGENG-1026 Laser Weld Accessibility Weld in the Dash Area through wi            8,174               8,174 MACHINERY AND EQUIPMENT                                                                   -
                 106494 6130-EX004 VI-3202 Air Deflector Bracket                                                   34,732              34,732 MACHINERY AND EQUIPMENT                                                                   -
                 106495 6130-EX008 MFGENG 1005 SRS Module Bracket to Mid Floor New Unit for New detail             27,383              27,383 MACHINERY AND EQUIPMENT                                                                   -
                 106498 6130-EX013 MFGENG 647 Floor Brackets Changing Material Sealer AL to Steel + Seal           53,525              53,525 MACHINERY AND EQUIPMENT                                                                   -
                 106499 6130-EX016 MFGENG-1223 Add 2 new Studs to right Hand D Pillar New fixture for St           38,162              38,162 MACHINERY AND EQUIPMENT                                                                   -
                 106501 ECN to SKB Line 6125-EX006 / MFGENG-1192 Relocate Welds on rear CAP / Relocate w            4,997               4,997 MACHINERY AND EQUIPMENT                                                                   -
                 106525 Skateboard Assembly Equipment Mechanical build complete                                 6,495,057           6,495,057 MACHINERY AND EQUIPMENT                                                                   -
                 106526 Skateboard Assembly Equipment - Gamma build complete and Equipment Buyoff at Va         7,878,762           7,878,762 MACHINERY AND EQUIPMENT                                                                   -
                 106531 Skateboard Assembly Equipment - Ship Complete to VDL Nedcar                             2,000,000           2,000,000 MACHINERY AND EQUIPMENT                                                                   -
                 106830 Cab-in-White from kits (15 x $36,499.00)                                                   27,374              27,374 MACHINERY AND EQUIPMENT                                                                   -
                 106831 Install Emhart Studs on Cabin per Canoo Cad (15 x $1,350.00)                               12,150              12,150 MACHINERY AND EQUIPMENT                                                                   -
                 106832 Cab-in-White from kits (15 x $36,499.00)                                                  301,117             301,117 MACHINERY AND EQUIPMENT                                                                   -
                 106833 D0000-0006; Ladder Frame / Skateboard                                                   2,891,410           2,891,410 MACHINERY AND EQUIPMENT                                                                   -
                 106984 D0000-0006 CapEx Spend Ladder Frame / Skateboard                                          989,467             989,467 MACHINERY AND EQUIPMENT                                                                   -
                 107785 CARFIT® eMobee System                                                                     550,500             550,500 MACHINERY AND EQUIPMENT                                                                   -
                 106823 Main Framer 1 Line upgrade – add 2 RTU’s on the outside of the framer with D            1,555,550           1,555,550 MACHINERY AND EQUIPMENT                                                                   -
                 106825 Facility upgrades (power, cribs, etc)                                                     218,767             218,767 MACHINERY AND EQUIPMENT                                                                   -
                 106826 Plant cabin carts, in-process racks, kit carts                                            269,000             269,000 MACHINERY AND EQUIPMENT                                                                   -
                 106847 Shipping to facilitate critical manufacturing activities (required shipment for             8,220               8,220 MACHINERY AND EQUIPMENT                                                                   -
                 106848 Shipping to facilitate critical manufacturing activities (required shipment for             1,780               1,780 MACHINERY AND EQUIPMENT                                                                   -
                 106849 Shipping to facilitate critical manufacturing activities (required shipment for               468                  468 MACHINERY AND EQUIPMENT                                                                  -
                 106850 Shipping to facilitate critical manufacturing activities (required shipment for               199                  199 MACHINERY AND EQUIPMENT                                                                  -
                 107971 Potting Robot-M710                                                                         31,102              31,102 MACHINERY AND EQUIPMENT                                                                   -
                 107879 Used silicone gel dispense equipment manufactured by Endisys                              118,671             118,671 MACHINERY AND EQUIPMENT                                                                   -
                 107972 Material & Travel budget as actuals against invoice                                        30,740              30,740 MACHINERY AND EQUIPMENT                                                                   -
                 107798 (3) Robots Via Auction2011 KUKA KR210L150-2 2000 6-Axis Robot, s/n2011 FANUC M-9           17,490              17,490 MACHINERY AND EQUIPMENT                                                                   -
                 107809 Mainline/CMM relocation through Power On from HP to OKC                                 1,388,994           1,388,994 MACHINERY AND EQUIPMENT                                                                   -
                 107887 Rotisseries Fixture for GA chassis line 1jph                                               36,210              36,210 MACHINERY AND EQUIPMENT                                                                   -

                                                                                                                                                                                                                                   39 of 168
                                                                   Case 25-10099-BLS   Doc 2     Filed 01/18/25              Page 74 of 202


Canoo Technologies Inc.                                                                                                                                                                    Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                        70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                    13,575 VEHICLES

                                                                                          106,292,695          70,096,417
      Asset number                                          Asset Description             Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                 107889 Kuka Robot - KR 420 R3330                                              25,000              25,000 MACHINERY AND EQUIPMENT                                                                  -
                 107890 Kuka Robot - KR 420 R3330                                              25,000              25,000 MACHINERY AND EQUIPMENT                                                                  -
                 107891 Kuka Robot - KR 280 R3080                                              25,000              25,000 MACHINERY AND EQUIPMENT                                                                  -
                 107892 Kuka Robot - KR 280 R3080                                              25,000              25,000 MACHINERY AND EQUIPMENT                                                                  -
                 107893 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107894 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107895 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107896 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107897 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107898 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107899 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107900 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107901 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107902 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107903 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107904 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107905 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107906 Kuka Robot - KR280 R3080                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107907 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107908 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107909 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107910 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107911 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107912 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107913 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107914 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107915 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107916 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107917 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107918 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107919 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107920 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107921 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107922 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107923 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107924 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107925 Kuka Robot - KR360 R2830                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107926 Kuka Robot - KR120 R3100                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107927 Kuka Robot - KR120 R3100                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107928 Kuka Robot - KR120 R3100                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107929 Kuka Robot - KR120 R3100                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107930 Kuka Robot - KR120 R3100                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107931 Kuka Robot - KR120 R3100                                               21,906              21,906 MACHINERY AND EQUIPMENT                                                                  -
                 107933 Durr Adhesive System                                                   12,000              12,000 MACHINERY AND EQUIPMENT                                                                  -
                 107934 Durr Adhesive System                                                   12,000              12,000 MACHINERY AND EQUIPMENT                                                                  -
                 107935 Durr Adhesive System                                                   12,000              12,000 MACHINERY AND EQUIPMENT                                                                  -
                 107936 Durr Adhesive System                                                   12,000              12,000 MACHINERY AND EQUIPMENT                                                                  -
                 107937 Comau Distribution Cabinet - PLC Panel                                 10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107938 Comau Distribution Cabinet - PLC Panel                                 10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107939 Kuka Mounting Accessories                                              10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107940 Kuka Mounting Accessories                                              10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107941 Kuka Track Cabling                                                     10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -

                                                                                                                                                                                                              40 of 168
                                                                    Case 25-10099-BLS   Doc 2     Filed 01/18/25              Page 75 of 202


Canoo Technologies Inc.                                                                                                                                                                     Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                         70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                     13,575 VEHICLES

                                                                                           106,292,695          70,096,417
      Asset number                                           Asset Description             Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                 107942 Kuka Track Cabling                                                      10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107943 Kuka KL4000 7th Axis Track                                               7,700               7,700 MACHINERY AND EQUIPMENT                                                                  -
                 107944 Kuka Track for KR360                                                     7,700               7,700 MACHINERY AND EQUIPMENT                                                                  -
                 107945 Kuka Track                                                              10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107946 Kuka Track                                                              10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107947 Kuka Track                                                              10,000              10,000 MACHINERY AND EQUIPMENT                                                                  -
                 107948 Kuka 7th Axis Track                                                     12,950              12,950 MACHINERY AND EQUIPMENT                                                                  -
                 107949 Kuka 7th Axis Track                                                     12,950              12,950 MACHINERY AND EQUIPMENT                                                                  -
                 107950 Kuka 7th Axis Track for KR210                                           15,000              15,000 MACHINERY AND EQUIPMENT                                                                  -
                 107951 Kuka KJ4000 7th Axis Track for 360                                      20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107952 Kuka KL4000 7th Axis Track                                              22,750              22,750 MACHINERY AND EQUIPMENT                                                                  -
                 107953 Kuka Robot                                                              17,500              17,500 MACHINERY AND EQUIPMENT                                                                  -
                 107954 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107955 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107956 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107957 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107958 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107959 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107960 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107961 Kuka Robot                                                              20,000              20,000 MACHINERY AND EQUIPMENT                                                                  -
                 107962 Kuka Robot                                                              20,300              20,300 MACHINERY AND EQUIPMENT                                                                  -
                 107963 Kuka Robot                                                              20,300              20,300 MACHINERY AND EQUIPMENT                                                                  -
                 107964 Kuka Robot                                                              25,000              25,000 MACHINERY AND EQUIPMENT                                                                  -
                 107965 Kuka Robot                                                              30,000              30,000 MACHINERY AND EQUIPMENT                                                                  -
                 107966 Kuka Robot                                                              30,000              30,000 MACHINERY AND EQUIPMENT                                                                  -
                 107990 General Assembly Line Integration Project                              756,900             756,900 MACHINERY AND EQUIPMENT                                                                  -
                 108185 2020 Yale Electric Forklift                                             10,440              10,440 MACHINERY AND EQUIPMENT                                                                  -
                 108186 2020 Yale Electric Forklift                                             10,440              10,440 MACHINERY AND EQUIPMENT                                                                  -
                 108187 2017 Toyota LPG (Propane) Forklift                                       9,570               9,570 MACHINERY AND EQUIPMENT                                                                  -
                 108188 2017 Toyota Electric Forklift                                            9,280               9,280 MACHINERY AND EQUIPMENT                                                                  -
                 108189 2017 Toyota LPG (Propane) Forklift                                       7,830               7,830 MACHINERY AND EQUIPMENT                                                                  -
                 108190 2018 Toyota Electric Forklift                                            9,280               9,280 MACHINERY AND EQUIPMENT                                                                  -
                 107880 Matrix Material CMM Room                                               355,409             355,409 MACHINERY AND EQUIPMENT                                                                  -
                 108040 Kuka Robot - KR280 R3080                                                17,826              17,826 MACHINERY AND EQUIPMENT                                                                  -
                 108041 Kuka KR C4 Controller                                                   17,826              17,826 MACHINERY AND EQUIPMENT                                                                  -
                 108042 Kuka Robot - KR280 R3080                                                17,826              17,826 MACHINERY AND EQUIPMENT                                                                  -
                 108043 Kuka KR C4 Controller                                                   17,826              17,826 MACHINERY AND EQUIPMENT                                                                  -
                 108044 Durr Ecoram 2000 Pneumatic Barrel Pump                                  24,126              24,126 MACHINERY AND EQUIPMENT                                                                  -
                 108045 Kuka Robot - KR280 R3080                                                16,486              16,486 MACHINERY AND EQUIPMENT                                                                  -
                 108046 Kuka KR C4 Controller                                                   16,486              16,486 MACHINERY AND EQUIPMENT                                                                  -
                 108047 Kuka Robot - KR280 R3080                                                13,805              13,805 MACHINERY AND EQUIPMENT                                                                  -
                 108048 Kuka KR C4 Controller                                                   13,805              13,805 MACHINERY AND EQUIPMENT                                                                  -
                 108049 Kuka Robot - KR280 R3080                                                13,805              13,805 MACHINERY AND EQUIPMENT                                                                  -
                 108050 Kuka KR C4 Controller                                                   13,805              13,805 MACHINERY AND EQUIPMENT                                                                  -
                 108051 Kuka Robot - KR280 R3080                                                12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108052 Kuka KR C4 Controller                                                   12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108053 Kuka Robot - KR280 R3080                                                28,147              28,147 MACHINERY AND EQUIPMENT                                                                  -
                 108054 Kuka KR C4 Controller                                                   28,147              28,147 MACHINERY AND EQUIPMENT                                                                  -
                 108055 Kuka Robot - KR360 R2830                                                20,507              20,507 MACHINERY AND EQUIPMENT                                                                  -
                 108056 Kuka KR C4 Controller                                                   20,507              20,507 MACHINERY AND EQUIPMENT                                                                  -
                 108057 Kuka Robot - KR280 R3080                                                12,197              12,197 MACHINERY AND EQUIPMENT                                                                  -
                 108058 Kuka KR C4 Controller                                                   12,197              12,197 MACHINERY AND EQUIPMENT                                                                  -

                                                                                                                                                                                                               41 of 168
                                                                  Case 25-10099-BLS   Doc 2     Filed 01/18/25              Page 76 of 202


Canoo Technologies Inc.                                                                                                                                                                   Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                       70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                   13,575 VEHICLES

                                                                                         106,292,695          70,096,417
      Asset number                                         Asset Description             Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                 108059 Kuka Robot - KR280 R3080                                              12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108060 Kuka KR C4 Controller                                                 12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108061 Kuka Robot - KR360 R2830                                              21,445              21,445 MACHINERY AND EQUIPMENT                                                                  -
                 108062 Kuka KR C4 Controller                                                 21,445              21,445 MACHINERY AND EQUIPMENT                                                                  -
                 108063 Durr Ecoram 2000 Pneumatic Barrel Pump                                16,352              16,352 MACHINERY AND EQUIPMENT                                                                  -
                 108064 Kuka Robot - KR360 R2830                                              20,239              20,239 MACHINERY AND EQUIPMENT                                                                  -
                 108065 Kuka KR C4 Controller                                                 20,239              20,239 MACHINERY AND EQUIPMENT                                                                  -
                 108066 Kuka Robot - KR280 R3080                                              14,610              14,610 MACHINERY AND EQUIPMENT                                                                  -
                 108067 Kuka KR C4 Controller                                                 14,610              14,610 MACHINERY AND EQUIPMENT                                                                  -
                 108068 Kuka Robot - KR210 R2700-2                                            10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108069 Kuka KR C4 Controller                                                 10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108070 Kuka Robot - KR280 R3080                                              12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108071 Kuka KR C4 Controller                                                 12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108072 Kuka Robot - KR280 R3080                                              12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108073 Kuka KR C4 Controller                                                 12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108074 Kuka Robot - KR280 R3080                                              12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108075 Kuka KR C4 Controller                                                 12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108076 Kuka Robot - KR280 R3080                                              12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108077 Kuka KR C4 Controller                                                 12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108078 Kuka Robot - KR280 R3080                                              13,135              13,135 MACHINERY AND EQUIPMENT                                                                  -
                 108079 Kuka KR C4 Controller                                                 13,135              13,135 MACHINERY AND EQUIPMENT                                                                  -
                 108080 Kuka KL4000 Linear Rail                                               13,135              13,135 MACHINERY AND EQUIPMENT                                                                  -
                 108081 Kuka Robot - KR280 R3080                                              12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108082 Kuka KR C4 Controller                                                 12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108083 Kuka Robot - KR280 R3080                                              11,706              11,706 MACHINERY AND EQUIPMENT                                                                  -
                 108084 Kuka KR C4 Controller                                                 11,706              11,706 MACHINERY AND EQUIPMENT                                                                  -
                 108085 Kuka KL4000 Linear Rail                                               11,706              11,706 MACHINERY AND EQUIPMENT                                                                  -
                 108086 Kuka Robot - KR280 R3080                                              11,706              11,706 MACHINERY AND EQUIPMENT                                                                  -
                 108087 Kuka KR C4 Controller                                                 11,706              11,706 MACHINERY AND EQUIPMENT                                                                  -
                 108088 Kuka KL4000 Linear Rail                                               11,706              11,706 MACHINERY AND EQUIPMENT                                                                  -
                 108089 Kuka Robot - KR280 R3080                                              12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108090 Kuka KR C4 Controller                                                 12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                 108091 Kuka Robot - KR210 R2700-2                                            18,229              18,229 MACHINERY AND EQUIPMENT                                                                  -
                 108092 Kuka KR C4 Controller                                                 18,229              18,229 MACHINERY AND EQUIPMENT                                                                  -
                 108093 Kuka Robot - KR360 R2830                                              32,168              32,168 MACHINERY AND EQUIPMENT                                                                  -
                 108094 Kuka Robot - KR360 R2830                                              16,084              16,084 MACHINERY AND EQUIPMENT                                                                  -
                 108095 Kuka KR C4 Controller                                                 16,084              16,084 MACHINERY AND EQUIPMENT                                                                  -
                 108096 Kuka Robot - KR360 R2830                                              16,218              16,218 MACHINERY AND EQUIPMENT                                                                  -
                 108097 Kuka KR C4 Controller                                                 16,218              16,218 MACHINERY AND EQUIPMENT                                                                  -
                 108098 Kuka Robot - KR360 R2830                                              16,084              16,084 MACHINERY AND EQUIPMENT                                                                  -
                 108099 Kuka KR C4 Controller                                                 16,084              16,084 MACHINERY AND EQUIPMENT                                                                  -
                 108100 Kuka Robot - KR210 R2700-2                                            10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108101 Kuka KR C4 Controller                                                 10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108102 Kuka Robot - KR210 R2700-2                                            10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108103 Kuka KR C4 Controller                                                 10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108104 Kuka Robot - KR210 R2700-2                                            21,713              21,713 MACHINERY AND EQUIPMENT                                                                  -
                 108105 Kuka Robot - KR120 R3100-2                                            21,713              21,713 MACHINERY AND EQUIPMENT                                                                  -
                 108106 Kuka Robot - KR210 R2700-2                                            10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108107 Kuka KR C4 Controller                                                 10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108108 Kuka Robot - KR120 R3100-2                                            10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108109 Kuka KR C4 Controller                                                 10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                 108110 Kuka Robot - KR210 R2700-2                                            10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -

                                                                                                                                                                                                             42 of 168
                                                                    Case 25-10099-BLS         Doc 2     Filed 01/18/25              Page 77 of 202


Canoo Technologies Inc.                                                                                                                                                                           Schedule A/B - Exhibit G
Share folder reference:   1.10.3
Form Reference:           Form 206A/B                                                                               70,082,842 MACHINERY AND EQUIPMENT
                          Schedule A/B Part 8                                                                           13,575 VEHICLES

                                                                                                 106,292,695          70,096,417
      Asset number                                                Asset Description              Cost          NBV at Period End        Asset Category     Life Depreciation Amount   YTD Depreciation   Depreciation Reserve
                   108111 Kuka KR C4 Controller                                                       10,857              10,857 MACHINERY AND EQUIPMENT                                                                  -
                   108112 Kuka KR C4 Controller                                                       10,053              10,053 MACHINERY AND EQUIPMENT                                                                  -
                   108113 Kuka KR C4 Controller                                                        8,310               8,310 MACHINERY AND EQUIPMENT                                                                  -
                   108114 Kuka KR C4 Controller                                                        8,310               8,310 MACHINERY AND EQUIPMENT                                                                  -
                   108115 Kuka KL4000 Linear Rail                                                     34,581              34,581 MACHINERY AND EQUIPMENT                                                                  -
                   108116 Kuka KL4000 Linear Rail                                                     34,581              34,581 MACHINERY AND EQUIPMENT                                                                  -
                   108118 Kuka Robot - KR280 R3080                                                    12,465              12,465 MACHINERY AND EQUIPMENT                                                                  -
                   108119 Kuka KR C4 Controller                                                       12,465              12,465 MACHINERY AND EQUIPMENT                                                                  -
                   108120 Kuka Robot - KR280 R3080                                                    12,733              12,733 MACHINERY AND EQUIPMENT                                                                  -
                   108121 Kuka KR C4 Controller                                                       12,733              12,733 MACHINERY AND EQUIPMENT                                                                  -
                   108122 Kuka Robot - KR280 R3080                                                    13,805              13,805 MACHINERY AND EQUIPMENT                                                                  -
                   108123 Kuka KR C4 Controller                                                       13,805              13,805 MACHINERY AND EQUIPMENT                                                                  -
                   108124 Kuka Robot - KR280 R3080                                                    16,486              16,486 MACHINERY AND EQUIPMENT                                                                  -
                   108125 Kuka KR C4 Controller                                                       16,486              16,486 MACHINERY AND EQUIPMENT                                                                  -
                   108126 Kuka Robot - KR280 R3080                                                    12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                   108127 Kuka KR C4 Controller                                                       12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                   108128 Kuka Robot - KR280 R3080                                                    12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                   108129 Kuka KR C4 Controller                                                       12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                   108130 Kuka Robot - KR280 R3080                                                    12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                   108131 Kuka KR C4 Controller                                                       12,063              12,063 MACHINERY AND EQUIPMENT                                                                  -
                   108132 Kuka Robot - KR280 R3080                                                    16,754              16,754 MACHINERY AND EQUIPMENT                                                                  -
                   108133 Kuka KR C4 Controller                                                       16,754              16,754 MACHINERY AND EQUIPMENT                                                                  -
                   108134 Atlas Copco PRK56-57/P16-10005LA Twin Barrel Pump with Controller           73,718              73,718 MACHINERY AND EQUIPMENT                                                                  -
                   108135 Atlas Copco PRK56-57/P16-10005LA Twin Barrel Pump with Controller           73,718              73,718 MACHINERY AND EQUIPMENT                                                                  -
                   108136 Atlas Copco PRK56-57/P16-10005LA Twin Barrel Pump with Controller           68,357              68,357 MACHINERY AND EQUIPMENT                                                                  -
                   108137 Atlas Copco PRK56-57/P16-10005LA Twin Barrel Pump with Controller           68,357              68,357 MACHINERY AND EQUIPMENT                                                                  -
                   108138 Finkbeiner FHB3500-DC01 Two Post Vehicle Lift                                9,516               9,516 MACHINERY AND EQUIPMENT                                                                  -
                   108139 Finkbeiner FHB3500-DC01 Two Post Vehicle Lift                               10,321              10,321 MACHINERY AND EQUIPMENT                                                                  -
                   108140 BEP Drive-on Rolling Road Brake Test and Headlight Test Machine            121,970             121,970 MACHINERY AND EQUIPMENT                                                                  -
                   108141 Stratasys F370 3D Printer                                                   40,147              40,147 MACHINERY AND EQUIPMENT                                                                  -
                   108142 Stratasys NEO800 3D Printer                                                133,822             133,822 MACHINERY AND EQUIPMENT                                                                  -
                   108145 Zund G3 2XL-3200 Digital Cutting System                                    190,027             190,027 MACHINERY AND EQUIPMENT                                                                  -
                   108146 Master Mover AT1200 Tow Electric Tug                                        26,764              26,764 MACHINERY AND EQUIPMENT                                                                  -
                   108147 Master Mover AT1200 Tow Electric Tug                                        26,764              26,764 MACHINERY AND EQUIPMENT                                                                  -
                   108148 Master Mover AT1200 Tow Electric Tug                                        26,764              26,764 MACHINERY AND EQUIPMENT                                                                  -
                   108149 Master Mover AT1200 Tow Electric Tug                                        26,764              26,764 MACHINERY AND EQUIPMENT                                                                  -
                   108150 Atlas Copco Powerfocus 8 Virtual Station Controller                         14,453              14,453 MACHINERY AND EQUIPMENT                                                                  -
                   108151 Atlas Copco Powerfocus 8 Virtual Station Controller                         14,453              14,453 MACHINERY AND EQUIPMENT                                                                  -
                   108152 Atlas Copco Powerfocus 8 Virtual Station Controller                         14,453              14,453 MACHINERY AND EQUIPMENT                                                                  -
                   108157 ABB Electric Vehicle Charging Station                                       13,917              13,917 MACHINERY AND EQUIPMENT                                                                  -
                   108158 Tritium Electric Vehicle Charging Station                                   16,326              16,326 MACHINERY AND EQUIPMENT                                                                  -
                   107753 FANUC R-2000iC 210F with “A” Size R-30iB+Plus Controller                   171,150             171,150 MACHINERY AND EQUIPMENT                                                                  -
                   107805 30% Down Payment - Battery Module Adhesive dispenser                        60,300              60,300 MACHINERY AND EQUIPMENT                                                                  -
                   107843 Safety Flip Posts for Roll Test Machine                                     35,488              35,488 MACHINERY AND EQUIPMENT                                                                  -
                   108017 Torque Controllers                                                          22,008              22,008 MACHINERY AND EQUIPMENT                                                                  -
                   108161 Quincy QGV-50 Rotary Screw Air Compressor                                   12,818              12,818 MACHINERY AND EQUIPMENT                                                                  -
                   108191 Level 3 Charger DC Wallbox                                                   7,943               7,943 MACHINERY AND EQUIPMENT                                                                  -
                   108192 Level 3 Charger DC Wallbox                                                   7,943               7,943 MACHINERY AND EQUIPMENT                                                                  -
NOT in Asset Register     Manz AG-Inv:90061574                                                     3,986,019           3,986,019 MACHINERY AND EQUIPMENT                                                                  -
NOT in Asset Register     Manz USA, Inc.-Inv:3813-PO:3807-80004958 "Quote 04242020-L3                  2,240               2,240 MACHINERY AND EQUIPMENT                                                                  -




                                                                                                                                                                                                                     43 of 168
                                             Case 25-10099-BLS                   Doc 2      Filed 01/18/25      Page 78 of 202


Canoo Technologies Inc.                                                                                                                              Schedule A/B - Exhibit H
Share folder reference:                                   1.10.13
Form Reference:                                           Form 206A/B
                                                          Schedule A/B Part 10
                                                          Patents

Patent Application Title                                  Country                        Status    Filed Date    Application Number   Grant Date   Patent No.
MITIGATION OF VEHICLE VIBRATIONS INDUCED BY DRIVE-LINE    United States of America       Pending   2023-12-21    18/393,395
OSCILLATIONS
HEAT GENERATION FOR THE PURPOSE OF WARMING UP AN EV       United States of America       Pending   2023-12-21    18/393,413
BATTERY IN COLD WEATHER
ELECTRO -MAGNETIC SHIELD TO PREVENT BEARING AND/OR        United States of America       Pending   2023-12-28    18/399,108
GEARBOX DAMAGE DUE TO SHAFT INDUCED VOLTAGE IN ELECTRIC
MOTORS
AUXILIARY POWER UNIT (APU) FOR ELECTRIC VEHICLES (EVS)    United States of America       Pending   2023-09-29    18/478,254
MULTIFUEL ADAPTABLE SERIES HYBRID VEHICLE                 United States of America       Pending   2024-03-21    18/612,845
ELECTRIC MOTOR ROTOR/STATOR AIR GAP CONTROL VIA HOUSING   United States of America       Pending   2024-03-26    18/617,346
SUPPORTS WITH INTEGRATED COOLING CHANNELS
VENTING FOR UNIT CONTAINING ROTATING COMPONENTS AND       United States of America       Pending   2024-05-30    18/679,322
FLUID
THERMAL CHAMBER FOR ELECTRIC DRIVE UNIT TESTING           United States of America       Pending   2024-05-30    18/679,337
METHOD OF STRUCTURAL BATTERY COOLING PLATE DESIGN FOR     United States of America       Pending   2024-06-10    18/739,048
ELECTRIC OR HYBRID VEHICLE OR ELECTRICAL ENERGY STORAGE
SYSTEM APPLICATION
VEHICLE INTERCHANGEABLE CARTRIDGE                         United States of America       Pending   2024-08-15    18/806,278
REAL TIME LIFE-TIME MONITORING IN ELECTRIC VEHICLE        United States of America       Pending   2024-10-23    18/924,548
POWERTRAINS
PROXIMITY DETECTION FOR AUTOMOTIVE VEHICLES AND OTHER     United States of America       Pending   2024-11-04    18/936,516
SYSTEMS BASED ON PROBABILISTIC COMPUTING TECHNIQUES
BUMPER ENDS                                               United States of America       Pending   2022-05-25    29/864,396
LADDER/RAMP                                               United States of America       Pending   2022-05-25    29/864,402
IN-VEHICLE ACCESSORY ATTACHMENT CLIP                      United States of America       Pending   2022-05-27    29/864,445
ROOF RACK                                                 United States of America       Pending   2023-08-11    29/909,905
VEHICLE HEADLAMP                                          United States of America       Pending   2023-09-22    29/912,759
BODY DESIGN FOR ADAPTABLE VEHICLE                         United States of America       Pending   2024-05-30    29/944,944
FRONT OF ADAPTABLE VEHICLE                                United States of America       Pending   2024-05-30    29/944,945
EMERGENCY PLATFORM ON ADAPTABLE VEHICLE BODY              United States of America       Pending   2024-05-30    29/944,947
MULTI-TEMPERATURE ZONE GROCERY DELIVERY BIN               United States of America       Pending   2024-02-11    63/552,172
MULTI-TEMPERATURE ZONE GROCERY DELIVERY BIN               United States of America       Pending   2024-02-12    63/552,627
“ETOTE” MULTI-TEMPERATURE ZONE GROCERY DELIVERY BIN       United States of America       Pending   2024-03-11    63/563,852
VEHICLE INTERCHANGEABLE CARTRIDGE                         United States of America       Pending   2023-12-18    63/611,650
HORIZONTALLY INFLATING PASSENGER FRONT AIR BAG SYSTEM     United States of America       Pending   2024-01-09    63/619,009
HORIZONTALLY INFLATING PASSENGER FRONT AIR BAG SYSTEM     United States of America       Pending   2024-04-19    63/636,404
AUXILIARY POWER UNIT (APU) FOR ELECTRIC VEHICLES (EVS)    Patent Cooperation Treaty      Pending   2024-09-27    PCT/US2024/048941
ELECTRIC VEHICLE PLATFORM                                 Canada                         Granted   2020-05-20    3,141,572            2024-02-27   3,141,572

                                                                                                                                                                       44 of 168
                                               Case 25-10099-BLS                 Doc 2      Filed 01/18/25      Page 79 of 202


Canoo Technologies Inc.                                                                                                                              Schedule A/B - Exhibit H
Share folder reference:                                   1.10.13
Form Reference:                                           Form 206A/B
                                                          Schedule A/B Part 10
                                                          Patents

Patent Application Title                                  Country                        Status    Filed Date    Application Number   Grant Date   Patent No.
SUSPENSION SYSTEM                                         Canada                         Granted   2020-09-09    3,153,952            2024-10-22   3,153,952
VEHICLE SEATING SYSTEMS                                   Canada                         Granted   2020-09-21    3,163,499            2024-11-05   3,163,499
FRONT TRUNK COVER WITH SLIDE OUT TABLE FOR ELECTRIC       United Kingdom                 Granted   2021-09-10    6160798              2021-09-10   6160798
VEHICLE
SLIDE OUT BED FLOOR WITH INTEGRATED BRAKE LIGHTS FOR      United Kingdom                 Granted   2021-09-10    6160799              2021-09-10   6160799
ELECTRIC VEHICLE
POP-OUT SIDE STEP STORAGE FOR AN ELECTRIC VEHICLE         United Kingdom                 Granted   2021-09-10    6160800              2021-09-10   6160800
MULTI-FOLD BED SIDERAIL WORK TABLE FOR ELECTRIC VEHICLE   United Kingdom                 Granted   2021-09-10    6160801              2021-09-10   6160801
BUMPER ENDS                                               United Kingdom                 Granted   2022-11-23    6245332              2022-11-23   GB6245332
LADDER/RAMP                                               United Kingdom                 Granted   2022-11-23    6245333              2022-11-23   6245333
BUMPER ENDS                                               European Union                 Granted   2022-11-23    015004063            2022-11-23   015004063
ELECTRIC VEHICLE PLATFORM                                 Taiwan                         Granted   2020-05-20    109116751            2024-10-11   I858064
VEHICLE                                                   China                          Granted   2020-03-20    202030096137.8       2020-11-24   CN306188927S
VEHICLE                                                   China                          Granted   2020-03-20    202030096139.7       2020-10-16   CN306104885S
VEHICLE LAMP                                              China                          Granted   2020-03-20    202030097096.4       2020-09-08   CN306042827S
VEHICLE LAMP                                              China                          Granted   2020-03-20    202030097097.9       2020-09-08   CN306042828S
METHOD AND SYSTEM FOR THERMAL MANAGEMENT OF BATTERY       China                          Granted   2020-01-07    202080008350.6       2024-08-23   ZL202080008350.6
PACK
IMPACT FEATURES                                           China                          Granted   2020-07-02    202080052476.3       2024-06-04   ZL202080052476.3
VEHICLE SEATING SYSTEMS                                   China                          Granted   2020-09-21    202080080584.1       2024-08-27   ZL202080080584.1
SLIDE OUT BED FLOOR WITH INTEGRATED BRAKE LIGHTS FOR      China                          Granted   2021-09-10    202130598174.3       2024-06-28   ZL202130598174.3
ELECTRIC VEHICLE
POP-OUT SIDE STEP STORAGE FOR AN ELECTRIC VEHICLE         China                          Granted   2021-09-10    202130598178.1       2024-04-02   ZL202130598178.1
MULTI-FOLD BED SIDERAIL WORK TABLE FOR ELECTRIC VEHICLE   China                          Granted   2021-09-10    202130598197.4       2024-04-16   ZL202130598197.4
BUMPER ENDS                                               China                          Granted   2022-11-25    202230788327.5       2024-03-29   ZL202230788327.5
TRANSFORMABLE LADDER                                      China                          Granted   2022-11-25    202230789159.1       2023-05-16   ZL202230789159.1
VEHICLE                                                   United Kingdom                 Granted   2020-03-20    90077620590001       2020-03-20   90077620590001
VEHICLE                                                   United Kingdom                 Granted   2020-03-20    90077620590002       2020-03-20   90077620590002
VEHICLE                                                   United Kingdom                 Granted   2020-03-20    90077620590003       2020-03-20   90077620590003
VEHICLE                                                   United Kingdom                 Granted   2020-03-20    90077620590004       2020-03-20   90077620590004
VEHICLE                                                   United Kingdom                 Granted   2020-03-20    90077620590005       2020-03-20   90077620590005
VEHICLE                                                   European Union                 Granted   2020-03-20    007762059-0001       2020-03-20   007762059-0001
VEHICLE                                                   European Union                 Granted   2020-03-20    007762059-0002       2020-03-20   007762059-0002
VEHICLE                                                   European Union                 Granted   2020-03-20    007762059-0003       2020-03-20   007762059-0003
VEHICLE                                                   European Union                 Granted   2020-03-20    007762059-0004       2020-03-20   007762059-0004
VEHICLE                                                   European Union                 Granted   2020-03-20    007762059-0005       2020-03-20   007762059-0005
FRONT TRUNK COVER WITH SLIDE OUT TABLE FOR ELECTRIC       European Union                 Granted   2021-09-10    008678858-0001       2021-09-10   008678858-0001
VEHICLE

                                                                                                                                                                       45 of 168
                                                Case 25-10099-BLS                  Doc 2      Filed 01/18/25      Page 80 of 202


Canoo Technologies Inc.                                                                                                                                Schedule A/B - Exhibit H
Share folder reference:                                     1.10.13
Form Reference:                                             Form 206A/B
                                                            Schedule A/B Part 10
                                                            Patents

Patent Application Title                                  Country                          Status    Filed Date    Application Number   Grant Date   Patent No.
SLIDE OUT BED FLOOR WITH INTEGRATED BRAKE LIGHTS FOR      European Union                   Granted   2021-09-10    008678858-0002       2021-09-10   008678858-0002
ELECTRIC VEHICLE
POP-OUT SIDE STEP STORAGE FOR AN ELECTRIC VEHICLE         European Union                   Granted   2021-09-10    008678858-0003       2021-09-10   008678858-0003
MULTI-FOLD BED SIDERAIL WORK TABLE FOR ELECTRIC VEHICLE   European Union                   Granted   2021-09-10    008678858-0004       2021-09-10   008678858-0004
LADDER/RAMP                                               European Union                   Granted   2022-11-23    015004064-0001       2022-11-23   015004064-0001
METHODS AND SYSTEMS FOR BATTERY PACK THERMAL              United States of America         Granted   2020-01-07    16/736,698           2021-01-05   10,886,512
MANAGEMENT
ELECTRIC VEHICLE PLATFORM                                 United States of America         Granted   2020-05-20    16/879,235           2023-12-05   11,833,895
IMPACT FEATURES                                           United States of America         Granted   2020-07-02    16/920,375           2022-05-03   11,318,995
SUSPENSION SYSTEM                                         United States of America         Granted   2020-09-09    17/016,299           2023-04-04   11,618,292
VEHICLE SEATING SYSTEMS                                   United States of America         Granted   2020-09-21    17/027,600           2023-03-21   11,607,977
ELECTRIC VEHICLE BATTERY ENCLOSURE                        United States of America         Granted   2020-09-21    17/027,626           2022-02-15   11,251,494
FRACTIONAL SLOT ELECTRIC MOTORS WITH COIL ELEMENTS HAVING United States of America         Granted   2020-09-23    17/029,906           2021-07-13   11,063,489
RECTANGULAR CROSS-SECTIONS
METHODS AND SYSTEMS FOR BATTERY PACK THERMAL              United States of America         Granted   2020-11-23    17/102,195           2023-08-29   11,742,540
MANAGEMENT
ELECTRIC VEHICLE PLATFORM                                 United States of America         Granted   2021-01-06    17/142,889           2021-11-02   11,161,402
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2021-03-12    17/200,033           2021-07-06   11,052,940
IN VEHICLES
MULTIPLE-DISCHARGE RAIN MANIFOLD FOR ELECTRIC MOTOR       United States of America         Granted   2021-06-30    17/305,142           2023-12-12   11,843,305
COOLING AND RELATED SYSTEM AND METHOD
SYSTEM AND METHOD IN THE PREDICTION OF TARGET VEHICLE     United States of America         Granted   2021-07-13    17/305,701           2024-02-20   11,908,200
BEHAVIOR BASED ON IMAGE FRAME AND NORMALIZATION
SYSTEM AND METHOD IN DATA-DRIVEN VEHICLE DYNAMIC          United States of America         Granted   2021-07-13    17/305,702           2023-12-12   11,840,147
MODELING FOR PATH-PLANNING AND CONTROL
SYSTEM AND METHODS OF INTEGRATING VEHICLE KINEMATICS AND United States of America          Granted   2021-07-13    17/305,703           2024-02-06   11,891,059
DYNAMICS FOR LATERAL CONTROL FEATURE AT AUTONOMOUS
DRIVING
SYSTEM AND METHOD IN VEHICLE PATH PREDICTION BASED ON     United States of America         Granted   2021-07-13    17/305,704           2024-06-25   12,017,661
FULL NONLINEAR KINEMATICS
SYSTEM AND METHOD IN LANE DEPARTURE WARNING WITH FULL     United States of America         Granted   2021-07-13    17/305,705           2024-02-06   11,891,060
NONLINEAR KINEMATICS AND CURVATURE
SYSTEM AND METHOD FOR LANE DEPARTURE WARNING WITH EGO United States of America             Granted   2021-07-13    17/305,706           2023-12-19   11,845,428
MOTION AND VISION
FRACTIONAL SLOT ELECTRIC MOTORS WITH COIL ELEMENTS HAVING United States of America         Granted   2021-05-28    17/334,355           2023-05-09   11,646,623
RECTANGULAR CROSS-SECTIONS
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2021-06-02    17/336,513           2023-08-29   11,738,800
IN VEHICLES

                                                                                                                                                                         46 of 168
                                                Case 25-10099-BLS                  Doc 2      Filed 01/18/25      Page 81 of 202


Canoo Technologies Inc.                                                                                                                                Schedule A/B - Exhibit H
Share folder reference:                                     1.10.13
Form Reference:                                             Form 206A/B
                                                            Schedule A/B Part 10
                                                            Patents

Patent Application Title                                  Country                          Status    Filed Date    Application Number   Grant Date   Patent No.
PROXIMITY DETECTION FOR AUTOMOTIVE VEHICLES AND OTHER     United States of America         Granted   2021-07-02    17/366,866           2024-11-05   12,135,556
SYSTEMS BASED ON PROBABILISTIC COMPUTING TECHNIQUES
TRANSMISSION LOCK FOR ELECTRIC VEHICLE                    United States of America         Granted   2021-08-10    17/398,752           2023-12-12   11,841,081
MANUFACTURING PROCESS FOR ELECTRIC VEHICLE PLATFORM       United States of America         Granted   2021-08-18    17/405,908           2023-10-03   11,772,725
SAFARI GLASS                                              United States of America         Granted   2021-09-22    17/448,497           2023-09-19   11,760,173
PREDICTION OF TARGET OBJECT'S BEHAVIOR BASED ON WORLD     United States of America         Granted   2021-09-29    17/449,409           2023-12-19   11,845,439
AND IMAGE FRAMES
AUTONOMOUS LATERAL CONTROL OF VEHICLE USING DIRECT YAW United States of America            Granted   2021-09-29    17/449,413           2023-12-19   11,845,465
MOMENT CONTROL
PATH TRACKING CONTROL FOR SELF-DRIVING OF VEHICLE WITH    United States of America         Granted   2021-09-29    17/449,419           2023-12-19   11,845,422
YAW MOMENT DISTRIBUTION
EMERGENCY MOTION CONTROL FOR VEHICLE USING STEERING AND United States of America           Granted   2021-09-29    17/449,426           2023-10-31   11,801,866
TORQUE VECTORING
MULTIPLE-DISCHARGE RAIN MANIFOLD FOR ELECTRIC MOTOR       United States of America         Granted   2021-09-30    17/491,154           2022-05-03   11,323,006
COOLING AND RELATED SYSTEM AND METHOD
ELECTRIC VEHICLE PLATFORM                                 United States of America         Granted   2021-09-30    17/491,217           2022-04-05   11,292,326
IMPACT FEATURES                                           United States of America         Granted   2021-12-30    17/646,656           2024-12-17   12,168,475
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2022-02-10    17/650,613           2022-10-25   11,479,293
IN VEHICLES
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2022-02-10    17/650,614           2022-11-08   11,492,039
IN VEHICLES
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2022-02-10    17/650,616           2022-11-08   11,492,040
IN VEHICLES
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2022-02-10    17/650,618           2022-10-11   11,465,675
IN VEHICLES
ELECTRIC VEHICLE PLATFORM                                 United States of America         Granted   2022-02-15    17/651,221           2024-10-01   12,103,375
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2022-03-23    17/656,178           2023-11-14   11,814,117
IN VEHICLES
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF United States of America            Granted   2022-03-23    17/656,179           2023-12-05   11,834,110
IN VEHICLES
MULTI-PLATFORM RECONFIGURABLE ELECTRIC VEHICLE            United States of America         Granted   2022-03-09    17/691,036           2024-07-09   12,030,558
RECONFIGURABLE VEHICLE BUMPER ENDS                        United States of America         Granted   2022-05-25    17/804,034           2024-10-08   12,109,962
FISHEYE COLLAGE TRANSFORMATION FOR ROAD OBJECT            United States of America         Granted   2022-06-16    17/807,315           2024-02-13   11,900,687
DETECTION OR OTHER OBJECT DETECTION
VEHICLE SEATING SYSTEMS                                   United States of America         Granted   2022-11-03    18/052,460           2023-08-29   11,738,670
FRACTIONAL SLOT ELECTRIC MOTORS WITH COIL ELEMENTS HAVING United States of America         Granted   2023-05-05    18/312,885           2024-04-23   11,967,873
RECTANGULAR CROSS-SECTIONS
VEHICLE                                                   Japan                            Granted   2020-03-20    2020-005512          2020-08-26   1668168

                                                                                                                                                                         47 of 168
                                               Case 25-10099-BLS                 Doc 2      Filed 01/18/25      Page 82 of 202


Canoo Technologies Inc.                                                                                                                              Schedule A/B - Exhibit H
Share folder reference:                                   1.10.13
Form Reference:                                           Form 206A/B
                                                          Schedule A/B Part 10
                                                          Patents

Patent Application Title                                  Country                        Status    Filed Date    Application Number   Grant Date   Patent No.
VEHICLE                                                   Japan                          Granted   2020-03-20    2020-005513          2020-08-26   1668169
THERMAL MANAGEMENT SYSTEMS FOR ELECTRIC VEHICLE           China                          Granted   2020-09-18    202080079746.X       2024-08-27   ZL202080079746.X
PLATFORMS
FRUNK COVER WITH SLIDE OUT TABLE FOR ELECTRIC VEHICLE     Japan                          Granted   2021-09-10    2021-019551          2022-10-21   1728658
SLIDE OUT BED FLOOR WITH INTEGRATED BRAKE LIGHTS FOR      Japan                          Granted   2021-09-10    2021-019552          2022-04-04   1712328
ELECTRIC VEHICLE
POP-OUT SIDE STEP STORAGE FOR AN ELECTRIC VEHICLE         Japan                          Granted   2021-09-10    2021-019555          2022-04-04   1712329
MULTI-FOLD BED SIDERAIL WORK TABLE FOR ELECTRIC VEHICLE   Japan                          Granted   2021-09-10    2021-019556          2022-04-04   1712330
FRUNK COVER WITH SLIDE OUT TABLE FOR ELECTRIC VEHICLE     China                          Granted   2021-09-10    202130598213.X       2024-09-10   ZL202130598213.X
ELECTRIC VEHICLE PLATFORM                                 Japan                          Granted   2020-05-20    2021-568853          2023-07-18   7315719
IMPACT FEATURES                                           Japan                          Granted   2020-07-02    2021-577866          2023-08-23   7336544
LADDER/RAMP                                               Japan                          Granted   2022-11-08    2022-024157          2023-03-17   1740174
BUMPER ENDS                                               Japan                          Granted   2022-11-21    2022-025107          2023-02-28   1738575
DISPLAY SCREEN WITH GRAPHICAL USER INTERFACE              United States of America       Granted   2019-07-30    29/700,008           2022-08-09   D960,172
VEHICLE TAILLAMP                                          United States of America       Granted   2019-09-16    29/705,906           2024-03-12   D101,7849
IN-VEHICLE ACCESSORY ATTACHMENT BOARD                     United States of America       Granted   2019-09-20    29/706,598           2022-02-22   D944,167
VEHICLE BODY                                              United States of America       Granted   2019-09-20    29/706,601           2022-01-18   D941,203
IN-VEHICLE ACCESSORY ATTACHMENT CLIP                      United States of America       Granted   2019-09-20    29/706,602           2023-11-07   D100,3807
VEHICLE FRONT SEAT                                        United States of America       Granted   2019-09-20    29/706,603           2022-09-20   D964,056
DISPLAY PANEL FOR A VEHICLE CONSOLE                       United States of America       Granted   2019-09-20    29/706,604           2022-01-04   D940,047
VEHICLE REAR SEAT                                         United States of America       Granted   2019-09-20    29/706,605           2022-09-13   D963,366
VEHICLE BODY                                              United States of America       Granted   2019-09-24    29/742,026           2022-01-18   D941,184
VEHICLE AIR VENT                                          United States of America       Granted   2019-09-24    29/742,027           2023-04-04   D982,731
WHEEL COVER                                               United States of America       Granted   2020-08-14    29/746,627           2022-07-19   D958,038
VEHICLE BODY                                              United States of America       Granted   2020-08-14    29/746,628           2022-01-25   D941,706
VEHCILE HEADLAMP                                          United States of America       Granted   2020-08-14    29/746,630           2024-01-23   D101,2332
SLIDE OUT BED FLOOR WITH INTEGRATED BRAKE LIGHTS FOR      United States of America       Granted   2021-03-10    29/773,632           2024-01-02   D1,009,759
ELECTRIC VEHICLE
POP-OUT SIDE STEP STORAGE FOR AN ELECTRIC VEHICLE         United States of America       Granted   2021-03-10    29/773,633           2023-01-10   D974,985
MULTI-FOLD BED SIDERAIL WORK TABLE FOR ELECTRIC VEHICLE   United States of America       Granted   2021-03-10    29/773,634           2022-12-20   D973,000
CHARGER                                                   United States of America       Granted   2021-06-17    29/788,529           2024-01-02   D1,00,9780
CAMPER WITH SOLAR PANELS                                  United States of America       Granted   2021-06-17    29/788,530           2023-06-20   D989,689
REAR BUMPER                                               United States of America       Granted   2021-06-17    29/788,531           2024-02-27   D101,5963
FRONT BUMPER                                              United States of America       Granted   2021-06-17    29/788,532           2023-02-14   D978,035
FRUNK COVER OR GATE                                       United States of America       Granted   2021-06-17    29/788,533           2023-02-07   D977,392
SIDE PEG BOARDS                                           United States of America       Granted   2021-06-17    29/788,534           2023-02-14   D978,043
FRONT BUMPER SKID PLATE                                   United States of America       Granted   2021-06-17    29/788,535           2023-02-07   D977,382
ROOF RACK                                                 United States of America       Granted   2021-06-17    29/788,536           2023-09-19   D999,143

                                                                                                                                                                       48 of 168
                                               Case 25-10099-BLS                 Doc 2      Filed 01/18/25      Page 83 of 202


Canoo Technologies Inc.                                                                                                                                 Schedule A/B - Exhibit H
Share folder reference:                                   1.10.13
Form Reference:                                           Form 206A/B
                                                          Schedule A/B Part 10
                                                          Patents

Patent Application Title                                  Country                        Status    Filed Date    Application Number      Grant Date   Patent No.
CHARGING DEVICE                                           United States of America       Granted   2021-11-15    29/790,259              2023-09-26   D999,725
CHARGING DEVICE                                           United States of America       Granted   2021-11-15    29/790,260              2023-10-10   D1,001,063
VEHICLE REAR SEAT                                         United States of America       Granted   2022-02-11    29/791,842              2023-03-07   D979,964
VEHICLE REAR SEAT                                         United States of America       Granted   2022-02-11    29/791,844              2023-03-21   D981,122
VEHICLE REAR SEAT                                         United States of America       Granted   2022-02-11    29/791,845              2022-09-20   D964,061
VEHICLE FRONT SEAT                                        United States of America       Granted   2022-02-21    29/791,945              2022-11-22   D970,238
VEHICLE FRONT SEAT                                        United States of America       Granted   2022-02-21    29/791,946              2022-11-15   D969,507
VEHICLE FRONT SEAT                                        United States of America       Granted   2022-02-21    29/791,947              2022-11-01   D968,111
DISPLAY SCREEN WITH GRAPHICAL USER INTERFACE              United States of America       Granted   2022-03-02    29/792,077              2022-11-01   D968,433
VEHICLE HEADLAMP                                          United States of America       Granted   2021-07-28    29/801,415              2022-07-19   D957,989
VEHICLE                                                   United States of America       Granted   2021-08-18    29/804,202              2022-05-31   D953,204
VEHICLE LIFTGATE                                          United States of America       Granted   2021-08-18    29/804,203              2022-03-29   D947,072
SET OF VEHICLE WINDOWS                                    United States of America       Granted   2021-08-18    29/804,204              2022-09-06   D962,837
VEHICLE GLASS                                             United States of America       Granted   2021-08-19    29/804,294              2022-08-16   D960,811
VEHICLE GLASS                                             United States of America       Granted   2021-08-19    29/804,295              2022-08-09   D960,072
VEHICLE FRONT GLASS                                       United States of America       Granted   2021-08-19    29/804,296              2022-10-25   D967,746
VEHICLE FRONT GLASS                                       United States of America       Granted   2021-08-19    29/804,297              2022-06-14   D954,600
VEHICLE HEADLAMP                                          United States of America       Granted   2022-03-25    29/832,276              2023-02-28   D979,815
VEHICLE                                                   Korea, Republic of (KR)        Granted   2020-03-20    30-2020-0012545(M001)   2021-05-13   XX-XXXXXXX-0001
VEHICLE                                                   Korea, Republic of (KR)        Granted   2020-03-20    30-2020-0012545(M002)   2021-05-13   30-11099140-002
VEHICLE                                                   Korea, Republic of (KR)        Granted   2020-03-20    30-2020-0012545(M003)   2021-05-13   30-11099140-003
FRUNK COVER WITH SLIDE OUT TABLE FOR ELECTRIC VEHICLE     Korea, Republic of (KR)        Granted   2021-09-10    30-2021-0043375         2023-10-30   XX-XXXXXXX
SLIDE OUT BED FLOOR WITH INTEGRATED BRAKE LIGHTS FOR      Korea, Republic of (KR)        Granted   2021-09-10    30-2021-0043377         2023-10-30   XX-XXXXXXX
ELECTRIC VEHICLE
POP-OUT SIDE STEP STORAGE FOR AN ELECTRIC VEHICLE         Korea, Republic of (KR)        Granted   2021-09-10    30-2021-0043379         2023-10-30   XX-XXXXXXX
MULTI-FOLD BED SIDERAIL WORK TABLE FOR ELECTRIC VEHICLE   Korea, Republic of (KR)        Granted   2021-09-10    30-2021-0043384         2023-10-30   XX-XXXXXXX
BUMPER ENDS                                               Korea, Republic of (KR)        Granted   2022-11-22    30-2022-0048479         2024-05-16   XX-XXXXXXX
LADDER/RAMP                                               Korea, Republic of (KR)        Granted   2022-11-22    30-2022-0048482         2023-10-30   XX-XXXXXXX
VEHICLE CONTROL SYSTEMS                                   Canada                         Pending   2020-09-21    3,163,501
ELECTRIC VEHICLE BATTERY ENCLOSURE                        Canada                         Pending   2020-09-21    3,163,502
VEHICLE EXTERNAL FEATURES                                 Canada                         Pending   2020-09-21    3,172,115
ELECTRIC VEHICLE PLATFORM                                 Canada                         Pending   2020-05-20    3,226,038
METHODS AND SYSTEMS FOR BATTERY PACK THERMAL              European Patent                Pending   2020-01-07    20738591.5
MANAGEMENT
ELECTRIC VEHICLE PLATFORM                                 European Patent                Pending   2020-05-20    20809867.3
SUSPENSION SYSTEM                                         European Patent                Pending   2020-09-09    20863787.6
VEHICLE SEATING SYSTEMS                                   European Patent                Pending   2020-09-21    20864821.2


                                                                                                                                                                          49 of 168
                                                Case 25-10099-BLS                  Doc 2      Filed 01/18/25      Page 84 of 202


Canoo Technologies Inc.                                                                                                                                Schedule A/B - Exhibit H
Share folder reference:                                     1.10.13
Form Reference:                                             Form 206A/B
                                                            Schedule A/B Part 10
                                                            Patents

Patent Application Title                                  Country                          Status    Filed Date    Application Number   Grant Date   Patent No.
THERMAL MANAGEMENT SYSTEMS FOR ELECTRIC VEHICLE           European Patent                  Pending   2020-09-18    20865142.2
PLATFORMS
ELECTRIC VEHICLE BATTERY ENCLOSURE                        European Patent                  Pending   2020-09-21    20865403.8
VEHICLE EXTERNAL FEATURES                                 European Patent                  Pending   2020-09-21    20866178.5
VEHICLE CONTROL SYSTEMS                                   European Patent                  Pending   2020-09-21    20866756.8
FRACTIONAL SLOT ELECTRIC MOTORS WITH COIL ELEMENTS HAVING European Patent                  Pending   2020-09-23    20867671.8
RECTANGULAR CROSS-SECTIONS
IMPACT FEATURES                                           European Patent                  Pending   2020-07-02    20920386.8
MULTI-PLATFORM RECONFIGURABLE ELECTRIC VEHICLE            European Patent                  Pending   2022-03-10    22768029.5
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF European Patent                     Pending   2022-01-28    22768189.7
IN VEHICLES
MULTIPLE-DISCHARGE RAIN MANIFOLD FOR ELECTRIC MOTOR       European Patent                  Pending   2022-06-30    22834434.7
COOLING AND RELATED SYSTEM AND METHOD
FRACTIONAL SLOT ELECTRIC MOTOR COMPRISING COIL ELEMENTS China                              Pending   2020-09-23    202080066892.9
WITH RECTANGULAR CROSS-SECTION
SUSPENSION SYSTEM                                         China                            Pending   2020-09-09    202080073120.8
VEHICLE EXTERNAL FEATURES                                 China                            Pending   2020-09-21    202080080604.5
ELECTRIC VEHICLE BATTERY ENCLOSURE                        China                            Pending   2020-09-21    202080080747.6
VEHICLE CONTROL SYSTEMS                                   China                            Pending   2020-09-21    202080080756.5
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF China                               Pending   2022-01-28    202280020433.6
IN VEHICLES
MULTIPLE-DISCHARGE RAIN MANIFOLD FOR ELECTRIC MOTOR       China                            Pending   2022-06-30    202280046650.2
COOLING AND RELATED SYSTEM AND METHOD
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF Korea, Republic of (KR)             Pending   2022-01-28    10-2023-7034499
IN VEHICLES
SYSTEM AND METHOD IN VEHICLE PATH PREDICTION BASED ON     United States of America         Pending   2021-09-30    17/449,623
ODOMETRY AND INERTIAL MEASUREMENT UNIT
ELECTRIC VEHICLE BATTERY ENCLOSURE                        United States of America         Pending   2021-12-30    17/646,653
COST-EFFECTIVE ELECTRIC VEHICLE DRIVE UNIT COOLING AND    United States of America         Pending   2022-04-22    17/660,329
LUBRICATION SYSTEM
ACTIVE DATA COLLECTION, SAMPLING, AND GENERATION FOR USE United States of America          Pending   2022-04-27    17/660,973
IN TRAINING MACHINE LEARNING MODELS FOR AUTOMOTIVE OR
OTHER APPLICATIONS
VEHICLE EXTERNAL FEATURES                                 United States of America         Pending   2020-09-21    17/754,060
VEHICLE CONTROL SYSTEMS                                   United States of America         Pending   2020-09-21    17/754,061
THERMAL MANAGEMENT SYSTEMS FOR ELECTRIC VEHICLE           United States of America         Pending   2020-09-18    17/761,997
PLATFORMS
LADDER/RAMP                                               United States of America         Pending   2022-05-25    17/804,045

                                                                                                                                                                         50 of 168
                                                Case 25-10099-BLS                  Doc 2      Filed 01/18/25      Page 85 of 202


Canoo Technologies Inc.                                                                                                                                Schedule A/B - Exhibit H
Share folder reference:                                     1.10.13
Form Reference:                                             Form 206A/B
                                                            Schedule A/B Part 10
                                                            Patents

Patent Application Title                                  Country                          Status    Filed Date    Application Number   Grant Date   Patent No.
AUGMENTED PSEUDO-LABELING FOR OBJECT DETECTION LEARNING United States of America           Pending   2022-06-21    17/808,038
WITH UNLABELED IMAGES
SINGLE CONDUCTOR LAYER CELL-TO-CELL INTERCONNECT FOR      United States of America         Pending   2022-07-15    17/812,927
ELECTRIC VEHICLE POWER SUPPLY OR OTHER POWER SUPPLY
SINGLE CONDUCTOR LAYER CELL-TO-CELL INTERCONNECT FOR      United States of America         Pending   2022-07-15    17/812,939
ELECTRIC VEHICLE POWER SUPPLY OR OTHER POWER SUPPLY
MITIGATING THERMAL RUNAWAY OF LITHIUM-ION BATTERIES       United States of America         Pending   2022-07-21    17/814,204
METAMORPHIC LABELING USING ALIGNED SENSOR DATA            United States of America         Pending   2022-07-28    17/815,702
VANISHING POINT DETERMINATION, SYMMETRY-BASED BOUNDARY United States of America            Pending   2022-08-12    17/819,584
REFINEMENT, AND COMPONENT DETECTION FOR VEHICLE OBJECT
DETECTION OR OTHER APPLICATIONS
VANISHING POINT DETERMINATION, SYMMETRY-BASED BOUNDARY United States of America            Pending   2022-08-12    17/819,587
REFINEMENT, AND COMPONENT DETECTION FOR VEHICLE OBJECT
DETECTION OR OTHER APPLICATIONS
ENTROPY OF PREDICTIVE DISTRIBUTION (EPD)-BASED CONFIDENCE United States of America         Pending   2022-08-24    17/821,962
SYSTEM FOR AUTOMOTIVE APPLICATIONS OR OTHER APPLICATIONS

VEHICLE MOTION CONTROL USING TORQUE VECTORING WITH          United States of America       Pending   2022-09-27    17/935,632
CONSIDERATION OF DRIVER INTENT AND LOAD TRANSFER
BATTERY MODULE ENCLOSURE WITH STIFFENING STRUCTURE          United States of America       Pending   2022-11-01    18/051,595
SYSTEM AND METHOD FOR TARGET BEHAVIOR PREDICTION USING      United States of America       Pending   2022-11-02    18/052,122
HOST PREDICTION IN ADVANCED DRIVING ASSIST SYSTEM (ADAS),
AUTONOMOUS DRIVING (AD), OR OTHER APPLICATIONS
LOW-INDUCTANCE DUAL-FULL BRIDGE POWER SUPPLY MODULE         United States of America       Pending   2022-11-16    18/056,096
WITH INTEGRATED SENSING
METHOD TO REDUCED LATERAL DEFLECTION OF LONGITUDINAL        United States of America       Pending   2022-12-02    18/061,297
MEMBERS IN SIDE IMPACT
SUSPENSION SYSTEM                                           United States of America       Pending   2023-01-30    18/161,364
CONTROLLED CURING OF SILICONE POLYMERS IN A BATTERY         United States of America       Pending   2023-04-28    18/309,442
APPLICATION
STEER-BY-WIRE SYSTEMS AND METHODS OF OPERATING THEREOF      United States of America       Pending   2023-08-23    18/454,506
IN VEHICLES
PATH TRACKING CONTROL FOR SELF-DRIVING OF VEHICLE WITH      United States of America       Pending   2023-09-20    18/470,906
YAW MOMENT DISTRIBUTION
ELECTRIC VEHICLE PLATFORM                                   United States of America       Pending   2024-06-21    18/751,050
METHODS AND SYSTEMS FOR BATTERY PACK THERMAL                Japan                          Pending   2020-01-07    2021-539466
MANAGEMENT


                                                                                                                                                                         51 of 168
                                                Case 25-10099-BLS                  Doc 2      Filed 01/18/25      Page 86 of 202


Canoo Technologies Inc.                                                                                                                                Schedule A/B - Exhibit H
Share folder reference:                                     1.10.13
Form Reference:                                             Form 206A/B
                                                            Schedule A/B Part 10
                                                            Patents

Patent Application Title                                  Country                          Status    Filed Date    Application Number   Grant Date   Patent No.
FRACTIONAL SLOT ELECTRIC MOTORS WITH COIL ELEMENTS HAVING Japan                            Pending   2020-09-23    2022-514974
RECTANGULAR CROSS-SECTIONS
MULTI-PLATFORM RECONFIGURABLE ELECTRIC VEHICLE            China                            Pending   2022-03-10    202280033183.X
IMPACT FEATURES                                           Japan                            Pending   2020-07-02    2023-101515
ELECTRIC VEHICLE PLATFORM                                 Japan                            Pending   2020-05-20    2023-114857
DESIGN METHOD TO REDUCED LATERAL DEFLECTION OF            Patent Cooperation Treaty        Pending   2023-11-17    PCT/US2023/080393
LONGITUDINAL MEMBERS IN SIDE IMPACT




                                                                                                                                                                         52 of 168
                                                              Case 25-10099-BLS               Doc 2         Filed 01/18/25               Page 87 of 202


Canoo Technologies Inc.                                                                                                                                                                                        Schedule A/B - Exhibit I
Share folder reference:   1.10.13
Form Reference:           Form 206A/B
                          Schedule A/B Part 10
                          Trademarks

         DOCKET NO.                        MARK               DESIGN            COUNTRY      STATUS        APP. NO.        FILING DATE       REG. NO.        REG. DATE                CLASSES                             OWNER
CNOO01-10053              CANOO                                        Canada             Pending      1951708          3/15/2019                                        9, 12, 18, 25, 28, 35, 37, 39       Canoo Technologies Inc.


CNOO01-10044              DESIGN ONLY (Six Lines Design)               Canada             Pending      2006854          1/17/2020                                        9, 12, 18, 25, 28, 35, 37, 39       Canoo Technologies Inc.


CNOO01-10050              CANOO                                        Philippines        Registered   42022505486      3/7/2022         42022505486      3/18/2023      9, 12, 18, 25, 28, 35, 37, 39, 42   Canoo Technologies Inc.


CNOO01-10005              CANOO & Design                               United Kingdom     Registered   UK00918189056    1/28/2020        UK00918189056    1/28/2020      12, 18, 25, 39                      Canoo Inc.


CNOO01-10008              CANOO & Design                               EUTM               Registered   018189056        1/28/2020        018189056        5/30/2020      12, 18, 25, 39                      Canoo Technologies Inc.


CNOO01-10049              DESIGN ONLY (Six Lines Design)               India              Registered   4424286          1/29/2020        4424286          2/8/2021       39                                  Canoo Inc.


CNOO01-10015              CANOO                                        China              Registered   36944265         3/20/2019        36944265         2/21/2023      9                                   Canoo Technologies Inc.


CNOO01-10004(CN-Cl12)     CANOO                                        China              Registered   1469362          3/17/2019        1469362          3/17/2019      12                                  Canoo Technologies Inc.


CNOO01-10085              CANOO                                        Mexico             Registered   2898920          2/21/2023        2555820          6/6/2023       12                                  Canoo Technologies Inc.


CNOO01-10086              CANOO                                        Mexico             Registered   2898921          2/23/2023        2555821          6/6/2023       37                                  Canoo Technologies Inc.


CNOO01-10079              嘉舟 (CANOO in Chinese - Version 3)            China              Registered   69899610         3/2/2023         69899610         8/21/2023      37                                  Canoo Technologies Inc.


CNOO01-10077              咖诺 (CANOO in Chinese - Version 2)            China              Registered   69910862         3/2/2023         69910862         8/21/2023      37                                  Canoo Technologies Inc.


CNOO01-10074              加舟 (CANOO in Chinese - Version 1)            China              Registered   69914758         3/2/2023         69914758         8/21/2023      12                                  Canoo Technologies Inc.


CNOO01-10081              家舟 (CANOO in Chinese - Version 4)            China              Registered   69916365         3/2/2023         69916365         8/21/2023      37                                  Canoo Technologies Inc.


CNOO01-10080              家舟 (CANOO in Chinese - Version 4)            China              Registered   69917660         3/2/2023         69917660         8/21/2023      12                                  Canoo Technologies Inc.


CNOO01-10078              嘉舟 (CANOO in Chinese - Version 3)            China              Registered   69927136         3/2/2023         69927136         8/21/2023      12                                  Canoo Technologies Inc.


CNOO01-10075              加舟 (CANOO in Chinese - Version 1)            China              Registered   69909746         3/2/2023         69909746         8/28/2023      37                                  Canoo Technologies Inc.


CNOO01-10083              路舟 (CANOO in Chinese - Version 5)            China              Registered   69905657         3/2/2023         69905657         10/14/2023     37                                  Canoo Technologies Inc.


CNOO01-10073              CANOO                                        China              Registered   69927196         3/2/2023         69927196         10/14/2023     37                                  Canoo Technologies Inc.


CNOO01-10072              CANOO                                        China              Registered   69920505         3/2/2023         69920505         10/21/2023     12                                  Canoo Technologies Inc.


CNOO01-10054              canoo (Stylized - Red)                       Germany            Registered   302016234389.7   12/6/2016        DE302016234389   1/26/2017      9, 41, 42                           Canoo Technologies Inc.


CNOO01-10082              路舟 (CANOO in Chinese - Version 5)            China              Registered   69912838         3/2/2023         69912838         12/7/2023      12                                  Canoo Technologies Inc.




                                                                                                                                                                                                                                   53 of 168
                                                           Case 25-10099-BLS                        Doc 2         Filed 01/18/25               Page 88 of 202


Canoo Technologies Inc.                                                                                                                                                                                         Schedule A/B - Exhibit I
Share folder reference:   1.10.13
Form Reference:           Form 206A/B
                          Schedule A/B Part 10
                          Trademarks

         DOCKET NO.                       MARK             DESIGN           COUNTRY                STATUS        APP. NO.        FILING DATE       REG. NO.       REG. DATE                CLASSES                         OWNER
CNOO01-10048              DESIGN ONLY (Six Lines Design)            India                       Registered   4424285          1/29/2020        4424285         9/12/2022      12                              Canoo Inc.


CNOO01-10045              CANOO                                     Switzerland                 Registered   504132018        1/12/2018        717145          6/5/2018       9, 41, 42                       Canoo Inc.


CNOO01-10068              CANOO                                     Saudi Arabia                Registered   399654           1/24/2023        1444023953      5/11/2023      12                              Canoo Technologies Inc.


CNOO01-10069              CANOO                                     Saudi Arabia                Registered   399655           1/24/2023        1444023954      5/11/2023      37                              Canoo Technologies Inc.


CNOO01-10070              DESIGN ONLY (Six Lines Design)            Saudi Arabia                Registered   399656           1/24/2023        1444023955      5/11/2023      12                              Canoo Technologies Inc.


CNOO01-10071              DESIGN ONLY (Six Lines Design)            Saudi Arabia                Registered   399657           1/24/2023        1444023956      5/11/2023      37                              Canoo Technologies Inc.


CNOO01-10003(EU)          canoo (lower case)                        EUTM                        Registered   1430217          7/2/2018         1430217         7/2/2018       9, 41, 42                       Canoo Technologies Inc.


CNOO01-10007              CANOO                                     United Kingdom              Registered   UK00801430217    7/2/2018         UK00801430217   7/2/2018       9, 41, 42                       Canoo Technologies Inc.


CNOO01-10003              CANOO                                     WIPO                        Registered   1430217          7/2/2018         1430217         7/2/2018       9, 41, 42                       Canoo Technologies Inc.


CNOO01-10084              CANOO                                     Switzerland                 Registered   02331/2023       2/21/2023        801855          8/16/2023      12, 37                          Canoo Technologies Inc.


CNOO01-10001              CANOO                                     United States of America    Registered   88336621         3/12/2019        6873032         10/11/2022     12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(CN-Cl18)     CANOO                                     China                       Pending      1469362          3/17/2019        1469362         3/17/2019      18                              Canoo Technologies Inc.


CNOO01-10004(CN-Cl25)     CANOO                                     China                       Pending      1469362          3/17/2019        1469362         3/17/2019      25                              Canoo Technologies Inc.


CNOO01-10004(CN-Cl37)     CANOO                                     China                       Pending      1469362          3/17/2019        1469362         3/17/2019      37                              Canoo Technologies Inc.


CNOO01-10004(CO)          CANOO                                     Colombia                    Registered   1469362          3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(EM)          CANOO                                     EUTM                        Registered   1469362          3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10046              CANOO                                     Hong Kong                   Registered   304861125        3/18/2019        304861125       9/18/2019      9, 12, 18, 25, 28, 35, 37, 39   Canoo Technologies Inc.


CNOO01-10004(IN)          CANOO                                     India                       Registered   1469362          3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(ID)          CANOO                                     Indonesia                   Registered   M0020191469362   3/17/2019        1469362         3/17/2019      12, 37                          Canoo Technologies Inc.


CNOO01-10004(JP)          CANOO                                     Japan                       Registered   1469362          3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(KR)          CANOO                                     Republic of Korea (South)   Registered   1469362          3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(RU)          CANOO                                     Russian Federation          Registered   1469362          3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.




                                                                                                                                                                                                                                    54 of 168
                                                              Case 25-10099-BLS                 Doc 2         Filed 01/18/25              Page 89 of 202


Canoo Technologies Inc.                                                                                                                                                                                    Schedule A/B - Exhibit I
Share folder reference:   1.10.13
Form Reference:           Form 206A/B
                          Schedule A/B Part 10
                          Trademarks

         DOCKET NO.                       MARK                DESIGN              COUNTRY      STATUS        APP. NO.       FILING DATE       REG. NO.       REG. DATE                CLASSES                      OWNER
CNOO01-10004(SG)          CANOO                                        Singapore            Registered   40201911848S    3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(TH)          CANOO                                        Thailand             Registered   190126968       3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(TR)          CANOO                                        Turkey               Registered   201976920       3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(GB)          CANOO                                        United Kingdom       Registered   1469362         3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004(VN)          CANOO                                        Vietnam              Registered   1469362         3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10004              CANOO                                        WIPO                 Registered   1469362         3/17/2019        1469362         3/17/2019      12, 18, 25, 37                  Canoo Technologies Inc.


CNOO01-10006              CANOO                                        United Kingdom       Registered   UK00801469362   3/18/2019        UK00801469362   11/5/2019      9, 12, 18, 25, 28, 35, 37, 39   Canoo Technologies Inc.


CNOO01-10043              路舟 (CANOO in Chinese - Version 5)            China                Registered   36624468        3/5/2019         36624468        3/21/2020      12                              Canoo Technologies Inc.


CNOO01-10027              咖诺 (CANOO in Chinese - Version 2)            China                Registered   36944276        3/20/2019        36944276        12/7/2019      28                              Canoo Technologies Inc.


CNOO01-10028              咖诺 (CANOO in Chinese - Version 2)            China                Registered   36944279        3/20/2019        36944279        12/7/2019      39                              Canoo Technologies Inc.


CNOO01-10036              嘉舟 (CANOO in Chinese - Version 3)            China                Registered   37632249        4/19/2019        37632249        12/7/2019      39                              Canoo Technologies Inc.


CNOO01-10037              嘉舟 (CANOO in Chinese - Version 3)            China                Registered   37632282        4/19/2019        37632282        12/7/2019      37                              Canoo Technologies Inc.


CNOO01-10034              嘉舟 (CANOO in Chinese - Version 3)            China                Registered   37632283        4/19/2019        37632283        12/7/2019      35                              Canoo Technologies Inc.


CNOO01-10039              嘉舟 (CANOO in Chinese - Version 3)            China                Registered   37632286        4/19/2019        37632286        12/7/2019      18                              Canoo Technologies Inc.


CNOO01-10038              嘉舟 (CANOO in Chinese - Version 3)            China                Registered   37632287        4/19/2019        37632287        12/7/2019      12                              Canoo Technologies Inc.


CNOO01-10035              嘉舟 (CANOO in Chinese - Version 3)            China                Registered   37632288        4/19/2019        37632288        12/7/2019      9                               Canoo Technologies Inc.


CNOO01-10024              加舟 (CANOO in Chinese - Version 1)            China                Registered   37632289        4/19/2019        37632289        12/7/2019      39                              Canoo Technologies Inc.


CNOO01-10019              加舟 (CANOO in Chinese - Version 1)            China                Registered   37632290        4/19/2019        37632290        12/7/2019      37                              Canoo Technologies Inc.


CNOO01-10023              加舟 (CANOO in Chinese - Version 1)            China                Registered   37632291        4/19/2019        37632291        12/7/2019      35                              Canoo Technologies Inc.


CNOO01-10020              加舟 (CANOO in Chinese - Version 1)            China                Registered   37632292        4/19/2019        37632292        12/7/2019      28                              Canoo Technologies Inc.


CNOO01-10022              加舟 (CANOO in Chinese - Version 1)            China                Registered   37632293        4/19/2019        37632293        12/7/2019      25                              Canoo Technologies Inc.


CNOO01-10021              加舟 (CANOO in Chinese - Version 1)            China                Registered   37632294        4/19/2019        37632294        12/7/2019      18                              Canoo Technologies Inc.




                                                                                                                                                                                                                               55 of 168
                                                              Case 25-10099-BLS              Doc 2         Filed 01/18/25             Page 90 of 202


Canoo Technologies Inc.                                                                                                                                                                  Schedule A/B - Exhibit I
Share folder reference:   1.10.13
Form Reference:           Form 206A/B
                          Schedule A/B Part 10
                          Trademarks

         DOCKET NO.                       MARK                DESIGN           COUNTRY      STATUS        APP. NO.      FILING DATE       REG. NO.      REG. DATE            CLASSES             OWNER
CNOO01-10018              加舟 (CANOO in Chinese - Version 1)            China             Registered   37632295       4/19/2019        37632295       12/7/2019      12                 Canoo Technologies Inc.


CNOO01-10025              加舟 (CANOO in Chinese - Version 1)            China             Registered   37632296       4/19/2019        37632296       12/7/2019      9                  Canoo Technologies Inc.


CNOO01-10026              咖诺 (CANOO in Chinese - Version 2)            China             Registered   36944278       3/20/2019        36944278       12/14/2019     37                 Canoo Technologies Inc.


CNOO01-10033              嘉舟 (CANOO in Chinese - Version 3)            China             Registered   37632284       4/19/2019        37632284       12/14/2019     28                 Canoo Technologies Inc.


CNOO01-10029              咖诺 (CANOO in Chinese - Version 2)            China             Registered   36944274       3/20/2019        36944274       12/21/2019     18                 Canoo Technologies Inc.


CNOO01-10047              CANOO & Design (Large)                       Hong Kong         Registered   305182227      1/30/2020        305182227      9/17/2021      12, 39             Canoo Technologies Inc.


CNOO01-10040              嘉舟 (CANOO in Chinese - Version 3)            China             Registered   37632285       4/19/2019        37632285       2/21/2020      25                 Canoo Technologies Inc.


CNOO01-10030              咖诺 (CANOO in Chinese - Version 2)            China             Registered   36944277       3/20/2019        36944277       3/7/2020       35                 Canoo Technologies Inc.


CNOO01-10031              咖诺 (CANOO in Chinese - Version 2)            China             Registered   36944273       3/20/2019        36944273       3/14/2020      9                  Canoo Technologies Inc.


CNOO01-10032              咖诺 (CANOO in Chinese - Version 2)            China             Registered   36944275       3/20/2019        36944275       3/14/2020      25                 Canoo Technologies Inc.


CNOO01-10013              CANOO                                        China             Registered   36944266A      3/20/2019        36944266A      3/21/2020      12                 Canoo Technologies Inc.


CNOO01-10041              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       12                 Canoo Technologies Inc.


CNOO01-10055              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       18                 Canoo Technologies Inc.


CNOO01-10056              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       25                 Canoo Technologies Inc.


CNOO01-10057              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       28                 Canoo Technologies Inc.


CNOO01-10058              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       35                 Canoo Technologies Inc.


CNOO01-10059              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       37                 Canoo Technologies Inc.


CNOO01-10060              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       39                 Canoo Technologies Inc.


CNOO01-10061              家舟 (CANOO in Chinese - Version 4)            China             Registered   38091753       5/10/2019        38091753       4/7/2020       9                  Canoo Technologies Inc.


CNOO01-10009              CANOO                                        China             Registered   36944267       3/20/2019        36944267       5/7/2020       18                 Canoo Technologies Inc.


CNOO01-10014              CANOO                                        China             Registered   36944269       3/20/2019        36944269       5/7/2020       28                 Canoo Technologies Inc.


CNOO01-10012              CANOO                                        China             Registered   36944272       3/20/2019        36944272       6/28/2020      39                 Canoo Technologies Inc.




                                                                                                                                                                                                             56 of 168
                                                           Case 25-10099-BLS                       Doc 2         Filed 01/18/25             Page 91 of 202


Canoo Technologies Inc.                                                                                                                                                                                     Schedule A/B - Exhibit I
Share folder reference:   1.10.13
Form Reference:           Form 206A/B
                          Schedule A/B Part 10
                          Trademarks

         DOCKET NO.                       MARK             DESIGN            COUNTRY              STATUS        APP. NO.      FILING DATE       REG. NO.      REG. DATE                CLASSES                      OWNER
CNOO01-10002              DESIGN ONLY (Six Lines Design)            United States of America   Registered   88551440       7/30/2019        7434246        7/2/2024       12, 25, 37                      Canoo Technologies Inc.


CNOO01-10011              CANOO                                     China                      Registered   36944271       3/20/2019        36944271       7/7/2020       37                              Canoo Technologies Inc.


CNOO01-10010              CANOO                                     China                      Registered   36944270       3/20/2019        36944270       2/28/2021      35                              Canoo Technologies Inc.


CNOO01-10016              CANOO                                     China                      Registered   48512773       7/30/2020        48512773       6/14/2021      12                              Canoo Technologies Inc.


CNOO01-10017              CANOO                                     China                      Registered   36944268       3/20/2019        36944268       12/7/2021      25                              Canoo Technologies Inc.


CNOO01-10051              CANOO                                     Taiwan                     Registered   108016622      3/20/2019        02194656       1/1/2022       9, 12, 18, 25, 28, 35, 37, 39   Canoo Technologies Inc.




                                                                                                                                                                                                                                57 of 168
                                           Case 25-10099-BLS   Doc 2   Filed 01/18/25   Page 92 of 202


Canoo Technologies Inc.                                    Schedule A/B - Exhibit J
Share folder reference:   1.10.14
Form Reference:           Form 206A/B
                          Schedule A/B Part 10
                          Domains

      Domain Name           Expiration Date
canoo.at                          06/11/2025
canoo.biz                         02/05/2025
canoo.ch                          12/30/2024
canoo.city                        02/13/2025
canoo.cn                          03/27/2025
canoo.com                         09/15/2026
canoo.com.cn                      03/23/2025
canoo.de                          05/28/2025
canoo.earth                       02/15/2025
canoo.fyi                         02/13/2025
canoo.in                          06/10/2025
canoo.info                        05/17/2025
canoo.mobi                        02/06/2025
canoo.net                         09/15/2026
canoo.space                       02/13/2025
canoo.tech                        02/13/2025
canoo.tel                         03/23/2025
canoo.us                          06/09/2026
canoo.world                       02/13/2025
canoocap.com                      09/15/2026
canoocapital.com                  09/15/2026
canoochina.cn                     05/29/2025
canoodouche.com                   09/15/2026
canoofleets.com                   05/02/2026
canooforyou.com                   09/15/2026
canooitdev.com                    09/15/2026
canoomobility.com                 09/15/2026
canoomotion.com                   09/15/2026
canoosales.com                    09/15/2026
canoosuppliers.com                09/15/2026
douche-canoo.com                  09/15/2026
                                                                                                         58 of 168
                                           Case 25-10099-BLS   Doc 2   Filed 01/18/25   Page 93 of 202


Canoo Technologies Inc.                                    Schedule A/B - Exhibit J
Share folder reference:   1.10.14
Form Reference:           Form 206A/B
                          Schedule A/B Part 10
                          Domains

       Domain Name          Expiration Date
douchecanoo.com                   09/15/2026
evelozcity.co                     07/30/2025
evelozcity.com                    09/15/2026
gocanoo.com                       09/15/2026
hellocanoo.com                    09/15/2026
letscanoo.com                     09/15/2026
thisiscanoo.com                   09/15/2026
thisiscanoo.com.cn                03/27/2025
urbancanoo.com                    09/15/2026
wecanoo.com                       09/15/2026
canoo.ai                          02/14/2025
canoo.eu                          10/19/2025
canoo.fr                          07/31/2025
canoo.my                          02/28/2025
canoo.no                          01/25/2025
canoo.sg                          02/15/2025
canoo.se                          10/21/2022




                                                                                                         59 of 168
                                        Case 25-10099-BLS   Doc 2   Filed 01/18/25   Page 94 of 202


Canoo Technologies Inc.                                       Schedule A/B - Exhibit K
Share folder reference:             1.10.14
Form Reference:                     Form 206A/B
                                    Schedule A/B Part 10
                                    Websites

Website / Application
canoo.com
investors.canoo.com
demo.canoo.com
assets.canoo.com
customer-media.canoo.com
ar.canoo.com
media.canoo.com
goods.canoo.com
engineering.canoo.com
fileshare.canoo.com
press.canoo.com
helpdesk.canoo.com
laxvpn2.canoo.com
laxvpn.canoo.com
pan-aws-1.canoo.com
qual.canoo.com
stage.canoo.com
client.canoo.com
cmhvpn.canoo.com
dev.canoo.com
dfwvpn.canoo.com
email.canoo.com
gplmi.canoo.com
gpvpn2.canoo.com
gpvpn.canoo.com
gpvpne.canoo.com
*.canoohub.canoo.com
www.canoo.com
ar.dev.canoo.com
*.canoohub.dev.canoo.com
sales-order-tracker.dev.canoo.com
                                                                                                      60 of 168
                                 Case 25-10099-BLS   Doc 2   Filed 01/18/25   Page 95 of 202


Canoo Technologies Inc.                                Schedule A/B - Exhibit K
Share folder reference:      1.10.14
Form Reference:              Form 206A/B
                             Schedule A/B Part 10
                             Websites

Website / Application
www.dev.canoo.com
*.canoohub.qual.canoo.com
www.qual.canoo.com
*.canoohub.stage.canoo.com
www.stage.canoo.com




                                                                                               61 of 168
                                 Case 25-10099-BLS   Doc 2     Filed 01/18/25      Page 96 of 202


Canoo Technologies Inc.                                                                                        Schedule A/B - Exhibit L
Share folder reference:                               1.10.16
Form Reference:                                       Form 206A/B
                                                       Schedule A/B Part 11
                                                      Insurance



Policy Type                                                                       CARRIER
Auto                                                  American Casualty Company of Reading, PA
                                                      333 South Wabash, Chicago, IL 60604
Workers Compensation (CA Only)                        The Continental Insurance Company
                                                      151 N. Franklin St., Chicago, IL 60606
Workers Compensation (AOS)                            The Continental Insurance Company
                                                      151 N. Franklin St., Chicago, IL 60606
General Liability                                     James River Insurance Company
                                                      6641 W. Broad, Suite 300, Richmond, VA 23230
Excess Liability                                      James River Insurance Company
                                                      6641 W. Broad, Suite 300, Richmond, VA 23230
Excess Liability                                      General Star Indemnity Company
                                                      400 Atlantic Street, 9th Floor, Stamford, CT 06901
Excess Liability                                      Lexington Insurance Company
                                                      99 High St., Floor 25, Boston, MA 02110-2378
Excess Liability                                      HDI Specialty Insurance Company
                                                      161 N Clark ST., 48th Floor, Chicago, IL 60601
Excess Liability                                      Underwriters at Lloyd's, London
                                                      280 Park Avenue, East Tower, 25th Floor, New York, NY 10017
Property                                              AXA XL
                                                      100 Constitution Plaza, 17th Floor, Hartford, CT 06103
Property                                              AXA XL
                                                      100 Constitution Plaza, 17th Floor, Hartford, CT 06103



                                                                                                                                     62 of 168
                                 Case 25-10099-BLS   Doc 2     Filed 01/18/25      Page 97 of 202


Canoo Technologies Inc.                                                                                       Schedule A/B - Exhibit L
Share folder reference:                               1.10.16
Form Reference:                                       Form 206A/B
                                                       Schedule A/B Part 11
                                                      Insurance



Policy Type                                                                       CARRIER
Property                                              Beazley US
                                                      65 Memorial Road, Suite 320, West Hartford, CT 06107
Property                                              Sompo
                                                      1221 Avenue of the Americas Floor 18, New York, NY 10020
Property                                              Beazley London
                                                      22 Bishopsgate, London, EC2N 4BQ, United Kingdom
Property                                              Ethos
                                                      1606 Headway Circle #9013, Austin, TX 78754
Property                                              AIG
                                                      1271 Ave of Americas, Floor 41, New York, NY 10020
Equipment Breakdown                                   Continental Casualty Company
                                                      333 S. Wabash Ave., 39 South, Chicago, IL 60604
Cargo/Stock Throughput Program                        HDI Global Insurance Company
                                                      161 North Clark Street, 48th Floor, Chicago, IL 60601
Cargo/Stock Throughput Program                        Zurich
                                                      PO Box 968046, Schaumburg, Il 60196
Cargo/Stock Throughput Program                        Great American Insurance Company
                                                      301 E. Fourth St., Cincinnati, OH 45202
Cargo/Stock Throughput Program                        Starr Marine
                                                      399 Park Ave Rm 1700, New York, NY, 10022
Foreign Casualty                                      Generali U.S. Branch
                                                      250 Greenwich St FL 33, New York, NY 10007



                                                                                                                                    63 of 168
                                 Case 25-10099-BLS   Doc 2     Filed 01/18/25     Page 98 of 202


Canoo Technologies Inc.                                                                                      Schedule A/B - Exhibit L
Share folder reference:                               1.10.16
Form Reference:                                       Form 206A/B
                                                       Schedule A/B Part 11
                                                      Insurance



Policy Type                                                                      CARRIER
Foreign Property                                      National Casualty Company
                                                      One West Nationwide Boulevard, 1-14-301 Columbus, OH 43215


Foreign Package                                       Generali U.S. Branch
                                                      250 Greenwich St FL 33, New York, NY 10007
Foreign Package                                       ACE American Insurance Company
                                                      436 Walnut Street, Philadelphia, PA 19106
Directors & Officers Liability                        Hartford
                                                      690 Asylum Avenue, Hartford, CT 06155
Directors & Officers Liability                        Berkley
                                                      475 Steamboat Road, Greenwich, CT 06830
Directors & Officers Liability                        RSUI
                                                      945 East Paces Ferry Road NE Suite 1800, Atlanta, GA 30326
Directors & Officers Liability                        AWAC
                                                      27 Richmond Road, Pembroke HM 08 Bermuda
Directors & Officers Liability                        Ascot
                                                      27 Richmond Road, Pembroke HM 08 Bermuda
Directors & Officers Liability                        Canopius
                                                      200 South Wacker Drive, Suite 950, Chicago, IL 60606
Directors & Officers Liability                        CapSpecialty
                                                      1600 Aspen Commons Suite 300, Middleton, WI 53562
Directors & Officers Liability                        AmTrust
                                                      59 Maiden Lane 42nd Floor, New York, NY 10038

                                                                                                                                   64 of 168
                                 Case 25-10099-BLS   Doc 2     Filed 01/18/25     Page 99 of 202


Canoo Technologies Inc.                                                                                        Schedule A/B - Exhibit L
Share folder reference:                               1.10.16
Form Reference:                                       Form 206A/B
                                                       Schedule A/B Part 11
                                                      Insurance



Policy Type                                                                       CARRIER
Directors & Officers Liability                        AIG
                                                      1271 Ave of Americas, Floor 41, New York, NY 10020
Directors & Officers Liability                        AXA XL
                                                      100 Constitution Plaza, 17th Floor, Hartford, CT 06103
Directors & Officers Liability                        Chubb BDA
                                                      7 Woodbourne Avenue, Hamilton HM 08 Bermuda
Directors & Officers Liability                        AXA XL
                                                      100 Constitution Plaza, 17th Floor, Hartford, CT 06103
Directors & Officers Liability                        Sompo
                                                      1221 Avenue of the Americas Floor 18, New York, NY 10020
Directors & Officers Liability                        Argo
                                                      501 7th Avenue, 7th Floor, New York, NY 10018
Directors & Officers Liability                        Inigo UK
                                                      1 Creechurch Ln, London EC3A 5AY, UK
Directors & Officers Liability                        AIG
                                                      1271 Ave of Americas, Floor 41, New York, NY 10020




                                                                                                                                     65 of 168
                                           Case 25-10099-BLS               Doc 2       Filed 01/18/25   Page 100 of 202


CANOO TECHNOLOGIES, INC.
Official Form 206D
     Schedule D                                                                                               Per Exhibit       Per Form     Difference
          Total Part 1 List Creditors Who Have Secured Claims                        Exhibit M               $ 14,110,244     $ 14,110,244 $            0

        Total Part 2   List Others to Be Notified for a Debt Already Listed in Part 1 N/A                    $          -     $         -   $         -

        Total Schedule D                                                                                     $   14,110,244   $   14,110,244 $            0
                                                        Case 25-10099-BLS                Doc 2         Filed 01/18/25               Page 101 of 202


  Canoo Technologies Inc.                                                                                                                                                                 Schedule D - Exhibit M
  Share folder reference:              1.11
  Form Reference:                      Form 206D
                                       Schedule D Part 1
                                       Secured Creditors

  Prompt: List of creditors who claims secured by property - with dollar amount. This information is required for Schedule D of the Schedules of Assets and Liabilities

  Name                                                                               Amount               Notes
  An entity affiliated with Mr. Tony Aquila, the Company’s Chief Executive Officer
1
  and Executive Chair, AFV Management Advisors, LLC

  - Amounts borrowed / outstanding under the revolving credit facility               $    10,660,000 [7,960,000+2,500,000+200,000]
                                                                                                          One-Month Secured Overnight Financing Rate (SOFR) plus 6.00%, with interest paid monthly, and principal to be
  - Estimated interest on above revolving credit facility                            $         191,395 repaid within 120 days of being drawn. The Company may prepay amounts due under the Secured Credit Facility
                                                                                                          Note in whole or in part at any time without premium or penalty.


  - Amounts owed to Anthony Aquila / 15306 / 15520 / I-40 OKC                        $        3,258,849    [Unpaid Rent for OKC for 6 months, Unpaid Rent for Justin locations for 5 months, Unpaid Board Fees
                                                                                                                                for 2 quarters and Unreimbursed out of pocket expenses]

                                                                                     $    14,110,244




                                                                                                                                                                                                               67 of 168
                                           Case 25-10099-BLS   Doc 2       Filed 01/18/25   Page 102 of 202


  Canoo Technologies Inc.                                                                                              Schedule E/F - Exhibit M.1

  Form Reference:           Form 206E/F
                            Schedule E/F Part 1
                            Priority UnSecured Creditors



  Name                      Address                        Fomer Employee Position Title      Total Severance Amount      Total Unpaid Severance

1 Sohel Merchant            [Redacted]                     CTO - Automotive (Former)          $                400,000 $                   300,000


2 Jossette Sheeran          [Redacted]                     President (Former)                 $                360,000 $                   360,000



                                                                                              $                760,000 $                   660,000




                                                                                                                                                     68 of 168
                                          Case 25-10099-BLS                Doc 2      Filed 01/18/25       Page 103 of 202


CANOO TECHNOLOGIES, INC.
Official Form 206E/F
     Schedule E/F                                                                                                    Per Exhibit     Per Form      Difference
          Total Part 1 List All Creditors with PRIORITY Unsecured Claims            N/A                            $           -   $         -   $          -

        Total Part 2   List All Creditors with NONPRIORITY Unsecured Claims                                        $ 150,021,070   $ 150,021,070 $              0
                                                                                AP Exhibit N.1    $   87,212,055
                                                                           Accruals Exhibit N.2   $   62,809,016

        Total Part 3   List Others to Be Notified About Unsecured Claims                                           $           -   $         -   $          -



        Total Schedule E/F Part 4                                                                                  $ 150,021,070   $ 150,021,070 $              0
                                            Case 25-10099-BLS      Doc 2       Filed 01/18/25           Page 104 of 202


Canoo Technologies Inc.                                                                                                                             Schedule E/F - Exhibit N.1
Share folder reference:                                                                               1.8.2
Form Reference:                                                                                    Form 206E/F
                                                                                                Schedule E/F Part 2
                                                                                                 Accounts Payable
                                                                                                                                                                     87,212,055
                                                                                                                                                                  Net AP
                                 Supplier                                                       Supplier Address                                               (AP less AP
                                                                                                                                                               Adjustment)
Magna International Inc                                  337 Magna Drive, Aurora, Canada L4G 7K1                                                                      7,035,403
Ernst & Young LLP                                        PNC Bank C/O Ernst & Young US LLP, 3712 Solutions Center Chicago, IL United States 60677                     5,903,927

MUNCK WILSON MANDALA LLP                                 12770 COIT RD, STE 600 Dallas, TX United States 75250                                                       4,113,613
Tachi-S Engineering USA Inc                              23227 Commerce Dr, Farmington Hills, MI United States 48335                                                 4,042,299
Kirkland & Ellis LLP                                     300 N LaSalle, Chicago, IL United States 60654                                                              3,356,188
McKinsey & Company Inc United States                     PO Box 7247-7255, Philadelphia, PA United States 19170                                                      2,870,000
Scan Global Logistics                                    PO BOX 7410684, Chicago, IL United States 60674                                                             2,054,940
I-40 OKC Partners LLC                                    9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                                               1,937,055
Sidley Austin LLP                                        PO Box 0642, Chicago, IL United States 60690                                                                1,837,655
Meta System SPA                                          Via T. Galimberti 5, Reggio Emilia, Italy 42124                                                             1,800,472
Stadco Ltd                                               Queensway, Hortonwood Telford, Shropshire United Kingdom TF17LL                                             1,762,866
Toledo Tool & Die Co Inc                                 105 W Alexis Rd, Toledo, OH United States 43612                                                             1,753,228
KASAI NORTH AMERICA INC                                  1200 Volunteer Parkway, Manchester, TN United States 37355                                                  1,733,153
Onix Networking Corp                                     PO Box 74184, Cleveland, OH United States 44194                                                             1,427,883
Magna Exteriors (Liverpool) Limited                      Renaissance Way, Blvd Industry Park Liverpool, Merseyside United Kingdom L24 9PL                            1,425,898
Quality Metalcraft Inc                                   12001 Farmington Road, Livonia, MI United States 48150                                                      1,329,110
Autokiniton US Holdings Inc                              11505 US-223, Blissfield, MI 49228, Blissfield, MI United States 49228                                      1,166,131
Wedbush Securities Inc                                   1000 Wilshire Blvd, Los Angeles, CA United States 90017                                                     1,100,000
Hyundai Mobis Co Ltd                                     203 Teheran-ro, SI Tower, Yeoksam-dong Gangnam-gu, Korea, Republic of 6141                                  1,020,500
Standard Profil US LLC                                   27300 Haggerty Road, Suite F5 Farmington Hills, MI United States 48331                                      1,007,901
Evercore Group LLC                                       PO Box 844233, Boston, MA United States 2284                                                                1,002,570
Global Retool Group America LLC                          7290 KENSINGTON RD, Brighton, MI United States 48116                                                        1,000,000
Ningbo Xusheng Group Co LTD                              68 Yanshanhe South Road, Ningbo, China 315806                                                                 995,790
Paul Weiss Rifkind Wharton & Garrison LLP                1285 Avenue of the Americas, New York, NY United States 10019                                                 878,909
Debevoise & Plimpton LLP                                 919 Third Avenue, New York, NY United States 10022                                                            689,720
CrossMar Industrial North 100 LLC                        2500 NE 11th St., Suite 300 Bentonville, AR United States 72712                                               665,398
PAC Project Advisors International Ltd                   755 W Big Beaver Road, STE 1875 Troy, MI United States 48084                                                  644,047
Fuzhou Fushiang Motor Industrial CoLtd                   No.2 Hongxi Road, Qingkou investment zone Fuzhou, China 350119                                                638,447
Ram Die Corporation                                      2980 3 mile rd nw, Grand Rapids, MI United States 49534                                                       605,200
Deloitte & Touche LLP                                    PO Box 844708, Dallas, TX United States 75284                                                                 590,028
Horiba Instruments Incorporated                          9755 Research Drive, Irvine, CA United States 92618                                                           525,913
Exhibit N.1 - AP                                                                                                                                                        70 of 168
                                                 Case 25-10099-BLS      Doc 2        Filed 01/18/25           Page 105 of 202


                                                                                                                                                                     Net AP
                                  Supplier                                                            Supplier Address                                            (AP less AP
                                                                                                                                                                  Adjustment)
Air Capital Equipment Inc                                     806 E Boston ST, Wichita, KS United States 67211                                                             515,874
Alixpartners LLP                                              909 Third Ave, New York, NY United States 10022                                                              513,680
Ansys Inc                                                     2600 Ansys Dr, Canonsburg, PA United States 15317                                                            501,385
REXFORD INDUSTRIAL                                            PO BOX 740028, Los Angeles, CA United States 90074                                                           455,196
Jing-Jin Electric North America LLC                           34700 Grand River Ave., Farmington Hills, MI United States 48335                                             446,666
Marlon Blackwell Architects PA                                42 E CENTER ST, Fayetteville, AR United States 72701                                                         436,823
Stratus-X LLC                                                 9800 Mount Pyramid Court, Ste 400 Englewood, CO United States 80112                                          436,083
Sanmina Corporation                                           PO BOX 842162, Dallas, TX United States 75284                                                                434,033
Iconic Technical Solutions LLC                                4410 Ottawa Trail, Johannesburg, MI United States 49751                                                      405,000
Dasung CoLtd                                                  NamdongSeoro 370, Namdong-gu, Korea, Republic of 21629                                                       403,990
Metrican Stamping LLC                                         101 Warren G Medley Dr, Dickson, TN United States 37055                                                      394,400
Marquardt Switches Inc                                        PO BOX 10713, Albany, NY United States 12201                                                                 390,710
Orrick Herrington & Sutcliffe LLP                             PO Box 848066, Los Angeles, CA United States 90084                                                           383,018
Davis Polk & Wardwell LLP                                     450 Lexington Avenue, New York, NY United States 10017                                                       375,804
Auria Solutions USA Inc                                       Attn Accounting, PO BOX 580 Albemarle, NC United States 28002                                                371,519
EZ Building Services                                          1309 Magnolia Blvd, Burbank, CA United States 91506                                                          367,036
CEVA Logistics US Inc                                         15350 Vickery Drive, Houston, TX United States 77033                                                         363,390
Broadridge ICS Inc                                            PO Box 416423, Boston, MA United States 2241                                                                 357,852
Standard Profil Spain S A                                     Calle La Cadena-Varea 43, Logrono-La Rioja, Spain 26006                                                      344,969
The MathWorks Inc                                             3 Apple Hill Drive, Natick, MA United States 1760                                                            339,614
Silicon Valley Bank                                           3003 Tasman Drive, Santa Clara, CA United States 95054                                                       338,841
Danfoss Silicon Power GmbH                                    Husumer Straße 251, Flensburg, Germany 24941                                                                 334,457
Amazon Web Services Inc                                       PO Box 84023, Seattle, WA United States 98124                                                                331,750
Anthem Blue Cross Life and Health Insurance Company           PO BOX 511300, Los Angeles, CA United States 90051                                                           330,301
Joyson Safety Systems Acquisition LLC                         2500 Innovation Drive, Auburn Hills, MI United States 48326                                                  325,165
Kyung Chang Technology Jiang Yin Co LTD                       No 32, Huangang XI Rd, Wuxi, China 214446                                                                    320,280
Lyseon North America Inc                                      1110 W Tenkiller Rd, Catoosa, OK United States 74015                                                         316,900
Illinois Tool Works Inc                                       PO BOX 75289, 75 Remittance Dr Chicago, IL United States 60675                                               303,470
Grupo Antolin Tanger                                          Zone Franche d'Exportation de Tanger, Ilot nº 22B et 21 TANGER, Morocco 900090                               302,955
Say Technologies LLC                                          85 Willow Road, Menlo Park, CA United States 94025                                                           302,770
Charles River Associates                                      200 Clarendon St, Boston, MA United States 2116                                                              296,883
15520 HWY 114 LLC                                             2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                                                 287,106
Real-Time Innovations Inc                                     232 E. Java Drive, Sunnyvale, CA United States 94089                                                         281,258
Oracle America Inc                                            PO BOX 412622, Boston, MA United States 2241                                                                 269,892
GRUPO ANTOLIN PLASBUR SA                                      C/Lopez Bravo, 52 (Antiguas Naves Michelin) - NAVES ATLAS Pol. Ind. Villalonquéjar 09001, Burgos,            266,405
                                                              Castillia Spain 9001
Mayco International LLC                                       42400 Merill Road, Sterling Heights, MI United States 48314                                                 260,194
DSP Concepts Inc                                              3235 Kifer Road, Suite 100 Santa Clara, CA United States 95051                                              252,050
Exhibit N.1 - AP                                                                                                                                                           71 of 168
                                                   Case 25-10099-BLS      Doc 2        Filed 01/18/25           Page 106 of 202


                                                                                                                                                               Net AP
                                  Supplier                                                               Supplier Address                                   (AP less AP
                                                                                                                                                            Adjustment)
Los Angeles County Tax Collctor                                 PO BOX 54027, Los Angeles, CA United States 90054                                                    249,087
DUS Operating Inc                                               1780 Pond Run, Auburn Hills, MI United States 48326                                                  236,500
Accenture International Limited                                 1 Grand Canal Suare, Grand Canal Harbour Dublin 2, Ireland D02 P820                                  224,000
Expert Technologies Group Inc                                   4200N Atlantic Blvd., Auburn Hills, MI United States 48326                                           221,430
Valeo North America Inc                                         4100 North Atlantic Blvd., Auburn Hills, MI United States 48326                                      221,000
Kuka Robotics UK Ltd                                            Great Western Street, Wednesbury, West Midlands United Kingdom WS10 7LL                              220,984
MidAmerica Industrial Park                                      PO Box 945, Pryor, OK United States 74362                                                            202,684
Sharp Tooling Solutions LLC                                     70745 Powell Rd, Romeo, MI United States 48065                                                       201,488
Magna International Holding (UK) Limited                        Beaumont Road, Banbury, Oxfordshire United Kingdom OX16 1TR                                          200,427
Dell Marketing LP                                               PO Box 676021, Dallas, TX United States 75267                                                        198,477
Mobase Electronics Co Ltd                                       TERCERA AVENIDA LOTE 12, Apodaca, Nuevo Leon Mexico 66600                                            198,380
Tenneco Automotive Operating Company Inc                        Tenneco Automotive operating, 500 North Field Drive Lake Forest, IL United States 60045              198,000
Contegix                                                        PO Box 671710, Dallas, TX United States 75267                                                        195,222
Daversa Partners                                                55 Greens Farms Road, Floor 2 Westport, CT United States 6880                                        195,000
EDAG Inc                                                        1875 Research Drive, Suite 200 Troy, MI United States 48083                                          187,524
American Group LLC                                              PO Box 72086, Cleveland, OH United States 44192                                                      178,179
Twin Valet Parking Inc                                          1309 Magnolia Blvd, Burbank, CA United States 91506                                                  177,996
Electrical Solutions of Oklahoma Inc                            Electrical Solutions of Oklahoma, Inc., PO Box 10948 Midwest City, OK United States 73140            177,584
Giffin Inc                                                      1900 Brown Road, Auburn Hills, MI United States 48326                                                175,000
Polycon Industries A Division of Magna Exteriors                65 Independence Place, PL- Guelph, Canada N1K 1H8                                                    174,082
Siemens Industry Software Inc                                   PO BOX 2168, Carol Stream, IL United States 60132                                                    170,776
Capgemini America Inc                                           400 Broadacres Dr Ste 410, Bloomfield, NJ United States 7003                                         166,619
UKG Inc FKA The Ultimate Software Group Inc                     PO BOX 930953, Atlanta, GA United States 31193                                                       161,731
Idneo Technologies SAU                                          Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                 152,602
Engineering USA                                                 55 W Monroe St, Ste 2575 Chicago, IL United States 60603                                             150,645
Lee Contracting Inc                                             631 Cesar E. Chavez, Pontiac, MI United States 48342                                                 146,500
Altair Engineering Inc                                          Dept 771419, PO BOX 77000 Detroit, MI United States 48277                                            145,561
SITRICK GROUP LLC                                               11999 SAN VICENTE BLVD, PENTHOUSE Los Angeles, CA United States 90049                                143,100
Durr Systems AG                                                 Carl-Benz-Str. 34, Bietigheim-Bissingen, Germany 74321                                               140,069
Filtran LLC                                                     26804 Network Place, Chicago, IL United States 60673                                                 139,224
Concept Group LLC                                               2985 E Miraloma Ave, Anaheim, CA United States 92806                                                 137,083
Hesai Technology Co Ltd                                         3500 W Bayshore Rd, Palo Alto, CA United States 94303                                                135,800
RSM US LLP                                                      5155 Paysphere Circle, Chicago, IL United States 60674                                               134,599
aPriori Technologies Inc                                        300 Baker Ave, Suite 170 Concord, MA United States 1742                                              126,276
JAC auto parts (Ningbo) Co Ltd                                  No. 30 Xingshun Road SINO-ITALY, NINGBO ECOLOGICAL PARK Ningbo, China 315475                         125,495
Tweddle Group Inc                                               24700 Maplehurst Dr., Clinton Township, MI United States 48036                                       125,062
Novares US LLC                                                  19575 Victor Parkway, Suite 400 Livonia, MI United States 48152                                      117,246
MDA US LLC                                                      PO BOX 91683435, Chicago, IL United States 60691                                                     114,253
Exhibit N.1 - AP                                                                                                                                                     72 of 168
                                          Case 25-10099-BLS       Doc 2        Filed 01/18/25             Page 107 of 202


                                                                                                                                                          Net AP
                               Supplier                                                           Supplier Address                                     (AP less AP
                                                                                                                                                       Adjustment)
Lockton Companies                                      Lockton-Dunning Series of Lockton Companies, LLC, Dept 3042 PO Box 123042 Dallas, TX United              106,363
                                                       States 75312
JB Hunt Transport Inc                                  PO Box 847977, Dallas, TX United States 75284                                                           104,502
Supercar Blondie Social Media FZCO                     0, Shop 23, Golden Mile 7 Dubai, United Arab Emirates                                                   103,125
People 20 Belgium BV                                   Bredestraat 4, Antwerp, Belgium 2000 Antwerp                                                            102,103
Denso International America Inc                        24777 Denso Drive, Southfield, MI United States 48033                                                    99,550
CASCO Products Corporation                             28698 Network Place, Chicago, IL United States 60673                                                     98,880
Shenzhen LT Century Prototype Co Ltd                   2F, 3rd Bldg Jinyuda Industrial Park, Shangliao Business Rd., Shajing, Shenzhen, China 518125            97,121

HUGG AND HALL EQUIPMENT COMPANY                        PO BOX 194110, LITTLE ROCK, AR United States 72219                                                       97,024
Weideman Group Inc                                     9752 Clos Du Lac Circle, Loomis, CA United States 95650                                                  96,487
Morrow Sodali LLC                                      470 West Ave, 3rd Floor Stamford, CT United States 6902                                                  96,047
L&T Technology Services Limited                        2035 Lincoln Highway, St 3002, Edison, NJ United States 8817                                             92,745
Motor City Racks Inc                                   Carr. Francisco Zarco KM. 61.5, S/N, C.P., Durango, Mexico Mexico 34431                                  92,000
Principal Avation                                      50 N Laura St Ste 2500, Jacksonville, FL United States 32202                                             89,919
Globe Capital Partners GmbH                            Königstraße, 1A Stuttgart, Germany 70173                                                                 86,930
DN Automotive USA Inc                                  24500 Northline Road, Taylor, MI United States 48180                                                     86,043
R&E Automated Systems                                  70701 Powell Rd, Bruce Twp, MI United States 48065                                                       85,345
Presidio Networked Solutions Group LLC                 PO BOX 822169, Philadelphia, PA United States 19182                                                      83,584
Southern California Edison                             PO BOX 300, Rosemead, CA United States 91772                                                             83,255
Quest Global Services Pte Ltd                          # 7 Temasek Boulevard, # 09-04 Suntec Tower One , Singapore 038 987                                      82,454
Cornerstone OnDemand Inc                               Dept CH19590, Palatine, IL United States 60055                                                           82,299
OpenSynergy GmbH                                       Rotherstr. 20, Berlin, Germany 10245                                                                     82,100
Embark Consulting LLC                                  2919 Commerce Street, Suite 400 Dallas, TX United States 75226                                           81,540
FWU JIH DIE CASTING INDUSTRIAL CO LTD                  No.1, Lane 38, Chung-E 1st St., Rende Dist., Tainan City, TAIWAN Taiwan 71753                            80,650
HSL SRL                                                70, Via Di Vittorio Giuseppe - 38015 Lavis (TN) Trento, Lavis, Trentino Italy 38015                      79,712
Cyberone LLC                                           6851 Communications Pkwy, Plano, TX United States 75024                                                  78,370
Potter Anderson & Corroon LLP                          1313 N. Market St, 6th Floor Wilmington, DE United States 19801                                          74,572
STEAMMART                                              2801 NORTH MERIDIAN COURT, Oklahoma City, OK United States 73127                                         74,333
Arrow Electronics Inc                                  9201 E Dry Creek Road, Centennial, CO United States 80112                                                72,829
LinkedIN Corporation                                   62228 Collections Center Dr, Chicago, IL United States 60693                                             71,551
Starglass                                              Avenida del Ebro 58, Polígono Ind. El Sequero Agoncillo, Spain 26509                                     71,133
During Co LTD                                          No.512, 353, Namdong-daero,, Namdong-gu, Korea, Republic of 21630                                        70,700
IPG Automotive USA Inc                                 1350 Highland Dr., Suite F Ann Arbor, MI United States 48108                                             70,239
DJ Products Inc                                        1009 4th Street NW, Little Falls, MN United States 56345                                                 68,765
Foley & Lardner LLP                                    777 E. Wisconsin Avenue, Milwaukee, Wisconsin United States 53202                                        68,531
US Customs and Border Protection                       PO Box 979126, St. Louis, MO United States 93197-9000                                                    67,895
CEVA Freight LLC                                       15350 Vickery Drive, Houston, TX United States 77032                                                     67,601
Exhibit N.1 - AP                                                                                                                                                73 of 168
                                                 Case 25-10099-BLS      Doc 2        Filed 01/18/25            Page 108 of 202


                                                                                                                                                                  Net AP
                                 Supplier                                                              Supplier Address                                        (AP less AP
                                                                                                                                                               Adjustment)
Skyya LLC                                                     12800 Whitewater Dr, Ste 100, Eden Prairie, MN United States 55343                                         66,000
Consilio Inc                                                  DEPT CH 17174, Palatine, IL United States 60055                                                            65,930
Composite Envisions LLC                                       8450 Development CT, Wausau, WI United States 54401                                                        65,851
Confluent Inc                                                 899 West Evelyn Ave., Mountain View, CA United States 94041                                                65,634
Macauto Mexico SA de CV                                       Circuito Paseo de las Colinas 301, Leon, GTO Mexico 37668                                                  64,545
PRETTL LIGHTING & INTERIOR DE MEXICO SA DE CV                 CARRETERA LIBRE A CELAYA KM 8.6, Zona Industrial Balvanera Corregidora, Queretaro Mexico 76908             64,228

Fairchild Industries Inc                                      475 Capital Drive, Lake Zurich, IL United States 60047                                                    63,551
Anderton Castings SAS                                         1388 Rue Adrienne Bolland, Andrezieux-Boutheon, France 42160                                              62,281
Anton Manufacturing division of Multimatic Inc                300 Basaltic Road, Concord, Canada L4K 4Y9                                                                61,553
Hella Electronics Corporation                                 PO Box 5122, Carol Stream, IL United States 60197                                                         61,258
CRAWFORD ELECTRIC SUPPLY CO LLC                               PO BOX 847160, Dallas, TX United States 75284                                                             61,238
Humanetics Innovative Solutions                               23300 Haggerty Road, Farmington Hills, MI United States 48335                                             61,235
Envisai Inc                                                   6 Redwood Ct, Plainsboro, NJ United States 8536                                                           60,520
Express Employment Professionals                              PO BOX 203901, Dallas, TX United States 75320                                                             60,147
ATS Automation Tooling Systems Inc                            ATS Automation Tooling Systems Inc, 730 Fountain St N, Building #1 Cambridge, Canada N3H 4R7              59,453

Rapid Global Business Solutions Inc                           1200 Stephenson Hwy, Troy, MI United States 48083                                                         59,051
Hawk Ridge Systems LLC                                        575 Clyde Ave Suite 420, Mountain View, CA United States 94043                                            58,650
HP INC                                                        PO BOX 742881, Los Angeles, CA United States 90074                                                        58,609
Grand River Dam Authority                                     Grand River Dam Authority, PO Box 669 Chouteau, OK United States 74337                                    58,508
Audio User Experience LLC                                     39 West 14th Street, Suite 303, New York, NY United States 10011                                          58,401
Total Tool Solutions Inc                                      6775 19 Mile Road, Sterling Heights, MI United States 48314                                               58,309
Cloudflare Inc                                                101 Townsend Street, San Francisco, CA United States 94107                                                57,780
Smart Manufacturing Technology Ltd                            Wilford House, 1 Clifton Lane Nottingham, Nottinghamshire United Kingdom NG11 7AT                         57,749
ORION SECURITY SOLUTIONS LLC                                  16232 MUIRFIELD PLACE, Edmond, OK United States 73013                                                     56,651
Kistler Instrument Corporation                                75 John Glenn Dr, Amherst, NY United States 14228                                                         56,091
Gamma Technologies LLC                                        601 Oakmont Lane, Suite 220 Westmont, IL United States 60559                                              55,900
Flexpipe Inc                                                  33 Racine Street, Farnham, Canada J2N 3A3                                                                 55,845
IPFS Corporation                                              1055 Broadway 11th Floor, Kansas City, MO United States 64105                                             55,210
Thermoflex Corporation                                        1535 South Lakeside Drive, Waukegan, IL United States 60085                                               55,030
AMP Industrial Service sro                                    Slavikova 436, Libice nad Cidlinou, Tschechien Czech Republic 289 07                                      54,565
BETA CAE Systems International AG                             Platz 4, Root, Switzerland 6039                                                                           54,506
Western Allied Corporation                                    12046 Florence Ave, Santa Fe Springs, CA United States 90670                                              54,315
Contentful Inc                                                1801 California St,, Suite 4600 Denver, CO United States 80202                                            54,269
Adobe Inc                                                     29322 Network Place, Chicago, IL United States 60673                                                      54,057
Caldwell & Associates LLC                                     1921 NW 35th Street, Oklahoma City, OK United States 73118                                                54,000
C-P-S Automotive LP                                           1 Research Drive, Suite 300 I Greenville, SC United States 29607                                          53,738
Exhibit N.1 - AP                                                                                                                                                        74 of 168
                                                  Case 25-10099-BLS       Doc 2        Filed 01/18/25            Page 109 of 202


                                                                                                                                                             Net AP
                               Supplier                                                                  Supplier Address                                 (AP less AP
                                                                                                                                                          Adjustment)
15306 HWY 114 LLC                                              2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                                             53,728
Lucid Software Inc                                             17239, 5505 N Cumberland Ave Ste 307 Chicago, IL United States 60656                                 53,657
Woory Industrial Company Ltd                                   317 Poseungnam-ro, Poseung-eup, Pyeongtaek-si, Korea, Republic of 17708                              53,275
Mullenix & Associates LLC                                      501 Woodlane, Suite 105 Little Rock, AR United States 72201                                          52,500
Horiba MIRA Ltd                                                Watling Street, Nuneaton, Warwickshire United Kingdom CV10 0TU                                       51,892
Seyfarth Shaw LLP                                              233 S Wacker Drive Ste 8000, Chicago, IL United States 60606                                         51,616
Intertek Testing Services NA Inc                               PO BOX 405176, Atlanta, GA United States 30384                                                       50,871
Baker Tilly US LLP                                             Box 78975, Milwaukee, WI United States 53278                                                         50,255
Jobplex                                                        71 S Wacker Drive, Suite 2700 Alsip, IL United States 60606                                          50,000
Automotive Testing And Development Services Inc                400 S Etiwanda Ave, Ontario, CA United States 91761                                                  49,844
Creative Wave GMBH                                             Rudolf- Diesel-Strasse.12, Dachau, Germany 85221                                                     49,403
Infinite Equity Inc                                            3663 Folsom St, San Francisco, CA United States 94110                                                49,000
Nexen Corporation                                              291, Daedongwolpo-ro, Daehap-myeon, Daehap-myeon / Changnyeong-gun,/ 50307, Changnyeong-             48,598
                                                               gun, Gyeongsangnam-do Korea, Republic of 50307
Fastenal Company                                               3761 5th Ave N, LETHBRIDGE, Canada T1H 5L4                                                          48,468
McSpadden Milner Robinson LLC                                  901 N Lincoln Blvd Ste 380, Oklahoma City, OK United States 73104                                   48,000
LHi Group Inc                                                  123 William street, 14th Floor, New York, NY United States 10038                                    47,000
NMB Technologies Corporation                                   9730 Independence Ave, Chatsworth, CA United States 91311                                           46,880
Shanghai Redstart Technology Co Ltd                            Room 1202 No 6 No 2989 Gonghexin Rd, Shanghai, China 200072                                         46,390
Elite Electronic Engineering Inc                               1516 Centre Circle, Downers Grove, IL United States 60515                                           46,350
Compensia Inc                                                  PO BOX 103143, Pasadena, CA United States 91189                                                     45,678
Oasys Ltd                                                      8 Fitzroy Street, London, London United Kingdom W1T 4BJ                                             45,605
Autodesk Inc                                                   Auto Desk Inc C/O Citibank, PO Box 2188 Carol Stream, IL United States 60132                        44,326
RPM Freight Systems LLC                                        120 S. LaSalle, Chicago, IL United States 60603                                                     43,885
Fiberdyne Research Pty Ltd                                     14 Carmel Ave, Ferntree Gully, Vic Australia 3156                                                   43,211
Assemble-Rite Ltd                                              20501 Pennsylvania Rd, Ste 150 Brownstown, MI United States 48193                                   42,110
EntServ Deutschland GmbH                                       EntServ Deutschland GmbH, Schickardstr. 32 Boeblingen, Germany 71034                                42,083
The Benchmark Company LLC                                      150 East 58th Street 17th Floor, Bowling Green, NY United States 10155                              42,000
Sterling Battery Testing LLC                                   Sterling Battery Testing LLC, 54392 Pontiac Trail Milford, MI United States 48381                   41,961
Capture 3D Inc                                                 3207 S Shannon St, Santa Ana, CA United States 92704                                                41,019
TOX-PRESSOTECHNIK LLC                                          4250 WEAVER PARKWAY, Warrenville, IL United States 60555                                            41,004
Richards Layton & Finger PA                                    920 North King Street, Wilmington, DE United States 19801                                           40,667
Nextsense Inc                                                  3350 Riverwood Pkwy Ste 1900, Atlanta, GA United States 30339                                       40,340
AFCO                                                           4501 College Blvd, Ste 320 Leawood, KS United States 66211                                          40,303
Delaware Secretary of State                                    Franchise Tax Section, 401 Federal St Dover, DE United States 19902                                 40,000
ESG Advisor Group LLC                                          79 Bridge St Apt 5F, Brooklyn, NY United States 11201                                               40,000
Intralinks Inc                                                 685 Third Ave 9th FL, New York, NY United States 10017                                              39,765
Fisher & Phillips LLP                                          PO BOX 840703, Los Angeles, CA United States 90084                                                  39,613
Exhibit N.1 - AP                                                                                                                                                   75 of 168
                                                    Case 25-10099-BLS      Doc 2      Filed 01/18/25          Page 110 of 202


                                                                                                                                                             Net AP
                                    Supplier                                                           Supplier Address                                   (AP less AP
                                                                                                                                                          Adjustment)
Hottinger Bruel and Kjaer Inc                                    19 Bartlett Street, Marlborough, MA United States 1752                                             38,868
NRTC Alabama Inc                                                 124 Carson Rd, Center Point, AL United States 35215                                                38,448
Faegre Drinker Biddle & Reath LLP                                NW 6139, PO Box 1450 Minneapolis, MN United States 55485                                           37,082
Hendrickson Composite Dayton LLC                                 PO Box 7410228, Chicago, IL United States 60674                                                    37,052
Zion Robotics & Controls LLC                                     585 S CEDAR ST, IMLAY CITY, MI United States 48444                                                 36,600
FactSet Research Systems Inc                                     PO Box 414756, Reference # 9V172211 Boston, MA United States 2241                                  36,517
Oxford Global Resources LLC                                      900 Cummings Center, Suite 326T, Beverly, MA United States 1915                                    36,137
Kyungshin Cable International Corporation                        Parcela #101 Poligono 1 Fracc.3, Gomex Palacio, Durango Mexico CP 35120                            35,200
In-Charge Energy Inc                                             1433 5th Street, Santa Monica, CA United States 90401                                              34,721
S & P Global                                                     Ropemaker Place, 4th Floor, 25 Ropemaker Street London, London United Kingdom EC2Y 9LY             34,150

My Equity Comp LLC                                               2339 Gold Meadow Way, Ste. 210 Gold River, CA United States 95670                                 33,720
The QT Company                                                   3031 Tisch Way 110 Plaza West, San Jose, CA United States 95128                                   33,450
Allied Plastics LLC                                              150 Holy Hill Road, Twin Lakes, WI United States 53181                                            33,191
Staples Contract & Commercial LLC                                PO BOX 660409, Dallas, TX United States 75266                                                     32,957
HSI Workplace Compliance Solutions Inc                           PO Box 809321, Chicago, IL United States 60680                                                    32,462
Robinson Investments LTD                                         PO Box 508, Bellefontaine, OH United States 43311                                                 31,633
HRMS Solutions Inc                                               941 Grant Pl, Boulder, CO United States 80302                                                     31,605
Simmons & Simmons LLP                                            CityPoint, 1 Ropemaker Street, London, London United Kingdom EC2Y 9SS                             31,590
Aqua Green Solutions                                             2710 E Corridor Dr, Appleton, WI United States 54913                                              31,536
Cornerstone Government Affairs Inc                               800 Maine Ave SW 7th Floor, Washington, DC United States 20024                                    31,250
ETRADE FINANCIAL CORPORATE SERVICES INC                          C/O CORP TAX DEPT, 671 N. GLEBE ROAD Arlington, VA United States 22203                            31,200
Gauntlett & Associates                                           5 Pelican Vista Dr, Newport Coast, CA United States 92657                                         30,090
MOURI TECH LLC                                                   1183 W John Carpenter Fwy, Irving, TX United States 75039                                         30,060
SAE International                                                PO BOX 645959, Pittsburgh, PA United States 15264                                                 30,030
Allium US Holding LLC                                            PO Box 735794, Chicago, IL United States 60673                                                    30,023
Magnum Construction Inc                                          PO Box 707, Broken Arrow, OK United States 74013                                                  30,000
OPTIMAS OE SOLUTIONS LP                                          2651 Compass Road, Glenview, IL United States 60026                                               29,963
Elite Protection Services                                        224 E. MAINI ST, 1ST FLOOR OKLAHOMA CITY, OK United States 73104                                  29,613
Law Office of Daniel F Wachtell                                  90 Broad Street, 23rd Floor, New York, NY United States 10004                                     28,993
Artemis Consulting Group Inc                                     13221 N. Teal Blue Tr., Tucson, Az United States 85742                                            28,900
Telos Global LLC                                                 1880 Hwy 116, Caryville, TN United States 37714                                                   28,824
Best Buy Automotive Equipment                                    42660 Rio Nedo, Temecula, CA United States 92590                                                  28,551
Perforce Software Inc                                            Programming Research LTD, PO BOX 742263 Los Angeles, CA United States 90074                       28,298
BG Networks Inc                                                  100 Robin Road, Weston, MA United States 2493                                                     28,000
MOBIS NORTH AMERICA LLC                                          46501 Commerce Center Drive, Plymouth, MI United States 48170                                     27,584
Mobile Mini Inc dba Mobile Mini Storage Solutions                PO BOX 91975, Chicago, IL United States 60693                                                     27,504
Life Insurance Company of North America                          1601 Chestnut Street, Two Liberty Place Philadelphia, PA United States 19192                      27,338
Exhibit N.1 - AP                                                                                                                                                   76 of 168
                                                    Case 25-10099-BLS                   Doc 2       Filed 01/18/25           Page 111 of 202


                                                                                                                                                                                 Net AP
                                 Supplier                                                                            Supplier Address                                         (AP less AP
                                                                                                                                                                              Adjustment)
Nesbitt Building Maintenance Inc                                              7348 Boulevard 26, Richland Hills, TX United States 76180                                                 27,306
MSC Direct                                                                    MSC Industrial Supply Co, PO BOX 953635 Saint Louis, MO United States 63195                               27,114
BOS Automotive Products Inc                                                   2956 Waterview Drive, Rochester Hills, MI United States 48309                                             26,500
FedEx Freight Inc                                                             PO BOX 660481, Dallas, TX United States 75266                                                             26,444
Humanetics Digital North America Inc                                          598 Airport Blvd, Suite 600, Morrisville, NC United States 27560                                          26,350
DemandBlue                                                                    5 Corporate Park Ste 140, Irvine, CA United States 92606                                                  26,000
Anvil Ventures Inc                                                            2125 Western Ave., Suite 208 Seattle, WA United States 98121                                              25,604
JVIS USA LLC                                                                  PO Box 530, Mount Clemens, MI United States 48046                                                         25,200
IHS Global Inc                                                                P.O. Box 911501, Denver, CO United States 80291                                                           25,037
Scheugenpflug Inc                                                             1000 Cobb Place Blvd, Suite 514 Kennesaw, GA United States 30144                                          24,024
Vector North America Inc                                                      39500 Orchard Hill Place, Ste. 400, Novi, MI United States 48375                                          23,870
ATOP SpA                                                                      Strada S.Appiano 8/A, Barberino Val d’Elsa, Italy 50021                                                   23,356
Hatch Stamping Company LLC                                                    635 East Industrial Drive, Chelsea, MI United States 48118                                                23,302
Exterior Systems Engineering a division of Magna Exteriors America Holdings   750 Tower Drive, Mail Code 5300 Troy, MI United States 48098                                              22,845
Inc
Materialise USA LLC                                                           9450 SW Gemini Dr, PMB 71948 Beaverton, OR United States 97006                                           22,515
Prime Wheel                                                                   17705 S Main St, Gardena, CA United States 90248                                                         22,355
Schwab Industries Inc                                                         50850 Rizzo Dr, Shelby Township, MI United States 48315                                                  22,294
CDH Detroit Inc                                                               7 W Square Lake Rd, Bloomfield Hills, MI United States 48302                                             22,138
Atlas Copco Tools and Assembly Systems Inc                                    3301 Cross Creek Parkway, Auburn Hills, MI United States 48326                                           22,008
Inteva Products LLC                                                           300 Sipingshan Road, Dingmao Zhenjiang, China 212009                                                     21,376
Dakota Software Corporation                                                   1375 Euclid Ave, Suite 500 Cleveland, OH United States 44115                                             21,068
Aon Consulting Inc                                                            29695 Network Place, Chicago, IL United States 60673                                                     20,930
Marelli North America Inc                                                     Marelli Mexicana SA de CV, AVE San Fransisco 401 Aguascalientes, San Francisco de los Romo               20,674
                                                                              Mexico C.P. 20304
Wheels Now Inc                                                                N29W22798 Marjean Lane, Waukesha, WI United States 53186                                                 20,575
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV                                Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                       20,540
Ross Aronstam & Moritz LLP                                                    1313 North Market Street, Suite 1001 Wilmington, DE United States 19801                                  20,355
MGA Research Corporation                                                      12790 Main Road, Akron, NY United States 14001                                                           20,300
Motorsports Electronics                                                       2554 Vía Tejon, Palos Verdes Estates, CA United States 90274                                             19,950
SEA Ltd                                                                       PO Box 932837, Cleveland, OH United States 44193                                                         19,881
Marsh USA Inc                                                                 PO Box 846015, Dallas, TX United States 75284                                                            19,630
Magid Glove and Safety Manufacturing Company LLC                              PO BOX 95081, Chicago, IL United States 60649                                                            19,390
Revchem Composites Inc                                                        2720 S Willow Ave, #B Bloomington, CA United States 92316                                                19,215
PROJECT EXPERTS 360 LLC                                                       5718 Westheimer Road, Suite 1000, Office 36 Houston, TX United States 77057                              19,200
Exponent Inc                                                                  PO BOX 200283, Dallas, TX United States 75320                                                            19,000
Pearl Engineered Solutions Pte Ltd                                            109/519 Moo 7 Tumbol Klongsong, Amphua Klongluang Pathumthani, 12120 Thailand , T: +66-2-901-            18,970
                                                                              6011, Pathumthani, Thailand 12120
Exhibit N.1 - AP                                                                                                                                                                       77 of 168
                                           Case 25-10099-BLS      Doc 2       Filed 01/18/25           Page 112 of 202


                                                                                                                                                           Net AP
                                Supplier                                                        Supplier Address                                        (AP less AP
                                                                                                                                                        Adjustment)
Transportation Research Center Inc                      10820 State Route 347, PO Box B-67 East Liberty, OH United States 43319                                   18,895
FPS Technologies Inc                                    PO Box 14780, oklahoma City, OK United States 73113                                                       18,642
Wil-kast Inc                                            9100 Byron Commerce, Byron Center, MI United States 49315                                                 18,510
Surgere LLC                                             PO BOX 95995, Chicago, IL United States 60694                                                             17,940
12TH WONDER LLC                                         5890 Stoneridge Dr, Suite 216 Pleasanton, CA United States 94588                                          17,708
Redline Detection LLC                                   828 W. Taft Ave, Orange, CA United States 92865                                                           17,504
RHINO LININGS CORPORATION                               9747 BUSINESSPARK AVE, SAN DIEGO, CA United States 92131                                                  17,435
River Point Technology LLC                              1700 Ashwood Drive, Suite 1704 Canonsburg, PA United States 15317                                         17,080
TECHNIA Inc                                             6300 West Loop South, Suite 125 Bellaire, TX United States 77401                                          16,960
Envoy Inc                                               410 Townsend St. Suite 410, San Francisco, CA United States 94107                                         16,912
Fox Factory Inc                                         2055 SUGARLOAF CIRCLE, SUITE 300 DULUTH, GA United States 30097                                           16,830
Ellsworth Adhesives                                     25 Hubble, Irvine, CA United States 92618                                                                 16,684
Osirius Group LLC                                       725 South Adams Rd., Suite 205 Birmingham, MI United States 48009                                         16,575
Link Vehicle Testing Inc                                43855 Plymouth Oaks Blvd, Plymouth, MI United States 48170                                                16,500
SURFACE PREP SOT DIVISION                               PO BOX, Alsip, IL United States 60677                                                                     16,305
CAE Services Corporation                                280 Belleview Lane, Batavia, IL United States 60510                                                       16,250
Historit Ltd                                            Building 108 Bicester Heritage, Buckingham Road Bicester, Oxfordshire United Kingdom OX27 8AL             16,142

OG&E                                                    PO Box 24990, Oklahoma City, OK United States 73124                                                      16,032
Anderton Castings LLC                                   PO BOX 1170, Temple, TX United States 76503                                                              15,843
Hexagon Manufacturing Intelligence Inc                  PO Box 749424, Atlanta, GA United States 30374                                                           15,690
Thompson Hine                                           3900 Key Tower, 127 Public Square Cleveland, OH United States 44114                                      15,357
Detroit Engineered Products Inc                         850 E Long Lake Rd, Troy, MI United States 48085                                                         15,000
Cirba Solutions LLC                                     4930 Holtz Road, Wixom, MI United States 48393                                                           14,874
IDIADA Automotive Technology UK Ltd                     St Georges Way, Bermuda Industrial Estate Nuneaton, Warwickshire United Kingdom CV10 7JS                 14,505

Republic Services                                       PO BOX 713502, Chicago, IL United States 60677                                                           14,427
Production Modeling Corporation                         15726 Michigan Ave, Dearborn, MI United States 48126                                                     14,412
Davis Gavsie & Hakim LLP                                100 Wilshire Boulevard Ste 700, Santa Monica, CA United States 90401                                     14,375
TE Connectivity Ltd                                     1050 Westlakes Dr, Berwyn, PA United States 19312                                                        13,890
Rexel USA Inc                                           PO BOX 840638, Dallas, TX United States 75284                                                            13,820
InDepth Engineering Solutions LLC                       850 Stephenson Hwy, Suite 322 Troy, MI United States 48083                                               13,660
SEKONIX Co Ltd                                          28 Pyeonghwa-ro 2862beon-gil, Dongducheon-si, Korea, Republic of 11307                                   13,572
Datadog Inc                                             620 8th Ave, 45th Floor, New York, NY United States 10018                                                13,274
Black Hills Energy                                      PO BOX 7966, Carol Stream, IL United States 60197                                                        13,191
DHL EXPRESS USA INC                                     16592 Collections Dr, Chicago, IL United States 60693                                                    13,023
Smithers Rapra Inc                                      425 West Market Street, Akron, OH United States 44303                                                    12,860
Bauer Associates Inc                                    44190 Plymouth Oaks Blvd., Plymouth, MI United States 48170                                              12,799
Exhibit N.1 - AP                                                                                                                                                 78 of 168
                                                    Case 25-10099-BLS       Doc 2        Filed 01/18/25            Page 113 of 202


                                                                                                                                                                  Net AP
                                  Supplier                                                                 Supplier Address                                    (AP less AP
                                                                                                                                                               Adjustment)
University of Southern California Sponsored Projects Accounting   3500 S Figueroa St Ste 102, Los Angeles, CA United States 90089                                        12,663
Allied Wire & Cable Inc                                           101 Kestrel Drive, Collegeville, PA United States 19426                                                12,562
Unum Life Insurance Company of America                            1 Fountain Square, Chattanooga, TN United States 37402                                                 12,468
Mercer US Inc                                                     PO BOX 730212, Dallas, TX United States 75373                                                          12,244
Lightguide Inc                                                    48443 Alpha Drive, STE 175 Wixom, MI United States 48393                                               12,024
Tech Mahindra Limited                                             Unit 1, 4th and 5th Floor, Plot No 22 to 25 and 27 to 34 Hyderabad, Telangana India 560100             12,000
Polymer Process Development LLC                                   11969 Shelby Tech Drive, Shelby Township, MI United States 48315                                       12,000
The InSource Group Inc                                            7800 North Dallas Parkway, St 300 Plano, TX United States 75024                                        12,000
Curve Engineering Solutions Ltd                                   Suite 5, Hagley Business Centre, Hagley, West Midlands United Kingdom DY9 9JW                          11,985
CADWELL GmbH                                                      Luisenstraße 1, Haan, Germany 42781                                                                    11,782
Oklahoma Natural Gas                                              PO BOX 219296, Kansas City, MO United States 64121                                                     11,760
K2 Discovery                                                      9903 Santa Monica Blvd., Suite 637 Beverly Hills, CA United States 90212                               11,744
RCO Engineering Inc                                               45601 Five Mile Rd, Plymouth, MI United States 48170                                                   11,740
RS Americas RS Components Ltd                                     PO Box 841811, Dallas, TX United States 75284                                                          11,675
Equisolve Inc                                                     3500 SW Corporate Parkway, Suite 206, Palm City, FL United States 34990                                11,592
Mac Tools                                                         5195 Blazer Parkway, Pittsburgh, PA United States 15251                                                11,435
Mid-West Hose & Specialty Inc                                     3312 S I-35 Service Road, Oklahoma City, OK United States 73129                                        11,423
A Plus Crane Inspections LLC                                      PO Box 1188, Mustang, OK United States 73064                                                           11,261
Sherfab Unlimited Inc                                             1740 E Monticello ct, Ontario, CA United States 91761                                                  11,223
TCLAD Inc                                                         1600 Orrin Rd, Prescott, WI 54021-2000 Prescott, WI United States 54021                                11,107
MX Electronics Manufacturing Inc                                  1651 E St. Andrew Place, Santa Ana, CA United States 92705                                             11,083
Thomson Reuters - West                                            Payment Center, PO Box 6292 Carol Stream, IL United States 60197                                       11,015
Rescale Inc                                                       33 New Montgomery St, Suite 950 San Francisco, CA United States 94105                                  10,936
Intellicosting LLC                                                980 Chicago Rd, Troy, MI United States 48083                                                           10,844
Laird Thermal Systems Inc                                         100 W. 33rd Street, Bowling Green, NY United States 10001                                              10,824
Granite Recruitment & Consulting Pty Ltd                          Queen Street, Level 7 Melbourne, Victoria Australia 3000                                               10,718
Glenn Coffee and Associates PLLC                                  915 N. Robinson Avenue, Oklahoma City, OK United States 73102                                          10,395
N H Research Incorporated                                         16601 Hale Ave, Irvine, CA United States 92606                                                         10,130
Electrify America LLC                                             1950 Opportunity, Reston, VA United States 20190                                                       10,125
Tighe Industrial Solutions LLC                                    5460 S. Garnett Rd. Suite Q, Tulsa, OK United States 74146                                             10,025
Hamilton Clark Sustainable Capital Inc                            1701 Pennsylvania Ave NW Ste 200, Washington, DC United States 20006                                   10,000
ESI North America Inc                                             32605 W. 12 MILE RD #350, Farmington Hills, MI United States 48334                                      9,999
PagerDuty Inc                                                     600 Townsend Street, Suite 125, San Francisco, CA United States 94103                                   9,840
Verizon Wireless                                                  PO Box 660108, Dallas, TX United States 75266                                                           9,640
Krayden Inc                                                       2611 S Harbor Blvd, Santa Ana, CA United States 92704                                                   9,519
Industrial Metal Supply Co                                        301 Main Street, Riverside, CA United States 92501                                                      9,508
EMCtools Armin Lenk                                               Meginhardstrasse 50, Ostrach, Germany 88356                                                             9,412
Morse Measurements LLC                                            1163 Speedway Blvd, Salisbury, NC United States 28146                                                   9,275
Exhibit N.1 - AP                                                                                                                                                        79 of 168
                                                Case 25-10099-BLS      Doc 2        Filed 01/18/25            Page 114 of 202


                                                                                                                                                                    Net AP
                                   Supplier                                                           Supplier Address                                           (AP less AP
                                                                                                                                                                 Adjustment)
DMG MORI USA INC                                             2400 Huntington Blvd, Hoffman Estates, IL United States 60192                                                  9,262
Lone Star Truck & Truck Services                             10211 FM 156, Fort Worth, TX United States 76131                                                               9,082
OneTrust LLC                                                 1200 Abernathy Rd STE 700, Atlanta, GA United States 30328                                                     9,006
TRS Staffing Solutions S DE RL DE CV                         Insurgentes SUR 601 PISO 12, Ciudad de Mexico, COL.NAPOLES C.P. Mexico 3810                                    9,001
Plasmatreat USA Inc                                          2541 Technology Dr, Ste 407 Elgin, IL United States 60124                                                      9,000
SIXXON PRECISION MACHINERY COLTD                             No. 6 Yu 3rd Rd. Youth Industrial Park, Taoyuan City, Taiwan 32661                                             8,947
Shibaura Electronics of America Corporation                  39555 Orchard Hill Place, Suite 435 Novi, MI United States 48375                                               8,850
Clearwater Enterprises LLC                                   5637 N. Classen Blvd., Attn: Jennifer Ikeler Oklahoma City, OK United States 73118                             8,843
Burke E Porter Machinery CO                                  730 Plymouth Ave NE, Grand Rapids, MI United States 49505                                                      8,700
National Instruments Corporation                             11500 N Mopac Expwy, Austin, TX United States 78759                                                            8,400
Flexible Circuit Technologies Inc                            9850 51st Avenue N, Plymouth, MN United States 55442                                                           8,216
Precision Measuring Corp                                     PO Box 26118, Fraser, MI United States 48026                                                                   8,145
Spectrum Business                                            Charter Communications, PO BOX 6030 Carol Stream, IL United States 60197                                       8,106
Unison Electric                                              16652 Gemini Ln, Huntington Beach, CA United States 92647                                                      8,095
ASAM eV                                                      Altlaufstraße 40, Höhenkirchen, Germany 85635                                                                  8,050
Trumpler Marketing Group Inc                                 25018 Broadwell Ave, Harbor City, CA United States 90710                                                       8,048
Axiom Global Inc                                             Three World Trade Centre, 50th Floor Greenwich Street New York, NY United States 10007                         8,000
InterRegs Ltd                                                21-23 East Street, Fareham, Hampshire United Kingdom PO16 0BZ                                                  7,905
Harness Inc                                                  55 Stockton Street, San Francisco, CA United States 94108                                                      7,508
Prime Capital Investment Advisors LLC                        6201 College Blvd, 7th Floor Overland Park, KS United States 66211                                             7,500
PRACTISING LAW INSTITUTE                                     1177 Avenue of the Americas, New York, NY United States 10036                                                  7,430
Joe Carlson Studio Inc                                       2022 Edgewood Dr, S Pasadena, CA United States 91030                                                           7,408
TPx Communications                                           515 S Flower St, 45th Floor Los Angeles, CA United States 90071                                                7,387
Diversified Machine Systems LLC                              1068 Elkton Drive, Colorado Springs, CO United States 80907                                                    7,278
Testron Corporation                                          34153 Industrial Rd, Livonia, MI United States 48150                                                           6,925
Safety Kleen Systems Inc                                     PO BOX 975201, Dallas, TX United States 75397                                                                  6,866
Highly Marelli USA Inc                                       305 Stanley Blvd, Building 2 Shelbyville, TN United States 37160                                               6,825
Al Tamimi and Company Advocate & Legal Consultant            Level 8, Tadawul Tower, King Abdullah Financial District Riyadh, Saudi Arabia, Saudi Arabia 11372              6,815

Eller and Detrich                                            2727 E 21st St, Ste 200 Tulsa, OK United States 74114                                                         6,635
Mineral Inc                                                  PO Box 201066, Dallas, TX United States 75320                                                                 6,600
SNAP-ON CREDIT LLC                                           950 TECHNOLOGY WAY, SUITE 301 LIBERTYVILLE, IL United States 60048                                            6,547
Best Packaging and Crating Inc                               15010 S Main St, Gardena, CA United States 90248                                                              6,381
HackerRank                                                   700 E El Camino Real, Suite 300 Mountain View, CA United States 94040                                         6,282
Dana Limited                                                 PO BOX 910230, Dallas, TX United States 75391                                                                 6,267
Pit-Andre Stoldt                                             414 N Broadway, Redondo Beach, CA United States 90277                                                         6,050
Carl Warren & Company LLC                                    175 N. Riverview Dr, Unit A Anaheim, CA United States 92808                                                   6,000
Systems Electro Coating LLC                                  253 OLD JACKSON ROAD, MADISON, MS United States 39110                                                         5,964
Exhibit N.1 - AP                                                                                                                                                          80 of 168
                                             Case 25-10099-BLS      Doc 2        Filed 01/18/25           Page 115 of 202


                                                                                                                                                            Net AP
                                 Supplier                                                         Supplier Address                                       (AP less AP
                                                                                                                                                         Adjustment)
Convergint Technologies LLC                               35257 Eagle Way, Chicago, IL United States 60678                                                          5,899
Link Engineering Company                                  401 Southfield Road, Dearborn, MI United States 48120                                                     5,895
Otis Elevator Company                                     PO BOX 73579, Chicago, IL United States 60673                                                             5,891
Epoxies LLC                                               21 Starline Way, Cranston, RI United States 2921                                                          5,885
Digital Media Innovations LLC                             PO Box 74007143, (“Notified”) c/o West Technology Group, LLC Chicago, IL United States 60674              5,840

Gentex Corporation                                        600 N Centennial, Zeeland, MI United States 49464                                                        5,821
Martin Container Inc                                      PO Box 185, Wilmington, CA United States 90748                                                           5,786
Rawlings Mechanical Corp                                  11615 Pendleton Street, Sun Valley, CA United States 91352                                               5,764
Abrams and Bayliss LLP                                    20 Montchanin Road, Suite 200 Wilmington, DE United States 19807                                         5,652
Ranger Design Inc                                         20600 Clark-Graham, Montreal, Canada H9X 4B6                                                             5,489
Tri Signal Integration Inc                                28110 Avenue Stanford, Unit D Santa Clarita, CA United States 91355                                      5,334
OSC Globe                                                 Kunlun Rd#11, Xinbei, Jiangsu, China 330012                                                              5,248
Inkbit LLC                                                1 Cabot Road, Suite 400 Medford, MA United States 2155                                                   5,245
Oklahoma Business Roundtable                              655 Research Parkway Ste 420, Oklahoma City, OK United States 73104                                      5,187
Nasdaq Inc                                                151 W 42nd St, New York, NY United States 10036                                                          5,045
BCI Mechanical Inc                                        400 E Oak Street, Denton, TX United States 76201                                                         5,017
Cyntergy AEC LLC                                          810 S Cincinnati Ave, 2nd Floor Tulsa, OK United States 74119                                            5,000
COGENCY GLOBAL INC                                        122E 42ND ST 18TH FL NY NY 10168, New York, NY United States 10168                                       4,823
Container Alliance Company                                510 Castillo St Suite 340, Santa Barbara, CA United States 93101                                         4,536
Intelligent Optical Systems                               19601 Mariner Ave, Torrance, CA United States 90503                                                      4,500
TDK-Lambda Americas Inc                                   405 Essex Road, Neptune, NJ United States 7753                                                           4,426
Summit Fire And Security LLC                              101 NE 138th Street, Edmond, OK United States 73013                                                      4,320
Unity Technologies Aps                                    Niels Hemmingsens Gade 24, Copenhagen, Hovedstaden Denmark 1153                                          4,200
Brady Worldwide Inc                                       PO Box 71995, Chicago, IL United States 60694                                                            4,175
Fidelity Investments                                      PO BOX 73307, Alsip, IL United States 60673                                                              4,167
Rapid Axis LLC                                            1482 Oddstad Rd, Redwood City, CA United States 94063                                                    4,144
Union Rural Electric Cooperative Inc                      15461 US Highway 36, Marysville, OH United States 43040                                                  4,072
TestEquity LLC                                            2434 McIver Lane, Carrollton, TX United States 75006                                                     4,054
Litera                                                    550 W Jackson Blvd, Suite 200 Chicago, IL United States 60661                                            4,023
Young Conaway Stargatt & Taylor LLP                       1000 N. King Street, Wilmington, DE United States 19801                                                  4,010
Whiskey Six Tactical LLC                                  12557 240th Street, Blanchard, OK United States 73010                                                    4,000
Turbo Tint South OKC                                      11700 S. Western Ave., Oklahoma City, OK United States 73170                                             3,996
City of Torrance Utilities                                PO BOX 845629, Los Angeles, CA United States 90084                                                       3,947
ESPEC North America Inc                                   4141 Central Parkway, Hudsonville, MI United States 49426                                                3,842
Micro Quality Calibration Inc                             9168 De Soto Avenue, Chatsworth, CA United States 91311                                                  3,772
FACTIVA INC A DOW JONES COMPANY                           PO BOX 30994, New York, NY United States 10087                                                           3,711
Suzhou Recodeal Interconnect System Co Ltd                No. 998, Songjia, Suzhou, China 215124                                                                   3,699
Exhibit N.1 - AP                                                                                                                                                  81 of 168
                                           Case 25-10099-BLS      Doc 2       Filed 01/18/25           Page 116 of 202


                                                                                                                                      Net AP
                                Supplier                                                        Supplier Address                   (AP less AP
                                                                                                                                   Adjustment)
Arbin Instruments Inc                                   762 Peach Creek Cut Off Road, College Station, TX United States 77845                 3,641
American Red Cross                                      25688 Network Place, Chicago, IL United States 60673                                  3,620
MSSC US INC                                             Dept 77206 PO BOX 77000, Detroit, MI United States 48277                              3,575
MISUMI USA                                              26797 Network Pl, Chicago, IL United States 60673                                     3,545
CROSS DESIGN AND LIGHTING INC                           6517 S. Triple X Rd., Choctaw, OK United States 73020                                 3,485
Cox Business                                            PO BOX 650991, Dallas, TX United States 75265                                         3,410
Lipik Glas                                              Staklanska 4, Lipik, Croatia 34551                                                    3,327
CCL DESIGN                                              12303 COLLECTION CENTER DRIVE, CHICAGO, IL United States 60693                        3,325
UniShield                                               599 4th Street, San Fernando, CA United States 91340                                  3,323
Luxion Inc                                              15143 Woodlawn Ave, Tustin, CA United States 92780                                    3,300
Waytek Inc                                              2440 Galpin Court, Chanhassen, MN United States 55317                                 3,252
OPENPATH SECURITY INC                                   13428 Maxella Ave #866, Marina Del Rey, CA United States 90292                        3,240
IA Engineers Inc                                        1200 S. Brand Blvd. #227, Glendale, CA United States 91204                            3,221
National Material Company LLC                           1965 Pratt Blvd, Arlington Heights, IL United States 60004                            3,206
Gigavac LLC                                             6382 Rose Ln, Carpinteria, CA United States 93013                                     3,200
Cargo Link Express                                      25329 Budde Rd, Building 8 Ste 802 The Woodlands, TX United States 77380              3,150
Toyota Material Handling Solutions                      12012 Burke Street, Santa Fe Spgs, CA United States 90670                             3,080
ERI Economic Research Institute Inc                     PO Box 3524, Seattle, WA United States 98124                                          3,012
RMAGS GmbH                                              Nikolaus-Becker-Str. 79, Ober-Olm, Germany 55270                                      3,000
Hornet Cutting Systems LLC                              PO BOX 500, Valley Center, KS United States 67147                                     2,991
EdgarAgents LLC                                         PO BOX 246, Hightstown, NJ United States 8520                                         2,985
Coilcraft Inc                                           PO BOX 7230, Carol Stream, IL United States 60197                                     2,900
LA CNC INC                                              4529 San Fernando Rd, Suite E Glendale, CA United States 91204                        2,893
SpeedPro Imaging Long Beach                             3744 Industry Ave, Suite 403 Lakewood, CA United States 90712                         2,824
Fabrinet                                                One Nexus Way, Camana Bay, Grand Cayman Cayman Islands KY1-9005                       2,822
CHEP Container and Pooling Solutions Inc                PO BOX 74008180, Chicago, IL United States 60674                                      2,739
Hamed Majeed                                            355 Wood Creek Rd, Apt 502 Wheeling, IL United States 60090                           2,713
Bradley Arant Boult Cummings LLP                        PO Box 830709, Birmingham, AL United States 35283                                     2,705
DC Safety Sales Co Inc                                  40 Commerce Drive, Hauppauge, NY United States 11788                                  2,695
FRANTZ WARD LLP                                         200 Public Square, Suite 3000, Cleveland, OH United States 44114                      2,666
Saratech Inc                                            32932 Pacific Coast Hwy #14-429, Dana Point, CA United States 92629                   2,651
Motion Automated Intelegence                            P.O. Box 7410119, Chicago, IL United States 60674                                     2,636
Dozuki                                                  PO Box 1465, San Luis Obispo, CA United States 93406                                  2,622
Documation of DFW LLC                                   PO BOX 1770, SAN ANTONIO, TX United States 78296                                      2,584
Webasto Charging Systems Inc                            800 Royal Oaks Dr, Suite 210 Monrovia, CA United States 91016                         2,546
dSPACE Inc                                              50131 Pontiac Trail, Wixom, MI United States 48393                                    2,521
Viper Technologies Inc                                  1840 W. 205th Street, Torrance, CA United States 90501                                2,491
UPS Protection                                          1401 E. Ball Rd. Ste. G, Anaheim, CA United States 92887                              2,468
Exhibit N.1 - AP                                                                                                                            82 of 168
                                            Case 25-10099-BLS      Doc 2        Filed 01/18/25           Page 117 of 202


                                                                                                                                           Net AP
                                 Supplier                                                        Supplier Address                       (AP less AP
                                                                                                                                        Adjustment)
Continental Stock Transfer & Trust Co                    4 Metrotech Center, 14th Floor Brooklyn, NY United States 11245                           2,461
Littler Mendelson PC                                     PO Box 207137, Dallas, TX United States 75320                                             2,439
Rosenberger North America Akron LLC                      309 Colonial Drive, Akron, PA United States 17501                                         2,417
Fabrinet West Inc                                        4900 Patrick Henry Drive, Santa Clara, CA United States 95054                             2,384
Paylogix f/b/o Nationwide                                PO Box 50020, Newark, NJ United States 7101                                               2,365
Orange Coast Pneumatics Inc                              3810 Prospect Ave, Unit A Yorba Linda, CA United States 92886                             2,200
Accuracy Locksmith LLC                                   8306 WILSHIRE BLVD Unit # 489, Beverly Hills, CA United States 90211                      2,168
Amphenol Custom Cable Inc                                3221 Cherry Palm Drive, Tampa, FL United States 33619                                     2,087
NetCentra Inc                                            556 Riverdale Drive, Unit A, Glendale, CA United States 91204                             2,049
Sackin Metals Inc                                        15201 transistor Lane, Huntington Beach, CA United States 92649                           2,030
Stanley Engineered Fastening                             49201 Gratiot Ave, Chesterfield, MI United States 48051                                   1,954
Acenitec Inc                                             4244 NW 39th St, Oklahoma City, OK United States 73112                                    1,945
Hwaseung R&A COLTD                                       1150 Stephenson Highway, Troy, MI United States 48083                                     1,917
Hilti Inc                                                P O Box 70299, Philadelphia, PA United States 19176                                       1,905
DUVALTEX US INC                                          PO BOX 206435, DALLAS, TX United States 75320                                             1,892
MetLife Legal Plans Inc                                  Dept 781523, PO Box 78000 Detroit, MI United States 48278                                 1,890
Ben Sager Photography LLC                                84 Quincy Ave, Carson, CA United States 90803                                             1,840
Department of Industrial Relations                       PO Box 511232, Payment Processing Center Los Angeles, CA United States 90051              1,800
Tektronix Inc                                            14150 SW Karl Braun Drive, Beaverton, OR United States 97077                              1,761
Magna-Power Electronics Inc                              39 Royal Road, Flemington, NJ United States 8822                                          1,748
PTC Inc                                                  121 Seaport Blvd., Boston, MA United States 2210                                          1,679
FPLUK Freight Products UK LTD                            Unit 2, 106 Hawley Lane, Farnborough, Hampshire United Kingdom GU14 8JE                   1,607
Baker & McKenzie HK                                      14th Floor, One Taikoo Place, 979 King's Road, Quarry Bay , Hong Kong                     1,588
The EMC Shop LLC                                         7401 Galilee Road, Suite 160 Roseville, CA United States 95678                            1,526
Occupational Health Centers of California                PO BOX 3700, Rancho Cucamonga, CA United States 91729                                     1,478
Computer Aided Technology LLC                            165 North Arlington Road, Suite 101 Buffalo Grove, IL United States 60080                 1,458
BizLink Technology Inc                                   47211 Bayside Parkway, Fremont, CA United States 94538                                    1,417
Next Step Innovation                                     703 HWY 80 W, Clinton, MS United States 39056                                             1,400
Cision US Inc                                            12051 Indian Creek Court, Beltsville, MD United States 20705                              1,400
Insight Direct USA Inc                                   PO Box 731069, Dallas, TX United States 75373                                             1,362
Muller Textiles Inc                                      2199 Spur 239, Del Rio, TX United States 78840                                            1,301
Simone Ocvirk                                            15318 Osage Ave, Lawndale, CA United States 90260                                         1,300
Budget Flag                                              310 N Rockwell Ave, Oklahoma City, OK United States 73127                                 1,282
GE Schmidt Inc                                           11236 Williamson Rd, Cincinnati, OH United States 45241                                   1,279
P & A CO LTD                                             Golden House, 30 Pottinger Street , Hong Kong                                             1,254
Bloomberg Industry Group Inc                             1801 S BELL ST, Arlington, VA United States 22202                                         1,246
Orion Industries                                         5492 N Northwest Hwy, Chicago, IL United States 60630                                     1,240
Ground Effects LLC                                       7000 19 MILE RD, STERLING HEIGHTS, MI United States 48314                                 1,234
Exhibit N.1 - AP                                                                                                                                 83 of 168
                                                Case 25-10099-BLS      Doc 2       Filed 01/18/25           Page 118 of 202


                                                                                                                                            Net AP
                                     Supplier                                                        Supplier Address                    (AP less AP
                                                                                                                                         Adjustment)
Magnetic Instrumentation Company LLC                         8431 Castlewood Drive, Indianapolis, IN United States 46250                            1,222
Fronius USA LLC                                              , Dallas, TX United States 75222                                                       1,212
EvGateway Inc                                                5251 California Ave, Ste 150 Irvine, CA United States 92617                            1,200
Michigan Scientific Corporation                              730 Bellevue Ave, Milford, MI United States 48381                                      1,188
Weber Plywood and Lumber Co                                  15501 Mosher Ave, Tustin, CA United States 92780                                       1,178
South Coast Air Quality Management                           PO Box 4943, Diamond Bar, CA United States 91765                                       1,170
Temprel Inc                                                  206 Industrial Parkway, Boyne City, MI United States 49712                             1,170
City of Torrance                                             3301 Airport Drive, Torrance, CA United States 90505                                   1,121
Chappell Supply                                              6509 W Reno Ave, Oklahoma City, OK United States 73127                                 1,115
Amphenol Technical Products International Co                 2110 Notre Dame Ave, Winnipeg, Canada R3H0K1                                           1,104
TaxSaver Plan                                                4925 Greenville Ave #1300, Dallas, TX United States 75206                              1,099
C&D LIFT LLC                                                 1208 northeast johnson road, Minco, OK United States 73059                             1,043
Interface Inc                                                7401 E Butherus Drive, Scottsdale, AZ United States 85260                              1,015
Matco Tools Corporation                                      4403 Allen Road, Stow, OH United States 44224                                          1,015
Stericycle Inc                                               28883 Network Place, Chicago, IL United States 60673                                   1,010
Orkin LLC                                                    PO Box740300, Cincinnati, OH United States 45274                                       1,008
Chemtrec LLC                                                 PO BOX 791383, Baltimore, MD United States 21279                                       1,000
Stephen Gould Corporation                                    PO Box 419816, Boston, MA United States 2241                                             995
TRB Lightweight Structures America LTD                       2025 James Howard Dr, Richmond, KY United States 40475                                   975
Vantage Technologies USA Inc                                 4645 Bree Rd, China, MI United States 48054                                              966
Deborah Diaz                                                 5797 Westchester St, Alexandria, VA United States 22310                                  944
Vibracoustic USA Inc                                         400 Alyworth Avenue, South Haven, MI United States 49090                                 943
Redall Industries Inc                                        Drawer 2448, PO BOX 5935 Troy, MI United States 48007                                    940
Frontier Communications                                      PO Box 740407, Cincinnati, OH United States 45274                                        871
Franchise Tax Board                                          PO Box 942857, Sacramento, CA United States 94257                                        865
AM Equipment Inc                                             402 Hazel St, Jefferson, OR United States 97352                                          859
SKT Security Inc                                             PO Box 300047, Midwest City, OK United States 73140                                      822
BROADBAND TELCOM POWER INC                                   1719 S Grand Ave, Santa Ana, CA United States 92705                                      784
Zeltwanger Leak Testing & Automation                         1230 Peachtree Street NE, Ste 3100 Atlanta, GA United States 30309                       755
Stephen Company                                              1127 11th Street, Suite 210 Sacramento, CA United States 95814                           731
Bodycote Thermal Processing                                  DEPT 9692, Los Angeles, CA United States 90084                                           730
Bright IA - Intelligent Automation                           120509 North Saginaw Blvd., Suite #338 Fort Worth, TX United States 76179                711
DaVco Mechanical LLC                                         4248 E 96th St, Sperry, OK United States 74073                                           675
Abdellah Cherti                                                                                             #N/A                                      660
Donohoe Advisory Associates LLC                              9801 Washingtonian Blvd, Ste 340 Gaithersburg, MD United States 20878                    650
Notion Labs Inc                                              2300 Harrison St, Floor 2, San Francisco, CA United States 94110                         600
QUALITY AIR & LIFT                                           P.O. BOX 137462, Fort Worth, TX United States 76136                                      594
Hy Vac Technologies Inc                                      15701 Glendale, Detroit, MI United States 48227                                          585
Exhibit N.1 - AP                                                                                                                                  84 of 168
                                           Case 25-10099-BLS      Doc 2       Filed 01/18/25           Page 119 of 202


                                                                                                                                                 Net AP
                                Supplier                                                        Supplier Address                              (AP less AP
                                                                                                                                              Adjustment)
During Vietnam Co LTD                                   Lot XN 1-1, Dai An Expantion Industrial Zone Hai Duong, Hai Duong Viet Nam 170000                   579
North Texas Tollway Authority                           PO BOX 660244, Dallas, TX United States 75266                                                       577
Kimball Midwest                                         4800 Roberts Road, Bexley, OH United States 43228                                                   570
Duo-Form Plastics                                       69836 Kraus Rd., Edwardsburg, MI United States 49112                                                561
Miguel Leon Olmedo                                      4256 W 182nd St, Torrance, CA United States 90504                                                   542
Enrique De Velasco                                      7 Clipper Rd Apt A, Rancho Palos Verdes, CA United States 90275                                     542
Chrome Data                                             PO BOX 7410265, Chicago, IL United States 60674                                                     525
Boisineau Law                                           16478 Beach Blvd, Suite 347 Westminster, CA United States 92683                                     518
Transatel                                               49-51 Quai de Dion Bouton, Puteaux, France 92806                                                    513
AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673                                                      502
UKG Kronos Systems LLC                                  PO BOX 743208, ATLANTA, GA United States 30374                                                      500
Rewired Festival LLC                                    3435 Ocean Park Blvd., Ste 107-628, Santa Monica, CA United States 90405                            500
Competitive Vehicle Services                            550 Oliver Drive, Troy, MI United States 48084                                                      484
MPS Controls Inc                                        100 Oxmoor Road, suite 100 Birmingham, AL United States 35209                                       482
Tilleke & Gibbins                                       Supalai Grand Tower, 20th-26th Floor Chongnonsi, Yannawa, Bangkok Thailand 10120                    446
Fisher Scientific Company LLC                           300 Industry Dr, Pittsburgh, PA United States 15275                                                 440
Rumpke Waste & Recycling                                PO BOX 538710, Cincinnati, OH United States 45253                                                   430
INTREPID CONTROL SYSTEMS INC                            31601 Research Park Dr, Madison Heights, MI United States 48071                                     429
Axalta Coating Systems LLC                              PO Box 3490, Carol Stream, IL United States 60132                                                   397
County of Los Angeles Fire Department                   PO BOX 513148, Los Angeles, CA United States 90051                                                  396
HD Supply Inc                                           PO Box 404468, Atlanta, GA United States 30384                                                      391
SEIREN Viscotec Mexico SA DE CV                         Av. Miguel Hidalgo 200 Carr. Federal 90 km 36+125, Abasolo, Guanajuato Mexico 36987                 389
Siddharth Das                                           9211 n Council Rd, Oklahoma City, OK United States 73132                                            367
MSK Industrial Services LLC                             254 CHAPMAN RD STE 208, Newark, DE United States 19702                                              360
Southco Inc                                             210 N. Brinton Lake Rd, Concordville, PA United States 19331                                        355
Puretec Industrial Water                                3151 Sturgis Road, Oxnard, CA United States 93030                                                   350
LABPRESA LLC                                            1445 E. MADISON ST., Dept. 357 Brownsville, TX United States 78520                                  350
Waste Connections Lone Star Inc                         3 Waterway Square Place Ste 110, The Woodlands, TX United States 77380                              346
Thunder Mfg USA Inc                                     1030 Fortune Drive, Richmond, KY United States 40475                                                339
1099 Pro LLC                                            PO Box 2710, Carol Stream, IL United States 60132                                                   317
KEYPER SYSTEMS                                          5679 Harrisburg Ind Park Drive, Harrisburg, NC United States 28075                                  299
Oetiker NY Inc                                          PO BOX 74007134, Chicago, IL United States 60674                                                    287
SoCalGas                                                PO Box C, Monterey Park, CA United States 91756                                                     276
Yokogawa Corporation of America                         2 Dart Road, Newman, GA United States 30265                                                         270
Automotive Equipment Warehouse Inc                      7689 Corporate Blvd., Plain City, OH United States 43064                                            253
Oklahoma Turnpike Authority                             PO Box 11255, Oklahoma City, OK United States 73136                                                 252
Weiss Technik North America Inc                         12011 Mosteller Road, Cincinnati, OH United States 45241                                            250
Timi Creation sro                                       Morseova 1126/5, Plzeň 301 00, Czech Republic                                                       218
Exhibit N.1 - AP                                                                                                                                      85 of 168
                                           Case 25-10099-BLS      Doc 2        Filed 01/18/25           Page 120 of 202


                                                                                                                                                Net AP
                                Supplier                                                        Supplier Address                             (AP less AP
                                                                                                                                             Adjustment)
Hogan Lovells US LLP                                    PO Box 715890, Philadelphia, PA United States 19171                                                205
Chris Collins                                                                                           #N/A                                               194
Eric Smith                                              207 S Main Street, Baltimore, OH United States 43105                                               194
Andy Hoehner                                                                                            #N/A                                               194
Glenn Tong                                                                                              #N/A                                               194
Dylan Buyskes                                                                                           #N/A                                               194
Metalbuilt                                              50171 E Russell Schmidt Blvd., Chesterfield, MI United States 48051                                186
Digikey                                                 PO Box 250, Thief River Falls, MN United States 56701                                              167
AmeriGas                                                PO Box 7155, Pasadena, CA United States 91109                                                      156
McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680                                                       150
CT Corporation System                                   111 8th Ave, New York, NY United States 10011                                                      139
Pryor Waste & Recycling                                 PO BOX 806, Pryor, OK United States 74362                                                          117
The Toll Roads Violation Dept                           PO BOX 57011, Irvine, CA United States 92619                                                       107
City of Lawndale                                        C/O Citation Processing Center, PO Box 10479 Newport Beach, CA United States 92658                 105
Mark Ritter                                             1459 Morgan Ct, Steamboat Springs, CO United States 80487                                          100
Tai Kiu Yau                                                                                           #N/A                                                  97
Robert Lessler                                          45 Lupine Way, Sacramento, CA United States 95819                                                   97
Scott Butler                                            7342 Promenade Circle, Cottonwood Heights, UT United States 84121                                   97
Michael McConnell                                       119 Berkeley Drive, Watsontown, PA United States 17777                                              97
Ronnie Floyd                                                                                          #N/A                                                  97
Michael Beynart                                         650 Chestnut St #303, San Francisco, CA United States 94133                                         97
Keaton Edlund                                                                                         #N/A                                                  97
Lashawn Blackmon                                                                                      #N/A                                                  97
Kenny Shin                                                                                            #N/A                                                  97
Norman Ranola                                                                                         #N/A                                                  97
Steve Jones                                             1875 Moores Mill Rd NW, Atlanta, GA United States 30318                                             97
Subash Sivakumaran                                                                                     #N/A                                                 97
Paul Bonaccorsi                                                                                        #N/A                                                 97
Katherine Cox                                           101 Belknap Street, Dover, NH United States 3820                                                    97
Ruth Douglas                                                                                           #N/A                                                 97
Samuel Larkin                                                                                          #N/A                                                 97
Phat Nguyen                                                                                            #N/A                                                 97
Lance Ramsay                                            3006 College Street SE, Lacey, WA United States 98503                                               97
Richard Beach                                           18214 N 18th Street, Phoenix, AZ United States 85022                                                97
Stephen Hwang                                                                                          #N/A                                                 97
Mark Kummer                                                                                            #N/A                                                 97
Russell Brown                                           14621 Country Lake Drive, Pineville, NC United States 28134                                         97
Mitch Whitaker                                                                                         #N/A                                                 97
Exhibit N.1 - AP                                                                                                                                     86 of 168
                                Case 25-10099-BLS      Doc 2       Filed 01/18/25          Page 121 of 202


                                                                                                                   Net AP
                     Supplier                                                       Supplier Address            (AP less AP
                                                                                                                Adjustment)
Oscar Francis                                1537 SE Blockton Ave, Fort Pierce, FL United States 34952                        97
Raymond O'Bryan                              5115 Excelsior Blvd #208, Blaine, MN United States 55416                         97
Darrell Dooley                                                                               #N/A                             97
Alex James Gocht                             226 Juneberry Drive, Fitchburg, WI United States 53718                           97
Gaetano Hirshout                             3 Rose Petal Drive, Saint Helena Island, SC United States 29920                  97
Brendon Couturier                            68 Crane Hill Road, Wilbraham, MA United States 1095                             97
John Teichert                                                                                #N/A                             97
Esteban Dighero                                                                              #N/A                             97
Jason Steele                                 726 Locust Street, Aurora, CO United States 80220                                97
George Karras                                                                                #N/A                             97
Daniel Bolia                                 7310 Hogarth Street, Springfield, VA United States 22151                         97
Carl Moczydlowsky                                                                            #N/A                             97
Conner Nestler                               4488 Heron Drive, Reading, PA United States 19606                                97
Christopher Arata                            444 Stanley Drive, Santa Barbara, CA United States 93105                         97
Eric Weber                                                                                   #N/A                             97
David C Weed                                 1858 Emerald Lake Way, Bellingham, WA United States 98226                        97
David Kobrinetz                              5753 Desert View Drive, La Jolla, CA United States 92037                         97
Isaac Renova                                 1966 Tice Valley Blvd #116, Lafayette, CA United States 94595                    97
Herb Gilliland                               300 Freeport Road, New Kensington, PA United States 15068                        97
David McAnally                               1806 CR 16080, Deport, TX United States 75435                                    97
Barry Quattromani                            6800 Summerlyn Lakes Drive, Lambertville, MI United States 48144                 97
Jason Turner                                                                                 #N/A                             97
David Park                                   6947 S Eaton Park Ct, Aurora, CO United States 80016                             97
Jeffrey Waibel                                                                               #N/A                             97
Christian Schmidt                                                                            #N/A                             97
Jim Gagnepain                                                                                #N/A                             97
Gary Dunagan                                 217 Steep Hill Drive, Swansboro, NC United States 28584                          97
Adam Gallegos                                1302 Sunset Place, Ojai, CA United States 93023                                  97
Eric Wynn                                                                                    #N/A                             97
John Eden                                                                                    #N/A                             97
Alex Turner                                  19814 Enadia Way, Box Canyon, CA United States 91306                             97
Joseph Thurber                                                                               #N/A                             97
Gary Tam                                                                                     #N/A                             97
David Baker                                  80 Willow Street, Foxboro, MA United States 2035                                 97
Daniel Gallmeister                                                                        #N/A                                97
Benjamin Cotton                              106 Wedgewood Drive, Greenville, SC United States 29609                          97
Diane Zavotsky                                                                            #N/A                                97
Sales Forcecom Inc                           PO BOX 203141, Dallas, TX United States 75320                                    92
Exhibit N.1 - AP                                                                                                        87 of 168
                                                    Case 25-10099-BLS      Doc 2        Filed 01/18/25           Page 122 of 202


                                                                                                                                                                       Net AP
                                Supplier                                                                  Supplier Address                                          (AP less AP
                                                                                                                                                                    Adjustment)
Toppan Merrill USA Inc                                           PO BOX 74007295, Chicago, IL United States 60674                                                                  90
Aramark Refreshment Services LLC                                 17044 Montanero Ave, Unit 4 Carson, CA United States 90746                                                        87
Sika Corporation                                                 23868 Network Place, Chicago, IL United States 60673                                                              72
Illinois Tollway                                                 PO BOX 5544, Chicago, IL United States 60680                                                                      64
Fastrak                                                          375 Beale Street, San Francisco, CA United States 94105                                                           64
Metro ExpressLanes                                               PO Box 3339, Gardena, CA United States 90247                                                                      62
Madhuri Ghodekar                                                 37167 Panton Terrace Apt 2007, Fremont, CA United States 94536                                                    60
91 Express Lanes                                                 PO Box 68039, Anaheim, CA United States 92817                                                                     50
KCMO City Treasurer                                              PO BOX 801751, Kansas City, MO United States 64180                                                                49
UPS Freight                                                      28013 Network Place, Chicago, IL United States 60673                                                              47
Eurofins TestOil                                                 20338 Progress Dr, Strongsville, OH United States 44149                                                           38
McBride Orthopedic Hospital Occupational Medicine                PO BOX 268921, Oklahoma City, OK United States 73126                                                              35
Mohan Surapaneni                                                 1627 North Lake Dr, Troy, MI United States 48083                                                                  34
Garrett Andrews                                                  28733 Eridanus Dr, Sun City, CA United States 92586                                                               30
Matheson TriGas Inc                                              Dept LA 23793, Pasadena, CA United States 91185                                                                   23
Ancor Automotive LLC                                             PO Box 64000, Detroit, MI United States 48264                                                                     15
Uline Inc                                                        PO Box 88741, Chicago, IL United States 60680                                                                      0
Jahn Engineering Ltd                                             5040 O'Neil Dr, Oldcastle, Canada N0R 1L0                                                                        -
Fanuc America Corporation                                        Department 77-7986, Chicago, IL United States 60678                                                              -
TIANYA( NINGDE) AUTO PARTS CO LTD                                N0.11,Jianshe Road,Qidu Town, Ningde, China 352100                                                               -
Hanwha Advanced Materials Mexico S DE RL DE CV                   Av. Tecnologi #1345 Col. Monterrey Technology Park, Cienega de Flores, Nuevo Leon Mexico 65550                   -

Amphenol Tecvox LLC                                              25270 Will McComb Drive, Tanner, AL United States 35671                                                          -
Michigan Custom Machines LLC                                     22750 Heslip Dr, Novi, MI United States 48375                                                                    -
Elliott Electric Supply Inc                                      537 N. 40th Street, Springdale, AR United States 72762                                                           -
Applus IDIADA KARCO Engineering LLC                              9270 Holly Rd, Adelanto, CA United States 92301                                                                  -
Integrated Micro Electronics Inc                                 North Science Avenue Laguna Technopark, Special Export Processing Zone Binan, Laguna Philippines                 -
                                                                 4024
Quality Steel Products Inc                                       4978 Technical Drive, Milford, MI United States 48381                                                            -
Schenck USA Corp                                                 1846 Reliable Parkway, Chicago, IL United States 60686                                                           -
Fluke Electronics Corporation                                    7272 Collection Center Dr, Chicago, IL United States 60693                                                       -
Maynards Industries USA LLC                                      17177 N Laurel Park Dr, Ste 236 Livonia, MI United States 48152                                                  -
Pliant Plastics Corporation                                      17000 Taft Road, Spring Lake, MI United States 49456                                                             -
Rapid Fit NV                                                     Technologielaan 15, Leuven, Belgium 3001                                                                         -
Bridge Crane Specialists LLC                                     PO Box 940, Kiefer, OK United States 74041                                                                       -
Dynatect Manufacturing Inc                                       PO Box 88709, Milwaukee, WI United States 53288                                                                  -
Tenibac Graphion Inc                                             35155 Automation Dr, Clinton Township, MI United States 48035                                                    -
Hanon Systems Dalian Co Ltd                                      No. 89 HuaiHe RD, Dalian ETDZ 116620 Dalian, , China                                                             -
Exhibit N.1 - AP                                                                                                                                                            88 of 168
                                              Case 25-10099-BLS      Doc 2       Filed 01/18/25           Page 123 of 202


                                                                                                                                                Net AP
                               Supplier                                                           Supplier Address                           (AP less AP
                                                                                                                                             Adjustment)
Legend Fleet Solutions                                     56957 Hwy 3, Tillsonburg, Canada N4G4G8                                                         -
Bestop PRP LLC                                             43352 Business Park Dr., Temecula, CA United States 92590                                       -
Freudenberg NOK Sealing Technologies                       PO BOX 73229, Chicago, IL United States 60673                                                   -
Rosenberger GmbH & Co KG                                   BURG 9, Tittmoning, Germany D-84529                                                             -
Pahoa Express Inc                                          38151 Groesbeck Hwy, Clinton Township, MI United States 48036                                   -
ELTEK International Labs                                   248 Hughes Lane, St. Charles, MO United States 63301                                            -
J J Keller & Associates Inc                                3003 Breezewood Lane, PO Box 368 Neenah, WI United States 54957                                 -
Plastiques du Val de Loire                                 Zone Industrielle Nord, 1 route de la Retaudière, BP 38 Langeais, France 37130                 (0)
CoServ                                                     PO Box 734803, Dallas, TX United States 75373                                                (103)
SHW Automotive Pumps (Kunshan) Co Ltd                      No.369, Yuyang Road, Suzhou, China 215300                                                    (170)
Delta Dental of California                                 Attention Accounts Receivable, PO Box 84460 Los Angeles, CA United States 90088              (315)
Gruntwork Inc                                              221 E Indianola Ave, Phoenix, AZ United States 85012                                         (460)
The Shyft Group USA Inc                                    603 Earthway Blvd, Bristol, IN United States 46507                                           (514)
Carroll Electric Cooperative Corp                          PO BOX 4000, Berryville, AR United States 72616                                              (646)
The Ian Martin Group                                       610 Chartwell Road, Suite 101 Oakville, Canada L6J 4A5                                       (666)
Matrix Material Handling Inc                               PO Box 20870, Oklahoma City, OK United States 73156                                        (1,278)
ContiTech Fluid Technology Changchun Co Ltd                No 5518 Changshen Road, , China 130011                                                     (1,454)
Graebel Relocation Services Worldwide Inc                  16346 E Airport Circle, Aurora, CO United States 80011                                     (1,540)
Sandvik Coromant                                           1483 Dogwood Way, Mebane, NC United States 27302                                           (1,674)
SGL Composites GmbH                                        201 Technology Dr, Arkadelphia, AR United States 71923                                     (2,282)




Exhibit N.1 - AP                                                                                                                                     89 of 168
                                                 Case 25-10099-BLS           Doc 2          Filed 01/18/25                Page 124 of 202


Canoo Technologies Inc.                                                                                                                                   Schedule E/F - Exhibit N.2
Share folder reference:                                    1.8.3
Form Reference:                                            Form 206E/F
                                                           Schedule E/F Part 2
                                                           Accrued Liabilities
                                                                                                                                                                    62,809,015.54
                              Supplier                                                                          Address                                    Sum of Amount USD
YA II PN Ltd                                               1012 Springfield Ave, Mountainside, NJ 07092                                                              7,009,574.00
Tachi-S Engineering USA Inc                                23227 Commerce Dr, Farmington Hills, MI United States 48335                                               3,945,310.30
KASAI NORTH AMERICA INC                                    1200 Volunteer Parkway, Manchester, TN United States 37355                                                3,777,677.63
Magna International Inc                                    337 Magna Drive, Aurora, Canada L4G 7K1                                                                   2,820,614.27
Refundable DV Reservations                                 N/A                                                                                                       2,525,028.20
Telos Global LLC                                           1880 Hwy 116, Caryville, TN United States 37714                                                           2,129,449.21
Marlon Blackwell Architects PA                             42 E CENTER ST, Fayetteville, AR United States 72701                                                      2,044,646.37
Dasung CoLtd                                               NamdongSeoro 370, Namdong-gu, Korea, Republic of 21629                                                    1,944,667.06
Global Retool Group America LLC                            7290 KENSINGTON RD, Brighton, MI United States 48116                                                      1,805,869.88
Kirkland & Ellis LLP                                       300 N LaSalle, Chicago, IL United States 60654                                                            1,638,501.57
Manz AG                                                    Steigäckerstraße 5, Reutlingen, Germany 72768                                                             1,398,432.07
GRUPO ANTOLIN NORTH AMERICA INC                            1700 Atlantic Blvd, Auburn Hills, MI United States 48326                                                  1,222,939.61
Quality Metalcraft Inc                                     12001 Farmington Road, Livonia, MI United States 48150                                                    1,148,340.00
Deloitte & Touche LLP                                      PO Box 844708, Dallas, TX United States 75284                                                             1,132,544.01
Oklahoma Department of Commerce                            900 N Stiles Ave, Oklahoma City, OK 73104                                                                 1,000,000.00
Toledo Tool & Die Co Inc                                   105 W Alexis Rd, Toledo, OH United States 43612                                                             912,216.79
Joyson Safety Systems Acquisition LLC                      2500 Innovation Drive, Auburn Hills, MI United States 48326                                                 908,552.40
CRISTALES INASTILLABLES DE MEXICO SA DE CV                 carretera a garcia km.10.5, garcia, nuevo leon, mexico, Garcia, Nuevo Leon Mexico 66000                     811,968.59
Sanmina Corporation                                        PO BOX 842162, Dallas, TX United States 75284                                                               754,798.82
UACJ Automotive Whitehall Industries Inc                   5175 W 6th St, Ludington, MI United States 49431                                                            547,192.37
Magna Exteriors (Banbury) Limited                          Beaumont Road, Banbury, Oxfordshire United Kingdom OX16 1TR                                                 507,422.20
The Boldt Company                                          101 W. Hefner Rd, Oklahoma City, OK United States 73114                                                     475,000.00
AFV PARTNERS LLC                                           2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                                                    470,112.72
Broadridge ICS Inc                                         PO Box 416423, Boston, MA United States 2241                                                                468,664.81
Oracle America Inc                                         PO BOX 412622, Boston, MA United States 2241                                                                447,839.47
I-40 OKC Partners LLC                                      9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                                               430,209.39
LS Cable & System (Wuxi) Co Ltd                            No.9 Lexing Road, Wuxi, China 214028                                                                        420,824.60
Idneo Technologies SAU                                     Carrer Rec de Dalt, 3, Mollet del Vallès, Spain 8100                                                        412,582.57
ESG Advisor Group LLC                                      79 Bridge St Apt 5F, Brooklyn, NY United States 11201                                                       407,674.86
ATS Automation Tooling Systems Inc                         ATS Automation Tooling Systems Inc, 730 Fountain St N, Building #1 Cambridge, Canada N3H 4R7                399,513.80
Myotek Holdings Inc                                        PO BOX 776463, Chicago, IL United States 60677                                                              370,392.09
Anthony Aquila                                             2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                                               357,948.55
HSL SRL                                                    70, Via Di Vittorio Giuseppe - 38015 Lavis (TN) Trento, Lavis, Trentino Italy 38015                         305,974.77
Siemens Industry Software Inc                              PO BOX 2168, Carol Stream, IL United States 60132                                                           303,648.98
Proper Polymers Warren LLC                                 13870 E Eleven Mile Rd, Warren, MI United States 48089                                                      275,168.34
Aptiv                                                      Control-Tec LLC, 999 Republic Dr. Suite 100 Allen Park, MI United States 48101                              254,717.38
INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV             Calle 4 Poniente #10560, Parque Industrial El Salto El Salto, Jalisco Mexico 45680                          246,871.42
Carl Zeiss Industrial Quality Solutions LLC                Carl Zeiss Industrial Metrology LLC, 25065 Network Place Chicago, IL United States 60673                    244,760.04
Scan Global Logistics                                      PO BOX 7410684, Chicago, IL United States 60674                                                             241,650.04
PREH INC                                                   Schweinfurter Str. 5-9, Bad Neustadt ad Saale, Germany 97000                                                240,818.18
Fanuc America Corporation                                  Department 77-7986, Chicago, IL United States 60678                                                         234,960.26
Valiant International Inc                                  2469 Executive Hills Blvd, Auburn Hills, MI United States 48326                                             225,000.00
SITRICK GROUP LLC                                          11999 SAN VICENTE BLVD, PENTHOUSE Los Angeles, CA United States 90049                                       224,577.35
American Group LLC                                         PO Box 72086, Cleveland, OH United States 44192                                                             215,545.90
                                                            Case 25-10099-BLS                       Doc 2          Filed 01/18/25                Page 125 of 202


Canoo Technologies Inc.                                                                                                                                                                 Schedule E/F - Exhibit N.2
Share folder reference:                                                           1.8.3
Form Reference:                                                                   Form 206E/F
                                                                                  Schedule E/F Part 2
                                                                                  Accrued Liabilities
                                                                                                                                                                                                  62,809,015.54
                                    Supplier                                                                                                Address                                      Sum of Amount USD
Daversa Partners                                                                  55 Greens Farms Road, Floor 2 Westport, CT United States 6880                                                      215,000.00
KAMTEK Inc                                                                        1595 STERILITE DR, Birmingham, AL United States 35215                                                              201,289.20
MUNCK WILSON MANDALA LLP                                                          12770 COIT RD, STE 600 Dallas, TX United States 75250                                                              199,806.97
KYUNG CHANG PRECISION                                                             149 Gukgasandan-daero 33-gil, Dalseong-gun, Korea, Republic of 43011                                               199,725.60
NRTC Alabama Inc                                                                  124 Carson Rd, Center Point, AL United States 35215                                                                194,001.40
Ningbo Xusheng Group Co LTD                                                       68 Yanshanhe South Road, Ningbo, China 315806                                                                      193,471.68
Orrick Herrington & Sutcliffe LLP                                                 PO Box 848066, Los Angeles, CA United States 90084                                                                 184,914.65
Tenneco Automotive Operating Company Inc                                          Tenneco Automotive operating, 500 North Field Drive Lake Forest, IL United States 60045                            181,462.56
Autokiniton US Holdings Inc                                                       11505 US-223, Blissfield, MI 49228, Blissfield, MI United States 49228                                             179,316.04
A RAYMOND MANUFACTURING CENTER NORTH AMERICA INC                                  PO BOX 78000 Dept 781624, Detroit, MI United States 48278                                                          178,339.20
Highly Marelli USA Inc                                                            305 Stanley Blvd, Building 2 Shelbyville, TN United States 37160                                                   175,271.62
Anderton Castings SAS                                                             1388 Rue Adrienne Bolland, Andrezieux-Boutheon, France 42160                                                       174,337.29
Oakley Industries Inc                                                             35224 Autonation Dr, Clinton Township, MI United States 48035                                                      172,468.46
ContiTech North America Inc                                                       Carr. Panamericana KM 135 Parque Ind. Fama C.P. 33015 Delicias, ,, delicias, Chihuahua Mexico 33015                169,669.21
Expert Technologies Group Inc                                                     4200N Atlantic Blvd., Auburn Hills, MI United States 48326                                                         169,089.90
Stratus-X LLC                                                                     9800 Mount Pyramid Court, Ste 400 Englewood, CO United States 80112                                                162,053.20
Marsh USA Inc                                                                     PO Box 846015, Dallas, TX United States 75284                                                                      160,347.49
Nabholz Industrial Services                                                       PO Box 2090, Conway, AR United States 72033                                                                        159,049.44
Prime Wheel                                                                       17705 S Main St, Gardena, CA United States 90248                                                                   157,414.61
JFrog Inc                                                                         Lock Box #4482, PO BOX 894482 Los Angeles, CA United States 90189                                                  153,300.00
Dell Marketing LP                                                                 PO Box 676021, Dallas, TX United States 75267                                                                      150,209.22
Onix Networking Corp                                                              PO Box 74184, Cleveland, OH United States 44194                                                                    147,583.34
Anand NVH Products Private Ltd                                                    PLOT NO 33, SECTOR 35 GURUGRAM HARYANA, India 122001                                                               146,452.85
Creative Wave GMBH                                                                Rudolf- Diesel-Strasse.12, Dachau, Germany 85221                                                                   141,921.22
The Nickles Group LLC                                                             601 13th St. NW, Suite 250 North Washington, DC United States 20005                                                140,000.00
Crossland Construction Company Inc                                                833 S East Avenue, Columbus, KS United States 66725                                                                139,000.00
IKD CoLtd                                                                         588 Jinshan Road, Jiangbei Investment Pioneering Park Ningbo, China 315020                                         133,226.72
Fabrinet                                                                          One Nexus Way, Camana Bay, Grand Cayman Cayman Islands KY1-9005                                                    132,984.10
ON Search Partners LLC                                                            102 First Street, Suite 201 Hudson, OH United States 44236                                                         132,800.00
Infinite Equity Inc                                                               3663 Folsom St, San Francisco, CA United States 94110                                                              132,500.00
Slalom LLC                                                                        550 Reserve St Suite 190, Southlake, TX United States 76092                                                        125,720.00
Jing-Jin Electric North America LLC                                               34700 Grand River Ave., Farmington Hills, MI United States 48335                                                   122,659.10
SEKONIX Co Ltd                                                                    28 Pyeonghwa-ro 2862beon-gil, Dongducheon-si, Korea, Republic of 11307                                             118,611.38
Sales Force.com Inc                                                               PO BOX 203141, Dallas, TX United States 75320                                                                      118,416.58
Exterior Systems Engineering a division of Magna Exteriors America Holdings Inc   750 Tower Drive, Mail Code 5300 Troy, MI United States 48098                                                       115,963.35
Eat My Words LLC                                                                  1835 Venice Street, San Diego, CA United States 92017                                                              113,750.00
Ultimate Hydroforming Inc                                                         42450 Yearego Drive, Sterling Heights, MI United States 48314                                                      113,744.12
Auria Solutions USA Inc                                                           Attn Accounting, PO BOX 580 Albemarle, NC United States 28002                                                      112,905.83
Littler Mendelson PC                                                              PO Box 207137, Dallas, TX United States 75320                                                                      111,841.66
Dakota Software Corporation                                                       1375 Euclid Ave, Suite 500 Cleveland, OH United States 44115                                                       111,753.12
CEVA Logistics US Inc                                                             15350 Vickery Drive, Houston, TX United States 77033                                                               110,968.36
Fuzhou Fushiang Motor Industrial CoLtd                                            No.2 Hongxi Road, Qingkou investment zone Fuzhou, China 350119                                                     110,921.26
Novares US LLC                                                                    19575 Victor Parkway, Suite 400 Livonia, MI United States 48152                                                    109,810.44
Legend Fleet Solutions                                                            56957 Hwy 3, Tillsonburg, Canada N4G4G8                                                                            107,675.19
                                                     Case 25-10099-BLS           Doc 2          Filed 01/18/25                 Page 126 of 202


Canoo Technologies Inc.                                                                                                                                                       Schedule E/F - Exhibit N.2
Share folder reference:                                        1.8.3
Form Reference:                                                Form 206E/F
                                                               Schedule E/F Part 2
                                                               Accrued Liabilities
                                                                                                                                                                                        62,809,015.54
                                 Supplier                                                                            Address                                                   Sum of Amount USD
Principal Manufacturing Corporation                            2800 S 19th Avenue, Broadview, IL United States 60155                                                                       104,819.63
National Instruments Corporation                               11500 N Mopac Expwy, Austin, TX United States 78759                                                                         103,442.32
Design Systems Inc                                             38799 W 12 Mile Rd, Farmington Hills, MI United States 48331                                                                103,436.53
Mergon Corporation                                             5350 Old Pearman Dairy Rd, Anderson, SC United States 29625                                                                 103,097.59
Embark Consulting LLC                                          2919 Commerce Street, Suite 400 Dallas, TX United States 75226                                                              100,800.00
Monument Advocacy                                              975 F Street NW, Suite 400B Washington, DC United States 20004                                                              100,282.65
Josette Sheeran                                                [Redacted]                                                                                                                  100,000.00
SGL Composites GmbH                                            201 Technology Dr, Arkadelphia, AR United States 71923                                                                       99,823.68
Hwaseung R&A COLTD                                             1150 Stephenson Highway, Troy, MI United States 48083                                                                        98,585.98
Illinois Tool Works Inc                                        PO BOX 75289, 75 Remittance Dr Chicago, IL United States 60675                                                               98,274.50
AdvanTech International                                        1600 Cottontail Lane, Somerset, NJ United States 8875                                                                        97,850.00
Thomas Dattilo                                                 [Redacted]                                                                                                                   97,500.00
Marelli North America Inc                                      Marelli Mexicana SA de CV, AVE San Fransisco 401 Aguascalientes, San Francisco de los Romo Mexico C.P. 20304                 97,035.00
Magna International Holding (UK) Limited                       Beaumont Road, Banbury, Oxfordshire United Kingdom OX16 1TR                                                                  93,456.86
Linamar Holdings Inc o/a Camtac Manufacturing                  287 Speedvale Ave West, Guelph, Canada N1H 1C5                                                                               93,095.63
Sivax North America Inc                                        1675 Deere Ave, Irvine, CA United States 92606                                                                               91,669.59
KYOCERA AVX Components (New Delhi) Private Limited             Building No. 410, Sector-8, IMT Manesar, IMT Manesar, Haryana India 122 050                                                  84,290.17
Lee Contracting Inc                                            631 Cesar E. Chavez, Pontiac, MI United States 48342                                                                         82,912.26
Marquardt Switches Inc                                         PO BOX 10713, Albany, NY United States 12201                                                                                 81,508.00
Sidley Austin LLP                                              PO Box 0642, Chicago, IL United States 60690                                                                                 81,386.85
JAC auto parts (Ningbo) Co Ltd                                 No. 30 Xingshun Road SINO-ITALY, NINGBO ECOLOGICAL PARK Ningbo, China 315475                                                 79,049.22
Kyung Chang Industrial Co Ltd                                  6, Seongseo-ro 35-gil, Dalseo-gu, Korea, Republic of 42719                                                                   75,000.00
15520 HWY 114 LLC                                              2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                                                                 74,866.96
Schwab Industries Inc                                          50850 Rizzo Dr, Shelby Township, MI United States 48315                                                                      73,971.72
Foley & Lardner LLP                                            777 E. Wisconsin Avenue, Milwaukee, Wisconsin United States 53202                                                            73,475.50
Accel Visa Attorneys PC                                        123 Estudillo Ave, Suite 201 San Leandro, CA United States 94577                                                             70,025.00
Applus IDIADA KARCO Engineering LLC                            9270 Holly Rd, Adelanto, CA United States 92301                                                                              69,766.07
Aqua Green Solutions                                           2710 E Corridor Dr, Appleton, WI United States 54913                                                                         69,409.02
MGA Research Corporation                                       12790 Main Road, Akron, NY United States 14001                                                                               68,627.53
EZ Building Services                                           1309 Magnolia Blvd, Burbank, CA United States 91506                                                                          67,755.64
Hendrickson Composite Dayton LLC                               PO Box 7410228, Chicago, IL United States 60674                                                                              67,544.21
Lockton Companies                                              Lockton Insurance Brokers LLC, Pasadena, CA-91185                                                                            67,112.92
San Luis Metalforming SA de CV                                 Houston 101, Villa de Reyes, San Luis Potosí Mexico 79526                                                                    67,023.52
MOURI TECH LLC                                                 1183 W John Carpenter Fwy, Irving, TX United States 75039                                                                    66,880.00
Anderton Castings LLC                                          PO BOX 1170, Temple, TX United States 76503                                                                                  66,000.00
cap hpi limited                                                Capitol House, Bond Court Leeds, Yorkshire United Kingdom LS1 5EZ                                                            65,645.23
Altair Engineering Inc                                         Dept 771419, PO BOX 77000 Detroit, MI United States 48277                                                                    65,334.33
BASELABS GmbH                                                  Technoloqie-Campus 6, Chemnitz, Germany 9126                                                                                 65,250.23
Debra L von Storch                                             [Redacted]                                                                                                                   65,000.00
Toppan Merrill USA Inc                                         PO BOX 74007295, Chicago, IL United States 60674                                                                             63,881.20
Magna Body & Chassis Iowa                                      403 S 8th Street, Montezuma, IA United States 50171                                                                          63,670.21
Thompson Hine                                                  3900 Key Tower, 127 Public Square Cleveland, OH United States 44114                                                          62,079.58
ContiTech MGW GmbH                                             Sin Nombre, Delicias, Chihuahua Mexico 33000                                                                                 60,944.01
Faegre Drinker Biddle & Reath LLP                              NW 6139, PO Box 1450 Minneapolis, MN United States 55485                                                                     60,000.00
                                                 Case 25-10099-BLS           Doc 2          Filed 01/18/25                Page 127 of 202


Canoo Technologies Inc.                                                                                                                                     Schedule E/F - Exhibit N.2
Share folder reference:                                    1.8.3
Form Reference:                                            Form 206E/F
                                                           Schedule E/F Part 2
                                                           Accrued Liabilities
                                                                                                                                                                      62,809,015.54
                                 Supplier                                                                       Address                                      Sum of Amount USD
Motivo Engineering LLC                                     17700 S Figueroa St, Gardena, CA United States 90248                                                           59,488.05
Drive Automotive Industries of America                     120 Moon Acres Rd., Piedmont, SC United States 29673                                                           59,426.40
RCO Engineering Inc                                        45601 Five Mile Rd, Plymouth, MI United States 48170                                                           59,150.97
Fabrinet West Inc                                          4900 Patrick Henry Drive, Santa Clara, CA United States 95054                                                  58,146.97
Arthur F Kingsbury                                         [Redacted]                                                                                                     57,500.00
TAVANT Technologies Inc                                    3965 Freedom Circle, Suite 750, Santa Clara, CA United States 95054                                            56,000.00
Hanwha Advanced Materials Mexico S DE RL DE CV             Av. Tecnologi #1345 Col. Monterrey Technology Park, Cienega de Flores, Nuevo Leon Mexico 65550                 53,375.00
Cargo Link Express                                         25329 Budde Rd, Building 8 Ste 802 The Woodlands, TX United States 77380                                       53,000.00
AT&T Corporation                                           One AT&T Way, Bedminster, NJ United States 7921                                                                52,338.00
SNAP-ON CREDIT LLC                                         950 TECHNOLOGY WAY, SUITE 301 LIBERTYVILLE, IL United States 60048                                             51,425.96
Granite Recruitment & Consulting Pty Ltd                   Queen Street, Level 7 Melbourne, Victoria Australia 3000                                                       51,409.36
12TH WONDER LLC                                            5890 Stoneridge Dr, Suite 216 Pleasanton, CA United States 94588                                               51,292.00
Magna Exteriors (Liverpool) Limited                        Renaissance Way, Blvd Industry Park Liverpool, Merseyside United Kingdom L24 9PL                               49,909.82
MOBIS NORTH AMERICA LLC                                    46501 Commerce Center Drive, Plymouth, MI United States 48170                                                  47,357.20
New Mather Metals Inc                                      7877 Solution Center, Chicago, IL United States 60677                                                          45,897.50
HL Mando Corporation                                       32, Hamanho-gil, Poseung-eup, Pyeongtaek-si, Korea, Republic of 17962                                          45,828.01
Grupo Antolin Tanger                                       Zone Franche d'Exportation de Tanger, Ilot nº 22B et 21 TANGER, Morocco 900090                                 45,812.02
Valeo North America Inc                                    4100 North Atlantic Blvd., Auburn Hills, MI United States 48326                                                45,000.00
Element Materials Technology Detroit LLC                   3701 Port Union Road, Fairfield, Ohio United States 45014                                                      44,494.98
3Li LLC                                                    PO BOX 8105, Elkridge, MD United States 21075                                                                  43,933.83
Almond Products Inc                                        Dept 9540 PO Box 30516, Lansing, MI United States 48909                                                        43,229.18
Schenck USA Corp                                           1846 Reliable Parkway, Chicago, IL United States 60686                                                         43,204.80
Shanghai Dogood trade partnership                          Room 452, Building B, Hongqiao World Center, Shanghai, China 201106                                            43,064.78
Claudia Gonzalez Romo                                      [Redacted]                                                                                                     42,500.00
Deborah Diaz                                               [Redacted]                                                                                                     42,500.00
Foster Chiang                                              [Redacted]                                                                                                     42,500.00
James C Chen                                               [Redacted]                                                                                                     42,500.00
Express Employment Professionals                           PO BOX 203901, Dallas, TX United States 75320                                                                  42,304.70
Standard Profil Mexico SA de CV                            Vintech Industries, 3778 Van Dyke Almont, MI United States 48003                                               40,800.80
Datadog Inc                                                620 8th Ave, 45th Floor, New York, NY United States 10018                                                      39,003.95
Antenum Inc                                                12B Star Drive, Merrimack, NH United States 3054                                                               37,502.39
FactSet Research Systems Inc                               PO Box 414756, Reference # 9V172211 Boston, MA United States 2241                                              36,584.02
Weideman Group Inc                                         9752 Clos Du Lac Circle, Loomis, CA United States 95650                                                        36,487.00
Shenzhen LT Century Prototype Co Ltd                       2F, 3rd Bldg Jinyuda Industrial Park, Shangliao Business Rd., Shajing, Shenzhen, China 518125                  36,223.49
D&N Bending Corp                                           150 Shafer Drive, Romeo, MI United States 48065                                                                36,207.12
Pennex Aluminum Company LLC                                PO Box 412594, Boston, MA United States 2241                                                                   36,206.61
LS EV KOREA Ltd                                            27. Gongdan-ro 140 beon-gil, Gunpo-si, Korea, Republic of 15845                                                35,585.60
Ernst & Young LLP                                          PNC Bank C/O Ernst & Young US LLP, 3712 Solutions Center Chicago, IL United States 60677                       34,452.58
Envoy Inc                                                  410 Townsend St. Suite 410, San Francisco, CA United States 94107                                              34,139.45
Atlas Copco Tools and Assembly Systems Inc                 3301 Cross Creek Parkway, Auburn Hills, MI United States 48326                                                 33,947.59
Allied Plastics LLC                                        150 Holy Hill Road, Twin Lakes, WI United States 53181                                                         33,576.50
United Technical Inc                                       1081 E North Territorial Rd, Whitmore Lake, MI United States 48189                                             33,306.25
Plastiques du Val de Loire                                 Zone Industrielle Nord, 1 route de la Retaudière, BP 38 Langeais, France 37130                                 33,236.36
Assemble-Rite Ltd                                          20501 Pennsylvania Rd, Ste 150 Brownstown, MI United States 48193                                              32,795.29
                                                        Case 25-10099-BLS               Doc 2         Filed 01/18/25               Page 128 of 202


Canoo Technologies Inc.                                                                                                                                                                   Schedule E/F - Exhibit N.2
Share folder reference:                                               1.8.3
Form Reference:                                                       Form 206E/F
                                                                      Schedule E/F Part 2
                                                                      Accrued Liabilities
                                                                                                                                                                                                    62,809,015.54
                                  Supplier                                                                                      Address                                                    Sum of Amount USD
Thermoflex Corporation                                                1535 South Lakeside Drive, Waukegan, IL United States 60085                                                                       32,794.42
Roush Industries Inc                                                  34300 W 9 Mile Rd, Farmington, MI United States 48335                                                                             32,664.87
DaVco Mechanical LLC                                                  4248 E 96th St, Sperry, OK United States 74073                                                                                    32,425.00
Rays Radiator Clinic Inc                                              6550 Cobb Dr, Sterling Heights, MI United States 48312                                                                            32,315.00
Air Capital Equipment Inc                                             806 E Boston ST, Wichita, KS United States 67211                                                                                  32,110.82
Superior Measuring LLC                                                1625 East avis dr, Madison Heights, MI United States 48071                                                                        30,945.00
Dinsmore & Associates Inc                                             1681 Kettering, Irvine, CA United States 92614                                                                                    30,595.26
IDIADA Automotive Technology UK Ltd                                   St Georges Way, Bermuda Industrial Estate Nuneaton, Warwickshire United Kingdom CV10 7JS                                          30,395.16
DALIAN YAMING AUTOMOTIVE PARTS CO LTD                                 No.17 Huayang Road, Development Zone Dalian, China 116041                                                                         30,181.37
Mobase Electronics Co Ltd                                             TERCERA AVENIDA LOTE 12, Apodaca, Nuevo Leon Mexico 66600                                                                         30,075.80
AGP Worldwide Operations GmbH                                         Avenida Guillermo Dansey 2016, Cercado de Lima 15081, Peru, Lima, Peru 15081                                                      29,311.24
BlueTech Global LLC                                                   100 W. Long lake rd. suite 111, Bloomfield Hills, MI United States 48304                                                          29,209.74
Artemis Consulting Group Inc                                          13221 N. Teal Blue Tr., Tucson, Az United States 85742                                                                            28,593.39
Tweddle Group Inc                                                     24700 Maplehurst Dr., Clinton Township, MI United States 48036                                                                    28,453.52
CTR CO LTD                                                            307-106. seorisangchon-gil, Yeongsan-myeon, Changnyeong-gun, Gyeonsangnam-do Korea, Republic of 50342                             27,743.16
McMaster-Carr Supply Company                                          PO Box 7690, Chicago, IL United States 60680                                                                                      27,737.57
Intertek Testing Services NA Inc                                      PO BOX 405176, Atlanta, GA United States 30384                                                                                    27,101.51
DMG MORI USA INC                                                      2400 Huntington Blvd, Hoffman Estates, IL United States 60192                                                                     26,337.41
CADWELL GmbH                                                          Luisenstraße 1, Haan, Germany 42781                                                                                               25,863.56
Uline Inc                                                             PO Box 88741, Chicago, IL United States 60680                                                                                     25,372.83
Jobplex                                                               71 S Wacker Drive, Suite 2700 Alsip, IL United States 60606                                                                       25,000.00
Lucid Software Inc                                                    17239, 5505 N Cumberland Ave Ste 307 Chicago, IL United States 60656                                                              24,616.61
Amazon Capital Services Inc                                           PO BOX 81207, Seattle, WA United States 98108                                                                                     24,559.36
Polycon Industries A Division of Magna Exteriors                      65 Independence Place, PL- Guelph, Canada N1K 1H8                                                                                 24,445.00
POSCO INTERNATIONAL AMERICA CORP                                      664 Nongong-ro, Nongong-eup, Dalseong-gun Daegu, Korea, 42981, Nongong-eup, Dalseong-gun Korea, Republic of 42981                 24,025.55
PPG                                                                   16401 Hawthorne Boulevard, Torrance, CA United States                                                                             24,000.00
CDP Group (Hong Kong) Limited                                         Building 7 2377 Shenku Road, Shanghai, China 201106                                                                               23,721.86
Walmart                                                               United States                                                                                                                     23,421.00
During Co LTD                                                         No.512, 353, Namdong-daero,, Namdong-gu, Korea, Republic of 21630                                                                 22,515.34
Maurice Harris                                                        1640 W Temple St, Los Angeles, CA United States 90026                                                                             22,500.00
Oetiker NY Inc                                                        PO BOX 74007134, Chicago, IL United States 60674                                                                                  22,002.67
Harness Inc                                                           55 Stockton Street, San Francisco, CA United States 94108                                                                         21,825.00
Grainger                                                              PO Box 887904933, Kansas City, MO United States 64141                                                                             21,265.45
TUV SUD America Inc                                                   PO BOX 22189, New York, NY United States 10087                                                                                    21,140.00
Millbrook Revolutionary Engineering Inc                               36865 Schoolcraft Rd, Livonia, MI United States 48150                                                                             20,700.00
Audio User Experience LLC                                             39 West 14th Street, Suite 303, New York, NY United States 10011                                                                  20,640.00
Essential Solutions Inc                                               969G Edgewater Blvd, 288 Foster City, CA United States 94404                                                                      20,000.00
Robert Bosch LLC                                                      2800 S. 25th Ave, Broadview, IL United States 60155                                                                               20,000.00
Nesbitt Building Maintenance Inc                                      7348 Boulevard 26, Richland Hills, TX United States 76180                                                                         19,034.08
Premier Auto Restyling Inc                                            12283 Merriman Rd, Livonia, MI United States 48150                                                                                19,022.46
Continental Stock Transfer & Trust Co                                 4 Metrotech Center, 14th Floor Brooklyn, NY United States 11245                                                                   18,930.59
OPTIMAS OE SOLUTIONS LP                                               2651 Compass Road, Glenview, IL United States 60026                                                                               18,848.61
Cornerstone Government Affairs Inc                                    800 Maine Ave SW 7th Floor, Washington, DC United States 20024                                                                    18,750.00
Beijing Horizon Robotics Technology Research and Development Co LTD   F3, Block A, Building No.2, IC Park, No.9 Fenghao East Road Room 302 Beijing, China 100094                                        18,589.98
                                              Case 25-10099-BLS           Doc 2         Filed 01/18/25                 Page 129 of 202


Canoo Technologies Inc.                                                                                                                                    Schedule E/F - Exhibit N.2
Share folder reference:                                 1.8.3
Form Reference:                                         Form 206E/F
                                                        Schedule E/F Part 2
                                                        Accrued Liabilities
                                                                                                                                                                     62,809,015.54
                                  Supplier                                                                   Address                                        Sum of Amount USD
ROBERTSHAW CONTROLS CO                                  1222 Hamilton Pkwy, Itasca, IL United States 60143                                                               18,359.09
Collabora Limited                                       The Platnium Building, St Johns Innovation Park Cambridge, Cambridgeshire United Kingdom CB249DS                 18,237.50
Diversified Machine Systems LLC                         1068 Elkton Drive, Colorado Springs, CO United States 80907                                                      18,236.23
German Design Consulting Inc                            11500 W Olympic Blvd, Suite 400 Los Angeles, CA United States 90064                                              18,126.14
IEE SA                                                  1121 Centre Road, Auburn Hills, MI United States 48326                                                           17,732.50
Snowflake Inc                                           106 East Babcock Street Suite 3A, Bozeman, MT United States 59715                                                17,333.92
Redall Industries Inc                                   Drawer 2448, PO BOX 5935 Troy, MI United States 48007                                                            17,234.94
Kameron Buckhout                                        536 Adams St Unit 3, Albany, CA United States 94706                                                              17,162.50
A V Gauge & Fixture Inc                                 4000 DelDuca Dr, Oldcastle, Canada N0R 1L0                                                                       17,136.00
AMP Industrial Service sro                              Slavikova 436, Libice nad Cidlinou, Tschechien Czech Republic 289 07                                             16,882.87
Fountain Valley Paints Inc                              11271 Slater Ave, Fountain Valley, CA United States 92708                                                        16,833.25
Digikey                                                 PO Box 250, Thief River Falls, MN United States 56701                                                            16,832.96
PPG Industries Inc                                      PO BOX 534974, Atlanta, GA United States 30353                                                                   16,764.98
Morse Measurements LLC                                  1163 Speedway Blvd, Salisbury, NC United States 28146                                                            16,710.00
Reliable Carriers Inc                                   41555 Koppernick Rd, Canton, MI United States 48187                                                              16,590.61
Thierry Corporation                                     4319 Normandy Court, Royal Oak, MI United States 48073                                                           16,550.00
Fusion Welding Solutions Inc                            5700 18 Mile Rd, STERLING HEIGHTS, MI United States 48314                                                        16,500.00
DCS                                                     5750 New King Dr, Suite 330 Troy, MI United States 48098                                                         16,133.34
Fastmarkets                                             8 Bouverie St., London, London United Kingdom EC4Y 8AX                                                           15,810.00
Mouser Electronics Inc                                  PO Box 99319, Fort Worth, TX United States 76199                                                                 15,724.40
15306 HWY 114 LLC                                       2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                                                         15,608.43
The Strayer Company                                     131 W. Chillicothe Ave, PO Box 446 Bellefontaine, OH United States 43311                                         15,413.66
ContiTech Fluid Technology Changchun Co Ltd             No 5518 Changshen Road, , China 130011                                                                           15,289.48
Seyfarth Shaw LLP                                       233 S Wacker Drive Ste 8000, Chicago, IL United States 60606                                                     15,177.50
Concepts & Associates Inc                               105 - 19th Street South, Birmingham, AL United States 35210                                                      15,104.53
Mekra Lang North America LLC                            101 Tillessen Blvd, Ridgeway, SC United States 29130                                                             15,046.73
Acorn Management Parterns LLC                           4080 McGinnis Ferry Road, Ste. 1101, Alpharetta, GA United States 30005                                          15,000.00
Uncrate LLC                                             605 N High Street, PMB 323, Columbus, OH United States 43215                                                     15,000.00
McSpadden Milner Robinson LLC                           901 N Lincoln Blvd Ste 380, Oklahoma City, OK United States 73104                                                14,772.99
Too Corporation Americas                                5115 Johnson Drive, Attn Ms Natalie Stanislav Pleasanton, CA United States 94588                                 14,772.33
Kee Interface Technology                                580 W Central Ave Unit C, Brea, CA United States 92821                                                           14,736.35
Sterling Auto Carriers Incorporated                     PO BOX 350, Firestone, CO United States 80520                                                                    14,450.00
CEVA Freight LLC                                        15350 Vickery Drive, Houston, TX United States 77032                                                             14,407.02
Amazon Web Services Inc                                 PO Box 84023, Seattle, WA United States 98124                                                                    14,245.25
Graebel Relocation Services Worldwide Inc               16346 E Airport Circle, Aurora, CO United States 80011                                                           14,169.71
Fiberdyne Research Pty Ltd                              14 Carmel Ave, Ferntree Gully, Vic Australia 3156                                                                14,103.75
Baker & McKenzie HK                                     14th Floor, One Taikoo Place, 979 King's Road, Quarry Bay , Hong Kong                                            14,101.55
US Environmental Protection Agency                      701 Mapes Rd, Fort Meade, MD United States 20755                                                                 13,983.00
J J Keller & Associates Inc                             3003 Breezewood Lane, PO Box 368 Neenah, WI United States 54957                                                  13,722.37
Danfoss Silicon Power GmbH                              Husumer Straße 251, Flensburg, Germany 24941                                                                     13,506.21
Trans FX Inc                                            2361 Eastman Dr., Oxnard, CA United States 93030                                                                 13,311.00
Proto Labs Inc                                          5540 Pioneer Creek Dr, Maple Plain, MN United States 55359                                                       13,275.91
Amazon Inc                                              , Los Angeles, CA United States                                                                                  13,200.05
CASCO Products Corporation                              28698 Network Place, Chicago, IL United States 60673                                                             13,187.91
                                                Case 25-10099-BLS           Doc 2       Filed 01/18/25               Page 130 of 202


Canoo Technologies Inc.                                                                                                                                                 Schedule E/F - Exhibit N.2
Share folder reference:                                   1.8.3
Form Reference:                                           Form 206E/F
                                                          Schedule E/F Part 2
                                                          Accrued Liabilities
                                                                                                                                                                                  62,809,015.54
                                     Supplier                                                              Address                                                       Sum of Amount USD
UPS Freight                                               28013 Network Place, Chicago, IL United States 60673                                                                        13,179.93
Contentful Inc                                            1801 California St,, Suite 4600 Denver, CO United States 80202                                                              13,159.46
Contegix                                                  PO Box 671710, Dallas, TX United States 75267                                                                               12,939.86
Complete Prototype Services Inc                           44783 Morley Drive, Clinton Township, MI United States 48036                                                                12,546.36
Sability LP                                               12545 Silver Fox Ct, Roswell, GA United States 30075                                                                        12,302.50
Andrew Gray                                               535 Farallon Ave, Pacifica, CA United States 94044                                                                          12,000.00
Gentex Corporation                                        600 N Centennial, Zeeland, MI United States 49464                                                                           11,906.72
Simmons & Simmons LLP                                     CityPoint, 1 Ropemaker Street, London, London United Kingdom EC2Y 9SS                                                       11,750.00
Seiren North America LLC                                  1500 East Union St, PO Box 130 Morganton, NC United States 28655                                                            11,657.27
Standard Profil Spain S A                                 Calle La Cadena-Varea 43, Logrono-La Rioja, Spain 26006                                                                     11,520.14
Cloudflare Inc                                            101 Townsend Street, San Francisco, CA United States 94107                                                                  11,495.00
Tom Ortmanns LP                                           170 Meeting Street, Suite 110, Charleston, SC United States 29401                                                           11,414.00
DCI Consulting Group Inc                                  1920 I Street NW, Washington, DC United States 20006                                                                        11,385.00
CT Corporation System                                     111 8th Ave, New York, NY United States 10011                                                                               11,341.68
SGS North America Inc                                     PO Box 2502, Carol Stream, IL United States 60132                                                                           11,254.23
National Material Company LLC                             1965 Pratt Blvd, Arlington Heights, IL United States 60004                                                                  11,182.25
Manz USA Inc                                              376 Dry Bridge Road, B2, North Kingstown, RI United States 2852                                                             11,162.99
Standard Profil US LLC                                    27300 Haggerty Road, Suite F5 Farmington Hills, MI United States 48331                                                      11,064.00
usCalibration Incorporated                                17922 Sky Park, Irvine, CA United States 92614                                                                              11,017.00
Sklar Kirsh LLP                                           1880 Century Park East, Suite 300 Baldwin Hills, CA United States 90067                                                     11,000.00
Bauer Associates Inc                                      44190 Plymouth Oaks Blvd., Plymouth, MI United States 48170                                                                 10,544.79
Concept Group LLC                                         2985 E Miraloma Ave, Anaheim, CA United States 92806                                                                        10,460.13
Transportation Research Center Inc                        10820 State Route 347, PO Box B-67 East Liberty, OH United States 43319                                                     10,369.83
3M Company                                                19460 Victor Parkway, Livonia, MI 48152, Livonia, MI United States 48152                                                    10,195.46
A Plus Crane Inspections LLC                              PO Box 1188, Mustang, OK United States 73064                                                                                10,191.87
Elkem Silicones USA Corp                                  2 Tower Center Blvd, Suite 1802 East Brunswick, NJ United States 8816                                                       10,080.00
Thermo Fisher Scientific (Ashville) LLC                   28 Schenck Parkway, Suite 400 Asheville, NC United States 28803                                                              9,995.00
Quality Steel Products Inc                                4978 Technical Drive, Milford, MI United States 48381                                                                        9,950.00
                                                          291, Daedongwolpo-ro, Daehap-myeon, Daehap-myeon / Changnyeong-gun,/ 50307, Changnyeong-gun, Gyeongsangnam-
Nexen Corporation                                         do Korea, Republic of 50307                                                                                                    9,945.56
Envorso LLC                                               107 Spring St, Seattle, WA United States 98104                                                                                 9,923.19
US Storage 1 Steel Group                                  915 Fairway Park Dr., Madison, IL United States 62060                                                                          9,893.95
Integrated Micro Electronics Inc                          North Science Avenue Laguna Technopark, Special Export Processing Zone Binan, Laguna Philippines 4024                          9,831.38
Click International Hong Kong Co Limited                  11 Cheung Yue Street, Cheung Sha Wan , Hong Kong                                                                               9,815.37
MSC Direct                                                MSC Industrial Supply Co, PO BOX 953635 Saint Louis, MO United States 63195                                                    9,774.54
Eastridge WorkForce Solutions                             TEG Staffing Inc, 695 Town Center Dr Ste 1200 Costa Mesa, CA United States 92626                                               9,591.17
Gabletek                                                  667 Elmwood Drive, Troy, MI United States 48083                                                                                9,569.61
City of Torrance                                          3301 Airport Drive, Torrance, CA United States 90505                                                                           9,568.95
Curbell Plastics Inc                                      14746 Collections Center Dr, Chicago, IL United States 60693                                                                   9,561.20
Krayden Inc                                               2611 S Harbor Blvd, Santa Ana, CA United States 92704                                                                          9,526.01
Precision Measuring Corp                                  PO Box 26118, Fraser, MI United States 48026                                                                                   9,484.84
RED-D-ARC WELDERENTALS                                    ON PAY HOLD - 685 A LEE, INDUSTRIAL BLVD Austell, GA United States 30168                                                       9,403.86
The Sandbag Store                                         2752 Abels Ln, Las Vegas, NV United States 89115                                                                               9,275.00
JVIS USA LLC                                              PO Box 530, Mount Clemens, MI United States 48046                                                                              9,061.45
                                                 Case 25-10099-BLS           Doc 2         Filed 01/18/25               Page 131 of 202


Canoo Technologies Inc.                                                                                                                                     Schedule E/F - Exhibit N.2
Share folder reference:                                    1.8.3
Form Reference:                                            Form 206E/F
                                                           Schedule E/F Part 2
                                                           Accrued Liabilities
                                                                                                                                                                      62,809,015.54
                                Supplier                                                                              Address                                Sum of Amount USD
Linamar Light Metals SAS                                   San Pablo #50 Industrial Mieleras, Torreon, Coahuila de Zaragoza Mexico 27400                                   9,032.60
OT Technology Inc                                          PO Box 735296, Chicago, IL United States 60673                                                                  9,006.00
Aunde Brasil                                               Rua Itápolis, 85, Villa Ibar Poá, São Paulo Brazil 08559-459                                                    9,000.00
Horiba MIRA Ltd                                            Watling Street, Nuneaton, Warwickshire United Kingdom CV10 0TU                                                  8,760.45
RAMPF Group Inc                                            49037 Wixom Tech Dr., Wixom, MI United States 48393                                                             8,590.87
Shibaura Electronics of America Corporation                39555 Orchard Hill Place, Suite 435 Novi, MI United States 48375                                                8,474.00
Sticky Fingers Design                                      7522 Slater Ave #103, Huntington Beach, CA United States 92648                                                  8,461.39
OneTrust LLC                                               1200 Abernathy Rd STE 700, Atlanta, GA United States 30328                                                      8,255.50
McLaren Performance Technologies                           32233 West Eight Mile Road, Livonia, MI United States 48152                                                     8,012.13
RPS Tool and Engineering                                   16149 Common Road, Roseville, MI United States 48066                                                            7,847.03
Accu-Tech Corporation                                      11350 Old Roswell Road, Suite #100 Alpharetta, GA United States 30009                                           7,782.72
Bullet Proof Builders Inc                                  29033 Avenue Sherman, STE 208, Valencia, CA United States 91355                                                 7,759.75
PRETTL LIGHTING & INTERIOR DE MEXICO SA DE CV              CARRETERA LIBRE A CELAYA KM 8.6, Zona Industrial Balvanera Corregidora, Queretaro Mexico 76908                  7,719.45
M&K Metal Co                                               14400 S Figueroa St, Gardena, CA United States 90249                                                            7,672.51
Intelligent Optical Systems                                19601 Mariner Ave, Torrance, CA United States 90503                                                             7,500.01
Mullenix & Associates LLC                                  501 Woodlane, Suite 105 Little Rock, AR United States 72201                                                     7,500.00
Pittsburgh Spray Equipment Company                         3601 Library Rd, Pittsburgh, PA United States 15234                                                             7,488.02
Mid America Machining Inc                                  1141 2ND ST MAIP, PRYOR, OK United States 74361                                                                 7,488.00
RHINO LININGS CORPORATION                                  9747 BUSINESSPARK AVE, SAN DIEGO, CA United States 92131                                                        7,320.35
Nextsense Inc                                              3350 Riverwood Pkwy Ste 1900, Atlanta, GA United States 30339                                                   7,106.19
UKG Kronos Systems LLC                                     PO BOX 743208, ATLANTA, GA United States 30374                                                                  6,999.44
Automotive Equipment Warehouse Inc                         7689 Corporate Blvd., Plain City, OH United States 43064                                                        6,948.58
Carcoustics Industrial de Mexico S de RL de CV             Circuito Corral de Piedras 56, San Miguel de Allende, Guanajuato Mexico 37888                                   6,930.34
Sprint Electric Inc                                        1264 East Hanthorn Road, Lima, OH United States 45804                                                           6,924.78
EDAG Inc                                                   1875 Research Drive, Suite 200 Troy, MI United States 48083                                                     6,851.53
FARO Technologies Inc                                      250 Technology Park, Lake Mary, FL United States 32746                                                          6,719.20
Benecke Kaliko AG                                          Beneckeallee 40, Hanover, Lower Saxony, Germany 30419                                                           6,597.68
Piedmont Plastics                                          5010 West WT Harris Blvd, Charlotte, NC United States 28269                                                     6,544.84
FPS Technologies Inc                                       PO Box 14780, oklahoma City, OK United States 73113                                                             6,436.85
Intralinks Inc                                             685 Third Ave 9th FL, New York, NY United States 10017                                                          6,420.41
Kyungshin Cable International Corporation                  Parcela #101 Poligono 1 Fracc.3, Gomex Palacio, Durango Mexico CP 35120                                         6,252.87
Exact Background Checks                                    2721 Casa Grande Way, Celina, TX United States 75009                                                            6,179.39
Innotec Corp                                               441 E. Roosevelt, Zeeland, MI United States 49464                                                               6,035.70
TCW Services Canada Inc                                    3545 Aero Ct, San Diego, CA United States 92123                                                                 6,005.15
Dignity Health Sports Park                                 18400 Avalon Blvd., Suite 100, Carson, CA United States 90746                                                   6,000.00
Hunton Andrews Kurth LLP                                   951 East Byrd Street, Richmond, VA United States 23219                                                          6,000.00
Sprout Social Inc                                          131 South Dearborn Street, Suite 700 Chicago, IL United States 60603                                            6,000.00
Reid Supply                                                PO Box 3384, Carol Stream, IL United States 60132                                                               5,830.00
Arrow Electronics Inc                                      9201 E Dry Creek Road, Centennial, CO United States 80112                                                       5,824.41
Global Equipment Company Inc                               2505 Mill Center Parkway, Buford, GA United States 30518                                                        5,774.34
SOCAR-STP LLC                                              H.Z.Taghiyev settlement, Techno-Park Area, Sumgait, Azerbaijan AZ5022                                           5,750.07
Integral Partners LLC                                      1434 Spruce St Ste 100, Boulder, CO United States 80302                                                         5,732.50
CARBON SHOCK TECHNOLOGIES INC                              1845 W RENO AVE, Oklahoma City, OK United States 73106                                                          5,699.67
Cision US Inc                                              12051 Indian Creek Court, Beltsville, MD United States 20705                                                    5,647.38
                                                Case 25-10099-BLS           Doc 2         Filed 01/18/25              Page 132 of 202


Canoo Technologies Inc.                                                                                                                  Schedule E/F - Exhibit N.2
Share folder reference:                                   1.8.3
Form Reference:                                           Form 206E/F
                                                          Schedule E/F Part 2
                                                          Accrued Liabilities
                                                                                                                                                   62,809,015.54
                                     Supplier                                                                       Address               Sum of Amount USD
Symmetry Electronics a division of TTI Inc                2441 Northeast Parkway, Fort Worth, TX United States 76106                                    5,645.47
Texas Instruments Incorporated                            12500 TI Blvd, Dallas, TX United States 75243                                                 5,636.46
RPM Freight Systems LLC                                   120 S. LaSalle, Chicago, IL United States 60603                                               5,635.55
Renew Biotech Inc                                         Box 1271, Bragg Creek, Canada T0L0K0                                                          5,617.39
Summit Fire And Security LLC                              101 NE 138th Street, Edmond, OK United States 73013                                           5,442.00
TestEquity LLC                                            2434 McIver Lane, Carrollton, TX United States 75006                                          5,420.95
Obelisk Engineering Inc                                   521 NW 17th St, Oklahoma City, OK United States 73103                                         5,377.48
Big Blue Box                                              565 1st Street SW, New Brighton, MN United States 55112                                       5,300.00
HUGG AND HALL EQUIPMENT COMPANY                           PO BOX 194110, LITTLE ROCK, AR United States 72219                                            5,299.42
Thunder Mfg USA Inc                                       1030 Fortune Drive, Richmond, KY United States 40475                                          5,275.85
Hawk Ridge Systems LLC                                    575 Clyde Ave Suite 420, Mountain View, CA United States 94043                                5,191.63
Altair Production Design Inc                              1820 E Big Beaver St, Troy, MI United States 48083                                            5,066.65
Filtran LLC                                               26804 Network Place, Chicago, IL United States 60673                                          5,025.22
Coremark Metals                                           216, 27th Avenue North Minneapolis, MN United States 55411                                    5,010.96
Penske Vehicle Services Inc                               Penske Truck Leasing Co LP, PO BOX 802577 Chicago, IL United States 60680                     4,986.65
Anchor Bay Packaging Corporation                          30905 23 Mile Road, New Baltimore, MI United States 48047                                     4,956.38
So Cal Distribution                                       4097 Hillside Dr, Banning, CA United States 92220                                             4,945.36
Ross Aronstam & Moritz LLP                                1313 North Market Street, Suite 1001 Wilmington, DE United States 19801                       4,907.51
Modine Manufacturing Company                              2009 Remke Ave, Lawrenceburg, TN 38464, Lawrenceburg, TN United States 38464                  4,871.38
ACCURIDE INTERNATIONAL INC                                12311 Shoemaker Avenue, Santa Fe Spgs, CA United States 90670                                 4,866.96
VIP Search Group LLC                                      14901 Quorum Drive, Ste 540 Dallas, TX United States 75254                                    4,760.00
PM Industrial Supply Company                              9613 Canoga Ave, Chatsworth, CA United States 91311                                           4,690.19
Donohoe Advisory Associates LLC                           9801 Washingtonian Blvd, Ste 340 Gaithersburg, MD United States 20878                         4,670.00
Corinthian Textile Solutions Inc                          2000 SE Milport Rd, Portland, OR United States 97222                                          4,669.51
Total Tool Solutions Inc                                  6775 19 Mile Road, Sterling Heights, MI United States 48314                                   4,657.61
Amazon Inc                                                Los Angeles, CA United States                                                                 4,649.57
Apple Inc                                                 One Apple Park Way, Cupertino, CA United States 95014                                         4,640.75
Gruntwork Inc                                             221 E Indianola Ave, Phoenix, AZ United States 85012                                          4,583.34
InterRegs Ltd                                             21-23 East Street, Fareham, Hampshire United Kingdom PO16 0BZ                                 4,561.21
Czarnowski Display Services Inc                           2287 S Blue Island Ave, Chicago, IL United States 60608                                       4,560.00
BlackBerry Corporation                                    5030 Riverside Drive, Suite #200 Irving, TX United States 75039                               4,520.17
Otis Elevator Company                                     PO BOX 73579, Chicago, IL United States 60673                                                 4,508.35
Sharp Tooling Solutions LLC                               70745 Powell Rd, Romeo, MI United States 48065                                                4,507.50
Tektronix Inc                                             14150 SW Karl Braun Drive, Beaverton, OR United States 97077                                  4,436.47
BATTERY STORE INC                                         3601 W. MACARTHUR BLVD, STE 909-911 Santa Ana, CA United States 92704                         4,400.00
Wheels Now Inc                                            N29W22798 Marjean Lane, Waukesha, WI United States 53186                                      4,390.07
Documation of DFW LLC                                     PO BOX 1770, SAN ANTONIO, TX United States 78296                                              4,355.84
Globe Capital Partners GmbH                               Königstraße, 1A Stuttgart, Germany 70173                                                      4,337.45
DCYI LLC                                                  59692 Barkley, New Hudson, MI United States 48165                                             4,177.63
Schaeffler Group USA Inc                                  15290 Collections Center Dr, Chicago, IL United States 60693                                  4,146.98
Donaldson Company Inc                                     PO Box 1299, Minneapolis, MN United States 55440                                              4,128.00
Send Cut Send Inc                                         4835 Longley Dr, Reno, NV United States 89502                                                 4,102.78
Freudenberg NOK Sealing Technologies                      PO BOX 73229, Chicago, IL United States 60673                                                 4,100.20
Hesse Customer Solutions Inc                              2109 O'Toole Ave, Suite C, San Jose, CA United States 95131                                   4,080.00
                                          Case 25-10099-BLS           Doc 2          Filed 01/18/25                 Page 133 of 202


Canoo Technologies Inc.                                                                                                                     Schedule E/F - Exhibit N.2
Share folder reference:                             1.8.3
Form Reference:                                     Form 206E/F
                                                    Schedule E/F Part 2
                                                    Accrued Liabilities
                                                                                                                                                      62,809,015.54
                               Supplier                                                                   Address                            Sum of Amount USD
Fastenal Company                                    3761 5th Ave N, LETHBRIDGE, Canada T1H 5L4                                                             4,052.81
Corrick Enviro Services                             PO Box 92071, Long Beach, CA United States 90806                                                       3,912.18
Thompson Auctioneers Inc                            3519 State Route 235 Fairborn, OH, Fairborn, OH United States 45324                                    3,894.00
K2 Discovery                                        9903 Santa Monica Blvd., Suite 637 Beverly Hills, CA United States 90212                               3,871.15
Composite Envisions LLC                             8450 Development CT, Wausau, WI United States 54401                                                    3,768.43
Jane E Hunter                                       10125 Carlington Valley Ct, Manassas, VA United States 20111                                           3,750.00
Ridetech                                            350 S St Charles St, Jasper, IN United States 47546                                                    3,700.00
Control Risks Middle East Limited                   DIFC, Al Fattan Currency House,, Tower 2, Level 26 506669 Dubai, United Arab Emirates                  3,688.00
De Angeli Prodotti                                  Viale dell’Industria, 1, Bagnoli di Sopra, Italy 35023                                                 3,686.40
Phytools LLC                                        900 Winslow Way E, Suite 120 Bainbridge Island, WA United States 98110                                 3,662.96
Orkin LLC                                           PO Box740300, Cincinnati, OH United States 45274                                                       3,629.05
Matco Tools Corporation                             4403 Allen Road, Stow, OH United States 44224                                                          3,596.85
Mursix Corporation                                  2401 N. Executive Park Drive, Yorktown, IN United States 47396                                         3,569.28
L&T Technology Services Limited                     2035 Lincoln Highway, St 3002, Edison, NJ United States 8817                                           3,540.21
Home Depot Product Authority LLC                    2455 Paces Ferry Rd, Atlanta, GA United States 30339                                                   3,533.93
Mediant Communications Inc                          PO BOX 75185, Chicago, IL United States 60675                                                          3,511.01
Martin Container Inc                                1400 S. Atlantic Ave, Compton, CA United States 90221                                                  3,454.51
A3 Studios                                          1840 W. 205th St., Torrance, CA United States 90503                                                    3,420.00
Schwabische Huttenwerke Automotive GmbH             Stiewingstraße 111, GERMANY, Germany 73433 Aalen-Wasseralfingen                                        3,400.00
Kyung Chang Technology Jiang Yin Co LTD             No 32, Huangang XI Rd, Wuxi, China 214446                                                              3,375.69
FORMNET INC                                         326 Humber College Blvd, Toronto, Canada M9W 5P4                                                       3,329.95
L&L Products Inc                                    16080 Collections Center Dr, Chicago, IL United States 60693                                           3,307.34
Boisineau Law                                       16478 Beach Blvd, Suite 347 Westminster, CA United States 92683                                        3,302.28
SpeedPro Imaging Long Beach                         3744 Industry Ave, Suite 403 Lakewood, CA United States 90712                                          3,260.69
Weitron Inc                                         801 Pencader Drive, Newark, DE United States 19702                                                     3,233.25
Sherfab Unlimited Inc                               1740 E Monticello ct, Ontario, CA United States 91761                                                  3,148.64
Scheugenpflug Inc                                   1000 Cobb Place Blvd, Suite 514 Kennesaw, GA United States 30144                                       3,135.67
UniShield                                           599 4th Street, San Fernando, CA United States 91340                                                   3,125.77
Technical Professionals Group LLC                   3780 S Cactus Road, Apache Junction, AZ United States 85119                                            3,124.80
Stout Risius Ross LLC                               PO Box 71770, Chicago, IL United States 60694                                                          3,124.11
InDepth Engineering Solutions LLC                   850 Stephenson Hwy, Suite 322 Troy, MI United States 48083                                             3,099.87
Volkswagen Group of America Inc                     2200 Woodland Pointe Avenue, Herndon, VA United States 20171                                           3,086.00
ERI Economic Research Institute Inc                 PO Box 3524, Seattle, WA United States 98124                                                           3,060.09
Lumenance LLC                                       4449 Easton Way PMB20059, Columbus, OH United States 43219                                             3,056.59
Voxx Electronics Corp                               P O Box 205423, Dallas, TX United States 75320                                                         3,007.75
Ganahl Lumber Co                                    2600 Del Amo Blvd, Torrance, CA United States 90803                                                    3,000.00
Toray International America Inc                     461 Fifth Ave, 9th Floor, New York, NY United States 10017                                             3,000.00
Hogan Lovells US LLP                                PO Box 715890, Philadelphia, PA United States 19171                                                    2,958.62
United Rentals Inc                                  P.O. Box 30129, College Station, TX United States 77842                                                2,944.14
TE Connectivity Ltd                                 1050 Westlakes Dr, Berwyn, PA United States 19312                                                      2,942.57
CDW LLC                                             PO BOX 75723, Chicago, IL United States 60675                                                          2,864.60
Systems Electro Coating LLC                         253 OLD JACKSON ROAD, MADISON, MS United States 39110                                                  2,848.64
Plexim GmbH                                         Technoparkstrasse 1, Zürich, Switzerland 8005                                                          2,800.00
Kwan & Olynick LLP                                  2000 Hearst Ave, Suite 305 Berkeley, CA United States 94709                                            2,789.40
                                                  Case 25-10099-BLS            Doc 2           Filed 01/18/25                  Page 134 of 202


Canoo Technologies Inc.                                                                                                                                        Schedule E/F - Exhibit N.2
Share folder reference:                                     1.8.3
Form Reference:                                             Form 206E/F
                                                            Schedule E/F Part 2
                                                            Accrued Liabilities
                                                                                                                                                                         62,809,015.54
                                  Supplier                                                                             Address                                  Sum of Amount USD
Vector North America Inc                                    39500 Orchard Hill Place, Ste. 400, Novi, MI United States 48375                                                  2,760.65
Zoro                                                        , , United States                                                                                                 2,760.22
Luxion Inc                                                  15143 Woodlawn Ave, Tustin, CA United States 92780                                                                2,750.00
Schaefer Trans Inc                                          1960 E Grand Avenue, Suite 730 El Segundo, CA United States 90245                                                 2,750.00
Macauto Mexico SA de CV                                     Circuito Paseo de las Colinas 301, Leon, GTO Mexico 37668                                                         2,683.79
Fluke Electronics Corporation                               7272 Collection Center Dr, Chicago, IL United States 60693                                                        2,672.32
Nasdaq Inc                                                  151 W 42nd St, New York, NY United States 10036                                                                   2,636.40
TMD Machines                                                PO Box 2495, Costa Mesa, CA United States 92628                                                                   2,623.23
EntServ Deutschland GmbH                                    EntServ Deutschland GmbH, Schickardstr. 32 Boeblingen, Germany 71034                                              2,560.00
TireRack                                                    7101 Vorden Parkway, South Bend, IN United States 46628                                                           2,530.08
Microsoft Corporation                                       1950 N Stemmons Fwy Ste 5010, Dallas, TX United States 75207                                                      2,502.13
Debevoise & Plimpton LLP                                    919 Third Avenue, New York, NY United States 10022                                                                2,468.85
Sunbelt Rentals                                             PO BOX 409211, Atlanta, GA United States 30384                                                                    2,438.08
Glenn Coffee and Associates PLLC                            915 N. Robinson Avenue, Oklahoma City, OK United States 73102                                                     2,374.78
The EMC Shop LLC                                            7401 Galilee Road, Suite 160 Roseville, CA United States 95678                                                    2,342.33
Rikkers Technology Law PLLC                                 23 Main St, Andover, MA United States 1810                                                                        2,320.90
Paul Weiss Rifkind Wharton & Garrison LLP                   1285 Avenue of the Americas, New York, NY United States 10019                                                     2,226.96
Southco Inc                                                 210 N. Brinton Lake Rd, Concordville, PA United States 19331                                                      2,207.12
New Eagle LLC                                               110 Parkland Plaza, Ann Arbor, MI United States 48103                                                             2,194.51
Sensata Technologies Inc                                    PO BOX 100139, Atlanta, GA United States 30384                                                                    2,161.68
IMI USA INC                                                 Calle 4 Pte. No. 10560 Parque Industrial El Salto Jalisco Mexico, El Salto, Jalisco Mexico 45680                  2,155.94
Idiada Automotive Technology USA                            9270 Holly Rd, Adelanto, CA United States 92301                                                                   2,139.50
Zion Robotics & Controls LLC                                585 S CEDAR ST, IMLAY CITY, MI United States 48444                                                                2,136.25
A&M Septic                                                  PO BOX 249, Whitesboro, TX United States 76273                                                                    2,130.00
Anne Hagerty                                                4846 N Paulina St, #1W Chicago, IL United States 60640                                                            2,125.00
Weber Plywood and Lumber Co                                 15501 Mosher Ave, Tustin, CA United States 92780                                                                  2,122.46
Sandvik Coromant                                            1483 Dogwood Way, Mebane, NC United States 27302                                                                  2,119.88
JB Hunt Transport Inc                                       PO Box 847977, Dallas, TX United States 75284                                                                     2,106.00
Invisible Dents LLC                                         4044 Pine Ridge Ct, Fenton, MI United States 48430                                                                2,015.00
Hella Electronics Corporation                               PO Box 5122, Carol Stream, IL United States 60197                                                                 2,011.11
Avnet Inc                                                   Avnet Electronics Marketing, PO BOX 100340 Pasadena, CA United States 91189                                       1,992.47
Vishay Measurements Group                                   PO Box 27777, Raleigh, NC United States 27611                                                                     1,934.65
Aramark Refreshment Services LLC                            17044 Montanero Ave, Unit 4 Carson, CA United States 90746                                                        1,899.36
Elektrobit Automotive Americas Inc                          18911 North Creek Parkway, Suite 100 Bothell, WA United States 98011                                              1,890.00
Rexel USA Inc                                               PO BOX 840638, Dallas, TX United States 75284                                                                     1,888.83
Dana Limited                                                PO BOX 910230, Dallas, TX United States 75391                                                                     1,868.75
Industrial Metal Supply Co                                  301 Main Street, Riverside, CA United States 92501                                                                1,838.74
Moser Services Group LLC                                    7464 W Henrietta Rd, Rush, NY United States 14543                                                                 1,837.50
Extol Inc                                                   651 Case Karsten Dr, Zeeland, MI United States 49464                                                              1,828.00
Automotive Testing And Development Services Inc             400 S Etiwanda Ave, Ontario, CA United States 91761                                                               1,760.00
Technicon Design Corporation                                26522 La Alameda, Suite 150 Mission Viejo, CA United States 92691                                                 1,722.50
Metrican Stamping LLC                                       101 Warren G Medley Dr, Dickson, TN United States 37055                                                           1,699.50
AmeriGas                                                    PO Box 7155, Pasadena, CA United States 91109                                                                     1,699.10
Autosales Inc DBA Summit Racing Equipment                   PO Box 909, Akron, OH United States 44398                                                                         1,684.72
                                                           Case 25-10099-BLS           Doc 2         Filed 01/18/25                 Page 135 of 202


Canoo Technologies Inc.                                                                                                                               Schedule E/F - Exhibit N.2
Share folder reference:                                              1.8.3
Form Reference:                                                      Form 206E/F
                                                                     Schedule E/F Part 2
                                                                     Accrued Liabilities
                                                                                                                                                                62,809,015.54
                                    Supplier                                                                              Address                      Sum of Amount USD
MISUMI USA                                                           26797 Network Pl, Chicago, IL United States 60673                                               1,632.69
AIRGAS USA LLC                                                       PO BOX 734445, Chicago, IL United States 60673                                                  1,619.34
Dura Ganxiang Automotive Systems Shanghai Co Ltd                     No. 2658 Jinzhang Road, Shanghai, China 201518                                                  1,618.25
Titon International Ltd                                              The Pound Stoke Prior Lane, Leominster, Herefordshire United Kingdom HR6 0NA                    1,604.12
CHEP Container and Pooling Solutions Inc                             PO BOX 74008180, Chicago, IL United States 60674                                                1,601.05
CA State Min Franchise Tax FYE 2020 (Other Accrued Liabilities)      PO Box 942857, Sacramento, CA United States 94257                                               1,600.00
Airtech International Inc                                            5700 Skylab, Huntington Beach, CA United States 92647                                           1,580.20
Rapid Axis LLC                                                       1482 Oddstad Rd, Redwood City, CA United States 94063                                           1,578.43
MRS Electronic Inc                                                   6680 Poe Ave, Suite 100 Dayton, OH United States 45414                                          1,564.66
Goken America LLC                                                    5100 Parkcenter Ave., Dublin, OH United States 43017                                            1,556.34
RSM US LLP                                                           5155 Paysphere Circle, Chicago, IL United States 60674                                          1,543.24
SafeHaven Security Group LLC                                         212 South Third St., Rogers, AR United States 72756                                             1,533.42
Best Buy                                                             , , United States                                                                               1,498.99
CRAWFORD ELECTRIC SUPPLY CO LLC                                      PO BOX 847160, Dallas, TX United States 75284                                                   1,492.64
Bolay Mobilecom Inc                                                  PO BOX 75470, OKLAHOMA CITY, OK United States 73147                                             1,465.00
Unison Electric                                                      16652 Gemini Ln, Huntington Beach, CA United States 92647                                       1,459.00
PricewaterhouseCoopers LLP                                           PO Box 952282, Dallas, TX United States 75395                                                   1,445.00
Paguzzi Inc                                                          17209 S. Figueroa Street, UNIT B Gardena, CA United States 90248                                1,384.28
Muller Textiles Inc                                                  2199 Spur 239, Del Rio, TX United States 78840                                                  1,349.28
Ellsworth Adhesives                                                  25 Hubble, Irvine, CA United States 92618                                                       1,306.02
Rawlings Mechanical Corp                                             11615 Pendleton Street, Sun Valley, CA United States 91352                                      1,273.86
HP INC                                                               PO BOX 742881, Los Angeles, CA United States 90074                                              1,260.05
Danlaw Inc                                                           41131 Vincenti Ct, Novi, MI United States 48375                                                 1,250.00
MDA US LLC                                                           PO BOX 91683435, Chicago, IL United States 60691                                                1,239.61
Cincinnati Test Systems Inc                                          10100 Progress Way, Harrison, OH United States 45030                                            1,187.50
Ebay                                                                 , , United States                                                                               1,185.00
Western Allied Corporation                                           12046 Florence Ave, Santa Fe Springs, CA United States 90670                                    1,182.61
RockJock                                                             1592 Jenks Drive, Corona, CA United States 92878                                                1,180.94
Stephen Gould Corporation                                            PO Box 419816, Boston, MA United States 2241                                                    1,172.87
ATOP SpA                                                             Strada S.Appiano 8/A, Barberino Val d’Elsa, Italy 50021                                         1,139.77
Twin Valet Parking Inc                                               1309 Magnolia Blvd, Burbank, CA United States 91506                                             1,118.31
Fisher & Phillips LLP                                                PO BOX 840703, Los Angeles, CA United States 90084                                              1,095.30
TOX-PRESSOTECHNIK LLC                                                4250 WEAVER PARKWAY, Warrenville, IL United States 60555                                        1,085.18
Elite Electronic Engineering Inc                                     1516 Centre Circle, Downers Grove, IL United States 60515                                       1,056.00
ESPEC North America Inc                                              4141 Central Parkway, Hudsonville, MI United States 49426                                       1,050.00
BatterySpace.com                                                     825 S 19th Street, Richmond, CA United States 94804                                             1,025.75
Power & Signal Group                                                 , , United States                                                                               1,024.20
Eales Electronics Corp                                               PO Box 721140, Oklahoma City, OK United States 73172                                            1,009.07
Rvinyl                                                               140 58th St, Brooklyn, NY United States 11220                                                   1,007.97
Dynatect Manufacturing Inc                                           PO Box 88709, Milwaukee, WI United States 53288                                                 1,002.15
Pangea Made Inc                                                      2920 Waterview Drive, Rochester Hills, MI United States 48309                                   1,000.00
XE.com                                                               1145 Nicholson Rd, Suite 200 Newmarket, Canada L3Y 9C3                                          1,000.00
Bel Power Solutions Inc                                              PO BOX 845440, Dallas, TX United States 75284                                                     990.00
FileCloud                                                            13785 Research Blvd, Suite 125 Austin, TX United States 78750                                     975.00
                                             Case 25-10099-BLS           Doc 2          Filed 01/18/25               Page 136 of 202


Canoo Technologies Inc.                                                                                                                Schedule E/F - Exhibit N.2
Share folder reference:                                1.8.3
Form Reference:                                        Form 206E/F
                                                       Schedule E/F Part 2
                                                       Accrued Liabilities
                                                                                                                                                 62,809,015.54
                                  Supplier                                                                      Address                 Sum of Amount USD
Lewis Built Performance                                1231 S Buena Vista St, Unit K San Jacinto, CA United States 92583                                973.34
Amphenol Thermometrics inc                             7151 Jack Newell Blvd S, Fort Worth, TX United States 76118                                      962.50
Flatbed Tools LLC                                      PO Box 44076, Caledonia, WI United States 53404                                                  954.15
Lampton Welding Supply Co Inc                          601 N Washington, Wichita, KS United States 67214                                                952.65
Northern Tool + Equipment                              2800 Southcross Drive West, Burnsville, MN United States 55306                                   949.00
Primetime Testing Laboratory                           51821 Industrial Dr, Macomb, MI United States 48082                                              924.00
XPO Logistics Freight Inc                              2211 Old Earhart Rd, Ann Arbor, MI United States 48105                                           900.02
TPI Inc                                                373 Market Street, Warren, RI United States 2885                                                 881.43
C&D LIFT LLC                                           1208 northeast johnson road, Minco, OK United States 73059                                       871.30
BCI Mechanical Inc                                     400 E Oak Street, Denton, TX United States 76201                                                 869.29
Weiss Technik North America Inc                        12011 Mosteller Road, Cincinnati, OH United States 45241                                         825.00
Inteva Products LLC                                    300 Sipingshan Road, Dingmao Zhenjiang, China 212009                                             816.88
DEI Logistics (USA) Corporation                        46101 Fremont Blvd, Fremont, CA United States 94538                                              804.25
ClipperCreek Inc                                       11850 Kemper Rd, Suite E Auburn, CA United States 95603                                          797.50
Newark element 14                                      33190 Collection Center Drive, Chicago, IL United States 60693                                   770.55
C & M Supply Inc                                       103 E Main St, Chouteau, OK United States 74337                                                  755.10
Rogers Luxembourg                                      Noorwegenstraat 3, Evergem, Oost-vlaanderen Belgium 9940                                         750.00
Notion Labs Inc                                        2300 Harrison St, Floor 2, San Francisco, CA United States 94110                                 726.00
Industry Products Co                                   500 W. Statler Road, Piqua, OH United States 45356                                               700.00
Curve Engineering Solutions Ltd                        Suite 5, Hagley Business Centre, Hagley, West Midlands United Kingdom DY9 9JW                    681.98
Sika Corporation                                       23868 Network Place, Chicago, IL United States 60673                                             679.56
ORION SECURITY SOLUTIONS LLC                           16232 MUIRFIELD PLACE, Edmond, OK United States 73013                                            675.40
YINLUN TDI LLC                                         4850 E AIRPORT DR, ONTARIO, CA United States 91761                                               647.90
Suzhou Recodeal Interconnect System Co Ltd             No. 998, Songjia, Suzhou, China 215124                                                           644.41
SAMTEC Inc                                             520 Park East Blvd, New Albany, IN United States 47150                                           636.00
UL LLC                                                 75 Remittance Dr Ste 1524, Chicago, IL United States 60675                                       631.00
Matheson TriGas Inc                                    Dept LA 23793, Pasadena, CA United States 91185                                                  629.69
Roboreps Inc                                           270 Eisenhower Ln North, N #10 Lombard, IL United States 60148                                   619.63
IA Engineers Inc                                       1200 S. Brand Blvd. #227, Glendale, CA United States 91204                                       615.00
Graybar Electric Company Inc                           12431 Collections Center Dr, Chicago, IL United States 60693                                     610.16
Osborne Electric Company                               101 NE 46th St, Oklahoma City, OK United States 73105                                            607.53
Converge Engineering LLC                               5014 Kingsbridge Pass, Powder Springs, GA United States 30127                                    600.00
EvGateway Inc                                          5251 California Ave, Ste 150 Irvine, CA United States 92617                                      600.00
Transatel                                              49-51 Quai de Dion Bouton, Puteaux, France 92806                                                 596.36
Lasernut                                               1700 Industrial Ave, Norco, CA United States 92860                                               592.69
HUGG & HALL MOBILE STORAGE                             6601 Scott Hamilton Drive AR, Little Rock, AR United States 72209                                589.10
Plasma Ruggedized Solutions Inc                        2284 Ringwood Ave Suite A, San Jose, CA United States 95131                                      580.72
Guangdong Magna Automotive Mirrors Co Ltd              18 Xinyou Zhong RD, Ronggui, Rongli Community Foshan, China 528300                               575.33
Motion Industries                                      760 W. 190th Street, Gardena, CA United States 90248                                             572.12
BROADBAND TELCOM POWER INC                             1719 S Grand Ave, Santa Ana, CA United States 92705                                              551.94
Ancor Automotive LLC                                   PO Box 64000, Detroit, MI United States 48264                                                    532.69
PTM Corporation                                        6560 Bethuy Road, Fair Haven, MI United States 48023                                             529.96
Mac Tools                                              5195 Blazer Parkway, Pittsburgh, PA United States 15251                                          529.20
TaxSaver Plan                                          4925 Greenville Ave #1300, Dallas, TX United States 75206                                        519.47
                                                         Case 25-10099-BLS           Doc 2         Filed 01/18/25               Page 137 of 202


Canoo Technologies Inc.                                                                                                                           Schedule E/F - Exhibit N.2
Share folder reference:                                            1.8.3
Form Reference:                                                    Form 206E/F
                                                                   Schedule E/F Part 2
                                                                   Accrued Liabilities
                                                                                                                                                            62,809,015.54
                                   Supplier                                                                                 Address                Sum of Amount USD
Zoom Video Communications Inc                                      55 Almaden Blvd, 6th Floor, San Jose, CA United States 95113                                    510.94
Smithers Rapra Inc                                                 425 West Market Street, Akron, OH United States 44303                                           510.74
The Chemours Company FC LLC                                        PO Box 3558, Carol Stream, IL United States 60132                                               510.49
STRINGO Inc                                                        2000 Town Center, Suite 1830 Southfield, MI United States 48075                                 498.36
WEIMA America Inc                                                  3678 Centre Circle, Fort Mill, SC United States 29715                                           495.00
Engineered Fastener Company LLC                                    29356 Network Pl, Chicago, IL United States 60673                                               479.55
ETRADE FINANCIAL CORPORATE SERVICES INC                            C/O CORP TAX DEPT, 671 N. GLEBE ROAD Arlington, VA United States 22203                          462.19
Wacom                                                              1455 NW Irving St, Portland, OR United States 97209                                             446.83
Prettl Lighting & Interior GmbH                                    Bollstraße 44-52, Pfullingen, Germany 72793                                                     440.22
Allied Wire & Cable Inc                                            101 Kestrel Drive, Collegeville, PA United States 19426                                         422.27
Unity Technologies Aps                                             Niels Hemmingsens Gade 24, Copenhagen, Hovedstaden Denmark 1153                                 420.00
Toyota Motor Engineering & Manufacturing North America Inc         6565 Headquarters Drive, Plano, TX United States 75024                                          418.00
Tri Signal Integration Inc                                         28110 Avenue Stanford, Unit D Santa Clarita, CA United States 91355                             416.00
Electrolock Inc                                                    17930 Great Lakes Pkwy, Hiram, OH United States 44234                                           412.50
Marathon Labels Inc                                                3820 Merchant Rd., Fort Wayne, IN United States 46818                                           404.00
Fujipoly America Corporation                                       900 Milik St, PO Box 119 Carteret, NJ United States 7008                                        387.00
Production Modeling Corporation                                    15726 Michigan Ave, Dearborn, MI United States 48126                                            384.98
Skyya LLC                                                          12800 Whitewater Dr, Ste 100, Eden Prairie, MN United States 55343                              381.38
MSSC US INC                                                        Dept 77206 PO BOX 77000, Detroit, MI United States 48277                                        374.60
Izoblok SA                                                         Legnicka 15, Chorzów, Poland 41-503                                                             360.73
IEWC Holdings Corp                                                 5001 S Towne Drive, New Berlin, WI United States 53151                                          360.55
RunBuggy OMI INC                                                   1377 Kettering Dr, Ontario, Canada 91761                                                        355.18
H3 Construction LLC                                                PO Box 947, Roanoke, TX United States 76262                                                     350.00
Seal Methods Inc                                                   11915 Shoemaker Ave, Santa Fe Springs, CA United States 90670                                   347.87
Shermco Industries Inc                                             2425 E. Pioneer Drive, Irving, TX United States 75061                                           347.21
Absopure Water Company                                             41590 Joy Road, Plymouth, MI United States 48170                                                346.50
Cross Company                                                      4400 Piedmont Parkway, Greensboro, NC United States 27410                                       346.00
Trumpler Marketing Group Inc                                       25018 Broadwell Ave, Harbor City, CA United States 90710                                        344.30
Xometry Inc                                                        PO Box 735303, Dallas, TX United States 75373                                                   340.00
TurboSquid                                                         935 Gravier Street, Suite 1600 New Orleans, LA United States 70112                              332.99
Container Alliance Company                                         510 Castillo St Suite 340, Santa Barbara, CA United States 93101                                330.44
Geoform Inc                                                        16832 Gramercy Place, Gardena, CA United States 90247                                           320.00
Seica Inc                                                          110 Avco Road, Haverhill, MA United States 1835                                                 319.00
Fast Company                                                       United States                                                                                   311.36
Power Sonic Corporation                                            Smitspol 4, RS Nijkerk, Netherlands 3861                                                        301.62
Cenric Technologies LLC                                            906 W McDermott Dr, Suite 116-117 Allen, TX United States 75013                                 300.00
Best Buy                                                           United States                                                                                   299.21
CRAYON SOFTWARE EXPERTS LLC                                        12221 MERIT DR, STE 1400 Dallas, TX United States 75251                                         290.00
Newark An Avnet Company                                            300 S Riverside Plaza, Suite 2200 Chicago, IL United States 60606                               285.84
Pryor Creek Quality Lawn Care                                      13 Tallgrass Cir, Pryor, OK United States 74361                                                 285.53
Valvoline LLC                                                      100 Valvoline Way, Lexington, KY United States 40509                                            285.11
Waytek Inc                                                         2440 Galpin Court, Chanhassen, MN United States 55317                                           284.11
HD Supply Inc                                                      PO Box 404468, Atlanta, GA United States 30384                                                  283.25
Elliott Electric Supply Inc                                        537 N. 40th Street, Springdale, AR United States 72762                                          277.24
                                                     Case 25-10099-BLS           Doc 2        Filed 01/18/25               Page 138 of 202


Canoo Technologies Inc.                                                                                                                      Schedule E/F - Exhibit N.2
Share folder reference:                                        1.8.3
Form Reference:                                                Form 206E/F
                                                               Schedule E/F Part 2
                                                               Accrued Liabilities
                                                                                                                                                       62,809,015.54
                                     Supplier                                                                            Address              Sum of Amount USD
CCL DESIGN                                                     12303 COLLECTION CENTER DRIVE, CHICAGO, IL United States 60693                                 275.00
Yokogawa Corporation of America                                2 Dart Road, Newman, GA United States 30265                                                    270.00
United GMG                                                     898 Cambridge Drive, Elk Grove Village, IL United States 60007                                 268.00
Blue Sky Blue Sea Inc DBA American Export Lines                13500 S Figueroa St, Los Angeles, CA United States 90061                                       265.56
Linde Gas & Equipment Inc                                      2301 SE Creekview Dr, Ankeny, IA United States 50021                                           260.31
Aon Risk Insurance Services West Inc                           707 Wilshire Blvd, Suite 2600 Los Angeles, CA United States 90017                              255.75
Red Dot Award                                                  United States                                                                                  244.59
Heilind Electronics                                            58 Jonspin Road, Wilmington, MA United States 1887                                             238.74
Intellicosting LLC                                             980 Chicago Rd, Troy, MI United States 48083                                                   230.95
Budget Flag                                                    310 N Rockwell Ave, Oklahoma City, OK United States 73127                                      226.50
Harbor Freight                                                 Artesia Blvd, Dallas, TX United States 75217                                                   218.54
AutomationDirect                                               PO BOX 402417, Atlanta, GA United States 30384                                                 217.25
Chavant Inc                                                    5043 Industrial Road, Farmingdale, NJ United States 7727                                       212.32
Blue Shield of CA                                              PO BOX 629032, El Dorado Hills, CA United States 95762                                         209.80
SHI International Corp                                         PO BOX 952121, Dallas, TX United States 75395                                                  206.15
LA CNC INC                                                     4529 San Fernando Rd, Suite E Glendale, CA United States 91204                                 202.89
Manning Pest Services LLC                                      PO Box 1231, Sallisaw, OK United States 74955                                                  200.00
ISO International Organization for Standardization             Chemin de Blandonnet 8, CP 401 Vernier, Switzerland 1214                                       198.00
TRS Staffing Solutions S DE RL DE CV                           Insurgentes SUR 601 PISO 12, Ciudad de Mexico, COL.NAPOLES C.P. Mexico 3810                    189.42
Custom Plate Pros                                              Winston Salem, NC United States                                                                185.53
Advanced Circuits                                              21101 E 32nd Parkway, Aurora, CO United States 80011                                           184.59
Navepoint                                                      , , United States                                                                              181.98
DUVALTEX US INC                                                PO BOX 206435, DALLAS, TX United States 75320                                                  181.15
AIR COMPRESSOR SUPPLY LLC                                      3916 S I-35 SERVICE RD., Oklahoma City, OK United States 73170                                 176.03
Stuart C Irby Company                                          P.O. Box 843959, Dallas, TX United States 75284                                                173.95
Ranger Design Inc                                              20600 Clark-Graham, Montreal, Canada H9X 4B6                                                   171.36
The Ian Martin Group                                           610 Chartwell Road, Suite 101 Oakville, Canada L6J 4A5                                         171.20
BIG Studio Inc                                                 1247 E Hill St, Signal Hill, CA United States 90755                                            169.50
TeamViewer Germany GmbH                                        Bahnhofsplatz 2, Goppingen, Germany 73033                                                      166.80
Bondtex Inc                                                    PO BOX 890731, CHARLOTTE, NC United States 28289-0731                                          159.16
Caplugs                                                        2150 Elmwood Ave, Buffalo, NY United States 14207                                              155.60
Hammitt and Associates Inc                                     1100 Combermere Dr, Troy, MI United States 48083                                               150.00
Magna-Power Electronics Inc                                    39 Royal Road, Flemington, NJ United States 8822                                               147.50
Worthington Specialty Processing                               27390 Network PL, Chicago, IL United States 60673                                              147.50
Axis Product Development Inc                                   PO BOX 6491, Carol Stream, IL United States 60197                                              137.20
Gregg S Wright dba Locker Room Agency LLC                      9171 Wilshire Blvd, Suite 500 Beverly Hills, CA United States 90210                            135.61
Strategic Dealer Evolutions Ltd                                534 Oneida Drive, Burlington, Canada L7T 3V1                                                   135.61
BYK-Gardner USA                                                9104 Guilford Road, Columbia, MD United States 21046                                           134.79
Michigan Scientific Corporation                                730 Bellevue Ave, Milford, MI United States 48381                                              126.69
RS Americas RS Components Ltd                                  PO Box 841811, Dallas, TX United States 75284                                                  126.48
Travers Thorp Alberga                                          PO Box 472, Grand Cayman KY1-1106 Cayman Islands, Hong Kong                                    121.95
Dezeen Limited                                                 8 Orsman Road, London, London United Kingdom N1 5QJ                                            118.74
Product & Tooling Technologies Inc                             33222 Groesbeck Hwy, Fraser, MI United States 48026                                            118.50
Tool Discounter                                                4280 Centerville Rd, St. Paul, MN United States 55127                                          114.76
                                                    Case 25-10099-BLS            Doc 2          Filed 01/18/25                 Page 139 of 202


Canoo Technologies Inc.                                                                                                                                                                Schedule E/F - Exhibit N.2
Share folder reference:                                       1.8.3
Form Reference:                                               Form 206E/F
                                                              Schedule E/F Part 2
                                                              Accrued Liabilities
                                                                                                                                                                                                 62,809,015.54
                                    Supplier                                                                            Address                                                         Sum of Amount USD
C-P-S Automotive LP                                           1 Research Drive, Suite 300 I Greenville, SC United States 29607                                                                          108.00
Best Packaging and Crating Inc                                15010 S Main St, Gardena, CA United States 90248                                                                                          105.00
LexisNexis division of RELX Inc                               28544 Network Place, Chicago, IL United States 60673                                                                                      104.78
Hy Vac Technologies Inc                                       15701 Glendale, Detroit, MI United States 48227                                                                                           100.00
Toyota Material Handling Solutions                            12012 Burke Street, Santa Fe Spgs, CA United States 90670                                                                                 100.00
BODO Möller CHEMIE CORP                                       2310 Parklake Dr., Suite 415 Atlanta, GA United States 30345                                                                               97.18
Interworld Highway LLC                                        188 Westwood Ave, Long Branch, NJ United States 7740                                                                                       96.23
German Design Council                                         Friedrich-Ebert-Anlage 49, Frankfurt am Main, Germany 60327                                                                                92.40
Hinduja Tech Inc                                              39555 Orchard Hill Place, Suite 600 Novi, MI United States 48375                                                                           81.61
Gardena Welding Supply Co Inc                                 16601 S Normandie Ave, Gardena, CA United States 90247                                                                                     79.93
Interface Inc                                                 7401 E Butherus Drive, Scottsdale, AZ United States 85260                                                                                  78.65
Vortex Industries LLC                                         File 1095, 1801 W Olympic Blvd, Pasadena, CA United States 91199                                                                           74.80
WEGU Manufacturing Inc                                        1707 Harbour Street, Whitby, Canada L1N 9G6                                                                                                72.20
Investment Recovery Services                                  3421 N Sylvan Ave, Fort Worth, TX United States 76111                                                                                      71.51
NetCentra Inc                                                 556 Riverdale Drive, Unit A, Glendale, CA United States 91204                                                                              66.89
Activpayroll Ltd                                              activpayroll Ltd, 5 Cults Business Park, Station Road, Aberdeen, Scotland United Kingdom AB15 9PE                                          62.07
Scooter Software Inc                                          625 N Segoe Rd, Suite 104 Madison, WI United States 53705                                                                                  60.00
Stabilus Inc                                                  Lockbox 638945, PO Box 638945 Cincinnati, OH United States 45263                                                                           57.63
Cerritos Dodge Inc                                            18803 Studebaker Rd, Cerritos, CA United States 90703                                                                                      56.98
Alfing Corporation                                            44160 Plymouth Oaks Blvd, Plymouth, MI United States 48170                                                                                 56.50
AUNDE Mexico SA de CV                                         Lote 1 Manzana C, Huejotzingo, Puebla Mexico 74169                                                                                         56.50
LEM-USA Inc                                                   11665 W. Bradley Road, Milwaukee, WI United States 53224                                                                                   56.50
Bel-Metric Inc                                                35 Westech Drive, Tyngsboro, MA United States 1879                                                                                         55.92
Brady Worldwide Inc                                           PO Box 71995, Chicago, IL United States 60694                                                                                              54.24
Kelly Services Inc                                            999 West Big Beaver Rd, Troy, MI United States 48084                                                                                       53.96
Formlabs Inc                                                  35 Medford Street, Suite 201 Somerville, MA United States 2143                                                                             50.59
Sackin Metals Inc                                             15201 transistor Lane, Huntington Beach, CA United States 92649                                                                            48.14
United Rentals                                                2720 South Orange Ave, Santa Ana, CA United States 92707                                                                                   45.20
BGOV LLC                                                      PO BOX 419841, Boston, MA United States 2241                                                                                               40.32
OpenLM Inc                                                    PO BOX 401, Ramona, CA United States 92065                                                                                                 39.90
Allied Industrial Tool Group                                  3061 West Thompson Raod, Fenton, MI United States 48430                                                                                    38.56
Powerwerx                                                     23695 Vía del Rio, Yorba Linda, CA United States 92887                                                                                     36.64
Wire Care                                                     PO Box 11, Lafayette, NJ United States 7848                                                                                                36.41
Vitech Manufacturing LP                                       Sattex 101, J. Gomez Portugal, Jesus Maria Aguascalientes, Aguascalientes Mexico 20909                                                     33.90
Averna Test Systems Inc                                       1515 Center Park Dr, 1515 Center Park Dr Charlotte, NC United States 28217                                                                 31.98
Oklahoma Motor Vehicle Commission                             4334 NW Expressway Ste 183, Oklahoma City, OK United States 73116                                                                          31.43
Jenna Norman Photography                                      6322 Anthony Ave, Garden Grove, CA United States 92845                                                                                     31.08
Tape Craft Corporation                                        PO Box 2027, Anniston, AL United States 36202                                                                                              30.00
GDC Inc                                                       300 Steury Ave, Goshen, IN United States 46528                                                                                             29.87
Mobile Mini Inc dba Mobile Mini Storage Solutions             PO BOX 91975, Chicago, IL United States 60693                                                                                              28.56
Puretec Industrial Water                                      3151 Sturgis Road, Oxnard, CA United States 93030                                                                                          24.71
Ebay                                                          United States                                                                                                                              23.74
GRUPO ANTOLIN PLASBUR SA                                      C/Lopez Bravo, 52 (Antiguas Naves Michelin) - NAVES ATLAS Pol. Ind. Villalonquéjar 09001, Burgos, Castillia Spain 9001                     22.04
H R Technologies Inc                                          32500 N. Avis Drive, Madison Heights, MI United States 48071                                                                               18.98
                                               Case 25-10099-BLS            Doc 2          Filed 01/18/25                  Page 140 of 202


Canoo Technologies Inc.                                                                                                                      Schedule E/F - Exhibit N.2
Share folder reference:                                  1.8.3
Form Reference:                                          Form 206E/F
                                                         Schedule E/F Part 2
                                                         Accrued Liabilities
                                                                                                                                                       62,809,015.54
                                    Supplier                                                                     Address                      Sum of Amount USD
NAPA Auto Parts                                          1912 W Carson St, Torrance, CA United States 90501                                                    18.40
Q-Mark Manufacturing Inc                                 30051 Comercio, Rancho Santa Margarita, CA United States 92688                                        18.15
Bossard Inc                                              6521 Production Drive, Cedar Falls, IA United States 50613                                            16.95
Revchem Composites Inc                                   2720 S Willow Ave, #B Bloomington, CA United States 92316                                             13.64
Henkel Corporation                                       PO BOX 281666, Atlanta, GA United States 30384                                                        13.44
Kolb Design Technology GmbH & Co KG                      Josef-Wallner-STr. 5a, Deggendorf, Germany 94469                                                      11.36
Staedtler Inc                                            8335 Winnetka Ave #7, Winnetka, CA United States 91306                                                11.18
Timi Creation sro                                        Morseova 1126/5, Plzeň 301 00, Czech Republic                                                         10.47
AUNDE Brasil SA                                          Rua Itapolis, 85, Poa City, Sao Paulo Brazil 08559-450                                                 9.56
SURFACE PREP SOT DIVISION                                PO BOX, Alsip, IL United States 60677                                                                  8.20
Automatic Spring Products Corporation                    803 Taylor Ave, Grand Haven, MI United States 49417                                                    6.21
Joe Carlson Studio Inc                                   2022 Edgewood Dr, S Pasadena, CA United States 91030                                                   5.72
Brian Thomas Companies Inc                               1452 Pond Reef Rd, Ketchikan, AK United States 99901                                                   4.42
Parsus LLP                                               177 E Colorado Blvd, Suite 200 Pasadena, CA United States 91105                                        4.38
ER Wagner Manufacturing Company                          W130N8691 Old Orchard Road, Menomonee Falls, WI United States 53051                                    4.29
Transient Specialists Inc                                7704 S Grant Street, Burr Ridge, IL United States 60527                                                3.96
Staples Contract & Commercial LLC                        PO BOX 660409, Dallas, TX United States 75266                                                          3.57
Keyence Corporation of America                           500 Park Boulevard, Suite 200 Itasca, IL United States 60143                                           2.30
TCLAD Inc                                                1600 Orrin Rd, Prescott, WI 54021-2000 Prescott, WI United States 54021                                2.08
FedEx Freight Inc                                        PO BOX 660481, Dallas, TX United States 75266                                                          1.70
Modern Plating Corporation                               701 S Hancock Street, Freeport, IL United States 61032                                                 1.11
Marian Inc                                               1011 E Saint Clair Street, Indianapolis, IN United States 46202                                        0.85
Shanghai Wisefount Credit Service Co Ltd                 Room 512 5F Building 4 No 546 Yuyuan Road, Shanghai, China 200040                                   (112.33)
Advanced Test Equipment Corporation                      10401 Roselle Street, San Diego, CA United States 92121                                           (1,499.46)
Interplex Suzhou Precision Engineering LTD               36 Xingming Street Css Industrial Park, Suzhou, China 215021                                      (1,743.88)
Stanley Engineered Fastening                             49201 Gratiot Ave, Chesterfield, MI United States 48051                                           (3,004.36)
Safety Kleen Systems Inc                                 PO BOX 975201, Dallas, TX United States 75397                                                     (5,361.90)
Racar Engineering LLC                                    555 Metro Place, Suite 500 Dublin, OH United States 43017                                        (14,926.00)
Plastivaloire (PVL)                                      Zone Industrielle Nord, 1 route de la Retaudière, BP 38 Langeais, France 37130                   (28,636.23)
                                     Case 25-10099-BLS          Doc 2      Filed 01/18/25   Page 141 of 202


CANOO TECHNOLOGIES, INC.
Official Form 206G
    Schedule G
                   2 List all contracts and unexpired leases

                   2.1 Unexpired Leases                        Exhibit O
                   2.2 Executory Contracts                     Exhibit P
                                                                          Case 25-10099-BLS                      Doc 2             Filed 01/18/25                   Page 142 of 202


Canoo Technologies Inc.                                                                                                                                                                                                                     Schedule G - Exhibit O
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Unexpired Leases

         Location                                      Address                                     Lessee                         Lessor                                                       Lessor Address                                     Lessor Email
Torrance                  19951 Mariner Avenue, Torrance CA 90503                     Evelozcity Inc.           Remarkable Views Consultants LTD.      Integreity Capital Management Limited Unit 605, 50 Connaught Rd. Central Hong Kong
15520 Justin              15520 HWY 114 Justin, TX 76226                              Canoo Technologies Inc.   15520 HWY 114 LLC (AF Ventures, LLC)   2126 Hamilton Road, Suite 260, Argyle, TX 76226                                      jana@afvpartners.com
15306 Justin              15306 HWY 114 Justin, TX 76226                              Canoo Technologies Inc.   15306 HWY 114 LLC (AF Ventures, LLC)   2126 Hamilton Road, Suite 260, Argyle, TX 76226                                      jana@afvpartners.com
Bentonville               4901 SW Regional Airport Boulevard, Bentonville, AR 72712   Canoo Technologies Inc.   CrossMar Industrial North 100, LLC     1500 East Central Avenue, Suite 110, Bentonville, AR 72712
Pryor OK                  4461 Zarrow Street., Pryor, OK 74361                        Canoo Inc.                Oklahoma Ordnance Works Authority      PO Box 945, Pryor, OK 74362
Michigan                  2000 Taylor Road, Auburn Hills, Michigan 48326              Canoo Technologies Inc.   Taylor Road Holdings LLC               26555 Evergreen Road, Suite 102 Southland, MI 48076                                  karen.colucci@nmrk.com
I-40                      9528 W I-40 Service Road, Oklahoma City, Oklahoma           Canoo Inc.                I-40 OKC Partners LLC                  2126 Hamilton Road, Suite 260, Argyle, TX 76226                                      jana@afvpartners.com
Ohio                      25790 ST RT 287, Marysville, Ohio 43040                     Canoo Technologies Inc.   Robinson Investments, Ltd              1 Hunter Place, P.O. Box 68, Bellefontaine, Ohio 43311
                                 Case 25-10099-BLS                 Doc 2       Filed 01/18/25              Page 143 of 202


Canoo Technologies Inc.
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Executory Contracts


Canoo Entity              Counterparty                                     Address                                            Agreement type

                                                                           PNC Bank C/O Ernst & Young US LLP, 3712
Canoo Technologies Inc.   Ernst & Young LLP                                Solutions Center Chicago, IL United States 60677 Supplier or service contract
                                                                           12770 COIT RD, STE 600 Dallas, TX United States
Canoo Technologies Inc.   MUNCK WILSON MANDALA LLP                         75250                                            Supplier or service contract
                                                                           23227 Commerce Dr, Farmington Hills, MI United
Canoo Technologies Inc.   Tachi-S Engineering USA Inc                      States 48335                                     Supplier or service contract
Canoo Technologies Inc.   Kirkland & Ellis LLP                             300 N LaSalle, Chicago, IL United States 60654     Supplier or service contract
                                                                           PO Box 7247-7255, Philadelphia, PA United
Canoo Technologies Inc.   McKinsey & Company Inc United States             States 19170                                       Supplier or service contract
                                                                           9528 W I-40 Service Rd, Oklahoma City, OK
Canoo Technologies Inc.   I-40 OKC Partners LLC                            United States 73128                                Lease for business property
Canoo Technologies Inc.   Sidley Austin LLP                                PO Box 0642, Chicago, IL United States 60690       Supplier or service contract
Canoo Technologies Inc.   Meta System SPA                                  Via T. Galimberti 5, Reggio Emilia, Italy 42124    Supplier or service contract

Canoo Technologies Inc.   Toledo Tool & Die Co Inc                         105 W Alexis Rd, Toledo, OH United States 43612 Supplier or service contract
                                                                           PO Box 74184, Cleveland, OH United States
Canoo Technologies Inc.   Onix Networking Corp                             44194                                              Supplier or service contract
                                                                           Renaissance Way, Blvd Industry Park Liverpool,
Canoo Technologies Inc.   Magna Exteriors (Liverpool) Limited              Merseyside United Kingdom L24 9PL                  Supplier or service contract
                                                                           1000 Wilshire Blvd, Los Angeles, CA United States
Canoo Technologies Inc.   Wedbush Securities Inc                           90017                                              Supplier or service contract
                                                                           203 Teheran-ro, SI Tower, Yeoksam-dong
Canoo Technologies Inc.   Hyundai Mobis Co Ltd                             Gangnam-gu, Korea, Republic of 6141                Supplier or service contract
                                                                           7290 KENSINGTON RD, Brighton, MI United States
Canoo Technologies Inc.   Global Retool Group America LLC                  48116                                              Supplier or service contract
                                                                           2500 NE 11th St., Suite 300 Bentonville, AR United
Canoo Technologies Inc.   CrossMar Industrial North 100 LLC                States 72712                                       Lease for business property
                                                                           755 W Big Beaver Road, STE 1875 Troy, MI United
Canoo Technologies Inc.   PAC Project Advisors International Ltd           States 48084                                       Supplier or service contract
                                                                           No.2 Hongxi Road, Qingkou investment zone
Canoo Technologies Inc.   Fuzhou Fushiang Motor Industrial CoLtd           Fuzhou, China 350119                               Supplier or service contract
Canoo Technologies Inc.   Deloitte & Touche LLP                            PO Box 844708, Dallas, TX United States 75284      Supplier or service contract
                                 Case 25-10099-BLS                  Doc 2      Filed 01/18/25              Page 144 of 202


Canoo Technologies Inc.
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Executory Contracts


Canoo Entity              Counterparty                                      Address                                           Agreement type
                                                                            9755 Research Drive, Irvine, CA United States
Canoo Technologies Inc.   Horiba Instruments Incorporated                   92618                                             Supplier or service contract

Canoo Technologies Inc.   Alixpartners LLP                                  909 Third Ave, New York, NY United States 10022 Supplier or service contract
                                                                            2600 Ansys Dr, Canonsburg, PA United States
Canoo Technologies Inc.   Ansys Inc                                         15317                                           Supplier or service contract
                                                                            PO BOX 740028, Los Angeles, CA United States
Canoo Technologies Inc.   REXFORD INDUSTRIAL                                90074                                           Lease for business property

Canoo Technologies Inc.   Oracle America Inc                                PO BOX 412622, Boston, MA United States 2241      Supplier or service contract
                                                                            34700 Grand River Ave., Farmington Hills, MI
Canoo Technologies Inc.   Jing-Jin Electric North America LLC               United States 48335                               Supplier or service contract
                                                                            9800 Mount Pyramid Court, Ste 400 Englewood,
Canoo Technologies Inc.   Stratus-X LLC                                     CO United States 80112                            Supplier or service contract
                                                                            NamdongSeoro 370, Namdong-gu, Korea,
Canoo Technologies Inc.   Dasung CoLtd                                      Republic of 21629                                 Supplier or service contract
                                                                            101 Warren G Medley Dr, Dickson, TN United
Canoo Technologies Inc.   Metrican Stamping LLC                             States 37055                                      Supplier or service contract
Canoo Technologies Inc.   Marquardt Switches Inc                            PO BOX 10713, Albany, NY United States 12201      Supplier or service contract
                                                                            15350 Vickery Drive, Houston, TX United States
Canoo Technologies Inc.   CEVA Logistics US Inc                             77033                                             Supplier or service contract
                                                                            Calle La Cadena-Varea 43, Logrono-La Rioja,
Canoo Technologies Inc.   Standard Profil Spain S A                         Spain 26006                                       Supplier or service contract

Canoo Technologies Inc.   The MathWorks Inc                                 3 Apple Hill Drive, Natick, MA United States 1760 Supplier or service contract
                                                                            3003 Tasman Drive, Santa Clara, CA United
Canoo Technologies Inc.   Silicon Valley Bank                               States 95054                                      Supplier or service contract

Canoo Technologies Inc.   Danfoss Silicon Power GmbH                        Husumer Straße 251, Flensburg, Germany 24941 Supplier or service contract

Canoo Technologies Inc.   Amazon Web Services Inc                           PO Box 84023, Seattle, WA United States 98124     Supplier or service contract
                                                                            2500 Innovation Drive, Auburn Hills, MI United
Canoo Technologies Inc.   Joyson Safety Systems Acquisition LLC             States 48326                                      Supplier or service contract
Canoo Technologies Inc.   Kyung Chang Technology Jiang Yin Co LTD           No 32, Huangang XI Rd, Wuxi, China 214446         Supplier or service contract
                                 Case 25-10099-BLS                     Doc 2      Filed 01/18/25              Page 145 of 202


Canoo Technologies Inc.
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Executory Contracts


Canoo Entity              Counterparty                                         Address                                           Agreement type
                                                                               1110 W Tenkiller Rd, Catoosa, OK United States
Canoo Technologies Inc.   Lyseon North America Inc                             74015                                             Supplier or service contract
                                                                               PO BOX 75289, 75 Remittance Dr Chicago, IL
Canoo Technologies Inc.   Illinois Tool Works Inc                              United States 60675                               Supplier or service contract
                                                                               Zone Franche d'Exportation de Tanger, Ilot nº 22B
Canoo Technologies Inc.   Grupo Antolin Tanger                                 et 21 TANGER, Morocco 900090                      Supplier or service contract
                                                                               2126 Hamilton Road, Suite 260 Argyle, TX United
Canoo Technologies Inc.   15520 HWY 114 LLC                                    States 76226                                      Lease for business property
                                                                               42400 Merill Road, Sterling Heights, MI United
Canoo Technologies Inc.   Mayco International LLC                              States 48314                                      Supplier or service contract
                                                                               3235 Kifer Road, Suite 100 Santa Clara, CA United
Canoo Technologies Inc.   DSP Concepts Inc                                     States 95051                                      Supplier or service contract
                                                                               1 Grand Canal Suare, Grand Canal Harbour Dublin
Canoo Technologies Inc.   Accenture International Limited                      2, Ireland D02 P820                               Supplier or service contract
                                                                               Great Western Street, Wednesbury, West
Canoo Technologies Inc.   Kuka Robotics UK Ltd                                 Midlands United Kingdom WS10 7LL                  Supplier or service contract
Canoo Technologies Inc.   Dell Marketing LP                                    PO Box 676021, Dallas, TX United States 75267     Supplier or service contract
                                                                               TERCERA AVENIDA LOTE 12, Apodaca, Nuevo
Canoo Technologies Inc.   Mobase Electronics Co Ltd                            Leon Mexico 66600                                 Supplier or service contract
Canoo Technologies Inc.   Contegix                                             PO Box 671710, Dallas, TX United States 75267 Supplier or service contract
                                                                               55 Greens Farms Road, Floor 2 Westport, CT
Canoo Technologies Inc.   Daversa Partners                                     United States 6880                             Supplier or service contract
                                                                               1875 Research Drive, Suite 200 Troy, MI United
Canoo Technologies Inc.   EDAG Inc                                             States 48083                                   Supplier or service contract
                                                                               PO Box 72086, Cleveland, OH United States
Canoo Technologies Inc.   American Group LLC                                   44192                                          Supplier or service contract
                                                                               1309 Magnolia Blvd, Burbank, CA United States
Canoo Technologies Inc.   Twin Valet Parking Inc                               91506                                          Supplier or service contract
                                                                               65 Independence Place, PL- Guelph, Canada N1K
Canoo Technologies Inc.   Polycon Industries A Division of Magna Exteriors     1H8                                            Supplier or service contract
                                                                               PO BOX 2168, Carol Stream, IL United States
Canoo Technologies Inc.   Siemens Industry Software Inc                        60132                                          Supplier or service contract
                                  Case 25-10099-BLS                  Doc 2      Filed 01/18/25              Page 146 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                      Address                                           Agreement type


Canoo Technologies Inc.    UKG Inc FKA The Ultimate Software Group Inc       PO BOX 930953, Atlanta, GA United States 31193 Supplier or service contract
                                                                             Carrer Rec de Dalt, 3, Mollet del Vallès, Spain
Canoo Technologies Inc.    Idneo Technologies SAU                            8100                                            Supplier or service contract
                                                                             Dept 771419, PO BOX 77000 Detroit, MI United
Canoo Technologies Inc.    Altair Engineering Inc                            States 48277                                    Supplier or service contract
                                                                             11999 SAN VICENTE BLVD, PENTHOUSE Los
Canoo Technologies Inc.    SITRICK GROUP LLC                                 Angeles, CA United States 90049                 Supplier or service contract
                                                                             Carl-Benz-Str. 34, Bietigheim-Bissingen,
Canoo Technologies Inc.    Durr Systems AG                                   Germany 74321                                   Supplier or service contract
                                                                             2985 E Miraloma Ave, Anaheim, CA United States
Canoo Technologies Inc.    Concept Group LLC                                 92806                                            Supplier or service contract
                                                                             300 Baker Ave, Suite 170 Concord, MA United
Canoo Technologies Inc.    aPriori Technologies Inc                          States 1742                                      Supplier or service contract
                                                                             No. 30 Xingshun Road SINO-ITALY, NINGBO
Canoo Technologies Inc.    JAC auto parts (Ningbo) Co Ltd                    ECOLOGICAL PARK Ningbo, China 315475             Supplier or service contract
                                                                             35224 Autonation Dr, Clinton Township, MI United
Canoo Manufacturing, LLC   Oakley Industries Inc                             States 48035                                     Supplier or service contract
                                                                             PO BOX 91683435, Chicago, IL United States
Canoo Technologies Inc.    MDA US LLC                                        60691                                            Supplier or service contract
                                                                             Lockton-Dunning Series of Lockton Companies,
                                                                             LLC, Dept 3042 PO Box 123042 Dallas, TX United
Canoo Technologies Inc.    Lockton Companies                                 States 75312                                     Supplier or service contract
Canoo Technologies Inc.    JB Hunt Transport Inc                             PO Box 847977, Dallas, TX United States 75284     Supplier or service contract
                                                                             2800 S. 25th Ave, Broadview, IL United States
Canoo Manufacturing, LLC   Robert Bosch LLC                                  60155                                             Supplier or service contract
                                                                             24777 Denso Drive, Southfield, MI United States
Canoo Technologies Inc.    Denso International America Inc                   48033                                             Supplier or service contract
                                                                             28698 Network Place, Chicago, IL United States
Canoo Technologies Inc.    CASCO Products Corporation                        60673                                             Supplier or service contract
                                                                             9752 Clos Du Lac Circle, Loomis, CA United
Canoo Technologies Inc.    Weideman Group Inc                                States 95650                                      Supplier or service contract
                                  Case 25-10099-BLS                    Doc 2      Filed 01/18/25             Page 147 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                        Address                                           Agreement type
                                                                               470 West Ave, 3rd Floor Stamford, CT United
Canoo Technologies Inc.    Morrow Sodali LLC                                   States 6902                                       Supplier or service contract
Canoo Technologies Inc.    Globe Capital Partners GmbH                         Königstraße, 1A Stuttgart, Germany 70173          Supplier or service contract
                                                                               PO BOX 822169, Philadelphia, PA United States
Canoo Technologies Inc.    Presidio Networked Solutions Group LLC              19182                                             Supplier or service contract
Canoo Technologies Inc.    Cornerstone OnDemand Inc                            Dept CH19590, Palatine, IL United States 60055    Supplier or service contract
                                                                               No.1, Lane 38, Chung-E 1st St., Rende Dist.,
Canoo Technologies Inc.    FWU JIH DIE CASTING INDUSTRIAL CO LTD               Tainan City, TAIWAN Taiwan 71753                  Supplier or service contract
                                                                               70, Via Di Vittorio Giuseppe - 38015 Lavis (TN)
Canoo Technologies Inc.    HSL SRL                                             Trento, Lavis, Trentino Italy 38015               Supplier or service contract
                                                                               6851 Communications Pkwy, Plano, TX United
Canoo Technologies Inc.    Cyberone LLC                                        States 75024                                      Supplier or service contract
                                                                               1313 N. Market St, 6th Floor Wilmington, DE
Canoo Technologies Inc.    Potter Anderson & Corroon LLP                       United States 19801                               Supplier or service contract
                                                                               62228 Collections Center Dr, Chicago, IL United
Canoo Technologies Inc.    LinkedIN Corporation                                States 60693                                      Supplier or service contract
                                                                               Avenida del Ebro 58, Polígono Ind. El Sequero
Canoo Technologies Inc.    Starglass                                           Agoncillo, Spain 26509                            Supplier or service contract
                                                                               1350 Highland Dr., Suite F Ann Arbor, MI United
Canoo Technologies Inc.    IPG Automotive USA Inc                              States 48108                                      Supplier or service contract
                                                                               603 Earthway Blvd, Bristol, IN United States
Canoo Manufacturing, LLC   The Shyft Group USA Inc                             46507                                             Supplier or service contract
                                                                               Parcela #101 Poligono 1 Fracc.3, Gomex Palacio,
Canoo Manufacturing, LLC   Kyungshin Cable International Corporation           Durango Mexico CP 35120                           Supplier or service contract
                                                                               12800 Whitewater Dr, Ste 100, Eden Prairie, MN
Canoo Technologies Inc.    Skyya LLC                                           United States 55343                               Supplier or service contract

Canoo Technologies Inc.    Consilio Inc                                        DEPT CH 17174, Palatine, IL United States 60055 Supplier or service contract
                                                                               Circuito Paseo de las Colinas 301, Leon, GTO
Canoo Technologies Inc.    Macauto Mexico SA de CV                             Mexico 37668                                    Supplier or service contract
                                                                               CARRETERA LIBRE A CELAYA KM 8.6, Zona
                                                                               Industrial Balvanera Corregidora, Queretaro
Canoo Technologies Inc.    PRETTL LIGHTING & INTERIOR DE MEXICO SA DE CV       Mexico 76908                                    Supplier or service contract
                                  Case 25-10099-BLS                    Doc 2       Filed 01/18/25              Page 148 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                        Address                                             Agreement type
                                                                               1388 Rue Adrienne Bolland, Andrezieux-
Canoo Technologies Inc.    Anderton Castings SAS                               Boutheon, France 42160                              Supplier or service contract
Canoo Technologies Inc.    Anton Manufacturing division of Multimatic Inc      300 Basaltic Road, Concord, Canada L4K 4Y9       Supplier or service contract
                                                                               PO Box 5122, Carol Stream, IL United States
Canoo Technologies Inc.    Hella Electronics Corporation                       60197                                            Supplier or service contract
                                                                               23300 Haggerty Road, Farmington Hills, MI United
Canoo Technologies Inc.    Humanetics Innovative Solutions                     States 48335                                     Supplier or service contract

Canoo Technologies Inc.    Envisai Inc                                         6 Redwood Ct, Plainsboro, NJ United States 8536 Supplier or service contract

Canoo Technologies Inc.    Express Employment Professionals                    PO BOX 203901, Dallas, TX United States 75320 Supplier or service contract
                                                                               1200 Stephenson Hwy, Troy, MI United States
Canoo Technologies Inc.    Rapid Global Business Solutions Inc                 48083                                               Supplier or service contract
                                                                               101 Townsend Street, San Francisco, CA United
Canoo Technologies Inc.    Cloudflare Inc                                      States 94107                                        Supplier or service contract
                                                                               Wilford House, 1 Clifton Lane Nottingham,
Canoo Technologies Inc.    Smart Manufacturing Technology Ltd                  Nottinghamshire United Kingdom NG11 7AT             Supplier or service contract
                                                                               11915 Shoemaker Ave, Santa Fe Springs, CA
Canoo Manufacturing, LLC   Seal Methods Inc                                    United States 90670                                 Supplier or service contract
                                                                               601 Oakmont Lane, Suite 220 Westmont, IL
Canoo Technologies Inc.    Gamma Technologies LLC                              United States 60559                                 Supplier or service contract
                                                                               305 Stanley Blvd, Building 2 Shelbyville, TN United
Canoo Manufacturing, LLC   Highly Marelli USA Inc                              States 37160                                        Supplier or service contract
Canoo Technologies Inc.    BETA CAE Systems International AG                   Platz 4, Root, Switzerland 6039                   Supplier or service contract
                                                                               12046 Florence Ave, Santa Fe Springs, CA United
Canoo Technologies Inc.    Western Allied Corporation                          States 90670                                      Supplier or service contract
                                                                               1801 California St,, Suite 4600 Denver, CO United
Canoo Technologies Inc.    Contentful Inc                                      States 80202                                      Supplier or service contract
                                                                               29322 Network Place, Chicago, IL United States
Canoo Technologies Inc.    Adobe Inc                                           60673                                             Supplier or service contract
                                                                               1 Research Drive, Suite 300 I Greenville, SC
Canoo Technologies Inc.    C-P-S Automotive LP                                 United States 29607                               Supplier or service contract
                                                                               2126 Hamilton Rd Ste 260, Argyle, TX United
Canoo Technologies Inc.    15306 HWY 114 LLC                                   States 76226                                      Lease for business property
                                  Case 25-10099-BLS                  Doc 2      Filed 01/18/25              Page 149 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                      Address                                         Agreement type
                                                                             317 Poseungnam-ro, Poseung-eup, Pyeongtaek-
Canoo Technologies Inc.    Woory Industrial Company Ltd                      si, Korea, Republic of 17708                    Supplier or service contract
                                                                             233 S Wacker Drive Ste 8000, Chicago, IL United
Canoo Technologies Inc.    Seyfarth Shaw LLP                                 States 60606                                    Supplier or service contract
                                                                             71 S Wacker Drive, Suite 2700 Alsip, IL United
Canoo Technologies Inc.    Jobplex                                           States 60606                                    Supplier or service contract
                                                                             400 S Etiwanda Ave, Ontario, CA United States
Canoo Technologies Inc.    Automotive Testing And Development Services Inc   91761                                           Supplier or service contract
                                                                             291, Daedongwolpo-ro, Daehap-myeon, Daehap-
                                                                             myeon / Changnyeong-gun,/ 50307, Changnyeong-
                                                                             gun, Gyeongsangnam-do Korea, Republic of
Canoo Technologies Inc.    Nexen Corporation                                 50307                                           Supplier or service contract
Canoo Technologies Inc.    Fastenal Company                                  3761 5th Ave N, LETHBRIDGE, Canada T1H 5L4          Supplier or service contract
                                                                             PO BOX 103143, Pasadena, CA United States
Canoo Technologies Inc.    Compensia Inc                                     91189                                               Supplier or service contract
                                                                             8 Fitzroy Street, London, London United Kingdom
Canoo Technologies Inc.    Oasys Ltd                                         W1T 4BJ                                             Supplier or service contract
                                                                             Auto Desk Inc C/O Citibank, PO Box 2188 Carol
Canoo Technologies Inc.    Autodesk Inc                                      Stream, IL United States 60132                      Supplier or service contract
Canoo Manufacturing, LLC   Marquardt Switches Inc                            PO BOX 10713, Albany, NY United States 12201        Supplier or service contract

Canoo Technologies Inc.    Fiberdyne Research Pty Ltd                        14 Carmel Ave, Ferntree Gully, Vic Australia 3156   Supplier or service contract
                                                                             EntServ Deutschland GmbH, Schickardstr. 32
Canoo Technologies Inc.    EntServ Deutschland GmbH                          Boeblingen, Germany 71034                           Supplier or service contract
                                                                             150 East 58th Street 17th Floor, Bowling Green,
Canoo Inc.                 The Benchmark Company LLC                         NY United States 10155                              Supplier or service contract
                                                                             920 North King Street, Wilmington, DE United
Canoo Technologies Inc.    Richards Layton & Finger PA                       States 19801                                        Supplier or service contract
                                                                             79 Bridge St Apt 5F, Brooklyn, NY United States
Canoo Technologies Inc.    ESG Advisor Group LLC                             11201                                               Supplier or service contract
                                                                             PO BOX 840703, Los Angeles, CA United States
Canoo Technologies Inc.    Fisher & Phillips LLP                             90084                                               Supplier or service contract
                                  Case 25-10099-BLS                    Doc 2      Filed 01/18/25              Page 150 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                        Address                                           Agreement type
                                                                               19 Bartlett Street, Marlborough, MA United States
Canoo Technologies Inc.    Hottinger Bruel and Kjaer Inc                       1752                                              Supplier or service contract
                                                                               2651 Compass Road, Glenview, IL United States
Canoo Manufacturing, LLC   OPTIMAS OE SOLUTIONS LP                             60026                                             Supplier or service contract
                                                                               NW 6139, PO Box 1450 Minneapolis, MN United
Canoo Technologies Inc.    Faegre Drinker Biddle & Reath LLP                   States 55485                                      Supplier or service contract
                                                                               Parcela #101 Poligono 1 Fracc.3, Gomex Palacio,
Canoo Technologies Inc.    Kyungshin Cable International Corporation           Durango Mexico CP 35120                           Supplier or service contract
                                                                               2339 Gold Meadow Way, Ste. 210 Gold River, CA
Canoo Technologies Inc.    My Equity Comp LLC                                  United States 95670                               Supplier or service contract
                                                                               Units 610-611, 6/F Tower 2, Lippo CTR 89
Canoo Manufacturing, LLC   TPK Auto Tech Co Limited                            Queensway, Admiralty , Hong Kong                  Supplier or service contract

Canoo Technologies Inc.    HSI Workplace Compliance Solutions Inc              PO Box 809321, Chicago, IL United States 60680 Supplier or service contract

Canoo Technologies Inc.    HRMS Solutions Inc                                  941 Grant Pl, Boulder, CO United States 80302     Supplier or service contract
                                                                               CityPoint, 1 Ropemaker Street, London, London
Canoo Technologies Inc.    Simmons & Simmons LLP                               United Kingdom EC2Y 9SS                           Supplier or service contract
                                                                               800 Maine Ave SW 7th Floor, Washington, DC
Canoo Technologies Inc.    Cornerstone Government Affairs Inc                  United States 20024                               Supplier or service contract
                                                                               C/O CORP TAX DEPT, 671 N. GLEBE ROAD
Canoo Technologies Inc.    ETRADE FINANCIAL CORPORATE SERVICES INC             Arlington, VA United States 22203                 Supplier or service contract
                                                                               5 Pelican Vista Dr, Newport Coast, CA United
Canoo Technologies Inc.    Gauntlett & Associates                              States 92657                                      Supplier or service contract
                                                                               1183 W John Carpenter Fwy, Irving, TX United
Canoo Technologies Inc.    MOURI TECH LLC                                      States 75039                                      Supplier or service contract
                                                                               PO BOX 645959, Pittsburgh, PA United States
Canoo Technologies Inc.    SAE International                                   15264                                             Supplier or service contract

Canoo Technologies Inc.    Allium US Holding LLC                               PO Box 735794, Chicago, IL United States 60673 Supplier or service contract
                                                                               2651 Compass Road, Glenview, IL United States
Canoo Technologies Inc.    OPTIMAS OE SOLUTIONS LP                             60026                                          Supplier or service contract

Canoo Technologies Inc.    Telos Global LLC                                    1880 Hwy 116, Caryville, TN United States 37714 Supplier or service contract
                                 Case 25-10099-BLS      Doc 2      Filed 01/18/25              Page 151 of 202


Canoo Technologies Inc.
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Executory Contracts


Canoo Entity              Counterparty                          Address                                     Agreement type
                                                                Programming Research LTD, PO BOX 742263 Los
Canoo Technologies Inc.   Perforce Software Inc                 Angeles, CA United States 90074             Supplier or service contract

Canoo Technologies Inc.   BG Networks Inc                       100 Robin Road, Weston, MA United States 2493 Supplier or service contract
                                                                46501 Commerce Center Drive, Plymouth, MI
Canoo Technologies Inc.   MOBIS NORTH AMERICA LLC               United States 48170                                Supplier or service contract
                                                                MSC Industrial Supply Co, PO BOX 953635 Saint
Canoo Technologies Inc.   MSC Direct                            Louis, MO United States 63195                      Supplier or service contract
                                                                2956 Waterview Drive, Rochester Hills, MI United
Canoo Technologies Inc.   BOS Automotive Products Inc           States 48309                                       Supplier or service contract
                                                                5 Corporate Park Ste 140, Irvine, CA United States
Canoo Technologies Inc.   DemandBlue                            92606                                              Supplier or service contract
                                                                2125 Western Ave., Suite 208 Seattle, WA United
Canoo Technologies Inc.   Anvil Ventures Inc                    States 98121                                       Supplier or service contract
                                                                P.O. Box 911501, Denver, CO United States
Canoo Technologies Inc.   IHS Global Inc                        80291                                              Supplier or service contract
                                                                39500 Orchard Hill Place, Ste. 400, Novi, MI
Canoo Technologies Inc.   Vector North America Inc              United States 48375                                Supplier or service contract
                                                                Strada S.Appiano 8/A, Barberino Val d’Elsa, Italy
Canoo Technologies Inc.   ATOP SpA                              50021                                              Supplier or service contract
                                                                9450 SW Gemini Dr, PMB 71948 Beaverton, OR
Canoo Technologies Inc.   Materialise USA LLC                   United States 97006                                Supplier or service contract
                                                                17705 S Main St, Gardena, CA United States
Canoo Technologies Inc.   Prime Wheel                           90248                                              Supplier or service contract
                                                                50850 Rizzo Dr, Shelby Township, MI United
Canoo Technologies Inc.   Schwab Industries Inc                 States 48315                                       Supplier or service contract
                                                                7 W Square Lake Rd, Bloomfield Hills, MI United
Canoo Technologies Inc.   CDH Detroit Inc                       States 48302                                       Supplier or service contract
                                                                300 Sipingshan Road, Dingmao Zhenjiang, China
Canoo Technologies Inc.   Inteva Products LLC                   212009                                             Supplier or service contract
                                                                Marelli Mexicana SA de CV, AVE San Fransisco 401
                                                                Aguascalientes, San Francisco de los Romo
Canoo Technologies Inc.   Marelli North America Inc             Mexico C.P. 20304                                  Supplier or service contract
                                 Case 25-10099-BLS                 Doc 2      Filed 01/18/25              Page 152 of 202


Canoo Technologies Inc.
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Executory Contracts


Canoo Entity              Counterparty                                 Address                                               Agreement type
                                                                       Calle 4 Poniente #10560, Parque Industrial El
Canoo Technologies Inc.                                                Salto El Salto, Jalisco Mexico 45680
                          INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV                                                     Supplier or service contract

Canoo Technologies Inc.   MGA Research Corporation                         12790 Main Road, Akron, NY United States 14001 Supplier or service contract

Canoo Technologies Inc.   Exponent Inc                                     PO BOX 200283, Dallas, TX United States 75320 Supplier or service contract
                                                                           109/519 Moo 7 Tumbol Klongsong, Amphua
                                                                           Klongluang Pathumthani, 12120 Thailand , T: +66-
Canoo Technologies Inc.   Pearl Engineered Solutions Pte Ltd               2-901-6011, Pathumthani, Thailand 12120          Supplier or service contract
                                                                           9100 Byron Commerce, Byron Center, MI United
Canoo Technologies Inc.   Wil-kast Inc                                     States 49315                                     Supplier or service contract
Canoo Technologies Inc.   Surgere LLC                                      PO BOX 95995, Chicago, IL United States 60694     Supplier or service contract
                                                                           5890 Stoneridge Dr, Suite 216 Pleasanton, CA
Canoo Technologies Inc.   12TH WONDER LLC                                  United States 94588                               Supplier or service contract
                                                                           1700 Ashwood Drive, Suite 1704 Canonsburg, PA
Canoo Technologies Inc.   River Point Technology LLC                       United States 15317                               Supplier or service contract
                                                                           6300 West Loop South, Suite 125 Bellaire, TX
Canoo Technologies Inc.   TECHNIA Inc                                      United States 77401                               Supplier or service contract
                                                                           410 Townsend St. Suite 410, San Francisco, CA
Canoo Technologies Inc.   Envoy Inc                                        United States 94107                               Supplier or service contract
Canoo Technologies Inc.   Ellsworth Adhesives                              25 Hubble, Irvine, CA United States 92618         Supplier or service contract
                                                                           PO Box 24990, Oklahoma City, OK United States
Canoo Technologies Inc.   OG&E                                             73124                                             Supplier or service contract
Canoo Technologies Inc.   Anderton Castings LLC                            PO BOX 1170, Temple, TX United States 76503       Supplier or service contract

Canoo Technologies Inc.   Hexagon Manufacturing Intelligence Inc           PO Box 749424, Atlanta, GA United States 30374 Supplier or service contract
                                                                           3900 Key Tower, 127 Public Square Cleveland, OH
Canoo Technologies Inc.   Thompson Hine                                    United States 44114                             Supplier or service contract
                                                                           St Georges Way, Bermuda Industrial Estate
                                                                           Nuneaton, Warwickshire United Kingdom CV10
Canoo Technologies Inc.   IDIADA Automotive Technology UK Ltd              7JS                                             Supplier or service contract
                                                                           100 Wilshire Boulevard Ste 700, Santa Monica,
Canoo Technologies Inc.   Davis Gavsie & Hakim LLP                         CA United States 90401                          Supplier or service contract
                                  Case 25-10099-BLS                 Doc 2      Filed 01/18/25              Page 153 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                     Address                                        Agreement type
                                                                            28 Pyeonghwa-ro 2862beon-gil, Dongducheon-si,
Canoo Technologies Inc.    SEKONIX Co Ltd                                   Korea, Republic of 11307                       Supplier or service contract
                                                                            620 8th Ave, 45th Floor, New York, NY United
Canoo Technologies Inc.    Datadog Inc                                      States 10018                                   Supplier or service contract
                                                                            PLOT NO 33, SECTOR 35 GURUGRAM HARYANA,
Canoo Manufacturing, LLC   Anand NVH Products Private Ltd                   India 122001                                   Supplier or service contract
                                                                            11969 Shelby Tech Drive, Shelby Township, MI
Canoo Technologies Inc.    Polymer Process Development LLC                  United States 48315                            Supplier or service contract
                                                                            Suite 5, Hagley Business Centre, Hagley, West
Canoo Technologies Inc.    Curve Engineering Solutions Ltd                  Midlands United Kingdom DY9 9JW                Supplier or service contract
                                                                            45601 Five Mile Rd, Plymouth, MI United States
Canoo Technologies Inc.    RCO Engineering Inc                              48170                                          Supplier or service contract
                                                                            33 New Montgomery St, Suite 950 San Francisco,
Canoo Technologies Inc.    Rescale Inc                                      CA United States 94105                         Supplier or service contract
                                                                            1701 Pennsylvania Ave NW Ste 200, Washington,
Canoo Technologies Inc.    Hamilton Clark Sustainable Capital Inc           DC United States 20006                         Supplier or service contract

Canoo Manufacturing, LLC   Henkel Corporation                               PO BOX 281666, Atlanta, GA United States 30384 Supplier or service contract
                                                                            2400 Huntington Blvd, Hoffman Estates, IL United
Canoo Technologies Inc.    DMG MORI USA INC                                 States 60192                                     Supplier or service contract
                                                                            2500 Innovation Drive, Auburn Hills, MI United
Canoo Manufacturing, LLC   Joyson Safety Systems Acquisition LLC            States 48326                                     Supplier or service contract
                                                                            28 Pyeonghwa-ro 2862beon-gil, Dongducheon-si,
Canoo Manufacturing, LLC   SEKONIX Co Ltd                                   Korea, Republic of 11307                         Supplier or service contract
                                                                            1200 Abernathy Rd STE 700, Atlanta, GA United
Canoo Technologies Inc.    OneTrust LLC                                     States 30328                                     Supplier or service contract
                                                                            11500 N Mopac Expwy, Austin, TX United States
Canoo Technologies Inc.    National Instruments Corporation                 78759                                            Supplier or service contract
                                                                            25018 Broadwell Ave, Harbor City, CA United
Canoo Technologies Inc.    Trumpler Marketing Group Inc                     States 90710                                     Supplier or service contract
                                                                            Three World Trade Centre, 50th Floor Greenwich
Canoo Technologies Inc.    Axiom Global Inc                                 Street New York, NY United States 10007          Supplier or service contract
                                                                            21-23 East Street, Fareham, Hampshire United
Canoo Technologies Inc.    InterRegs Ltd                                    Kingdom PO16 0BZ                                 Supplier or service contract
                                  Case 25-10099-BLS                Doc 2        Filed 01/18/25              Page 154 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                     Address                                             Agreement type
                                                                            55 Stockton Street, San Francisco, CA United
Canoo Technologies Inc.    Harness Inc                                      States 94108                                        Supplier or service contract
                                                                            1068 Elkton Drive, Colorado Springs, CO United
Canoo Technologies Inc.    Diversified Machine Systems LLC                  States 80907                                        Supplier or service contract
Canoo Manufacturing, LLC   LS Cable & System (Wuxi) Co Ltd                  No.9 Lexing Road, Wuxi, China 214028                Supplier or service contract
                                                                            305 Stanley Blvd, Building 2 Shelbyville, TN United
Canoo Technologies Inc.    Highly Marelli USA Inc                           States 37160                                        Supplier or service contract
                                                                            700 E El Camino Real, Suite 300 Mountain View,
Canoo Technologies Inc.    HackerRank                                       CA United States 94040                              Supplier or service contract
Canoo Technologies Inc.    Dana Limited                                     PO BOX 910230, Dallas, TX United States 75391       Supplier or service contract
                                                                            175 N. Riverview Dr, Unit A Anaheim, CA United
Canoo Technologies Inc.    Carl Warren & Company LLC                        States 92808                                        Supplier or service contract
                                                                            35257 Eagle Way, Chicago, IL United States
Canoo Technologies Inc.    Convergint Technologies LLC                      60678                                               Supplier or service contract

Canoo Technologies Inc.    Nasdaq Inc                                       151 W 42nd St, New York, NY United States 10036 Supplier or service contract
                                                                            510 Castillo St Suite 340, Santa Barbara, CA
Canoo Technologies Inc.    Container Alliance Company                       United States 93101                             Supplier or service contract
                                                                            Carrer Rec de Dalt, 3, Mollet del Vallès, Spain
Canoo Manufacturing, LLC   Idneo Technologies SAU                           8100                                            Supplier or service contract
                                                                            No.17 Huayang Road, Development Zone Dalian,
Canoo Manufacturing, LLC   DALIAN YAMING AUTOMOTIVE PARTS CO LTD            China 116041                                    Supplier or service contract
                                                                            Av. Tecnologi #1345 Col. Monterrey Technology
                                                                            Park, Cienega de Flores, Nuevo Leon Mexico
Canoo Manufacturing, LLC   Hanwha Advanced Materials Mexico S DE RL DE CV   65550                                           Supplier or service contract
                                                                            Niels Hemmingsens Gade 24, Copenhagen,
Canoo Technologies Inc.    Unity Technologies Aps                           Hovedstaden Denmark 1153                        Supplier or service contract
                                                                            4141 Central Parkway, Hudsonville, MI United
Canoo Technologies Inc.    ESPEC North America Inc                          States 49426                                    Supplier or service contract
                                                                            25329 Budde Rd, Building 8 Ste 802 The
Canoo Technologies Inc.    Cargo Link Express                               Woodlands, TX United States 77380               Supplier or service contract
Canoo Technologies Inc.    ERI Economic Research Institute Inc              PO Box 3524, Seattle, WA United States 98124        Supplier or service contract
                                  Case 25-10099-BLS           Doc 2      Filed 01/18/25              Page 155 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                               Address                                           Agreement type
                                                                      One Nexus Way, Camana Bay, Grand Cayman
Canoo Technologies Inc.    Fabrinet                                   Cayman Islands KY1-9005                           Supplier or service contract
                                                                      PO Box 830709, Birmingham, AL United States
Canoo Technologies Inc.    Bradley Arant Boult Cummings LLP           35283                                             Supplier or service contract
                                                                      40 Commerce Drive, Hauppauge, NY United
Canoo Technologies Inc.    DC Safety Sales Co Inc                     States 11788                                      Supplier or service contract
                                                                      PO BOX 1770, SAN ANTONIO, TX United States
Canoo Technologies Inc.    Documation of DFW LLC                      78296                                             Supplier or service contract
                                                                      50131 Pontiac Trail, Wixom, MI United States
Canoo Technologies Inc.    dSPACE Inc                                 48393                                             Supplier or service contract
                                                                      1401 E. Ball Rd. Ste. G, Anaheim, CA United
Canoo Technologies Inc.    UPS Protection                             States 92887                                      Supplier or service contract
Canoo Manufacturing, LLC   Izoblok SA                                 Legnicka 15, Chorzów, Poland 41-503              Supplier or service contract
                                                                      70, Via Di Vittorio Giuseppe - 38015 Lavis (TN)
Canoo Manufacturing, LLC   HSL SRL                                    Trento, Lavis, Trentino Italy 38015              Supplier or service contract
                                                                      556 Riverdale Drive, Unit A, Glendale, CA United
Canoo Technologies Inc.    NetCentra Inc                              States 91204                                     Supplier or service contract
                                                                      1150 Stephenson Highway, Troy, MI United States
Canoo Technologies Inc.    Hwaseung R&A COLTD                         48083                                            Supplier or service contract

Canoo Technologies Inc.    PTC Inc                                    121 Seaport Blvd., Boston, MA United States 2210 Supplier or service contract


Canoo Technologies Inc.    Next Step Innovation                       703 HWY 80 W, Clinton, MS United States 39056 Supplier or service contract
                                                                      40 Commerce Drive, Hauppauge, NY United
Canoo Manufacturing, LLC   DC Safety Sales Co Inc                     States 11788                                    Supplier or service contract
                                                                      Drawer 2448, PO BOX 5935 Troy, MI United States
Canoo Technologies Inc.    Redall Industries Inc                      48007                                           Supplier or service contract
                                                                      16478 Beach Blvd, Suite 347 Westminster, CA
Canoo Technologies Inc.    Boisineau Law                              United States 92683                             Supplier or service contract

Canoo Technologies Inc.    AIRGAS USA LLC                             PO BOX 734445, Chicago, IL United States 60673 Supplier or service contract
                                                                      Supalai Grand Tower, 20th-26th Floor
Canoo Technologies Inc.    Tilleke & Gibbins                          Chongnonsi, Yannawa, Bangkok Thailand 10120 Supplier or service contract
                                  Case 25-10099-BLS                  Doc 2        Filed 01/18/25            Page 156 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                              Address                                                   Agreement type
                                                                     100 Valvoline Way, Suite 200, Lexington, KY
Canoo Manufacturing, LLC   VGP Holdings LLC                          United States 40509                                       Supplier or service contract
                                                                     PO Box 715890, Philadelphia, PA United States
Canoo Technologies Inc.    Hogan Lovells US LLP                      19171                                                     Supplier or service contract
                                                                     17000 Taft Road, Spring Lake, MI United States
Canoo Manufacturing, LLC   Pliant Plastics Corporation               49456                                                     Supplier or service contract
                                                                     17044 Montanero Ave, Unit 4 Carson, CA United
Canoo Technologies Inc.    Aramark Refreshment Services LLC          States 90746                                              Supplier or service contract
                                                                     23868 Network Place, Chicago, IL United States
Canoo Technologies Inc.    Sika Corporation                          60673                                                     Supplier or service contract
                                                                     PO BOX 78000 Dept 781624, Detroit, MI United
Canoo Manufacturing, LLC                                             States
                           A RAYMOND MANUFACTURING CENTER NORTH AMERICA INC48278                                               Supplier or service contract
                                                                     2310 Parklake Dr., Suite 415 Atlanta, GA United
Canoo Manufacturing, LLC   BODO Möller CHEMIE CORP                   States 30345                                              Supplier or service contract
Canoo Manufacturing, LLC   ContiTech MGW GmbH                             Sin Nombre, Delicias, Chihuahua Mexico 33000 Supplier or service contract
                                                                          17671 Armstrong Ave, Irvine, CA United States
Canoo Manufacturing, LLC   Devries International Inc                      92614                                              Supplier or service contract
                                                                          No. 6, Baoqiang Rd, Xindian District New Taipei
Canoo Manufacturing, LLC   GIGA-BYTE TECHNOLOGY CO LTD                    City, Taiwan 231                                   Supplier or service contract
                                                                          No. 89 HuaiHe RD, Dalian ETDZ 116620 Dalian, ,
Canoo Manufacturing, LLC   Hanon Systems Dalian Co Ltd                    China                                              Supplier or service contract
                                                                          No. 89 HuaiHe RD, Dalian ETDZ 116620 Dalian, ,
Canoo Technologies Inc.    Hanon Systems Dalian Co Ltd                    China                                              Supplier or service contract
                                                                          Av. Tecnologi #1345 Col. Monterrey Technology
                                                                          Park, Cienega de Flores, Nuevo Leon Mexico
Canoo Technologies Inc.    Hanwha Advanced Materials Mexico S DE RL DE CV 65550                                              Supplier or service contract
                                                                          16 Bio-VAlley 1-ro, Jecheon-si, Korea, Republic of
Canoo Manufacturing, LLC   Iljin Global Co Ltd                            27159                                              Supplier or service contract
                                                                          Calle 4 Poniente #10560, Parque Industrial El
Canoo Manufacturing, LLC   INTEGRATED MICRO-ELECTRONICS MEXICO SAPI DE CV Salto El Salto, Jalisco Mexico 45680               Supplier or service contract
                                                                          Prumyslova 907, Rychnov U Jablonce Nad Nisou,
Canoo Manufacturing, LLC   Inteva Products Czech Republic AS              Czech Republic 46802                               Supplier or service contract
                                  Case 25-10099-BLS         Doc 2      Filed 01/18/25             Page 157 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                             Address                                       Agreement type
                                                                    300 Sipingshan Road, Dingmao Zhenjiang, China
Canoo Manufacturing, LLC   Inteva Products LLC                      212009                                        Supplier or service contract
Canoo Technologies Inc.    Jahn Engineering Ltd                     5040 O'Neil Dr, Oldcastle, Canada N0R 1L0        Supplier or service contract
Canoo Technologies Inc.    Legend Fleet Solutions                   56957 Hwy 3, Tillsonburg, Canada N4G4G8         Supplier or service contract
                                                                    San Pablo #50 Industrial Mieleras, Torreon,
Canoo Manufacturing, LLC   Linamar Light Metals SAS                 Coahuila de Zaragoza Mexico 27400               Supplier or service contract
                                                                    27. Gongdan-ro 140 beon-gil, Gunpo-si, Korea,
Canoo Manufacturing, LLC   LS EV KOREA Ltd                          Republic of 15845                               Supplier or service contract
                                                                    5350 Old Pearman Dairy Rd, Anderson, SC United
Canoo Manufacturing, LLC   Mergon Corporation                       States 29625                                    Supplier or service contract
                                                                    14816 Venture Drive, Farmers Branch, Texas
Canoo Manufacturing, LLC   National Plastics & Seals Inc            United States 75234                             Supplier or service contract
                                                                    7877 Solution Center, Chicago, IL United States
Canoo Manufacturing, LLC   New Mather Metals Inc                    60677                                           Supplier or service contract
                                                                    17000 Taft Road, Spring Lake, MI United States
Canoo Technologies Inc.    Pliant Plastics Corporation              49456                                           Supplier or service contract
                                                                    Schweinfurter Str. 5-9, Bad Neustadt ad Saale,
Canoo Manufacturing, LLC   PREH INC                                 Germany 97000                                   Supplier or service contract
                                                                    33222 Groesbeck Hwy, Fraser, MI United States
Canoo Manufacturing, LLC   Product & Tooling Technologies           48026                                           Supplier or service contract
                                                                    45601 Five Mile Rd, Plymouth, MI United States
Canoo Manufacturing, LLC   RCO Engineering Inc                      48170                                           Supplier or service contract
                                                                    Drawer 2448, PO BOX 5935 Troy, MI United States
Canoo Manufacturing, LLC   Redall Industries Inc                    48007                                           Supplier or service contract
                                                                    1222 Hamilton Pkwy, Itasca, IL United States
Canoo Manufacturing, LLC   ROBERTSHAW CONTROLS CO                   60143                                           Supplier or service contract
                                                                    50850 Rizzo Dr, Shelby Township, MI United
Canoo Manufacturing, LLC   Schwab Industries Inc                    States 48315                                    Supplier or service contract
                                                                    Calle La Cadena-Varea 43, Logrono-La Rioja,
Canoo Manufacturing, LLC   Standard Profil Spain S A                Spain 26006                                     Supplier or service contract

Canoo Manufacturing, LLC   Telos Global LLC                         1880 Hwy 116, Caryville, TN United States 37714 Supplier or service contract
                                   Case 25-10099-BLS                   Doc 2      Filed 01/18/25              Page 158 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                        Address                                           Agreement type


Canoo Manufacturing, LLC   Toledo Tool & Die Co Inc                            105 W Alexis Rd, Toledo, OH United States 43612 Supplier or service contract
                                                                               P.O., BOX 6371, DEPT # 6371 BIRMINGHAM, AL
Canoo Manufacturing, LLC   Vernay Laboratories Inc                             United States 35246                             Supplier or service contract
                                                                               2025 S Vandeventer Ave, St. Louis, MO United
Canoo Manufacturing, LLC   Zone Enterprises LLC                                States 63110                                    Supplier or service contract
                                                                               Avenida Guillermo Dansey 2016, Cercado de Lima
Canoo Manufacturing, LLC   AGP Worldwide Operations GmbH                       15081, Peru, Lima, Peru 15081                   Supplier or service contract
                                                                               Department 77-7986, Chicago, IL United States
Canoo Technologies Inc.    Fanuc America Corporation                           60678                                           Supplier or service contract
                                                                               North Science Avenue Laguna Technopark,
                                                                               Special Export Processing Zone Binan, Laguna
Canoo Technologies Inc.    Integrated Micro Electronics Inc                    Philippines 4024                                Supplier or service contract

Canoo Technologies Inc.    Applus IDIADA KARCO Engineering LLC                 9270 Holly Rd, Adelanto, CA United States 92301 Supplier or service contract
                                                                               4978 Technical Drive, Milford, MI United States
Canoo Technologies Inc.    Quality Steel Products Inc                          48381                                           Supplier or service contract
Canoo Technologies Inc.    SHW Automotive Pumps (Kunshan) Co Ltd               No.369, Yuyang Road, Suzhou, China 215300         Supplier or service contract
                                                                               221 E Indianola Ave, Phoenix, AZ United States
Canoo Technologies Inc.    Gruntwork Inc                                       85012                                             Supplier or service contract
                                                                               29356 Network Pl, Chicago, IL United States
Canoo Manufacturing, LLC   Engineered Fastener Company LLC                     60673                                             Supplier or service contract
                                                                               603 Earthway Blvd, Bristol, IN United States
Canoo Technologies Inc.    The Shyft Group USA Inc                             46507                                             Supplier or service contract
                                                                               610 Chartwell Road, Suite 101 Oakville, Canada
Canoo Technologies Inc.    The Ian Martin Group                                L6J 4A5                                           Supplier or service contract
                                                                               16346 E Airport Circle, Aurora, CO United States
Canoo Technologies Inc.    Graebel Relocation Services Worldwide Inc           80011                                             Supplier or service contract
                                                                               201 Technology Dr, Arkadelphia, AR United States
Canoo Technologies Inc.    SGL Composites GmbH                                 71923                                             Supplier or service contract
                                                                               Control-Tec LLC, 999 Republic Dr. Suite 100 Allen
Canoo Technologies Inc.    Aptiv                                               Park, MI United States 48101                      Supplier or service contract
                                    Case 25-10099-BLS                Doc 2        Filed 01/18/25              Page 159 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                       Address                                            Agreement type

                                                                              C/O NewMark Night Frank, 27725 Stansbury BLVD
Canoo Technologies Inc.    Taylor Road Holdings LLC                           Ste 300 Farmington Hills, MI United States 48334 Lease for business property
                                                                              1700 Atlantic Blvd, Auburn Hills, MI United States
Canoo Technologies Inc.    GRUPO ANTOLIN NORTH AMERICA INC                    48326                                              Supplier or service contract

Canoo Technologies Inc.    Applied Technical Services LLC                   1049 Triad Ct, Marietta, GA United States 30062 Supplier or service contract
                                                                            activpayroll Ltd, 5 Cults Business Park, Station
                                                                            Road, Aberdeen, Scotland United Kingdom AB15
Canoo Technologies Inc.    Activpayroll Ltd                                 9PE                                              Supplier or service contract
                                                                            Marelli Mexicana SA de CV, AVE San Fransisco 401
                                                                            Aguascalientes, San Francisco de los Romo
Canoo Manufacturing, LLC   Marelli North America Inc                        Mexico C.P. 20304                                Supplier or service contract
                                                                            228 E 45th Street,Suite 9E,NEW YORK, NY NEW
Canoo Manufacturing, LLC   3D Hubs Manufacturing LLC                        YORK10017                                        Supplier or service contract
                                                                            12B Star Drive,MERRIMACK, NH
Canoo Manufacturing, LLC   Antenum Inc                                      HILLSBOROUGH03054                                Supplier or service contract
                                                                            CARRETERA A GARCIA KM 10.3,66000 GARCÍA,
Canoo Manufacturing, LLC   CRISTALES INASTILLABLES DE MEXICO SA DE CV       NUEVO LEÓN,MEXICO                                Supplier or service contract
                                                                            CHINA,201518 SHANGHAI,Shanghai, Jinshan
Canoo Manufacturing, LLC   Dura Ganxiang Automotive Systems Shanghai Co Ltd District,No. 2658 Jinzhang Road                  Supplier or service contract

Canoo Manufacturing, LLC   EPCO Products Inc                                   3736 Vanguard Dr,FORT WAYNE, IN ALLEN46899 Supplier or service contract

Canoo Manufacturing, LLC   Fast Radius                                        113 N May St,CHICAGO, IL COOK60607                 Supplier or service contract
                                                                              32, Hamanho-gil, Poseung-eup,Pyeongtaek-si,
Canoo Manufacturing, LLC   HL Mando Corporation                               Gyeonggi-do 17962,KOREA, REPUBLIC OF               Supplier or service contract
                                                                              815 N. Opdyke Rd, Suite 300,AUBURN HILLS, MI
Canoo Manufacturing, LLC   IEE SA                                             OAKLAND48326                                       Supplier or service contract
Canoo Manufacturing, LLC   Innotec Corp                                       441 E. Roosevelt,ZEELAND, MI OTTAWA49464           Supplier or service contract
                                                                              3786 North Talbot,OLDCASTLE ONTARIO N0R
Canoo Manufacturing, LLC   KB Components Canada Inc                           1L0,CANADA                                         Supplier or service contract
                                                                              Zone Industrielle Nord,1 route de la Retaudière,
Canoo Manufacturing, LLC   Plastiques du Val de Loire                         BP 38,37130 LANGEAIS,FRANCE                        Supplier or service contract
                                  Case 25-10099-BLS                  Doc 2         Filed 01/18/25              Page 160 of 202


Canoo Technologies Inc.
Share folder reference:    1.14
Form Reference:            Form 206G
                           Schedule G Part 2
                           Executory Contracts


Canoo Entity               Counterparty                                        Address                                      Agreement type
                                                                               664 Nongong-ro, Nongong-eup, Dalseong-gun
                                                                               Daegu, Korea, 42981,Nongong-eup 42981,KOREA,
Canoo Manufacturing, LLC   POSCO INTERNATIONAL AMERICA CORP                    REPUBLIC OF                                  Supplier or service contract
Canoo Manufacturing, LLC   Sensata Technologies Inc                            PO BOX 100139,ATLANTA, GA FULTON30384            Supplier or service contract
Canoo Manufacturing, LLC   The Chemours Company FC LLC                         PO Box 3558,CAROL STREAM, IL DUPAGE60132         Supplier or service contract

Canoo Technologies Inc.    Avanci, LLC                                         1717 McKinney Ave., Suite 1050, Dallas TX 75202 License agreement

Canoo Technologies Inc.    Department of Defense                               230 RT Jones Rd, Mountain View, CA 94043         Service contract
Canoo Technologies Inc.    NASA                                                Kennedy Space Center, FL 32899                   Sale contract
Canoo Technologies Inc.    USPS                                                3190 S 70th St., Philadelphia, PA 19153-9990     Sale contract
Canoo Sales, LLC           Walmart Inc.                                        805 Moberly Lane, Bentonville, AR 72716          Sale contract
Canoo Sales, LLC           Zeeba Automotive Group, Inc                         510 W 6th St Ste 728, Los Angeles, CA 90014      Sale contract
Canoo Sales, LLC           Kingbee EV Corp                                     2272 S 5600 W West Valley City, UT 84120.        Sale contract
Canoo Inc.                 State of Oklahoma                                   2401 N Lincoln Blvd. Oklahoma City, OK 73105     Sale contract
Canoo Technologies Inc.    AT&T Services Inc.                                  208 S. Akard St., Dallas, TX 75202.              Sale contract

Canoo Sales, LLC           Mobile One Courier Services                         1619 Diamond Springs Rd, Virginia Beach, Virginia Sale contract

Canoo Sales, LLC           Automotive Rentals, Inc.                            859 Willard St Quincy, MA, 02169-7482             Sale contract
                                                                               King Abdulaziz Rd, Al Yasmin, Riyadh 13312, Saudi
Canoo Sales, LLC           Jazeera Factor for Paints OPC                       Arabia                                            Sale contract
Canoo Sales, LLC           Lease Plan U.S.A., LLC                              1165 Sanctuary Parkway, Alpharetta, GA 30009     Sale contract
Canoo Sales, LLC           Prime Time Shuttle                                  4520 W Imperial Hwy, Inglewood, CA 90304         Sale contract
Canoo Technologies Inc.                                                        Two Riverfront Plaza, Newark, NJ 07102
                           Panasonic Industrial Devices Sales Company of America                                                Supplier or service contract
Canoo Inc.                 Oklahoma Department of Commerce                     900 N Stiles Ave, Oklahoma City, OK 73104        Incentive agreement
Canoo Manufacturing, LLC   Oklahoma City Economic Development Trust            200 N Walker Ave, Oklahoma City, OK              Incentive agreement
                                                                               2469 Executive Hills Blvd, AUBURN HILLS, MI
Canoo Technologies Inc.    Valiant International Inc.                          OAKLAND48326                                     Supplier or service contract

Canoo Technologies Inc.    Manz AG                                             Steigaeckerstrasse 5 72768 Reutlingen Germany    Supplier or service contract
                                 Case 25-10099-BLS                  Doc 2        Filed 01/18/25             Page 161 of 202


Canoo Technologies Inc.
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Executory Contracts


Canoo Entity              Counterparty                                       Address                                            Agreement type
                                                                             32, Hamanho-gil, Poseung-eup, Pyeongtaek-si,
Canoo Technologies Inc.   Mando Corporation                                  Gyeonggi-do Korea 17962                            Supplier or service contract
                                                                             2400 South Council Road, Oklahoma City, OK
Canoo Inc.                OKC Logistics Park                                 73128                                              Lease for business property
Canoo Inc.                Oklahoma Ordinance Works Authority                 PO Box 945, Pryor OK 74362                         Lease for business property
Canoo Technologies Inc.   AT&T Mobility LLC                                  1025 Lenox Park Blvd, Atlanta GA 30319             Supplier or service contract
Canoo Technologies Inc.   Bollinger Motors, Inc.                             14925 W 11 Mile Road, Oak Park, MI 48237           Covenant not to sue
Canoo Inc.                General Contracting Company                        PO Box 346 Al Khobar 31952, Saudi Arabia           Distribution agreement
                                                                             1600 Amphitheatre Parkway, Mountain View, CA
Canoo Technologies Inc.   Google LLC                                         94043                                              Compatibility agreement
                                                                             4711 Yonge Street, 10th Floor, Toronto, Ontario,
Canoo Technologies Inc.   1Password                                          M2N 6K8                                            Supplier or service contract
                                                                             4225 Executive Square,Suite 800,LA JOLLA, CA
Canoo Technologies Inc.   Altium Inc                                         SAN DIEGO92037                                     Supplier or service contract
Canoo Technologies Inc.   Apple Inc.                                         One Apple Park Way, Cupertino, CA 95014            Supplier or service contract
                                                                             5600 SW 36th St Suite A,OKLAHOMA CITY, OK
Canoo Technologies Inc.   AWC Inc                                            OKLAHOMA73179                                      Supplier or service contract
                                                                             2915 OGLETOWN RD #4519,NEWARK, DE NEW
Canoo Technologies Inc.   Backupta Inc                                       CASTLE19713                                        Supplier or service contract
Canoo Technologies Inc.   ConnectWise                                        400 N Tampa St, Suite 130, Tampa, FL 33602         Supplier or service contract
                                                                             12221 MERIT DR,STE 1400,DALLAS, TX
Canoo Technologies Inc.   CRAYON SOFTWARE EXPERTS LLC                        DALLAS75251                                        Supplier or service contract
Canoo Technologies Inc.   Design and Software International                  526 Nilles Rd,FAIRFIELD, OH BUTLER45014            Supplier or service contract
                                                                             1800 Owens Street, Suite 200, San Francisco, CA
Canoo Technologies Inc.   Dropbox, Inc.                                      94158                                              Supplier or service contract
                                                                             760 Market St Floor 10,SAN FRANCISCO, CA SAN
Canoo Technologies Inc.   Figma, Inc.                                        FRANCISCO94102                                     Supplier or service contract
                                                                             23300 Haggerty Road,FARMINGTON HILLS, MI
Canoo Technologies Inc.                                                      OAKLAND48335
                          Human Solutions of North America > Humanetics Innovative Solutions                                    Supplier or service contract
                                                                             21-23 East Street,FAREHAM,Hampshire,PO16
Canoo Technologies Inc.   International Regulations                          0BZ,UNITED KINGDOM                                 Supplier or service contract
                                 Case 25-10099-BLS   Doc 2      Filed 01/18/25              Page 162 of 202


Canoo Technologies Inc.
Share folder reference:   1.14
Form Reference:           Form 206G
                          Schedule G Part 2
                          Executory Contracts


Canoo Entity              Counterparty                       Address                                           Agreement type
                                                             989 E Hillsdale Blvd,Suite 200,FOSTER CITY, CA
Canoo Technologies Inc.   JetBrains Americas Inc             SAN MATEO94404                                    Supplier or service contract
                                                             400 Galleria Officentre, Suite 415, Southfield,
Canoo Technologies Inc.   Marklines                          Michigan 48034                                    Supplier or service contract
                                                             100 1st Street,SAN FRANCISCO, CA SAN
Canoo Technologies Inc.   Okta Inc                           FRANCISCO94105                                    Supplier or service contract
                                                             19266 Coastal Hwy, Unit 4-520,REHOBOTH
Canoo Technologies Inc.   OpenLM Inc                         BEACH, DE SUSSEX19971                             Supplier or service contract
                                                             10500 NE 8th Street,Suite 1300,BELLEVUE, WA
Canoo Technologies Inc.   Smartsheet Inc                     KING98004                                         Supplier or service contract
                                                             2100 Powell Street Suite 1600. Emeryville, CA
Canoo Technologies Inc.   Tanium                             94608                                             Supplier or service contract
                                                             100 West Big Beaver, Ste. 130,TROY, MI
Canoo Technologies Inc.   Theorem Solutions Ltd              OAKLAND48084                                      Supplier or service contract
                                Case 25-10099-BLS       Doc 2     Filed 01/18/25   Page 163 of 202


CANOO TECHNOLOGIES, INC.
Official Form 206H
            Schedule H                 Codebtors

                         Name                      Mailing Address

            Canoo Inc.                 15520 HWY 114 Justin, TX 76226
                                                               Case 25-10099-BLS                         Doc 2          Filed 01/18/25                 Page 164 of 202


CANOO TECHNOLOGIES, INC.
Official Form 207
     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                       Per Exhibit        Per Form         Difference
          Part 1        Income
                        1. Gross revenue from business                                              Completed within the form   $             -    $    1,868,551
                        2. Non-business revenue                                                     Completed within the form   $             -    $    3,788,807

        Part 2          List Certain Transfers Made Before Filing for Bankruptcy
                        3. Payments or transfers to creditors within 90 days before     Exhibit Q                               $      6,905,730   $    6,905,730   $            -
                        filing this case
                        4. Payments or other transfers of property made within 1 year   Exhibit R                               $      6,003,495   $    6,003,495   $            -
                        before filing this case that benefited any insider
                        5. Repossessions, foreclosures, and returns                     None
                        6. Setoffs                                                      None

        Part 3          Legal Actions or Assignments
                        7. Legal actions, administrative proceedings, court actions,    Exhibit S
                        executions, attachments, or governmental audits
                        8. Assignments and receivership                                 None

        Part 4          Certain Gifts and Charitable Contributions                      None

        Part 5          Certain Losses                                                  None

        Part 6          Certain Payments or Transfers                                               Completed within the form

        Part 7          Previous Locations                                                          Completed within the form

        Part 8          Health Care Bankruptcies                                        None

        Part 9          Personally Identifiable Information                             Exhibit X

        Part 10         Certain Financial Accounts, Safe Deposit Boxes, and Storage
                        Units
                        18. Closed financial accounts                                   None
                        19. Safe deposit boxes                                          None
                        20. Off-premises storage                                        Exhibit T

        Part 11         Property the Debtor Holds or Controls That the Debtor Does      None
                        Not Own

        Part 12         Details About Environment Information                           None

        Part 13         Details About the Debtor's Business or Connections to Any
                        Business
                        26. Books, records, and financial statements                    Exhibit U
                        27. Inventories                                                 Exhibit V
                        28. List the debtor’s officers, directors, managing…                        Completed within the form
                        30. Payments, distributions, or withdrawals credited or given   Exhibit W
                        to insiders

        Part 14         Signature and Declaration
                                                                              Case 25-10099-BLS                Doc 2            Filed 01/18/25                     Page 165 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                          Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                         Currency       Amount          Payment Date                                    Invoice Description

EV USA BU                     Republic Services                                       PO BOX 713502, Chicago, IL United States 60677   USD            $       4,778.43      1/16/2025 October 19951 Mariner Ave CSA AXXXXXXXX ACCT 3-0902-0193105
                                                                                      Greenshieldstraat 81, Zwolle, Netherlands 8017
EV USA BU                     Creative Impact                                         GM                                               USD            $       3,300.00      1/16/2025 Graphic / Keynote support

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   91,694.88         1/15/2025 CLOUD 19951 MARINER AVETORRANCE, CA 90503

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   40,000.00         1/15/2025 Cloud Service Agreement 09/29/24 to 12/28/24

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   30,108.18         1/15/2025 Oracle Warehouse Management Enterprise Cloud Service

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   20,598.90         1/15/2025 Oracle Cloud Services
EV USA BU                     Sonia Herrera                                           Refer to Payroll for Employee Address            USD            $      385.00         1/15/2025 Packing Materials
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                            USD            $ 271,086.74          1/14/2025 (blank)
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                            USD            $ 189,028.92          1/14/2025 Bill Period 12/01/2024 to 01/01/2025
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                            USD            $   86,448.26         1/14/2025 (blank)
EV USA BU                     MidAmerica Industrial Park                              PO Box 945, Pryor, OK United States 74362        USD            $   65,015.50         1/14/2025 Jan 15 - Feb 15 2025 Rent and Insurance
EV USA BU                     sakthi sambandam                                        Refer to Payroll for Employee Address            USD            $      776.19         1/14/2025 Customer Visit & Software
EV USA BU                     Nitin Patel                                             Refer to Payroll for Employee Address            USD            $      518.49         1/14/2025 Nitin's flight

EV USA BU                     Corporation Service Company                             P.O. Box 7410023, Chicago, IL United States 60674 USD           $        132.15       1/14/2025 UCC Document Retrieval And Summary
                                                                                      4289 Ivy Pointe Boulevard,ANDERSON, OH
EV USA BU                     Total Quality Logistics LLC                             CLERMONT45245                                     USD           $       8,625.00      1/10/2025 Transport 8 vehicles from Ohio to OK
                                                                                      Lockton-Dunning Series of Lockton Companies,
                                                                                      LLC, Dept 3042 PO Box 123042 Dallas, TX United
EV USA BU                     Lockton Companies                                       States 75312                                      USD           $   73,827.34          1/8/2025 24-25 Auto Premium Inst. 1 of 10
                                                                                      Lockton-Dunning Series of Lockton Companies,
                                                                                      LLC, Dept 3042 PO Box 123042 Dallas, TX United
EV USA BU                     Lockton Companies                                       States 75312                                      USD           $   61,713.00          1/8/2025 24-25 WC CA Premium Inst. 1 of 10
                                                                                      Lockton-Dunning Series of Lockton Companies,
                                                                                      LLC, Dept 3042 PO Box 123042 Dallas, TX United
EV USA BU                     Lockton Companies                                       States 75312                                      USD           $   48,388.00          1/8/2025 24-25 WC AOS Premium Inst. 1 of 10
                                                                                      707 Stockton St Apt 205, San Francisco, CA United
EV USA BU                     Aditya Sinha                                            States 94108                                      USD           $       2,160.00       1/8/2025 Dataroom
EV USA BU                     sakthi sambandam                                        Refer to Payroll for Employee Address             USD           $       1,577.33       1/8/2025 Magna Supplier Visit Mileage & Storage
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                             USD           $       1,028.92       1/8/2025 Refund for Airfare, Lodging and Taxi paid by personal CC
EV USA BU                     Nitin Patel                                             Refer to Payroll for Employee Address             USD           $          87.78       1/8/2025 U-Haul rental to move storage assets to Justin office
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                             USD           $         43.94        1/8/2025 Refund for Taxi payment by Personal CC
                                                                                      12221 MERIT DR, STE 1400 Dallas, TX United
EV USA BU                     CRAYON SOFTWARE EXPERTS LLC                             States 75251                                      USD           $   50,344.13          1/7/2025 Microsoft CSP OneTime T1 October2024
                                                                                      12221 MERIT DR, STE 1400 Dallas, TX United
EV USA BU                     CRAYON SOFTWARE EXPERTS LLC                             States 75251                                      USD           $   45,801.00          1/7/2025 Microsoft CSP OneTime T1 November2024
EV USA BU                     Rajeevnath Raveendranath                                Refer to Payroll for Employee Address             USD           $    3,450.00          1/7/2025 Remove hazardous materials from Canoo Torrance, CA site
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                              USD           $       4,533.07       1/6/2025 11/11/24 - 12/10/24 ACCT 831-001-1945 259
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                              USD           $       4,533.07       1/6/2025 Account Number 831-001-1945 259 Internet Auburn Hills, Pryor, OKC



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                           131 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 166 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                           Payment       Payment
     Business Unit Name                              Supplier or Party Name                               Address                          Currency      Amount          Payment Date                                     Invoice Description
                                                                                      1025 ELDORADO BLVD, Broomfield, CO United
EV USA BU                     LUMEN                                                   States 80021                                       USD          $       3,388.96       1/6/2025 12/1/24 - 12/31/24 ACCT 5-SHGMFJQX 15520 HIGHWAY 114
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $       1,749.14       1/6/2025 11/4/24 - 12/5/24 4461 ZARROW ST STE 2
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                               USD          $       1,616.14       1/6/2025 11/7/24 - 12/6/24 Acct 831-001-1779 726
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                               USD          $       1,616.14       1/6/2025 Dec 7, 2024 thru Jan 6, 2025
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $       1,599.33       1/6/2025 11/4/24 - 12/5/24 4461 ZARROW ST STE 3
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $       1,178.84       1/6/2025 11/4/24 - 12/5/24 4461 ZARROW ST STE 1
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $        907.66        1/6/2025 11/4/24 - 12/5/24 4461 ZARROW ST STE 4
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        713.46        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 3 CHARGING
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $        442.64        1/6/2025 10/3/24 - 11/4/24 4461 ZARROW ST STE 2
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        349.02        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 3 STE B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        293.19        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 2 STE A & B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        288.20        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 3 STE E
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        244.55        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 3 STE C & D
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        234.56        1/6/2025 Adjusted a credit of 0.86 for all invoices. Original amount $235.42
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        206.64        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 2 STE E & F
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $        183.56        1/6/2025 10/3/24 - 11/4/24 4461 ZARROW ST STE 4
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        181.51        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 1 STE A
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $        161.71        1/6/2025 10/3/24 - 11/4/24 4461 ZARROW ST STE 3
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $        159.91        1/6/2025 10/3/24 - 11/4/24 4461 ZARROW ST STE 1
                                                                                      PO BOX 70279, Philadelphia, PA United States
EV USA BU                     Aqua Texas Inc                                          19176                                              USD          $        158.19        1/6/2025 11/06/24 - 12/05/24 15520 HWY 114
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        123.04        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 4 STE C & D
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        104.37        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 1 STE B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $         91.45        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 5 STE A & B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $         74.84        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 4 STE A & B
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                               USD          $         54.42        1/6/2025 11/11 310005072986 LATE PAYMENT INTEREST
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                               USD          $         44.38        1/6/2025 Late fee for original invoice 3077435903
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                               USD          $         38.86        1/6/2025 Late fee for original invoice 6699755907
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $         38.10        1/6/2025 10/30/24 - 11/27/24 15520 HWY 114 BLDG 5 STE E & F
                                                                                      PO BOX 70279, Philadelphia, PA United States
EV USA BU                     Aqua Texas Inc                                          19176                                              USD          $          0.08        1/6/2025 10/4/24 - 11/6/24 15520 H W Y 114
                                                                                      NW 6139, PO Box 1450 Minneapolis, MN United
EV USA BU                     Faegre Drinker Biddle & Reath LLP                       States 55485                                       USD          $   20,000.00          1/3/2025 For professional services rendered through November 30, 2024
                                                                                      515 S Flower St Ste 2500, Baldwin Hills, CA United
EV USA BU                     Paul Hastings LLP                                       States 90071                                       USD          $   12,500.00          1/3/2025 PH LLP Client/Matter # 100259-00001
                                                                                      NW 6139, PO Box 1450 Minneapolis, MN United
EV USA BU                     Faegre Drinker Biddle & Reath LLP                       States 55485                                       USD          $       5,000.00       1/3/2025 For professional services rendered through September 30, 2024 Professional Services
EV USA BU                     Eric Sand                                               Refer to Payroll for Employee Address              USD          $       3,256.01       1/3/2025 Q3 2024 10Q filing



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                   132 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 167 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                           Payment       Payment
     Business Unit Name                              Supplier or Party Name                               Address                          Currency      Amount          Payment Date                                      Invoice Description
                                                                                      5871 East Mountain Loop Trail, Anaheim, CA
EV USA BU                     Gareth Lee                                              United States 92807                                USD          $       3,076.17       1/3/2025 Employee Expense Payment
EV USA BU                     sakthi sambandam                                        Refer to Payroll for Employee Address              USD          $       2,756.63       1/3/2025 Royal Mail Pilot Vehicle Delivery Trip
                                                                                      PO BOX 74007295, Chicago, IL United States
EV USA BU                     Toppan Merrill USA Inc                                  60674                                              USD          $       2,254.59       1/3/2025 FORM 8-KDate Filed: June 13, 2024
EV USA BU                     Sean Yan                                                Refer to Payroll for Employee Address              USD          $       2,061.42       1/3/2025 Canoo Sales LLC Dealer License Renewal
                                                                                      PO BOX 74007295, Chicago, IL United States
EV USA BU                     Toppan Merrill USA Inc                                  60674                                              USD          $       1,583.01       1/3/2025 FORM 8-KDate Filed: May 6, 2024
                                                                                      PO BOX 74007295, Chicago, IL United States
EV USA BU                     Toppan Merrill USA Inc                                  60674                                              USD          $       1,162.40       1/3/2025 Form 424B3 Amendment #1Prospectus SupplementDated: July 23, 2024
EV USA BU                     Misty Burdick                                           Refer to Payroll for Employee Address              USD          $       1,128.08       1/3/2025 Final OKC trip
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                              USD          $       1,003.35       1/3/2025 Refund for Lodging and Airfare-12,20,2024
                                                                                      804 S Rock Hollow Ct, Stillwater, OK United States
EV USA BU                     Cyle Briggs                                             74074                                              USD          $        956.76        1/3/2025 September Pryor Trips
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                              USD          $        911.85        1/3/2025 Refund for Airfares Paid by Personal Credit Card
                                                                                      804 S Rock Hollow Ct, Stillwater, OK United States
EV USA BU                     Cyle Briggs                                             74074                                              USD          $        852.24        1/3/2025 August Pryor Trips
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD          $        834.22        1/3/2025 November Expenses
                                                                                      804 S Rock Hollow Ct, Stillwater, OK United States
EV USA BU                     Cyle Briggs                                             74074                                              USD          $        824.77        1/3/2025 October Pryor Trips
EV USA BU                     Derek Bentley                                           Refer to Payroll for Employee Address              USD          $        789.96        1/3/2025 Planned Trip to TX HQ for Q3 2024 filing (11.10.24 to 11.15.24)
                                                                                      1053 W. Rosedale, Fort Worth, TX United States
EV USA BU                     Tom Bourne                                              76104                                              USD          $        742.93        1/3/2025 45566
EV USA BU                     sakthi sambandam                                        Refer to Payroll for Employee Address              USD          $        527.23        1/3/2025 SOCAR STP Supplier Development
EV USA BU                     Raj Somaiya                                             Refer to Payroll for Employee Address              USD          $        470.00        1/3/2025 (blank)
EV USA BU                     Misty Burdick                                           Refer to Payroll for Employee Address              USD          $        439.53        1/3/2025 Oklahoma site visit for HSE
EV USA BU                     Nitin Patel                                             Refer to Payroll for Employee Address              USD          $        438.48        1/3/2025 Flight to Dallas
EV USA BU                     Sean Yan                                                Refer to Payroll for Employee Address              USD          $        305.00        1/3/2025 State Bar Fees
                                                                                      432 S Washington Ave Unit 1501, Royal Oak, MI
EV USA BU                     Amit Ranjan                                             United States 48067                                USD          $        286.00        1/3/2025 E-coat system Mfg Engg training
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD          $        272.60        1/3/2025 September Expenses
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Felix Haeusler                                          90503                                              USD          $        251.25        1/3/2025 Kratos Test drive in Justin 8/2/24

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $        246.48        1/3/2025 October out of pocket transportation expenses
EV USA BU                     Patrick Honeyman                                        Refer to Payroll for Employee Address              USD          $        214.40        1/3/2025 Trip to Pryor for insurance Audit

EV USA BU                     Andrew Herchenroeder                                    424 SW 24TH ST, El Reno, OK United States 73036 USD             $        186.12        1/3/2025 October Credit Card Expenses
EV USA BU                     Garit Lesicko                                           Refer to Payroll for Employee Address           USD             $        182.35        1/3/2025 (blank)
EV USA BU                     Lonnie Golden                                           Refer to Payroll for Employee Address           USD             $        147.18        1/3/2025 Travel to OKC
EV USA BU                     Shubham Mohite                                          Refer to Payroll for Employee Address           USD             $        128.00        1/3/2025 (blank)
                                                                                      432 S Washington Ave Unit 1501, Royal Oak, MI
EV USA BU                     Amit Ranjan                                             United States 48067                             USD             $        104.78        1/3/2025 Lippert_OhioTrip-1001-1001_ECoatSystem
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                           USD             $        101.89        1/3/2025 Refund for transportation payments by personal CC
EV USA BU                     Craig Daigle                                            Refer to Payroll for Employee Address           USD             $         92.00        1/3/2025 October Expenses continued
EV USA BU                     sakthi sambandam                                        Refer to Payroll for Employee Address           USD             $         91.09        1/3/2025 SOCAR STP Supplier Development
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                           USD             $         87.62        1/3/2025 Refund for Transportation Payments on Personal CC

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                          133 of 168
                                                                              Case 25-10099-BLS               Doc 2           Filed 01/18/25                     Page 168 of 202


Canoo Technologies Inc.                                                                                                              Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                    $ 6,905,729.84
                                                                                                                                        Payment        Payment
     Business Unit Name                              Supplier or Party Name                              Address                        Currency       Amount           Payment Date                                    Invoice Description

EV USA BU                     Andrew Herchenroeder                                    424 SW 24TH ST, El Reno, OK United States 73036 USD           $         83.36         1/3/2025 August Credit Card Expenses

EV USA BU                     Andrew Herchenroeder                                    424 SW 24TH ST, El Reno, OK United States 73036 USD           $         76.69         1/3/2025 September Credit Card Expenses
                                                                                      58 Paseo Aragon, Jaconita, NM United States
EV USA BU                     Craig Yarbrough                                         87506                                           USD           $         66.72         1/3/2025 Final Temp Internet for Torrance
EV USA BU                     sakthi sambandam                                        Refer to Payroll for Employee Address           USD           $         66.08         1/3/2025 Magna Visit w/STP
EV USA BU                     Alejandro Flores Cano                                   Refer to Payroll for Employee Address           USD           $         30.00         1/3/2025 Personal Phone Expense AT&T (month 1)
EV USA BU                     Rutuja Shivarkar                                        Refer to Payroll for Employee Address           USD           $         30.00         1/3/2025 Phone Bill - November 2024
                                                                                      1053 W. Rosedale, Fort Worth, TX United States
EV USA BU                     Tom Bourne                                              76104                                           USD           $         28.49         1/3/2025 NOV 2024 OKC Visit
EV USA BU                     Alejandro Flores Cano                                   Refer to Payroll for Employee Address           USD           $         25.00         1/3/2025 Phone Expense Report (Month 3 of 3)
EV USA BU                     Jacqueline LaBoube                                      Refer to Payroll for Employee Address           USD           $         19.74         1/3/2025 November 2024 Expenses, R3PI & OKC Welcome Event
                                                                                      2339 Gold Meadow Way, Ste. 210 Gold River, CA
EV USA BU                     My Equity Comp LLC                                      United States 95670                             USD           $       1,500.00        1/2/2025 Ongoing Stock Plan Outsourcing fee for Q3 2024
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                           USD           $   18,604.62         12/30/2024 10/18/24 - 11/18/24 9528 W I 40 SERVICE RD
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                           USD           $   17,685.88         12/30/2024 11/18/24 - 12/18/24 9528 W I 40 SERVICE RD
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                           USD           $       4,262.94      12/30/2024 10/19/24 - 11/18/24 9528 W I 40 SERVICE RD #9
                                                                                      1025 ELDORADO BLVD, Broomfield, CO United
EV USA BU                     LUMEN                                                   States 80021                                    USD           $       3,388.96      12/30/2024 11/1/24 - 11/30/24 19951 MARINER AVE ACCT 5-SHGMFJQX
                                                                                      100 N Walker Ave, Ste 200 Oklahoma City, OK
EV USA BU                     Oklahoma CityWater Utilities & Trust DBA OCWUT          United States 73102                             USD           $       1,446.57      12/30/2024 11/2/24 - 11/27/24 724 S MORGAN RD
                                                                                      12770 COIT RD, STE 600 Dallas, TX United States
EV USA BU                     MUNCK WILSON MANDALA LLP                                75250                                           USD           $       1,360.00      12/30/2024 Patent application
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                           USD           $       1,188.08      12/30/2024 9502 W I 40 SERVICE RD Billing period: 10/19/24 to 11/18/24
                                                                                      1000 SW 14th St, Bentonville, AR United States                                                 10/16/24 - 11/18/24 ELECTRIC, WATER, IRRIGATION, SEWER, GARBAGE 4700 SW
EV USA BU                     City of Bentonville                                     72712                                           USD           $        978.65       12/30/2024 REGIONAL AIRPORT BLVD M
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                           USD           $        537.22       12/30/2024 10/15/24 - 11/13/24 840 S MORGAN RD #LITE
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                           USD           $         62.39       12/30/2024 Late fee less credit for Deposit
                                                                                      1025 ELDORADO BLVD, Broomfield, CO United
EV USA BU                     LUMEN                                                   States 80021                                    USD           $         50.83       12/30/2024 Late fee 11/1/24 - 11/30/24 19951 MARINER AVE ACCT 5-SHGMFJQX
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                           USD           $           7.63      12/30/2024 Late fee less credit for Deposit
EV USA BU                     Awais Hussain                                           Refer to Payroll for Employee Address           USD           $         (69.98)     12/30/2024 accidental personal charge
                                                                                      PO BOX 54027, Los Angeles, CA United States
EV USA BU                     Los Angeles County Tax Collctor                         90054                                           USD           $       5,500.00      12/27/2024 2023 PROPERTY TAX 738947
                                                                                      Lockton-Dunning Series of Lockton Companies,
                                                                                      LLC, Dept 3042 PO Box 123042 Dallas, TX United
EV USA BU                     Lockton Companies                                       States 75312                                    USD           $ 738,625.77          12/20/2024 D&O Liability Effective 12/21/24
                                                                                      1313 N Market St Ste 5400,WILMINGTON, DE
EV USA BU                     Chipman Brown Cicero & Cole LLP                         NEW CASTLE19801                                 USD           $ 100,000.00          12/20/2024 Bankruptcy Counsel Flat Fee
                                                                                      1055 Broadway 11th Floor, Kansas City, MO
EV USA BU                     IPFS Corporation                                        United States 64105                             USD           $ 357,460.25          12/19/2024 PAYMENT NO. 5
                                                                                      233 S Wacker Drive Ste 8000, Chicago, IL United                                                Advance retainer for ongoing work in connection with the Series D Convertible
EV USA BU                     Seyfarth Shaw LLP                                       States 60606                                    USD           $ 100,000.00          12/19/2024 Preferred Stock and Warrant equity financing transaction in progress.
                                                                                      1055 Broadway 11th Floor, Kansas City, MO
EV USA BU                     IPFS Corporation                                        United States 64105                             USD           $   10,606.93         12/19/2024 PAYMENT NO. 7

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                  134 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 169 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                           Payment       Payment
     Business Unit Name                              Supplier or Party Name                               Address                          Currency      Amount          Payment Date                                     Invoice Description
                                                                                      3 Waterway Square Place Ste 110, The
EV USA BU                     Waste Connections Lone Star Inc                         Woodlands, TX United States 77380                USD            $        311.71      12/19/2024 ACCT #45045067
                                                                                      PO BOX 70279, Philadelphia, PA United States
EV USA BU                     Aqua Texas Inc                                          19176                                            USD            $        183.00      12/19/2024 10/4/24 - 11/6/24 15520 H W Y 114
                                                                                      12221 MERIT DR, STE 1400 Dallas, TX United
EV USA BU                     CRAYON SOFTWARE EXPERTS LLC                             States 75251                                     USD            $   54,356.68        12/18/2024 Microsoft CSP OneTime T1 September2024

                                                                                      Attention Paul Kirby, 28 Rye Cresccent Cople                                                    Consultancy - Help and support for business developmentof products proposition and
EV USA BU                     EV Essentials Ltd                                       Bedford, Bedfordshire United Kingdom MK44 3TJ    GBP            $   21,000.00        12/18/2024 pipeline - Multiday discount of12.5% @£2500

                                                                                      Attention Paul Kirby, 28 Rye Cresccent Cople                                                    Consultancy - Help and support for business developmentof products proposition and
EV USA BU                     EV Essentials Ltd                                       Bedford, Bedfordshire United Kingdom MK44 3TJ    GBP            $   18,000.00        12/18/2024 pipeline
                                                                                      25 The Walk Potters Bar, Potters Bar,
EV USA BU                     DJ Shepherd Advisory Services Ltd                       Hertfordshire United Kingdom EN6 1QG             GBP            $   14,689.45        12/18/2024 Attending various Teams calls, visits to London (various),Bicester, Hampshire
                                                                                                                                                                                      Working with US team setting up and attending face to faceand Teams meetings.
                                                                                      25 The Walk Potters Bar, Potters Bar,                                                           Preparing and organising postingdocumentation to DVLA to obtain UK registration
EV USA BU                     DJ Shepherd Advisory Services Ltd                       Hertfordshire United Kingdom EN6 1QG             GBP            $   11,543.22        12/18/2024 numbers.Organising transportation for vehicles 10 & 11
                                                                                                                                                                                      Working with US team setting up and attending various meetings. Organising SMR
                                                                                      25 The Walk Potters Bar, Potters Bar,                                                           support, Parts supply chain. Liaising with and setting up contractual terms with Cap Hpi,
EV USA BU                     DJ Shepherd Advisory Services Ltd                       Hertfordshire United Kingdom EN6 1QG             GBP            $       9,872.70     12/18/2024 Bicester, Northside. Various calls with the team members

                                                                                      25 The Walk Potters Bar, Potters Bar,                                                           Working with the US team regarding vehicle specs, delivery etc. Participating on
EV USA BU                     DJ Shepherd Advisory Services Ltd                       Hertfordshire United Kingdom EN6 1QG             GBP            $       8,400.00     12/18/2024 customer calls. Discussions with cap hpi regarding RV & TCO, obtaining signed NDA.

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $       4,855.54     12/18/2024 Cloud Services Agreement(CSA) Online_v040119_US
                                                                                                                                                                                      Usage Billing - B91962 : Oracle Cloud Infrastructure - Block VolumePerformance -
EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $       4,802.77     12/18/2024 Performance Units Per Gigabyte Per Month : 01-Aug-2024 - 31-Aug-2024,
                                                                                                                                                                                      B88206 : Oracle PaaS and IaaS Universal Credits : 12-Apr-2024 - 11-May-2024Quantity :
EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $       4,750.00     12/18/2024 61750 Quote: CPQ-2922591 Order: 40810738

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $       4,750.00     12/18/2024 B88206 : Oracle PaaS and IaaS Universal Credits : 12-Mar-2024 - 11-Apr-2024
                                                                                                                                                                                      Usage Billing - B90455 : Oracle Autonomous Transaction Processing -Exadata Storage -
EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $       4,646.60     12/18/2024 Terabyte Storage Capacity Per Month : 01-Sep-2024 - 30-Sep-2024

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $       2,953.48     12/18/2024 Usage Billing June 2024

                                                                                      Attention Paul Kirby, 28 Rye Cresccent Cople
EV USA BU                     EV Essentials Ltd                                       Bedford, Bedfordshire United Kingdom MK44 3TJ    GBP            $        263.76      12/18/2024 Storage 1 Nov 24-28 Nov

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241 USD                $         59.21      12/18/2024 Overage Billing
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                            USD            $ 200,000.00         12/17/2024 Bill Period 11/01/2024 - 12/01/2024
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $   1,445.56         12/17/2024 2.5% Fee assessed on previous balance
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $   1,309.60         12/17/2024 Late Fee 2.5%
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $   1,246.50         12/17/2024 Late Fee 2.5%
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $   1,143.14         12/17/2024 LATE FEE
                                                                                      1202 Spanish Moss Dr, Granbury, TX United States
EV USA BU                     Kalob Patino                                            76048                                            USD            $       3,000.00     12/13/2024 UK VEHICLE SERVICE
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $       1,342.34     12/13/2024 LATE FEE
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $       1,277.66     12/13/2024 LATE FEE
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $         235.20     12/13/2024 2.5% Fee assessed on previous balance

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $       2,000.00     12/11/2024 CASH ADVANCE FOR CA TRIP

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                      135 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 170 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                           Payment       Payment
     Business Unit Name                              Supplier or Party Name                                Address                         Currency      Amount           Payment Date                                   Invoice Description
EV USA BU                     Matthew Chott                                           Refer to Payroll for Employee Address            USD            $        205.65       12/11/2024 Baggage

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $        162.63       12/11/2024 October out of pocket transportation expenses

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $         (35.96)     12/11/2024 May Transportation P-card expenses

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $        (126.67)     12/11/2024 April Transportation P-card expenses
EV USA BU                     Matthew Chott                                           Refer to Payroll for Employee Address              USD          $        (205.65)     12/11/2024 Rental car
                                                                                      19614 E 49th PL S, Broken Arrow, OK United
EV USA BU                     Michael Stough                                          States 74014                                       USD          $       2,500.00      12/10/2024 TRAVEL COSTS FOR TOR TRIP
                                                                                      4401 Vance Rd, North Richland Hills, TX United
EV USA BU                     Corey Boyett                                            States 76180                                       USD          $       2,000.00      12/10/2024 Atlanta to service USPS vehicles, Cash advance him $2k
                                                                                      58 Paseo Aragon, Jaconita, NM United States
EV USA BU                     Craig Yarbrough                                         87506                                              USD          $       1,000.00      12/10/2024 TRAVEL ADVANCE
                                                                                      NW 6139, PO Box 1450 Minneapolis, MN United
EV USA BU                     Faegre Drinker Biddle & Reath LLP                       States 55485                                       USD          $ 25,000.00            12/9/2024 For professional services rendered through September 30, 2024 Professional Services
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     872.56           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 3 CHARGING STATION
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     563.76           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 3 STE B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     467.89           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 2 STE A & B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     361.19           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 1 STE A
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     286.09           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 3 STE C & D
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     270.94           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 3 STE E
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     260.99           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 2 STE E & F
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     242.11           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 2 STE C & D
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     150.55           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 5 STE A & B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     143.78           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 1 STE B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     115.99           12/9/2024 LATE FEE
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $     107.44           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 4 STE C & D
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $      71.12           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 5 STE E & F
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $      64.19           12/9/2024 10/1/24 - 10/30/24 15520 HWY 114 BLDG 4 STE A & B
EV USA BU                     Magna International Inc                                 337 Magna Drive, Aurora, Canada L4G 7K1            USD          $ 194,460.75           12/6/2024 Large stampings adaptation costs - Cosma US Victor Division
EV USA BU                     Magna International Inc                                 337 Magna Drive, Aurora, Canada L4G 7K1            USD          $   5,539.25           12/6/2024 Trial raw material

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $       3,000.00       12/5/2024 TRAVEL ADVANCE 12.05.24
                                                                                      4401 Vance Rd, North Richland Hills, TX United
EV USA BU                     Corey Boyett                                            States 76180                                       USD          $       1,500.00       12/5/2024 TRAVEL ADVANCE 12.04.24
                                                                                      3724 Spencer St Apt 310, Torrance, CA United
EV USA BU                     Alwyn Behmer                                            States 90503                                       USD          $       1,200.00       12/5/2024 TRAVEL ADVANCE 12.04.24

EV USA BU                     Andrew Herchenroeder                                    424 SW 24TH ST, El Reno, OK United States 73036 USD             $       1,000.00       12/5/2024 TRAVEL ADVANCE
                                                                                      1053 W. Rosedale, Fort Worth, TX United States
EV USA BU                     Tom Bourne                                              76104                                           USD             $       2,000.00       12/4/2024 TRAVEL ADVANCE 12.04.24
EV USA BU                     Kiran Patil                                             Refer to Payroll for Employee Address           USD             $          (4.88)      12/4/2024 Kratos300 - Air-leak water leak
EV USA BU                     Leo Gonzalez                                            Refer to Payroll for Employee Address           USD             $          (5.00)      12/4/2024 July 2024 Cell Phone
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Christopher Dickhoff                                    90503                                           USD             $         (22.88)      12/4/2024 Reimbursement to Canoo Inc.
EV USA BU                     David Juarez                                            Refer to Payroll for Employee Address           USD             $         (51.81)      12/4/2024 Personal Purchase
EV USA BU                     aaron cole                                              Refer to Payroll for Employee Address           USD             $         (59.73)      12/4/2024 2023 skateboard support trip to Michigan
EV USA BU                     Tony Rios                                               Refer to Payroll for Employee Address           USD             $        (216.05)      12/4/2024 15520 Hwy 114 Suite 2B Justin, TX 76247
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                           USD             $ 198,111.03           12/3/2024 Bill Period 10/01/2024 to 11/01/2024
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                           USD             $       2,465.64       12/3/2024 Cobra Bill Period 11/01/2024 - 12/01/2024


Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                    136 of 168
                                                                              Case 25-10099-BLS                Doc 2           Filed 01/18/25                     Page 171 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                         Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency       Amount           Payment Date                                       Invoice Description
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                           USD            $        (576.67)      12/3/2024 Bill Period 10/01/2024 to 11/01/2024
                                                                                      5637 N. Classen Blvd., Attn: Jennifer Ikeler
EV USA BU                     Clearwater Enterprises LLC                              Oklahoma City, OK United States 73118           USD            $       1,732.62       12/2/2024 13819677 2016142 840 S Morgan Rd Oklahoma City, OK 73128

EV USA BU                     Broadridge ICS Inc                                      PO Box 416423, Boston, MA United States 2241 USD               $       1,000.00       12/2/2024 PROCESSING FEE
                                                                                      5871 East Mountain Loop Trail, Anaheim, CA
EV USA BU                     Gareth Lee                                              United States 92807                              USD           $       3,000.00      11/27/2024 TRAVEL ADVANCE 11.26.24
                                                                                      1202 Spanish Moss Dr, Granbury, TX United States
EV USA BU                     Kalob Patino                                            76048                                            USD           $       3,000.00      11/27/2024 TRAVEL ADVANCE 11.26.24
                                                                                      100 N Walker Ave, Ste 200 Oklahoma City, OK
EV USA BU                     Oklahoma CityWater Utilities & Trust DBA OCWUT          United States 73102                              USD           $       1,971.84      11/27/2024 10/2/24 - 11/1/24 724 S MORGAN RD
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $   35,000.00         11/26/2024 SEPT 2024 CANOO TECH DEPARTMENT CARD
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $   20,000.00         11/26/2024 SEPT 2024 CANOO TECH DEPARTMENT CARD
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $   15,500.00         11/26/2024 SEPT 2024 CANOO TECH DEPARTMENT CARD
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,221.29      11/26/2024 Paid on behalf of Bourne, Tom
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,125.66      11/26/2024 Paid on behalf of Rao, Mohan
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,014.62      11/26/2024 Paid on behalf of Farbowich, Kevin
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,969.95      11/26/2024 Paid on behalf of Herchenroeder, Andrew
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,660.19      11/26/2024 Paid on behalf of Hooper, Kyle
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,477.86      11/26/2024 Paid on behalf of Farbowich, Kevin
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,320.91      11/26/2024 Paid on behalf of Laplante, Patrick
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,237.57      11/26/2024 Paid on behalf of Fasten, Maxwell
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,655.73      11/26/2024 Paid on behalf of Phillips, Tyler
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,046.27      11/26/2024 Paid on behalf of Kumar, Rishav
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,038.66      11/26/2024 Paid on behalf of Olandese, Nathaniel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,631.13      11/26/2024 Paid on behalf of Hopkins, Craig
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,322.92      11/26/2024 Paid on behalf of Pramod, Ram
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,006.45      11/26/2024 Paid on behalf of Hooper, Kyle
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,000.00      11/26/2024 Paid on behalf of Ruiz, Hector
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        966.71       11/26/2024 Paid on behalf of Buice, Austin
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        927.99       11/26/2024 Paid on behalf of Hosonitz, Angela



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                   137 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 172 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                           Payment       Payment
     Business Unit Name                              Supplier or Party Name                               Address                          Currency      Amount           Payment Date                                     Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        880.66       11/26/2024 Paid on behalf of Ezeugwa, Alex
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        320.83       11/26/2024 Paid on behalf of Heraldez, Ariel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        317.28       11/26/2024 Paid on behalf of PIACENTINI, NOLAN
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        263.11       11/26/2024 Paid on behalf of Rose, Eric
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        147.87       11/26/2024 Paid on behalf of Somaiya, Raj
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        142.82       11/26/2024 Paid on behalf of Bauer, Eric
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $         66.64       11/26/2024 Paid on behalf of Fasten, Maxwell
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        (136.25)     11/26/2024 Paid on behalf of Balan, David
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $        (678.24)     11/26/2024 Paid on behalf of Stoddard, Mike
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   (6,948.63)        11/26/2024 Paid on behalf of Balan, David
EV USA BU                     MidAmerica Industrial Park                              PO Box 945, Pryor, OK United States 74362        USD            $   59,628.58         11/25/2024 BLDG 625-4461 ZARROW, PRYOR OK
                                                                                      1313 North Market Street, Suite 1001 Wilmington,
EV USA BU                     Ross Aronstam & Moritz LLP                              DE United States 19801                           USD            $   17,935.00         11/25/2024 Investigating potential demands
                                                                                      1313 North Market Street, Suite 1001 Wilmington,
EV USA BU                     Ross Aronstam & Moritz LLP                              DE United States 19801                           USD            $       4,655.00      11/25/2024 Investigating potential demands fees
                                                                                      1000 SW 14th St, Bentonville, AR United States
EV USA BU                     City of Bentonville                                     72712                                            USD            $       4,288.45      11/25/2024 9/16/24 - 10/17/24 Electric, water, garbage 4700 SW REGIONAL AIRPORT BLVD M
                                                                                      58 Lincoln Avenue, Rose Green Bognor Regis, West
EV USA BU                     In Motion Images                                        Sussex United Kingdom PO21 3EW                   GBP            $        448.00       11/25/2024 Canoo Royal Mail LDV130 & LDV190 photography (28.10.2024)
EV USA BU                     Lonnie Golden                                           Refer to Payroll for Employee Address            USD            $        109.56       11/25/2024 Travel to OKC

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $         15.73       11/25/2024 July out of pocket transportation expenses

EV USA BU                     Zakary Chebaa                                           524 Overhill Dr, Arlington, TX United States 76010 USD          $      (15.73)        11/25/2024 May Transportation P-card expenses
EV USA BU                     Lonnie Golden                                           Refer to Payroll for Employee Address              USD          $      (39.83)        11/25/2024 (blank)
EV USA BU                     Lonnie Golden                                           Refer to Payroll for Employee Address              USD          $      (69.73)        11/25/2024 (blank)
EV USA BU                     Kirkland & Ellis LLP                                    300 N LaSalle, Chicago, IL United States 60654     USD          $   50,000.00         11/22/2024 For Professional Services Rendered Through September 30, 2023
                                                                                      1313 N. Market St, 6th Floor Wilmington, DE
EV USA BU                     Potter Anderson & Corroon LLP                           United States 19801                                USD          $       4,071.00      11/21/2024 LEGAL SERVICES JULY 2024
                                                                                      The Station Armoury, Building 123 Buckingham
                                                                                      Road Bicester, Oxfordshire United Kingdom OX26
EV USA BU                     Bicester Promotion Limited                              5HA                                                GBP          $       2,003.28      11/21/2024 Board room hire - 1st Nov 2024 / Club room hire - 1st Nov 2024

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD             $    2,805.00         11/20/2024 PREMIUM PROCESSING / AMIT RANJAN
EV USA BU                     Express Employment Professionals                        PO BOX 203901, Dallas, TX United States 75320   USD             $   20,000.00         11/19/2024 STAFFING W/E 12/17/23
                                                                                      2F, 3rd Bldg Jinyuda Industrial Park, Shangliao
EV USA BU                     Shenzhen LT Century Prototype Co Ltd                    Business Rd., Shajing, Shenzhen, China 518125   USD             $   19,525.95         11/19/2024 TOOLING

EV USA BU                     Michelin North America Inc                              PO BOX 100860, Atlanta, GA United States 30384 USD              $   16,475.00         11/19/2024 USE OF T9 SENSITIVITY
                                                                                      PO Box 887904933, Kansas City, MO United States
EV USA BU                     Grainger                                                64141                                           USD             $       7,555.14      11/19/2024 SPILL KIT, DRUM,UNIVERSAL,47" HMANUFACTURER # SPKU-95-WD



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                               138 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                     Page 173 of 202


Canoo Technologies Inc.                                                                                                                 Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                       $ 6,905,729.84
                                                                                                                                          Payment         Payment
     Business Unit Name                              Supplier or Party Name                                Address                        Currency        Amount          Payment Date                                    Invoice Description
                                                                                      PO Box 979126, St. Louis, MO United States 93197-
EV USA BU                     US Customs and Border Protection                        9000                                              USD            $       6,906.63     11/19/2024 Late payment fees on failed ACH payment from 2023

                                                                                      25 The Walk Potters Bar, Potters Bar,                                                            Working with the team arranging vehicle logistics, setting up and attending meetings
EV USA BU                     DJ Shepherd Advisory Services Ltd                       Hertfordshire United Kingdom EN6 1QG              GBP            $       5,990.70     11/19/2024 with customers on site and via Teams. Meetings with LKQ, CapHpi and LKQ
                                                                                      1200 Abernathy Rd STE 700, Atlanta, GA United
EV USA BU                     OneTrust LLC                                            States 30328                                      USD            $       5,040.00     11/19/2024 Mobile App Consent - Cloud License - Per AppAPP09/29/2023 09/28/2024
                                                                                      2F, 3rd Bldg Jinyuda Industrial Park, Shangliao
EV USA BU                     Shenzhen LT Century Prototype Co Ltd                    Business Rd., Shajing, Shenzhen, China 518125     USD            $       4,104.96     11/19/2024 TOOLING
                                                                                                                                                                                       STANDARD FLAMMABLE STORAGE CABINET -SELF-CLOSING DOORS, YELLOW,
EV USA BU                     Uline Inc                                               PO Box 88741, Chicago, IL United States 60680     USD            $       2,872.95     11/19/2024 90GALLON
EV USA BU                     Paguzzi Inc                                             Refer to Payroll for Employee Address             USD            $       1,850.00     11/19/2024 LDV190 Grab Handles
EV USA BU                     Uline Inc                                               PO Box 88741, Chicago, IL United States 60680     USD            $       1,801.43     11/19/2024 SUPPLIES

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $       1,500.00     11/19/2024 I-129 ACWIA / YUGAL, NARANG

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $       1,500.00     11/19/2024 I-129 ACWIA / RANJAN, AMIT

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $       1,500.00     11/19/2024 I-129 ACWIA / SANTHOSHKUMAR JANARDHANAN
EV USA BU                     Uline Inc                                               PO Box 88741, Chicago, IL United States 60680   USD              $         943.01     11/19/2024 SUPPLIES

                                                                                      Attention Paul Kirby, 28 Rye Cresccent Cople
EV USA BU                     EV Essentials Ltd                                       Bedford, Bedfordshire United Kingdom MK44 3TJ     GBP            $        791.28      11/19/2024 SafeStore: AUG 2024 - OCT 2024

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        780.00      11/19/2024 I-129 / RANJAN, AMIT

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        780.00      11/19/2024 I-129 / YUGAL, NARANG

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        780.00      11/19/2024 I-129 / SANTHOSHKUMAR JANARDHANAN

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        600.00      11/19/2024 H-1B ASYLUM FEE / YUGAL, NARANG

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        600.00      11/19/2024 H-1B ASYLUM FEE / RANJAN, AMIT

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        600.00      11/19/2024 H-1B ASYLUM FEE - SANTHOSHKUMAR JANARDHANAN

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        500.00      11/19/2024 FRAUD PREVENTION & DETECTION / YUGAL, NARANG

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD              $        500.00      11/19/2024 FRAUD PREVENTION & DETECTION FEE / SANTHOSHKUMAR JANARDHANAN
                                                                                      PO Box 887904933, Kansas City, MO United States
EV USA BU                     Grainger                                                64141                                           USD              $        246.66      11/19/2024 WE TOOK $246.66 CREDIT TWICE. THIS IS TO REIMBURSE SUPPLIER.
EV USA BU                     Uline Inc                                               PO Box 88741, Chicago, IL United States 60680   USD              $        226.34      11/19/2024 ULINE FLAT SHELF UTILITY CART - 44 X 25 X33", BLACK

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                     139 of 168
                                                                              Case 25-10099-BLS                Doc 2            Filed 01/18/25                     Page 174 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                         Payment         Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency        Amount          Payment Date                                    Invoice Description
                                                                                      PO Box 887904933, Kansas City, MO United States
EV USA BU                     Grainger                                                64141                                            USD            $        100.90      11/19/2024 SEAL, EPDM RUBBER, BLACK, 25 FT L
                                                                                      Franchise Tax, PO Box 26850 Oklahoma City, OK
EV USA BU                     Oklahoma Tax Commission                                 United States 73126                              USD            $        100.00      11/19/2024 TAX RETURN XX-XXXXXXX
                                                                                      Franchise Tax, PO Box 26850 Oklahoma City, OK
EV USA BU                     Oklahoma Tax Commission                                 United States 73126                              USD            $        100.00      11/19/2024 TAX RETURN XX-XXXXXXX
                                                                                      PO Box 887904933, Kansas City, MO United States
EV USA BU                     Grainger                                                64141                                            USD            $         96.11      11/19/2024 NUT RIVET KIT,METRIC,M3,M4,M5,M6
                                                                                      PO Box 887904933, Kansas City, MO United States
EV USA BU                     Grainger                                                64141                                            USD            $         65.94      11/19/2024 KEY CONTROL CABINET,30 UNITSMANUFACTURER # 1795
                                                                                      PO Box 887904933, Kansas City, MO United States                                                 CREDIT FOR DUPLICATE PAYMENT ON INVOICE 9446957103. IT WAS PAID BY CC AND
EV USA BU                     Grainger                                                64141                                            USD            $    (2,076.20)      11/19/2024 THEN PAID AGAIN USING PO.
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                            USD            $ 150,000.00         11/18/2024 Bill Period 10/01/2024 to 11/01/2024
                                                                                      PO BOX 629028, El Dorado Hills, CA United States
EV USA BU                     Kaiser Foundation Health Plan Inc                       95762                                            USD            $   57,231.21        11/18/2024 45597

                                                                                                                                                                                      Oracle Fusion Supplier Qualification Management Cloud Service -Hosted Named User :
EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   54,988.86        11/18/2024 29-Dec-2023 - 28-Mar-2024 Quantity : 10 Quote: CPQ-2963414 Order: 40884747
EV USA BU                     Rikkers Technology Law PLLC                             23 Main St, Andover, MA United States 1810       USD            $   49,860.00        11/18/2024 For Professional Services Rendered Through March 28, 2024
                                                                                      PO Box 707, Broken Arrow, OK United States
EV USA BU                     Magnum Construction Inc                                 74013                                            USD            $   45,000.00        11/18/2024 Installation of Pryor's East Dock Bathrooms
                                                                                      NW 6139, PO Box 1450 Minneapolis, MN United
EV USA BU                     Faegre Drinker Biddle & Reath LLP                       States 55485                                     USD            $   35,000.00        11/18/2024 For professional services rendered and disbursements incurred regarding Canoo Inc
                                                                                      4 Metrotech Center, 14th Floor Brooklyn, NY
EV USA BU                     Continental Stock Transfer & Trust Co                   United States 11245                              USD            $   12,444.47        11/18/2024 FOR SERVICES AS T/A AND/ OR REGISTRAR
                                                                                      12545 Silver Fox Ct, Roswell, GA United States
EV USA BU                     Sability LP                                             30075                                            USD            $       8,597.50     11/18/2024 Consulting Billable Hours
                                                                                      12545 Silver Fox Ct, Roswell, GA United States
EV USA BU                     Sability LP                                             30075                                            USD            $       7,837.50     11/18/2024 CAN SOW 001 SMS Consulting Billable Hours
                                                                                      PO Box 804466, Kansas City, MO United States
EV USA BU                     MetLife                                                 64180                                            USD            $       5,894.19     11/18/2024 November 2024 Services
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                             USD            $       4,533.07     11/18/2024 10/11/24 - 11/10/24 831-001-1945 259
                                                                                      PO BOX 845629, Los Angeles, CA United States
EV USA BU                     City of Torrance Utilities                              90084                                            USD            $       3,492.98     11/18/2024 Service Period: 07/15/2024 to 09/16/2024 Acct # 0002-00000-43048
                                                                                      1025 ELDORADO BLVD, Broomfield, CO United
EV USA BU                     LUMEN                                                   States 80021                                     USD            $       3,388.96     11/18/2024 10/1/24 - 10/31/24 15520 HIGHWAY 114 ACCT 5-SHGMFJQX
                                                                                      950 TECHNOLOGY WAY, SUITE 301 LIBERTYVILLE,
EV USA BU                     SNAP-ON CREDIT LLC                                      IL United States 60048                           USD            $       3,273.65     11/18/2024 MONTHLY RENTAL CHARGE
                                                                                      950 TECHNOLOGY WAY, SUITE 301 LIBERTYVILLE,
EV USA BU                     SNAP-ON CREDIT LLC                                      IL United States 60048                           USD            $       3,231.15     11/18/2024 08/01/202 4CurrentV3300 JOHN BEAN, AC400RENTAL
                                                                                      317 West Regent Street APT 2, Inglewood, CA
EV USA BU                     Jesse Cabral                                            90301 Inglewood, CA United States 90301          USD            $       2,000.00     11/18/2024 IT services for the month of October 2024
                                                                                      4 Metrotech Center, 14th Floor Brooklyn, NY
EV USA BU                     Continental Stock Transfer & Trust Co                   United States 11245                              USD            $       1,490.25     11/18/2024 FOR SERVICES AS T/A AND/ OR REGISTRARADMIN MONTHLY FEE - COM STK / ETC
                                                                                      4 Metrotech Center, 14th Floor Brooklyn, NY
EV USA BU                     Continental Stock Transfer & Trust Co                   United States 11245                              USD            $       1,315.02     11/18/2024 FOR SERVICES AS T/A AND/ OR REGISTRAR
                                                                                      4 Metrotech Center, 14th Floor Brooklyn, NY
EV USA BU                     Continental Stock Transfer & Trust Co                   United States 11245                              USD            $       1,006.62     11/18/2024 FOR SERVICES AS T/A AND/ OR REGISTRARADMIN MONTHLY FEE - COM STK / ETC
                                                                                      4 Metrotech Center, 14th Floor Brooklyn, NY
EV USA BU                     Continental Stock Transfer & Trust Co                   United States 11245                              USD            $        890.28      11/18/2024 FOR SERVICES AS T/A AND/ OR REGISTRARADMIN MONTHLY FEE - COM STK / ETC



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                  140 of 168
                                                                              Case 25-10099-BLS                 Doc 2               Filed 01/18/25                 Page 175 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                         Payment         Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency        Amount          Payment Date                                     Invoice Description
                                                                                      4 Metrotech Center, 14th Floor Brooklyn, NY
EV USA BU                     Continental Stock Transfer & Trust Co                   United States 11245                              USD            $        824.21      11/18/2024 FOR SERVICES AS T/A AND/ OR REGISTRAR

EV USA BU                     AmeriGas                                                PO Box 7155, Pasadena, CA United States 91109 USD               $        249.62      11/18/2024 Propane
                                                                                      PO BOX 7966, Carol Stream, IL United States
EV USA BU                     Black Hills Energy                                      60197                                            USD            $         39.06      11/18/2024 09/20/24 - 10/22/24 4700 SW REGIONAL AIRPORT
                                                                                      2126 Hamilton Drive, Suite 260 Argyle, TX United
EV USA BU                     Anthony Aquila                                          States 76226                                     USD            $ 105,338.62         11/15/2024 Canoo Expenses - Executive Expense Reimbursement
                                                                                      123 Estudillo Ave, Suite 201 San Leandro, CA
EV USA BU                     Accel Visa Attorneys PC                                 United States 94577                              USD            $   48,890.00        11/15/2024 LEGAL FEES
                                                                                      N29W22798 Marjean Lane, Waukesha, WI United
EV USA BU                     Wheels Now Inc                                          States 53186                                     USD            $   20,875.00        11/15/2024 PREPAYMENT FOR PO 00016491
                                                                                      43855 Plymouth Oaks Blvd, Plymouth, MI United                                                   FMVSS 135 - Brake Certification Test Conduct a FMVSS 135 test on a customer provided
EV USA BU                     Link Vehicle Testing Inc                                States 48170                                     USD            $   10,000.00        11/15/2024 vehicle
                                                                                      2F, 3rd Bldg Jinyuda Industrial Park, Shangliao
EV USA BU                     Shenzhen LT Century Prototype Co Ltd                    Business Rd., Shajing, Shenzhen, China 518125    USD            $       5,513.48     11/15/2024 BART CART
                                                                                                                                                                                      Trip to Dallas and Oklahoma City - September 30 - October 13, 2024 - Meeting at Justin,
EV USA BU                     Monty Hayes                                             Refer to Payroll for Employee Address           USD             $       4,419.52     11/15/2024 GVRD Tour at Plant and to Meet with Eric Dahl and Gareth Lee
                                                                                      2F, 3rd Bldg Jinyuda Industrial Park, Shangliao
EV USA BU                     Shenzhen LT Century Prototype Co Ltd                    Business Rd., Shajing, Shenzhen, China 518125   USD             $       2,075.05     11/15/2024 busbar 3D
                                                                                      N29W22798 Marjean Lane, Waukesha, WI United
EV USA BU                     Wheels Now Inc                                          States 53186                                    USD             $       1,412.73     11/15/2024 18x8 6H on 5.5 - 0.98 Offset - 3.06 Pilot
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Felix Haeusler                                          90503                                           USD             $       1,380.13     11/15/2024 Torrance sept 2024
EV USA BU                     sungkwon choi                                           Refer to Payroll for Employee Address           USD             $         754.20     11/15/2024 Torrance Travel for GR45 Durability Inspection
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                          USD             $        495.07      11/15/2024 July Expenses
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                          USD             $        361.80      11/15/2024 June Expenses
EV USA BU                     sakthi sambandam                                        Refer to Payroll for Employee Address           USD             $        341.32      11/15/2024 SOCAR STP Supplier Development
EV USA BU                     Jacqueline LaBoube                                      Refer to Payroll for Employee Address           USD             $        331.70      11/15/2024 September Expense Report, Torrance Migration
EV USA BU                     Nitin Patel                                             Refer to Payroll for Employee Address           USD             $        315.48      11/15/2024 Airfare Refund paid by personal CC-During Corporate CC Issues
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                          USD             $        309.63      11/15/2024 April Expenses
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Felix Haeusler                                          90503                                           USD             $        263.98      11/15/2024 Support Vin14 V2( ATT) Stabilizer fitting
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                          USD             $        261.08      11/15/2024 May Expenses

EV USA BU                     McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680     USD            $        249.69      11/15/2024 MDS-Filled Cast Nylon Sheet, Easy-to-Machine,Wear-Resistant, 1/4" Thick, 48" x 12"
EV USA BU                     Marc Maroncelli                                         Refer to Payroll for Employee Address            USD            $        225.12      11/15/2024 Cam bolt joint test
                                                                                                                                                                                      Anodized Multipurpose 6061 Aluminum 90 DegreeAngle, 1/8" Wall Thickness, 1"
EV USA BU                     McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680     USD            $        208.13      11/15/2024 Outside Height, 3Feet Long, Clear
EV USA BU                     Jeremy Spengler                                         Refer to Payroll for Employee Address            USD            $        144.12      11/15/2024 Oct non-travel expenses
EV USA BU                     Nitin Patel                                             Refer to Payroll for Employee Address            USD            $        119.04      11/15/2024 Refund for Taxi payments Paid by personal CC, during Corporate CC issues C
                                                                                                                                                                                      Thread-Forming Screws for Thin Plastic,Zinc-Plated Steel, M2.5, 8 mm Long, IP8, T8
EV USA BU                     McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680     USD            $         74.51      11/15/2024 TorxPlus Drive, Packs of 25
EV USA BU                     Yash Patel                                              Refer to Payroll for Employee Address            USD            $         70.51      11/15/2024 LDV 300 Support 2 (7/10-7/17)
                                                                                                                                                                                      Alloy Steel Flanged Button Head Screws,Black-Oxide, M8 x 1.25 mm Thread, 30mm
EV USA BU                     McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680     USD            $         67.90      11/15/2024 Long,Packs of 5
                                                                                      1053 W. Rosedale, Fort Worth, TX United States
EV USA BU                     Tom Bourne                                              76104                                            USD            $         67.16      11/15/2024 April Reimburstment



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                    141 of 168
                                                                              Case 25-10099-BLS                Doc 2            Filed 01/18/25                    Page 176 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                        Payment         Payment
     Business Unit Name                              Supplier or Party Name                               Address                       Currency        Amount          Payment Date                                    Invoice Description
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                           USD            $         66.00      11/15/2024 Refund for Cell Phone International Day Pass
EV USA BU                     Kyle Hooper                                             Refer to Payroll for Employee Address           USD            $         62.46      11/15/2024 DC GR Visit
EV USA BU                     Juan Bribiesca                                          Refer to Payroll for Employee Address           USD            $         60.00      11/15/2024 BYOD Aug, Sept, Oct 2024
                                                                                                                                                                                     Alloy Steel Low-Profile Socket Head Screw, Hexwith Recess, Zinc Plated 8.8 Steel, M10 x
EV USA BU                     McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680    USD            $         55.54      11/15/2024 1.5mm,40mm Long
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Felix Haeusler                                          90503                                           USD            $         51.62      11/15/2024 Support Supplier event 8/6-8/24
                                                                                                                                                                                     Alloy Steel Low-Profile Socket Head Screw, HexDrive, M6 x 1 mm Thread, 30 mm Long,
EV USA BU                     McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680    USD            $         48.68      11/15/2024 Packs of25
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Kunal Bhalla                                            90503                                           USD            $         36.00      11/15/2024 Refund for International day pass during Baku travel
EV USA BU                     Garit Lesicko                                           Refer to Payroll for Employee Address           USD            $         34.60      11/15/2024 (blank)
EV USA BU                     Juan Bribiesca                                          Refer to Payroll for Employee Address           USD            $         30.00      11/15/2024 BYOD Aug, Sept, Oct 2024
EV USA BU                     Rutuja Shivarkar                                        Refer to Payroll for Employee Address           USD            $         30.00      11/15/2024 Phone Bill - October 2024
                                                                                      19951 Mariner Ave, Torrance, CA United States
EV USA BU                     Dan DeGree                                              90503                                           USD            $         29.99      11/15/2024 Personal Phone Use
EV USA BU                     Troy Schlotfeldt                                        Refer to Payroll for Employee Address           USD            $         24.61      11/15/2024 Supplier Event Oklahoma City - August 2024
                                                                                                                                                                                     Thread-Forming Screws for Soft Metal,Zinc-Plated Steel, Torx-Plus Drive, M3 Thread,
EV USA BU                     McMaster-Carr Supply Company                            PO Box 7690, Chicago, IL United States 60680  USD              $         24.21      11/15/2024 12mm Long, Packs of 25
EV USA BU                     Omar Ramirez                                            Refer to Payroll for Employee Address         USD              $         19.42      11/15/2024 damage prevention project
EV USA BU                     Dave Singh                                              Refer to Payroll for Employee Address         USD              $          8.65      11/15/2024 Summer Builds- Toll
                                                                                      N29W22798 Marjean Lane, Waukesha, WI United
EV USA BU                     Wheels Now Inc                                          States 53186                                  USD              $    (1,412.73)      11/15/2024 18x8 6H on 5.5 - 0.98 Offset - 3.06 Pilot
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $     5,335.00       11/14/2024 Legal Services for the period ending July 31, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $     3,317.50       11/14/2024 Legal Services for the period ending March 31, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $     2,575.00       11/14/2024 Legal Services for the period ending February 28, 2023 113491-1009
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $     2,305.00       11/14/2024 Legal Services for the period ending November 30, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $     2,090.00       11/14/2024 Legal Services for the period ending May 31, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $     1,540.00       11/14/2024 Legal Services for the period ending July 31, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $     1,419.00       11/14/2024 Legal Services for the period ending April 30, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $       940.50       11/14/2024 LEGAL SERVICES
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $       595.00       11/14/2024 Legal Services for the period ending June 30, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $       477.50       11/14/2024 Legal Services for the period ending April 30, 2023
EV USA BU                     Littler Mendelson PC                                    PO Box 207137, Dallas, TX United States 75320 USD              $      (330.00)      11/14/2024 LEGAL SERVICES FOR THE PERIOD ENDING 2/28/22
                                                                                      1055 Broadway 11th Floor, Kansas City, MO
EV USA BU                     IPFS Corporation                                        United States 64105                           USD              $ 357,460.25         11/13/2024 OCT INSTALLMENT
                                                                                      1055 Broadway 11th Floor, Kansas City, MO
EV USA BU                     IPFS Corporation                                        United States 64105                           USD              $   10,606.93        11/13/2024 PAYMENT NO. 6
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $      618.48        11/13/2024 Personal costs due to Pcards being declined
EV USA BU                     Jacqueline LaBoube                                      Refer to Payroll for Employee Address         USD              $      127.22        11/13/2024 September Expense Report, Torrance Migration
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $       (4.13)       11/13/2024 (blank)
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $      (14.94)       11/13/2024 45681
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $      (25.15)       11/13/2024 (blank)
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $      (36.46)       11/13/2024 Jan 2023 expenses
EV USA BU                     Jacqueline LaBoube                                      Refer to Payroll for Employee Address         USD              $     (127.22)       11/13/2024 July 2024 Expense Report, OKC
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $     (127.46)       11/13/2024 (blank)
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $     (134.24)       11/13/2024 (blank)
EV USA BU                     Daniel Han                                              Refer to Payroll for Employee Address         USD              $     (276.10)       11/13/2024 45681
                                                                                      470 West Ave, 3rd Floor Stamford, CT United                                                    Fee for Stock Watch/Shareholder Identification and Related Consulting Services for the
EV USA BU                     Morrow Sodali LLC                                       States 6902                                   USD              $   22,500.00        11/12/2024 period from 11/18/2022 to 2/17/2023 MULTIPERIOD
                                                                                      1025 ELDORADO BLVD, Broomfield, CO United
EV USA BU                     LUMEN                                                   States 80021                                  USD              $       3,388.96     11/12/2024 09/01/24 - 09/30/24 15520 HIGHWAY 114 ACCT 5-SHGMFJQX


Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                   142 of 168
                                                                              Case 25-10099-BLS                 Doc 2             Filed 01/18/25                     Page 177 of 202


Canoo Technologies Inc.                                                                                                                  Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                        $ 6,905,729.84
                                                                                                                                           Payment         Payment
     Business Unit Name                              Supplier or Party Name                                Address                         Currency        Amount           Payment Date                                      Invoice Description
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD            $        481.56       11/12/2024 July Expenses
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD            $         (23.97)     11/12/2024 (blank)
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD            $         (34.99)     11/12/2024 December Expenses
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD            $        (100.42)     11/12/2024 May Expenses
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD            $        (101.18)     11/12/2024 August Expenses
                                                                                      6512 Brentwood Villas Dr, Unit A Oklahoma City,
EV USA BU                     Brent Zaddock                                           OK United States 73169                             USD            $        (221.00)     11/12/2024 November Expenses

                                                                                                                                                                                         Oracle Fusion Supplier Qualification Management Cloud Service -Hosted Named User :
EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241       USD            $   57,391.15          11/8/2024 29-Dec-2023 - 28-Mar-2024 Quantity : 10 Quote: CPQ-2963414 Order: 40884747
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $   24,287.71          11/8/2024 Billing period: 9/20/24 to 10/17/24 9528 W I 40 SERVICE RD
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $   10,330.23          11/8/2024 Billing period: 9/20/24 to 10/18/24 9528 W I 40 SERVICE RD #9
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $       1,628.35       11/8/2024 Billing period: 9/20/24 to 10/18/24 9502 W I 40 SERVICE RD
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $        538.10        11/8/2024 9/14/24 to 10/14/24 840 S MORGAN RD #LITE
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $        513.97        11/8/2024 7/16/24 - 8/14/24 840 S MORGAN RD #LITE
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $         23.02        11/8/2024 7/16/24 - 8/14/24 840 S MORGAN RD #LITE
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $           7.60       11/8/2024 Late fee 840 S Morgan Rd LITE
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $          (1.50)      11/8/2024 Interest on deposit credit
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $         (15.22)      11/8/2024 Interest on deposit credit
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $        (202.25)      11/8/2024 Interest on deposit credit
                                                                                      PO Box 24990, Oklahoma City, OK United States
EV USA BU                     OG&E                                                    73124                                              USD            $        (513.97)      11/8/2024 CREDIT PER INVOICE

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241       USD            $   (57,391.15)        11/8/2024 CREDIT APPLIES TO INVOICE 100950210
                                                                                      5155 Paysphere Circle, Chicago, IL United States                                                   Progress billing for 382 ownership change study, in accordance with the executed
EV USA BU                     RSM US LLP                                              60674                                              USD            $   31,500.00          11/7/2024 Statementof Work dated January 5, 2024

EV USA BU                     Southern California Edison                              PO BOX 300, Rosemead, CA United States 91772       USD            $   28,339.99          11/7/2024 8/1/24 - 8/29/24 19951 MARINER AVE UNIT A
                                                                                      1601 Chestnut Street, Two Liberty Place
EV USA BU                     Life Insurance Company of North America                 Philadelphia, PA United States 19192               USD            $   25,976.16          11/7/2024 Coverage Period 09/01/2024 - 09/30/2024

EV USA BU                     Southern California Edison                              PO BOX 300, Rosemead, CA United States 91772 USD                  $       9,226.02       11/7/2024 08/30/24 - 9/30/24 19951 MARINER AVE UNIT A
                                                                                      1 Fountain Square, Chattanooga, TN United States
EV USA BU                     Unum Life Insurance Company of America                  37402                                            USD              $       7,259.30       11/7/2024 Coverage Period: Sep 01 2024 - Sep 30 2024
                                                                                      PO Box 804466, Kansas City, MO United States
EV USA BU                     MetLife                                                 64180                                            USD              $       6,180.53       11/7/2024 Billing Period: 10/1/24 - 10/31/24
                                                                                      Dept 781523, PO Box 78000 Detroit, MI United
EV USA BU                     MetLife Legal Plans Inc                                 States 48278                                     USD              $       2,520.00       11/7/2024 September 2024 Service

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                      143 of 168
                                                                              Case 25-10099-BLS                Doc 2            Filed 01/18/25                     Page 178 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                         Payment         Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency        Amount          Payment Date                                   Invoice Description
EV USA BU                     Paylogix f/b/o Nationwide                               PO Box 50020, Newark, NJ United States 7101      USD            $       2,516.63      11/7/2024 Nationwide - Pet Insurance SEPT 2024
                                                                                      Dept 781523, PO Box 78000 Detroit, MI United
EV USA BU                     MetLife Legal Plans Inc                                 States 48278                                     USD            $       2,394.00      11/7/2024 October 2024 Service
EV USA BU                     Paylogix f/b/o Nationwide                               PO Box 50020, Newark, NJ United States 7101      USD            $       1,988.66      11/7/2024 Nationwide - Pet Insurance Period Ending 10/31/24
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                             USD            $       1,616.14      11/7/2024 10/7/24 - 11/6/24 831-001-1779 726
                                                                                      1601 Chestnut Street, Two Liberty Place
EV USA BU                     Life Insurance Company of North America                 Philadelphia, PA United States 19192             USD            $       1,178.83      11/7/2024 Coverage Period 09/01/2024 - 09/30/2024
                                                                                      4925 Greenville Ave #1300, Dallas, TX United
EV USA BU                     TaxSaver Plan                                           States 75206                                     USD            $        734.08       11/7/2024 COBRA Plan Monthly Billing Report 08/31/2024
                                                                                      4925 Greenville Ave #1300, Dallas, TX United
EV USA BU                     TaxSaver Plan                                           States 75206                                     USD            $        661.61       11/7/2024 COBRA Plan Monthly Billing Report 09/30/2024 509 PEPM FEE
                                                                                      PO Box 740407, Cincinnati, OH United States
EV USA BU                     Frontier Communications                                 45274                                            USD            $        594.40       11/7/2024 10/20/24 - 11/19/24 ACCT 310-214-9556-041018-5
                                                                                      PO Box 740407, Cincinnati, OH United States
EV USA BU                     Frontier Communications                                 45274                                            USD            $        342.08       11/7/2024 10/16/24 to 11/15/24 310-370-0485-121518-5
                                                                                      4925 Greenville Ave #1300, Dallas, TX United
EV USA BU                     TaxSaver Plan                                           States 75206                                     USD            $        323.90       11/7/2024 Flexible Benefit Plan Monthly Billing Report 09/30/2024
                                                                                      1601 Chestnut Street, Two Liberty Place
EV USA BU                     Life Insurance Company of North America                 Philadelphia, PA United States 19192             USD            $        274.71       11/7/2024 Coverage Period 09/01/2024 - 09/30/2024
                                                                                      PO BOX 7966, Carol Stream, IL United States
EV USA BU                     Black Hills Energy                                      60197                                            USD            $        134.38       11/7/2024 08/22/2024 - 09/20/2024 700 SW REGIONAL AIRPORT BENTONVILLE, AR
                                                                                      PO Box 740407, Cincinnati, OH United States
EV USA BU                     Frontier Communications                                 45274                                            USD            $        124.91       11/7/2024 10/16/24 - 11/15/24 310-370-0575-121518-5

EV USA BU                     SoCalGas                                                PO Box C, Monterey Park, CA United States 91756 USD             $         73.70       11/7/2024 09/16/24- 10/16/24 19951 MARINER AVE
                                                                                      123 Estudillo Ave, Suite 201 San Leandro, CA
EV USA BU                     Accel Visa Attorneys PC                                 United States 94577                             USD             $   10,500.00         11/5/2024 LEGAL FEES

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $       4,469.92      11/5/2024 SYNC SYS 200-600V 1/3-PH CSA

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        613.85       11/5/2024 8143556195 LSECYL
                                                                                      22418 Elaine Ave, Lakewood, CA United States
EV USA BU                     View Quality Landscaping                                90716                                            USD            $        563.00       11/5/2024 INVOICE for tree removal service at 19951 Mariner Ave Torrance, Ca 90503

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        550.48       11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        508.80       11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT
                                                                                      11930 Queen Street, Fulton, MD United States
EV USA BU                     Haluk Kantar                                            20759                                            USD            $        500.00       11/5/2024 PREORDER REFUND #3774-0695

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        466.51       11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT
EV USA BU                     Steven Heinz                                            1466 N 3100 W, Provo, UT United States 84601     USD            $        400.00       11/5/2024 PREORDER REFUND #1875-4945 AND #1086-4000

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        320.83       11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        316.38       11/5/2024 CYLINDER RENTAL

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        316.38       11/5/2024 08/01/2024 To: 08/31/2024

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        316.38       11/5/2024 Rental PeriodFrom: 10/01/2024 To: 10/31/2024

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673   USD            $        307.89       11/5/2024 Rental PeriodFrom: 06/01/2024 To: 06/30/2024

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                  144 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 179 of 202


Canoo Technologies Inc.                                                                                                                  Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                        $ 6,905,729.84
                                                                                                                                           Payment         Payment
     Business Unit Name                              Supplier or Party Name                               Address                          Currency        Amount        Payment Date                                  Invoice Description

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       307.89      11/5/2024 Rental PeriodFrom: 09/01/2024 To: 09/30/2024

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       305.91      11/5/2024 INM 10% CD/AR 300 (Vol: 357 FT3) (H) CY-AR CD4300
                                                                                      890 Crabapple Dr, Loveland, CO United States
EV USA BU                     Ross Bass                                               80538                                              USD            $       300.00      11/5/2024 PREORDER REFUND #1345-6552

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       299.57      11/5/2024 Rent Cradle Ind Med 10-17 Cyl Other

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       290.47      11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       290.16      11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       238.94      11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       238.94      11/5/2024 PROPANE INDUSTRIAL 33 CGA 510 FORKLIFT
                                                                                      557 Anita Street, Laguna Beach, CA United States
EV USA BU                     Dan Lineback                                            92651                                              USD            $       200.00      11/5/2024 PREORDER #1473-8837 AND #1839-3060
                                                                                      5400 Setter Road, Roanoke, VA United States
EV USA BU                     Kevin Solander                                          24012                                              USD            $       200.00      11/5/2024 PREORDER REFUND #1215-8368 AND 1419-0524
                                                                                      183 Filly Lane, Silverthorne, CO United States
EV USA BU                     Paul Miller                                             80498                                              USD            $       200.00      11/5/2024 PREORDER REFUND #1308-8476

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       178.89      11/5/2024 WIRE MIG ER70S-6 .035 44LB STL S

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       163.95      11/5/2024 CYLINDER RENTAL

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       163.95      11/5/2024 08/01/2024 To: 08/31/2024

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       163.95      11/5/2024 RENTAL

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       159.67      11/5/2024 Rental Period From: 06/01/2024 To: 06/30/2024

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673     USD            $       159.67      11/5/2024 CYLINDER RENTAL

EV USA BU                     Andrea Aldridge                                         PO Box 902, Garden City, GA United States 31402 USD               $       100.00      11/5/2024 PREORDER REFUND #1274-7333
EV USA BU                     Bill Caravassilis                                       88 Ida Lane, Brick, NJ United States 8724         USD             $       100.00      11/5/2024 PREORDER REFUND # 1298-4354
                                                                                      365 Pineville Road, Statesville, NC United States
EV USA BU                     Fineas Teodorovici                                      28677                                             USD             $       100.00      11/5/2024 PREORDER REFUND #1722-0493
                                                                                      1887 Lake Spider Dr, Winter Park, FL United
EV USA BU                     Gar Vance                                               States 32789                                      USD             $       100.00      11/5/2024 PREORDER REFUND #1482-7003
                                                                                      489 NW Skyline Blvd, Milwaukie, OR United States
EV USA BU                     Gordon Watt                                             97229                                             USD             $       100.00      11/5/2024 PREORDER REFUND #1794-0820
                                                                                      489 NW Skyline Blvd, Milwaukie, OR United States
EV USA BU                     Gordon Watt                                             97229                                             USD             $       100.00      11/5/2024 PREORDER REFUND #1941-1621
                                                                                      5561 Valerio Trail, San Diego, CA United States
EV USA BU                     Harish Ananthakrishnan                                  92130                                             USD             $       100.00      11/5/2024 PREORDER REFUND #3344-0127
                                                                                      1015 Figueroa Terrace #21, Los Angeles, CA
EV USA BU                     James Liu                                               United States 90012                               USD             $       100.00      11/5/2024 PREORDER REFUND #3307-8181
                                                                                      10955 N 138th Way, Scottsdale, AZ United States
EV USA BU                     Jason Taylor                                            85259                                             USD             $       100.00      11/5/2024 PREORDER REFUND #1341-0141
                                                                                      1195 Brown Street, Englewood, FL United States
EV USA BU                     Jay Atkinson                                            34224                                             USD             $       100.00      11/5/2024 PREORDER REFUND #1951-5649

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                              145 of 168
                                                                              Case 25-10099-BLS                 Doc 2             Filed 01/18/25                    Page 180 of 202


Canoo Technologies Inc.                                                                                                                 Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                       $ 6,905,729.84
                                                                                                                                            Payment       Payment
     Business Unit Name                              Supplier or Party Name                                Address                          Currency      Amount           Payment Date                                  Invoice Description
                                                                                      1 Curtis Circle, Winchester, MA United States
EV USA BU                     John Eichelberger                                       1890                                                USD          $        100.00        11/5/2024 PREORDER REFUND #1283-5105
                                                                                      75 Summit Way, San Francisco, CA United States
EV USA BU                     Jojo Ignacio                                            94132                                               USD          $        100.00        11/5/2024 PREORDER REFUND #1411-0661
                                                                                      17404 E 88th St N, Owasso, OK United States
EV USA BU                     Kyle Montgomery                                         74055                                               USD          $        100.00        11/5/2024 PREORDER REFUND #1891-9392
                                                                                      650 Chestnut St #303, San Francisco, CA United
EV USA BU                     Michael Beynart                                         States 94133                                        USD          $        100.00        11/5/2024 PREORDER REFUND #1543-9183
                                                                                      11906 Sarah St, Studio City, CA United States
EV USA BU                     Nick Moceri                                             91607                                               USD          $        100.00        11/5/2024 PREORDER REFUND #1653-4636
                                                                                      11355 E Newton Place, Tulsa, OK United States
EV USA BU                     Paul Wood                                               74116                                               USD          $        100.00        11/5/2024 PREORDER REFUND #1448-4868
                                                                                      4923 Village Oaks Drive, Roseville, CA United
EV USA BU                     Phil Haupt                                              States 95747                                        USD          $        100.00        11/5/2024 ORDER REFUND #1538-2173
EV USA BU                     R Daniel Hood                                           Refer to Payroll for Employee Address               USD          $        100.00        11/5/2024 PREORDER REFUND #1226-2164
                                                                                      17907 Homewood Avenue, Homewood, IL United
EV USA BU                     Robert Johnson                                          States 60430                                        USD          $        100.00        11/5/2024 PREORDER REFUND #1475-8039
                                                                                      6878 Zan Loop, Springdale, AR United States
EV USA BU                     Scott Mills                                             72762                                               USD          $        100.00        11/5/2024 PREORDER REFUND #1278-1155
                                                                                      3173 Carrigan Canyon Dr., Brighton, UT United
EV USA BU                     Scott Pelichoff                                         States 84109                                        USD          $        100.00        11/5/2024 PREORDER REFUND # 1273-0886
                                                                                      975 Ala Lilikoi Street #901, Honolulu, HI United
EV USA BU                     Sheldon Tatei                                           States 96818                                        USD          $        100.00        11/5/2024 PREORDER REFUND #3767-3246
                                                                                      1328 Beverly Estate Drive, Beverly Hills, CA United
EV USA BU                     Steve Jay                                               States 90210                                        USD          $        100.00        11/5/2024 PREORDER #1424-3822
                                                                                      930 Tahoe Blvd, Ste 802, PMB 568, Incline Village,
EV USA BU                     Yuriy Vasendin                                          NV United States 89451                              USD          $        100.00        11/5/2024 PREORDER REFUND #1813-9477

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673    USD            $         45.56        11/5/2024 RRCYLILG-AR - Rent Cyl Ind Large Argon

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673    USD            $        (254.49)      11/5/2024 CREDIT/DEBIT RENT ADIUST NON TAXABLE original invoice: 5506324796

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673    USD            $        (359.03)      11/5/2024 CREDIT/DEBIT RENT ADJUST NON TAXABLE ORIGINAL INVOICE 5507030982

EV USA BU                     AIRGAS USA LLC                                          PO BOX 734445, Chicago, IL United States 60673    USD            $        (458.03)      11/5/2024 CREDIT/DEBIT RENT ADJUST NON TAXABLE ORIG INVOICE 5507749179
EV USA BU                     Verizon Wireless                                        PO Box 660108, Dallas, TX United States 75266     USD            $       6,230.88       11/4/2024 Aug 27 - Sep 26 ACCT 242195789-00017
                                                                                      PO BOX 74007295, Chicago, IL United States
EV USA BU                     Toppan Merrill USA Inc                                  60674                                             USD            $       4,940.91       11/4/2024 Form S-3 Dated: December 22, 2023
                                                                                      3500 SW Corporate Parkway, Suite 206, Palm
EV USA BU                     Equisolve Inc                                           City, FL United States 34990                      USD            $       4,850.71       11/4/2024 Event Order #290045: (Aug 14, 2024) Canoo Q2 24 EarningsCall (August 14, 2024
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                              USD            $       4,533.07       11/4/2024 9/11/24 - 10/10/24 831-001-1945 259
                                                                                      PO BOX 74007295, Chicago, IL United States
EV USA BU                     Toppan Merrill USA Inc                                  60674                                             USD            $       4,242.68       11/4/2024 FORM 8-KDate Filed: April 11, 2024
                                                                                      PO BOX 74007295, Chicago, IL United States                                                        FORM S-82020 Equity Incentive Plan2020 Employee Stock Purchase PlanDate Filed:
EV USA BU                     Toppan Merrill USA Inc                                  60674                                             USD            $       2,974.14       11/4/2024 April 12, 2024
                                                                                      PO BOX 74007295, Chicago, IL United States
EV USA BU                     Toppan Merrill USA Inc                                  60674                                             USD            $       1,689.61       11/4/2024 SCHEDULE 13D/A(Amendment No. 9)Aquila TonyDate Filed: April 16, 2024
                                                                                      One AT&T Way, Bedminster, NJ United States
EV USA BU                     AT&T Corporation                                        7921                                              USD            $       1,616.14       11/4/2024 09/07/24 - 10/06/24 Acct 831-001-1779 726
                                                                                      15461 US Highway 36, Marysville, OH United
EV USA BU                     Union Rural Electric Cooperative Inc                    States 43040                                      USD            $       1,398.00       11/4/2024 09/01/24 - 10/01/24 25790 ST RT 287, DYNO BUILDING



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                   146 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 181 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                           Payment       Payment
     Business Unit Name                              Supplier or Party Name                               Address                          Currency      Amount           Payment Date                                    Invoice Description
                                                                                      3500 SW Corporate Parkway, Suite 206, Palm
EV USA BU                     Equisolve Inc                                           City, FL United States 34990                       USD          $       1,299.00       11/4/2024 Investor Relations Website - September
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $         875.82       11/4/2024 8/30/24 - 10/01/24 15520 HWY 114 BLDG 3 CHARGINGSTATION
                                                                                      15461 US Highway 36, Marysville, OH United
EV USA BU                     Union Rural Electric Cooperative Inc                    States 43040                                       USD          $        689.00        11/4/2024 09/01/24 - 10/01/24 25790 STATE RT 287
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        593.61        11/4/2024 8/30/24 - 10/01/24 15520 HWY 114 BLDG 2 STE A & B
                                                                                      PO BOX 74007295, Chicago, IL United States
EV USA BU                     Toppan Merrill USA Inc                                  60674                                              USD          $        564.98        11/4/2024 SECTION 16 FORM 4Aquila TonyDate Filed: April 16, 2024
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        491.24        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 3 STE B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        463.57        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 3 STE E
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        358.74        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 1 STE A
                                                                                      3 Waterway Square Place Ste 110, The
EV USA BU                     Waste Connections Lone Star Inc                         Woodlands, TX United States 77380                  USD          $        307.10        11/4/2024 Acct #45045067 10/01/24 - 10/31/24
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        306.70        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 2 STE E & F
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        304.98        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 3 STE C & D
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        271.23        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 2 STE C & D
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        194.68        11/4/2024 LATE FEE
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        171.32        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 1 STE B
                                                                                      PO BOX 70279, Philadelphia, PA United States
EV USA BU                     Aqua Texas Inc                                          19176                                              USD          $        166.38        11/4/2024 9/6/24 - 10/4/24 15520 H W Y 114
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $        159.76        11/4/2024 9/4/24 - 10/03/24 4461 ZARROW ST STE 2
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $        159.76        11/4/2024 9/4/24 - 10/3/24 4461 ZARROW ST STE 1
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $        135.55        11/4/2024 8/30/24 - 101/24 15520 HWY 114 BLDG 5 STE A & B
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $         71.12        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 4 STE C & D
                                                                                      15461 US Highway 36, Marysville, OH United
EV USA BU                     Union Rural Electric Cooperative Inc                    States 43040                                       USD          $         69.90        11/4/2024 LATE FEES
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $         58.71        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 5 STE E & F
                                                                                      15461 US Highway 36, Marysville, OH United
EV USA BU                     Union Rural Electric Cooperative Inc                    States 43040                                       USD          $         34.45        11/4/2024 LATE FEES
EV USA BU                     CoServ                                                  PO Box 734803, Dallas, TX United States 75373      USD          $         27.14        11/4/2024 8/30/24 - 10/1/24 15520 HWY 114 BLDG 4 STE A & B
                                                                                      PO BOX 70279, Philadelphia, PA United States
EV USA BU                     Aqua Texas Inc                                          19176                                              USD          $          0.07        11/4/2024 LATE FEE
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $          (8.88)      11/4/2024 credit per attached invoice
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                              USD          $     (14.63)          11/4/2024 credit per attached invoice
EV USA BU                     Amazon Web Services Inc                                 PO Box 84023, Seattle, WA United States 98124 USD               $ 102,291.18           11/1/2024 JUNE AWS Service Charges
                                                                                      PO BOX 511300, Los Angeles, CA United States
EV USA BU                     Anthem Blue Cross Life and Health Insurance Company     90051                                              USD          $ 100,000.00           11/1/2024 Bill Period 10/01/2024 to 11/01/2024
                                                                                      515 S Flower St Ste 2500, Baldwin Hills, CA United
EV USA BU                     Paul Hastings LLP                                       States 90071                                       USD          $ 100,000.00           11/1/2024 PH LLP Client/Matter # 100259-00001

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   91,089.29          11/1/2024 CLOUD 19951 MARINER AVETORRANCE, CA 90503
                                                                                      12221 MERIT DR, STE 1400 Dallas, TX United
EV USA BU                     CRAYON SOFTWARE EXPERTS LLC                             States 75251                                     USD            $   55,275.24          11/1/2024 Microsoft CSP OneTime T1 August2024
                                                                                      50850 Rizzo Dr, Shelby Township, MI United
EV USA BU                     Schwab Industries Inc                                   States 48315                                     USD            $   40,000.00          11/1/2024 KIRKSITE DIE STORAGE 1 YEAR

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   30,108.18          11/1/2024 Oracle Warehouse Management Enterprise Cloud Service - Payment SCH195076

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   30,108.18          11/1/2024 Oracle Warehouse Management Enterprise Cloud Service

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                             147 of 168
                                                                              Case 25-10099-BLS                 Doc 2            Filed 01/18/25                    Page 182 of 202


Canoo Technologies Inc.                                                                                                                Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                      $ 6,905,729.84
                                                                                                                                           Payment       Payment
     Business Unit Name                              Supplier or Party Name                               Address                          Currency      Amount          Payment Date                                      Invoice Description
                                                                                      Grand River Dam Authority, PO Box 669 Chouteau,
EV USA BU                     Grand River Dam Authority                               OK United States 74337                          USD             $   28,244.38         11/1/2024 Building 625 - House & 625 NORTH/SOUTH Service 9/1/2024 - 9/30/2024

EV USA BU                     Oracle America Inc                                      PO BOX 412622, Boston, MA United States 2241     USD            $   20,598.90         11/1/2024 Oracle Cloud Services
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                            USD            $       5,557.21      11/1/2024 09/2024 9528 W I 40 SERVICE RD
EV USA BU                     Amazon Web Services Inc                                 PO Box 84023, Seattle, WA United States 98124    USD            $       5,423.04      11/1/2024 AWS Service Charges May 1 - May 31 , 2024

EV USA BU                     Republic Services                                       PO BOX 713502, Chicago, IL United States 60677 USD              $       4,677.51      11/1/2024 SEPT 2024 ACCT 3-0902-0193105 19951 Mariner Ave CSA
EV USA BU                     Amazon Web Services Inc                                 PO Box 84023, Seattle, WA United States 98124 USD               $       4,676.00      11/1/2024 JUNE AWS Marketplace Charges
EV USA BU                     Amazon Web Services Inc                                 PO Box 84023, Seattle, WA United States 98124 USD               $       4,196.00      11/1/2024 AWS Marketplace Charges May 1 - May 31 , 2024
                                                                                      515 S Flower St, 45th Floor Los Angeles, CA United
EV USA BU                     TPx Communications                                      States 90071                                       USD          $       3,692.29      11/1/2024 10/01/24 10/31/24 ACCT 163775 19951 MARINER AVE
EV USA BU                     Amazon Web Services Inc                                 PO Box 84023, Seattle, WA United States 98124 USD               $       3,562.32      11/1/2024 JULY AWS Service Charges
EV USA BU                     Amazon Web Services Inc                                 PO Box 84023, Seattle, WA United States 98124 USD               $       2,983.56      11/1/2024 AWS Service Charges billing period June 1 - June 30, 2024
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                              USD          $       2,616.29      11/1/2024 Paid on behalf of Hosonitz, Angela

EV USA BU                     Republic Services                                       PO BOX 713502, Chicago, IL United States 60677   USD            $       2,109.13      11/1/2024 10/1-10/31 ACCT 3-0902-0193268 19951 Mariner Ave CSA
                                                                                      Charter Communications, PO BOX 6030 Carol
EV USA BU                     Spectrum Business                                       Stream, IL United States 60197                   USD            $       2,034.00      11/1/2024 10/6/24 - 11/5/24 ACCT 188475101 19951 MARINER AVE
                                                                                      Charter Communications, PO BOX 6030 Carol
EV USA BU                     Spectrum Business                                       Stream, IL United States 60197                   USD            $       2,019.00      11/1/2024 10/6/24 - 11/5/24 ACCT 133793901 25790 STATE ROUTE 287

EV USA BU                     Republic Services                                       PO BOX 713502, Chicago, IL United States 60677 USD              $        665.43       11/1/2024 SEPT 2024 ACCT 3-0060-0105863 9528 W I 40 Service Rd
                                                                                      5637 N. Classen Blvd., Attn: Jennifer Ikeler
EV USA BU                     Clearwater Enterprises LLC                              Oklahoma City, OK United States 73118            USD            $        594.09       11/1/2024 09/24 1ONG Pipeline 840 S Morgan Rd
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                            USD            $        161.54       11/1/2024 9/4/24 - 10/3/24 4461 ZARROW ST STE 4
                                                                                      PO BOX 219296, Kansas City, MO United States
EV USA BU                     Oklahoma Natural Gas                                    64121                                            USD            $        161.54       11/1/2024 9/4/24 - 10/3/24 4461 ZARROW ST STE 3
EV USA BU                     Pryor Waste & Recycling                                 PO BOX 806, Pryor, OK United States 74362        USD            $         58.50       11/1/2024 10/1/24 2YD 1 X WK 10/01-10/31
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   99,500.00        10/31/2024 SEPT 2024 CANOO TECH DEPARTMENT CARD
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   29,030.15        10/31/2024 Paid on behalf of Patel, Nitin
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   24,221.95        10/31/2024 Paid on behalf of LaBoube, Jacqueline

                                                                                      Building 108 Bicester Heritage, Buckingham Road                                                 Office Licence - as per agreement Canoo_x_Bicester_Motion_License_(BIC14677)
EV USA BU                     Historit Ltd                                            Bicester, Oxfordshire United Kingdom OX27 8AL    GBP            $   22,781.00        10/31/2024 October 2024
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   19,169.70        10/31/2024 Paid on behalf of Andrade, Francisca
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   15,583.89        10/31/2024 Paid on behalf of Andrade, Francisca
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   12,408.71        10/31/2024 Paid on behalf of chebaa, zakary
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   10,419.39        10/31/2024 Paid on behalf of Briggs, Cyle
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   10,198.39        10/31/2024 Paid on behalf of Briggs, Cyle
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD            $   10,064.58        10/31/2024 Paid on behalf of Phillips, Tyler

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                               148 of 168
                                                                              Case 25-10099-BLS                Doc 2           Filed 01/18/25                     Page 183 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                         Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency       Amount          Payment Date                                      Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       8,935.58     10/31/2024 Paid on behalf of Trestrail, Andy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       8,869.91     10/31/2024 Paid on behalf of Daigle, Craig
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       8,776.83     10/31/2024 Paid on behalf of Hwang, Peter
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       8,540.54     10/31/2024 Paid on behalf of Hwang, Peter
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       8,537.38     10/31/2024 Paid on behalf of Chott, Joey
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       7,460.56     10/31/2024 Paid on behalf of Farbowich, Kevin
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       7,416.46     10/31/2024 Paid on behalf of Honeyman, Patrick
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       7,236.71     10/31/2024 Paid on behalf of Balan, David
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,406.20     10/31/2024 Paid on behalf of COE, ZACHARY
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,368.44     10/31/2024 Paid on behalf of Summers, Aron
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,263.93     10/31/2024 Paid on behalf of Hayes, Monty
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,156.42     10/31/2024 Paid on behalf of Ruiz, Hector
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,084.74     10/31/2024 Paid on behalf of Heraldez, Ariel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       6,042.19     10/31/2024 Paid on behalf of Patel, Nitin
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       5,802.63     10/31/2024 Paid on behalf of chebaa, zakary
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       5,770.33     10/31/2024 Paid on behalf of Dey, Felix
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       5,505.12     10/31/2024 Paid on behalf of Dotson, Cody
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       5,495.81     10/31/2024 Paid on behalf of Spengler, Jeremy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       5,174.52     10/31/2024 Paid on behalf of Wright, Jimy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,922.19     10/31/2024 Paid on behalf of carter, colby
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,856.81     10/31/2024 Paid on behalf of Hopkins, Craig
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,672.95     10/31/2024 Paid on behalf of Patino, Kalob
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,611.18     10/31/2024 Paid on behalf of Chott, Matthew
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,572.73     10/31/2024 Paid on behalf of Herchenroeder, Andrew
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,485.37     10/31/2024 Paid on behalf of Spengler, Jeremy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,444.41     10/31/2024 Paid on behalf of Allbee, Robert



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                 149 of 168
                                                                              Case 25-10099-BLS                Doc 2           Filed 01/18/25                     Page 184 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                         Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency       Amount          Payment Date                                      Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,118.63     10/31/2024 Paid on behalf of Chott, Ted
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       4,103.05     10/31/2024 Paid on behalf of Graichen, Courtney
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,951.66     10/31/2024 Paid on behalf of Trestrail, Andy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,922.90     10/31/2024 Paid on behalf of Golden, Lonnie
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,877.09     10/31/2024 Paid on behalf of Wolff, Jon
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,792.13     10/31/2024 Paid on behalf of Patel, Yash
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,759.25     10/31/2024 Paid on behalf of Bhalla, Kunal
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,692.17     10/31/2024 Paid on behalf of Bourne, Tom
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,660.05     10/31/2024 Paid on behalf of YAPP, NOLEN
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,604.47     10/31/2024 Paid on behalf of Patel, Yash
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,595.91     10/31/2024 Paid on behalf of Zaddock, Brent
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,548.76     10/31/2024 Paid on behalf of chebaa, zakary
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,538.82     10/31/2024 Paid on behalf of Murthy, Ramesh
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,470.12     10/31/2024 Paid on behalf of Heraldez, Ariel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,416.24     10/31/2024 Paid on behalf of COE, ZACHARY
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,394.25     10/31/2024 Paid on behalf of DIXON, SCOTT
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,093.93     10/31/2024 Paid on behalf of Ethridge, Greg
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,093.16     10/31/2024 Paid on behalf of Rios, Tony
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,073.76     10/31/2024 Paid on behalf of sambandam, sakthi
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       3,069.73     10/31/2024 Paid on behalf of Fletcher, Randy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,998.08     10/31/2024 Paid on behalf of Stoddard, Mike
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,985.74     10/31/2024 Paid on behalf of Claywell, Joseph
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,948.31     10/31/2024 Paid on behalf of sambandam, sakthi
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,923.19     10/31/2024 Paid on behalf of Webb, Bradford
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,916.40     10/31/2024 Paid on behalf of Youngblood, John
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,899.55     10/31/2024 Paid on behalf of Bhalla, Kunal



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                 150 of 168
                                                                              Case 25-10099-BLS                Doc 2           Filed 01/18/25                     Page 185 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                         Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency       Amount          Payment Date                                      Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,892.68     10/31/2024 Paid on behalf of Patino, Kalob
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,882.16     10/31/2024 Paid on behalf of Wolff, Jon
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,856.55     10/31/2024 Paid on behalf of Claywell, Joseph
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,853.91     10/31/2024 Paid on behalf of Khasawneh, Bashar
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,852.83     10/31/2024 Paid on behalf of Olandese, Nathaniel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,851.82     10/31/2024 Paid on behalf of Phillips, Tyler
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,803.83     10/31/2024 Paid on behalf of Daigle, Craig
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,723.43     10/31/2024 Paid on behalf of Herrera, Sonia
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,556.73     10/31/2024 Paid on behalf of Khasawneh, Bashar
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,553.52     10/31/2024 Paid on behalf of Pramod, Ram
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,521.68     10/31/2024 Paid on behalf of Merchant, Sohel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,507.65     10/31/2024 Paid on behalf of Han, Daniel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,471.42     10/31/2024 Paid on behalf of Lesicko, Garit
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,406.71     10/31/2024 Paid on behalf of carter, colby
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,384.18     10/31/2024 Paid on behalf of Smith, Nathan
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,309.01     10/31/2024 Paid on behalf of DeFrees, Brooks
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,298.97     10/31/2024 Paid on behalf of Mattson, John
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,246.19     10/31/2024 Paid on behalf of LaBoube, Jacqueline
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,242.55     10/31/2024 Paid on behalf of Patil, Kiran
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,212.55     10/31/2024 Paid on behalf of WACHTER, DAVID
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       2,157.39     10/31/2024 Paid on behalf of Herrera, Sonia
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,953.10     10/31/2024 Paid on behalf of Paz, Ernest
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,876.36     10/31/2024 Paid on behalf of Balan, David
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,794.90     10/31/2024 Paid on behalf of Rose, Eric
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,770.08     10/31/2024 Paid on behalf of Behmer, Alwyn
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,758.75     10/31/2024 Paid on behalf of Casillas, Jose



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                 151 of 168
                                                                              Case 25-10099-BLS                Doc 2           Filed 01/18/25                     Page 186 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                         Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency       Amount          Payment Date                                       Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,735.02     10/31/2024 Paid on behalf of Youngblood, John
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,710.20     10/31/2024 Paid on behalf of Dey, Felix
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,689.04     10/31/2024 Paid on behalf of Wolff, Jon
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,686.52     10/31/2024 Paid on behalf of Herrera, Sonia
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,655.58     10/31/2024 Paid on behalf of TORRELLA, CHRISTOPHER
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,640.16     10/31/2024 Paid on behalf of Masters, William
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,632.93     10/31/2024 Paid on behalf of Rodríguez Guerrero, Edgardo
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,625.36     10/31/2024 Paid on behalf of Masters, William
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,590.23     10/31/2024 Paid on behalf of King, Stephen
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,536.54     10/31/2024 Paid on behalf of Mattson, John
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,518.08     10/31/2024 Paid on behalf of Hendricks III, Clive
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,429.75     10/31/2024 Paid on behalf of Paz, Ernest
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,385.06     10/31/2024 Paid on behalf of Patil, Kiran
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,380.00     10/31/2024 Paid on behalf of Golden, Lonnie
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,376.45     10/31/2024 Paid on behalf of Chott, Ted
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,359.06     10/31/2024 Paid on behalf of Hooper, Kyle
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,351.96     10/31/2024 Paid on behalf of Laplante, Patrick
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,296.24     10/31/2024 Paid on behalf of Graichen, Courtney
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,294.21     10/31/2024 Paid on behalf of Chandler, Joshua
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,209.44     10/31/2024 Paid on behalf of Buice, Austin
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,209.02     10/31/2024 Paid on behalf of Kaskin, Gordon
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,092.60     10/31/2024 Paid on behalf of Dickhoff, Christopher
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,089.73     10/31/2024 Paid on behalf of Zaddock, Brent
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       1,058.14     10/31/2024 Paid on behalf of Ezeugwa, Alex
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        962.39      10/31/2024 Paid on behalf of ELACHKAR, PAUL
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        905.36      10/31/2024 Paid on behalf of Dickhoff, Christopher



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                  152 of 168
                                                                              Case 25-10099-BLS                Doc 2           Filed 01/18/25                   Page 187 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                         Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency       Amount        Payment Date                                       Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       895.07     10/31/2024 Paid on behalf of WACHTER, DAVID
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       869.69     10/31/2024 Paid on behalf of Elias, Tony
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       816.96     10/31/2024 Paid on behalf of Pramod, Ram
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       800.88     10/31/2024 Paid on behalf of Murthy, Ramesh
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       737.76     10/31/2024 Paid on behalf of Chandler, Joshua
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       694.78     10/31/2024 Paid on behalf of Ethridge, Greg
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       673.96     10/31/2024 Paid on behalf of Hale, Victor
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       671.98     10/31/2024 Paid on behalf of Rao, Mohan
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       667.33     10/31/2024 Paid on behalf of Mitchell, Christopher
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       599.16     10/31/2024 Paid on behalf of Portell, Scott
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       592.67     10/31/2024 Paid on behalf of Webb, Bradford
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       579.62     10/31/2024 Paid on behalf of Bauer, Eric
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       566.01     10/31/2024 Paid on behalf of Raveendranath, Rajeevnath
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       559.44     10/31/2024 Paid on behalf of Burdick, Misty
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       534.42     10/31/2024 Paid on behalf of Beatty, Scott
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       531.95     10/31/2024 Paid on behalf of Raveendranath, Rajeevnath
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       495.71     10/31/2024 Paid on behalf of Gowrishankar, Vignesh
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       483.73     10/31/2024 Paid on behalf of Barrera, Anthony
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       456.85     10/31/2024 Paid on behalf of Ramirez, Omar
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       403.74     10/31/2024 Paid on behalf of Juarez, David
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       396.13     10/31/2024 Paid on behalf of WACHTER, DAVID
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       383.46     10/31/2024 Paid on behalf of Echeverri, Jhon
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       377.33     10/31/2024 Paid on behalf of Hayes, Monty
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       365.86     10/31/2024 Paid on behalf of Burdick, Misty
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       312.89     10/31/2024 Paid on behalf of Laplante, Patrick
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       276.77     10/31/2024 Paid on behalf of COLEMAN, RADCLIFFE



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                153 of 168
                                                                              Case 25-10099-BLS                Doc 2           Filed 01/18/25                   Page 188 of 202


Canoo Technologies Inc.                                                                                                               Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                     $ 6,905,729.84
                                                                                                                                         Payment        Payment
     Business Unit Name                              Supplier or Party Name                               Address                        Currency       Amount        Payment Date                                      Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       237.91     10/31/2024 Paid on behalf of COLEMAN, RADCLIFFE
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       204.71     10/31/2024 Paid on behalf of Casillas, Jose
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       204.68     10/31/2024 Paid on behalf of sambandam, sakthi
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       193.30     10/31/2024 Paid on behalf of Brogan, Cian
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       163.01     10/31/2024 Paid on behalf of Gonzalez, Leo
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       160.81     10/31/2024 Paid on behalf of Urbahn, Jan
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       155.63     10/31/2024 Paid on behalf of Beatty, Shane
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       150.00     10/31/2024 Paid on behalf of Esquivel, Israel
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       149.30     10/31/2024 Paid on behalf of Kostohryz, Scott
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       148.50     10/31/2024 Paid on behalf of cole, aaron
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       144.74     10/31/2024 Paid on behalf of DeFrees, Brooks
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       137.33     10/31/2024 Paid on behalf of Carney, JT
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       132.54     10/31/2024 Paid on behalf of SALINAS, CHRISTOPHER
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       127.12     10/31/2024 Paid on behalf of Bhalla, Kunal
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       114.34     10/31/2024 Paid on behalf of Hosonitz, Angela
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $       114.23     10/31/2024 Paid on behalf of Menezes, Leonardo
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        96.02     10/31/2024 Paid on behalf of Spengler, Jeremy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        85.72     10/31/2024 Paid on behalf of Ranjan, Amit
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        71.53     10/31/2024 Paid on behalf of Dotson, Cody
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        68.98     10/31/2024 Paid on behalf of YAPP, NOLEN
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        68.95     10/31/2024 Paid on behalf of Boyett, Corey
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        65.55     10/31/2024 Paid on behalf of Wright, Jimy
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        49.46     10/31/2024 Paid on behalf of REYES, NICOLAS
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        47.34     10/31/2024 Paid on behalf of REYES, NICOLAS
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        43.08     10/31/2024 Paid on behalf of Salas, Alejandro
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD           $        41.64     10/31/2024 Paid on behalf of Echeverri, Jhon



Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                               154 of 168
                                                                              Case 25-10099-BLS                   Doc 2             Filed 01/18/25                        Page 189 of 202


Canoo Technologies Inc.                                                                                                                       Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                             $ 6,905,729.84
                                                                                                                                                Payment         Payment
     Business Unit Name                              Supplier or Party Name                                 Address                             Currency        Amount           Payment Date                                        Invoice Description
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         39.10       10/31/2024 Paid on behalf of Ranjan, Amit
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         30.29       10/31/2024 Paid on behalf of Lopez, Roberto
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         25.94       10/31/2024 Paid on behalf of Chott, Matthew
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         20.51       10/31/2024 Paid on behalf of Pantazi, Michael
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         14.99       10/31/2024 Paid on behalf of Beatty, Shane
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         13.84       10/31/2024 Paid on behalf of Camacho, Sergio
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         11.00       10/31/2024 Paid on behalf of Morales, Rodolfo
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $         10.00       10/31/2024 Paid on behalf of Allbee, Robert
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $        (200.00)     10/31/2024 Paid on behalf of Smith, Sarah
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $        (266.97)     10/31/2024 Paid on behalf of Brogan, Cian
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $        (752.22)     10/31/2024 Paid on behalf of Brogan, Cian
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $        (763.25)     10/31/2024 Paid on behalf of Chott, Joey
                                                                                      3003 Tasman Drive, Santa Clara, CA United States
EV USA BU                     Silicon Valley Bank                                     95054                                            USD                   $    (1,832.16)       10/31/2024 Paid on behalf of Smith, Nathan

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD                    $       1,500.00      10/30/2024 I-129 ACWIA / BAGADI, NANDANSHRI

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD                    $       1,500.00      10/30/2024 I-129 ACWIA / PATIL, MAHESH

                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste
EV USA BU                     US Department of Homeland Security                      3001-236 West Covina, CA United States 91791    USD                    $       1,500.00      10/30/2024 I-129 ACWIA, VEDANTAM, SAI ANITHA KIRON
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $       1,500.00     10/30/2024    I-129 ACWIA - NIRAULA, Manish
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $       1,500.00     10/30/2024    I-129 ACWIA / CHAHVAN, KARTIK
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         780.00     10/30/2024    I-129 / PATIL, MAHESH
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         780.00     10/30/2024    I-129 / VEDANTAM, SAI ANITHA KIRON
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         780.00     10/30/2024    I-129 / BAGADI, NANDANSHRI
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         780.00     10/30/2024    I-129- NIRAULA, Manish
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         780.00     10/30/2024    I-129 / CHAHVAN, KARTIK
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         600.00     10/30/2024    H-1B ASYLUM FEE / BAGADI, NANDANSHRI
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         600.00     10/30/2024    H-1B ASYLUM FEE / PATIL, MAHESH
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                             236 West Covina, CA United States 91791          USD            $         600.00     10/30/2024    H-1B ASYLUM FEE / VEDANTAM, SAI ANITHA KIRON


Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                            155 of 168
                                                                              Case 25-10099-BLS                     Doc 2              Filed 01/18/25                         Page 190 of 202


Canoo Technologies Inc.                                                                                                                          Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                                $ 6,905,729.84
                                                                                                                                                   Payment         Payment
     Business Unit Name                              Supplier or Party Name                                    Address                             Currency        Amount            Payment Date                                          Invoice Description
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                              236 West Covina, CA United States 91791            USD            $         600.00      10/30/2024    H-1B Asylum Fee - NIRAULA, Manish
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                              236 West Covina, CA United States 91791            USD            $          600.00     10/30/2024    H-1B ASYLUM FEE - CHAHVAN, KARTIK
EV USA BU                     Paguzzi Inc                                                       Refer to Payroll for Employee Address            USD            $        4,450.00     10/29/2024    LDV190 Grab Handles
EV USA BU                     Eric Dahl                                                         Refer to Payroll for Employee Address            USD            $        1,691.98     10/29/2024    Initial travel package to Texas/OKC locations
                                                                                      2F, 3rd Bldg Jinyuda Industrial Park, Shangliao Business
EV USA BU                     Shenzhen LT Century Prototype Co Ltd                             Rd., Shajing, Shenzhen, China 518125              USD            $        1,647.04     10/29/2024    PREPAYMENT FOR PO 00017176
EV USA BU                     Aqua Texas Inc                                           PO BOX 70279, Philadelphia, PA United States 19176        USD            $          157.64     10/29/2024    08/06/24 - 09/06/24 15520 HWY 114
                                                                                      1 Princeton Mews, 167-169 London Road Kingston Upon
EV USA BU                     M & N Group Limited                                             Thames, Surrey United Kingdom KT2 6PT              GBP            $          114.00     10/29/2024    Registered Office Facility - 1 Princeton Mews (15 August 2024 - 31 December 2024)
EV USA BU                     Joseph Claywell                                                   Refer to Payroll for Employee Address            USD            $           57.35     10/29/2024    California trip
EV USA BU                     Aqua Texas Inc                                           PO BOX 70279, Philadelphia, PA United States 19176        USD            $           (0.07)    10/29/2024    credit per attached invoice
EV USA BU                     Paguzzi Inc                                                       Refer to Payroll for Employee Address            USD            $       (4,450.00)    10/29/2024    credit from overpayment
EV USA BU                     Aiman Siddique                                                    Refer to Payroll for Employee Address            USD            $        4,834.43     10/28/2024    Packing HV lab
EV USA BU                     City of Bentonville                                      1000 SW 14th St, Bentonville, AR United States 72712      USD            $        3,660.42     10/28/2024    08/16/24 - 09/16/24 4700 SW REGIONAL AIRPORT BLVD M
EV USA BU                     Craig Yarbrough                                           58 Paseo Aragon, Jaconita, NM United States 87506        USD            $        2,322.91     10/28/2024    Torrance Move Prep/KT with Jesse Cabral
                                                                                        100 N Walker Ave, Ste 200 Oklahoma City, OK United
EV USA BU                     Oklahoma CityWater Utilities & Trust DBA OCWUT                                States 73102                         USD            $        1,668.33     10/28/2024    8/30/24 - 10/01/24 724 S MORGAN RD
EV USA BU                     Greg Ethridge                                                     Refer to Payroll for Employee Address            USD            $        1,500.00     10/28/2024    Cash reimbursement expense
EV USA BU                     Kunal Bhalla                                             19951 Mariner Ave, Torrance, CA United States 90503       USD            $          708.28     10/28/2024    Refund for lodging in Baku paid by personal CC-During Corporate card issues
                                                                                         10621 Enchanted Rock Way, Fort Worth, TX United
EV USA BU                     Jon Kerns                                                                     States 76126                         USD            $         589.96      10/28/2024    Vehicle Event at UC Davis - October 20-23
                                                                                        9211 n Council Rd, Oklahoma City, OK United States
EV USA BU                     Siddharth Das                                                                      73132                           USD            $         369.06      10/28/2024    Justin Calibration Trip
EV USA BU                     Craig Daigle                                                      Refer to Payroll for Employee Address            USD            $         333.89      10/28/2024    October Expenses
EV USA BU                     Patrick Laplante                                                  Refer to Payroll for Employee Address            USD            $         308.67      10/28/2024    Personal Credit Card Expenses
EV USA BU                     Patrick Honeyman                                                  Refer to Payroll for Employee Address            USD            $         173.67      10/28/2024    Misc material needed while cards were off
EV USA BU                     Dave Singh                                                        Refer to Payroll for Employee Address            USD            $         164.47      10/28/2024    S24 Sept 17-Oct 4th, 2024
EV USA BU                     Dave Singh                                                        Refer to Payroll for Employee Address            USD            $           9.89      10/28/2024    Sept 24-Oct 5th Summer Builds
                                                                                      25329 Budde Rd, Building 8 Ste 802 The Woodlands, TX
EV USA BU                     Cargo Link Express                                                         United States 77380                     USD            $       18,000.00     10/24/2024    Door to Door
                                                                                         25 The Walk Potters Bar, Potters Bar, Hertfordshire                                                        Working with the team arranging vehicle logistics, setting up and attending meetings with
EV USA BU                     DJ Shepherd Advisory Services Ltd                                       United Kingdom EN6 1QG                     GBP            $       12,000.00     10/24/2024    customers on site and via Teams. Meetings with LKQ, CapHpi and LKQ
                                                                                       Attention Paul Kirby, 28 Rye Cresccent Cople Bedford,
EV USA BU                     EV Essentials Ltd                                                Bedfordshire United Kingdom MK44 3TJ              GBP            $        6,000.00     10/24/2024    Consultancy - Help and support for business development of products proposition and pipeline
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                              236 West Covina, CA United States 91791            USD            $         780.00      10/24/2024    I-129 / YANJUN, FENG
                                                                                      Accel Visa Attorneys PC, 2648 E Workman Ave Ste 3001-
EV USA BU                     US Department of Homeland Security                              236 West Covina, CA United States 91791            USD            $          600.00     10/24/2024    H-1B ASYLUM FEE / YANJUN, FENG
EV USA BU                     Andrew Herchenroeder                                       424 SW 24TH ST, El Reno, OK United States 73036         USD            $        3,000.00     10/23/2024    TRAVEL ADVANCE 10.21.24
                                                                                        5208 Lake Grove Dr, Grand Prairie, TX United States
EV USA BU                     Nicholas Wade                                                                      75052                           USD            $        3,000.00     10/23/2024    TRAVEL ADVANCE 10.21.24
                                                                                        PNC Bank C/O Ernst & Young US LLP, 3712 Solutions                                                           Advance installment billing for the quarter ended June 30, 2024 related to financial reporting
EV USA BU                     Ernst & Young LLP                                                Center Chicago, IL United States 60677            USD            $       40,000.00     10/22/2024    support. Installment2
                                                                                         Unit 2, 106 Hawley Lane, Farnborough, Hampshire                                                            CANOO EV VEHICLES LDV130 & LDV190. (to be wrapped in Royal Mail red, with RM EV Fleet
EV USA BU                     FPLUK Freight Products UK LTD                                           United Kingdom GU14 8JE                    GBP            $        5,544.00     10/22/2024    branding graphics and Canoo logo and QR Code)
                                                                                         130 Private Road 3472, Paradise, TX United States
EV USA BU                     Ted Chott                                                                          76073                           USD            $        3,000.00     10/22/2024    TRAVEL ADVANCE 10.21.24
                                                                                         19614 E 49th PL S, Broken Arrow, OK United States
EV USA BU                     Michael Stough                                                                     74014                           USD            $        1,877.90     10/22/2024    Trip to TOR
EV USA BU                     Austin Buice                                                609 Tiller Way, Acworth, GA United States 30102        USD            $          500.00     10/22/2024    TRAVEL ADVANCE 10.22.24
                                                                                         19614 E 49th PL S, Broken Arrow, OK United States
EV USA BU                     Michael Stough                                                                     74014                           USD            $         489.55      10/22/2024    Trip to OKC
EV USA BU                     Aniruddha Joshi                                                   Refer to Payroll for Employee Address            USD            $          82.62      10/22/2024    Sept 2024 Expense Report - OKC Support Visit

EV USA BU                     Infinite Equity Inc                                     3663 Folsom St, San Francisco, CA United States 94110 USD                 $       45,500.00     10/21/2024    ESPP Valuation 10-2-2023 ESPP Valuation

EV USA BU                     Infinite Equity Inc                                     3663 Folsom St, San Francisco, CA United States 94110 USD                 $       20,000.00     10/21/2024    Preferred Stock Conversion Feature Valuation
EV USA BU                     Monty Hayes                                                      Refer to Payroll for Employee Address        USD                 $        5,568.36     10/21/2024    California Trip - 09/08/24 -09/21/24 - Leadership onsite to Support Move

Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                                             156 of 168
                                                                               Case 25-10099-BLS                   Doc 2               Filed 01/18/25                     Page 191 of 202


Canoo Technologies Inc.                                                                                                                       Form 207 - Exhibit Q
Share folder reference:       1.17
Form Reference:               Form 207 Part 2
                              Payments or transfers to Creditors - 90 days
                                                                                                                                                             $ 6,905,729.84
                                                                                                                                                Payment         Payment
     Business Unit Name                               Supplier or Party Name                                  Address                           Currency        Amount          Payment Date                                         Invoice Description
EV USA BU                     Amir Ranjbar                                                     Refer to Payroll for Employee Address          USD            $     3,417.72      10/21/2024 Travel to LA - eTote and Move
                                                                                                                                                                                             California Trip - 092424 - 092824 - Provide Leadership Onsite and Coordinate Move from Torrance
EV USA BU                     Monty Hayes                                                      Refer to Payroll for Employee Address          USD            $       2,342.27    10/21/2024 to Oklahoma City, Justin and Marysville
                                                                                         5871 East Mountain Loop Trail, Anaheim, CA United
EV USA BU                     Gareth Lee                                                                   States 92807                       USD            $       2,010.90    10/21/2024    OKC visit for on-boarding + Investor tour
EV USA BU                     DAVID PIERCE                                                     Refer to Payroll for Employee Address          USD            $       1,962.73    10/21/2024    Torrance Trip
EV USA BU                     Monty Hayes                                                      Refer to Payroll for Employee Address          USD            $       1,890.06    10/21/2024    California Trip - September 3 - 7,2024
                                                                                       432 S Washington Ave Unit 1501, Royal Oak, MI United
EV USA BU                     Amit Ranjan                                                                  States 48067                       USD            $       1,633.28    10/21/2024    OKC Trip_0916-0920 (Investor visit support)
EV USA BU                     Nandan Bagadi                                                    Refer to Payroll for Employee Address          USD            $       1,605.11    10/21/2024    LDV300 calibration @Texas
EV USA BU                     William Vetter                                                   Refer to Payroll for Employee Address          USD            $       1,338.33    10/21/2024    OK State Supplier Expo
EV USA BU                     Nate Rutter                                                      Refer to Payroll for Employee Address          USD            $       1,264.14    10/21/2024    LDV300 Driveability Calibration - Justin, TX
                                                                                         6512 Brentwood Villas Dr, Unit A Oklahoma City, OK
EV USA BU                     Brent Zaddock                                                             United States 73169                   USD            $        834.06     10/21/2024    August Expenses
EV USA BU                     TAYLOR KIRBY                                                     Refer to Payroll for Employee Address          USD            $        826.37     10/21/2024    Torrance Trip
                                                                                         10621 Enchanted Rock Way, Fort Worth, TX United
EV USA BU                     Jon Kerns                                                                    States 76126                       USD            $        755.69     10/21/2024    LDV 130 to Sonic Healthcare and JB Hunt
EV USA BU                     Iliya Bridan                                                     Refer to Payroll for Employee Address          USD            $        676.24     10/21/2024    re
EV USA BU                     Dave Singh                                                       Refer to Payroll for Employee Address          USD            $        629.95     10/21/2024    Summer Projects Sept 17-26
EV USA BU                     Greg Ethridge                                                    Refer to Payroll for Employee Address          USD            $        624.09     10/21/2024    Justin Office Lunch
EV USA BU                     Craig Daigle                                                     Refer to Payroll for Employee Address          USD            $        538.83     10/21/2024    September Expenses
EV USA BU                     Greg Ethridge                                                    Refer to Payroll for Employee Address          USD            $        515.05     10/21/2024    NYC Investor Trips
EV USA BU                     Dave Singh                                                       Refer to Payroll for Employee Address          USD            $        319.60     10/21/2024    S24 Travel Flight Change
EV USA BU                     Felix Haeusler                                           19951 Mariner Ave, Torrance, CA United States 90503    USD            $        255.94     10/21/2024    sign off Vin 10/11 in Justin 9/30
EV USA BU                     Felix Haeusler                                           19951 Mariner Ave, Torrance, CA United States 90503    USD            $        255.94     10/21/2024    support summer build Vin 10/11 sep 2024
EV USA BU                     Marc Maroncelli                                                  Refer to Payroll for Employee Address          USD            $        225.12     10/21/2024    ldv190 1t drive eval
EV USA BU                     Shane Beatty                                                     Refer to Payroll for Employee Address          USD            $        216.41     10/21/2024    Travel mileage
EV USA BU                     Cale Bacon                                                       Refer to Payroll for Employee Address          USD            $        213.73     10/21/2024    For Lunch and Maintenance
EV USA BU                     Daniel Han                                                       Refer to Payroll for Employee Address          USD            $        156.03     10/21/2024    (blank)
EV USA BU                     Kunal Bhalla                                             19951 Mariner Ave, Torrance, CA United States 90503    USD            $        133.20     10/21/2024    Refund for Cash and personal CC Transportation payments
EV USA BU                     Cale Bacon                                                       Refer to Payroll for Employee Address          USD            $        101.30     10/21/2024    Travel to Bentonville for Maintenance
EV USA BU                     Mohan Ramamurthy                                                 Refer to Payroll for Employee Address          USD            $         97.11     10/21/2024    Team lunch - LV Electronics group.
EV USA BU                     David Balan                                                      Refer to Payroll for Employee Address          USD            $         68.43     10/21/2024    August
EV USA BU                     Cale Bacon                                                       Refer to Payroll for Employee Address          USD            $         62.55     10/21/2024    Parts needed for rebuild
EV USA BU                     Gabriel Shyu                                                     Refer to Payroll for Employee Address          USD            $         47.59     10/21/2024    (blank)
EV USA BU                     David Balan                                                      Refer to Payroll for Employee Address          USD            $         45.76     10/21/2024    September
EV USA BU                     Garrett Andrews                                           28733 Eridanus Dr, Sun City, CA United States 92586   USD            $         30.00     10/21/2024    BYOD September
EV USA BU                     Kevin Farbowich                                                  Refer to Payroll for Employee Address          USD            $         30.00     10/21/2024    september verizon bill
EV USA BU                     Rutuja Shivarkar                                                 Refer to Payroll for Employee Address          USD            $         30.00     10/21/2024    Phone Bill - Sept 2024
EV USA BU                     Scott Kostohryz                                                  Refer to Payroll for Employee Address          USD            $         30.00     10/21/2024    August Phone ATT
EV USA BU                     Digvijay Odhekar                                                 Refer to Payroll for Employee Address          USD            $         26.04     10/21/2024    Phone_September_2024
EV USA BU                     Alejandro Flores Cano                                            Refer to Payroll for Employee Address          USD            $         25.00     10/21/2024    Phone Expense Report (Month 2 of 3)
EV USA BU                     Omar Ramirez                                                     Refer to Payroll for Employee Address          USD            $         19.29     10/21/2024    damage prevention project
EV USA BU                     Yash Patel                                                       Refer to Payroll for Employee Address          USD            $         11.59     10/21/2024    Texas Support




Exhibit Q - Pmts 90 days 011725                                                                                                                                                                                                                                                   157 of 168
                                                         Case 25-10099-BLS                              Doc 2          Filed 01/18/25              Page 192 of 202


Canoo Technologies Inc.                                                                                                Form 207 - Exhibit R
Share folder reference:                1.18
Form Reference:                        Form 207 Part 2
                                       Payments - Insider Payments
                                                                                                                                         6,003,495
              Supplier or Party Name                                        Address                                      Payment    Payment Amount Payment Date                                  Invoice Description
                                                                                                                         Currency
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                      1,029     1/8/2025 Refund for Airfare, Lodging and Taxi paid by personal CC
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                         44     1/8/2025 Refund for Taxi payment by Personal CC
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                      1,003     1/3/2025 Refund for Lodging and Airfare-12,20,2024
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                        912     1/3/2025 Refund for Airfares Paid by Personal Credit Card
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                        102     1/3/2025 Refund for transportation payments by personal CC
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                         88     1/3/2025 Refund for Transportation Payments on Personal CC
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                    105,339   11/15/2024 Canoo Expenses - Executive Expense Reimbursement
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                         66   11/15/2024 Refund for Cell Phone International Day Pass
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                         36   11/15/2024 Refund for International day pass during Baku travel
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                        708   10/28/2024 Refund for lodging in Baku paid by personal CC-During Corporate card issues
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                        133   10/21/2024 Refund for Cash and personal CC Transportation payments
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                        397    10/3/2024 Reimbursement for transportation and meals Expenses paid by Personal CC-Related
                                                                                                                                                                   to the earnings
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                         40    10/3/2024 Refund of payment made by transaction via bank account
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                         85    9/18/2024 Refund for payment on Kunal Personal CC
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                      1,584    8/30/2024 Refund forTravel and Lodging Expense's Paid by personal CC
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     47,807    8/15/2024 Rent (08/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      7,225    8/15/2024 Rent (08/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      4,579    8/15/2024 CAM (08/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      4,152    8/15/2024 Sign (08/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      2,421    8/15/2024 Insurance (08/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      2,071    8/15/2024 Property Tax (08/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      1,701    8/15/2024 Parking (08/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,630    8/15/2024 CAM (08/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,483    8/15/2024 Property Tax (08/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,364    8/15/2024 Coserv 5/30-7/1
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      1,295    8/15/2024 Belwave 8/1-8/31
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,110    8/15/2024 Coserv 4/30-5/30
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        735    8/15/2024 Insurance (08/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                        530    8/15/2024 Trash 7/1-7/31
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        420    8/15/2024 Equipment (08/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        217    8/15/2024 Belwave 8/1-/30
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                        156    8/15/2024 CoServ 5/30-7/1
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                         71    8/15/2024 CoServ 5/30-7/1
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                         57    8/15/2024 Aqua 4/30-5/30
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                         56    8/15/2024 Aqua 6/24-7/6
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                    125,000     8/9/2024 Board Fee: 2Q24
Thomas Dattilo                         1983 Beach Ave, Atlantic Beach, FL United States 32233                          USD                      1,097     8/7/2024 OKC - DTW BOARD MEMBER FLIGHT
Thomas Dattilo                         1983 Beach Ave, Atlantic Beach, FL United States 32233                          USD                     48,750     8/2/2024 Q2 2024 BOARD FEES
Debra L von Storch                     4713 Behrens Court, Colleyville, TX United States 76034                         USD                     32,500     8/2/2024 Q2 2024 BOARD FEES
Arthur F Kingsbury                     1715 Kenilworth Street, Sarasota, FL United States 34231                        USD                     28,750     8/2/2024 Q4 2024 BOARD FEES
Claudia Gonzalez Romo                  240 Centre St 5H, New York, NY United States 10013                              USD                     21,250     8/2/2024 Q2 2024 BOARD FEES
Deborah Diaz                           5797 Westchester St, Alexandria, VA United States 22310                         USD                     21,250     8/2/2024 Q2 2024 BOARD FEES
Foster Chiang                          Flat A 78/F, Sun Sky, Cullinan 1, 1 Austin Road West Tsim Sha Tsui, Hong Kong   USD                     21,250     8/2/2024 Q2 2024 BOARD FEES
James C Chen                           51 Howard Rd, Bristol, NH United States 3222                                    USD                     21,250     8/2/2024 Q2 2024 BOARD FEES
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                    218,507    7/30/2024 Travel Expenses April 2024 - June 2024.
Kunal Bhalla                           19951 Mariner Ave, Torrance, CA United States 90503                             USD                        441    7/24/2024 Refund for Car rental payment on Kunal personal Credit Card
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    228,175    7/22/2024 Rent (07/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    114,087    7/22/2024 MARCH 2024 RENT
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     67,000    7/22/2024 Additional Fixed Rent (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     47,807    7/22/2024 Rent (07/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     45,418    7/22/2024 CAM (07/2024)

Exhibit R - Insider Payments                                                                                                                                                                                                             158 of 168
                                                        Case 25-10099-BLS                              Doc 2   Filed 01/18/25              Page 193 of 202


Canoo Technologies Inc.                                                                                        Form 207 - Exhibit R
Share folder reference:                1.18
Form Reference:                        Form 207 Part 2
                                       Payments - Insider Payments
                                                                                                                                 6,003,495
              Supplier or Party Name                                      Address                                Payment    Payment Amount Payment Date                                  Invoice Description
                                                                                                                 Currency
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                     23,344   7/22/2024 MARCH 2024 PROPERTY TAX
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                     23,344   7/22/2024 Property Tax (07/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                     18,865   7/22/2024 Insurance (07/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                      9,127   7/22/2024 Management Fee (07/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                      7,225   7/22/2024 Rent (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      4,579   7/22/2024 CAM (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      4,152   7/22/2024 Sign (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      2,421   7/22/2024 Insurance (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      2,071   7/22/2024 Property Tax (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      1,701   7/22/2024 Parking (07/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                      1,630   7/22/2024 CAM (07/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                      1,483   7/22/2024 Property Tax (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      1,295   7/22/2024 Belwave 7/1-7/31
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                        735   7/22/2024 Insurance (07/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                        530   7/22/2024 Trash 6/1-6/30
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                        420   7/22/2024 Equipment (07/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                        217   7/22/2024 Belwave 7/1-7/31
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                        163   7/22/2024 Coserv 4/30-5/30
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                         97   7/22/2024 Coserv 4/30-5/30
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226           USD                    125,000    7/2/2024 Board Fee: 1Q24
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                USD                    165,000   6/27/2024 Funds Raised by AFV Partners plus 1% legal fees
Ken Manget                             7841 Poplar Side Road, Collingwood, Canada L9Y 3Y9                      USD                     40,833   6/21/2024 SETTLEMENT
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                    228,175   6/14/2024 Rent (06/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                     67,000   6/14/2024 Additional Fixed Rent (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                     47,807   6/14/2024 Rent (06/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                     45,418   6/14/2024 CAM (06/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                     23,344   6/14/2024 Property Tax (06/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                     18,865   6/14/2024 Insurance (06/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128           USD                      9,127   6/14/2024 Management Fee (06/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                      7,225   6/14/2024 Rent (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      4,579   6/14/2024 CAM (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      4,579   6/14/2024 CAM (05/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      4,152   6/14/2024 Sign (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      2,421   6/14/2024 Insurance (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      2,071   6/14/2024 Property Tax (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      1,701   6/14/2024 Parking (06/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                      1,630   6/14/2024 CAM (06/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                      1,483   6/14/2024 Property Tax (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                      1,295   6/14/2024 Belwave 6/1-6/31
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                        839   6/14/2024 CoServ 4/1-4/3
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                        735   6/14/2024 Insurance (06/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                        530   6/14/2024 Trash 5/1-5/31
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                        420   6/14/2024 Equipment (06/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                        217   6/14/2024 Belwave 6/1-6/31
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                        164   6/14/2024 CoServ 4/1-4/30
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226            USD                         84   6/14/2024 CoServ 4/1-4/30
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                USD                         54   6/14/2024 Aqua Texas 4/4-5/6
Ken Manget                             7841 Poplar Side Road, Collingwood, Canada L9Y 3Y9                      USD                     40,833   5/17/2024 SETTLEMENT
Thomas Dattilo                         1983 Beach Ave, Atlantic Beach, FL United States 32233                  USD                     48,750    5/7/2024 Q1 2024 BOARD FEES
Debra L von Storch                     4713 Behrens Court, Colleyville, TX United States 76034                 USD                     32,500    5/7/2024 Q1 2024 BOARD FEES
Arthur F Kingsbury                     1715 Kenilworth Street, Sarasota, FL United States 34231                USD                     28,750    5/7/2024 Q1 2024 BOARD FEES
Claudia Gonzalez Romo                  240 Centre St 5H, New York, NY United States 10013                      USD                     21,250    5/7/2024 Q1 2024 BOARD FEES

Exhibit R - Insider Payments                                                                                                                                                                                   159 of 168
                                                         Case 25-10099-BLS                              Doc 2          Filed 01/18/25              Page 194 of 202


Canoo Technologies Inc.                                                                                                Form 207 - Exhibit R
Share folder reference:                1.18
Form Reference:                        Form 207 Part 2
                                       Payments - Insider Payments
                                                                                                                                         6,003,495
              Supplier or Party Name                                        Address                                      Payment    Payment Amount Payment Date                               Invoice Description
                                                                                                                         Currency
Deborah Diaz                           5797 Westchester St, Alexandria, VA United States 22310                         USD                     20,000    5/7/2024 LEGAL AND TAX ADVICE
James C Chen                           51 Howard Rd, Bristol, NH United States 3222                                    USD                     20,000    5/7/2024 LEGAL AND TAX ADVISE
Deborah Diaz                           5797 Westchester St, Alexandria, VA United States 22310                         USD                     12,843    5/7/2024 Q1 2024 BOARD FEES
James C Chen                           51 Howard Rd, Bristol, NH United States 3222                                    USD                     12,843    5/7/2024 Q1 2024 BOARD FEES
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    228,175    5/6/2024 Rent (05/2024)
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                        USD                    118,814    5/6/2024 Shared Services Cost & Expenses Feb 2024
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     67,000    5/6/2024 Additional Fixed Rent (05/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     47,807    5/6/2024 Rent (05/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     45,418    5/6/2024 CAM (05/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     23,344    5/6/2024 Property Tax (05/2024)
Foster Chiang                          Flat A 78/F, Sun Sky, Cullinan 1, 1 Austin Road West Tsim Sha Tsui, Hong Kong   USD                     21,250    5/6/2024 Q1 2024 BOARD FEES
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     18,865    5/6/2024 Insurance (05/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                      9,127    5/6/2024 Management Fee (05/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      7,225    5/6/2024 Rent (05/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      4,152    5/6/2024 Sign (05/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      2,421    5/6/2024 Insurance (05/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      2,071    5/6/2024 Property Tax (05/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      1,701    5/6/2024 Parking (05/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,630    5/6/2024 CAM (05/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,483    5/6/2024 Property Tax (05/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,425    5/6/2024 Lantana Overhead Doors
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      1,295    5/6/2024 Belwave 5/1-5/3
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        919    5/6/2024 CoServ 2/29-4/1
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        735    5/6/2024 Insurance (05/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                        530    5/6/2024 Trash 4/2024
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        420    5/6/2024 Equipment (05/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        217    5/6/2024 Belwave 5/1-5/31
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                        187    5/6/2024 CoServ 2/29-4/1
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                         80    5/6/2024 CoServ 2/29-4/1
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                         55    5/6/2024 Aqua Texas 2/6-3/6
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                         55    5/6/2024 Aqua Texas 3/6-4/4
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                     77,130    5/3/2024 Executive Chairman, Expense Reimbursements
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                     15,092    5/3/2024 Canoo Expenses - Executive Expense Reimbursement
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                        USD                      1,442    5/3/2024 Expenses: March 2024
James C Chen                           51 Howard Rd, Bristol, NH United States 3222                                    USD                        468   4/26/2024 AIRFARE REIMBURSEMENT
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     70,168   4/12/2024 MARCH 2024 RENT
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     47,807   4/12/2024 Rent (04/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      7,225   4/12/2024 Rent (04/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      4,579   4/12/2024 CAM (04/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      4,152   4/12/2024 Sign (04/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      2,421   4/12/2024 Insurance (04/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      2,071   4/12/2024 Property Tax (04/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      1,701   4/12/2024 Parking (04/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,630   4/12/2024 CAM (04/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      1,483   4/12/2024 Property Tax (04/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                      1,295   4/12/2024 Belwave 4/1-4/30
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        991   4/12/2024 CoServ 1/30-2/29
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        735   4/12/2024 Insurance (04/2024)
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                        530   4/12/2024 Trash 3/2024
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        420   4/12/2024 Equipment (04/2024)
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                        217   4/12/2024 Belwave 4/1-4/30
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                        189   4/12/2024 CoServ 1/30-2/29

Exhibit R - Insider Payments                                                                                                                                                                                         160 of 168
                                                         Case 25-10099-BLS                              Doc 2          Filed 01/18/25              Page 195 of 202


Canoo Technologies Inc.                                                                                                Form 207 - Exhibit R
Share folder reference:                1.18
Form Reference:                        Form 207 Part 2
                                       Payments - Insider Payments
                                                                                                                                         6,003,495
              Supplier or Party Name                                        Address                                      Payment    Payment Amount Payment Date                                  Invoice Description
                                                                                                                         Currency
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                         64   4/12/2024 CoServ 1/31-2/29
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                         60   4/12/2024 Aqua Texas 11/6-12/6
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    228,175   4/11/2024 Rent (04/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     67,000   4/11/2024 Additional Fixed Rent (04/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     45,418   4/11/2024 CAM (04/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     23,344   4/11/2024 Property Tax (04/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                     18,865   4/11/2024 Insurance (04/2024)
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                      9,127   4/11/2024 Management Fee (04/2024)
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                     60,000   3/18/2024 Travel Expenses - G500: March 19, 2024 $ 60,000.00
                                                                                                                                                                  Travel Expenses - Pilatus $ -
                                                                                                                                                                  Canoo Expenses - Executive Transportation Services
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    277,842   3/13/2024 FEB RENT
                                                                                                                                                                  9528 I-40 SERVICE ROAD
                                                                                                                                                                  OKC
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    277,842   3/13/2024 MARCH 2024 RENT
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    173,305   3/13/2024 2023 NNN TRUE UP
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                    125,000   3/13/2024 Board Fee: 4Q23
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                     88,950   3/13/2024 Travel Expenses
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                     64,979   3/13/2024 Travel Expenses - G500: January 2024
                                                                                                                                                                  Travel Expenses - Pilatus: January 2024
                                                                                                                                                                  Canoo Expenses - Executive Transportation Service
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                     13,366   3/13/2024 MARCH 2024 RENT
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                      3,191   3/13/2024 BELWAVE, COSERV, AQUA TEXAS, AND A&M SEPTIC CHARGES FROM NOV 2023
                                                                                                                                                                  INVOICE
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     1,417    3/13/2024 15520 HWY 114
                                                                                                                                                                  NOV 2024 - BELWAVE AND A&M SEPTIC CHARGES
Ken Manget                             7841 Poplar Side Road, Collingwood, Canada L9Y 3Y9                              USD                     40,833   2/26/2024 SETTLEMENT
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                        USD                     29,385   2/26/2024 Shared Services Cost & Expenses January 2024
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                        USD                     23,473   2/26/2024 Shared Services Cost
Thomas Dattilo                         1983 Beach Ave, Atlantic Beach, FL United States 32233                          USD                     48,750   2/20/2024 Q4 2023 Board Fees
Debra L von Storch                     4713 Behrens Court, Colleyville, TX United States 76034                         USD                     32,500   2/20/2024 Q4 2023 Board Fees
Arthur F Kingsbury                     1715 Kenilworth Street, Sarasota, FL United States 34231                        USD                     28,750   2/20/2024 Q4 2023 Board Fees
Rainer Schmeuckle                      19951 Mariner Ave, Torrance, CA United States 90503                             USD                     28,750   2/20/2024 Q4 2023 Board Fees
Claudia Gonzalez Romo                  240 Centre St 5H, New York, NY United States 10013                              USD                     21,250   2/20/2024 Q4 2023 Board Fees
Foster Chiang                          Flat A 78/F, Sun Sky, Cullinan 1, 1 Austin Road West Tsim Sha Tsui, Hong Kong   USD                     21,250   2/20/2024 Q4 2023 Board Fees
Rainer Schmeuckle                      19951 Mariner Ave, Torrance, CA United States 90503                             USD                      9,688   2/20/2024 Q4 2023 Add'l Board Fees
Ken Manget                             7841 Poplar Side Road, Collingwood, Canada L9Y 3Y9                              USD                     40,833    2/6/2024 SETTLEMENT
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                    170,459    2/5/2024 FEBRUARY 2024 RENT
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     38,355   1/31/2024 JAN 2024 RENT
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                     13,912   1/31/2024 FEBRUARY 2024 RENT
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                     11,493   1/31/2024 JANUARY 2024 RENT
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    229,999   1/23/2024 JAN 2023 RENT
I-40 OKC Partners LLC                  9528 W I-40 Service Rd, Oklahoma City, OK United States 73128                   USD                    229,999   1/12/2024 DECEMBER 2023 RENT
15520 HWY 114 LLC                      2126 Hamilton Road, Suite 260 Argyle, TX United States 76226                    USD                     38,676   1/12/2024 DECEMBER 2023 RENT
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                        USD                     38,632   1/12/2024 Shared Services Costs: December 1st - 15th, 2023 Adjustment to Actual & Shared
                                                                                                                                                                  Services Costs: December 16th - 31st, 2023 Pre-Bill
15306 HWY 114 LLC                      2126 Hamilton Rd Ste 260, Argyle, TX United States 76226                        USD                     12,349   1/12/2024 DECEMBER 2023 RENT
Anthony Aquila                         2126 Hamilton Drive, Suite 260 Argyle, TX United States 76226                   USD                     21,000    1/4/2024 Travel Expenses - M600: November 2023
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                        USD                    132,291    1/3/2024 November Shared Services Cost & Expenses
AFV PARTNERS LLC                       2126 Hamilton Rd, Ste 260 Argyle, TX United States 76226                        USD                     18,378    1/3/2024 Shared Services Costs : Nov. 1 to Nov. 30 2023



Exhibit R - Insider Payments                                                                                                                                                                                                              161 of 168
                                                                      Case 25-10099-BLS                  Doc 2         Filed 01/18/25            Page 196 of 202


Canoo Technologies Inc.                                                                                                                                                                                            Form 207 - Exhibit S
Share folder reference:                                                                              1.19
Form Reference:                                                                                      Form 207 Part 3
                                                                                                     Legal Actions

                                                   Case title                                               Case number        Nature of case                                     Court or agency's name                     Status
Air Capital Equipment, Inc. vs. Canoo Technologies Inc.                                              CJ 20242971             Contracts          The District Court In And For Oklahoma County State Of Oklahoma           Pending
Arrow Electronics, Inc., A New York Corporation vs. Canoo Inc.                                       24TRCV03877             Contracts          Superior Court Of The State Of California County Of Los Angeles           Pending
Canoo Technologies, Inc. v. Harbinger Motors, Inc. (C.D. Cal. 2022)                                  2:22-cv-09309           Trade Secrets      District Court, C.D. California                                           Pending
Concept Group, LLC, A California Corporation vs. Canoo Technologies, Inc                             24TRCV02778             Contracts          Superior Court Of The State Of California County Of Los Angeles           Pending
Dana Limited, A Delaware Corporation vs. Canoo Technologies Inc.                                     2024209727CB            Contracts          State Of Michigan In The Circuit Court For The County Of Oakland          Pending
Hanwha Advanced Materials Mexico, S. de R.L. de C.V. v. Canoo Technologies Inc.                      5220006825              Contracts          JAMS - Los Angeles                                                        Pending
Integrated Micro-Electronics Inc., a Philippine corporation vs. Canoo Technologies Inc.              24TRCV03914             Contracts          Superior Court Of The State Of California County Of Los Angeles           Pending
IT Soft USA Inc. dba Eng USA, an Illinois Corporation vs. Canoo Technologies, Inc                    24TRCV01019             Contracts          Superior Court Of The State Of California County Of Los Angeles           Pending
Jing-Jin Electric North America, A Michigan Limited Liability Company vs. Canoo Technologies, Inc.   2024209919CB            Contracts          State Of Michigan In The Circuit Court For The County Of Oakland          Pending
Kasai North America, Inc. vs. Canoo Technologies, Inc                                                None Specified          Contracts          JAMS - Los Angeles                                                        Pending
Kistler Instrument Corporation vs. Canoo Technologies, Inc.                                          24TRCV03469             Contracts          Superior Court Of The State Of California County Of Los Angeles           Pending
LHI Group Inc vs Canoo Technologies, Inc.                                                            None Specified          Contracts          American Arbitration Association - New York                               Pending
Marquise Lewis v. Kelly Services Global LLC (C.D. Cal. 2024)                                         2:24-cv-06781           Labor              District Court, C.D. California                                           Pending
Meta System S.p.A. vs Canoo Technologies, Inc                                                        None Specified          Contracts          JAMS - Los Angeles                                                        Pending
NW Automotive Group, LLC d.b.a Luxit Group, vs Canoo Technologies, Inc                               23TRCV01457             Contracts          Superior Court Of The State Of California County Of Los Angeles           Pending
Orion Serup, on behalf of all other Aggrieved Employees vs. Canoo Inc.                               24TRCV02725             Labor              Superior Court Of The State Of California County Of Los Angeles           Pending
PAC Project Advisors International, Ltd. vs. Canoo Technologies, Inc.                                5220004232              Contracts          JAMS - Los Angeles                                                        Pending
R&E Automated Systems vs. Canoo Inc.                                                                 2:24-cv-11866           Contracts          United States District Court, ED Michigan                                 Concluded
Rikkers Technology Law PLLC vs. Canoo Inc.                                                           2484CV02432             Contracts          Trial Court of Massachusetts, The Superior Court                          Concluded
Tachi-S Engineering U.S.A., Inc. vs. Canoo Technologies, Inc.                                        24-1291                 Contracts          U.S. Court of Appeals, Sixth Circuit                                      Pending
Canoo Inc. v. DD Global Holdings Ltd.                                                                1:22-cv-03747           Securities         District Court, S.D. New York                                             Concluded
Champ Key Limited v. Canoo Inc.                                                                      1:24-cv-00301           Stockholders       District Court, S.D. New York                                             Pending
Kelly Stover v. Canoo Technologies Inc.                                                              No. 5310000389          Labor              JAMS - Dallas                                                             Pending
In the matter of trading in securities of Canoo Inc.                                                 HO-14805                Securities         Securities and Exchange Commission                                        Pending
Andrew Sanders v. Canoo Inc.                                                                         3:24-cv-386-MMH-JBT     Labor              District Court, M.D. Florida, Jacksonville Division                       Pending
Samuel Blake v. Canoo Inc.                                                                           2:21-cv-02873-FMO-JPR   Stockholders       District Court, C.D. California                                           Pending




                                                                                                                                                                                                                              162 of 168
                                                 Case 25-10099-BLS                      Doc 2        Filed 01/18/25            Page 197 of 202


Canoo Technologies Inc.                                                                                                                          Form 207 - Exhibit T
Share folder reference:   1.29
Form Reference:           Form 207 Part 10
                          Offsite Storage

Justin, TX:
                          TMS Self Storage
                          2200 TX-114, Northlake, TX 76247

                          Gate Code #062022*

                          Storage Units
                                                              4006 Used Parts for R3PI and Service; Nitin Patel
                                                              4030 Used Parts for R3PI and Service; Nitin Patel
                                                              4029 New Parts for Service and if needed for special builds by R3PI; Nitin Patel
                                                              4163 New Parts for Service and if needed for special builds by R3PI; Nitin Patel
                                                              4002 IT; Eric Carrion                                                               $       133,379.85
                                                              4027 Events/Marketing; Nitin Patel
                                                              2132 Events/Marketing; Nitin Patel
                                                              2134 Events/Marketing; Nitin Patel



Torrance, CA
                          Scan Global Logistics                     Parts for production builds and gamma builds along with batteries cells      $2M
                          1560 W 190th St, Torrance, CA 90501




                          Applus+ IDIADA                            Crash tested ~20 vehicles, for internal study only
                          9270 Holly Rd, Adelanto, CA 92301
                                                           Case 25-10099-BLS                      Doc 2          Filed 01/18/25           Page 198 of 202


Canoo Technologies Inc.                                                                                                                                                                                 Form 207 - Exhibit U
Share folder reference:   1.33
Form Reference:           Form 207 Part 13
                          Books, Records and Financial Statements

    Supplier Number                   Supplier Name                                      Supplier Type                                                                Address Concatenate
                          Canoo, Inc.                         Debtor - Owner of the books, records and financial statements   15520 Hwy 114 Suite 2C, Justin, TX 76247
         11875            Deloitte & Touche LLP               Consulting - External Auditors                                  4022 Sells Drive, Hermitage, TN United States 37076
                                                                                                                              PO Box 844708, Dallas, TX United States 75284
         12038            Ernst & Young LLP                   Consulting - Financial Reporting                                PNC Bank C/O Ernst & Young US LLP, 3712 Solutions Center Chicago, IL United States 60677
         11936            Infinite Equity Inc                 Consulting - Financial Reporting                                3663 Folsom St, San Francisco, CA United States 94110
                                                                                                                              PO BOX 720151, San Francisco, CA United States 94172
         12559            RSM US LLP                          Consulting - Tax                                                13155 Noel Raod Suite 2200, Dallas, TX United States 75240
         12626            Workiva Inc                         Consulting - Financial Reporting                                2900 University Blvd, Ames, IA United States 50010




                                                                                                                                                                                                                         164 of 168
                                                         Case 25-10099-BLS                        Doc 2         Filed 01/18/25             Page 199 of 202


Canoo Technologies Inc.                                                                                                                                                                                  Form 207 - Exhibit V
Share folder reference:      1.34
Form Reference:              Form 207 Part 13
                             Inventories


Date of review              Review performed by         Scope of Review                       Location of Review Results of the review                   Notes
                 11/14/2022 External Audit - Deloitte   Deloitte selected a sample of fixed   Torrance, CA       All Fixed assets selected were          Deloitte performed a review of a selection of Fixed Assets in
                                                        assets in Torrance, Ca                                   Identified                              Torrance, CA as part of their FY22 Audit.
        1/4/2023- 1/5/2023 Canoo Internal               Inventory assets were reviewed at a   Brownstown         Some minor discrepancies
                           Audit/Accounting Team        third party warehouse - Spence        Michigan           identified.
                                                        Butcher
                 11/30/2023 External Audit - Deloitte   Deloitte selected a sample of fixed   Pryor, OK          All Fixed assets selected were          Deloitte performed a review of a selection of Fixed Assets in Pryor
                                                        assets in Pryor, Oklahoma                                Identified                              Oklahoma as part of their FY23 Audit.
                 11/30/2023 External Audit - Deloitte   Deloitte selected a sample of fixed   Oklahoma City, OK All Fixed assets selected were           Deloitte performed a review of a selection of Fixed Assets in Pryor
                                                        assets in Oklahom City, Oklahoma                         Identified                              Oklahoma as part of their FY23 Audit.
                  2/19/2024 Canoo Internal              Detailed review of all assets held in Pryor, OK          Assets tagged, photographs taken
                            Audit/Accounting Team       Pryor, OK, including robots purchased                    and records made on the Canoo
                                                        from Arrival, USA                                        Fixed Asset Listing.
                  2/20/2024 Canoo Internal              A review of assets (robots and other Port of Catoosa, OK Photos taken and assets
                            Audit/Accounting Team       equipment) purchased from Arrival US                     compared to purchase records.
                                                        that was stored at 3rd party location
                                                        (Lyseon in Port of Catoosa, OK)

                   4/4/2024 Canoo Internal              Review of assets held in Justin, OK       Justin, TX        Assets tagged, photographs taken
                            Audit/Accounting Team                                                                   and records made on the Canoo
                                                                                                                    Fixed Asset Listing.
                  4/16/2024 Canoo Internal              Review of manufacturing assets held       Oklahoma City, OK Assets tagged, photographs taken     This was the one of multiple trips to document and record the
                            Audit/Accounting Team       in Oklahoma City, OK                                        and records made on the Canoo        individual fixed assets held at the Oklahoma City plant.
                                                                                                                    Fixed Asset Listing.
        6/3/2024-6/6/2024 Canoo Internal                Review of the first group of Arrival UK   Oklahoma City, OK Assets tagged, photographs taken This review was for the first group of 44 containers which were
                          Audit/Accounting Team         Assets which were shipped to                                and records made on the UK       shipped from the UK to the OKC plant. No significant discrepancies
                                                        Oklahoma City.                                              Arrival Asset Verification file  were noted, although IA was unable to verify the receipt of all items
                                                                                                                                                     on the bidding list - likely due to how some inaccessible pallets due
                                                                                                                                                     to how they were stored.
        8/5/2024-8/8/2024 Canoo Internal                Review of the second group of Arrival     Oklahoma City, OK Assets tagged, photographs taken Similar to the first review - no significant discrepancies identified.
                          Audit/Accounting Team         UK Assets which were shipped to                             and records made on the UK
                                                        Oklahoma City.                                              Arrival Asset Verification file
        8/5/2024-8/8/2024 Canoo Internal                Review of Arrival US Assets shipped       Oklahoma City, OK Assets tagged, photographs taken The vast majority of the large items were located. There were a few
                          Audit/Accounting Team         from Lyseon to OKC.                                         and records made on the Lyseon items that could not be located (around 3% of the total value) which
                                                                                                                    Assets for OKC Review file       were likely already in service.

        8/5/2024-8/8/2024 Canoo Internal                Inventory of IT asset inventory in        Oklahoma City, OK Assets tagged, photographs taken
                          Audit/Accounting Team         Oklahoma City                                               and records made on the OKC IT
                                                                                                                    Assets file




Exhibit V - Inventory                                                                                                                                                                                                    165 of 168
                                                        Case 25-10099-BLS                    Doc 2         Filed 01/18/25             Page 200 of 202


Canoo Technologies Inc.                                                                                                                                                                            Form 207 - Exhibit V
Share folder reference:     1.34
Form Reference:             Form 207 Part 13
                            Inventories


Date of review           Review performed by           Scope of Review                        Location of Review Results of the review               Notes
     9/17/2024-9/18/2024 Canoo Internal                Inventory of Canoo assets in Torrance, Torrance, CA       Photographs taken and some          The purpose of this review was to document the assets held in
                         Audit/Accounting Team         CA                                                        assets tagged and recorded on the Torrance which would be shipped to OKC, Pryor or Justin so that they
                                                                                                                 Torrance Asset listing. and records could be validated once received.
                                                                                                                 made on the OKC IT Assets file

                11/21/2024 External Audit - Deloitte   Deloitte selected a sample of fixed   Pryor, OK         All Fixed assets selected were     Deloitte performed a review of a selection of Fixed Assets in Pryor
                                                       assets in Pryor, Oklahoma                               Identified                         Oklahoma as part of their FY24 Audit.
                11/21/2024 External Audit - Deloitte   Deloitte selected a sample of fixed   Oklahoma City, OK All Fixed assets selected were     Deloitte performed a review of a selection of Fixed Assets in Pryor
                                                       assets in Oklahom City, Oklahoma                        Identified                         Oklahoma as part of their FY24 Audit.
                11/21/2024 External Audit - Deloitte   Deloitte selected a sample of         Oklahoma City, OK All inventory assets selected were Deloitte performed a review of a selection of Inventory assets in Pryor
                                                       inventory assets in Oklahoma City,                      Identified - with one minor        Oklahoma as part of their FY24 Audit.
                                                       Oklahoma.                                               discrepancy that was less than 1%
                                                                                                               on a high volum inventory item.




Exhibit V - Inventory                                                                                                                                                                                           166 of 168
                                               Case 25-10099-BLS               Doc 2       Filed 01/18/25   Page 201 of 202


Canoo Technologies Inc.                                     Form 207 - Exhibit W
Share folder reference:                             1.7.1
Form Reference:                                     Form 207 Part 13

 Schedule of all directors, officers, their titles and annual compensation paid to each for the past one
 year


Name                                                Title                                    2024
Anthony Aquila                                      Board of Director                         375,000
Arthur F Kingsbury                                  Board of Director                          86,250
Claudia Gonzalez Romo                               Board of Director                          63,750
Deborah Diaz                                        Board of Director                          54,093
Debra L von Storch                                  Board of Director                          97,500
Foster Chiang                                       Board of Director                          63,750
James C Chen                                        Board of Director                          54,093
Rainer Schmeuckle                                   Board of Director                          38,438
Thomas Dattilo                                      Board of Director                         147,347

Name                                                Title                                    2024
Aquila, Tony                                        CEO & Chairman                                -
Bhalla, Kunal                                       SVP, Corp Dev & Cap Mkts                  300,000
Ethridge, Gregory D.                                Chief Financial Officer                   408,333
Murthy, Ramesh                                      SVP, CAO                                  343,750
Ruiz, Hector                                        GC & Corporate Secretary                  291,667
Yan, Sean J.                                        GC & Corporate Secretary                  247,500




Exhibt W - D&O Compensation                                                                                                   167 of 168
                                            Case 25-10099-BLS           Doc 2      Filed 01/18/25      Page 202 of 202


Canoo Technologies Inc.                                                                                                          Form 207 - Exhibit X
Share folder reference:   1.26
Form Reference:           Form 207 Part 9
                          Personally Identifiable Information

                          Nature of information collected and retained:
                          Category of Personal Data
                          (1) Identifiers such as name, email address, postal address, phone number, driver’s license number, or other
                          similar identifiers
                          (2) Personal Records such as a phone numbers or other financial information
                          (3) General demographic information such as age, marital or family status, languages spoken, education
                          information, gender, and military and veteran status
                          (4) Customer Account Details/ Commercial information such as purchase history or tendencies
                          (5) Internet or Other Electronic Network Activity Information such as IP address, mobile network provider,
                          and other network related information

                          (6) Geolocation data such as information about your vehicle location or your device and mobile location

                          (7) Sensory Data, including audio and visual data such as voice commands and other utterances captured
                          when the vehicle’s voice recognition system is in “active listen” state, customer care call recording, in vehicle
                          feedback feature, and audio or video surveys
                          (8) Inferences drawn from personal data collected to generate information about your likely preferences or
                          other characteristics
                          (9) Connected Vehicle Data

                          Privacy policy? Yes.
                          https://www.canoo.com/privacy




                                                                                                                                                        168 of 168
